Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 1 of
                                          103

Monthly Operating Report

Case Name                    The Roman Catholic Church of the Archdiocese of New Orleans
Case Number                  20‐10846




Form Attached                Previously Waived                                Required Reports/Documents

            X                                      {   }                      Comparative Balance Sheet (Form 2‐B)
            X                                      {   }                      Profit and Loss Statement (Form 2‐C)
            X                                      {   }                      Cash Receipt & Disbursements Statement (Form 2‐D)
            X                                      {   }                      Quarterly Fee (Form 2‐D)
            X                                      {   }                      Supporting Schedules‐ AP Aging, AR Aging, Insurance (Form 2‐E)
            X                                      {   }                      Narrative (Form 2‐F)
                                                                              Copies of Bank Statements with ALL pages of the Statement and Reconciliations of Bank
             X                                       { }                      Balance to Book Balance for all Accounts.
Utilize Acrobat Adobe bookmarking function to easily navigate the document.

                                   Entity Key
ANO                          Archdiocese of New Orleans
SLC                          St. Louis Cathedral
OLG                          Our Lady of Guadalupe
AOL                          Academy of Our Lady
ACHS                         Archbishop Chapelle High School
AHHS                         Archbishop Hannan High School
ARHS                         Archbishop Rummel High School
ASHS                         Archbishop Shaw High School
PJPHS                        Pope John Paul II High School
SCCS                         St. Charles Catholic School
SMSS                         St. Michael's Special School
SSA                          St. Scholastica Acadamy
 Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 2 of
                                           103

The Roman Catholic Church of the Archdiocese of New Orleans
(Debtor‐in‐possession)
Consolidated Balance Sheets

                                                                  April 30, 2020     May 31, 2020      June 30, 2020      July 31, 2020    August 31, 2020     September 30, 2020   October 31, 2020
Assets
 Cash and cash equivalents                                    $       22,052,676 $      35,171,296 $       51,935,708 $       55,210,257 $        54,373,332 $         34,746,847 $         31,670,952
 Petty cash                                                                8,014            12,057              3,294             32,006              30,411               33,788               32,259
 Grants receivable                                                     1,576,164           301,255            299,350            164,841             259,466              259,466              909,034
 Accounts receivable, net                                             16,007,926        14,492,336         12,799,554         11,771,212          13,035,500           13,357,610           12,319,969
 Accounts receivable‐ tuition and fees, net                           18,060,873        22,315,009          6,587,924          5,218,230           2,471,735            2,374,451            1,891,695
 Prepaid expenses                                                      1,061,499         1,067,409          1,848,464          1,824,174           1,924,106            1,991,629            1,892,692
 Other current assets                                                     49,680            12,835             73,216             27,691              40,064               32,961               24,418
 Pledges receivable, net                                                 518,664           477,685            408,605            388,245             387,410              386,225              385,485
 Loans receivable from Affiliates, net                                56,959,172        56,948,777         56,478,165         56,703,435          35,186,326           34,938,389           35,245,288
 Investments                                                         272,921,040       282,147,987        288,694,051        294,329,269         301,082,881          313,283,496          309,080,109
 Inventory                                                               201,848           205,667            229,807            227,136             227,132              227,442              218,030
 Property, plant, and equipment, net                                 130,963,335       130,603,569        130,311,445        129,994,486         129,856,032          129,745,410          129,397,866
 Other assets                                                            122,000           122,000            122,000            122,000             122,000              122,000              122,000
 Beneficial interest in charitable remainder trust                       380,721           380,721            440,653            440,653             440,653              440,653              440,653

             Total assets                                     $      520,883,613 $     544,258,602 $      550,232,236 $      556,453,635 $       539,437,047 $        531,940,364 $        523,630,450

Liabilities and Net Assets
  Accounts payable (Post‐petition)                            $              ‐   $         705,031 $        1,232,548 $        3,912,352 $         1,572,674 $           2,112,973 $         2,122,250
  Accrued expenses                                                    10,435,689         8,493,219          8,930,172          7,518,501           7,610,790             7,747,698           7,997,111
  Custodial Funds (agency payables)                                    1,200,103         1,302,508          1,267,256          1,278,271           1,391,915             1,415,558           1,358,061
  Deferred tuition and fees                                           23,031,469        36,231,110         37,405,713         35,921,048          32,321,973            29,099,686          25,877,498
  Liabilities subject to compromise (Pre‐petition)
   Accounts payable (Pre‐petition)                                     2,507,583         2,380,383          1,736,193          1,405,132           1,396,881            1,332,157            1,328,982
   Obligations under capital lease                                       995,706           991,975            989,248            741,576             660,337              657,569              635,621
   Bonds payable, net                                                 40,075,264        40,690,584         40,690,584         40,690,584          40,690,584           40,690,584           40,690,584
   Accrued pension liability                                          44,732,295        44,882,295         45,032,295         45,182,295          48,774,202           48,942,202           49,110,202
 PPP Cares Act loan (forgiveable loan)                                 5,487,281         5,487,281          5,487,281          5,487,281           5,487,281            5,487,281            5,487,281
 Accrued liability for self‐insured claims                            10,373,785        10,192,714         10,686,804         10,593,216          10,780,055           10,734,089           10,322,349
 Deposits payable to affiliates                                      105,471,112       117,656,958        120,440,678        121,976,522         124,479,568          121,618,761          119,241,824
 Funds held for affiliates                                           125,290,089       122,459,309        126,892,073        127,678,439         131,489,504          130,240,149          128,419,194

             Total liabilities                                       369,600,377       391,473,367        400,790,845        402,385,217         406,655,764          400,078,707          392,590,957

Net assets
 Without donor restrictions                                          119,004,173       119,490,204        118,745,100        116,552,472          95,265,337           94,345,711           93,523,546
 With donor restrictions                                              32,279,063        33,295,031         30,696,291         37,515,946          37,515,946           37,515,946           37,515,946
Total net assets                                                     151,283,236       152,785,236        149,441,391        154,068,418         132,781,283          131,861,657          131,039,492
             Total liabilities and net assets                 $      520,883,613 $     544,258,602 $      550,232,236 $      556,453,635 $       539,437,047 $        531,940,364 $        523,630,450
 Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 3 of
                                           103

The Roman Catholic Church of the Archdiocese of New Orleans
(Debtor‐in‐possession)
Consolidated Income Statements


                                                                   April 30, 2020         May 31, 2020       June 30, 2020      July 31, 2020     August 31, 2020    September 30, 2020     October 31, 2020

Revenue, Gains, and Other Support
 Assessments to affiliated entities
   Archdiocesan support                                        $           195,974 $             720,975 $          793,974 $          969,036 $          806,114 $             844,020 $          1,635,500
   Priest health insurance and retirement                                  230,303               230,304            230,303            340,675            217,492               217,458              215,332
   Insurance income                                                      2,296,854             2,741,164          3,012,453          3,975,018          3,048,179             3,722,884            2,781,381
 Fee revenue                                                               176,465               243,818            500,036            455,619            440,095               522,171              302,989
 Contributions and grants                                                  321,825               288,442           (101,589)           571,378            220,293                83,580              748,064
  Tuition and Fees, net                                                    (22,209)               10,689           (303,448)         3,221,487          3,661,554             3,714,309            3,235,013
 Student activities                                                          3,297                 2,409             17,006                200             65,537               (12,519)              61,053
 Student services income                                                    52,881               144,711              3,555            236,428            119,405                86,398              119,260
 Church income                                                              54,253                67,284             72,402             53,962             71,927                67,322               63,108
 Rental income and royalties                                                89,397                87,747             81,421             88,842             85,000                83,215               79,064
 Fundraising and development                                               506,826               231,107            232,549            440,758            226,140               717,246              382,571
 Interest income‐ deposit and loan fund                                    174,558               180,199            174,598            181,164            179,821               174,476              179,361
 Special events income                                                      20,760                14,280              1,650             16,710             32,530                15,775               19,575
 Investment income, net                                                    356,514               356,514            356,514            374,452            374,452               374,452              374,452
 Other income                                                              411,710               297,836            364,263            325,225            490,613               189,375            1,101,889
Total income                                                             4,869,407             5,617,479          5,435,687         11,250,954         10,039,152            10,800,162           11,298,613

Expenses
 Program:
   Ministries                                                            1,382,390             1,351,585          1,603,856          1,528,589          1,132,683             1,172,285            1,798,836
   Supporting service to parishes and other related agencies             4,636,067             1,846,347          1,912,676          3,655,133         24,393,570             3,241,475            3,049,722
   Instructional                                                         1,640,380             1,755,488          2,525,615          1,153,527          1,974,833             1,880,291            1,891,817
   Auxiliary services                                                      165,137               326,748            403,793            351,150            292,619               322,603              475,432
 Suppporting services:
   Administration                                                        1,103,097             1,347,528          2,085,893          1,427,045          1,278,155             1,358,700            1,050,948
   Development and fundraising                                             161,444               152,418            138,251            115,049            149,652               238,379              197,563
 Operations and Maintenance of Plant                                       526,662               351,173            648,646            601,694            686,484               682,588              709,008
 Other                                                                      65,013                38,704            129,959            109,769             79,040               259,936               75,861
 Reorganization costs                                                      483,005               615,319            149,694            292,650              5,200               938,307            1,381,793
Total expenses                                                          10,163,196             7,785,310          9,598,383          9,234,606         29,992,236            10,094,562           10,630,979

Non‐operating revenues (expenses)
 Investment income, net                                                  5,159,913             4,026,345          2,122,556          2,985,131          2,762,259            (1,250,774)           (1,115,347)
   Less spending distribution                                             (356,514)             (356,514)          (356,514)          (374,452)          (374,452)             (374,452)             (374,452)
 Investment income, net of spending distribution                         4,803,399             3,669,831          1,766,042          2,610,679          2,387,807            (1,625,226)           (1,489,799)

Additional Minimum Pension Liability Adjustment                                 ‐                    ‐                  ‐                   ‐          (3,721,859)                  ‐                     ‐

Change in net assets                                                      (490,390)            1,502,000         (2,396,654)         4,627,027        (21,287,135)             (919,626)            (822,165)

Net Assets
 Beginning balance                                                     151,773,625           151,283,236        151,838,045        149,441,391        154,068,418           132,781,283          131,861,657
 Ending balance                                                $       151,283,236 $         152,785,235 $      149,441,391 $      154,068,418 $      132,781,283 $         131,861,657 $        131,039,492

Reconciliation of Net Assets from 5/31/20 to 6/1/20:
Net assets ending balance 5/31/20, as reported                                        $      152,785,235
Adjustment: to remove Investment that was incorrectly
included on SMSS that was subsequently determined
to be an asset of the Catholic Community Foundation                                             (947,191)

Net assets beginning balance 6/1/20                                                   $      151,838,045
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 4 of
                                          103

Cash Receipts and Disbursements Statement

Case name                                            The Roman Catholic Church of the Archdiocese of New Orleans
Case number                                          20‐10846

For Period October 1 to October 31, 2020

Cash Reconciliation                                                     Amount
1. Beginning Cash Balance                                               $   34,746,846.75

2. Cash Receipts                                                        $    20,463,259.31

3. Cash Disbursements                                                   $    (23,539,154.08)

4. Net Cash Flow                                                        $     (3,075,894.77)

5. Ending Cash Balance                                                  $    31,670,951.98

Cash Summary ‐ Ending Balance                        Entity             Amount*                Financial Institution
Fifth District Savings Bank ‐ 6344                   AOL                $      179,022.52      Fifth District Savings Bank
Gulf Coast Bank and Trust Operating ‐ 1492           AOL                $    1,011,461.85      Gulf Coast Bank and Trust
Gulf Coast Bank and Trust Payroll ‐ 7654             AOL                $             ‐        Gulf Coast Bank and Trust
Gulf Coast Bank and Trust Tuition Lending ‐ 6054     AOL                $    1,277,467.80      Gulf Coast Bank and Trust
Gulf Coast Bank and Trust Tution Reserve ‐ 0011      AOL                $    1,343,601.84      Gulf Coast Bank and Trust
Regions Business Checking‐ 6073                      AOL                $      133,647.65      Regions
Payroll Account‐ 2440                                ASHS               $        2,852.76      First Bank & Trust
Current Year Tuition‐ 3085                           ASHS               $    1,627,491.31      First Bank & Trust
Tuition Loans Current Year‐ 0007                     ASHS               $    1,111,644.95      First Bank & Trust
MM/Operating Year‐ 9162                              ASHS               $      131,407.27      First Bank & Trust
General Operating‐ 2429                              ASHS               $      258,526.97      First Bank & Trust
Tuition Reserve ‐ 0437                               SCCS               $      850,109.74      First Bank & Trust
FBT Operating ‐ 3063                                 SCCS               $    2,032,200.68      First Bank & Trust
F A Operating ‐ 0502                                 SCCS               $      341,757.41      First American Bank
Payroll ‐ 1377                                       SCCS               $          970.29      First American Bank
QB Club ‐ 7036                                       SCCS               $       32,083.48      First National Bank USA
Payroll and Utilities ‐ 5678                         SCCS               $       62,416.16      First Bank & Trust
FA Money Market ‐ 5651                               SCCS               $      471,599.13      First American Bank
Operating Account ‐ 1514                             ACHS               $      185,792.18      First Bank & Trust
Tuition Endowment ‐ 1745                             ACHS               $       31,941.97      First Bank & Trust
Online Giving ‐ 2809                                 ACHS               $       83,829.24      First Bank & Trust
Gaming Acct ‐ 3293                                   ACHS               $            0.08      First Bank & Trust
Next Year Cash ‐ 4967                                ACHS               $      174,466.75      First Bank & Trust
Tuition Borrower Loan Funds ‐ 0184                   ACHS               $    1,549,490.79      First Bank & Trust
PPP ‐ 5667                                           ACHS               $            4.36      First Bank & Trust
Operating ‐ 8545                                     AHHS               $       85,059.23      First Bank & Trust
Tuition Savings Account ‐ 8861                       AHHS               $             ‐        First Bank & Trust
Payroll‐ 8501                                        AHHS               $             ‐        First Bank & Trust
Tuition Resreve Account‐ 0079                        AHHS               $    1,027,043.49      First Bank & Trust
PPP Escrow‐ 5700                                     AHHS               $             ‐        First Bank & Trust
Operating‐ 8055                                      PJPHS              $      511,880.67      First Bank & Trust
Reserve Loan‐ 0271                                   PJPHS              $      575,002.58      First Bank & Trust
Savings‐ 3199                                        PJPHS              $    1,022,576.13      First Bank & Trust
Checking‐ 4242                                       PJPHS              $      200,611.61      First Bank & Trust
FBT Day Camp‐2887                                    ARHS               $        5,242.82      First Bank & Trust
FBT Merchant Acct ‐ 2876                             ARHS               $       42,767.96      First Bank & Trust
FBT Online Advancement ‐ 2832                        ARHS               $       31,885.77      First Bank & Trust
FBT Online Band ‐ 2854                               ARHS               $       10,869.73      First Bank & Trust
FBT Online Fundraising ‐ 2865                        ARHS               $        1,647.27      First Bank & Trust
FBT Online Student Services ‐ 2843                   ARHS               $       86,380.20      First Bank & Trust
FBT Operating ‐ 2799                                 ARHS               $       43,495.18      First Bank & Trust
FBT Online Tuition/Fees ‐ 2777                       ARHS               $       75,533.57      First Bank & Trust
FBT Payroll ‐ 2821                                   ARHS               $      119,945.65      First Bank & Trust
FBT Tuition Restricted ‐ 0431                        ARHS               $    1,922,767.39      First Bank & Trust
FBT Money Market ‐ 2755                              ARHS               $      316,753.73      First Bank & Trust
Operating Account‐ 3693                              SMSS               $      143,911.13      First Bank & Trust
Pay Pal ‐ 1481                                       SMSS               $             ‐        First Bank & Trust
Money Market Account‐ 9129                           SMSS               $       22,890.25      First Bank & Trust
Payroll Account‐ 9602                                SMSS               $             ‐        First Bank & Trust
Operating‐ 3404                                      SMSS               $      345,494.80      First Bank & Trust
Capital Funds‐ 1509                                  SMSS               $      366,476.00      Gulf Coast Bank & Trust Company
St Scholastica Academy Commercial Checking ‐ 3106    SSA                $             ‐        Capital One
Regular Checking ‐ 6217                              SSA                $             ‐        Capital One
St. Scholastica Academy Commercial Checking ‐ 4776   SSA                $             ‐        Capital One
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 5 of
                                          103

Tuition Money Manager Account ‐ 8457                                        SSA   $      807,205.63    First Bank & Trust
As Custodian for Tuition Borrower Loan Funds ‐ 0067                         SSA   $      786,450.68    First Bank & Trust
Operating for AP ‐ 3065                                                     SSA   $    2,445,842.58    Home Bank
Operating Account ‐ 4366                                                    SSA   $             ‐      First Bank & Trust
St. Scholastica Academy Account ‐ 2054                                      SSA   $        4,832.51    Raymond James
Operating‐ 3736                                                             SLC   $       11,812.41    Capital One
Operating‐ 9250                                                             SLC   $       14,953.72    Capital One
Cambon‐ 3604                                                                SLC   $        2,000.00    Capital One
St. Anthony Garden‐ 3744                                                    SLC   $             ‐      Capital One
Gift Shop‐ 3728                                                             SLC   $       21,663.71    Capital One
Operating ‐ 4085                                                            SLC   $      379,007.05    Whitney
Operating ‐ 4069                                                            SLC   $      537,885.35    Whitney
Gift Shop ‐ 4077                                                            SLC   $       14,777.57    Whitney
Savings ‐ 5683                                                              SLC   $       10,000.15    Whitney
Operating‐ 4318                                                             OLG   $       70,700.48    Hancock Whitney
Payroll‐ 9614                                                               ANO   $         (370.27)   First Bank & Trust
Operating‐ 2118                                                             ANO   $    4,984,772.70    Whitney
Checking‐ 9680                                                              ANO   $       13,919.99    First Bank & Trust
Business Check Card Acct‐ 9625                                              ANO   $        2,000.00    First Bank & Trust
Insurance‐ 3664                                                             ANO   $        3,459.02    Capital One
Care & Compassion‐ 2402                                                     ANO   $        2,713.70    Capital One
Retirement‐ 2718                                                            ANO   $      458,048.07    Whitney
Savings‐ 5245                                                               ANO   $      111,658.65    Liberty Bank
Employee Insurance Fund‐ 0766                                               ANO   $    1,131,043.17    Whitney
Employee Insurance‐ 8597                                                    ANO   $             ‐      BMO Harris
Self Insurance Account ‐ 4265                                               ANO   $        3,553.77    Whitney
Care & Compassion ‐ 4257                                                    ANO   $          999.00    Whitney


Total Cash Disbursements*                                                         $   23,539,154.08



*Note: This amount should be used to determine UST quarterly fees due and
agree with Form 2‐D
  Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 6 of
                                            103
Cash Receipts Journal
Cash Name                                  The Roman Catholic Church of the Archdiocese of New Orleans
Case Number                                20‐10846




Entity Key   Account Name                  Account # Ending in Date            Description (Source)                                                                                                                    Amount                 Notes
SLC          Souvenir Shop Account         3728                     10/29/2020 Credit Card Sales                                                                                                                       $            185.24
SLC          Souvenir Shop Account         3728                     10/28/2020 Credit Card Sales                                                                                                                       $            207.32
SLC          Souvenir Shop Account         3728                     10/28/2020 Credit Card Sales                                                                                                                       $            331.68
SLC          Souvenir Shop Account         3728                     10/26/2020 Credit Card Sales                                                                                                                       $            174.70
SLC          Souvenir Shop Account         3728                     10/26/2020 Credit Card Sales                                                                                                                       $            230.48
SLC          Souvenir Shop Account         3728                     10/26/2020 Credit Card Sales                                                                                                                       $            572.10
SLC          Souvenir Shop Account         3728                     10/23/2020 Credit Card Sales                                                                                                                       $            255.73
SLC          Souvenir Shop Account         3728                     10/21/2020 Credit Card Sales                                                                                                                       $            493.06
SLC          Souvenir Shop Account         3728                     10/20/2020 Credit Card Sales                                                                                                                       $             86.29
SLC          Souvenir Shop Account         3728                     10/19/2020 Credit Card Sales                                                                                                                       $            209.01
SLC          Souvenir Shop Account         3728                     10/19/2020 Credit Card Sales                                                                                                                       $            261.10
SLC          Souvenir Shop Account         3728                     10/19/2020 Credit Card Sales                                                                                                                       $            293.69
SLC          Souvenir Shop Account         3728                     10/19/2020 Credit Card Sales                                                                                                                       $            412.53
SLC          Souvenir Shop Account         3728                     10/15/2020 Credit Card Sales                                                                                                                       $             95.98
SLC          Souvenir Shop Account         3728                     10/14/2020 Credit Card Sales                                                                                                                       $            148.09
SLC          Souvenir Shop Account         3728                     10/13/2020 Credit Card Sales                                                                                                                       $             85.37
SLC          Souvenir Shop Account         3728                     10/13/2020 Credit Card Sales                                                                                                                       $            124.96
SLC          Souvenir Shop Account         3728                     10/13/2020 Credit Card Sales                                                                                                                       $            130.45
SLC          Souvenir Shop Account         3728                     10/13/2020 Credit Card Sales                                                                                                                       $            490.72
SLC          Souvenir Shop Account         3728                      10/8/2020 Credit Card Sales                                                                                                                       $             61.14
SLC          Souvenir Shop Account         3728                      10/8/2020 Credit Card Sales                                                                                                                       $            378.92
SLC          Souvenir Shop Account         3728                      10/6/2020 Credit Card Sales                                                                                                                       $            642.72
SLC          Souvenir Shop Account         3728                      10/5/2020 Credit Card Sales                                                                                                                       $            342.96
SLC          Souvenir Shop Account         3728                      10/5/2020 Credit Card Sales                                                                                                                       $            722.39
SLC          Souvenir Shop Account         3728                      10/1/2020 Credit Card Sales                                                                                                                       $            276.20
SLC          Operating Account             4085                     10/13/2020 Weddings; reception; parking convent yard                                                                                               $          6,400.00
SLC          Operating Account             4069                     10/30/2020 On‐line Giving                                                                                                                          $            500.00
SLC          Operating Account             4069                     10/27/2020 On‐line Giving                                                                                                                          $            150.00

SLC          Operating Account             4069                     10/25/2020   Weekly envelopes; loose collection; sale of votive candles; donations; mass stipends; baptisms/funerals; extra diocesan collections   $          6,207.00
SLC          Operating Account             4069                     10/23/2020   Dipjar                                                                                                                                $            684.52
SLC          Operating Account             4069                     10/20/2020   On‐line Giving                                                                                                                        $            175.00
SLC          Operating Account             4069                     10/18/2020   Weekly envelopes; loose collection; sale of votive candles; donations; extra diocesan collections; reimbursement                      $          8,406.00
SLC          Operating Account             4069                     10/14/2020   On‐line Giving                                                                                                                        $            600.00
SLC          Operating Account             4069                     10/12/2020   Weddings                                                                                                                              $         15,250.00
                                                                                 Weekly envelopes; loose collection; sale of votive candles; donations; mass stipends; baptisms/funerals; certificate research;
SLC          Operating Account             4069                     10/11/2020   rentals ‐ church                                                                                                                      $          7,918.00
SLC          Operating Account             4069                      10/9/2020   On‐line Giving                                                                                                                        $            500.00
SLC          Operating Account             4069                      10/7/2020   void check #33459 damaged in mail                                                                                                     $            235.00
SLC          Operating Account             4069                      10/6/2020   On‐line Giving                                                                                                                        $            127.00
SLC          Operating Account             4069                      10/5/2020   On‐line Giving                                                                                                                        $            100.00
SLC          Operating Account             4069                      10/5/2020   Donations; mass stipends                                                                                                              $          2,974.17
SLC          Operating Account             4069                      10/4/2020   Weekly envelopes; loose collection; sale of votive candles; donations; mass stipends; certificate research                            $          8,037.00
SLC          Operating Account             4069                      10/2/2020   On‐line Giving                                                                                                                        $            100.00
SLC          Operating Account             4069                     10/23/2020   Mass stipends                                                                                                                         $              5.00
SLC          Souvenir Shop Account         4077                     10/31/2020   Cash sales; brochure donations                                                                                                        $          1,226.47
SLC          Souvenir Shop Account         4077                     10/18/2020   Cash sales; brochure donations                                                                                                        $          1,366.88
SLC          Souvenir Shop Account         4077                      10/5/2020   Credit card sales                                                                                                                     $            552.99
SLC          Souvenir Shop Account         4077                      10/1/2020   Cash sales; brochure donations                                                                                                        $          1,036.51
SLC          Operating Account             3736                     10/31/2020   Interest                                                                                                                              $              0.50
OLG          Operating Account             4318                      10/1/2020   Online Giving                                                                                                                          $            325.82
OLG          Operating Account             4318                      10/5/2020   Online Giving                                                                                                                          $             23.97
OLG          Operating Account             4318                      10/5/2020   Online Giving                                                                                                                          $         14,830.50
OLG          Operating Account             4318                      10/5/2020   Gift Shop                                                                                                                              $          3,691.32
OLG          Operating Account             4318                      10/6/2020   Online Giving                                                                                                                          $            262.52
OLG          Operating Account             4318                      10/7/2020   Online Giving                                                                                                                          $            510.40
OLG          Operating Account             4318                      10/8/2020   Online Giving                                                                                                                          $            424.82
OLG          Operating Account             4318                     10/12/2020   Gift Shop                                                                                                                              $          3,426.99
OLG          Operating Account             4318                     10/12/2020   Church                                                                                                                                 $         11,665.20
OLG          Operating Account             4318                     10/13/2020   Online Giving                                                                                                                          $            193.78
OLG          Operating Account             4318                     10/14/2020   Online Giving                                                                                                                          $            327.12
OLG          Operating Account             4318                     10/15/2020   Online Giving                                                                                                                          $             49.35
OLG          Operating Account             4318                     10/16/2020   Online Giving                                                                                                                          $            371.42
OLG          Operating Account             4318                     10/19/2020   Church                                                                                                                                 $         13,574.25
OLG          Operating Account             4318                     10/19/2020   Gift Shop                                                                                                                              $          3,700.59
OLG          Operating Account             4318                     10/21/2020   Online Giving                                                                                                                          $            552.19
OLG          Operating Account             4318                     10/22/2020   Online Giving                                                                                                                          $            419.82
OLG          Operating Account             4318                     10/26/2020   Online Giving                                                                                                                          $            127.23
OLG          Operating Account             4318                     10/27/2020   Church                                                                                                                                 $          3,945.00
OLG          Operating Account             4318                     10/27/2020   Gift Shop                                                                                                                              $          4,002.22
OLG          Operating Account             4318                     10/27/2020   Online Giving                                                                                                                          $            709.27
OLG          Operating Account             4318                     10/27/2020   Church                                                                                                                                 $         15,818.19
OLG          Operating Account             4318                     10/29/2020   Online Giving                                                                                                                          $            366.95
AOL          Fifth District Savings Bank   6344                     10/31/2020   Interest Income                                                                                                                       $              53.21
AOL          Operating Account             1492                      10/1/2020   Student Activity:Agency Payable: Mission Club and Student Activity Income                                                             $          2,193.00
AOL          Operating Account             1492                      10/5/2020   Tuition and Fees, Operations and Maintenance of Plant, Student Activity and Development Income                                        $         17,618.67
AOL          Operating Account             1492                      10/7/2020   Student Activity:Agency Payable: STUCO Spiritwear and Other Income                                                                    $             22.44
AOL          Operating Account             1492                      10/8/2020   Tuition and Fees, Student Activity Income, Fundraising Income, and Student Activity:Agency Payable: Bowling and Photography           $          5,286.00
AOL          Operating Account             1492                      10/9/2020   Development and Marketing and and Student Activity:Agency Payable‐Spiritwear                                                          $             96.00
AOL          Operating Account             1492                      10/9/2020   Development and Marketing                                                                                                             $              5.00
AOL          Operating Account             1492                      10/9/2020   Student Activity:Agency Payable: STUCO Spiritwear                                                                                     $             33.00
AOL          Operating Account             1492                      10/9/2020   Student Activity:Agency Payable: STUCO Spiritwear and Tuition and Fees                                                                $            151.00
AOL          Operating Account             1492                      10/9/2020   Student Activity:Agency Payable: STUCO Spiritwear                                                                                     $             91.00
AOL          Operating Account             1492                      10/9/2020   Tuition Transfer                                                                                                                      $          4,210.64
AOL          Operating Account             1492                      10/9/2020   Tuition Transfer                                                                                                                      $         49,891.11
AOL          Operating Account             1492                      10/9/2020   Tuition and Fees, Student Activity Income, Student Services and Student Activity:Agency Payable: Culinary                             $          6,909.70
AOL          Operating Account             1492                     10/13/2020   Tuition and Fees and Other Income                                                                                                     $              5.10
AOL          Operating Account             1492                     10/13/2020   Student Services: Agency Payable‐Clubs and other Income                                                                               $             25.50
AOL          Operating Account             1492                     10/13/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $             97.00
AOL          Operating Account             1492                     10/13/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $            167.00
AOL          Operating Account             1492                     10/13/2020   Student Services: Agency Payable‐Various Clubs and other Income                                                                       $            508.98
AOL          Operating Account             1492                     10/13/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $            510.00
AOL          Operating Account             1492                     10/13/2020   Student Services: Agency Payable‐Various Clubs and other Income                                                                       $            513.06
AOL          Operating Account             1492                     10/13/2020   Student Services: Agency Payable‐Various Clubs and other Income                                                                       $            526.32
AOL          Operating Account             1492                     10/13/2020   Student Services: Agency Payable‐Various Clubs and other Income                                                                       $            538.56
AOL          Operating Account             1492                     10/14/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $            140.00
AOL          Operating Account             1492                     10/14/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $            274.00
AOL          Operating Account             1492                     10/14/2020   Student Services: Agency Payable‐Various Clubs and other Income                                                                       $            716.04
AOL          Operating Account             1492                     10/15/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $            488.00
AOL          Operating Account             1492                     10/15/2020   Student Services: Agency Payable‐Various Clubs and other Income                                                                       $          1,059.78
AOL          Operating Account             1492                     10/15/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $          1,817.00
AOL          Operating Account             1492                     10/16/2020   Student Activity Income and Other Income                                                                                              $             18.36
AOL          Operating Account             1492                     10/16/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $             93.00
AOL          Operating Account             1492                     10/16/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $            335.00
AOL          Operating Account             1492                     10/16/2020   Student Services: Agency Payable‐Various Clubs and Tuition and Fees                                                                   $            671.35
AOL          Operating Account             1492                     10/16/2020   Student Services: Agency Payable‐Various Clubs and other Income                                                                       $            877.20
AOL          Operating Account             1492                     10/16/2020   Tuition and Fees and Development Income                                                                                               $         12,495.00
AOL          Operating Account             1492                     10/16/2020   Tuition and Fees                                                                                                                      $            830.00
AOL          Operating Account             1492                     10/19/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $            166.00
AOL          Operating Account             1492                     10/19/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $            384.54
AOL          Operating Account             1492                     10/19/2020   Student Services: Agency Payable‐Various Clubs and other Income                                                                       $            571.20
AOL          Operating Account             1492                     10/19/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $            787.00
AOL          Operating Account             1492                     10/19/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $          1,133.22
AOL          Operating Account             1492                     10/20/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $            265.34
AOL          Operating Account             1492                     10/20/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $            880.00
AOL          Operating Account             1492                     10/21/2020   Student Services: Agency Payable‐Various Clubs and other Income                                                                       $             56.10
AOL          Operating Account             1492                     10/21/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $            694.00
AOL          Operating Account             1492                     10/22/2020   Student Services: Agency Payable‐Various Clubs and other Income                                                                       $             40.80
AOL          Operating Account             1492                     10/22/2020   Student Activity Income                                                                                                               $             51.80
AOL          Operating Account             1492                     10/22/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $             58.00
AOL          Operating Account             1492                     10/22/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $            304.00
AOL          Operating Account             1492                     10/22/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $            338.00
AOL          Operating Account             1492                     10/22/2020   Student Services: Agency Payable‐Various Clubs and Tuition and Fees                                                                   $          1,647.00
AOL          Operating Account             1492                     10/22/2020   Student ServIces Income, Student Services;Agency Payable‐Clubs and Development Income                                                 $          1,729.99
AOL          Operating Account             1492                     10/22/2020   Student Activity Income                                                                                                               $          2,031.00
AOL          Operating Account             1492                     10/22/2020   Fund Raising income                                                                                                                   $          2,610.00
AOL          Operating Account             1492                     10/22/2020   Student Services: Agency Payable‐Various Clubs and Tuition and Fees                                                                   $          3,062.00
AOL          Operating Account             1492                     10/22/2020   Tuition and Fees, AR NSFs, Other income, student Services:Agency Payable‐Clubs                                                        $          3,960.00
AOL          Operating Account             1492                     10/22/2020   Fund Raising income                                                                                                                   $         10,000.00
AOL          Operating Account             1492                     10/23/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $             16.00
AOL          Operating Account             1492                     10/23/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $             50.00
AOL          Operating Account             1492                     10/23/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $             64.00
AOL          Operating Account             1492                     10/23/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $             67.00
AOL          Operating Account             1492                     10/23/2020   Student Services: Agency Payable‐Various Clubs and other Income                                                                       $             72.00
AOL          Operating Account             1492                     10/23/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $             74.00
AOL          Operating Account             1492                     10/23/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $             75.00
AOL          Operating Account             1492                     10/23/2020   Student Services: Agency Payable‐Various Clubs                                                                                        $            152.00
AOL          Operating Account             1492                     10/23/2020   Tuition Transfer                                                                                                                      $         14,198.52
AOL          Operating Account             1492                     10/23/2020   Tuition Transfer                                                                                                                      $        149,771.05
AOL          Operating Account             1492                     10/26/2020   Student Services: Agency Payable‐STUCO and Clubs and Other Income                                                                     $             81.60
AOL          Operating Account             1492                     10/26/2020   Student Services: Agency Payable‐Clubs                                                                                                $            100.00
AOL          Operating Account             1492                     10/26/2020   Student Services: Agency Payable‐Clubs and Other Income                                                                               $            106.10
AOL          Operating Account             1492                     10/26/2020   Student Services: Agency Payable‐Clubs and Other Income                                                                               $            132.60
AOL          Operating Account             1492                     10/26/2020   Student Services: Agency Payable‐Clubs                                                                                                $            152.00
AOL          Operating Account             1492                     10/26/2020   Student Services: Agency Payable‐Clubs and Other Income                                                                               $            336.60
AOL          Operating Account             1492                     10/27/2020   Student Services: Agency Payable‐Clubs                                                                                                $             55.00
AOL          Operating Account             1492                     10/27/2020   Student Services: Agency Payable‐Clubs                                                                                                $            160.00
 Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 7 of
                                           103
AOL    Operating Account         1492   10/27/2020   Student Services: Agency Payable‐Clubs                                                                                    $     1,591.00
AOL    Operating Account         1492   10/28/2020   Student Services: Agency Payable‐Clubs and Other Income                                                                   $        33.66
AOL    Operating Account         1492   10/28/2020   Student Services: Agency Payable‐Clubs                                                                                    $        35.00
AOL    Operating Account         1492   10/28/2020   Student Services: Agency Payable‐Clubs and Other Income                                                                   $       195.84
AOL    Operating Account         1492   10/31/2020   Development and Marketing                                                                                                 $        35.00
AOL    Operating Account         1492   10/31/2020   Student Services: Agency Payable‐STUCO                                                                                    $        43.00
AOL    Operating Account         1492   10/31/2020   Student Services: Agency Payable‐Clubs                                                                                    $        50.00
AOL    Operating Account         1492   10/31/2020   Student Services: Agency Payable‐STUCO                                                                                    $        72.00
AOL    Operating Account         1492   10/31/2020   Student Services: Agency Payable‐STUCO, Tuition and Fees, Develoment & Marketing                                          $        74.00
AOL    Operating Account         1492   10/31/2020   Tuition and Fees                                                                                                          $        96.43
AOL    Operating Account         1492   10/31/2020   Tuition and Fees                                                                                                          $        96.43
AOL    Operating Account         1492   10/31/2020   Interest Earned                                                                                                           $       472.20
AOL    Operating Account         1492   10/31/2020   Tuition Transfers                                                                                                         $     2,241.31
AOL    Tuition Lending Account   6054   10/31/2020   Interest Earned                                                                                                           $       419.85
AOL    Tuition Funded            0011   10/31/2020   Interest Earned                                                                                                           $     3,560.80
ACHS   Operating Account         1514    10/1/2020   BBMS‐ ALUM DUES, CHAPELLE FUND ‐ 10/1                                                                                     $       436.37
ACHS   Operating Account         1514    10/1/2020   PINK WEEK SHIRT, TUITION, BIG SIS LIL SIS SHIRT, CAMPUS MINISTRY LEADER SHIRT, CHAPELLETTE, PRO LIFE SHIRT, STUCO SHIRT   $     4,900.81
ACHS   Operating Account         1514    10/1/2020   TUITION PAYMENT                                                                                                           $     2,481.74
ACHS   Operating Account         1514    10/1/2020   TUITION TRANSFER FROM LOAN ACCT TO OPERATING ‐ 10/1/20                                                                    $     1,652.54
ACHS   Operating Account         1514    10/1/2020   INTEREST TRANSFER FROM LOAN ACCT TO OPERATING ‐ 10/1/20                                                                   $     3,959.00
ACHS   Operating Account         1514    10/2/2020   ATHLETIC FEES, PINK WEEK SHIRT, CAMPUS MINISTRY LEADERSHIP SHIRT, CHEER PAYMENT, HI STEPPER PAYMENT, STUCO SHIRT          $     1,866.20
ACHS   Operating Account         1514    10/2/2020   4410 BOOKSTORE SALES 10/2/20                                                                                              $          0.02
ACHS   Operating Account         1514    10/2/2020   4410 BOOKSTORE SALES 10‐2‐20                                                                                              $         63.00
ACHS   Operating Account         1514    10/2/2020   4410 BOOKSTORE SALES 10/2/20                                                                                              $          8.00
ACHS   Operating Account         1514    10/2/2020   4510 DONATION (ETAP 10‐2‐20) SPADAFORA ‐ BIOLOGY UPGRADE                                                                  $     7,500.00
ACHS   Operating Account         1514    10/2/2020   4510 CHAPELLE FUND (ETAP 10‐2‐20) DUREAU, DESTREHAN ANIMAL HOSP                                                           $       350.00
ACHS   Operating Account         1514    10/2/2020   1480212 SENIOR LOT PAINTING                                                                                               $         80.00
ACHS   Operating Account         1514    10/2/2020   1480035 AMBASSADOR SHIRT                                                                                                  $         15.00
ACHS   Operating Account         1514    10/2/2020   4499.04 STUDENT ID ‐                                                                                                      $         20.00
ACHS   Operating Account         1514    10/2/2020   TUITION TRANSFER FROM LOAN ACCT TO OPERATING ‐ 10/2/20                                                                    $       490.00
ACHS   Operating Account         1514    10/5/2020   4410 BOOKSTORE SALES 10/5/20                                                                                              $       151.00
ACHS   Operating Account         1514    10/5/2020   CAMPUS MINISTRY SHIRT, CHAPELLETTE PAYMENT, HI STEPPER PAYMENT, FEE PAYMENT                                               $       866.72
ACHS   Operating Account         1514    10/5/2020   1540.22 8TH GRADE PIN REPLACEMENT (RUDDY)                                                                                 $          5.00
ACHS   Operating Account         1514    10/5/2020   1481365 SOFTBALL CLUB FUNDRAISER                                                                                          $    10,240.00
ACHS   Operating Account         1514    10/5/2020   4410 BOOKSTORE SALES 10‐5‐20                                                                                              $       129.00
ACHS   Operating Account         1514    10/5/2020   1480212 SENIOR LOT PAINTING                                                                                               $         40.00
ACHS   Operating Account         1514    10/5/2020   6243 LIBRARY COPY SALES                                                                                                   $       112.50
ACHS   Operating Account         1514    10/5/2020   4499.04 STUDENT ID (MITCHELL)                                                                                             $         10.00
ACHS   Operating Account         1514    10/5/2020   1480212 SENIOR LOT PAINTING                                                                                               $       120.00
ACHS   Operating Account         1514    10/5/2020   TUITION TRANSFER FROM LOAN ACCT. TO OPERATING ‐ 10/5/20                                                                   $    99,394.90
ACHS   Operating Account         1514    10/6/2020   4510 CHAPELLE FUND (ETAP 10/6/20) MILANO                                                                                  $         55.00
ACHS   Operating Account         1514    10/6/2020   4499.04 STUDENT ID (WOLZ)                                                                                                 $         10.00
ACHS   Operating Account         1514    10/6/2020   ARETE FOR SIERRA                                                                                                          $     1,240.87
ACHS   Operating Account         1514    10/6/2020   TUITION PAYMENT                                                                                                           $     1,240.87
ACHS   Operating Account         1514    10/6/2020   1‐1480180 CHEER PAYMENT                                                                                                   $       915.00
ACHS   Operating Account         1514    10/6/2020   4‐1480180 CHEER CANDY FUNDRAISER                                                                                          $       184.00
ACHS   Operating Account         1514    10/6/2020   TUITION TRANSFER FROM LOAN ACCT TO OPERATING ‐ 10/6/20                                                                    $       910.00
ACHS   Operating Account         1514    10/7/2020   1‐1480565 HI STEPPER PAYMENT, ATHLETIC FEE                                                                                $       703.20
ACHS   Operating Account         1514    10/7/2020   1481155 PINK WEEK SOCK SALES                                                                                              $       620.00
ACHS   Operating Account         1514    10/7/2020   4340 CONCESSIONS VB VS0/6/20)                                                                                             $       193.00
ACHS   Operating Account         1514    10/7/2020   4310 GATE RECEIPTS ‐ VB VS 10/6/20                                                                                        $       535.00
ACHS   Operating Account         1514    10/7/2020   1480085 BASKETBALL GEAR                                                                                                   $       350.00
ACHS   Operating Account         1514    10/7/2020   4499.04 STUDENT ID                                                                                                        $         10.00
ACHS   Operating Account         1514    10/7/2020   TUITION PAYMENT                                                                                                           $     1,240.87
ACHS   Operating Account         1514    10/8/2020   CHAPELLETTE PAYMENT, CHEER PAYMENT, ATHLETIC FEE                                                                          $       366.00
ACHS   Operating Account         1514    10/8/2020   1480575 IMPRESSIONS BAKE SALE                                                                                             $       151.50
ACHS   Operating Account         1514    10/8/2020   4510 CHAPELLE FUND (ETAP 10/8/20) POTTER                                                                                  $         80.00
ACHS   Operating Account         1514    10/8/2020   1480035 AMBASSADOR SHIRT                                                                                                  $         15.00
ACHS   Operating Account         1514    10/8/2020   1481155 PINK WEEK SOCK SALES 10/8/20                                                                                      $       950.00
ACHS   Operating Account         1514    10/8/2020   1480035 AMBASSADOR SHIRT                                                                                                  $         15.00
ACHS   Operating Account         1514    10/8/2020   PINK WEEK SHIRT, STUCO SHIRT, PROLIFE SHIRT                                                                               $         38.00
ACHS   Operating Account         1514    10/8/2020   2‐1480180 CHEER CANDY FUNDRAISER                                                                                          $         50.00
ACHS   Operating Account         1514    10/8/2020   1480165 CAVE CLUB BAKE SALE                                                                                               $       328.00
ACHS   Operating Account         1514    10/9/2020   ATHLETIC FEE, CHAPELLETTE PAYMENT, CHEER PAYMENT, HI STEPPER PAYMENT                                                      $     2,061.70
ACHS   Operating Account         1514    10/9/2020   BBMS‐ CHAPELLE FUND 10/2, ALUM DUES 10/1                                                                                  $       315.33
ACHS   Operating Account         1514    10/9/2020   4410 BOOKSTORE SALES 10/9/20                                                                                              $       127.75
ACHS   Operating Account         1514    10/9/2020   1481155 PINK WEEK SOCKS                                                                                                   $       890.00
ACHS   Operating Account         1514    10/9/2020   TUITION                                                                                                                   $     7,525.00
ACHS   Operating Account         1514    10/9/2020   2‐1480180 CHEER CAMP PAYMENT                                                                                              $       300.00
ACHS   Operating Account         1514    10/9/2020   4‐1480180 CHEER CANDY FUNDRAISER                                                                                          $       120.00
ACHS   Operating Account         1514   10/12/2020   4410 BOOKSTORE SALES 10/12/20                                                                                             $         55.50
ACHS   Operating Account         1514   10/12/2020   BBMS‐ ALUM DUES/CHAPELLE FUND‐ 10/3‐10/5                                                                                  $       342.98
ACHS   Operating Account         1514   10/12/2020   1‐1480565 HI STEPPER PAYMENT                                                                                              $       449.10
ACHS   Operating Account         1514   10/12/2020   ACE‐TUITION PAYMENT                                                                                                       $     2,250.00
ACHS   Operating Account         1514   10/12/2020   4499.06 SCHOOL FOOD & NUTRITION ‐ PEST CONTROL 9/20                                                                       $         20.00
ACHS   Operating Account         1514   10/12/2020   1481975 REUNION DONATION CLASS OF 1975                                                                                    $       100.00
ACHS   Operating Account         1514   10/12/2020   1480500 GRANDPARENTS CLUB DUES                                                                                            $         20.00
ACHS   Operating Account         1514   10/12/2020   1480035 AMBASSADOR SHIRTS                                                                                                 $         45.00
ACHS   Operating Account         1514   10/12/2020   1540.22 8TH GRADE PIN REPLACED                                                                                            $          5.00
ACHS   Operating Account         1514   10/12/2020   TUITION TRANSFER FROM LOAN ACCT TO OPERATING ‐ 10/12/20                                                                   $     1,948.57
ACHS   Operating Account         1514   10/12/2020   TRANSFER BACK TO OPERATING FROM T/E‐FBT FOR RECLASS OF T/E DONATION FROM ‐ RECLASSED TO CHAPELLE FUND @ 9/30/20           $     3,000.00
ACHS   Operating Account         1514   10/13/2020   ATHLETIC FEE                                                                                                              $       300.00
ACHS   Operating Account         1514   10/13/2020   TUITION PAYMENTS                                                                                                          $     2,325.00
ACHS   Operating Account         1514   10/13/2020   TUITION PAYMENT                                                                                                           $     1,240.87
ACHS   Operating Account         1514   10/13/2020   1480035 AMBASSADOR SHIRT(ROUSE)                                                                                           $         15.00
ACHS   Operating Account         1514   10/13/2020   TUITION TRANSFER FROM LOAN ACCT TO OPERATING ‐ 10/13/20                                                                   $     1,820.00
ACHS   Operating Account         1514   10/14/2020   4410 BOOKSTORE SALES 10/14/20                                                                                             $         22.50
ACHS   Operating Account         1514   10/14/2020   TUITION PAYMENTS                                                                                                          $     2,450.00
ACHS   Operating Account         1514   10/14/2020   4510 CHAPELLE FUND (ETAP 10‐14‐20) BRECHTEL, CARTER, DONEGAN, GIFFIN                                                      $       185.00
ACHS   Operating Account         1514   10/14/2020   4510 DONATION ‐ BIOLOGY LAB UPGRADE (ETAP 10/14/20) VOGT                                                                  $    10,000.00
ACHS   Operating Account         1514   10/14/2020   4310 GATE RECEIPTS ‐ VB VS MCA 10‐13‐20                                                                                   $       231.00
ACHS   Operating Account         1514   10/14/2020   4310 GATE RECEIPTS VB VS MCA 10‐13‐20                                                                                     $       804.00
ACHS   Operating Account         1514   10/14/2020   PINK WEEK SOCK SALES                                                                                                      $       540.00
ACHS   Operating Account         1514   10/14/2020   4310 GATE RECEIPTS VB VS MCA 10‐13‐20                                                                                     $       612.00
ACHS   Operating Account         1514   10/14/2020   4340 CONCESSIONS VB VS MCA 10‐13‐20                                                                                       $       921.00
ACHS   Operating Account         1514   10/14/2020   TUITION TRANSFER FROM LOAN ACCT TO OPERATING ‐ 10/14/20                                                                   $     1,000.00
ACHS   Operating Account         1514   10/15/2020   4410 BOOKSTORE SALES 10/15/20                                                                                             $         30.00
ACHS   Operating Account         1514   10/15/2020   INSTRUMENT RENTAL, CHEER PAYMENT, RING DANCE TICKET                                                                       $       381.00
ACHS   Operating Account         1514   10/15/2020   4499.04 STUDENT ID                                                                                                        $         30.00
ACHS   Operating Account         1514   10/15/2020   1480035 AMBASSADOR SHIRT                                                                                                  $         15.00
ACHS   Operating Account         1514   10/15/2020   4510 BIOLOGY LAB UPGRADE                                                                                                  $    20,000.00
ACHS   Operating Account         1514   10/15/2020   1480035 AMBASSADOR SHIRT                                                                                                  $         10.00
ACHS   Operating Account         1514   10/15/2020   4510 CHAPELLE FUND (ETAP 10/15/20)                                                                                        $       400.00
ACHS   Operating Account         1514   10/15/2020   TUITION                                                                                                                   $     1,240.87
ACHS   Operating Account         1514   10/15/2020   TUITION                                                                                                                   $     1,050.00
ACHS   Operating Account         1514   10/15/2020   TUITION TRANSFER FROM LOAN ACCT TO OPERATING ‐ 10/15/20                                                                   $   143,081.55
ACHS   Operating Account         1514   10/15/2020   RECORD TRANSFER DEPOSIT FROM OPERATING TO T/E‐FBT                                                                         $       250.00
ACHS   Operating Account         1514   10/16/2020   INSTRUMENT RENTAL                                                                                                         $         75.00
ACHS   Operating Account         1514   10/16/2020   1481155 PINK WEEK SOCK SALES                                                                                              $       350.00
ACHS   Operating Account         1514   10/16/2020   1481155 PINK WEEK SOCK SALES                                                                                              $         40.00
ACHS   Operating Account         1514   10/16/2020   TUITION                                                                                                                   $     1,550.00
ACHS   Operating Account         1514   10/19/2020   TUITION                                                                                                                   $     1,050.00
ACHS   Operating Account         1514   10/19/2020   (ETAP 10/19/20) IMPASTATO HYDRATION STATION (2)                                                                           $     5,000.00
ACHS   Operating Account         1514   10/19/2020   4510 CHAPELLE FUND (ETAP 10/19/20)                                                                                        $         50.00
ACHS   Operating Account         1514   10/19/2020   1481155 PINK WEEK LEMONADE & DONUT SALES                                                                                  $       561.00
ACHS   Operating Account         1514   10/19/2020   1481155 PINK WEEK RAFFLE                                                                                                  $       515.00
ACHS   Operating Account         1514   10/19/2020   PINK WEEK RIBBON CONTEST                                                                                                  $     1,779.00
ACHS   Operating Account         1514   10/19/2020   1481155 PINK WEEK SOCKS                                                                                                   $         80.00
ACHS   Operating Account         1514   10/19/2020   4310 GATE RECEIPTS VB VS ASH 10/17/20                                                                                     $       580.00
ACHS   Operating Account         1514   10/19/2020   4340 CONCESSIONS VB VS ASH 10/17/20                                                                                       $       242.00
ACHS   Operating Account         1514   10/19/2020   AUCTIONS IN AUGUST                                                                                                        $       150.00
ACHS   Operating Account         1514   10/19/2020   BOOKSTORE SALES                                                                                                           $       192.50
ACHS   Operating Account         1514   10/19/2020   TUITION                                                                                                                   $     1,050.00
ACHS   Operating Account         1514   10/20/2020   4410 BOOKSTORE SALES 10/20/20                                                                                             $         58.00
ACHS   Operating Account         1514   10/20/2020   1482021 CLASS OF 2021 RING DANCE TICKETS                                                                                  $       180.00
ACHS   Operating Account         1514   10/20/2020   4499.04 STUDENT ID (MCCANN)                                                                                               $         10.00
ACHS   Operating Account         1514   10/20/2020   BBMS‐ ALUM DUES‐ 10/11‐10/13                                                                                              $         48.08
ACHS   Operating Account         1514   10/20/2020   TUITION TRANSFER FROM LOAN ACCT TO OPERATIONG ‐ 10/20/20                                                                  $       655.93
ACHS   Operating Account         1514   10/21/2020   ART FEE                                                                                                                   $         40.00
ACHS   Operating Account         1514   10/21/2020   4510 CHAPELLE FUND (ETAP 10/21/20)                                                                                        $       150.00
ACHS   Operating Account         1514   10/21/2020   BBMS‐ CHAPELLE FUND‐ 10/14                                                                                                $          4.60
ACHS   Operating Account         1514   10/21/2020   4460 COCA COLA VENDING ‐CAFETERIA, TEACHERS LOUNGE                                                                        $         65.56
ACHS   Operating Account         1514   10/21/2020   4460 COCA COLA VENDING (OUTSIDE APRIL, AUG, SEPT)                                                                         $         33.54
ACHS   Operating Account         1514   10/21/2020   TRANSFER FROM LOAN TO OPERATING                                                                                           $     1,576.23
ACHS   Operating Account         1514   10/22/2020   4410 BOOKSTORE SALES 10/22/20                                                                                             $       110.75
ACHS   Operating Account         1514   10/22/2020   4340 CONCESSION VB VS NORTHSHORE 10/19/20                                                                                 $       109.00
ACHS   Operating Account         1514   10/22/2020   4310 GATE RECEIPTS VB VS NORTHSHORE 10/19                                                                                 $       445.00
ACHS   Operating Account         1514   10/22/2020   ALUM DUES, CHAPELLE FUND                                                                                                  $       533.83
ACHS   Operating Account         1514   10/22/2020   4‐1480180 CHEER CANDY FUNDRAISER                                                                                          $         60.00
ACHS   Operating Account         1514   10/22/2020   TRANSFER FROM LOAN TO OPERATING                                                                                           $       433.91
ACHS   Operating Account         1514   10/23/2020   4410 BOOKSTORE SALES 10/23/20                                                                                             $          7.00
ACHS   Operating Account         1514   10/23/2020   1‐1480565 HI STEPPER PAYMENT                                                                                              $     1,468.20
ACHS   Operating Account         1514   10/23/2020   4499.06 SCHOOL FOOD & NUTRITION UTILITIES (10/14/20)                                                                      $       375.00
ACHS   Operating Account         1514   10/23/2020   4310 GATE RECEIPTS ‐ VB VS GRACE KING 10/22/20                                                                            $       285.00
ACHS   Operating Account         1514   10/23/2020   4340 CONCESSIONS ‐ VB VS GRACE KING 10/22/20                                                                              $       129.00
ACHS   Operating Account         1514   10/23/2020   4‐1480180 CHEER CANDY SALES                                                                                               $         60.00
ACHS   Operating Account         1514   10/23/2020   4499.04 STUDENT ID                                                                                                        $         10.00
ACHS   Operating Account         1514   10/23/2020   BBMS‐ COCKTAILS/COURTYARD‐ 10/16, CHAPELLE FUND                                                                           $         67.52
ACHS   Operating Account         1514   10/23/2020   4499.03 COMMISSION ‐                                                                                                      $     2,050.00
ACHS   Operating Account         1514   10/26/2020   4410 BOOKSTORE SALES 10/26/20                                                                                             $         33.00
ACHS   Operating Account         1514   10/26/2020   CHAPELLETTE PAYMENT, HI STEPPER PAYMENT, VOOBOO FOOD ORDERS                                                               $       978.50
ACHS   Operating Account         1514   10/26/2020   1480200 CHIPS FOR LIFE‐ SPIRITUAL ADOPTION, RAFFLE LUNCH                                                                  $       213.00
ACHS   Operating Account         1514   10/26/2020   TUITION PAYMENT                                                                                                           $     1,000.00
 Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 8 of
                                           103
ACHS   Operating Account             1514   10/26/2020   4510 CHAPELLE FUND (ETAP 10/26/20)                                                $       250.00
ACHS   Operating Account             1514   10/26/2020   4410 BOOKSTORE SALES 10/26/20                                                     $       148.00
ACHS   Operating Account             1514   10/26/2020   TUITION TRANSFER FROM LOAN ACCT TO OPERATING ‐ 10/26/20                           $     6,648.39
ACHS   Operating Account             1514   10/26/2020   TUITION TRANSFER FROM LOAN ACCT TO OPERATING ‐ 10/23/20 (POSTED 10/26/20)         $     4,994.60
ACHS   Operating Account             1514   10/27/2020   4410 BOOKSTORE SALES 10/27/20                                                     $        47.25
ACHS   Operating Account             1514   10/27/2020   HI STEPPER PAYMENT, VOOBOO FOOD PAYMENT                                           $     2,252.00
ACHS   Operating Account             1514   10/27/2020   TUITION PAYMENT                                                                   $     1,125.00
ACHS   Operating Account             1514   10/27/2020   1480500 GRANDPARENTS CLUB DUES                                                    $        10.00
ACHS   Operating Account             1514   10/27/2020   4999.07 COLLEGE BOARD AP REBATE                                                   $       250.00
ACHS   Operating Account             1514   10/27/2020   1480500 GRANDPARENTS CLUB BAKE SALES 10/27/20                                     $       592.00
ACHS   Operating Account             1514   10/27/2020   4499.04 STUDENT ID (GLORY)                                                        $        10.00
ACHS   Operating Account             1514   10/27/2020   4460 COCA COLA 2ND QTR CMA                                                        $         4.00
ACHS   Operating Account             1514   10/27/2020   TUITION PAYMENT                                                                   $     1,100.00
ACHS   Operating Account             1514   10/29/2020   HI STEPPER                                                                        $        69.00
ACHS   Operating Account             1514   10/30/2020   4410 BOOKSTORE SALES 10/30/20                                                     $       132.28
ACHS   Operating Account             1514   10/30/2020   4410 BOOKSTORE SALES 10/30/20                                                     $        84.00
ACHS   Operating Account             1514   10/30/2020   CHAPELLETTE PAYMENT, HI STEPPER PAYMENT, VOOBOO FOOD                              $       905.40
ACHS   Operating Account             1514   10/31/2020   RECORD INTEREST ‐ OPERATING ‐ 10/20                                               $        20.16
ACHS   Tuition Endowment             1745   10/14/2020   4510 ENDOWMENT DEPOSIT (ETAP 10/14/20)                                            $        20.00
ACHS   Tuition Endowment             1745   10/15/2020   4510 ENDOWMENT DEPOSIT (ETAP 10/15/20)                                            $        20.00
ACHS   Tuition Endowment             1745   10/15/2020   RECORD TRANSFER OF T/E‐ DEPOSIT FROM OPERATING TO T/E‐FBT                         $       250.00
ACHS   Tuition Endowment             1745   10/19/2020   4510 ENDOWMENT DEPOSIT (ETAP 10/19/20) , 4510 ENDOWMENT DEPOSIT (ETAP 10/19/20)   $        30.00
ACHS   Tuition Endowment             1745   10/21/2020   4510 ENDOWMENT DEPOSIT ‐ (ETAP 10/21/20) ESPEY                                    $       600.00
ACHS   Tuition Endowment             1745   10/22/2020   RECORD TRANSFER FROM CASH ONLINE TO T/E FBT ‐ STRIPE 10/20/20                     $       100.00
ACHS   Tuition Endowment             1745   10/31/2020   RECORD INTEREST ‐ T/E FBT ‐ 10/20                                                 $         2.66
ACHS   Cash‐on‐line giving           2809    10/1/2020   STRIPE‐ COCKTAILS/COURTYARD‐ #1‐#3                                                $        86.49
ACHS   Cash‐on‐line giving           2809    10/2/2020   STRIPE‐ COCKTAILS/COURTYARD‐ #4‐#13                                               $       259.47
ACHS   Cash‐on‐line giving           2809    10/3/2020   STRIPE‐ CLASS 1975‐ #11 (SURMAN)/COCKTAILS/COURTYARD‐ #14‐#18                     $       260.37
ACHS   Cash‐on‐line giving           2809    10/4/2020   STRIPE‐ CLASS 1975‐ #12 (MAZERAT)/COCKTAILS/COURTYARD‐ #19‐#20                    $       115.62
ACHS   Cash‐on‐line giving           2809    10/5/2020   STRIPE‐ COCKTAILS/COURTYARD‐ #21‐#22                                              $        57.66
ACHS   Cash‐on‐line giving           2809    10/6/2020   STRIPE‐ COCKTAILS/COURTYARD‐ #24 (SALYERS)                                        $        28.83
ACHS   Cash‐on‐line giving           2809    10/8/2020   STRIPE‐ BLEACHER SEATS ‐ #1 (L. BROUSSARD)                                        $        48.25
ACHS   Cash‐on‐line giving           2809    10/9/2020   STRIPE‐ COCKTAILS/COURTYARD ‐ #25‐#26                                             $        57.66
ACHS   Cash‐on‐line giving           2809   10/10/2020   STRIPE‐ COCKTAILS/COURTYARD‐ #28‐#35                                              $       144.15
ACHS   Cash‐on‐line giving           2809   10/11/2020   STRIPE‐ COCKTAILS/COURTYARD‐ #36‐#45/CLASS 1975‐ #13‐#16                          $       549.57
ACHS   Cash‐on‐line giving           2809   10/12/2020   STRIPE‐ COCKTAILS/COURTYARD‐ #46‐#52/CLASS 1975‐ #17‐#18                          $       434.25
ACHS   Cash‐on‐line giving           2809   10/13/2020   STRIPE‐ COCKTAILS/COURTYARD‐ #53‐#61 / CLASS 1975‐ #19‐#21                        $       491.61
ACHS   Cash‐on‐line giving           2809   10/14/2020   STRIPE ‐ COCKTAILS/COURTYARD #62‐#73                                              $       317.13
ACHS   Cash‐on‐line giving           2809   10/15/2020   STRIPE‐ COCKTAILS/COURTYARD #74‐#77                                               $       115.32
ACHS   Cash‐on‐line giving           2809   10/16/2020   STRIPE ‐ COCKTAILS/COURTYARD, CLASS 1975 REUNION, TRANSCRIPT                      $       379.64
ACHS   Cash‐on‐line giving           2809   10/18/2020   STRIPE‐ COCKTAILS/COURTYARD‐ #90‐#93                                              $       115.32
ACHS   Cash‐on‐line giving           2809   10/19/2020   COCKTAILS/COURTYARD, TRANSCRIPT                                                   $        62.21
ACHS   Cash‐on‐line giving           2809   10/19/2020   REVERSE BANK CHARGE ON 105/20 ‐ DISPUTED                                          $       123.95
ACHS   Cash‐on‐line giving           2809   10/20/2020   STRIPE‐ COCKTAILS/COURTYARD #96‐#99, T/E‐ SCHOLARSHIP FUND‐ #29 (CLAVERIE)        $       112.12
ACHS   Cash‐on‐line giving           2809   10/21/2020   STRIPE‐ COCKTAILS/COURTYARD #100‐#109                                             $       259.47
ACHS   Cash‐on‐line giving           2809   10/21/2020   4510 STRIPE‐ T/E ‐ SCHOLARSHIP FUND‐ #29 (CLAVERIE)                               $       100.00
ACHS   Cash‐on‐line giving           2809   10/22/2020   STRIPE‐ COCKTAILS/COURTYARD #110‐#118                                             $       230.64
ACHS   Cash‐on‐line giving           2809   10/23/2020   STRIPE‐ COCKTAILS/COURTYARD‐ #119‐#124                                            $       172.98
ACHS   Cash‐on‐line giving           2809   10/24/2020   STRIPE‐ COCKTAILS/COURTYARD #126‐#136                                             $       317.13
ACHS   Cash‐on‐line giving           2809   10/25/2020   STRIPE‐ COCKTAILS/COURTYARD #137‐#146                                             $       259.47
ACHS   Cash‐on‐line giving           2809   10/26/2020   STRIPE‐ COCKTAILS/COURTYARD #147‐#155                                             $       230.64
ACHS   Cash‐on‐line giving           2809   10/27/2020   STRIPE‐ COCKTAILS/COURTYARD #156‐#164, TRANSCRIPT #38 (BURKE)                     $       264.02
ACHS   Cash‐on‐line giving           2809   10/28/2020   STRIPE‐ COCKTAILS/COURTYARD #165‐#169                                             $       144.15
ACHS   Cash‐on‐line giving           2809   10/30/2020   STRIPE‐ COCKTAILS/COURTYARD #171                                                  $        28.83
ACHS   Cash‐on‐line giving           2809   10/31/2020   STRIPE‐ COCKTAILS/COURTYARD #172                                                  $        28.83
ACHS   Cash‐on‐line giving           2809   10/31/2020   RECORD INTEREST ‐ CASH ONLINE ‐ 10/20                                             $         3.29
ACHS   Next Year Cash                4967   10/31/2020   RECORD INTEREST ‐ NY CASH ‐ 10/20                                                  $       28.68
ACHS   Tuition Borrower Loan Funds   0184   10/20/2020                                                                                      $      250.00
ACHS   Tuition Borrower Loan Funds   0184   10/31/2020   RECORD INTEREST ‐ LOAN ACCT ‐ 10/20                                               $     3,376.93
AHHS   Operating                     8545    10/1/2020   Transfer interest from tuition reserve                                            $     2,586.99
AHHS   Operating                     8545    10/7/2020   Student Activities                                                                $     4,380.00
AHHS   Operating                     8545    10/1/2020   Student Activities / Tuition and Fees / Development / Student Services            $     5,866.00
AHHS   Operating                     8545    10/1/2020   Tuition and fees / student activities                                             $     2,376.83
AHHS   Operating                     8545    10/2/2020   Development                                                                       $       194.14
AHHS   Operating                     8545    10/2/2020   Tuition and fees / student activities                                             $     6,063.04
AHHS   Operating                     8545    10/1/2020   Tuition and fees                                                                  $     8,197.26
AHHS   Operating                     8545    10/5/2020   Development                                                                       $     2,015.90
AHHS   Operating                     8545    10/5/2020   Development/Student Services/Student Activities                                   $     3,330.00
AHHS   Operating                     8545    10/7/2020   Student ACtivities                                                                $     4,023.00
AHHS   Operating                     8545    10/5/2020   Tuition and fees / student services                                               $    17,845.00
AHHS   Operating                     8545    10/6/2020   Development                                                                       $     4,859.84
AHHS   Operating                     8545    10/2/2020   Tuition and fees                                                                  $     2,079.00
AHHS   Operating                     8545    10/6/2020   Other ‐ sale of reitred MacBook Airs                                              $       950.00
AHHS   Operating                     8545    10/6/2020   Tuition and fees / student services                                               $     2,500.00
AHHS   Operating                     8545    10/5/2020   Tuition and fees                                                                  $    66,514.81
AHHS   Operating                     8545    10/7/2020   Tuition and fees                                                                  $        94.00
AHHS   Operating                     8545    10/7/2020   Development                                                                       $     1,544.73
AHHS   Operating                     8545    10/7/2020   Tuition and fees                                                                  $     6,300.07
AHHS   Operating                     8545    10/8/2020   Tuition and fees / student services                                               $     7,225.00
AHHS   Operating                     8545    10/9/2020   Development                                                                       $     1,395.96
AHHS   Operating                     8545   10/14/2020   Student activities                                                                $     1,440.25
AHHS   Operating                     8545    10/8/2020   Tuition and fees / student activities / development                               $     3,945.87
AHHS   Operating                     8545    10/8/2020   Tuition and fees                                                                  $     2,943.09
AHHS   Operating                     8545    10/9/2020   Tuition and fees / student activities                                             $     4,751.00
AHHS   Operating                     8545   10/12/2020   Tuition and fees / student services                                               $    20,405.00
AHHS   Operating                     8545   10/14/2020   Other ‐ donations collected for Food Bank                                         $       881.00
AHHS   Operating                     8545   10/13/2020   Tuition and Fees / Student Services / Student Activities / Development            $    11,176.00
AHHS   Operating                     8545   10/13/2020   Tuition and fees / student activities                                             $     3,245.00
AHHS   Operating                     8545   10/14/2020   Student Services                                                                  $        40.00
AHHS   Operating                     8545   10/15/2020   Other ‐ sale of retired MacBook                                                   $       475.00
AHHS   Operating                     8545   10/14/2020   Tuition and Fees                                                                  $       364.61
AHHS   Operating                     8545   10/15/2020   Tuition and fees / student activities                                             $     3,798.00
AHHS   Operating                     8545   10/21/2020   Student activites / Development                                                   $     4,302.40
AHHS   Operating                     8545   10/15/2020   Tuition and fees                                                                  $    95,220.49
AHHS   Operating                     8545   10/16/2020   Tuition and Fees / student activities / student services                          $    14,815.00
AHHS   Operating                     8545   10/16/2020   Other ‐ reimbursement for courier expense                                         $       131.52
AHHS   Operating                     8545   10/21/2020   Student Activities / fundraising                                                  $     2,265.50
AHHS   Operating                     8545   10/21/2020   Other ‐ donations collected for Mary Bird Perkins                                 $        40.40
AHHS   Operating                     8545   10/21/2020   Other ‐ donations collected for MAry Bird Perkins                                 $        35.01
AHHS   Operating                     8545   10/16/2020   Tuition and fees                                                                  $     3,202.34
AHHS   Operating                     8545   10/19/2020   Student Activities                                                                $       136.00
AHHS   Operating                     8545   10/19/2020   Tuition and fees / student activities                                             $    13,091.00
AHHS   Operating                     8545   10/20/2020   Development                                                                       $       145.28
AHHS   Operating                     8545   10/20/2020   Tuition and fees / student activities                                             $       203.00
AHHS   Operating                     8545   10/21/2020   Development                                                                       $       194.14
AHHS   Operating                     8545   10/19/2020   Tuition and fees / student activities / development                               $     2,241.75
AHHS   Operating                     8545   10/22/2020   Development                                                                       $     1,097.50
AHHS   Operating                     8545   10/21/2020   Tuition and fees                                                                  $     3,600.00
AHHS   Operating                     8545   10/28/2020   Student Activities / Development                                                  $     3,071.70
AHHS   Operating                     8545   10/21/2020   Tuition and fees                                                                  $       798.46
AHHS   Operating                     8545   10/22/2020   Tuition and fees                                                                  $     1,039.50
AHHS   Operating                     8545   10/22/2020   Tuition and fees / development / student services                                 $     5,633.11
AHHS   Operating                     8545   10/22/2020   Tuition and fees                                                                  $    10,800.00
AHHS   Operating                     8545   10/23/2020   Tuition and fees                                                                  $     1,032.00
AHHS   Operating                     8545   10/23/2020   Tuition and fees                                                                  $     5,550.00
AHHS   Operating                     8545   10/28/2020   Student Activities                                                                $     2,775.00
AHHS   Operating                     8545   10/26/2020   Student Activities                                                                $     1,500.00
AHHS   Operating                     8545   10/26/2020   Tuition and Fees / Development / Student Services                                 $    14,856.00
AHHS   Operating                     8545   10/26/2020   DEvelopment                                                                       $       363.72
AHHS   Operating                     8545   10/26/2020   Tuition and fees / student activities                                             $    21,780.00
AHHS   Operating                     8545   10/23/2020   Tuition and fees                                                                  $       929.50
AHHS   Operating                     8545   10/27/2020   Development                                                                       $         9.46
AHHS   Operating                     8545   10/27/2020   Tuition and fees / student activities                                             $     7,440.00
AHHS   Operating                     8545   10/28/2020   Development                                                                       $       173.92
AHHS   Operating                     8545   10/28/2020   Tuition and fees / student activities                                             $     4,825.41
AHHS   Operating                     8545   10/27/2020   Tuition and fees                                                                  $     1,079.50
AHHS   Operating                     8545   10/29/2020   Stop Payment on check 24285 from previous period                                  $        62.00
AHHS   Operating                     8545   10/29/2020   Tuition and fees                                                                  $     7,200.00
AHHS   Operating                     8545   10/29/2020   Development                                                                       $       291.08
AHHS   Operating                     8545   10/30/2020   Student Services / Student Activities / Development / Operations                  $     1,540.34
AHHS   Operating                     8545   10/29/2020   Tuition and fees                                                                  $     1,039.50
AHHS   Operating                     8545   10/30/2020   Tuition and fees / student activities                                             $    36,203.00
AHHS   Operating                     8545   10/30/2020   Other ‐ interest                                                                  $        15.14
AHHS   Tuition Reserve Account       0079    10/1/2020   Tuition loan funding                                                              $    10,395.00
AHHS   Tuition Reserve Account       0079   10/19/2020   Tuition loan funding                                                              $    10,803.95
AHHS   Tuition Reserve Account       0079   10/30/2020   Other ‐ interest                                                                  $     2,222.11
ARHS   Day Camp Account              2887   10/23/2020   FBT Net Stripe Deposits 10/7/2020 for Basketball Fall Clinic                       $      775.60
ARHS   Day Camp Account              2887   10/23/2020   FBT Net Stripe Deposits 10/13/2020 for Basketball Fall Clinic                      $      193.90
ARHS   Day Camp Account              2887   10/23/2020   FBT Net Stripe Deposits 10/14/2020 for Basketball Fall Clinic                      $      775.60
ARHS   Day Camp Account              2887   10/23/2020   FBT Net Stripe Deposits 10/15/2020 for Basketball Fall Clinic                      $      193.90
ARHS   Day Camp Account              2887   10/23/2020   FBT Net Stripe Deposits 10/14/2020 for Basketball Fall Clinic                      $      387.80
ARHS   Day Camp Account              2887   10/23/2020   FBT Net Stripe Deposits 10/15/2020 for Basketball Fall Clinic                      $      581.70
ARHS   Merchant Account              2876    10/9/2020   Online FACTS Bookstore Deposits Oct 1‐9, 2020                                      $      714.00
ARHS   Merchant Account              2876    10/9/2020   Merch Serv Dpst 5670 Bkstr Sales 10/01/20                                          $      543.00
ARHS   Merchant Account              2876    10/9/2020   Merch Serv Dpst 5670 Bkstr Sales 10/2/20                                           $      355.40
ARHS   Merchant Account              2876    10/9/2020   FACTS Bkstr Deposits Online 10/5/20                                                $      892.30
ARHS   Merchant Account              2876    10/9/2020   FACTS Bkstr Deposits Online 10/6/20                                                $      118.00
ARHS   Merchant Account              2876    10/9/2020   FACTS Bkstr Deposits Online 10/7/20                                                $       94.00
ARHS   Merchant Account              2876    10/9/2020   FACTS Bkstr Deposits Online 10/8/20                                                $      552.00
ARHS   Merchant Account              2876    10/9/2020   FACTS Bkstr Deposits Online 10/9/20                                                $       32.00
ARHS   Merchant Account              2876   10/16/2020   Credit Card Payment ‐ AP Class                                                     $       92.70
ARHS   Merchant Account              2876   10/23/2020   Online FACTS Bookstore Deposits Oct 10‐23, 2020                                    $      845.40
ARHS   Merchant Account              2876   10/23/2020   Merch Serv Dpst 5670 Bkstr Sales 10/13/20                                          $       29.60
 Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 9 of
                                           103
ARHS   Merchant Account                              2876   10/23/2020   Merch Serv Dpst 5670 Bkstr Sales 10/13/20                                                     $       126.40
ARHS   Merchant Account                              2876   10/23/2020   FACTS Bkstr Deposits Online 10/14/20                                                          $        15.00
ARHS   Merchant Account                              2876   10/23/2020   FACTS Bkstr Deposits Online 10/14/20                                                          $       748.00
ARHS   Merchant Account                              2876   10/23/2020   FACTS Bkstr Deposits Online 10/15/20                                                          $       202.00
ARHS   Merchant Account                              2876   10/23/2020   FACTS Bkstr Deposits Online 10/16/20                                                          $        25.00
ARHS   Merchant Account                              2876   10/23/2020   FACTS Bkstr Deposits Online 10/20/20                                                          $       184.00
ARHS   Merchant Account                              2876   10/23/2020   FACTS Bkstr Deposits Online 10/21/20                                                          $        39.00
ARHS   Merchant Account                              2876   10/23/2020   FACTS Bkstr Deposits Online 10/22/20                                                          $       315.60
ARHS   Merchant Account                              2876   10/23/2020   FACTS Bkstr Deposits Online 10/23/20                                                          $       145.00
ARHS   Merchant Account                              2876   10/31/2020   Online FACTS Bookstore Deposits Oct 27‐30, 2020                                               $       491.05
ARHS   Merchant Account                              2876   10/31/2020   Merch Serv Dpst 5670 Bkstr Sales 10/26/20                                                     $       659.20
ARHS   Merchant Account                              2876   10/31/2020   Merch Serv Dpst 5670 Bkstr Sales 10/27/20                                                     $        44.00
ARHS   Merchant Account                              2876   10/31/2020   Merch Serv Dpst 5670 Bkstr Sales 10/28/20                                                     $        25.00
ARHS   Online Advancement                            2832   10/31/2020   Oct Online Advancement Deposits                                                               $    22,731.08
ARHS   Online Band                                   2854   10/23/2020   10/19/20 Online Band purchae of slip folders                                                 $        10.30
ARHS   Online Band                                   2854   10/29/2020   10/29/20 Online Band Candy Sales Disney                                                      $       119.60
ARHS   Online Student Services                       2843    10/9/2020   Online FACTS Lunch Fd Serv Deposits Oct 1 ‐ 9,2020                                            $    16,717.69
ARHS   Online Student Services                       2843   10/23/2020   Online FACTS Lunch Fd Serv Deposits Oct 10 ‐ 23, 2020                                         $    17,829.70
ARHS   Online Student Services                       2843   10/31/2020   Online FACTS Lunch Fd Serv Deposits Oct 26‐ 30, 2020                                          $    12,220.81
ARHS   Online Tuition/Fees                           2777   10/14/2020   Online Payment ‐ NSF payment for ART and Yearbook from 8/20/20                                $       140.00
ARHS   Online Tuition/Fees                           2777   10/30/2020   FBT Octobernterest                                                                            $         3.11
ARHS   OPERATING ACCOUNT                             2799    10/2/2020   Football Fundraising                                                                         $     1,000.00
ARHS   OPERATING ACCOUNT                             2799    10/2/2020   Bookstore 9.30.20                                                                            $       137.00
ARHS   OPERATING ACCOUNT                             2799    10/2/2020   Bookstore 10.1.20                                                                            $        95.00
ARHS   OPERATING ACCOUNT                             2799    10/2/2020   Bookstore 10.1.20                                                                            $        30.00
ARHS   OPERATING ACCOUNT                             2799    10/2/2020   Pre‐sale football tickets game 10/2/20 Hammond High zat SLU                                  $     1,224.00
ARHS   OPERATING ACCOUNT                             2799    10/2/2020   Pre‐Sale football tickets for game 10/2/20 Hammond High at SLU                               $     4,216.00
ARHS   OPERATING ACCOUNT                             2799    10/5/2020   Bookstore 10.2.20                                                                             $       122.00
ARHS   OPERATING ACCOUNT                             2799    10/5/2020   Tuition & Fees                                                                                $       400.00
ARHS   OPERATING ACCOUNT                             2799    10/5/2020   Tuition & Fees                                                                                $       150.00
ARHS   OPERATING ACCOUNT                             2799    10/5/2020   Tuition & Fees                                                                                $       265.00
ARHS   OPERATING ACCOUNT                             2799    10/7/2020   Instructional Depts:Technology                                                                $        75.35
ARHS   OPERATING ACCOUNT                             2799    10/7/2020   Student Services:Driver Education                                                             $       100.00
ARHS   OPERATING ACCOUNT                             2799    10/7/2020   Student Activities:Student Council                                                            $       225.00
ARHS   OPERATING ACCOUNT                             2799    10/7/2020   Student Activities:Student Council                                                            $       345.00
ARHS   OPERATING ACCOUNT                             2799    10/7/2020   Athletics:Cheerleaders                                                                        $       500.00
ARHS   OPERATING ACCOUNT                             2799    10/7/2020   Tuition & Fees                                                                                $     7,840.76
ARHS   OPERATING ACCOUNT                             2799    10/7/2020   Tuition & Fees                                                                                $    12,408.70
ARHS   OPERATING ACCOUNT                             2799    10/9/2020   Online FACTS Admissions Deposits Oct 1‐9,2020 FACTS Remit 2 000000112176470                   $        10.00
ARHS   OPERATING ACCOUNT                             2799    10/9/2020   Bookstore 10.9.20                                                                             $       137.00
ARHS   OPERATING ACCOUNT                             2799   10/12/2020   Bookstore 10.8.20                                                                             $        38.00
ARHS   OPERATING ACCOUNT                             2799   10/12/2020   Football Fundraising                                                                          $     1,075.00
ARHS   OPERATING ACCOUNT                             2799   10/12/2020   Football Gate 8th vs St Paul                                                                  $     1,500.00
ARHS   OPERATING ACCOUNT                             2799   10/12/2020   Bookstore 10.7.20                                                                             $       121.00
ARHS   OPERATING ACCOUNT                             2799   10/12/2020   50 Year Reunion                                                                               $       105.00
ARHS   OPERATING ACCOUNT                             2799   10/12/2020   Annual Giving                                                                                 $     1,349.05
ARHS   OPERATING ACCOUNT                             2799   10/12/2020   Bookstore 10.6.20                                                                             $        20.00
ARHS   OPERATING ACCOUNT                             2799   10/12/2020   Bookstore 10.5.20                                                                             $       108.00
ARHS   OPERATING ACCOUNT                             2799   10/12/2020   Tuition & Fees                                                                                $       975.00
ARHS   OPERATING ACCOUNT                             2799   10/12/2020   Tuition & fees                                                                                $        75.00
ARHS   OPERATING ACCOUNT                             2799   10/12/2020   Tuition & fees                                                                                $       826.88
ARHS   OPERATING ACCOUNT                             2799   10/12/2020   Transfer from Day Camp to Operating for Cash Flow for Operations                              $    70,000.00
ARHS   OPERATING ACCOUNT                             2799   10/12/2020   Transfer from Online Advancement to Operating for Cash Flow for Operations                    $    70,000.00
ARHS   OPERATING ACCOUNT                             2799   10/12/2020   Arete 1st Qtr ‐                                                                               $     2,481.74
ARHS   OPERATING ACCOUNT                             2799   10/13/2020   Genesians                                                                                     $        10.00
ARHS   OPERATING ACCOUNT                             2799   10/13/2020    road skills ‐                                                                                $        50.00
ARHS   OPERATING ACCOUNT                             2799   10/13/2020   Cheerleaders                                                                                  $     1,450.00
ARHS   OPERATING ACCOUNT                             2799   10/13/2020   Arete 1st Qtr ‐                                                                               $     2,481.74
ARHS   OPERATING ACCOUNT                             2799   10/16/2020   ACE 1st Qtr ‐                                                                                 $     7,800.00
ARHS   OPERATING ACCOUNT                             2799   10/16/2020   Aspiring Scholars 1st Qtr ‐                                                                   $     3,550.00
ARHS   OPERATING ACCOUNT                             2799   10/16/2020   Tuition & Fees                                                                                $       615.00
ARHS   OPERATING ACCOUNT                             2799   10/16/2020   Tuition & fees                                                                                $       800.00
ARHS   OPERATING ACCOUNT                             2799   10/19/2020   Insurance Premium EE&C ‐ July‐Sept                                                            $     1,875.33
ARHS   OPERATING ACCOUNT                             2799   10/19/2020   bookstore 10.14.20                                                                            $        25.00
ARHS   OPERATING ACCOUNT                             2799   10/19/2020   Bookstore 10.14.20                                                                            $        41.00
ARHS   OPERATING ACCOUNT                             2799   10/19/2020   Bookstore 10.15.20                                                                            $       107.00
ARHS   OPERATING ACCOUNT                             2799   10/19/2020   Cheerleaders                                                                                  $       425.00
ARHS   OPERATING ACCOUNT                             2799   10/19/2020   Other Athletic Income ‐ Crescent Power systems                                                $       500.00
ARHS   OPERATING ACCOUNT                             2799   10/19/2020   Annual Giving                                                                                 $       500.00
ARHS   OPERATING ACCOUNT                             2799   10/19/2020   Bookstore 10.13.20                                                                            $        85.00
ARHS   OPERATING ACCOUNT                             2799   10/19/2020   Bookstore 10.13.20                                                                            $        13.00
ARHS   OPERATING ACCOUNT                             2799   10/19/2020   Basketball Fundraising                                                                        $     3,000.00
ARHS   OPERATING ACCOUNT                             2799   10/19/2020   Bookstore 10.12.20                                                                            $        50.00
ARHS   OPERATING ACCOUNT                             2799   10/19/2020   Bookstore 10.12.20                                                                            $        87.00
ARHS   OPERATING ACCOUNT                             2799   10/20/2020   Ace Scholarship 1st Qtr ‐                                                                     $     2,175.00
ARHS   OPERATING ACCOUNT                             2799   10/20/2020   Arete Scholarship 1st qtr ‐                                                                   $     1,240.87
ARHS   OPERATING ACCOUNT                             2799   10/20/2020   Tuition & Fees                                                                                $       350.00
ARHS   OPERATING ACCOUNT                             2799   10/20/2020   Other Athletic Income ‐                                                                       $     1,000.00
ARHS   OPERATING ACCOUNT                             2799   10/20/2020   License Plate Commission August 2020                                                          $       497.92
                                                                         Genesians Clue Show fees
ARHS   OPERATING ACCOUNT                             2799   10/20/2020   Boosters                                                                                      $        350.00
ARHS   OPERATING ACCOUNT                             2799   10/20/2020   Bookstore 10.16.20                                                                            $         82.00
ARHS   OPERATING ACCOUNT                             2799   10/20/2020   cheerleaders                                                                                  $        425.00
ARHS   OPERATING ACCOUNT                             2799   10/20/2020   Football fundraising                                                                          $      2,550.00
ARHS   OPERATING ACCOUNT                             2799   10/21/2020   Cheerleading                                                                                  $      3,859.00
ARHS   OPERATING ACCOUNT                             2799   10/21/2020   JV Football gate vs Brother Martin                                                            $      1,050.00
ARHS   OPERATING ACCOUNT                             2799   10/21/2020   Bookstore 10.19.20                                                                            $        148.00
ARHS   OPERATING ACCOUNT                             2799   10/21/2020   Wrestling Clinic 10.17.20                                                                     $        135.00
ARHS   OPERATING ACCOUNT                             2799   10/21/2020   Wrestling Clinic 10.17.20                                                                     $        315.00
ARHS   OPERATING ACCOUNT                             2799   10/21/2020   Genesians Clue Show fee                                                                       $        750.00
ARHS   OPERATING ACCOUNT                             2799   10/21/2020   Genesians Clue Show fee                                                                       $        150.00
ARHS   OPERATING ACCOUNT                             2799   10/21/2020   Football gate from Hammond High Game                                                          $      4,427.00
ARHS   OPERATING ACCOUNT                             2799   10/22/2020   Football gate vs Brother Martin game 10.24.20                                                 $        919.00
ARHS   OPERATING ACCOUNT                             2799   10/22/2020   Football gate vs Brother Martin game 10.24.20                                                 $      7,086.00
ARHS   OPERATING ACCOUNT                             2799   10/22/2020   ACE 1st Qtr ‐                                                                                 $      1,050.00
ARHS   OPERATING ACCOUNT                             2799   10/22/2020   Arete 1st Qtr                                                                                 $      2,481.74
ARHS   OPERATING ACCOUNT                             2799   10/22/2020   Bookstore 10.21.20                                                                            $        196.00
ARHS   OPERATING ACCOUNT                             2799   10/22/2020   Gulf Coast Annual Auctions in August                                                          $         50.00
ARHS   OPERATING ACCOUNT                             2799   10/22/2020   Annual Giving                                                                                 $        100.00
ARHS   OPERATING ACCOUNT                             2799   10/22/2020   Alumni Reunion 50 Years                                                                       $         45.00
ARHS   OPERATING ACCOUNT                             2799   10/22/2020   Bookstore 10.20.20                                                                            $         35.00
ARHS   OPERATING ACCOUNT                             2799   10/22/2020   Bookstore 10.20.20                                                                            $         65.00
ARHS   OPERATING ACCOUNT                             2799   10/23/2020   Tuition and Fees                                                                             $         305.26
ARHS   OPERATING ACCOUNT                             2799   10/23/2020   Online FACTS Admissions Deposits Oct 10‐23, 2020 FACTS Remit 2 000000112176470                $         20.00
ARHS   OPERATING ACCOUNT                             2799   10/27/2020   Bookstore 10.27.20                                                                            $         10.00
ARHS   OPERATING ACCOUNT                             2799   10/27/2020   Bookstore 10.26.20                                                                            $        131.00
ARHS   OPERATING ACCOUNT                             2799   10/27/2020   cheerleaders                                                                                  $        300.00
ARHS   OPERATING ACCOUNT                             2799   10/27/2020   Cheerleaders                                                                                  $      1,625.00
ARHS   OPERATING ACCOUNT                             2799   10/27/2020   8th grade football gate vs Brother Martin                                                     $         40.00
ARHS   OPERATING ACCOUNT                             2799   10/27/2020   8th grade football gate vs Brother Martin                                                     $      1,400.00
ARHS   OPERATING ACCOUNT                             2799   10/27/2020   Bookstore 10.23.20                                                                            $        279.00
ARHS   OPERATING ACCOUNT                             2799   10/27/2020   Football                                                                                      $         75.00
ARHS   OPERATING ACCOUNT                             2799   10/27/2020   Football gate from Calvary Baptist game 10.16.20                                              $      1,347.00
ARHS   OPERATING ACCOUNT                             2799   10/27/2020   Men's Club dues                                                                               $        270.00
ARHS   OPERATING ACCOUNT                             2799   10/27/2020   Men's Club Dues                                                                               $      1,600.00
ARHS   OPERATING ACCOUNT                             2799   10/27/2020   Bookstore 10.22.20                                                                            $        141.00
ARHS   OPERATING ACCOUNT                             2799   10/27/2020   ACE Scholarship 1st Qtr ‐                                                                     $      7,575.00
ARHS   OPERATING ACCOUNT                             2799   10/27/2020   Aspiring Scholars 1s                                                                          $      1,100.00
ARHS   OPERATING ACCOUNT                             2799   10/27/2020   Arete Scholarship 1st Qtr ‐                                                                   $      2,481.74
ARHS   OPERATING ACCOUNT                             2799   10/31/2020   Online FACTS Admissions Deposits Oct 26 ‐31, 2020 FACTS Remit 2 000000112176470               $         10.00
ARHS   OPERATING ACCOUNT                             2799   10/31/2020   Record FBT Interest Credit for Operating Account Oct                                          $          5.15
ARHS   Payroll Account                               2821   10/12/2020   Transfer from Tuit MM for monthly and weekly payrolls 10/15/2020                             $     350,000.00
ARHS   Payroll Account                               2821   10/31/2020   AN109 reverse PR check of 10/15/20‐EE did not work                                            $        461.75
ARHS   Payroll Account                               2821   10/31/2020   AN109 reverse Soc Sec and Medicare Taxes EE and ER‐employee did niot work; check cancelled    $         76.50
ARHS   Payroll Account                               2821   10/31/2020   AN109 Crescent PR cancelled direct deposit Return 20557                                       $        461.75
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/31/2020   FBT Monthly Interest                                                                          $      4,192.63
ARHS   Tuition Money Manager                         2755    10/9/2020   Interest Transfer from Tuition Reserve Acct 9/1/20                                            $      4,809.06
ARHS   Tuition Money Manager                         2755    10/9/2020   Tuition Disbursement from Reserve Account 10/1/2020                                           $      2,316.91
ARHS   Tuition Money Manager                         2755    10/9/2020   Tuition Disbursement from Reserve Account 10/2/2020                                           $      2,740.90
ARHS   Tuition Money Manager                         2755    10/9/2020   Tuition Disbursement from Reserve Account 10/5/2020                                           $     94,629.99
ARHS   Tuition Money Manager                         2755    10/9/2020   Tuition Disbursement from Reserve Account 10/6/2020                                           $      5,366.68
ARHS   Tuition Money Manager                         2755    10/9/2020   Tuition Disbursement from Reserve Account 10/8/2020                                           $      1,697.00
ARHS   Tuition Money Manager                         2755    10/9/2020   Tuition Disbursement from Reserve Account 10/9/2020                                           $      2,162.34
ARHS   Tuition Money Manager                         2755   10/23/2020   Tuition Disbursement from Reserve Account 10/12/2020                                          $      2,317.10
ARHS   Tuition Money Manager                         2755   10/23/2020   Tuition Disbursement from Reserve Account 10/13/2020                                          $      4,968.08
ARHS   Tuition Money Manager                         2755   10/23/2020   Tuition Disbursement from Reserve Account 10/14/2020                                          $      1,526.01
ARHS   Tuition Money Manager                         2755   10/23/2020   Tuition Disbursement from Reserve Account 10/15/2020                                          $    153,406.47
ARHS   Tuition Money Manager                         2755   10/23/2020   Tuition Disbursement from Reserve Account 10/16/2020                                          $        264.35
ARHS   Tuition Money Manager                         2755   10/23/2020   Tuition Disbursement from Reserve Account 10/20/2020                                          $        358.37
ARHS   Tuition Money Manager                         2755   10/23/2020   Tuition Disbursement from Reserve Account 10/21/2020                                          $      7,918.43
ARHS   Tuition Money Manager                         2755   10/23/2020   Tuition Disbursement from Reserve Account 10/22/2020                                          $      1,284.00
ARHS   Tuition Money Manager                         2755   10/31/2020   Tuition Disbursement from Reserve Account 10/23/2020                                          $      2,608.24
ARHS   Tuition Money Manager                         2755   10/31/2020   Tuition Disbursement from Reserve Account 10/26/2020                                          $      2,699.60
ARHS   Tuition Money Manager                         2755   10/31/2020   Tuition Disbursement from Reserve Account 10/27/2020                                          $        891.70
ARHS   Tuition Money Manager                         2755   10/31/2020   Tuition Disbursement from Reserve Account 10/28/2020                                          $        931.82
ARHS   Tuition Money Manager                         2755   10/31/2020   Tuition Money Mgr October 2020 Interest                                                       $         87.47
ASHS   COMM INTEREST CHECKING ACCOUNT                2440    10/8/2020   Payroll Transafer                                                                            $    113,000.00
ASHS   COMM INTEREST CHECKING ACCOUNT                2440   10/27/2020   Payroll Transfer                                                                             $    113,700.00
ASHS   COMM INTEREST CHECKING ACCOUNT                2440   10/30/2020   Interest Earned                                                                              $          1.84
ASHS   NEXT YEAR'S TUITION AND FEES                  3085    10/1/2020   Tuition and Fees                                                                             $       2,000.00
ASHS   NEXT YEAR'S TUITION AND FEES                  3085    10/1/2020   Tuition and Fees                                                                             $       9,275.00
ASHS   NEXT YEAR'S TUITION AND FEES                  3085    10/6/2020   Tuition and Fees                                                                             $       2,994.00
ASHS   NEXT YEAR'S TUITION AND FEES                  3085   10/15/2020   Tuition and Fees                                                                             $       1,000.00
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 10 of
                                           103
ASHS    NEXT YEAR'S TUITION AND FEES   3085   10/16/2020   Tuition and Fees                                                                                                                  $     5,150.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085   10/19/2020   Tuition and Fees                                                                                                                  $       950.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085   10/23/2020   Tuition and Fees                                                                                                                  $       300.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085   10/27/2020   Tuition and Fees                                                                                                                  $       400.00
ASHS    NEXT YEAR'S TUITION AND FEES   3085   10/30/2020   Interest Earned                                                                                                                   $         66.55
ASHS    TUITION RESERVE ACCOUNT        0007    10/2/2020   Tuition and Fees                                                                                                                  $       300.00
ASHS    TUITION RESERVE ACCOUNT        0007    10/2/2020   Tuition and Fees                                                                                                                  $       300.00
ASHS    TUITION RESERVE ACCOUNT        0007    10/2/2020   Tuition and Fees                                                                                                                  $     4,800.00
ASHS    TUITION RESERVE ACCOUNT        0007    10/5/2020   Tuition and Fees                                                                                                                  $       300.00
ASHS    TUITION RESERVE ACCOUNT        0007    10/5/2020   Tuition and Fees                                                                                                                  $       300.00
ASHS    TUITION RESERVE ACCOUNT        0007   10/12/2020   Tuition and Fees                                                                                                                  $       200.00
ASHS    TUITION RESERVE ACCOUNT        0007   10/16/2020   Tuition and Fees                                                                                                                  $     4,305.00
ASHS    TUITION RESERVE ACCOUNT        0007   10/16/2020   Tuition and Fees                                                                                                                  $     4,700.00
ASHS    TUITION RESERVE ACCOUNT        0007   10/20/2020   Tuition and Fees                                                                                                                  $       300.00
ASHS    TUITION RESERVE ACCOUNT        0007   10/22/2020   Tuition and Fees                                                                                                                  $       700.00
ASHS    TUITION RESERVE ACCOUNT        0007   10/22/2020   Tuition and Fees                                                                                                                  $       300.00
ASHS    TUITION RESERVE ACCOUNT        0007   10/23/2020   Tuition and Fees                                                                                                                  $       300.00
ASHS    TUITION RESERVE ACCOUNT        0007   10/23/2020   Tuition and Fees                                                                                                                  $       300.00
ASHS    TUITION RESERVE ACCOUNT        0007   10/28/2020   Interest Earned                                                                                                                   $     2,400.86
ASHS    OPERATING AND PAYROLL MMA      9162    10/7/2020   Student Services                                                                                                                  $       964.00
ASHS    OPERATING AND PAYROLL MMA      9162    10/7/2020   Fund Raising                                                                                                                      $       750.00
ASHS    OPERATING AND PAYROLL MMA      9162    10/7/2020   Student Services:Agency Payable‐Band                                                                                              $     2,006.50
ASHS    OPERATING AND PAYROLL MMA      9162    10/7/2020   Student Services:Agency Payable‐Cheerleaders and Student Services                                                                 $     3,370.00
ASHS    OPERATING AND PAYROLL MMA      9162    10/7/2020   Student Services and Fund Raising                                                                                                 $       909.00
ASHS    OPERATING AND PAYROLL MMA      9162    10/7/2020   Student Services:Agency Payable‐Band, student services, Fund Raising, Operations and Maintenance of Plant, and Tuition and Fees   $     2,678.00
ASHS    OPERATING AND PAYROLL MMA      9162    10/7/2020   Student Services:Agency Payable‐NHS and Student Services Income                                                                   $       646.00
ASHS    OPERATING AND PAYROLL MMA      9162   10/14/2020   Student Services Income                                                                                                           $       322.25
ASHS    OPERATING AND PAYROLL MMA      9162   10/14/2020   Student Activity Income                                                                                                           $     1,805.00
ASHS    OPERATING AND PAYROLL MMA      9162   10/14/2020   Student Services:Agency Payable‐Wrestling                                                                                         $     2,000.00
ASHS    OPERATING AND PAYROLL MMA      9162   10/14/2020   Student Services:Agency Payable‐NHS, Tuition and Fees and Student Services Income                                                 $     2,605.00
ASHS    OPERATING AND PAYROLL MMA      9162   10/14/2020   Accrued Expenses ‐ Amounts Held for Others ‐ Alumi Chem Board Russo                                                               $     4,774.49
ASHS    OPERATING AND PAYROLL MMA      9162   10/14/2020   Fund Raising, Student Services: Agency Payable‐Football and Gridiron                                                              $     5,814.00
ASHS    OPERATING AND PAYROLL MMA      9162   10/14/2020   Fund Raising and Student Services Income                                                                                          $       787.00
ASHS    OPERATING AND PAYROLL MMA      9162   10/15/2020   State Scholarship Rebate Funds and Development Income                                                                             $    33,550.00
ASHS    OPERATING AND PAYROLL MMA      9162   10/15/2020   Student Services Income                                                                                                           $       796.00
ASHS    OPERATING AND PAYROLL MMA      9162   10/19/2020   Administrative Expenses ‐ refund                                                                                                  $       200.00
ASHS    OPERATING AND PAYROLL MMA      9162   10/20/2020   Fund Raising, Student Services: Agency Payable‐Wrestling, Tuition and Fees, Student Services Income                               $     1,900.01
ASHS    OPERATING AND PAYROLL MMA      9162   10/20/2020   Other Income‐Salesian and Accrued Expense‐Deductions Payable                                                                      $     5,939.45
ASHS    OPERATING AND PAYROLL MMA      9162   10/20/2020   Fund Raising, Student Services: Agency Payable‐Basketball, Student Services Income, Tuition and Fees                              $     9,441.00
ASHS    OPERATING AND PAYROLL MMA      9162   10/20/2020   Development Income                                                                                                                $    14,281.51
ASHS    OPERATING AND PAYROLL MMA      9162   10/20/2020   Student Services Income                                                                                                           $       475.00
ASHS    OPERATING AND PAYROLL MMA      9162   10/27/2020   Tuition and Fees                                                                                                                  $       250.00
ASHS    OPERATING AND PAYROLL MMA      9162   10/30/2020   Interest Earned                                                                                                                   $         41.45
ASHS    OPERATING ACCOUNT              2429    10/2/2020   Tuition Transfer                                                                                                                  $     2,763.56
ASHS    OPERATING ACCOUNT              2429    10/2/2020   Student Services Income                                                                                                           $       125.00
ASHS    OPERATING ACCOUNT              2429    10/5/2020   Student Services Income                                                                                                           $         89.00
ASHS    OPERATING ACCOUNT              2429    10/5/2020   Fundraising Income                                                                                                                $       600.00
ASHS    OPERATING ACCOUNT              2429    10/6/2020   Student Services Income                                                                                                           $         65.00
ASHS    OPERATING ACCOUNT              2429    10/6/2020   Fundraising Income                                                                                                                $       100.00
ASHS    OPERATING ACCOUNT              2429    10/6/2020   Tuition Transfer                                                                                                                  $       349.64
ASHS    OPERATING ACCOUNT              2429    10/7/2020   Student Services Income                                                                                                           $         10.75
ASHS    OPERATING ACCOUNT              2429    10/7/2020   Tuition Transfer                                                                                                                  $     1,092.05
ASHS    OPERATING ACCOUNT              2429    10/7/2020   Tuition Transfer                                                                                                                  $    65,606.72
ASHS    OPERATING ACCOUNT              2429    10/7/2020   Fundraising Income                                                                                                                $     1,000.00
ASHS    OPERATING ACCOUNT              2429   10/13/2020   Fund Raising Income                                                                                                               $     1,150.00
ASHS    OPERATING ACCOUNT              2429   10/14/2020   Student Services Income                                                                                                           $         60.00
ASHS    OPERATING ACCOUNT              2429   10/14/2020   Fund Raising Income                                                                                                               $       500.00
ASHS    OPERATING ACCOUNT              2429   10/15/2020   Tuition Transfer                                                                                                                  $     3,472.18
ASHS    OPERATING ACCOUNT              2429   10/16/2020   Student Services Income                                                                                                           $         31.75
ASHS    OPERATING ACCOUNT              2429   10/19/2020   Fund Raising Income                                                                                                               $    13,840.00
ASHS    OPERATING ACCOUNT              2429   10/19/2020   Tuition Transfer                                                                                                                  $    92,697.98
ASHS    OPERATING ACCOUNT              2429   10/19/2020   Student Services Income                                                                                                           $       107.00
ASHS    OPERATING ACCOUNT              2429   10/23/2020   Student Services Income                                                                                                           $         58.00
ASHS    OPERATING ACCOUNT              2429   10/27/2020   Tuition Transfer                                                                                                                  $     4,570.07
ASHS    OPERATING ACCOUNT              2429   10/28/2020   Student Services Income                                                                                                           $         30.00
ASHS    OPERATING ACCOUNT              2429   10/28/2020   Student Services Income                                                                                                           $       110.00
ASHS    OPERATING ACCOUNT              2429   10/28/2020   Tuition Transfer                                                                                                                  $       389.88
ASHS    OPERATING ACCOUNT              2429   10/28/2020   Tuition Transfer                                                                                                                  $       425.75
ASHS    OPERATING ACCOUNT              2429   10/28/2020   Fund Raising                                                                                                                      $       600.00
ASHS    OPERATING ACCOUNT              2429   10/30/2020   Interest Earned                                                                                                                   $         11.99
PJPHS   Operating                      8055    10/1/2020   Student Council ‐ Homecoming Court                                                                                                $        50.00
PJPHS   Operating                      8055    10/2/2020   void ck 47427                                                                                                                     $        75.00
PJPHS   Operating                      8055    10/2/2020   Homecoming Court                                                                                                                  $        50.00
PJPHS   Operating                      8055    10/2/2020   Football Program for Cheer                                                                                                        $   11,749.00
PJPHS   Operating                      8055    10/2/2020   Swim Team Fees and Uniforms                                                                                                       $     2,082.00
PJPHS   Operating                      8055    10/2/2020   Football Meals                                                                                                                    $       100.00
PJPHS   Operating                      8055    10/2/2020   Senior student field banner                                                                                                       $        50.00
PJPHS   Operating                      8055    10/2/2020   JagFest Auction & Donation                                                                                                        $     1,900.00
PJPHS   Operating                      8055    10/2/2020   chromebook                                                                                                                        $       175.00
PJPHS   Operating                      8055    10/2/2020   Raffle ‐ parent club 50/50                                                                                                        $        20.00
PJPHS   Operating                      8055    10/2/2020   Sport event gate & concessions                                                                                                    $       866.00
PJPHS   Operating                      8055    10/2/2020   Donations                                                                                                                         $     1,150.00
PJPHS   Operating                      8055    10/2/2020   text/workbook                                                                                                                     $        22.50
PJPHS   Operating                      8055    10/2/2020   Bogalusa Bus                                                                                                                      $       735.00
PJPHS   Operating                      8055    10/2/2020   Christmas Fest                                                                                                                    $       120.00
PJPHS   Operating                      8055    10/2/2020   Homecoming Court ($100); Class level spirit shirt ($20)                                                                           $       120.00
PJPHS   Operating                      8055    10/2/2020   Homecoming Court ($450); Class Level Spirit Shirt ($40)                                                                           $       490.00
PJPHS   Operating                      8055    10/5/2020   Discover Promo Rebate                                                                                                             $         8.49
PJPHS   Operating                      8055    10/5/2020   AP US History Book                                                                                                                $        22.50
PJPHS   Operating                      8055    10/5/2020   Tuition Payments (Arete Scholars)                                                                                                 $     2,343.87
PJPHS   Operating                      8055    10/5/2020   Tuition ($ 15324) Chromebook ($ 325)                                                                                              $   15,649.00
PJPHS   Operating                      8055    10/5/2020   Testing / Application Fee                                                                                                         $        60.00
PJPHS   Operating                      8055    10/5/2020   Athletic ticket sales                                                                                                             $       630.00
PJPHS   Operating                      8055    10/5/2020   Senior Trip                                                                                                                       $       250.00
PJPHS   Operating                      8055    10/5/2020   Athletic Event Gate and/or concession                                                                                             $       987.00
PJPHS   Operating                      8055    10/5/2020   Football Season Tickets                                                                                                           $     2,260.00
PJPHS   Operating                      8055    10/5/2020   Football Season Tickets                                                                                                           $     2,640.00
PJPHS   Operating                      8055    10/5/2020   Football Season Tickets                                                                                                           $     4,160.60
PJPHS   Operating                      8055    10/5/2020   Football Season Tickets                                                                                                           $     2,360.00
PJPHS   Operating                      8055    10/5/2020   Football Season Tickets                                                                                                           $       300.00
PJPHS   Operating                      8055    10/5/2020   Cheer program & senior banners                                                                                                    $     2,175.00
PJPHS   Operating                      8055    10/5/2020   Football Program for Cheer                                                                                                        $       360.00
PJPHS   Operating                      8055    10/5/2020   Bookstore Receipts 4251‐4292                                                                                                      $       460.00
PJPHS   Operating                      8055    10/5/2020   Bookstore Receipts                                                                                                                $       518.00
PJPHS   Operating                      8055    10/5/2020   Cafeteria Reimb Utilities                                                                                                         $       320.00
PJPHS   Operating                      8055    10/5/2020   20‐21 Tuition                                                                                                                     $   10,000.00
PJPHS   Operating                      8055    10/5/2020   20‐21 Tuition                                                                                                                     $     1,000.00
PJPHS   Operating                      8055    10/6/2020   Annual Giving Campaign Contribution                                                                                               $         9.50
PJPHS   Operating                      8055    10/6/2020   Senior Class Shirt                                                                                                                $        10.00
PJPHS   Operating                      8055    10/6/2020   Christmas Fest Booth Rental                                                                                                       $       100.00
PJPHS   Operating                      8055    10/6/2020   Christmas Fest Booth Rental                                                                                                       $       100.00
PJPHS   Operating                      8055    10/6/2020   Workbook / Textbook Purchase                                                                                                      $        18.00
PJPHS   Operating                      8055    10/6/2020   Swim Team Fees                                                                                                                    $       100.00
PJPHS   Operating                      8055    10/6/2020   Bogalusa Bus Fee                                                                                                                  $       180.00
PJPHS   Operating                      8055    10/7/2020   Christmas Fest Booth Rental                                                                                                       $        40.00
PJPHS   Operating                      8055    10/7/2020   Homecoming Court                                                                                                                  $       350.00
PJPHS   Operating                      8055    10/7/2020   Swim Uniforms and Fees                                                                                                            $       280.00
PJPHS   Operating                      8055    10/7/2020   Football Season Tickets                                                                                                           $        59.40
PJPHS   Operating                      8055    10/8/2020   Homecoming t‐shirt sale                                                                                                           $       555.00
PJPHS   Operating                      8055    10/8/2020   Homecoming t‐shirt sale                                                                                                           $       390.00
PJPHS   Operating                      8055    10/8/2020   Sport meals                                                                                                                       $       100.00
PJPHS   Operating                      8055    10/8/2020   Bogalusa Bus                                                                                                                      $       180.00
PJPHS   Operating                      8055    10/8/2020   Chromebook purchase                                                                                                               $       150.00
PJPHS   Operating                      8055    10/8/2020   student council ‐ homecoming court                                                                                                $        50.00
PJPHS   Operating                      8055    10/8/2020   swim team uniform                                                                                                                 $        15.00
PJPHS   Operating                      8055    10/8/2020   Athletic event gate & concession                                                                                                  $       366.00
PJPHS   Operating                      8055   10/16/2020   20‐21 Tuition                                                                                                                     $     2,481.74
PJPHS   Operating                      8055   10/16/2020   Athletic event gate & concession                                                                                                  $       875.00
PJPHS   Operating                      8055   10/16/2020   Bogalusa Bus                                                                                                                      $         92.50
PJPHS   Operating                      8055   10/16/2020   Commission Vending Machines                                                                                                       $         40.95
PJPHS   Operating                      8055   10/16/2020   Donation ‐ Little Coffee Camper                                                                                                   $         16.00
PJPHS   Operating                      8055   10/16/2020   Dual Enrollment                                                                                                                   $       175.00
PJPHS   Operating                      8055   10/16/2020   Football Cheer Program Ad                                                                                                         $       100.00
PJPHS   Operating                      8055   10/16/2020   Homecoming Court                                                                                                                  $       150.00
PJPHS   Operating                      8055   10/16/2020   Homecoming Shirts                                                                                                                 $     1,020.00
PJPHS   Operating                      8055   10/16/2020   Homecoming Shirts                                                                                                                 $     1,275.00
PJPHS   Operating                      8055   10/16/2020   HOSA Student Membership Dues                                                                                                      $     1,050.00
PJPHS   Operating                      8055   10/16/2020   HOSA Student Membership Dues                                                                                                      $       385.00
PJPHS   Operating                      8055   10/16/2020   JAG Fund                                                                                                                          $       100.00
PJPHS   Operating                      8055   10/16/2020   Refund duplicate payment                                                                                                          $     3,396.00
PJPHS   Operating                      8055   10/16/2020   Reimb Pers Use Postage Machine                                                                                                    $          5.00
PJPHS   Operating                      8055   10/16/2020   Senior Activities                                                                                                                 $       260.00
PJPHS   Operating                      8055   10/16/2020   Senior Shirt                                                                                                                      $         20.00
PJPHS   Operating                      8055   10/19/2020   Bogalusa Bus                                                                                                                      $       185.00
PJPHS   Operating                      8055   10/19/2020   Christmas Fest                                                                                                                    $       190.00
PJPHS   Operating                      8055   10/19/2020   Doantions ‐ Kevin Haynie Scholarship                                                                                              $       100.00
PJPHS   Operating                      8055   10/19/2020   Donation ‐ New scoreboard for Gym ‐ basketball                                                                                    $     1,000.00
PJPHS   Operating                      8055   10/20/2020   Athletic event gate & concession                                                                                                  $     1,802.00
PJPHS   Operating                      8055   10/20/2020   Christmas Fest                                                                                                                    $       150.00
PJPHS   Operating                      8055   10/20/2020   Donation Scholarship                                                                                                              $       250.00
PJPHS   Operating                      8055   10/20/2020   Homecoming Shirts                                                                                                                 $         30.00
PJPHS   Operating                      8055   10/20/2020   HOSA Student Membership Dues                                                                                                      $       105.00
PJPHS   Operating                      8055   10/20/2020   HOSA Student Membership Dues                                                                                                      $         70.00
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 11 of
                                           103
PJPHS   Operating                       8055   10/20/2020   Swim Team Fees                                            $          100.00
PJPHS   Operating                       8055   10/20/2020   Swim team gear & fees                                     $          471.00
PJPHS   Operating                       8055   10/21/2020   #TeamNicholas T‐shirt Fundraiser Heart Transplant         $       1,520.00
PJPHS   Operating                       8055   10/21/2020   Basketball Team Bag                                       $          200.00
PJPHS   Operating                       8055   10/21/2020   Donation to cover Soccer Stipend                          $       1,400.00
PJPHS   Operating                       8055   10/21/2020   Homecoming Shirts                                         $           15.00
PJPHS   Operating                       8055   10/21/2020   Homecoming Shirts                                         $           30.00
PJPHS   Operating                       8055   10/21/2020   Void Check                                                $          190.00
PJPHS   Operating                       8055   10/22/2020   AP Testing Fee                                            $       1,900.00
PJPHS   Operating                       8055   10/22/2020   Cafeteria ‐ Electricity Usage                             $          320.00
PJPHS   Operating                       8055   10/23/2020   Alumni Scholarship Income (Breakfast with Santa)          $          120.17
PJPHS   Operating                       8055   10/23/2020   VOID CK 47506                                             $          71.00
PJPHS   Operating                       8055   10/23/2020   VOID CK 47461                                             $          75.00
PJPHS   Operating                       8055   10/23/2020   VOID CK 47503                                             $         100.00
PJPHS   Operating                       8055   10/23/2020   VOID CK 47504                                             $         100.00
PJPHS   Operating                       8055   10/23/2020   VOID CK 47510                                             $         100.00
PJPHS   Operating                       8055   10/23/2020   VOID CK 47512                                             $         100.00
PJPHS   Operating                       8055   10/25/2020   Alumni Scholarship Income (Breakfast with Santa)          $          40.06
PJPHS   Operating                       8055   10/28/2020   VOID CK 47536                                             $            3.38
PJPHS   Operating                       8055   10/30/2020   Catholic Relief Service ‐ dress down day fundraiser       $            5.00
PJPHS   Operating                       8055   10/30/2020   Homecoming t‐shirt sale                                   $          15.00
PJPHS   Operating                       8055   10/30/2020   men's club dues                                           $          35.00
PJPHS   Operating                       8055   10/30/2020   Athletic Gate Sale                                        $          64.00
PJPHS   Operating                       8055   10/30/2020   Christmas Bazaar (Fest)                                   $         120.00
PJPHS   Operating                       8055   10/30/2020   50/50 PTC Raffle                                          $         140.00
PJPHS   Operating                       8055   10/30/2020   AP Testing Fee                                            $         190.00
PJPHS   Operating                       8055   10/30/2020   Athletic Event Gate                                       $         263.00
PJPHS   Operating                       8055   10/30/2020   Catholic Relief Services ‐ Dress Down Day fundraiser      $         532.00
PJPHS   Operating                       8055   10/30/2020   #TeamNicholas T‐Shirt Fundraiser Heart Transplant         $         540.00
PJPHS   Operating                       8055   10/30/2020   Athletic Gate & Concession                                $       3,493.00
PJPHS   Operating                       8055   10/30/2020   Void Check 47413 (for services in Oct ‐ not fullfilled)   $         500.00
PJPHS   Reserve Loan                    0271    10/1/2020   Loan funded                                               $       8,982.00
PJPHS   Reserve Loan                    0271   10/30/2020   Interest                                                  $       1,240.84
PJPHS   Savings                         3199   10/19/2020   Transfer from lower interest bearing account              $     700,000.00
PJPHS   Checking                        4242    10/1/2020   Interest transfer                                         $       1,410.25
PJPHS   Checking                        4242    10/5/2020   tuition distribution                                      $     26,688.54
PJPHS   Checking                        4242    10/6/2020   tuition distribution                                      $         755.71
PJPHS   Checking                        4242   10/14/2020   tuition disbursement                                      $          201.87
PJPHS   Checking                        4242   10/15/2020   tuition disbursement                                      $      50,239.66
PJPHS   Checking                        4242   10/16/2020   tuition disbursement                                      $          457.85
PJPHS   Checking                        4242   10/31/2020   October interest                                          $          24.38
SCCS    Tuition Reserve                 0437    10/1/2020   Tuition loans advanced                                     $       2,996.00
SCCS    Tuition Reserve                 0437   10/31/2020   Tuition Loan Interest Earned 10‐20                         $       1,836.96
SCCS    Operating                       3063    10/1/2020   Interest transfer from Reserve to Operating                $       2,096.87
SCCS    Operating                       3063    10/2/2020   FBT Online Deposit ‐ Student activities                    $         259.92
SCCS    Operating                       3063    10/5/2020   FBT Online Deposit ‐ Student activities                    $         118.00
SCCS    Operating                       3063    10/5/2020   Tuition disbursement from loan collections                 $     34,665.16
SCCS    Operating                       3063    10/8/2020   FBT Online Deposit ‐ Student activities                    $         120.00
SCCS    Operating                       3063    10/8/2020   Tuition disbursement from loan collections                 $         753.76
SCCS    Operating                       3063    10/9/2020   Tuition disbursement from loan collections                 $       1,276.63
SCCS    Operating                       3063   10/12/2020   Student activities                                         $         186.00
SCCS    Operating                       3063   10/15/2020   Student activities                                         $         250.00
SCCS    Operating                       3063   10/15/2020   Tuition disbursement from loan collections                 $     68,897.53
SCCS    Operating                       3063   10/16/2020   Tuition disbursement from loan collections                 $         675.61
SCCS    Operating                       3063   10/19/2020   Tuition disbursement from loan collections                 $          30.89
SCCS    Operating                       3063   10/21/2020   Tuition disbursement from loan collections                 $       2,584.98
SCCS    Operating                       3063   10/22/2020   Tuition disbursement from loan collections                 $       2,248.76
SCCS    Operating                       3063   10/22/2020   Tuition payment                                            $       1,675.00
SCCS    Operating                       3063   10/23/2020   Tuition disbursement from loan collections                 $       2,216.78
SCCS    Operating                       3063   10/26/2020   Tuition disbursement from loan collections                 $       1,792.63
SCCS    Operating                       3063   10/27/2020   FBT Online Deposit ‐ Student activities                    $         221.68
SCCS    Operating                       3063   10/27/2020   Tuition disbursement from loan collections                 $          31.78
SCCS    Operating                       3063   10/29/2020   FBT Online Deposit ‐ Student activities                    $         575.00
SCCS    Operating                       3063   10/29/2020   Tuition disbursement from loan collections                 $       2,286.26
SCCS    Operating                       3063   10/30/2020   FBT Online Deposit ‐ Student activities                    $         801.08
SCCS    Operating                       3063   10/31/2020   Interest                                                   $          88.48
SCCS    Operating                       0502    10/1/2020   Donations, Student services                                $       4,050.00
SCCS    Operating                       0502    10/2/2020   Tuition, Student services, Student activities              $     65,932.50
SCCS    Operating                       0502    10/2/2020   Fundraising                                                $          45.00
SCCS    Operating                       0502    10/6/2020   Student activities                                         $          33.25
SCCS    Operating                       0502    10/6/2020    Student services, Student activities                      $       1,635.00
SCCS    Operating                       0502    10/8/2020   Tuition, Student activities                                $       4,375.36
SCCS    Operating                       0502    10/9/2020   Student Activities                                         $       2,552.00
SCCS    Operating                       0502   10/12/2020   Student activities                                         $     23,348.27
SCCS    Operating                       0502   10/13/2020   Fundraising                                                $         200.00
SCCS    Operating                       0502   10/13/2020   Transfer from FBT‐Operatimg                                $    425,000.00
SCCS    Operating                       0502   10/14/2020   Fundraising                                                $         200.00
SCCS    Operating                       0502   10/14/2020   Tuition, Student services, Student activities              $       4,077.00
SCCS    Operating                       0502   10/15/2020   Tuition                                                    $     10,087.74
SCCS    Operating                       0502   10/16/2020   Fundraising                                                $       1,154.00
SCCS    Operating                       0502   10/16/2020   Student services, Student activities                       $       2,206.00
SCCS    Operating                       0502   10/19/2020   Tuition, Student activities                                $     14,530.35
SCCS    Operating                       0502   10/20/2020   Donations, Student services                                $     25,995.00
SCCS    Operating                       0502   10/22/2020   Tuition, Student services, Student activities              $       5,696.00
SCCS    Operating                       0502   10/22/2020   Fundraising                                                $          20.00
SCCS    Operating                       0502   10/24/2020   Other Misc. Income                                         $       4,994.89
SCCS    Operating                       0502   10/26/2020    Student services, Student activities, Other               $       9,455.00
SCCS    Operating                       0502   10/28/2020   Student Activities                                         $       5,614.00
SCCS    Operating                       0502   10/29/2020   Fundraising                                                $          50.00
SCCS    Operating                       0502   10/29/2020   Tuition                                                    $          27.92
SCCS    Operating                       0502   10/31/2020   Interest                                                   $          13.74
SCCS    Payroll                         1377   10/14/2020   Transfer from FABT‐Operating to FABT‐Payroll               $    180,000.00
SCCS    Payroll                         1377   10/19/2020   Transfer from FABT‐Operating to FABT‐Payroll               $     13,000.00
SCCS    QB Club                         7036    10/1/2020   Student activities                                         $         900.00
SCCS    QB Club                         7036    10/6/2020   Student activities                                         $         610.00
SCCS    QB Club                         7036   10/14/2020   Student activities                                         $     13,181.98
SCCS    QB Club                         7036   10/28/2020   Student activities                                         $         489.00
SCCS    Payroll (PPP)                   5678   10/31/2020   Interest earned Oct 2020                                   $            2.56
SCCS    Money Market                    5651   10/31/2020   Interest Oct. 20                                           $          20.03
SMSS    Operating Account               3693    10/7/2020   Transfer from Money Market                                $     28,000.00
SMSS    Operating Account               3693   10/16/2020   Transfer from Money Market                                $     24,500.00
SMSS    Operating Account               3693   10/21/2020   Transfer from Money Market                                $       4,200.00
SMSS    Operating Account               3693   10/27/2020   Transfer from Money Market                                $    164,500.00
SMSS    Operating Account               3693   10/31/2020   Interest Earned                                           $            7.21
SMSS    Money Market Account            9129    10/1/2020   Parent Club Donations                                     $         170.00
SMSS    Money Market Account            9129    10/1/2020   Parent Club Donations                                     $         710.00
SMSS    Money Market Account            9129    10/6/2020   Donations                                                 $       1,640.00
SMSS    Money Market Account            9129    10/7/2020   Joy Center Fundraising                                    $            0.87
SMSS    Money Market Account            9129    10/7/2020   Student Clubs Fundraising                                 $          81.00
SMSS    Money Market Account            9129    10/7/2020   Joy Center Fundraising                                    $         145.70
SMSS    Money Market Account            9129    10/7/2020   Tuition and Fees                                          $         175.00
SMSS    Money Market Account            9129    10/7/2020   Student Clubs Fundraising                                 $       1,549.33
SMSS    Money Market Account            9129    10/7/2020   Golf Fundraising Income                                   $     19,552.00
SMSS    Money Market Account            9129    10/9/2020   Golf Fundraising Income                                   $         331.00
SMSS    Money Market Account            9129    10/9/2020   Donations                                                 $         815.00
SMSS    Money Market Account            9129    10/9/2020   Tuition and Fees                                          $       1,325.00
SMSS    Money Market Account            9129   10/13/2020   Donations                                                 $       4,845.00
SMSS    Money Market Account            9129   10/16/2020   Donations                                                 $         150.00
SMSS    Money Market Account            9129   10/16/2020   Scholarships                                              $       3,150.00
SMSS    Money Market Account            9129   10/16/2020   Donations                                                 $     10,793.49
SMSS    Money Market Account            9129   10/16/2020   Golf Fundraising Income                                   $     11,935.00
SMSS    Money Market Account            9129   10/16/2020   Scholarships                                              $     18,175.00
SMSS    Money Market Account            9129   10/21/2020   Magnets                                                   $          10.00
SMSS    Money Market Account            9129   10/21/2020   Donations                                                 $         550.00
SMSS    Money Market Account            9129   10/21/2020   Donations                                                 $         815.00
SMSS    Money Market Account            9129   10/21/2020   Tuition and Fees                                          $       1,050.00
SMSS    Money Market Account            9129   10/21/2020   Fundraising BRB                                           $       1,500.00
SMSS    Money Market Account            9129   10/21/2020   Joy Center Fundraising                                    $       2,675.00
SMSS    Money Market Account            9129   10/21/2020   Donations                                                 $       3,240.00
SMSS    Money Market Account            9129   10/21/2020   Scholarships                                              $       4,200.00
SMSS    Money Market Account            9129   10/21/2020   Fundraising BRB                                           $     10,100.00
SMSS    Money Market Account            9129   10/24/2020   Fundraising BRB                                           $       1,086.75
SMSS    Money Market Account            9129   10/24/2020   Fundraising BRB                                           $       3,622.50
SMSS    Money Market Account            9129   10/25/2020   Fundraising BRB                                           $         500.00
SMSS    Money Market Account            9129   10/25/2020   Fundraising BRB                                           $       1,517.50
SMSS    Money Market Account            9129   10/25/2020   Fundraising BRB                                           $       1,552.50
SMSS    Money Market Account            9129   10/26/2020   Fundraising BRB                                           $       6,727.50
SMSS    Money Market Account            9129   10/28/2020   Fundraising BRB                                           $       1,603.50
SMSS    Money Market Account            9129   10/29/2020   Fundraising BRB                                           $       1,656.00
SMSS    Money Market Account            9129   10/30/2020   Tuition and Fees                                          $         300.00
SMSS    Money Market Account            9129   10/30/2020   Fundraising BRB                                           $       1,552.50
SMSS    Money Market Account            9129   10/31/2020   Interest Earned                                           $            5.10
SMSS    Payroll Account                 9602    10/7/2020   Transfer from Money Market                                $     28,000.00
SMSS    Payroll Account                 9602   10/31/2020   Transfer from Operating                                   $    164,467.81
SMSS    Payroll Account                 9602   10/31/2020   Transfer from Operating                                   $            5.00
SMSS    Operating                       3404   10/31/2020   Tuition and Fees                                          $     38,513.79
SMSS    Operating                       3404   10/31/2020   Tuition and Fees                                          $         400.00
SMSS    Operating                       3404   10/31/2020   Interest                                                  $         131.98
SMSS    Operating                       3404   10/31/2020   Donations                                                 $         364.00
SSA     St. Scholastica Academy         4776   10/26/2020   Reversal of Bank Fees Charged after Bank Acct Closed.     $           45.00
SSA     Tuition Money Manager Account   8457    10/9/2020   Parent Tuition Disb Loan Pymts 10/1‐10/9                   $     68,641.25
SSA     Tuition Money Manager Account   8457    10/9/2020   Parent Tuition Disb Loan Pymts 10/1‐10/9                   $       1,778.00
SSA     Tuition Money Manager Account   8457    10/9/2020    Interest Income Txf, 1st of mo                            $       2,032.92
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 12 of
                                           103
SSA   Tuition Money Manager Account                  8457   10/16/2020   Parent Tuition & Fees Disb Non‐Loan Pymt 10/10‐10/23                                                                       $      1,690.00
SSA   Tuition Money Manager Account                  8457   10/23/2020   Parent Tuition Disb Loan Pymts 10/10‐10/23                                                                                  $       189.79
SSA   Tuition Money Manager Account                  8457   10/23/2020   Parent Tuition Disb Loan Pymts 10/10‐10/23                                                                                  $    66,016.49
SSA   Tuition Money Manager Account                  8457   10/23/2020   Parent Tuition Disb Loan Pymts 10/10‐10/23                                                                                 $      2,117.08
SSA   Tuition Money Manager Account                  8457   10/23/2020   Parent Tuition Disb Loan Pymts 10/10‐10/23                                                                                  $       613.35
SSA   Tuition Money Manager Account                  8457   10/31/2020   Parent Tuition Disb Loan Pymts 10/26                                                                                       $      1,338.00
SSA   Tuition Money Manager Account                  8457   10/31/2020   Parent Tuition Disb Loan Pymts 10/27                                                                                       $      1,431.70
SSA   Tuition Money Manager Account                  8457   10/31/2020   IN‐TRANSIT Parent Tuition Disb Loan Pymts,10/30 in NOV Bank                                                                $      4,815.25
SSA   Tuition Money Manager Account                  8457   10/31/2020   FB&TMM Interest Income, 30th of Mo                                                                                          $       249.05
SSA   As Custodian for Tuition Borrower Loan Funds   0067   10/31/2020   FB&TRestricted Interest Fees, end of mo                                                                                    $      1,712.52
SSA   Operating                                      3065    10/6/2020   Tuition & Fees Testing Fees                                                                                                 $    15,961.00
SSA   Operating                                      3065    10/6/2020   Tuition & Fees, SPS Cheer MiscSupplies, Developm Income Donations, & other                                                 $      6,333.00
SSA   Operating                                      3065    10/6/2020   AthleticEventGateRecpts, Collections for Boys&GirlsClub Donation, Mass Card                                                 $       518.00
SSA   Operating                                      3065    10/9/2020   Incoming Wire, Annual Giving LoveDove Campaign Donation from 1 Community Supporter                                          $    10,000.00
SSA   Operating                                      3065    10/9/2020   GreaterGivingDeposits for DoveMkt Event & Annual Giving Fundraisers, net Cash, (10/1‐10/9)                                 $      4,355.91
SSA   Operating                                      3065    10/9/2020   PJs Square Coffee Sales net of Card Fees (10/1‐10/9)                                                                        $       238.38
SSA   Operating                                      3065    10/9/2020   GreaterGivingDeposits for DoveMkt Event, net Cash, (10/1‐10/9)                                                              $       190.69
SSA   Operating                                      3065    10/9/2020   DovesNest Sales & Deposits, net of fees, 10/1‐10/9                                                                          $       160.89
SSA   Operating                                      3065    10/9/2020   PJs Square Coffee Sales net of Card Fees (10/1‐10/9)                                                                        $       160.35
SSA   Operating                                      3065    10/9/2020   PJs Square Coffee Sales net of Card Fees (10/1‐10/9)                                                                        $       148.02
SSA   Operating                                      3065    10/9/2020   DovesNest Sales & Deposits, net of fees, 10/1‐10/9                                                                          $       130.17
SSA   Operating                                      3065    10/9/2020   BBMS IN‐TRANSIT Depoist for DualEnrollm & AP Test & Grotto Paver toOctBankStmt                                              $       125.26
SSA   Operating                                      3065    10/9/2020   DovesNest Sales & Deposits, net of fees, 10/1‐10/9                                                                          $       122.71
SSA   Operating                                      3065    10/9/2020   DovesNest Sales & Deposits, net of fees, 10/1‐10/9                                                                          $       109.79
SSA   Operating                                      3065    10/9/2020   PJs Square Coffee Sales net of Card Fees (10/1‐10/9)                                                                        $       105.39
SSA   Operating                                      3065    10/9/2020   PJs Square Coffee Sales net of Card Fees (10/1‐10/9)                                                                        $       104.90
SSA   Operating                                      3065    10/9/2020   PJs Square Coffee Sales net of Card Fees (10/1‐10/9)                                                                        $        94.24
SSA   Operating                                      3065    10/9/2020   DovesNest Sales & Deposits, net of fees, 10/1‐10/9                                                                          $        62.52
SSA   Operating                                      3065    10/9/2020   DovesNest Sales & Deposits, net of fees, 10/1‐10/9                                                                          $        50.86
SSA   Operating                                      3065   10/13/2020   Tuition & Fees, Annual Giving Donations, Agency/ Club Student Activities (Cheer) & Athletic Assc, & Other Misc (Vending)   $     13,234.60
SSA   Operating                                      3065   10/16/2020   Tuition & Fees, Student Activities (Gate Recpts), Parking Tags, Annual Giviing Donations                                   $      1,026.00
SSA   Operating                                      3065   10/16/2020   Annual Giving Donations, Agency/ Club Athletics (Poinsettas) & Student Council (t‐shirt)                                   $      5,645.00
SSA   Operating                                      3065   10/22/2020   Tuition & Fees, Annual Giving Donations, Agency/ Club Student Activities & Athletics, Other Misc & Yearbook Fees           $      3,658.95
SSA   Operating                                      3065   10/23/2020   BBMS Athletic Training, Poinsettias, DE & AP Testing Fees, Annual Giving, Grotto Pavers & Mass Card Donations              $      4,084.35
SSA   Operating                                      3065   10/23/2020   DovesNest Sales & Deposits, net of fees, 10/10‐10/23                                                                       $          3.58
SSA   Operating                                      3065   10/23/2020   DovesNest Sales & Deposits, net of fees, 10/10‐10/23                                                                       $         23.97
SSA   Operating                                      3065   10/23/2020   DovesNest Sales & Deposits, net of fees, 10/10‐10/23                                                                       $         26.89
SSA   Operating                                      3065   10/23/2020   DovesNest Sales & Deposits, net of fees, 10/10‐10/23                                                                       $         35.63
SSA   Operating                                      3065   10/23/2020   DovesNest Sales & Deposits, net of fees, 10/10‐10/23                                                                       $         35.63
SSA   Operating                                      3065   10/23/2020   DovesNest Sales & Deposits, net of fees, 10/10‐10/23                                                                       $         43.39
SSA   Operating                                      3065   10/23/2020   DovesNest Sales & Deposits, net of fees, 10/10‐10/23                                                                       $         48.25
SSA   Operating                                      3065   10/23/2020   DovesNest Sales & Deposits, net of fees, 10/10‐10/23                                                                       $         77.38
SSA   Operating                                      3065   10/23/2020   PJs Square Coffee Sales net of Card Fees (10/10‐10/23)                                                                     $         88.67
SSA   Operating                                      3065   10/23/2020   PJs Square Coffee Sales net of Card Fees (10/10‐10/23)                                                                     $         97.75
SSA   Operating                                      3065   10/23/2020   PJs Square Coffee Sales net of Card Fees (10/10‐10/23)                                                                     $        106.57
SSA   Operating                                      3065   10/23/2020   PJs Square Coffee Sales net of Card Fees (10/10‐10/23)                                                                     $        120.42
SSA   Operating                                      3065   10/23/2020   DovesNest Sales & Deposits, net of fees, 10/10‐10/23                                                                       $        121.07
SSA   Operating                                      3065   10/23/2020   PJs Square Coffee Sales net of Card Fees (10/10‐10/23)                                                                     $        125.47
SSA   Operating                                      3065   10/23/2020   PJs Square Coffee Sales net of Card Fees (10/10‐10/23)                                                                     $        125.71
SSA   Operating                                      3065   10/23/2020   PJs Square Coffee Sales net of Card Fees (10/10‐10/23)                                                                     $        135.63
SSA   Operating                                      3065   10/23/2020   PJs Square Coffee Sales net of Card Fees (10/10‐10/23)                                                                     $        138.06
SSA   Operating                                      3065   10/23/2020   PJs Square Coffee Sales net of Card Fees (10/10‐10/23)                                                                     $        153.22
SSA   Operating                                      3065   10/23/2020   GreaterGiving Annual Giving Donations Deposits, net Cash, (10/10‐10/23 fr 10/3‐10/ )                                       $      7,519.44
SSA   Operating                                      3065   10/23/2020   GreaterGiving Annual Giving Donations Deposits, net Cash, (10/10‐10/23 fr 10/3‐10/ )                                       $      7,554.44
SSA   Operating                                      3065   10/27/2020   Athletic Fundraiser & Event Gate Ticket Sales                                                                              $      1,999.00
SSA   Operating                                      3065   10/27/2020   Annual Giving Fundraising, MovieNight, Wedding Event, Poinsettias Pre‐Sale                                                 $      3,534.00
SSA   Operating                                      3065   10/31/2020   DovesNest Sales & Deposits, net of fees, 10/24‐10/31                                                                        $        23.97
SSA   Operating                                      3065   10/31/2020   PJs Square Coffee Sales net of Card Fees (10/24‐10/31/20)                                                                   $        87.22
SSA   Operating                                      3065   10/31/2020   PJs Square Coffee Sales net of Card Fees (10/24‐10/31/20)                                                                   $       121.60
SSA   Operating                                      3065   10/31/2020   PJs Square Coffee Sales net of Card Fees (10/24‐10/31/20)                                                                   $       159.39
SSA   Operating                                      3065   10/31/2020   DEhrhardtCk17670Void,FalayaFlingAuctionRefund                                                                               $       250.00
SSA   Operating                                      3065   10/31/2020   PJs Gift Card NO Brew postg bank 10/24‐10/31                                                                                $       436.21
SSA   Operating                                      3065   10/31/2020   GallardoCk17648Void,StopPmtPlaced,ReplacemCk#17831                                                                         $      1,294.00
SSA   Operating                                      3065   10/31/2020   Venmo AnnualGiving Donations &or Sales‐ Monk Soap, name (10/24‐10/31/20)                                                   $      1,381.00
SSA   Operating                                      3065   10/31/2020   BBMS Sales, Poinsettias, Athletic Training, PROOF Play                                                                     $      1,925.52
SSA   Operating                                      3065   10/31/2020   GreaterGiving AnnualGiving Donations (10/24‐10/31/20 )                                                                     $      3,696.36
SSA   Operating                                      3065   10/31/2020   BBMS Poinsettias,Play&Other InTransit (10/23‐31/20) toNovBank                                                              $      5,118.80
SSA   Raymond James                                  2054   10/31/2020   interest income                                                                                                            $          0.04
ANO   Payroll                                        9614    10/6/2020   ANO FBT Operating (To record 9.16 ‐ 9.30 payroll transfer ‐ FBT oper. to FBT pr)                                           $    267,021.55
ANO   Payroll                                        9614    10/7/2020   ANO FBT Operating (To record PrimePay Invoice)                                                                             $        552.50
ANO   Payroll                                        9614   10/14/2020   ANO FBT Operating (IOI payroll invoice funds transfer‐ 10/14/20)                                                           $        552.50
ANO   Payroll                                        9614   10/20/2020   ANO FBT Operating (To record 10.1‐ 10.15 payroll transfer ‐ FBT oper. to FBT pr)                                           $    262,976.87
ANO   Payroll                                        9614   10/28/2020   ANO FBT Operating (To record IOI payroll invoice)                                                                          $        552.50
ANO   Payroll                                        9614   10/29/2020   ANO FBT Operating (To record Oct. 2020 Clergy Payroll FBT Oper. to FBT Payroll)                                            $     86,297.15
ANO   Operating                                      2118    10/1/2020   Divine Mercy (INTERNET RECEIVABLE)                                                                                         $      4,000.00
ANO   Operating                                      2118    10/1/2020   ANO Whitney ‐ Portfolio A (Portfolio A Quarterly Investment Distribution)                                                  $      2,653.25
ANO   Operating                                      2118    10/1/2020   ANO Whitney ‐ Portfolio A (Portfolio A Quarterly Investment Distribution)                                                  $      2,802.75
ANO   Operating                                      2118    10/1/2020   ANO Whitney ‐ Portfolio A (Portfolio A Quarterly Investment Distribution)                                                  $     19,624.75
ANO   Operating                                      2118    10/1/2020   ANO Whitney ‐ Portfolio A (Portfolio A Quarterly Investment Distribution)                                                  $     46,297.25
ANO   Operating                                      2118    10/1/2020   ANO Whitney ‐ Portfolio A (Portfolio A Quarterly Investment Distribution)                                                  $      3,344.25
ANO   Operating                                      2118    10/1/2020   ANO Whitney ‐ Portfolio A (Portfolio A Quarterly Investment Distribution)                                                  $    173,908.25
ANO   Operating                                      2118    10/1/2020   ANO Whitney ‐ Portfolio A (Portfolio A Quarterly Investment Distribution)                                                  $     33,143.75
ANO   Operating                                      2118    10/1/2020   ANO Whitney ‐ Portfolio A (Portfolio A Quarterly Investment Distribution)                                                  $    784,972.25
ANO   Operating                                      2118    10/1/2020   ANO Whitney ‐ Portfolio A (Portfolio A Quarterly Investment Distribution)                                                  $     31,605.50
ANO   Operating                                      2118    10/1/2020   ANO Whitney ‐ Portfolio A (Portfolio A Quarterly Investment Distribution)                                                  $     25,005.00
ANO   Operating                                      2118    10/1/2020   Various Payees through Catholic Counseling (OUTSIDE COUNSELING)                                                            $        547.07
ANO   Operating                                      2118    10/5/2020                                                                                                                              $        664.84
ANO   Operating                                      2118    10/5/2020                                                                                                                              $        754.73
ANO   Operating                                      2118    10/5/2020                                                                                                                              $        713.71
ANO   Operating                                      2118    10/5/2020   Notre Dame Health System (DEPOSIT AND LOAN FUND)                                                                           $      9,625.00
ANO   Operating                                      2118    10/5/2020   Our Lady Of Divine Providence Church (Parish Insurance)                                                                    $        517.00
ANO   Operating                                      2118    10/5/2020   Our Lady Of Divine Providence Church (School Insurance)                                                                    $        596.00
ANO   Operating                                      2118    10/5/2020   Our Lady Of Divine Providence Church (Parish Share)                                                                        $      1,015.00
ANO   Operating                                      2118    10/5/2020   Our Lady Of Divine Providence Church (Priest Health Insurance)                                                             $        330.00
ANO   Operating                                      2118    10/5/2020   Our Lady Of Divine Providence Church (Priest Auto Insurance)                                                               $         80.00
ANO   Operating                                      2118    10/5/2020   Our Lady Of Divine Providence Church (Priest Retirement)                                                                   $        148.00
ANO   Operating                                      2118    10/5/2020   St. Christopher The Martyr Church (Parish Share)                                                                           $      2,811.58
ANO   Operating                                      2118    10/5/2020   St. Christopher The Martyr Church (Priest Health Insurance)                                                                $      1,320.17
ANO   Operating                                      2118    10/5/2020   St. Christopher The Martyr Church (Priest Auto Insurance)                                                                  $        189.00
ANO   Operating                                      2118    10/5/2020   St. Christopher The Martyr Church (Priest Retirement)                                                                      $        591.67
ANO   Operating                                      2118    10/5/2020   St. Christopher The Martyr Church (Parish Insurance)                                                                       $      2,404.29
ANO   Operating                                      2118    10/5/2020   St. Christopher The Martyr Church (Parish Insurance)                                                                       $        164.29
ANO   Operating                                      2118    10/5/2020   St. Christopher The Martyr Church (Parish Insurance)                                                                       $        190.85
ANO   Operating                                      2118    10/5/2020   St. Christopher The Martyr Church (School Insurance)                                                                       $      1,878.32
ANO   Operating                                      2118    10/5/2020   St. Christopher The Martyr Church (School Insurance)                                                                       $      3,136.51
ANO   Operating                                      2118    10/5/2020   St. Christopher The Martyr Church (School Insurance)                                                                       $      3,643.56
ANO   Operating                                      2118    10/5/2020   School Food Services (Agency Insurance)                                                                                    $      2,619.92
ANO   Operating                                      2118    10/5/2020   School Food Services (Agency Insurance)                                                                                    $      9,279.24
ANO   Operating                                      2118    10/5/2020   School Food Services (Agency Insurance)                                                                                    $     19,881.14
ANO   Operating                                      2118    10/5/2020   School Food Services (Agency Assessment)                                                                                   $      4,355.93
ANO   Operating                                      2118    10/5/2020   School Food Services (RENT RECEIVABLES)                                                                                    $      6,243.62
ANO   Operating                                      2118    10/5/2020   St. Margaret Mary Church (BUILDING OFFICE FEE REC.)                                                                        $         48.38
ANO   Operating                                      2118    10/5/2020   St. Ann School (ACCOUNTING ASSISTANCE RECEIVABLE)                                                                          $        200.00
ANO   Operating                                      2118    10/5/2020   St. Rita Church (Harahan) (Parish Flood Insurance)                                                                         $        103.00
ANO   Operating                                      2118    10/5/2020   St. Rita Church (Harahan) (Parish Flood Insurance)                                                                         $         85.00
ANO   Operating                                      2118    10/5/2020   Our Lady Of Lourdes Church (Slidell) (Priest Retirement)                                                                   $      1,183.34
ANO   Operating                                      2118    10/5/2020   Our Lady Of Lourdes Church (Slidell) (Parish Insurance)                                                                    $         24.39
ANO   Operating                                      2118    10/5/2020   Our Lady Of Lourdes Church (Slidell) (Parish Insurance)                                                                    $         41.44
ANO   Operating                                      2118    10/5/2020   Our Lady Of Lourdes Church (Slidell) (PARISH ASSESSMENT)                                                                   $     11,945.80
ANO   Operating                                      2118    10/5/2020   Our Lady Of Lourdes Church (Slidell) (SALARY REIMBURSEMENTs)                                                               $      1,782.00
ANO   Operating                                      2118    10/5/2020   Our Lady Of Lourdes Church (Slidell) (SALARY REIMBURSEMENTs)                                                               $        600.00
ANO   Operating                                      2118    10/5/2020   Our Lady Of Lourdes Church (Slidell) (SALARY REIMBURSEMENTs)                                                               $         25.25
ANO   Operating                                      2118    10/5/2020   St. Francis Xavier Church (SALARY REIMBURSEMENTs)                                                                          $      1,782.00
ANO   Operating                                      2118    10/5/2020   St. Francis Xavier Church (SALARY REIMBURSEMENTs)                                                                          $        600.00
ANO   Operating                                      2118    10/5/2020   St. Francis Xavier Church (SALARY REIMBURSEMENTs)                                                                          $         25.25
ANO   Operating                                      2118    10/5/2020   St. Francis Xavier Church (Parish Share)                                                                                   $     12,968.67
ANO   Operating                                      2118    10/5/2020   St. Francis Xavier Church (Priest Health Insurance)                                                                        $      2,640.34
ANO   Operating                                      2118    10/5/2020   St. Francis Xavier Church (Priest Auto Insurance)                                                                          $        638.00
ANO   Operating                                      2118    10/5/2020   St. Francis Xavier Church (Priest Retirement)                                                                              $      1,183.34
ANO   Operating                                      2118    10/5/2020   St. Francis Xavier Church (School Insurance)                                                                               $      2,326.28
ANO   Operating                                      2118    10/5/2020   St. Francis Xavier Church (Parish Insurance)                                                                               $      4,174.02
ANO   Operating                                      2118    10/5/2020   St. Francis Xavier Church (Parish Insurance)                                                                               $      1,383.32
ANO   Operating                                      2118    10/5/2020   St. Francis Xavier Church (Parish Insurance)                                                                               $      1,161.68
ANO   Operating                                      2118    10/5/2020   St. Francis Xavier Church (School Insurance)                                                                               $      1,434.28
ANO   Operating                                      2118    10/5/2020   St. Francis Xavier Church (School Insurance)                                                                               $      2,770.11
ANO   Operating                                      2118    10/5/2020   St. Francis Xavier Church (Parish Flood Insurance)                                                                         $        124.75
ANO   Operating                                      2118    10/5/2020   St. Francis Xavier Church (SALARY REIMBURSEMENTs)                                                                          $          0.25
ANO   Operating                                      2118    10/5/2020   St. Francis Xavier Church (Parish Flood Insurance)                                                                         $        708.11
ANO   Operating                                      2118    10/5/2020   St. Francis Xavier Church (Parish Flood Insurance)                                                                         $        317.17
ANO   Operating                                      2118    10/5/2020   St. Rita Church (Harahan) (Parish Flood Insurance)                                                                         $      1,569.91
ANO   Operating                                      2118    10/5/2020   St. Rita Church (Harahan) (Parish Flood Insurance)                                                                         $      2,660.00
ANO   Operating                                      2118    10/5/2020   St. Rita Church (Harahan) (Parish Share)                                                                                   $        790.09
ANO   Operating                                      2118    10/5/2020   Mater Dolorosa Church (Parish Flood Insurance)                                                                             $        741.00
ANO   Operating                                      2118    10/5/2020   Mater Dolorosa Church (Parish Flood Insurance)                                                                             $        741.00
ANO   Operating                                      2118    10/5/2020   Mater Dolorosa Church (Parish Flood Insurance)                                                                             $        475.00
ANO   Operating                                      2118    10/5/2020   Mater Dolorosa Church (Parish Flood Insurance)                                                                             $      1,086.00
ANO   Operating                                      2118    10/5/2020   Mater Dolorosa Church (Parish Flood Insurance)                                                                             $      3,546.00
ANO   Operating                                      2118    10/5/2020   Sacred Heart Church (Parish Share)                                                                                         $      2,086.09
ANO   Operating                                      2118    10/5/2020   Sacred Heart Church (PARISH ASSESSMENT)                                                                                    $        418.93
ANO   Operating                                      2118    10/5/2020   St. Theresa Of Avila Church (Parish Share)                                                                                 $        586.00
ANO   Operating                                      2118    10/5/2020   St. Rita Church (Harahan) (CATHOLIC COMMUNICATION)                                                                         $      1,481.58
ANO   Operating                                      2118    10/5/2020   Our Lady Of Divine Providence Church (INTERNET RECEIVABLE)                                                                 $         77.50
ANO   Operating                                      2118    10/5/2020   Our Lady Of Divine Providence Church (NOTES & LOANS)                                                                       $      1,000.00
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 13 of
                                           103
ANO   Operating   2118   10/5/2020   St. Joseph Church (Gretna) (NOTES & LOANS)                             $    8,326.00
ANO   Operating   2118   10/5/2020   Divine Mercy (NOTES & LOANS)                                           $    1,062.00
ANO   Operating   2118   10/5/2020   St. Charles Borromeo Church (OTHER FUNDS ON DEP)                       $   75,000.00
ANO   Operating   2118   10/5/2020   St. Brigid Parish (OTHER FUNDS ON DEP)                                 $    1,000.00
ANO   Operating   2118   10/5/2020   Our Lady Of Divine Providence Church (CATHOLIC COMMUNICATION)          $      309.00
ANO   Operating   2118   10/5/2020   Permanent Diaconate (DESIGNATED FUNDS INTERNAL)                        $    1,803.50
ANO   Operating   2118   10/5/2020   St. Matthew The Apostle Church (CATHOLIC COMMUNICATION)                $    1,727.00
ANO   Operating   2118   10/5/2020   St. Matthew The Apostle Church (Donation)                              $      328.00
ANO   Operating   2118   10/5/2020   St. Katharine Drexel Church (CATHOLIC COMMUNICATION)                   $      300.00
ANO   Operating   2118   10/5/2020   Our Lady Of Divine Providence Church (Donation)                        $      160.00
ANO   Operating   2118   10/5/2020   St. Benilde Church (CATHOLIC COMMUNICATION)                            $      979.00
ANO   Operating   2118   10/5/2020   St. John Bosco Church (CATHOLIC COMMUNICATION)                         $      559.00
ANO   Operating   2118   10/5/2020   St. Paul The Apostle Church (BISHOPS APPEAL)                           $      372.05
ANO   Operating   2118   10/5/2020   St. Paul The Apostle Church (DONATIONS)                                $      327.00
ANO   Operating   2118   10/5/2020   St. Paul The Apostle Church (MILITARY COLLECTION)                      $      321.00
ANO   Operating   2118   10/5/2020   St. Paul The Apostle Church (PETER'S PENCE COLLECTION)                 $      249.00
ANO   Operating   2118   10/5/2020   St. Paul The Apostle Church (BLACK & INDIAN HOME MISSIONS)             $      479.00
ANO   Operating   2118   10/5/2020   St. Paul The Apostle Church (CATHOLIC COMMUNICATION)                   $      325.00
ANO   Operating   2118   10/5/2020   St. Joseph Church (Algiers) (CATHOLIC COMMUNICATION)                   $      784.00
ANO   Operating   2118   10/5/2020   St. Louis King of France School (INTERNET RECEIVABLE)                  $      762.67
ANO   Operating   2118   10/5/2020   St. Charles Catholic High School (INTERNET RECEIVABLE)                 $    1,149.25
ANO   Operating   2118   10/5/2020   Our Lady of Lourdes School (Slidell) (INTERNET RECEIVABLE)             $    3,529.42
ANO   Operating   2118   10/5/2020   St. Anthony School (Gretna) (INTERNET RECEIVABLE)                      $    1,538.25
ANO   Operating   2118   10/5/2020   St. Margaret Mary School (INTERNET RECEIVABLE)                         $    1,283.75
ANO   Operating   2118   10/5/2020   St. Andrew the Apostle School (INTERNET RECEIVABLE)                    $    2,007.67
ANO   Operating   2118   10/5/2020   St. Dominic School (INTERNET RECEIVABLE)                               $    2,198.55
ANO   Operating   2118   10/5/2020   St. Dominic School (INTERNET RECEIVABLE)                               $    3,712.00
ANO   Operating   2118   10/5/2020   St. Ann Church (INTERNET RECEIVABLE)                                   $      251.00
ANO   Operating   2118   10/5/2020   St. Christopher The Martyr Church (INTERNET RECEIVABLE)                $    1,605.75
ANO   Operating   2118   10/5/2020   St. Maria Goretti Church (INTERNET RECEIVABLE)                         $      164.95
ANO   Operating   2118   10/5/2020   Various Payees through OCS (FINGERPRINTING INCOME)                     $       58.00
ANO   Operating   2118   10/5/2020   Various Payees through OCS (FINGERPRINTING INCOME)                     $      116.00
ANO   Operating   2118   10/5/2020   Our Lady Of Prompt Succor Church (Westwe (INCOME STUDENT)              $    3,791.00
ANO   Operating   2118   10/5/2020   Our Lady Of Prompt Succor Church (Westwe (PRIESTS & RELIGIOUS)         $      400.00
ANO   Operating   2118   10/5/2020   Our Lady of Prompt Succor School (Westwe (INTERNET RECEIVABLE)         $      470.00
ANO   Operating   2118   10/5/2020   St. Peter School (Covington) (INTERNET RECEIVABLE)                     $    8,077.67
ANO   Operating   2118   10/5/2020   St. Alphonsus School (INTERNET RECEIVABLE)                             $    1,275.00
ANO   Operating   2118   10/5/2020   OLPH School (Kenner) (INTERNET RECEIVABLE)                             $      575.00
ANO   Operating   2118   10/5/2020   St. Clement of Rome School (INTERNET RECEIVABLE)                       $    1,357.67
ANO   Operating   2118   10/5/2020   Sacred Heart Church (CATHOLIC COMMUNICATION)                           $      480.00
ANO   Operating   2118   10/5/2020   St. Benedict Church (CATHOLIC COMMUNICATION)                           $      354.00
ANO   Operating   2118   10/5/2020   St. Rosalie Church (CATHOLIC COMMUNICATION)                            $      178.00
ANO   Operating   2118   10/5/2020   St. Agnes Le Thi Thanh Church (CATHOLIC COMMUNICATION)                 $    1,569.00
ANO   Operating   2118   10/5/2020                                                                          $       10.00
ANO   Operating   2118   10/5/2020   Holy Name Of Mary Church (OTHER FUNDS ON DEP)                          $   10,028.33
ANO   Operating   2118   10/5/2020                                                                          $       42.34
ANO   Operating   2118   10/6/2020   Place Dubourg (Agency Flood Insurance)                                 $      830.00
ANO   Operating   2118   10/6/2020   Villa St. Maurice (Agency Insurance)                                   $      830.00
ANO   Operating   2118   10/6/2020   St. Thomas Church (SALARY REIMBURSEMENTS)                              $    1,223.63
ANO   Operating   2118   10/6/2020   St. Ann School (ACCOUNTING ASSISTANCE RECEIVABLE)                      $      385.00
ANO   Operating   2118   10/6/2020   Holy Name Of Jesus Church (MISCELLANEOUS RECEIVABLES)                  $      565.75
ANO   Operating   2118   10/6/2020   Holy Name Of Jesus Church (MISCELLANEOUS RECEIVABLES)                  $      185.62
ANO   Operating   2118   10/6/2020   St. Anthony School (Gretna) (MISCELLANEOUS RECEIVABLES)                $    4,488.00
ANO   Operating   2118   10/6/2020   St. Thomas Church (Parish Flood Insurance)                             $      567.36
ANO   Operating   2118   10/6/2020   Notre Dame Seminary (Agency Insurance)                                 $      626.28
ANO   Operating   2118   10/6/2020   Our Lady Of Prompt Succor Church (Westwego) (SALARY REIMBURSEMENTS)    $      150.00
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (MISCELLANEOUS RECEIVABLES)   $      682.32
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (MISCELLANEOUS RECEIVABLES)   $      802.64
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $    1,250.00
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $    1,250.00
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      170.00
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $       87.49
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $    1,737.18
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $    2,016.07
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      350.00
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $        5.87
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      249.11
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      318.77
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      700.00
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      149.30
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      350.00
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $       42.50
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      109.65
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $        0.06
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $        5.10
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $        5.90
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $        4.56
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      359.63
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      416.36
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $       99.45
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $        1.16
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      173.30
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      200.63
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $       11.69
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $        1.69
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      210.00
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      243.65
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      119.34
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      185.87
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      215.19
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $       63.75
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $    3,045.16
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $    2,549.40
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $    8,743.99
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $    8,397.17
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $    3,672.00
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $        0.65
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $       90.86
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      105.19
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $    1,582.13
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $    2,824.15
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $    3,819.07
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $        1.15
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $       91.01
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      105.37
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $       21.62
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $    2,027.28
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $    2,217.15
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $    1,654.74
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $        0.71
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      163.58
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      189.38
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      143.44
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      348.72
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $    1,054.12
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $    1,252.51
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      700.00
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $       13.82
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $        1.02
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      125.35
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      145.12
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $       20.83
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      291.79
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      337.81
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      661.56
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $    2,829.92
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $    4,107.67
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $    2,238.34
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      732.37
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      282.57
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      327.15
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $       55.62
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      362.19
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      679.52
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $    1,658.34
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      766.88
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $    3,476.11
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $    2,382.66
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $    1,820.00
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $        0.85
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      378.16
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      437.81
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $       85.00
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $       31.02
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      392.36
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      454.26
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $        4.44
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      272.01
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      317.38
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $    1,972.71
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $       43.49
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      176.66
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)            $      204.53
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 14 of
                                           103
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)                $        2.21
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)                $      529.60
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)                $      613.15
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)                $       42.50
ANO   Operating   2118   10/6/2020   Catholic Charities, Arch. Of New Orleans (Agency Assessment)               $    3,445.16
ANO   Operating   2118   10/6/2020   St. Cletus Church (Parish Share)                                           $    5,192.92
ANO   Operating   2118   10/6/2020   St. Cletus Church (Priest Health Insurance)                                $    1,320.17
ANO   Operating   2118   10/6/2020   St. Cletus Church (Priest Auto Insurance)                                  $      319.00
ANO   Operating   2118   10/6/2020   St. Cletus Church (Priest Retirement)                                      $      591.67
ANO   Operating   2118   10/6/2020   St. Cletus Church (Parish Insurance)                                       $      923.65
ANO   Operating   2118   10/6/2020   St. Cletus Church (Parish Insurance)                                       $      266.74
ANO   Operating   2118   10/6/2020   St. Cletus Church (Parish Insurance)                                       $      336.90
ANO   Operating   2118   10/6/2020   St. Cletus Church (School Insurance)                                       $      886.01
ANO   Operating   2118   10/6/2020   St. Cletus Church (School Insurance)                                       $    1,825.71
ANO   Operating   2118   10/6/2020   St. Cletus Church (School Insurance)                                       $    2,305.88
ANO   Operating   2118   10/6/2020   St. Cletus Church (BUILDING OFFICE FEE REC.)                               $       48.38
ANO   Operating   2118   10/6/2020   St. Cletus Church (PARISH ASSESSMENT)                                      $      383.00
ANO   Operating   2118   10/6/2020   St. Cletus Church (PARISH ASSESSMENT)                                      $      273.00
ANO   Operating   2118   10/6/2020   St. Joachim Church (PARISH ASSESSMENT)                                     $    5,877.59
ANO   Operating   2118   10/6/2020   St. Gertrude Church (Parish Insurance)                                     $    1,875.73
ANO   Operating   2118   10/6/2020   St. Gertrude Church (Parish Insurance)                                     $      108.01
ANO   Operating   2118   10/6/2020   St. Gertrude Church (Parish Insurance)                                     $      125.04
ANO   Operating   2118   10/6/2020   St. Gertrude Church (Parish Insurance)                                     $      124.20
ANO   Operating   2118   10/6/2020   St. Gertrude Church (Parish Share)                                         $    1,115.92
ANO   Operating   2118   10/6/2020   St. Gertrude Church (Priest Health Insurance)                              $    1,320.17
ANO   Operating   2118   10/6/2020   St. Gertrude Church (Priest Auto Insurance)                                $      319.00
ANO   Operating   2118   10/6/2020   St. Gertrude Church (Priest Retirement)                                    $      591.67
ANO   Operating   2118   10/6/2020   St. John The Baptist Church (Paradis) (Parish Flood Insurance)             $      647.80
ANO   Operating   2118   10/6/2020   St. John The Baptist Church (Paradis) (Parish Share)                       $      500.00
ANO   Operating   2118   10/6/2020   St. John The Baptist Church (Paradis) (Parish Insurance)                   $    1,165.09
ANO   Operating   2118   10/6/2020   St. John The Baptist Church (Paradis) (Parish Insurance)                   $      144.89
ANO   Operating   2118   10/6/2020   St. John The Baptist Church (Paradis) (Parish Insurance)                   $      167.75
ANO   Operating   2118   10/6/2020   St. John The Baptist Church (Paradis) (Parish Share)                       $      595.08
ANO   Operating   2118   10/6/2020   St. John The Baptist Church (Paradis) (Priest Health Insurance)            $    1,320.17
ANO   Operating   2118   10/6/2020   St. John The Baptist Church (Paradis) (Priest Auto Insurance)              $      319.00
ANO   Operating   2118   10/6/2020   St. John The Baptist Church (Paradis) (Priest Retirement)                  $      591.67
ANO   Operating   2118   10/6/2020   St. John The Baptist Church (Paradis) (Priest Health Insurance)            $      500.00
ANO   Operating   2118   10/6/2020   The Visitation Of Our Lady Church (School Flood Insurance)                 $      917.82
ANO   Operating   2118   10/6/2020   The Visitation Of Our Lady Church (ACCOUNTING ASSISTANCE RECEIVABLE)       $       35.00
ANO   Operating   2118   10/6/2020   Sts. Peter And Paul Church (Parish Share)                                  $    3,782.67
ANO   Operating   2118   10/6/2020   Sts. Peter And Paul Church (Priest Health Insurance)                       $    1,320.17
ANO   Operating   2118   10/6/2020   Sts. Peter And Paul Church (Priest Auto Insurance)                         $      319.00
ANO   Operating   2118   10/6/2020   Sts. Peter And Paul Church (Priest Retirement)                             $      591.67
ANO   Operating   2118   10/6/2020   Sts. Peter And Paul Church (Parish Insurance)                              $      834.69
ANO   Operating   2118   10/6/2020   Sts. Peter And Paul Church (Parish Insurance)                              $      148.06
ANO   Operating   2118   10/6/2020   Sts. Peter And Paul Church (Parish Insurance)                              $      171.42
ANO   Operating   2118   10/6/2020   Sts. Peter And Paul Church (Parish Flood Insurance)                        $      181.54
ANO   Operating   2118   10/6/2020   Sts. Peter And Paul Church (PARISH ASSESSMENT)                             $      689.89
ANO   Operating   2118   10/6/2020   All Saints Church (Parish Share)                                           $    1,500.00
ANO   Operating   2118   10/6/2020   Annunciation Church (PARISH ASSESSMENT)                                    $      236.83
ANO   Operating   2118   10/6/2020   St. Clement Of Rome Church (Parish Insurance)                              $    1,243.75
ANO   Operating   2118   10/6/2020   St. Clement Of Rome Church (Parish Insurance)                              $      470.91
ANO   Operating   2118   10/6/2020   St. Clement Of Rome Church (Parish Insurance)                              $    1,278.12
ANO   Operating   2118   10/6/2020   St. Clement Of Rome Church (Parish Share)                                  $   17,404.67
ANO   Operating   2118   10/6/2020   St. Clement Of Rome Church (Priest Health Insurance)                       $    2,640.34
ANO   Operating   2118   10/6/2020   St. Clement Of Rome Church (Priest Auto Insurance)                         $      638.00
ANO   Operating   2118   10/6/2020   St. Clement Of Rome Church (Priest Retirement)                             $    1,183.34
ANO   Operating   2118   10/6/2020   St. Clement Of Rome Church (BUILDING OFFICE FEE REC.)                      $       48.38
ANO   Operating   2118   10/6/2020   St. Clement Of Rome Church (School Insurance)                              $    1,618.86
ANO   Operating   2118   10/6/2020   St. Clement Of Rome Church (School Insurance)                              $    1,697.26
ANO   Operating   2118   10/6/2020   St. Clement Of Rome Church (School Insurance)                              $    4,606.61
ANO   Operating   2118   10/6/2020   St. Anthony Church (Gretna) (Parish Share)                                 $      636.77
ANO   Operating   2118   10/6/2020   St. Anthony Church (Gretna) (Priest Health Insurance)                      $      330.04
ANO   Operating   2118   10/6/2020   St. Anthony Church (Gretna) (Priest Auto Insurance)                        $       79.75
ANO   Operating   2118   10/6/2020   St. Anthony Church (Gretna) (Priest Retirement)                            $      147.92
ANO   Operating   2118   10/6/2020   St. Anthony Church (Gretna) (Parish Insurance)                             $       97.70
ANO   Operating   2118   10/6/2020   St. Anthony Church (Gretna) (School Insurance)                             $      576.20
ANO   Operating   2118   10/6/2020   St. Anthony Church (Gretna) (School Insurance)                             $      377.23
ANO   Operating   2118   10/6/2020   Corpus Christi‐Epiphany Church (Parish Share)                              $    5,552.00
ANO   Operating   2118   10/6/2020   Corpus Christi‐Epiphany Church (Parish Insurance)                          $    1,533.70
ANO   Operating   2118   10/6/2020   Corpus Christi‐Epiphany Church (Parish Insurance)                          $      256.52
ANO   Operating   2118   10/6/2020   Corpus Christi‐Epiphany Church (Parish Insurance)                          $      296.98
ANO   Operating   2118   10/6/2020   Corpus Christi‐Epiphany Church (Parish Insurance)                          $      741.67
ANO   Operating   2118   10/6/2020   Corpus Christi‐Epiphany Church (School Insurance)                          $    1,939.37
ANO   Operating   2118   10/6/2020   Corpus Christi‐Epiphany Church (School Insurance)                          $    4,798.43
ANO   Operating   2118   10/6/2020   Corpus Christi‐Epiphany Church (PARISH ASSESSMENT)                         $      771.00
ANO   Operating   2118   10/6/2020   Corpus Christi‐Epiphany Church (Parish Flood Insurance)                    $      797.00
ANO   Operating   2118   10/6/2020   St. Mark Church (Parish Insurance)                                         $      781.07
ANO   Operating   2118   10/6/2020   St. Mark Church (Parish Insurance)                                         $       11.19
ANO   Operating   2118   10/6/2020   St. Mark Church (Parish Insurance)                                         $        6.66
ANO   Operating   2118   10/6/2020   St. Mark Church (Parish Share)                                             $      129.00
ANO   Operating   2118   10/6/2020   St. Mark Church (Parish Share)                                             $      129.00
ANO   Operating   2118   10/6/2020   St. Mark Church (Parish Share)                                             $      794.50
ANO   Operating   2118   10/6/2020   St. Mark Church (Priest Health Insurance)                                  $    1,320.17
ANO   Operating   2118   10/6/2020   St. Mark Church (Priest Auto Insurance)                                    $      319.00
ANO   Operating   2118   10/6/2020   St. Mark Church (Priest Retirement)                                        $      591.67
ANO   Operating   2118   10/6/2020   St. Dominic Church (BUILDING OFFICE FEE REC.)                              $       48.38
ANO   Operating   2118   10/6/2020   St. Dominic Church (Parish Share)                                          $   23,335.58
ANO   Operating   2118   10/6/2020   St. Dominic Church (Parish Insurance)                                      $    7,732.45
ANO   Operating   2118   10/6/2020   St. Dominic Church (Parish Insurance)                                      $      804.10
ANO   Operating   2118   10/6/2020   St. Dominic Church (Parish Insurance)                                      $    1,013.27
ANO   Operating   2118   10/6/2020   St. Dominic Church (School Insurance)                                      $    2,621.79
ANO   Operating   2118   10/6/2020   St. Dominic Church (School Insurance)                                      $    3,324.66
ANO   Operating   2118   10/6/2020   St. Dominic Church (School Insurance)                                      $    4,189.53
ANO   Operating   2118   10/6/2020   St. Dominic Church (School Insurance)                                      $      358.34
ANO   Operating   2118   10/6/2020   St. Thomas Church (Parish Insurance)                                       $      124.66
ANO   Operating   2118   10/6/2020   St. Thomas Church (PARISH ASSESSMENT)                                      $      246.59
ANO   Operating   2118   10/6/2020   St. Thomas Church (PARISH ASSESSMENT)                                      $      607.72
ANO   Operating   2118   10/6/2020   Holy Family Church (Franklinton) (Parish Insurance)                        $      445.65
ANO   Operating   2118   10/6/2020   Holy Family Church (Franklinton) (Parish Insurance)                        $       36.57
ANO   Operating   2118   10/6/2020   Holy Family Church (Franklinton) (Parish Insurance)                        $       41.96
ANO   Operating   2118   10/6/2020   Holy Family Church (Franklinton) (Parish Share)                            $    2,220.67
ANO   Operating   2118   10/6/2020   Holy Family Church (Franklinton) (Priest Health Insurance)                 $    1,320.17
ANO   Operating   2118   10/6/2020   Holy Family Church (Franklinton) (Priest Auto Insurance)                   $      319.00
ANO   Operating   2118   10/6/2020   Holy Family Church (Franklinton) (Priest Retirement)                       $      591.67
ANO   Operating   2118   10/6/2020   St. Patrick Church (New Orleans) (Parish Share)                            $      600.00
ANO   Operating   2118   10/6/2020   Sacred Heart Of Jesus Church (Parish Share)                                $       62.50
ANO   Operating   2118   10/6/2020   Sacred Heart Of Jesus Church (School Insurance)                            $    2,486.10
ANO   Operating   2118   10/6/2020   Sacred Heart Of Jesus Church (Parish Share)                                $    4,111.50
ANO   Operating   2118   10/6/2020   Sacred Heart Of Jesus Church (Priest Health Insurance)                     $    1,320.17
ANO   Operating   2118   10/6/2020   Sacred Heart Of Jesus Church (Priest Auto Insurance)                       $      319.00
ANO   Operating   2118   10/6/2020   Sacred Heart Of Jesus Church (Priest Retirement)                           $      591.67
ANO   Operating   2118   10/6/2020   Sacred Heart Of Jesus Church (Parish Insurance)                            $    1,949.76
ANO   Operating   2118   10/6/2020   Sacred Heart Of Jesus Church (Parish Insurance)                            $      255.38
ANO   Operating   2118   10/6/2020   Sacred Heart Of Jesus Church (Parish Insurance)                            $      318.45
ANO   Operating   2118   10/6/2020   St. Thomas Church (SALARY REIMBURSEMENTS)                                  $    1,223.63
ANO   Operating   2118   10/6/2020   St. Thomas Church (SALARY REIMBURSEMENTS)                                  $      598.37
ANO   Operating   2118   10/6/2020   St. Thomas Church (SALARY REIMBURSEMENTS)                                  $      600.00
ANO   Operating   2118   10/6/2020   St. Thomas Church (SALARY REIMBURSEMENTS)                                  $       25.25
ANO   Operating   2118   10/6/2020   St. Thomas Church (Parish Flood Insurance)                                 $      218.17
ANO   Operating   2118   10/6/2020   St. Thomas Church (SALARY REIMBURSEMENTS)                                  $       25.25
ANO   Operating   2118   10/6/2020   St. Thomas Church (SALARY REIMBURSEMENTS)                                  $    1,198.37
ANO   Operating   2118   10/6/2020   St. Thomas Church (Parish Flood Insurance)                                 $      283.50
ANO   Operating   2118   10/6/2020   St. John The Baptist Church (Edgard) (PARISH ASSESSMENT)                   $    3,720.00
ANO   Operating   2118   10/6/2020   St. Joan Of Arc Church (DONATIONS)                                         $      300.00
ANO   Operating   2118   10/6/2020   St. Margaret Mary Church (BLACK & INDIAN HOME MISSIONS)                    $    1,336.00
ANO   Operating   2118   10/6/2020   Various Payees through Permanent Diaconate (NOTES & LOANS)                 $      969.00
ANO   Operating   2118   10/6/2020   St. Angela Merici Church (CATHOLIC COMMUNICATION)                          $    2,853.25
ANO   Operating   2118   10/6/2020   St. Angela Merici Church (BISHOPS APPEAL)                                  $       70.00
ANO   Operating   2118   10/6/2020   St. Angela Merici Church (BLACK & INDIAN HOME MISSIONS)                    $      100.00
ANO   Operating   2118   10/6/2020   Immaculate Conception Church (Marrero) (CATHOLIC COMMUNICATION)            $      546.00
ANO   Operating   2118   10/6/2020   Various Payees through Catholic Counseling (OUTSIDE COUNSELING)            $    1,640.00
ANO   Operating   2118   10/6/2020   Assumption Of Mary Parish, Avondale (CATHOLIC COMMUNICATION)               $      409.00
ANO   Operating   2118   10/6/2020   St. Cletus Church (CATHOLIC COMMUNICATION)                                 $    1,513.00
ANO   Operating   2118   10/6/2020   Holy Family Church (Luling) (CATHOLIC COMMUNICATION)                       $    1,038.00
ANO   Operating   2118   10/6/2020   Holy Family Church (Luling) (Donation)                                     $      790.00
ANO   Operating   2118   10/6/2020   Our Lady Of Prompt Succor Church (Chalmette) (CATHOLIC COMMUNICATION)      $      854.00
ANO   Operating   2118   10/6/2020   St. Ann Church (CATHOLIC COMMUNICATION)                                    $    2,309.46
ANO   Operating   2118   10/6/2020   St. Ann Church (Catholic Schools Collection)                               $      120.00
ANO   Operating   2118   10/6/2020   Our Lady Of The Rosary Church (CATHOLIC COMMUNICATION)                     $      401.00
ANO   Operating   2118   10/6/2020   Our Lady Of The Rosary Church (BLACK & INDIAN HOME MISSIONS)               $       10.00
ANO   Operating   2118   10/6/2020   Holy Family Church (Franklinton) (CATHOLIC COMMUNICATION)                  $      180.00
ANO   Operating   2118   10/6/2020   St. Louis King Of France Church (CATHOLIC COMMUNICATION)                   $    1,235.00
ANO   Operating   2118   10/6/2020   St. Ann School (ACCP INCOME)                                               $      260.00
ANO   Operating   2118   10/6/2020   St. Louis Cathedral Church (NOTES & LOANS)                                 $   19,583.34
ANO   Operating   2118   10/6/2020   Notre Dame Health System (Retired Priest Plus Expense ‐ Medical Co‐Pays)   $    1,760.00
ANO   Operating   2118   10/6/2020   Legal Office (LEGAL FEES ‐ Other)                                          $   24,203.10
ANO   Operating   2118   10/6/2020   Legal Office (LEGAL FEES ‐ Other)                                          $    1,887.90
ANO   Operating   2118   10/6/2020   Legal Office (LEGAL FEES ‐ Other)                                          $    5,597.70
ANO   Operating   2118   10/6/2020   Legal Office (LEGAL FEES ‐ Other)                                          $    4,106.90
ANO   Operating   2118   10/6/2020   Various Payees through TCC (DONATIONS)                                     $      280.00
ANO   Operating   2118   10/6/2020   Various Payees through TCC (DONATIONS)                                     $    1,200.00
ANO   Operating   2118   10/6/2020   Legatus of New Orleans (Donation)                                          $      150.00
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 15 of
                                           103
ANO   Operating   2118    10/6/2020   St. Joan Of Arc Church (MISCELLANEOUS INCOME)                                         $         975.00
ANO   Operating   2118    10/6/2020   Trinity Trace (FBO Holy Trinity Drive LC) (Payable to Holy Trinity Drive Land Corp)   $       9,000.00
ANO   Operating   2118    10/6/2020   Various Payees through OCS (ACCP INCOME)                                              $          40.00
ANO   Operating   2118    10/6/2020   Rouquette Lodge III (NOTES & LOANS)                                                   $         337.46
ANO   Operating   2118    10/6/2020   Rouquette Lodge IV (NOTES & LOANS)                                                    $         337.46
ANO   Operating   2118    10/6/2020   St. Catherine Of Siena Church (NOTES & LOANS)                                         $      16,026.88
ANO   Operating   2118    10/6/2020                                                                                         $       3,940.31
ANO   Operating   2118    10/6/2020   St. Jerome Church (NOTES & LOANS)                                                     $       2,000.00
ANO   Operating   2118    10/6/2020   Most Holy Trinity Church (NOTES & LOANS)                                              $         700.00
ANO   Operating   2118    10/6/2020   Ascension Of Our Lord Church (NOTES & LOANS)                                          $       5,000.00
ANO   Operating   2118    10/6/2020   CATHOLIC FOUNDATION (INTERNET RECEIVABLE)                                             $          71.19
ANO   Operating   2118    10/6/2020   St. Angela Merici Church (INTERNET RECEIVABLE)                                        $       2,325.66
ANO   Operating   2118    10/6/2020   St. Pius X School (INTERNET RECEIVABLE)                                               $       3,377.42
ANO   Operating   2118    10/6/2020   St. Augustine Church (INTERNET RECEIVABLE)                                            $       1,161.67
ANO   Operating   2118    10/6/2020   St. Christopher School (INTERNET RECEIVABLE)                                          $       1,700.00
ANO   Operating   2118    10/6/2020   St. Catherine Of Siena Church (INTERNET RECEIVABLE)                                   $          52.00
ANO   Operating   2118    10/6/2020   Center Of Jesus The Lord Church (INTERNET RECEIVABLE)                                 $         400.00
ANO   Operating   2118    10/6/2020   Center Of Jesus The Lord Church (INTERNET RECEIVABLE)                                 $          35.00
ANO   Operating   2118    10/6/2020   St. Paul The Apostle Church (INTERNET RECEIVABLE)                                     $       1,700.00
ANO   Operating   2118    10/6/2020   St. Paul The Apostle Church (INTERNET RECEIVABLE)                                     $         175.00
ANO   Operating   2118    10/6/2020   Project Lazarus (INTERNET RECEIVABLE)                                                 $         105.00
ANO   Operating   2118    10/6/2020   Assumption of Our Lady Mission (INTERNET RECEIVABLE)                                  $         400.00
ANO   Operating   2118    10/6/2020   St. Thomas Church (INTERNET RECEIVABLE)                                               $         400.00
ANO   Operating   2118    10/6/2020   St. Anthony Of Padua Church (New Orleans) (HOLY LAND DONATIONS)                       $         648.29
ANO   Operating   2118    10/6/2020   St. John The Baptist Church (Edgard) (INTERNET RECEIVABLE)                            $          17.00
ANO   Operating   2118    10/6/2020   The Visitation Of Our Lady Church (INTERNET RECEIVABLE)                               $         744.83
ANO   Operating   2118    10/6/2020   The Visitation Of Our Lady Church (INTERNET RECEIVABLE)                               $         357.00
ANO   Operating   2118    10/6/2020   Incarnate Word Parish (NOTES & LOANS)                                                 $         150.00
ANO   Operating   2118    10/6/2020   Holy Name Of Jesus Church (INCOME STUDENT)                                            $         671.00
ANO   Operating   2118    10/6/2020   St. Scholastica High School (INTERNET RECEIVABLE)                                     $       2,117.67
ANO   Operating   2118    10/6/2020   St. Stephen School (INTERNET RECEIVABLE)                                              $       2,763.25
ANO   Operating   2118    10/6/2020   Our Lady Of The Holy Rosary Church (INTERNET RECEIVABLE)                              $           8.00
ANO   Operating   2118    10/6/2020   Our Lady Of The Angels Church (CATHOLIC COMMUNICATION)                                $         170.00
ANO   Operating   2118    10/6/2020   Resurrection Of Our Lord Church (CATHOLIC COMMUNICATION)                              $         323.55
ANO   Operating   2118    10/6/2020   St. Rita School (INTERNET RECEIVABLE)                                                 $       1,339.00
ANO   Operating   2118    10/6/2020   St. Joachim Church (HOLY LAND DONATIONS)                                              $          85.00
ANO   Operating   2118    10/6/2020   St. Joachim Church (BLACK & INDIAN HOME MISSIONS)                                     $         747.27
ANO   Operating   2118    10/6/2020   St. Joachim Church (PETER'S PENCE COLLECTION)                                         $          10.00
ANO   Operating   2118    10/6/2020   St. Joachim Church (Catholic Charities Collection)                                    $         357.00
ANO   Operating   2118    10/6/2020   St. Joachim Church (MILITARY COLLECTION)                                              $          15.00
ANO   Operating   2118    10/6/2020   St. Joachim Church (DONATIONS)                                                        $         743.00
ANO   Operating   2118    10/6/2020   St. Joachim Church (CATHOLIC COMMUNICATION)                                           $          57.00
ANO   Operating   2118    10/6/2020   St. Joachim Church (Catholic Schools Collection)                                      $         645.30
ANO   Operating   2118    10/6/2020   St. Joachim Church (Payable ‐ Pontifical Mission Society)                             $          45.00
ANO   Operating   2118    10/6/2020   St. Joachim Church (PASTORAL SOLIDARITY FUND FOR AFRICA)                              $          20.00
ANO   Operating   2118    10/6/2020   St. Joachim Church (Campaign for Human Development)                                   $          35.00
ANO   Operating   2118    10/6/2020   St. Joachim Church (BISHOPS APPEAL)                                                   $          40.00
ANO   Operating   2118    10/6/2020   St. Joachim Church (CATHOLIC HOME MISSION)                                            $          75.00
ANO   Operating   2118    10/6/2020   St. Joachim Church (PASTORAL SOLIDARITY FUND FOR AFRICA)                              $         418.00
ANO   Operating   2118    10/6/2020   St. Joachim Church (BLACK & INDIAN HOME MISSIONS)                                     $         141.00
ANO   Operating   2118    10/6/2020   Divine Mercy (INTERNET RECEIVABLE)                                                    $         100.00
ANO   Operating   2118    10/6/2020   Immaculate Conception Church (New Orleans) (CATHOLIC COMMUNICATION)                   $         936.00
ANO   Operating   2118    10/6/2020   Immaculate Conception Church (New Orleans) (HOLY LAND DONATIONS)                      $       1,169.00
ANO   Operating   2118    10/6/2020   St. Francis Of Assisi Church (INTERNET RECEIVABLE)                                    $         835.00
ANO   Operating   2118    10/6/2020   St. Philip Neri Church (INTERNET RECEIVABLE)                                          $      11,072.67
ANO   Operating   2118    10/6/2020   St. Angela Merici Church (Donations)                                                  $       2,004.00
ANO   Operating   2118    10/6/2020   St. Angela Merici Church (Donations)                                                  $       3,129.00
ANO   Operating   2118    10/6/2020   St. Patrick Church (Port Sulphur) (Donations)                                         $       1,000.00
ANO   Operating   2118    10/6/2020   St. John The Baptist Church (Paradis) (Donations)                                     $         305.00
ANO   Operating   2118    10/6/2020   Our Lady Of Prompt Succor Church (Chalmette) (Donations)                              $         700.00
ANO   Operating   2118    10/6/2020   Holy Family Church (Franklinton) (Donations)                                          $         510.00
ANO   Operating   2118    10/6/2020   St. Matthew The Apostle Church (SPECIAL COVERAGES)                                    $         110.00
ANO   Operating   2118    10/6/2020                                                                                         $          20.00
ANO   Operating   2118    10/6/2020   St. Luke The Evangelist Church (HOLY LAND DONATIONS)                                  $         300.00
ANO   Operating   2118    10/8/2020   Notre Dame Health System (DEPOSIT AND LOAN FUND)                                      $      89,500.00
ANO   Operating   2118    10/8/2020   Good Shepherd Church (Return of 401k Remittances due to Corrections)                  $          60.28
ANO   Operating   2118    10/8/2020   St. Louis King of France (Return of 401k Remittances due to Correction)               $         140.89
ANO   Operating   2118    10/8/2020   Clarion Herald (INTERNET RECEIVABLE)                                                  $         385.00
ANO   Operating   2118    10/8/2020   HESI (Settlement Income (HESI))                                                       $   1,056,230.50
ANO   Operating   2118    10/8/2020   Various Payees through Hispanic Apostolate (DEPOSIT AND LOAN FUND)                    $         401.00
ANO   Operating   2118    10/8/2020   Aspiring Scholards (ACCOUNTING ASSISTANCE RECEIVABLE)                                 $         200.00
ANO   Operating   2118    10/9/2020   St. Scholastica High School (DEPOSIT AND LOAN FUND)                                   $     350,000.00
ANO   Operating   2118    10/9/2020   EIF Loan Repayment to ANO General Fund (Miscellaneous Receivables ‐ EIF & Captive)    $     600,000.00
ANO   Operating   2118    10/9/2020   Various Payees Through Retreat Center (RETREAT INCOME ‐ DAYS OF PRAYER)               $         435.00
ANO   Operating   2118    10/9/2020   Various Payees Through OCS (FINGERPRINTING INCOME)                                    $         116.00
ANO   Operating   2118    10/9/2020   Various Payees Through Archives (DONATIONS)                                           $           5.00
ANO   Operating   2118    10/9/2020   Various Payees Through Archives (MISCELLANEOUS INCOME)                                $           5.00
ANO   Operating   2118    10/9/2020   Various Payees Through TCC (DONATIONS ‐ SUNDAY)                                       $          62.00
ANO   Operating   2118    10/9/2020   Various Payees through Catholic Counseling (OUTSIDE COUNSELING)                       $         206.00
ANO   Operating   2118    10/9/2020   Various Payees Through TCC (DONATIONS ‐ SUNDAY)                                       $          28.00
ANO   Operating   2118    10/9/2020   Various Payees Through Stella Maris (DONATIONS)                                       $         180.00
ANO   Operating   2118    10/9/2020   Various Payees Through Stella Maris (FEE INCOME‐PORT FEES)                            $         100.00
ANO   Operating   2118    10/9/2020   Various Payees Through OCS (FINGERPRINTING INCOME)                                    $          58.00
ANO   Operating   2118    10/9/2020   Various Payees through Catholic Counseling (OUTSIDE COUNSELING)                       $         400.00
ANO   Operating   2118    10/9/2020   Various Payees through Catholic Counseling (OUTSIDE COUNSELING)                       $         549.42
ANO   Operating   2118   10/12/2020   Villa St. Maurice (Agency Insurance)                                                  $         293.14
ANO   Operating   2118   10/12/2020   Christopher Homes, Inc. (RENT RECEIVABLES)                                            $       3,689.01
ANO   Operating   2118   10/12/2020   Metairie Manor III (LEGAL RECEIVABLES)                                                $          15.00
ANO   Operating   2118   10/12/2020   Villa St. Maurice (Agency Flood Insurance)                                            $         830.00
ANO   Operating   2118   10/12/2020   St. Gabriel The Archangel Church (PARISH ASSESSMENT)                                  $       1,500.00
ANO   Operating   2118   10/12/2020   Blessed Sacrament ‐ St Joan Of Arc Church (Parish Insurance)                          $       1,500.64
ANO   Operating   2118   10/12/2020   Blessed Sacrament ‐ St Joan Of Arc Church (Parish Insurance)                          $         229.17
ANO   Operating   2118   10/12/2020   Blessed Sacrament ‐ St Joan Of Arc Church (School Insurance)                          $         416.59
ANO   Operating   2118   10/12/2020   Blessed Sacrament ‐ St Joan Of Arc Church (School Insurance)                          $         496.99
ANO   Operating   2118   10/12/2020   Blessed Sacrament ‐ St Joan Of Arc Church (School Insurance)                          $         575.40
ANO   Operating   2118   10/12/2020   Blessed Sacrament ‐ St Joan Of Arc Church (School Insurance)                          $          21.25
ANO   Operating   2118   10/12/2020   Blessed Sacrament ‐ St Joan Of Arc Church (Parish Share)                              $       2,504.75
ANO   Operating   2118   10/12/2020   St. Theresa Of Avila Church (Parish Insurance)                                        $         586.00
ANO   Operating   2118   10/12/2020   St. Mark Church (Parish Flood Insurance)                                              $         257.50
ANO   Operating   2118   10/12/2020   St. Mark Church (Parish Flood Insurance)                                              $          61.75
ANO   Operating   2118   10/12/2020   St. Mark Church (Parish Flood Insurance)                                              $         257.50
ANO   Operating   2118   10/12/2020   St. Mark Church (Parish Flood Insurance)                                              $          61.75
ANO   Operating   2118   10/12/2020   Various Payees through Vicar General (OTHER FUNDS ON DEP)                             $         300.00
ANO   Operating   2118   10/12/2020   Christopher Homes, Inc. (INTERNET RECEIVABLE)                                         $         100.46
ANO   Operating   2118   10/12/2020   St. Matthew the Apostle School (INTERNET RECEIVABLE)                                  $       1,207.00
ANO   Operating   2118   10/12/2020   St. Edward the Confessor School (INTERNET RECEIVABLE)                                 $       3,211.67
ANO   Operating   2118   10/12/2020   St. Leo the Great School (INTERNET RECEIVABLE)                                        $      12,144.00
ANO   Operating   2118   10/12/2020   St. Rita School (Harahan) (INTERNET RECEIVABLE)                                       $         912.67
ANO   Operating   2118   10/12/2020   Immaculate Conception Church (Marrero) (INTERNET RECEIVABLE)                          $         183.25
ANO   Operating   2118   10/12/2020   St. Francis Xavier Church (INTERNET RECEIVABLE)                                       $         612.67
ANO   Operating   2118   10/12/2020   St. Anthony's Gardens (INTERNET RECEIVABLE)                                           $       2,048.79
ANO   Operating   2118   10/12/2020   St. Joseph The Worker Church (INTERNET RECEIVABLE)                                    $         598.54
ANO   Operating   2118   10/12/2020   Archbishop Hannan High School (INTERNET RECEIVABLE)                                   $      19,616.51
ANO   Operating   2118   10/12/2020   Archbishop Shaw High School (INTERNET RECEIVABLE)                                     $       1,001.50
ANO   Operating   2118   10/12/2020   Cabrini High School (INTERNET RECEIVABLE)                                             $       4,462.67
ANO   Operating   2118   10/12/2020   Christopher Homes, Inc. (INTERNET RECEIVABLE)                                         $         100.46
ANO   Operating   2118   10/12/2020   Wynhoven Apartments I (ELEVATOR RECEIVABLES)                                          $         825.00
ANO   Operating   2118   10/12/2020   St. John Berchman Manor (INTERNET RECEIVABLE)                                         $         100.45
ANO   Operating   2118   10/12/2020   Annunciation Inn (INTERNET RECEIVABLE)                                                $         100.46
ANO   Operating   2118   10/12/2020   St. Bernard Manor (INTERNET RECEIVABLE)                                               $         100.45
ANO   Operating   2118   10/12/2020   St. Martin House (Mental Health) (INTERNET RECEIVABLE)                                $         100.45
ANO   Operating   2118   10/12/2020   Christopher Homes, Inc. (INTERNET RECEIVABLE)                                         $         100.46
ANO   Operating   2118   10/12/2020   Nazareth Inn (INTERNET RECEIVABLE)                                                    $         100.46
ANO   Operating   2118   10/12/2020   Nazareth Inn II (INTERNET RECEIVABLE)                                                 $         100.46
ANO   Operating   2118   10/12/2020   Place Dubourg (INTERNET RECEIVABLE)                                                   $         100.45
ANO   Operating   2118   10/12/2020   Mater Dolorosa Apts. (INTERNET RECEIVABLE)                                            $         100.46
ANO   Operating   2118   10/12/2020   Metairie Manor (INTERNET RECEIVABLE)                                                  $         100.46
ANO   Operating   2118   10/12/2020   Metairie Manor III (INTERNET RECEIVABLE)                                              $         100.46
ANO   Operating   2118   10/12/2020   Rouquette Lodge IV (INTERNET RECEIVABLE)                                              $         100.45
ANO   Operating   2118   10/12/2020   Rouquette Lodge III (INTERNET RECEIVABLE)                                             $         100.45
ANO   Operating   2118   10/12/2020   Rouquette Lodge II (INTERNET RECEIVABLE)                                              $         100.45
ANO   Operating   2118   10/12/2020   St. Martin Manor (INTERNET RECEIVABLE)                                                $         100.45
ANO   Operating   2118   10/12/2020   Metairie Manor IV (INTERNET RECEIVABLE)                                               $         100.46
ANO   Operating   2118   10/12/2020   Villa St. Maurice (INTERNET RECEIVABLE)                                               $         983.20
ANO   Operating   2118   10/12/2020   St. Theresa's Villa (INTERNET RECEIVABLE)                                             $         100.45
ANO   Operating   2118   10/12/2020   Wynhoven Apartments I (INTERNET RECEIVABLE)                                           $         100.45
ANO   Operating   2118   10/12/2020   St. Ann School (INTERNET RECEIVABLE)                                                  $       4,405.26
ANO   Operating   2118   10/12/2020   St. Rita Church (Harahan) (INTERNET RECEIVABLE)                                       $         249.50
ANO   Operating   2118   10/12/2020   Our Lady Star Of The Sea Church (INTERNET RECEIVABLE)                                 $          75.50
ANO   Operating   2118   10/12/2020   Various Payees through Hispanic Apostolate (DONATIONS)                                $         200.00
ANO   Operating   2118   10/12/2020   Various Payees through Hispanic Apostolate (DONATIONS ‐ COMMUNITY SERVICES)           $       1,078.03
ANO   Operating   2118   10/12/2020   Various Payees through Vocations (SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT)             $         626.00
ANO   Operating   2118   10/12/2020   Various Payees through Vocations (SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT)             $         190.43
ANO   Operating   2118   10/12/2020   St. Anthony Of Padua Church (New Orleans) (PARISH FUNDS ON DEP)                       $       1,126.25
ANO   Operating   2118   10/12/2020   Various Payees through Vocations (DONATIONS)                                          $         300.00
ANO   Operating   2118   10/12/2020   Our Lady of the Lake School (SPECIAL COVERAGES)                                       $         110.00
ANO   Operating   2118   10/12/2020   St. Margaret Mary School (INCOME STUDENT)                                             $       6,090.00
ANO   Operating   2118   10/12/2020   Archbishop Shaw High School (INCOME STUDENT)                                          $      19,750.00
ANO   Operating   2118   10/12/2020   Mary Queen of Peace School (INCOME STUDENT)                                           $       7,169.00
ANO   Operating   2118   10/12/2020   Various Payees through Marriage & Family Life (PARISH FAMILY MINISTRY)                $       2,561.00
ANO   Operating   2118   10/12/2020   Holy Cross School (PROPERTY RENTAL INC)                                               $       1,900.00
ANO   Operating   2118   10/12/2020   Various Payees through CYO (YOUTH EVENT INCOME)                                       $          60.00
ANO   Operating   2118   10/12/2020   Various Payees through Archives (PRINTED MATTER SALE)                                 $         600.00
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 16 of
                                           103
ANO   Operating   2118   10/12/2020   Various Payees through Archives (RESEARCH FEES)                               $       239.00
ANO   Operating   2118   10/12/2020   Various Payees through Archives (MISCELLANEOUS INCOME)                        $       135.00
ANO   Operating   2118   10/12/2020   Archbishop Chapelle High School (CAMP ABBEY RETREAT FEES)                     $     8,102.00
ANO   Operating   2118   10/12/2020   Various Payees through Camp Abbey (CAMP ABBEY RETREAT FEES)                   $       100.00
ANO   Operating   2118   10/12/2020   Academy of Our Lady (INTERNET RECEIVABLE)                                     $     4,737.01
ANO   Operating   2118   10/12/2020   St. Anthony School (Gretna) (Hurricane Laura Donation)                        $       154.75
ANO   Operating   2118   10/12/2020   Archbishop Rummel High School (INTERNET RECEIVABLE)                           $     1,564.00
ANO   Operating   2118   10/12/2020   Various Payees through OCS (ACCP INCOME)                                      $        40.00
ANO   Operating   2118   10/12/2020   Various Payees through OCS (ACCP INCOME)                                      $        40.00
ANO   Operating   2118   10/12/2020   Notre Dame Health System (INTERNET RECEIVABLE)                                $    99,273.94
ANO   Operating   2118   10/12/2020   Various Payees through OCS (FINGERPRINTING INCOME)                            $       464.00
ANO   Operating   2118   10/12/2020   Resurrection of Our Lord School (INTERNET RECEIVABLE)                         $     1,380.00
ANO   Operating   2118   10/12/2020   St. Michael Special School (INTERNET RECEIVABLE)                              $     1,217.75
ANO   Operating   2118   10/12/2020   St. Michael Special School (MISCELLANEOUS INCOME)                             $        10.00
ANO   Operating   2118   10/12/2020   Royal Vending (VENDING MACHINE INC)                                           $        65.00
ANO   Operating   2118   10/12/2020   Royal Vending (VENDING MACHINE INC)                                           $        46.00
ANO   Operating   2118   10/12/2020   St. Louise de Marillac (PARISH FUNDS ON DEP)                                  $       600.00
ANO   Operating   2118   10/12/2020   St. Jerome Church (CATHOLIC COMMUNICATION)                                    $     1,456.00
ANO   Operating   2118   10/12/2020   St. Jerome Church (INTERNET RECEIVABLE)                                       $       131.75
ANO   Operating   2118   10/12/2020   St. Jerome Church (PARISH FUNDS ON DEP)                                       $     1,000.00
ANO   Operating   2118   10/12/2020   Sacred Heart Academy (INTERNET RECEIVABLE)                                    $     1,375.34
ANO   Operating   2118   10/12/2020   Donations (DONATIONS)                                                         $         5.00
ANO   Operating   2118   10/12/2020   Mary Queen of Peace School (PARISH FUNDS ON DEP)                              $    54,363.00
ANO   Operating   2118   10/12/2020   Holy Name of Jesus School (INTERNET RECEIVABLE)                               $        70.00
ANO   Operating   2118   10/12/2020   Holy Name Of Jesus Church (INTERNET RECEIVABLE)                               $       119.00
ANO   Operating   2118   10/12/2020   Christopher Homes, Inc. (INTERNET RECEIVABLE)                                 $       175.00
ANO   Operating   2118   10/12/2020   Archdiocesan Cemeteries Office (PARISH FUNDS ON DEP)                          $    18,768.00
ANO   Operating   2118   10/12/2020   Optum Rx (Active Priest Medical Expense ‐ Medical Co‐Pays)                    $        21.00
ANO   Operating   2118   10/12/2020   Catholic Mutual (INSURANCE CLAIMS ‐ ALL)                                      $       143.00
ANO   Operating   2118   10/12/2020   St. Anthony Of Padua Church (New Orleans) (Overpayment Payable)               $        18.00
ANO   Operating   2118   10/13/2020                                                                                 $       258.83
ANO   Operating   2118   10/13/2020                                                                                 $        14.35
ANO   Operating   2118   10/14/2020   Notre Dame Health System (DEPOSIT AND LOAN FUND)                              $   127,700.00
ANO   Operating   2118   10/14/2020   Catholic Charities, Arch. Of New Orleans (RENT RECEIVABLES)                   $    16,803.26
ANO   Operating   2118   10/14/2020   Catholic Charities, Arch. Of New Orleans (RENT RECEIVABLES)                   $       500.00
ANO   Operating   2118   10/14/2020   Our Lady Of Divine Providence Church (Parish Insurance)                       $       110.11
ANO   Operating   2118   10/14/2020   Our Lady Of Divine Providence Church (Parish Insurance)                       $       421.89
ANO   Operating   2118   10/14/2020   Our Lady Of Divine Providence Church (School Insurance)                       $       596.00
ANO   Operating   2118   10/14/2020   Our Lady Of Divine Providence Church (Parish Share)                           $     1,000.00
ANO   Operating   2118   10/14/2020   Our Lady Of Divine Providence Church (Priest Health Insurance)                $       330.00
ANO   Operating   2118   10/14/2020   Our Lady Of Divine Providence Church (Priest Auto Insurance)                  $        80.00
ANO   Operating   2118   10/14/2020   Our Lady Of Divine Providence Church (Priest Retirement)                      $       148.00
ANO   Operating   2118   10/14/2020   Our Lady Of Perpetual Help Church (Kenner) (Parish Flood Insurance)           $       270.83
ANO   Operating   2118   10/14/2020   Our Lady Of Perpetual Help Church (Kenner) (PARISH ASSESSMENT)                $       306.58
ANO   Operating   2118   10/14/2020   Our Lady Of Perpetual Help Church (Kenner) (PARISH ASSESSMENT)                $        61.75
ANO   Operating   2118   10/14/2020   Our Lady Of Perpetual Help Church (Kenner) (PARISH ASSESSMENT)                $       220.17
ANO   Operating   2118   10/14/2020   Our Lady Of Perpetual Help Church (Kenner) (PARISH ASSESSMENT)                $       317.17
ANO   Operating   2118   10/14/2020   Christopher Homes, Inc. (Agency Insurance)                                    $     1,594.67
ANO   Operating   2118   10/14/2020   Christopher Homes, Inc. (Agency Insurance)                                    $       970.20
ANO   Operating   2118   10/14/2020   Christopher Homes, Inc. (Agency Insurance)                                    $       634.95
ANO   Operating   2118   10/14/2020   St. Peter Claver Church (PARISH ASSESSMENT)                                   $     6,000.00
ANO   Operating   2118   10/14/2020   St. Mary Of The Angels Church (Parish Insurance)                              $     1,090.51
ANO   Operating   2118   10/14/2020   St. Patrick Church (New Orleans) (Parish Share)                               $     2,535.25
ANO   Operating   2118   10/14/2020   St. Patrick Church (New Orleans) (Parish Share)                               $    14,361.59
ANO   Operating   2118   10/14/2020   St. Patrick Church (New Orleans) (Parish Share)                               $        98.63
ANO   Operating   2118   10/14/2020   St. Anthony Church (Lafitte) (Parish Share)                                   $       636.77
ANO   Operating   2118   10/14/2020   St. Anthony Church (Lafitte) (Priest Health Insurance)                        $       330.04
ANO   Operating   2118   10/14/2020   St. Anthony Church (Lafitte) (Priest Auto Insurance)                          $        79.75
ANO   Operating   2118   10/14/2020   St. Anthony Church (Lafitte) (Priest Retirement)                              $       147.92
ANO   Operating   2118   10/14/2020   St. Anthony Church (Lafitte) (Parish Insurance)                               $       690.11
ANO   Operating   2118   10/14/2020   St. Anthony Church (Lafitte) (Parish Insurance)                               $        61.02
ANO   Operating   2118   10/14/2020   Our Lady Of Lourdes Church (Slidell) (Priest Health Insurance)                $     2,640.34
ANO   Operating   2118   10/14/2020   Our Lady Of Lourdes Church (Slidell) (Priest Auto Insurance)                  $        58.94
ANO   Operating   2118   10/14/2020   Blessed Francis Xavier Seelos Church (Parish Insurance)                       $     1,350.26
ANO   Operating   2118   10/14/2020   Blessed Francis Xavier Seelos Church (Parish Insurance)                       $        77.06
ANO   Operating   2118   10/14/2020   Blessed Francis Xavier Seelos Church (Parish Insurance)                       $       107.55
ANO   Operating   2118   10/14/2020   St. Gabriel The Archangel Church (PARISH ASSESSMENT)                          $     1,500.00
ANO   Operating   2118   10/14/2020   St. Edward The Confessor Church (BUILDING OFFICE FEE REC.)                    $        48.38
ANO   Operating   2118   10/14/2020   St. Rita Church (Harahan) (Parish Flood Insurance)                            $       188.00
ANO   Operating   2118   10/14/2020   St. Rita Church (Harahan) (Parish Insurance)                                  $       647.00
ANO   Operating   2118   10/14/2020   St. Rita Church (Harahan) (School Insurance)                                  $     1,070.00
ANO   Operating   2118   10/14/2020   St. Rita Church (Harahan) (Parish Share)                                      $     2,244.00
ANO   Operating   2118   10/14/2020   St. Rita Church (Harahan) (Priest Health Insurance)                           $       609.00
ANO   Operating   2118   10/14/2020   St. Rita Church (Harahan) (Priest Auto Insurance)                             $       177.00
ANO   Operating   2118   10/14/2020   St. Rita Church (Harahan) (Priest Retirement)                                 $       273.00
ANO   Operating   2118   10/14/2020   Transfiguration Of The Lord (Parish Flood Insurance)                          $       122.58
ANO   Operating   2118   10/14/2020   Transfiguration Of The Lord (Parish Flood Insurance)                          $     1,322.08
ANO   Operating   2118   10/14/2020   Transfiguration Of The Lord (Parish Flood Insurance)                          $       243.58
ANO   Operating   2118   10/14/2020   Transfiguration Of The Lord (Parish Share)                                    $     3,370.17
ANO   Operating   2118   10/14/2020   Transfiguration Of The Lord (Priest Health Insurance)                         $     1,320.17
ANO   Operating   2118   10/14/2020   Transfiguration Of The Lord (Priest Auto Insurance)                           $       319.00
ANO   Operating   2118   10/14/2020   Transfiguration Of The Lord (Priest Retirement)                               $       591.67
ANO   Operating   2118   10/14/2020   Transfiguration Of The Lord (Parish Insurance)                                $     9,898.15
ANO   Operating   2118   10/14/2020   Transfiguration Of The Lord (Parish Insurance)                                $       400.22
ANO   Operating   2118   10/14/2020   Transfiguration Of The Lord (Parish Insurance)                                $       463.36
ANO   Operating   2118   10/14/2020   All Saints Church (Parish Share)                                              $     1,500.00
ANO   Operating   2118   10/14/2020   St. Agnes Church (Parish Share)                                               $     3,972.16
ANO   Operating   2118   10/14/2020   St. Agnes Church (Parish Share)                                               $        27.84
ANO   Operating   2118   10/14/2020   Blessed Francis Xavier Seelos Church (PARISH ASSESSMENT)                      $         0.01
ANO   Operating   2118   10/14/2020   St. Luke The Evangelist Church (OTHER FUNDS ON DEP)                           $     2,500.00
ANO   Operating   2118   10/14/2020   St. Luke The Evangelist Church (OTHER FUNDS ON DEP)                           $     2,500.00
ANO   Operating   2118   10/14/2020   St. Joseph The Worker Church (OTHER FUNDS ON DEP)                             $     1,490.58
ANO   Operating   2118   10/14/2020   St. Anselm Church (OTHER FUNDS ON DEP)                                        $     5,065.00
ANO   Operating   2118   10/14/2020   Our Lady Of Perpetual Help Church (Kenner) (OTHER FUNDS ON DEP)               $    50,000.00
ANO   Operating   2118   10/14/2020   St. Benilde Church (OTHER FUNDS ON DEP)                                       $       618.00
ANO   Operating   2118   10/14/2020   St. Henry's Parish (OTHER FUNDS ON DEP)                                       $    20,446.00
ANO   Operating   2118   10/14/2020   St. Joan of Arc School (INTERNET RECEIVABLE)                                  $       380.00
ANO   Operating   2118   10/14/2020   Various Payees through Permanent Diaconate (OTHER FUNDS ON DEP)               $       150.00
ANO   Operating   2118   10/14/2020   Various Payees through Permanent Diaconate (OTHER FUNDS ON DEP)               $        50.00
ANO   Operating   2118   10/14/2020   St. Patrick Church (New Orleans) (NOTES & LOANS)                              $       500.00
ANO   Operating   2118   10/14/2020   St. Peter Claver Church (NOTES & LOANS)                                       $     4,950.00
ANO   Operating   2118   10/14/2020   Our Lady Of Divine Providence Church (NOTES & LOANS)                          $     1,000.00
ANO   Operating   2118   10/14/2020   Divine Mercy (NOTES & LOANS)                                                  $     5,917.00
ANO   Operating   2118   10/14/2020   St. Peter Church (Reserve) (NOTES & LOANS)                                    $     4,083.44
ANO   Operating   2118   10/14/2020   St. Angela Merici School (INTERNET RECEIVABLE)                                $     1,015.00
ANO   Operating   2118   10/14/2020   St. Louis Cathedral Church (INTERNET RECEIVABLE)                              $       235.00
ANO   Operating   2118   10/14/2020   Archbishop Rummel High School (INTERNET RECEIVABLE)                           $    26,061.67
ANO   Operating   2118   10/14/2020   St. Joan of Arc School (INTERNET RECEIVABLE)                                  $        35.00
ANO   Operating   2118   10/14/2020   St. Joan of Arc School (INTERNET RECEIVABLE)                                  $       762.67
ANO   Operating   2118   10/14/2020   St. Charles Borromeo Church (INTERNET RECEIVABLE)                             $     1,547.00
ANO   Operating   2118   10/14/2020   St. Charles Borromeo Church (INTERNET RECEIVABLE)                             $     1,122.67
ANO   Operating   2118   10/14/2020   Our Lady Of Lourdes Church (Slidell) (INTERNET RECEIVABLE)                    $        35.00
ANO   Operating   2118   10/14/2020   Archbishop Chapelle High School (INTERNET RECEIVABLE)                         $     3,478.46
ANO   Operating   2118   10/14/2020   Christian Brothers School (INTERNET RECEIVABLE)                               $     4,879.00
ANO   Operating   2118   10/14/2020   St. Benilde School (INTERNET RECEIVABLE)                                      $     7,852.67
ANO   Operating   2118   10/14/2020   St. Mary Magdalen School (INTERNET RECEIVABLE)                                $     4,106.67
ANO   Operating   2118   10/14/2020   St. Matthew the Apostle School (INTERNET RECEIVABLE)                          $        35.00
ANO   Operating   2118   10/14/2020   St. Charles Borromeo School (ACCP INCOME)                                     $        40.00
ANO   Operating   2118   10/14/2020   St. Dominic School (ACCP INCOME)                                              $        40.00
ANO   Operating   2118   10/14/2020   St. Joan of Arc School (ACCP INCOME)                                          $        60.00
ANO   Operating   2118   10/14/2020   Bedivere Insurance Co. (LEGAL RECEIVABLES)                                    $   100,000.00
ANO   Operating   2118   10/14/2020   St. Anthony Church (Lafitte) (NOTES & LOANS)                                  $       300.00
ANO   Operating   2118   10/14/2020   St. Joseph The Worker Church (SPECIAL COVERAGES)                              $        95.00
ANO   Operating   2118   10/14/2020   St. Therese Academy for Exceptional Learners (Hurricane Laura Donation)       $     2,301.00
ANO   Operating   2118   10/14/2020   Catholic Mutual (INSURANCE CLAIMS ‐ ALL)                                      $     4,200.00
ANO   Operating   2118   10/14/2020   St. Ann School (PRINTED MATTER SALE)                                          $        70.00
ANO   Operating   2118   10/14/2020   St. Mary's Academy (FINGERPRINTING INCOME)                                    $        58.00
ANO   Operating   2118   10/14/2020   Resurrection of Our Lord School (FINGERPRINTING INCOME)                       $        58.00
ANO   Operating   2118   10/14/2020   Our Lady of Perpetual Help School (Belle Chasse) (FINGERPRINTING INCOME)      $        58.00
ANO   Operating   2118   10/14/2020   Various Payees through OCS (ACCP INCOME)                                      $        40.00
ANO   Operating   2118   10/14/2020   St. Joachim Church (OTHER FUNDS ON DEP)                                       $       200.00
ANO   Operating   2118   10/14/2020   St. Genevieve Church (PRIESTS CONTINUING EDUCATION ‐ RETREATS)                $       600.00
ANO   Operating   2118   10/14/2020   St. Anthony Church (Lafitte) (INSURANCE CLAIMS ‐ ALL)                         $       110.00
ANO   Operating   2118   10/14/2020   Villa St. Maurice (INSURANCE CLAIMS ‐ ALL)                                    $        50.00
ANO   Operating   2118   10/14/2020   St. Bonaventure Church (CATHOLIC COMMUNICATION)                               $       200.00
ANO   Operating   2118   10/14/2020   St. Gabriel The Archangel Church (CATHOLIC COMMUNICATION)                     $       337.00
ANO   Operating   2118   10/14/2020   Blessed Trinity (CATHOLIC COMMUNICATION)                                      $       167.00
ANO   Operating   2118   10/14/2020   St. Joseph The Worker Church (CATHOLIC COMMUNICATION)                         $       417.00
ANO   Operating   2118   10/14/2020   St. Anselm Church (CATHOLIC COMMUNICATION)                                    $       652.00
ANO   Operating   2118   10/14/2020   St. Anselm Church (DONATIONS)                                                 $        50.00
ANO   Operating   2118   10/14/2020   St. Anselm Church (Hurricane Laura Donation)                                  $     2,510.00
ANO   Operating   2118   10/14/2020   Sts. Peter And Paul Church (CATHOLIC COMMUNICATION)                           $       406.00
ANO   Operating   2118   10/14/2020   Various Payees through Catholic Counseling (OUTSIDE COUNSELING)               $     1,825.00
ANO   Operating   2118   10/14/2020   Sacred Heart Church (INTERNET RECEIVABLE)                                     $       105.00
ANO   Operating   2118   10/14/2020   St. John The Baptist Church (Paradis) (CATHOLIC COMMUNICATION)                $       386.00
ANO   Operating   2118   10/14/2020   Various Payees through Retreat Center (GENERAL DONATIONS)                     $       915.00
ANO   Operating   2118   10/14/2020   Various Payees through Retreat Center (PRAYER ENROLLMENTS)                    $       450.00
ANO   Operating   2118   10/14/2020   Various Payees through Retreat Center (DONATIONS)                             $        35.00
ANO   Operating   2118   10/14/2020   Various Payees through Retreat Center (BOOKSTORE SALES)                       $        65.52
ANO   Operating   2118   10/14/2020   Various Payees through Retreat Center (RETREAT INCOME ‐ SCHEDULED RETREATS)   $       350.00
ANO   Operating   2118   10/14/2020   Various Payees through Retreat Center (RETREAT INCOME ‐ HOSPITALITY)          $       937.50
ANO   Operating   2118   10/14/2020   Various Payees through Retreat Center (Retreat Income ‐ Miscellaneous)        $       955.00
ANO   Operating   2118   10/14/2020   Various Payees through Retreat Center (Retreat Income ‐ Miscellaneous)        $       600.00
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 17 of
                                           103
ANO   Operating   2118   10/14/2020   Various Payees through Hispanic Apostolate (DEPOSIT AND LOAN FUND)   $      555.62
ANO   Operating   2118   10/15/2020   Notre Dame Health System (DEPOSIT AND LOAN FUND)                     $    9,625.00
ANO   Operating   2118   10/16/2020                                                                        $      308.46
ANO   Operating   2118   10/16/2020   CATHOLIC FOUNDATION (DEPOSIT AND LOAN FUND)                          $      184.54
ANO   Operating   2118   10/16/2020   Good Shepherd Church (Parish Share)                                  $    1,000.00
ANO   Operating   2118   10/16/2020   St. Margaret Mary Church (Parish Share)                              $   10,131.17
ANO   Operating   2118   10/16/2020   St. Margaret Mary Church (Priest Health Insurance)                   $    1,320.17
ANO   Operating   2118   10/16/2020   St. Margaret Mary Church (Priest Auto Insurance)                     $      319.00
ANO   Operating   2118   10/16/2020   St. Margaret Mary Church (Priest Retirement)                         $      591.67
ANO   Operating   2118   10/16/2020   St. Margaret Mary Church (Parish Insurance)                          $    2,493.71
ANO   Operating   2118   10/16/2020   St. Margaret Mary Church (Parish Insurance)                          $      379.00
ANO   Operating   2118   10/16/2020   St. Margaret Mary Church (Parish Insurance)                          $      757.41
ANO   Operating   2118   10/16/2020   Project Lazarus (ACCOUNTING ASSISTANCE RECEIVABLE)                   $       35.00
ANO   Operating   2118   10/16/2020   Immaculate Conception Church (Marrero) (Parish Share)                $    3,919.67
ANO   Operating   2118   10/16/2020   Immaculate Conception Church (Marrero) (Priest Health Insurance)     $      990.13
ANO   Operating   2118   10/16/2020   Immaculate Conception Church (Marrero) (Priest Auto Insurance)       $      239.25
ANO   Operating   2118   10/16/2020   Immaculate Conception Church (Marrero) (Priest Retirement)           $      443.75
ANO   Operating   2118   10/16/2020   Immaculate Conception Church (Marrero) (Parish Insurance)            $    2,952.17
ANO   Operating   2118   10/16/2020   Immaculate Conception Church (Marrero) (Parish Insurance)            $      198.43
ANO   Operating   2118   10/16/2020   Immaculate Conception Church (Marrero) (Parish Insurance)            $      229.73
ANO   Operating   2118   10/16/2020   Immaculate Conception Church (Marrero) (Parish Insurance)            $      283.34
ANO   Operating   2118   10/16/2020   Immaculate Conception Church (Marrero) (School Insurance)            $    1,605.94
ANO   Operating   2118   10/16/2020   Immaculate Conception Church (Marrero) (School Insurance)            $    4,081.41
ANO   Operating   2118   10/16/2020   Immaculate Conception Church (Marrero) (School Insurance)            $    4,725.26
ANO   Operating   2118   10/16/2020   Mater Dolorosa Church (Parish Insurance)                             $    3,264.09
ANO   Operating   2118   10/16/2020   Mater Dolorosa Church (Parish Insurance)                             $      193.12
ANO   Operating   2118   10/16/2020   Mater Dolorosa Church (Parish Insurance)                             $      238.57
ANO   Operating   2118   10/16/2020   Mater Dolorosa Church (Parish Insurance)                             $      157.09
ANO   Operating   2118   10/16/2020   Mater Dolorosa Church (Parish Share)                                 $    6,211.08
ANO   Operating   2118   10/16/2020   Mater Dolorosa Church (Priest Health Insurance)                      $    1,320.17
ANO   Operating   2118   10/16/2020   Mater Dolorosa Church (Priest Auto Insurance)                        $      319.00
ANO   Operating   2118   10/16/2020   Mater Dolorosa Church (Priest Retirement)                            $      591.67
ANO   Operating   2118   10/16/2020   St. Katharine Drexel Church (Parish Flood Insurance)                 $    3,806.00
ANO   Operating   2118   10/16/2020   St. Katharine Drexel Church (Parish Flood Insurance)                 $    2,923.00
ANO   Operating   2118   10/16/2020   St. Genevieve Church (Parish Insurance)                              $    2,398.07
ANO   Operating   2118   10/16/2020   St. Genevieve Church (Parish Insurance)                              $      239.17
ANO   Operating   2118   10/16/2020   St. Genevieve Church (Parish Insurance)                              $      365.83
ANO   Operating   2118   10/16/2020   St. Genevieve Church (Parish Insurance)                              $       13.82
ANO   Operating   2118   10/16/2020   Resurrection Of Our Lord Church (School Insurance)                   $    2,609.02
ANO   Operating   2118   10/16/2020   Resurrection Of Our Lord Church (School Insurance)                   $    2,468.16
ANO   Operating   2118   10/16/2020   Resurrection Of Our Lord Church (School Insurance)                   $    4,063.40
ANO   Operating   2118   10/16/2020   Resurrection Of Our Lord Church (School Insurance)                   $    2,609.02
ANO   Operating   2118   10/16/2020   Resurrection Of Our Lord Church (School Insurance)                   $    2,468.16
ANO   Operating   2118   10/16/2020   Resurrection Of Our Lord Church (School Insurance)                   $    4,063.40
ANO   Operating   2118   10/16/2020   Resurrection Of Our Lord Church (School Insurance)                   $    2,609.02
ANO   Operating   2118   10/16/2020   Resurrection Of Our Lord Church (School Insurance)                   $    2,468.16
ANO   Operating   2118   10/16/2020   Resurrection Of Our Lord Church (School Insurance)                   $    4,063.40
ANO   Operating   2118   10/16/2020   St. Rita Church (New Orleans) (Parish Share)                         $    3,827.42
ANO   Operating   2118   10/16/2020   St. Rita Church (New Orleans) (Priest Health Insurance)              $    1,320.17
ANO   Operating   2118   10/16/2020   St. Rita Church (New Orleans) (Priest Auto Insurance)                $      319.00
ANO   Operating   2118   10/16/2020   St. Rita Church (New Orleans) (Priest Retirement)                    $      591.67
ANO   Operating   2118   10/16/2020   St. Rita Church (New Orleans) (Parish Insurance)                     $    2,534.04
ANO   Operating   2118   10/16/2020   St. Rita Church (New Orleans) (Parish Insurance)                     $      376.30
ANO   Operating   2118   10/16/2020   St. Rita Church (New Orleans) (Parish Insurance)                     $      401.57
ANO   Operating   2118   10/16/2020   St. Rita Church (New Orleans) (School Insurance)                     $    1,792.24
ANO   Operating   2118   10/16/2020   St. Rita Church (New Orleans) (School Insurance)                     $    1,318.20
ANO   Operating   2118   10/16/2020   St. Rita Church (New Orleans) (School Insurance)                     $    1,406.72
ANO   Operating   2118   10/16/2020   St. Rita Church (New Orleans) (ACCOUNTING ASSISTANCE RECEIVABLE)     $       35.00
ANO   Operating   2118   10/16/2020   St. Rita Church (New Orleans) (PARISH ASSESSMENT)                    $      347.53
ANO   Operating   2118   10/16/2020   St. Rita Church (New Orleans) (PARISH ASSESSMENT)                    $      310.63
ANO   Operating   2118   10/16/2020   St. Rita Church (New Orleans) (School Insurance)                     $      515.95
ANO   Operating   2118   10/16/2020   St. Rita Church (New Orleans) (School Insurance)                     $    1,318.20
ANO   Operating   2118   10/16/2020   St. Rita Church (New Orleans) (School Insurance)                     $    1,406.72
ANO   Operating   2118   10/16/2020   St. Rita Church (New Orleans) (MISCELLANEOUS RECEIVABLES)            $      442.61
ANO   Operating   2118   10/16/2020   St. Rita Church (New Orleans) (PARISH ASSESSMENT)                    $      360.40
ANO   Operating   2118   10/16/2020   St. Rita Church (New Orleans) (PARISH ASSESSMENT)                    $      360.40
ANO   Operating   2118   10/16/2020   St. John The Baptist Church (Edgard) (PARISH ASSESSMENT)             $    3,720.00
ANO   Operating   2118   10/16/2020   St. Thomas Church (ACCOUNTING ASSISTANCE RECEIVABLE)                 $       17.50
ANO   Operating   2118   10/16/2020   St. Thomas Church (ACCOUNTING ASSISTANCE RECEIVABLE)                 $       17.50
ANO   Operating   2118   10/16/2020   St. Rosalie Church (School Insurance)                                $    1,814.99
ANO   Operating   2118   10/16/2020   St. Rosalie Church (School Insurance)                                $    2,189.79
ANO   Operating   2118   10/16/2020   St. Rosalie Church (Parish Share)                                    $    1,981.67
ANO   Operating   2118   10/16/2020   St. Rosalie Church (Parish Insurance)                                $    1,391.85
ANO   Operating   2118   10/16/2020   St. Rosalie Church (Parish Insurance)                                $      128.71
ANO   Operating   2118   10/16/2020   St. Rosalie Church (Parish Insurance)                                $      155.29
ANO   Operating   2118   10/16/2020   St. Rosalie Church (Parish Insurance)                                $      283.34
ANO   Operating   2118   10/16/2020   St. Rosalie Church (Parish Insurance)                                $       27.05
ANO   Operating   2118   10/16/2020   St. Rosalie Church (School Insurance)                                $    6,565.74
ANO   Operating   2118   10/16/2020   St. Peter School (Covington) (ACCOUNTING ASSISTANCE RECEIVABLE)      $      150.00
ANO   Operating   2118   10/16/2020   Our Lady Of Lourdes Church (Slidell) (Parish Flood Insurance)        $      543.23
ANO   Operating   2118   10/16/2020   Our Lady Of Lourdes Church (Slidell) (Parish Flood Insurance)        $      599.75
ANO   Operating   2118   10/16/2020   Our Lady Of Lourdes Church (Slidell) (Parish Flood Insurance)        $      663.07
ANO   Operating   2118   10/16/2020   Our Lady Of Lourdes Church (Slidell) (Parish Flood Insurance)        $      749.47
ANO   Operating   2118   10/16/2020   Our Lady Of Lourdes Church (Slidell) (Parish Share)                  $   11,482.08
ANO   Operating   2118   10/16/2020   Our Lady Of Lourdes Church (Slidell) (Parish Flood Insurance)        $      882.43
ANO   Operating   2118   10/16/2020   Our Lady Of Lourdes Church (Slidell) (Parish Flood Insurance)        $      882.44
ANO   Operating   2118   10/16/2020   Our Lady Of Lourdes Church (Slidell) (Parish Flood Insurance)        $      543.23
ANO   Operating   2118   10/16/2020   Mary Queen of Peace School (ACCOUNTING ASSISTANCE RECEIVABLE)        $       35.00
ANO   Operating   2118   10/16/2020   Holy Family Church (Franklinton) (Parish Share)                      $       70.00
ANO   Operating   2118   10/16/2020   Holy Family Church (Franklinton) (Parish Insurance)                  $      417.61
ANO   Operating   2118   10/16/2020   Holy Family Church (Franklinton) (Parish Insurance)                  $       36.57
ANO   Operating   2118   10/16/2020   Holy Family Church (Franklinton) (Parish Share)                      $    2,220.67
ANO   Operating   2118   10/16/2020   Holy Family Church (Franklinton) (Priest Health Insurance)           $    1,320.17
ANO   Operating   2118   10/16/2020   Holy Family Church (Franklinton) (Priest Auto Insurance)             $      319.00
ANO   Operating   2118   10/16/2020   Holy Family Church (Franklinton) (Priest Retirement)                 $      529.17
ANO   Operating   2118   10/16/2020   St. Rita Church (Harahan) (Parish Flood Insurance)                   $      188.00
ANO   Operating   2118   10/16/2020   St. Rita Church (Harahan) (Parish Share)                             $    2,244.00
ANO   Operating   2118   10/16/2020   St. Rita Church (Harahan) (Priest Health Insurance)                  $      609.00
ANO   Operating   2118   10/16/2020   St. Rita Church (Harahan) (Priest Auto Insurance)                    $      177.00
ANO   Operating   2118   10/16/2020   St. Rita Church (Harahan) (Priest Retirement)                        $      273.00
ANO   Operating   2118   10/16/2020   St. Rita Church (Harahan) (Parish Insurance)                         $      276.22
ANO   Operating   2118   10/16/2020   St. Rita Church (Harahan) (Parish Insurance)                         $      139.00
ANO   Operating   2118   10/16/2020   St. Rita Church (Harahan) (Parish Insurance)                         $      231.78
ANO   Operating   2118   10/16/2020   St. Rita Church (Harahan) (School Insurance)                         $      118.36
ANO   Operating   2118   10/16/2020   St. Rita Church (Harahan) (School Insurance)                         $      358.43
ANO   Operating   2118   10/16/2020   St. Rita Church (Harahan) (School Insurance)                         $      593.21
ANO   Operating   2118   10/16/2020   St. Genevieve Church (Parish Flood Insurance)                        $      820.00
ANO   Operating   2118   10/16/2020   St. Genevieve Church (Parish Share)                                  $    6,010.08
ANO   Operating   2118   10/16/2020   St. Genevieve Church (Priest Health Insurance)                       $    1,320.17
ANO   Operating   2118   10/16/2020   St. Genevieve Church (Priest Auto Insurance)                         $      319.00
ANO   Operating   2118   10/16/2020   St. Genevieve Church (Priest Retirement)                             $      591.67
ANO   Operating   2118   10/16/2020   Archbishop Shaw High School (ANO School Insurance)                   $    7,177.33
ANO   Operating   2118   10/16/2020   Archbishop Shaw High School (ANO School Insurance)                   $    4,885.26
ANO   Operating   2118   10/16/2020   Archbishop Shaw High School (ANO School Insurance)                   $    5,642.96
ANO   Operating   2118   10/16/2020   Archbishop Shaw High School (ANO School Insurance)                   $      620.83
ANO   Operating   2118   10/16/2020   St. Rosalie School (ACCOUNTING ASSISTANCE RECEIVABLE)                $       35.00
ANO   Operating   2118   10/16/2020   Our Lady Of Lourdes Church (Slidell) (Parish Flood Insurance)        $    3,483.70
ANO   Operating   2118   10/16/2020   Our Lady Of Lourdes Church (Slidell) (Parish Flood Insurance)        $    3,907.47
ANO   Operating   2118   10/16/2020   Our Lady Of Lourdes Church (Slidell) (Parish Flood Insurance)        $    4,487.83
ANO   Operating   2118   10/16/2020   Sacred Heart Church (Parish Share)                                   $    2,230.84
ANO   Operating   2118   10/16/2020   Sacred Heart Church (Parish Share)                                   $      769.16
ANO   Operating   2118   10/16/2020   Sacred Heart Church (Parish Flood Insurance)                         $    1,000.00
ANO   Operating   2118   10/16/2020   St. Theresa Of Avila Church (Parish Insurance)                       $       25.77
ANO   Operating   2118   10/16/2020   St. Theresa Of Avila Church (Parish Insurance)                       $      208.29
ANO   Operating   2118   10/16/2020   St. Theresa Of Avila Church (Parish Insurance)                       $      351.94
ANO   Operating   2118   10/16/2020   St. Benedict Church (Parish Insurance)                               $    1,108.13
ANO   Operating   2118   10/16/2020   St. Benedict Church (Parish Insurance)                               $      127.59
ANO   Operating   2118   10/16/2020   St. Benedict Church (Parish Insurance)                               $      149.74
ANO   Operating   2118   10/16/2020   St. Benedict Church (Parish Insurance)                               $      229.17
ANO   Operating   2118   10/16/2020   St. Benedict Church (Parish Share)                                   $    4,109.92
ANO   Operating   2118   10/16/2020   Good Shepherd Church (NOTES & LOANS)                                 $    1,229.21
ANO   Operating   2118   10/16/2020   Good Shepherd Church (OTHER FUNDS ON DEP)                            $      140.00
ANO   Operating   2118   10/16/2020   Good Shepherd Church (NOTES & LOANS)                                 $    1,469.21
ANO   Operating   2118   10/16/2020   Our Lady Of Lourdes Church (Slidell) (NOTES & LOANS)                 $    4,000.00
ANO   Operating   2118   10/16/2020   St. Jerome Church (OTHER FUNDS ON DEP)                               $   50,000.00
ANO   Operating   2118   10/16/2020   St. Catherine Of Siena Church (OTHER FUNDS ON DEP)                   $   22,507.33
ANO   Operating   2118   10/16/2020   St. Anthony Of Padua Church (New Orleans) (OTHER FUNDS ON DEP)       $    3,579.12
ANO   Operating   2118   10/16/2020   St. Anthony Of Padua Church (New Orleans) (OTHER FUNDS ON DEP)       $   15,443.59
ANO   Operating   2118   10/16/2020   Mary Queen of Peace School (INTERNET RECEIVABLE)                     $    5,437.67
ANO   Operating   2118   10/16/2020   St. Joan of Arc School (INTERNET RECEIVABLE)                         $      175.00
ANO   Operating   2118   10/16/2020   Divine Mercy (INTERNET RECEIVABLE)                                   $   10,819.65
ANO   Operating   2118   10/16/2020   St. Cletus School (INTERNET RECEIVABLE)                              $    3,772.67
ANO   Operating   2118   10/16/2020   St. Rita Church (New Orleans) (Hurricane Laura Donation)             $      550.00
ANO   Operating   2118   10/16/2020   St. Rita Church (New Orleans) (CATHOLIC COMMUNICATION)               $    1,461.75
ANO   Operating   2118   10/16/2020   St. Rita Church (New Orleans) (Catholic Schools Collection)          $       44.00
ANO   Operating   2118   10/16/2020   St. Genevieve Church (CATHOLIC COMMUNICATION)                        $      945.00
ANO   Operating   2118   10/16/2020   Holy Family Church (Franklinton) (CATHOLIC COMMUNICATION)            $       10.00
ANO   Operating   2118   10/16/2020   St. Francis Of Assisi Church (OTHER FUNDS ON DEP)                    $      250.00
ANO   Operating   2118   10/16/2020   St. Mary Magdalen School (INCOME STUDENT)                            $    2,662.00
ANO   Operating   2118   10/16/2020   Catholic Mutual (INSURANCE CLAIMS ‐ ALL)                             $      445.02
ANO   Operating   2118   10/16/2020   St. Benilde School (ELEVATOR RECEIVABLES)                            $       58.00
ANO   Operating   2118   10/16/2020   Our Lady of the Lake School (FINGERPRINTING INCOME)                  $       58.00
ANO   Operating   2118   10/16/2020   St. Rosalie School (FINGERPRINTING INCOME)                           $       58.00
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 18 of
                                           103
ANO   Operating   2118   10/16/2020   Various Payees through OCS (FINGERPRINTING INCOME)                              $       58.00
ANO   Operating   2118   10/16/2020   Various Payees through CYO (PROPERTY RENTAL INC)                                $      400.00
ANO   Operating   2118   10/16/2020   Various Payees through Hispanic Apostolate (DONATIONS)                          $       65.00
ANO   Operating   2118   10/16/2020   Various Payees through Hispanic Apostolate (DONATIONS ‐ COMMUNITY SERVICES)     $      500.00
ANO   Operating   2118   10/16/2020   Various Payees through Hispanic Apostolate (FEE INCOME)                         $      200.00
ANO   Operating   2118   10/16/2020   Various Payees through Retreat Center (GENERAL DONATIONS)                       $      200.00
ANO   Operating   2118   10/16/2020   Various Payees through Retreat Center (PRAYER ENROLLMENTS)                      $      120.00
ANO   Operating   2118   10/16/2020   Various Payees through Retreat Center (RETREAT INCOME ‐ HOSPITALITY)            $    8,882.50
ANO   Operating   2118   10/16/2020   Various Payees through Vocations (DONATIONS)                                    $      100.00
ANO   Operating   2118   10/16/2020   ST. CATHERINE OF SIENA SCHOOL (FINGERPRINTING INCOME)                           $       58.00
ANO   Operating   2118   10/16/2020   Our Lady of the Lake School (FINGERPRINTING INCOME)                             $       58.00
ANO   Operating   2118   10/16/2020   Various Payees through OCS (FINGERPRINTING INCOME)                              $       58.00
ANO   Operating   2118   10/16/2020   Various Payees through TCC (DONATIONS ‐ SUNDAY)                                 $      345.00
ANO   Operating   2118   10/16/2020   Various Payees through TCC (DONATIONS ‐ CAPITAL)                                $    1,250.00
ANO   Operating   2118   10/16/2020   Various Payees through TCC (DONATIONS ‐ NEWSLETTER)                             $    1,050.00
ANO   Operating   2118   10/16/2020   Various Payees through TCC (DONATIONS ‐ DEVELOPMENT)                            $    1,000.00
ANO   Operating   2118   10/16/2020                                                                                   $      250.00
ANO   Operating   2118   10/16/2020   St. Jane De Chantal Church (NOTES & LOANS)                                      $    6,635.59
ANO   Operating   2118   10/16/2020   St. Jane De Chantal Church (Payable ‐ Pontifical Mission Society)               $      466.00
ANO   Operating   2118   10/16/2020   St. Jane De Chantal Church (OTHER FUNDS ON DEP)                                 $      150.00
ANO   Operating   2118   10/16/2020   St. Benedict the Moor School (INTERNET RECEIVABLE)                              $      545.00
ANO   Operating   2118   10/16/2020   St. Benedict the Moor School (INTERNET RECEIVABLE)                              $      205.00
ANO   Operating   2118   10/16/2020   St. Benedict the Moor School (INTERNET RECEIVABLE)                              $      340.00
ANO   Operating   2118   10/16/2020   CMS Drug Subsidy (Retired Priest Plus Expense ‐ Medical Co‐Pays)                $   34,427.41
ANO   Operating   2118   10/19/2020   ANO Whitney Operating (Test Check)                                              $        1.00
ANO   Operating   2118   10/20/2020   St. Hubert Church (DEPOSIT AND LOAN FUND)                                       $      850.00
ANO   Operating   2118   10/20/2020   Our Lady Of Divine Providence Church (Parish Insurance)                         $      139.00
ANO   Operating   2118   10/20/2020   Our Lady Of Divine Providence Church (Priest Auto Insurance)                    $       16.00
ANO   Operating   2118   10/20/2020   Our Lady Of Divine Providence Church (Priest Retirement)                        $       62.83
ANO   Operating   2118   10/20/2020   Our Lady Of Divine Providence Church (Parish Insurance)                         $      378.30
ANO   Operating   2118   10/20/2020   Our Lady Of Divine Providence Church (School Insurance)                         $      594.98
ANO   Operating   2118   10/20/2020   Our Lady Of Divine Providence Church (Parish Share)                             $    1,000.55
ANO   Operating   2118   10/20/2020   Our Lady Of Divine Providence Church (Priest Health Insurance)                  $      330.17
ANO   Operating   2118   10/20/2020   Our Lady Of Divine Providence Church (Priest Auto Insurance)                    $       79.00
ANO   Operating   2118   10/20/2020   Our Lady Of Divine Providence Church (Priest Retirement)                        $       85.17
ANO   Operating   2118   10/20/2020   St. Anthony School (Gretna) (ACCOUNTING ASSISTANCE RECEIVABLE)                  $      200.00
ANO   Operating   2118   10/20/2020   St. Anthony School (Gretna) (ACCOUNTING ASSISTANCE RECEIVABLE)                  $       35.00
ANO   Operating   2118   10/20/2020   Our Lady Of Guadalupe Church (Parish Insurance)                                 $    1,687.12
ANO   Operating   2118   10/20/2020   Our Lady Of Guadalupe Church (Parish Insurance)                                 $      495.40
ANO   Operating   2118   10/20/2020   Our Lady Of Guadalupe Church (Parish Insurance)                                 $      573.55
ANO   Operating   2118   10/20/2020   Our Lady Of Guadalupe Church (Parish Insurance)                                 $       63.75
ANO   Operating   2118   10/20/2020   Our Lady Of Guadalupe Church (Parish Flood Insurance)                           $    2,745.00
ANO   Operating   2118   10/20/2020   Our Lady Of Guadalupe Church (Parish Flood Insurance)                           $      741.00
ANO   Operating   2118   10/20/2020   Our Lady Of Guadalupe Church (ACCOUNTING ASSISTANCE RECEIVABLE)                 $       35.00
ANO   Operating   2118   10/20/2020   Our Lady Of Guadalupe Church (Parish Share)                                     $   11,454.58
ANO   Operating   2118   10/20/2020   St. Raymond & St. Leo The Great Parish (Parish Share)                           $    8,702.17
ANO   Operating   2118   10/20/2020   St. Raymond & St. Leo The Great Parish (Parish Insurance)                       $    1,545.03
ANO   Operating   2118   10/20/2020   St. Raymond & St. Leo The Great Parish (Parish Insurance)                       $    1,048.13
ANO   Operating   2118   10/20/2020   St. Raymond & St. Leo The Great Parish (Parish Insurance)                       $    1,231.87
ANO   Operating   2118   10/20/2020   St. Raymond & St. Leo The Great Parish (Parish Insurance)                       $      458.34
ANO   Operating   2118   10/20/2020   St. Raymond & St. Leo The Great Parish (Parish Insurance)                       $       89.84
ANO   Operating   2118   10/20/2020   St. Raymond & St. Leo The Great Parish (School Insurance)                       $    1,710.54
ANO   Operating   2118   10/20/2020   St. Raymond & St. Leo The Great Parish (Parish Flood Insurance)                 $      741.00
ANO   Operating   2118   10/20/2020   St. Luke The Evangelist Church (Parish Flood Insurance)                         $    6,080.00
ANO   Operating   2118   10/20/2020   St. Luke The Evangelist Church (Parish Flood Insurance)                         $    8,178.00
ANO   Operating   2118   10/20/2020   St. Luke The Evangelist Church (Parish Flood Insurance)                         $    4,873.00
ANO   Operating   2118   10/20/2020   Our Lady Of Guadalupe Church (ACCOUNTING ASSISTANCE RECEIVABLE)                 $      200.00
ANO   Operating   2118   10/20/2020   Our Lady Of Perpetual Help Church (Kenner) (ACCOUNTING ASSISTANCE RECEIVABLE)   $      200.00
ANO   Operating   2118   10/20/2020   Our Lady Of Perpetual Help Church (Kenner) (ACCOUNTING ASSISTANCE RECEIVABLE)   $       35.00
ANO   Operating   2118   10/20/2020   St. Luke The Evangelist Church (ACCOUNTING ASSISTANCE RECEIVABLE)               $      200.00
ANO   Operating   2118   10/20/2020   St. Luke The Evangelist Church (Parish Insurance)                               $    2,967.63
ANO   Operating   2118   10/20/2020   St. Luke The Evangelist Church (Parish Insurance)                               $      513.11
ANO   Operating   2118   10/20/2020   St. Luke The Evangelist Church (Parish Insurance)                               $      638.89
ANO   Operating   2118   10/20/2020   St. Luke The Evangelist Church (Parish Insurance)                               $       11.69
ANO   Operating   2118   10/20/2020   St. Luke The Evangelist Church (Parish Share)                                   $   21,271.17
ANO   Operating   2118   10/20/2020   St. Luke The Evangelist Church (Priest Health Insurance)                        $    2,640.34
ANO   Operating   2118   10/20/2020   St. Luke The Evangelist Church (Priest Auto Insurance)                          $      638.00
ANO   Operating   2118   10/20/2020   St. Luke The Evangelist Church (Priest Retirement)                              $    1,183.34
ANO   Operating   2118   10/20/2020   Our Lady Of The Angels Church (Parish Share)                                    $    1,266.08
ANO   Operating   2118   10/20/2020   Our Lady Of The Angels Church (Priest Health Insurance)                         $    1,320.17
ANO   Operating   2118   10/20/2020   Our Lady Of The Angels Church (Priest Auto Insurance)                           $      319.00
ANO   Operating   2118   10/20/2020   Our Lady Of The Angels Church (Priest Retirement)                               $      591.67
ANO   Operating   2118   10/20/2020   St. Edward The Confessor Church (Parish Share)                                  $    8,447.83
ANO   Operating   2118   10/20/2020   St. Edward The Confessor Church (Priest Health Insurance)                       $    2,640.34
ANO   Operating   2118   10/20/2020   St. Edward The Confessor Church (Priest Auto Insurance)                         $      638.00
ANO   Operating   2118   10/20/2020   St. Edward The Confessor Church (Priest Retirement)                             $    1,183.34
ANO   Operating   2118   10/20/2020   St. Edward The Confessor Church (Parish Insurance)                              $      684.11
ANO   Operating   2118   10/20/2020   St. Edward The Confessor Church (Parish Insurance)                              $      611.01
ANO   Operating   2118   10/20/2020   St. Edward The Confessor Church (Parish Insurance)                              $      578.85
ANO   Operating   2118   10/20/2020   St. Edward The Confessor Church (Parish Insurance)                              $      229.17
ANO   Operating   2118   10/20/2020   St. Edward The Confessor Church (School Insurance)                              $    1,273.42
ANO   Operating   2118   10/20/2020   St. Edward The Confessor Church (School Insurance)                              $    2,036.49
ANO   Operating   2118   10/20/2020   St. Edward The Confessor Church (School Insurance)                              $    1,929.31
ANO   Operating   2118   10/20/2020   St. Stephen School (ACCOUNTING ASSISTANCE RECEIVABLE)                           $       35.00
ANO   Operating   2118   10/20/2020   St. Elizabeth Ann Seton School (ACCOUNTING ASSISTANCE RECEIVABLE)               $      200.00
ANO   Operating   2118   10/20/2020   St. Elizabeth Ann Seton School (ACCOUNTING ASSISTANCE RECEIVABLE)               $       35.00
ANO   Operating   2118   10/20/2020   Good Shepherd Church (Parish Insurance)                                         $    1,798.75
ANO   Operating   2118   10/20/2020   Good Shepherd Church (Parish Flood Insurance)                                   $    2,923.00
ANO   Operating   2118   10/20/2020   St. Catherine of Siena School (ACCOUNTING ASSISTANCE RECEIVABLE)                $      200.00
ANO   Operating   2118   10/20/2020   St. Catherine of Siena School (ACCOUNTING ASSISTANCE RECEIVABLE)                $       35.00
ANO   Operating   2118   10/20/2020   St. Catherine Of Siena Church (School Insurance)                                $    2,825.77
ANO   Operating   2118   10/20/2020   St. Catherine Of Siena Church (School Insurance)                                $    4,427.30
ANO   Operating   2118   10/20/2020   St. Catherine Of Siena Church (School Insurance)                                $    5,083.21
ANO   Operating   2118   10/20/2020   St. Ann Church (Parish Share)                                                   $   14,374.75
ANO   Operating   2118   10/20/2020   St. Ann Church (Priest Health Insurance)                                        $    2,640.34
ANO   Operating   2118   10/20/2020   St. Ann Church (Priest Auto Insurance)                                          $      638.00
ANO   Operating   2118   10/20/2020   St. Ann Church (Priest Retirement)                                              $    1,183.34
ANO   Operating   2118   10/20/2020   St. Ann Church (School Insurance)                                               $    2,650.99
ANO   Operating   2118   10/20/2020   St. Ann Church (School Insurance)                                               $    4,120.73
ANO   Operating   2118   10/20/2020   St. Ann Church (School Insurance)                                               $    4,759.65
ANO   Operating   2118   10/20/2020   St. Ann Church (SALARY REIMBURSEMENTs)                                          $    1,782.00
ANO   Operating   2118   10/20/2020   St. Ann Church (SALARY REIMBURSEMENTs)                                          $      600.00
ANO   Operating   2118   10/20/2020   St. Ann Church (SALARY REIMBURSEMENTs)                                          $       25.25
ANO   Operating   2118   10/20/2020   St. Ann Church (Parish Insurance)                                               $    1,505.37
ANO   Operating   2118   10/20/2020   St. Ann Church (Parish Insurance)                                               $      476.11
ANO   Operating   2118   10/20/2020   St. Ann Church (Parish Insurance)                                               $      549.92
ANO   Operating   2118   10/20/2020   St. Ann Church (ACCOUNTING ASSISTANCE RECEIVABLE)                               $      200.00
ANO   Operating   2118   10/20/2020   St. Louis King of France School (ACCOUNTING ASSISTANCE RECEIVABLE)              $       35.00
ANO   Operating   2118   10/20/2020   St. Joseph Church (Gretna) (Parish Share)                                       $    5,391.08
ANO   Operating   2118   10/20/2020   St. Joseph Church (Gretna) (Priest Health Insurance)                            $      660.09
ANO   Operating   2118   10/20/2020   St. Joseph Church (Gretna) (Priest Auto Insurance)                              $      159.50
ANO   Operating   2118   10/20/2020   St. Joseph Church (Gretna) (Priest Retirement)                                  $      295.84
ANO   Operating   2118   10/20/2020   St. Joseph Church (Gretna) (Parish Insurance)                                   $    2,307.04
ANO   Operating   2118   10/20/2020   St. Joseph Church (Gretna) (Parish Insurance)                                   $      643.99
ANO   Operating   2118   10/20/2020   St. Joseph Church (Gretna) (Parish Insurance)                                   $      745.58
ANO   Operating   2118   10/20/2020   St. Joseph Church (Gretna) (Parish Insurance)                                   $       21.25
ANO   Operating   2118   10/20/2020   St. Joseph Church (Gretna) (ACCOUNTING ASSISTANCE RECEIVABLE)                   $       35.00
ANO   Operating   2118   10/20/2020   St. Louis Cathedral Church (ACCOUNTING ASSISTANCE RECEIVABLE)                   $      200.00
ANO   Operating   2118   10/20/2020   St. Louis Cathedral Church (ACCOUNTING ASSISTANCE RECEIVABLE)                   $       35.00
ANO   Operating   2118   10/20/2020   Ascension Of Our Lord Church (Parish Share)                                     $    7,561.75
ANO   Operating   2118   10/20/2020   Ascension Of Our Lord Church (Priest Health Insurance)                          $    1,320.17
ANO   Operating   2118   10/20/2020   Ascension Of Our Lord Church (Priest Auto Insurance)                            $      319.00
ANO   Operating   2118   10/20/2020   Ascension Of Our Lord Church (Priest Retirement)                                $      591.67
ANO   Operating   2118   10/20/2020   Ascension Of Our Lord Church (Parish Insurance)                                 $      968.35
ANO   Operating   2118   10/20/2020   Ascension Of Our Lord Church (Parish Insurance)                                 $      120.49
ANO   Operating   2118   10/20/2020   Ascension Of Our Lord Church (Parish Insurance)                                 $      140.05
ANO   Operating   2118   10/20/2020   Ascension Of Our Lord Church (Parish Insurance)                                 $       21.25
ANO   Operating   2118   10/20/2020   Ascension Of Our Lord Church (School Insurance)                                 $    1,569.51
ANO   Operating   2118   10/20/2020   Ascension Of Our Lord Church (School Insurance)                                 $    1,010.12
ANO   Operating   2118   10/20/2020   Ascension Of Our Lord Church (School Insurance)                                 $    1,174.13
ANO   Operating   2118   10/20/2020   Ascension Of Our Lord Church (ACCOUNTING ASSISTANCE RECEIVABLE)                 $       35.00
ANO   Operating   2118   10/20/2020   Blessed Francis Xavier Seelos Church (Parish Share)                             $    1,493.40
ANO   Operating   2118   10/20/2020   Blessed Francis Xavier Seelos Church (Priest Health Insurance)                  $      625.99
ANO   Operating   2118   10/20/2020   Blessed Francis Xavier Seelos Church (Priest Auto Insurance)                    $      162.33
ANO   Operating   2118   10/20/2020   Blessed Francis Xavier Seelos Church (Priest Retirement)                        $      301.08
ANO   Operating   2118   10/20/2020   Divine Mercy (ACCOUNTING ASSISTANCE RECEIVABLE)                                 $      200.00
ANO   Operating   2118   10/20/2020   St. Joan Of Arc Church (Parish Share)                                           $   11,113.33
ANO   Operating   2118   10/20/2020   St. Joan Of Arc Church (Priest Health Insurance)                                $    1,320.17
ANO   Operating   2118   10/20/2020   St. Joan Of Arc Church (Priest Auto Insurance)                                  $      319.00
ANO   Operating   2118   10/20/2020   St. Joan Of Arc Church (Priest Retirement)                                      $      591.67
ANO   Operating   2118   10/20/2020   St. Joan Of Arc Church (Parish Insurance)                                       $    1,252.09
ANO   Operating   2118   10/20/2020   St. Joan Of Arc Church (Parish Insurance)                                       $      435.16
ANO   Operating   2118   10/20/2020   St. Joan Of Arc Church (Parish Insurance)                                       $      524.48
ANO   Operating   2118   10/20/2020   St. Joan Of Arc Church (Parish Insurance)                                       $      283.34
ANO   Operating   2118   10/20/2020   St. Joan Of Arc Church (School Insurance)                                       $    2,780.87
ANO   Operating   2118   10/20/2020   St. Joan Of Arc Church (School Insurance)                                       $    2,053.48
ANO   Operating   2118   10/20/2020   St. Joan Of Arc Church (School Insurance)                                       $    2,475.00
ANO   Operating   2118   10/20/2020   St. Joan Of Arc Church (School Insurance)                                       $       63.75
ANO   Operating   2118   10/20/2020   Divine Mercy (ACCOUNTING ASSISTANCE RECEIVABLE)                                 $       35.00
ANO   Operating   2118   10/20/2020   St. Rita School (Harahan) (ACCOUNTING ASSISTANCE RECEIVABLE)                    $       35.00
ANO   Operating   2118   10/20/2020   St. Francis Of Assisi Church (Parish Share)                                     $   11,223.17
ANO   Operating   2118   10/20/2020   St. Francis Of Assisi Church (Priest Health Insurance)                          $    1,320.17
ANO   Operating   2118   10/20/2020   St. Francis Of Assisi Church (Priest Auto Insurance)                            $      319.00
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 19 of
                                           103
ANO   Operating   2118   10/20/2020   St. Francis Of Assisi Church (Priest Retirement)                                      $      591.67
ANO   Operating   2118   10/20/2020   St. Francis Of Assisi Church (Parish Insurance)                                       $    5,335.25
ANO   Operating   2118   10/20/2020   St. Francis Of Assisi Church (Parish Insurance)                                       $      475.95
ANO   Operating   2118   10/20/2020   St. Francis Of Assisi Church (Parish Insurance)                                       $      551.04
ANO   Operating   2118   10/20/2020   St. Francis Of Assisi Church (ACCOUNTING ASSISTANCE RECEIVABLE)                       $       35.00
ANO   Operating   2118   10/20/2020   Immaculate Conception Church (New Orleans) (Parish Insurance)                         $    3,406.50
ANO   Operating   2118   10/20/2020   Immaculate Conception Church (New Orleans) (Parish Insurance)                         $      149.75
ANO   Operating   2118   10/20/2020   Immaculate Conception Church (New Orleans) (Parish Insurance)                         $    1,012.16
ANO   Operating   2118   10/20/2020   Immaculate Conception Church (New Orleans) (Parish Insurance)                         $      458.34
ANO   Operating   2118   10/20/2020   St. John The Baptist Church (Folsom) (Parish Insurance)                               $    1,073.84
ANO   Operating   2118   10/20/2020   St. John The Baptist Church (Folsom) (Parish Insurance)                               $      167.18
ANO   Operating   2118   10/20/2020   St. John The Baptist Church (Folsom) (Parish Insurance)                               $      193.55
ANO   Operating   2118   10/20/2020   St. John The Baptist Church (Folsom) (Parish Share)                                   $    2,450.75
ANO   Operating   2118   10/20/2020   St. John The Baptist Church (Folsom) (Priest Health Insurance)                        $    1,320.17
ANO   Operating   2118   10/20/2020   St. John The Baptist Church (Folsom) (Priest Auto Insurance)                          $      319.00
ANO   Operating   2118   10/20/2020   St. John The Baptist Church (Folsom) (Priest Retirement)                              $      591.67
ANO   Operating   2118   10/20/2020   St. John The Baptist Church (Folsom) (ACCOUNTING ASSISTANCE RECEIVABLE)               $       35.00
ANO   Operating   2118   10/20/2020   St. Louis King Of France Church (Parish Insurance)                                    $    1,561.97
ANO   Operating   2118   10/20/2020   St. Louis King Of France Church (Parish Insurance)                                    $      293.43
ANO   Operating   2118   10/20/2020   St. Louis King Of France Church (Parish Insurance)                                    $      248.97
ANO   Operating   2118   10/20/2020   St. Louis King Of France Church (Parish Share)                                        $    3,785.33
ANO   Operating   2118   10/20/2020   St. Louis King Of France Church (Priest Health Insurance)                             $    2,640.34
ANO   Operating   2118   10/20/2020   St. Louis King Of France Church (Priest Auto Insurance)                               $      638.00
ANO   Operating   2118   10/20/2020   St. Louis King Of France Church (Priest Retirement)                                   $    1,183.34
ANO   Operating   2118   10/20/2020   St. Louis King Of France Church (School Insurance)                                    $      926.98
ANO   Operating   2118   10/20/2020   St. Louis King Of France Church (School Insurance)                                    $    2,799.50
ANO   Operating   2118   10/20/2020   St. Louis King Of France Church (School Insurance)                                    $    2,375.25
ANO   Operating   2118   10/20/2020   St. Louis King Of France Church (ACCOUNTING ASSISTANCE RECEIVABLE)                    $      200.00
ANO   Operating   2118   10/20/2020   St. Louis King Of France Church (ACCOUNTING ASSISTANCE RECEIVABLE)                    $       35.00
ANO   Operating   2118   10/20/2020   St. Louis Cathedral Church (Priest Health Insurance)                                  $    1,320.17
ANO   Operating   2118   10/20/2020   St. Louis Cathedral Church (Priest Auto Insurance)                                    $      319.00
ANO   Operating   2118   10/20/2020   St. Louis Cathedral Church (Priest Retirement)                                        $      591.67
ANO   Operating   2118   10/20/2020   St. Louis Cathedral Church (Parish Insurance)                                         $    4,508.64
ANO   Operating   2118   10/20/2020   St. Louis Cathedral Church (Parish Insurance)                                         $    1,147.71
ANO   Operating   2118   10/20/2020   St. Louis Cathedral Church (Parish Insurance)                                         $    1,329.55
ANO   Operating   2118   10/20/2020   St. Louis Cathedral Church (Parish Insurance)                                         $      283.34
ANO   Operating   2118   10/20/2020   St. Louis Cathedral Church (School Insurance)                                         $      795.60
ANO   Operating   2118   10/20/2020   St. Louis Cathedral Church (ACCOUNTING ASSISTANCE RECEIVABLE)                         $       35.00
ANO   Operating   2118   10/20/2020   St. Margaret Mary School (ACCOUNTING ASSISTANCE RECEIVABLE)                           $       35.00
ANO   Operating   2118   10/20/2020   Academy of Our Lady (ANO School Insurance)                                            $   10,099.60
ANO   Operating   2118   10/20/2020   Academy of Our Lady (ANO School Insurance)                                            $    4,217.71
ANO   Operating   2118   10/20/2020   Academy of Our Lady (ANO School Insurance)                                            $    4,983.94
ANO   Operating   2118   10/20/2020   Academy of Our Lady (ANO School Insurance)                                            $    1,158.34
ANO   Operating   2118   10/20/2020   Our Lady Of Prompt Succor Church (Westwego) (Parish Insurance)                        $    2,101.61
ANO   Operating   2118   10/20/2020   Our Lady Of Prompt Succor Church (Westwego) (Parish Insurance)                        $      799.92
ANO   Operating   2118   10/20/2020   Our Lady Of Prompt Succor Church (Westwego) (Parish Insurance)                        $      569.33
ANO   Operating   2118   10/20/2020   Our Lady Of Prompt Succor Church (Westwego) (Parish Insurance)                        $      512.50
ANO   Operating   2118   10/20/2020   Our Lady Of Prompt Succor Church (Westwego) (Parish Insurance)                        $      143.38
ANO   Operating   2118   10/20/2020   St. Joseph Church (Algiers) (Parish Insurance)                                        $      606.64
ANO   Operating   2118   10/20/2020   St. Joseph Church (Algiers) (Parish Insurance)                                        $       42.01
ANO   Operating   2118   10/20/2020   St. Joseph Church (Algiers) (Parish Insurance)                                        $       48.64
ANO   Operating   2118   10/20/2020   St. Joseph Church (Algiers) (Parish Share)                                            $    2,416.75
ANO   Operating   2118   10/20/2020   St. Joseph Church (Algiers) (Priest Health Insurance)                                 $    1,320.17
ANO   Operating   2118   10/20/2020   St. Joseph Church (Algiers) (Priest Auto Insurance)                                   $      319.00
ANO   Operating   2118   10/20/2020   St. Joseph Church (Algiers) (Priest Retirement)                                       $      591.67
ANO   Operating   2118   10/20/2020   St. Philip Neri Church (Parish Share)                                                 $   16,262.83
ANO   Operating   2118   10/20/2020   St. Philip Neri Church (Priest Health Insurance)                                      $    1,320.17
ANO   Operating   2118   10/20/2020   St. Philip Neri Church (Priest Auto Insurance)                                        $      319.00
ANO   Operating   2118   10/20/2020   St. Philip Neri Church (Priest Retirement)                                            $      591.67
ANO   Operating   2118   10/20/2020   St. Philip Neri Church (Parish Insurance)                                             $    2,129.97
ANO   Operating   2118   10/20/2020   St. Philip Neri Church (Parish Insurance)                                             $      304.73
ANO   Operating   2118   10/20/2020   St. Philip Neri Church (Parish Insurance)                                             $      685.34
ANO   Operating   2118   10/20/2020   St. Philip Neri Church (School Insurance)                                             $    1,372.42
ANO   Operating   2118   10/20/2020   St. Philip Neri Church (School Insurance)                                             $    2,181.74
ANO   Operating   2118   10/20/2020   St. Philip Neri Church (School Insurance)                                             $    4,906.79
ANO   Operating   2118   10/20/2020   St. Philip Neri Church (ACCOUNTING ASSISTANCE RECEIVABLE)                             $      200.00
ANO   Operating   2118   10/20/2020   Our Lady Of Perpetual Help Church (Belle Chasse) (Parish Flood Insurance)             $      290.31
ANO   Operating   2118   10/20/2020   Our Lady Of Perpetual Help Church (Belle Chasse) (Parish Flood Insurance)             $      531.98
ANO   Operating   2118   10/20/2020   Our Lady Of Perpetual Help Church (Belle Chasse) (Parish Flood Insurance)             $      210.36
ANO   Operating   2118   10/20/2020   Our Lady Of Perpetual Help Church (Belle Chasse) (Parish Flood Insurance)             $      531.98
ANO   Operating   2118   10/20/2020   Our Lady Of Perpetual Help Church (Belle Chasse) (Parish Flood Insurance)             $      499.97
ANO   Operating   2118   10/20/2020   Our Lady Of Perpetual Help Church (Belle Chasse) (Parish Flood Insurance)             $      531.98
ANO   Operating   2118   10/20/2020   Our Lady Of Perpetual Help Church (Belle Chasse) (Parish Flood Insurance)             $      210.36
ANO   Operating   2118   10/20/2020   Our Lady Of Perpetual Help Church (Belle Chasse) (Parish Share)                       $    7,269.58
ANO   Operating   2118   10/20/2020   Our Lady Of Perpetual Help Church (Belle Chasse) (Priest Health Insurance)            $    1,320.17
ANO   Operating   2118   10/20/2020   Our Lady Of Perpetual Help Church (Belle Chasse) (Priest Auto Insurance)              $      319.00
ANO   Operating   2118   10/20/2020   Our Lady Of Perpetual Help Church (Belle Chasse) (Priest Retirement)                  $      591.67
ANO   Operating   2118   10/20/2020   Our Lady Of Perpetual Help Church (Belle Chasse) (Parish Insurance)                   $    1,044.95
ANO   Operating   2118   10/20/2020   Our Lady Of Perpetual Help Church (Belle Chasse) (Parish Insurance)                   $    1,795.87
ANO   Operating   2118   10/20/2020   Our Lady Of Perpetual Help Church (Belle Chasse) (Parish Insurance)                   $      210.63
ANO   Operating   2118   10/20/2020   Our Lady Of Perpetual Help Church (Belle Chasse) (Parish Insurance)                   $      146.43
ANO   Operating   2118   10/20/2020   Our Lady Of Perpetual Help Church (Belle Chasse) (School Insurance)                   $      310.53
ANO   Operating   2118   10/20/2020   Our Lady Of Perpetual Help Church (Belle Chasse) (School Insurance)                   $      907.99
ANO   Operating   2118   10/20/2020   Our Lady Of Perpetual Help Church (Belle Chasse) (School Insurance)                   $      345.33
ANO   Operating   2118   10/20/2020   Our Lady Of Perpetual Help Church (Belle Chasse) (ACCOUNTING ASSISTANCE RECEIVABLE)   $       35.00
ANO   Operating   2118   10/20/2020   St. Therese Academy for Exceptional Lear (ANO School Insurance)                       $    1,192.75
ANO   Operating   2118   10/20/2020   St. Therese Academy for Exceptional Lear (ANO School Insurance)                       $    1,380.91
ANO   Operating   2118   10/20/2020   St. Therese Academy for Exceptional Lear (ANO School Insurance)                       $      358.34
ANO   Operating   2118   10/20/2020   St. Therese Academy for Exceptional Lear (ACCOUNTING ASSISTANCE RECEIVABLE)           $       35.00
ANO   Operating   2118   10/20/2020   Holy Family Church (Luling) (Parish Flood Insurance)                                  $      681.50
ANO   Operating   2118   10/20/2020   Holy Family Church (Luling) (PARISH ASSESSMENT)                                       $      317.07
ANO   Operating   2118   10/20/2020   Holy Family Church (Luling) (PARISH ASSESSMENT)                                       $       64.75
ANO   Operating   2118   10/20/2020   Holy Family Church (Luling) (PARISH ASSESSMENT)                                       $      267.85
ANO   Operating   2118   10/20/2020   Holy Family Church (Luling) (Parish Insurance)                                        $    1,195.86
ANO   Operating   2118   10/20/2020   Holy Family Church (Luling) (Parish Insurance)                                        $      324.93
ANO   Operating   2118   10/20/2020   Holy Family Church (Luling) (Parish Insurance)                                        $      376.18
ANO   Operating   2118   10/20/2020   Holy Family Church (Luling) (Parish Share)                                            $    6,713.92
ANO   Operating   2118   10/20/2020   Holy Family Church (Luling) (Priest Health Insurance)                                 $    1,320.17
ANO   Operating   2118   10/20/2020   Holy Family Church (Luling) (Priest Auto Insurance)                                   $      319.00
ANO   Operating   2118   10/20/2020   Holy Family Church (Luling) (Priest Retirement)                                       $      591.67
ANO   Operating   2118   10/20/2020   St. Philip Neri Church (BUILDING OFFICE FEE REC.)                                     $       48.38
ANO   Operating   2118   10/20/2020   St. Philip Neri Church (MISCELLANEOUS RECEIVABLES)                                    $      380.11
ANO   Operating   2118   10/20/2020   St. Philip Neri School (ACCOUNTING ASSISTANCE RECEIVABLE)                             $       35.00
ANO   Operating   2118   10/20/2020   St. Philip Neri School (ACCOUNTING ASSISTANCE RECEIVABLE)                             $       62.50
ANO   Operating   2118   10/20/2020   St. Philip Neri School (ACCOUNTING ASSISTANCE RECEIVABLE)                             $      200.00
ANO   Operating   2118   10/20/2020   Most Holy Trinity Church (ACCOUNTING ASSISTANCE RECEIVABLE)                           $       39.52
ANO   Operating   2118   10/20/2020   Latin Mass Community (Priest Health Insurance)                                        $    1,320.17
ANO   Operating   2118   10/20/2020   Latin Mass Community (Priest Auto Insurance)                                          $      319.00
ANO   Operating   2118   10/20/2020   Latin Mass Community (Priest Retirement)                                              $      591.67
ANO   Operating   2118   10/20/2020   St. Christopher School (ACCOUNTING ASSISTANCE RECEIVABLE)                             $      200.00
ANO   Operating   2118   10/20/2020   St. Christopher School (ACCOUNTING ASSISTANCE RECEIVABLE)                             $       35.00
ANO   Operating   2118   10/20/2020   St. Christopher School (ACCOUNTING ASSISTANCE RECEIVABLE)                             $       35.00
ANO   Operating   2118   10/20/2020   Our Lady of the Lake School (ACCOUNTING ASSISTANCE RECEIVABLE)                        $       35.00
ANO   Operating   2118   10/20/2020   Holy Spirit Church (Parish Share)                                                     $      485.56
ANO   Operating   2118   10/20/2020   Holy Spirit Church (Priest Health Insurance)                                          $    1,320.17
ANO   Operating   2118   10/20/2020   Holy Spirit Church (Priest Auto Insurance)                                            $      319.00
ANO   Operating   2118   10/20/2020   Holy Spirit Church (Priest Retirement)                                                $      591.67
ANO   Operating   2118   10/20/2020   Holy Spirit Church (Parish Share)                                                     $    1,264.45
ANO   Operating   2118   10/20/2020   All Saints Church (Parish Share)                                                      $       36.36
ANO   Operating   2118   10/20/2020   All Saints Church (Parish Insurance)                                                  $      109.91
ANO   Operating   2118   10/20/2020   All Saints Church (Parish Insurance)                                                  $      127.25
ANO   Operating   2118   10/20/2020   All Saints Church (Parish Insurance)                                                  $      229.17
ANO   Operating   2118   10/20/2020   All Saints Church (Parish Insurance)                                                  $       16.68
ANO   Operating   2118   10/20/2020   All Saints Church (School Insurance)                                                  $      780.63
ANO   Operating   2118   10/20/2020   All Saints Church (ACCOUNTING ASSISTANCE RECEIVABLE)                                  $      200.00
ANO   Operating   2118   10/20/2020   Our Lady Of The Angels Church (ACCOUNTING ASSISTANCE RECEIVABLE)                      $      200.00
ANO   Operating   2118   10/20/2020   Our Lady Of The Angels Church (ACCOUNTING ASSISTANCE RECEIVABLE)                      $       35.00
ANO   Operating   2118   10/20/2020   Good Shepherd Church (Hurricane Laura Donation)                                       $       50.00
ANO   Operating   2118   10/20/2020   Good Shepherd Church (NOTES & LOANS)                                                  $   10,784.77
ANO   Operating   2118   10/20/2020   St. Joseph Church (Gretna) (NOTES & LOANS)                                            $   13,313.60
ANO   Operating   2118   10/20/2020   St. Joseph Church (Gretna) (OTHER FUNDS ON DEP)                                       $    1,084.07
ANO   Operating   2118   10/20/2020   Divine Mercy (NOTES & LOANS)                                                          $    3,928.00
ANO   Operating   2118   10/20/2020   Our Lady Of Guadalupe Church (NOTES & LOANS)                                          $    5,400.00
ANO   Operating   2118   10/20/2020   Holy Family Church (Luling) (OTHER FUNDS ON DEP)                                      $   12,000.00
ANO   Operating   2118   10/20/2020   Our Lady Of Divine Providence Church (NOTES & LOANS)                                  $    1,000.00
ANO   Operating   2118   10/20/2020   St. Thomas Church (CATHOLIC COMMUNICATION)                                            $      176.00
ANO   Operating   2118   10/20/2020   Assumption of Our Lady Mission (CATHOLIC COMMUNICATION)                               $      131.00
ANO   Operating   2118   10/20/2020   Assumption of Our Lady Mission (HOLY LAND DONATIONS)                                  $       94.00
ANO   Operating   2118   10/20/2020   St. Patrick Church (Port Sulphur) (OTHER FUNDS ON DEP)                                $      250.00
ANO   Operating   2118   10/20/2020   St. Joseph Church (Gretna) (CATHOLIC COMMUNICATION)                                   $      597.10
ANO   Operating   2118   10/20/2020   St. Joseph Church (Gretna) (HOLY LAND DONATIONS)                                      $      508.16
ANO   Operating   2118   10/20/2020   St. Joseph Church (Gretna) (RELIGIOUS RETIREMENT)                                     $        5.00
ANO   Operating   2118   10/20/2020   Ascension Of Our Lord Church (CATHOLIC COMMUNICATION)                                 $      582.00
ANO   Operating   2118   10/20/2020   St. Francis Of Assisi Church (CATHOLIC COMMUNICATION)                                 $      649.00
ANO   Operating   2118   10/20/2020   St. Francis Of Assisi Church (Hurricane Laura Donation)                               $    3,317.00
ANO   Operating   2118   10/20/2020   Holy Name Of Jesus Church (BLACK & INDIAN HOME MISSIONS)                              $    1,813.60
ANO   Operating   2118   10/20/2020   Holy Name Of Jesus Church (CATHOLIC COMMUNICATION)                                    $      892.25
ANO   Operating   2118   10/20/2020   Holy Name Of Jesus Church (Campaign for Human Development)                            $       31.00
ANO   Operating   2118   10/20/2020   Holy Name Of Jesus Church (DONATIONS)                                                 $       20.00
ANO   Operating   2118   10/20/2020   Holy Name Of Jesus Church (Catholic Schools Collection)                               $      599.00
ANO   Operating   2118   10/20/2020   Holy Name Of Jesus Church (Catholic Charities Collection)                             $       15.00
ANO   Operating   2118   10/20/2020   Holy Name Of Jesus Church (HOLY LAND DONATIONS)                                       $       25.00
ANO   Operating   2118   10/20/2020   Holy Name Of Jesus Church (PETER'S PENCE COLLECTION)                                  $       25.00
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 20 of
                                           103
ANO   Operating   2118   10/20/2020   Holy Name Of Jesus Church (MILITARY COLLECTION)                            $       240.00
ANO   Operating   2118   10/20/2020   Holy Name Of Jesus Church (CATHOLIC UNIVERSITY OF AMERICA)                 $        28.00
ANO   Operating   2118   10/20/2020   Holy Name Of Jesus Church (Hurricane Laura Donation)                       $     4,455.00
ANO   Operating   2118   10/20/2020   St. Thomas Church (HOLY LAND DONATIONS)                                    $       138.00
ANO   Operating   2118   10/20/2020   Diocese of Houma (INTERNET RECEIVABLE)                                     $     3,500.00
ANO   Operating   2118   10/20/2020   Diocese of Houma (INTERNET RECEIVABLE)                                     $     3,500.00
ANO   Operating   2118   10/20/2020   ST. CATHERINE OF SIENA SCHOOL (INTERNET RECEIVABLE)                        $       885.00
ANO   Operating   2118   10/20/2020   School Food Services (INTERNET RECEIVABLE)                                 $    11,569.21
ANO   Operating   2118   10/20/2020   Catholic Umbrella Pool (CUP DIVIDEND RECEIVABLE)                           $    13,037.00
ANO   Operating   2118   10/20/2020   Our Lady of Prompt Succor School (Chalmette) (INCOME STUDENT)              $     5,848.00
ANO   Operating   2118   10/20/2020   Our Lady of Perpetual Help School (Belle Chasse) (FINGERPRINTING INCOME)   $        20.00
ANO   Operating   2118   10/20/2020   St. John The Baptist Church (Folsom) (Overpayment Payable)                 $        27.50
ANO   Operating   2118   10/20/2020   Our Lady Of Perpetual Help Church (Belle Chasse) (ACCP INCOME)             $       140.00
ANO   Operating   2118   10/20/2020   St. Alphonsus Church (ACCP INCOME)                                         $        40.00
ANO   Operating   2118   10/20/2020   Various Payees through TCC (Sunday Collection)                             $        90.00
ANO   Operating   2118   10/20/2020   Various Payees through TCC (Newsletters)                                   $     5,025.00
ANO   Operating   2118   10/20/2020   CATHOLIC FOUNDATION (OTHER FUNDS ON DEP)                                   $    70,500.00
ANO   Operating   2118   10/20/2020   CATHOLIC FOUNDATION (OTHER FUNDS ON DEP)                                   $       112.21
ANO   Operating   2118   10/20/2020   Various Payees through Catholic Counseling (OUTSIDE COUNSELING)            $     2,110.00
ANO   Operating   2118   10/20/2020   Various Payees through Marriage & Family Life (PARISH FAMILY MINISTRY)     $        30.00
ANO   Operating   2118   10/20/2020   Various Payees through Marriage & Family Life (GOLDEN ANNIVERSARY)         $        60.00
ANO   Operating   2118   10/20/2020                                                                              $        15.00
ANO   Operating   2118   10/20/2020   Most Holy Trinity Church (NOTES & LOANS)                                   $     7,487.50
ANO   Operating   2118   10/20/2020   Most Holy Trinity Church (OTHER FUNDS ON DEP)                              $     5,961.17
ANO   Operating   2118   10/20/2020   Holy Family Church (Luling) (OTHER FUNDS ON DEP)                           $    18,000.00
ANO   Operating   2118   10/20/2020   Christ The King Church (NOTES & LOANS)                                     $     8,158.00
ANO   Operating   2118   10/20/2020   Pontifical Mission Societies (LEGAL RECEIVABLES)                           $        30.00
ANO   Operating   2118   10/20/2020   Various Payees through Catholic Counseling (OUTSIDE COUNSELING)            $       502.19
ANO   Operating   2118   10/20/2020   Various Payees through Hispanic Apostolate (DEPOSIT AND LOAN FUND)         $       446.00
ANO   Operating   2118   10/20/2020   Various Payees through Hispanic Apostolate (DEPOSIT AND LOAN FUND)         $       418.00
ANO   Operating   2118   10/20/2020                                                                              $        24.09
ANO   Operating   2118   10/20/2020                                                                              $        48.44
ANO   Operating   2118   10/20/2020                                                                              $        50.39
ANO   Operating   2118   10/21/2020   St. Matthew the Apostle Church (DEPOSIT AND LOAN FUND)                     $     7,500.00
ANO   Operating   2118   10/22/2020   Notre Dame Health System (DEPOSIT AND LOAN FUND)                           $    89,500.00
ANO   Operating   2118   10/22/2020   Pontifical Mission Societies (Parish Share)                                $        14.84
ANO   Operating   2118   10/22/2020   Pontifical Mission Societies (Priest Health Insurance)                     $       174.60
ANO   Operating   2118   10/22/2020   Pontifical Mission Societies (Priest Auto Insurance)                       $       202.14
ANO   Operating   2118   10/22/2020   Pontifical Mission Societies (Priest Retirement)                           $        93.21
ANO   Operating   2118   10/22/2020   Pontifical Mission Societies (Parish Insurance)                            $     2,117.09
ANO   Operating   2118   10/22/2020   Pontifical Mission Societies (Parish Insurance)                            $       250.00
ANO   Operating   2118   10/22/2020   Pontifical Mission Societies (Parish Insurance)                            $        35.00
ANO   Operating   2118   10/23/2020   Christ The King Church (Parish Share)                                      $     1,423.87
ANO   Operating   2118   10/23/2020   Christ The King Church (Priest Health Insurance)                           $     1,320.17
ANO   Operating   2118   10/23/2020   Christ The King Church (Priest Auto Insurance)                             $       319.00
ANO   Operating   2118   10/23/2020   Christ The King Church (Priest Retirement)                                 $       591.67
ANO   Operating   2118   10/23/2020   Christ The King Church (Parish Insurance)                                  $       428.31
ANO   Operating   2118   10/23/2020   Christ The King Church (Parish Insurance)                                  $       490.99
ANO   Operating   2118   10/23/2020   Christ The King Church (Parish Insurance)                                  $       491.24
ANO   Operating   2118   10/23/2020   Christ The King Church (Parish Insurance)                                  $       428.31
ANO   Operating   2118   10/23/2020   Christ The King Church (Parish Insurance)                                  $       611.90
ANO   Operating   2118   10/23/2020   Christ The King Church (Parish Insurance)                                  $       105.37
ANO   Operating   2118   10/23/2020   Christ The King Church (Parish Share)                                      $     3,789.17
ANO   Operating   2118   10/23/2020   Assumption Of Mary Parish, Avondale (Parish Share)                         $     1,296.00
ANO   Operating   2118   10/23/2020   Assumption Of Mary Parish, Avondale (Parish Insurance)                     $       732.32
ANO   Operating   2118   10/23/2020   Assumption Of Mary Parish, Avondale (Parish Insurance)                     $        48.21
ANO   Operating   2118   10/23/2020   Assumption Of Mary Parish, Avondale (Parish Insurance)                     $        55.82
ANO   Operating   2118   10/23/2020   Assumption Of Mary Parish, Avondale (Priest Health Insurance)              $     1,320.17
ANO   Operating   2118   10/23/2020   Assumption Of Mary Parish, Avondale (Priest Auto Insurance)                $       319.00
ANO   Operating   2118   10/23/2020   Assumption Of Mary Parish, Avondale (Priest Retirement)                    $       591.67
ANO   Operating   2118   10/23/2020   Various Payees through Catholic Counseling (OUTSIDE COUNSELING)            $       270.00
ANO   Operating   2118   10/23/2020   Various Payees through UNO Newman Center (DONATIONS)                       $        20.00
ANO   Operating   2118   10/23/2020   Various Payees through TCC (DONATIONS ‐ SUNDAY)                            $        24.00
ANO   Operating   2118   10/23/2020   Various Payees through Hispanic Apostolate (DONATIONS)                     $       195.00
ANO   Operating   2118   10/23/2020   Various Payees through OCS (FINGERPRINTING INCOME)                         $        58.00
ANO   Operating   2118   10/23/2020   Various Payees through Retreat Center (GENERAL DONATIONS)                  $        40.00
ANO   Operating   2118   10/23/2020   Various Payees through Catholic Counseling (OUTSIDE COUNSELING)            $       420.00
ANO   Operating   2118   10/23/2020   Various Payees through Marriage & Family Life (GOLDEN ANNIVERSARY)         $        30.00
ANO   Operating   2118   10/23/2020   Various Payees through TCC (DONATIONS ‐ SUNDAY)                            $        70.00
ANO   Operating   2118   10/23/2020   Various Payees through UNO Newman Center (DONATIONS)                       $        20.00
ANO   Operating   2118   10/23/2020   Various Payees through Worship (TEXT BOOKS SALES)                          $        44.00
ANO   Operating   2118   10/23/2020   Various Payees through Stella Maris (FEE INCOME PHONE CARD SALES)          $     1,150.00
ANO   Operating   2118   10/23/2020   Various Payees through Stella Maris (DONATIONS)                            $       550.00
ANO   Operating   2118   10/23/2020   Various Payees through OCS (FINGERPRINTING INCOME)                         $        58.00
ANO   Operating   2118   10/23/2020   Various Payees through Camp Abbey (CAMP ABBEY RETREAT FEES)                $     1,120.00
ANO   Operating   2118   10/23/2020   Various Payees through Retreat Center (PRAYER ENROLLMENTS)                 $        20.00
ANO   Operating   2118   10/23/2020   Various Payees through Retreat Center (MAINTENANCE DONATIONS)              $       111.00
ANO   Operating   2118   10/26/2020   Various Payees through Hispanic Apostolate (Deposit & Loan System)         $       474.00
ANO   Operating   2118   10/27/2020   ANO Captive (Q1 2020 Captive P&C Self‐Insurance Losses Reimbursement)      $   777,637.91
ANO   Operating   2118   10/27/2020   Good Shepherd Church (Parish Flood Insurance)                              $     3,090.00
ANO   Operating   2118   10/27/2020   Mater Dolorosa Apts. (OTHER RECEIVABLES)                                   $       830.00
ANO   Operating   2118   10/27/2020   Our Lady Of Divine Providence Church (Priest Health Insurance)             $       330.00
ANO   Operating   2118   10/27/2020   Our Lady Of Divine Providence Church (Priest Auto Insurance)               $        95.00
ANO   Operating   2118   10/27/2020   Our Lady Of Divine Providence Church (Priest Retirement)                   $       148.00
ANO   Operating   2118   10/27/2020   Our Lady Of Divine Providence Church (School Insurance)                    $       596.00
ANO   Operating   2118   10/27/2020   Our Lady Of Divine Providence Church (Parish Insurance)                    $       517.00
ANO   Operating   2118   10/27/2020   Our Lady Of Divine Providence Church (Parish Share)                        $     1,000.00
ANO   Operating   2118   10/27/2020   Good Shepherd Church (Parish Share)                                        $       700.00
ANO   Operating   2118   10/27/2020   School Food Services (RENT RECEIVABLES)                                    $     6,243.62
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (MISCELLANEOUS RECEIVABLES)       $     5,776.65
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (MISCELLANEOUS RECEIVABLES)       $     5,776.65
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (RENT RECEIVABLES)                $    16,803.26
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (RENT RECEIVABLES)                $       500.00
ANO   Operating   2118   10/27/2020   Our Lady Of The Angels Church (Parish Insurance)                           $        87.34
ANO   Operating   2118   10/27/2020   Our Lady Of The Angels Church (Parish Insurance)                           $       101.12
ANO   Operating   2118   10/27/2020   Our Lady Of The Angels Church (Parish Insurance)                           $        61.77
ANO   Operating   2118   10/27/2020   Our Lady Of The Angels Church (Parish Insurance)                           $       931.32
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Slidell) (ACCOUNTING ASSISTANCE RECEIVABLE)    $       200.00
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Slidell) (ACCOUNTING ASSISTANCE RECEIVABLE)    $        35.00
ANO   Operating   2118   10/27/2020   Our Lady Of The Lake Church (BUILDING OFFICE FEE REC.)                     $        45.00
ANO   Operating   2118   10/27/2020   Our Lady Of The Lake Church (School Flood Insurance)                       $     1,860.56
ANO   Operating   2118   10/27/2020   Our Lady Of The Lake Church (School Flood Insurance)                       $       918.18
ANO   Operating   2118   10/27/2020   Our Lady Of The Lake Church (School Flood Insurance)                       $     1,969.98
ANO   Operating   2118   10/27/2020   Our Lady Of The Lake Church (School Flood Insurance)                       $       873.45
ANO   Operating   2118   10/27/2020   Our Lady Of The Lake Church (School Flood Insurance)                       $       219.53
ANO   Operating   2118   10/27/2020   Our Lady Of The Lake Church (School Flood Insurance)                       $       782.91
ANO   Operating   2118   10/27/2020   Our Lady Of The Lake Church (School Flood Insurance)                       $       770.19
ANO   Operating   2118   10/27/2020   Our Lady Of The Lake Church (School Flood Insurance)                       $     1,690.54
ANO   Operating   2118   10/27/2020   St. Raymond & St. Leo School (ACCOUNTING ASSISTANCE RECEIVABLE)            $        35.00
ANO   Operating   2118   10/27/2020   St. Anthony Of Padua Church (Luling) (Parish Share)                        $     3,560.83
ANO   Operating   2118   10/27/2020   St. Anthony Of Padua Church (Luling) (Priest Health Insurance)             $     1,320.17
ANO   Operating   2118   10/27/2020   St. Anthony Of Padua Church (Luling) (Priest Auto Insurance)               $       319.00
ANO   Operating   2118   10/27/2020   St. Anthony Of Padua Church (Luling) (Priest Retirement)                   $       591.67
ANO   Operating   2118   10/27/2020   St. Anthony Of Padua Church (Luling) (Parish Insurance)                    $     1,390.16
ANO   Operating   2118   10/27/2020   St. Anthony Of Padua Church (Luling) (Parish Insurance)                    $       135.98
ANO   Operating   2118   10/27/2020   St. Anthony Of Padua Church (Luling) (Parish Insurance)                    $       157.43
ANO   Operating   2118   10/27/2020   St. Anthony Of Padua Church (Luling) (ACCOUNTING ASSISTANCE RECEIVABLE)    $        35.00
ANO   Operating   2118   10/27/2020   St. Anthony Of Padua Church (Luling) (ACCOUNTING ASSISTANCE RECEIVABLE)    $       200.00
ANO   Operating   2118   10/27/2020   Archbishop Shaw High School (BUILDING OFFICE FEE REC.)                     $        45.00
ANO   Operating   2118   10/27/2020   St. Charles Catholic High School (ANO School Insurance)                    $     6,240.48
ANO   Operating   2118   10/27/2020   St. Charles Catholic High School (ANO School Insurance)                    $     3,799.03
ANO   Operating   2118   10/27/2020   St. Charles Catholic High School (ANO School Insurance)                    $     3,239.09
ANO   Operating   2118   10/27/2020   St. Charles Catholic High School (ANO School Insurance)                    $       358.34
ANO   Operating   2118   10/27/2020   St. Charles Catholic High School (Parish Flood Insurance)                  $     2,438.00
ANO   Operating   2118   10/27/2020   Our Lady Of Guadalupe Church (ACCOUNTING ASSISTANCE RECEIVABLE)            $       200.00
ANO   Operating   2118   10/27/2020   St. Matthew The Apostle Church (BUILDING OFFICE FEE REC.)                  $        45.00
ANO   Operating   2118   10/27/2020   St. Matthew The Apostle Church (Parish Insurance)                          $       766.47
ANO   Operating   2118   10/27/2020   St. Matthew The Apostle Church (Parish Share)                              $    13,162.67
ANO   Operating   2118   10/27/2020   St. Matthew The Apostle Church (Priest Health Insurance)                   $     2,640.34
ANO   Operating   2118   10/27/2020   St. Matthew The Apostle Church (Priest Auto Insurance)                     $       638.00
ANO   Operating   2118   10/27/2020   St. Matthew The Apostle Church (Priest Retirement)                         $     1,183.34
ANO   Operating   2118   10/27/2020   St. Matthew The Apostle Church (Parish Insurance)                          $     2,194.00
ANO   Operating   2118   10/27/2020   St. Matthew The Apostle Church (Parish Insurance)                          $       854.59
ANO   Operating   2118   10/27/2020   St. Matthew The Apostle Church (School Insurance)                          $     1,707.90
ANO   Operating   2118   10/27/2020   St. Matthew The Apostle Church (School Insurance)                          $     2,558.29
ANO   Operating   2118   10/27/2020   St. Matthew The Apostle Church (School Insurance)                          $     2,294.49
ANO   Operating   2118   10/27/2020   St. Matthew The Apostle Church (BUILDING OFFICE FEE REC.)                  $        45.00
ANO   Operating   2118   10/27/2020   St. Matthew The Apostle Church (SALARY REIMBURSEMENTS)                     $     1,769.00
ANO   Operating   2118   10/27/2020   St. Matthew The Apostle Church (SALARY REIMBURSEMENTS)                     $       600.00
ANO   Operating   2118   10/27/2020   St. Matthew The Apostle Church (SALARY REIMBURSEMENTS)                     $        25.25
ANO   Operating   2118   10/27/2020   St. Matthew The Apostle Church (Parish Flood Insurance)                    $       563.82
ANO   Operating   2118   10/27/2020   St. Matthew The Apostle Church (MISCELLANEOUS RECEIVABLES)                 $       612.61
ANO   Operating   2118   10/27/2020   St. Matthew The Apostle Church (PARISH ASSESSMENT)                         $     1,150.95
ANO   Operating   2118   10/27/2020   St. Matthew The Apostle Church (PARISH ASSESSMENT)                         $       162.75
ANO   Operating   2118   10/27/2020   St. Catherine Of Siena Church (Parish Insurance)                           $     4,914.57
ANO   Operating   2118   10/27/2020   St. Catherine Of Siena Church (Parish Insurance)                           $       625.83
ANO   Operating   2118   10/27/2020   St. Catherine Of Siena Church (Parish Insurance)                           $       718.55
ANO   Operating   2118   10/27/2020   St. Catherine Of Siena Church (BUILDING OFFICE FEE REC.)                   $        45.00
ANO   Operating   2118   10/27/2020   St. Catherine Of Siena Church (Parish Share)                               $    22,001.67
ANO   Operating   2118   10/27/2020   St. Catherine Of Siena Church (Priest Health Insurance)                    $     2,640.34
ANO   Operating   2118   10/27/2020   St. Catherine Of Siena Church (Priest Auto Insurance)                      $       638.00
ANO   Operating   2118   10/27/2020   St. Catherine Of Siena Church (Priest Retirement)                          $     1,183.34
ANO   Operating   2118   10/27/2020   St. Catherine Of Siena Church (ACCOUNTING ASSISTANCE RECEIVABLE)           $       200.00
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 21 of
                                           103
ANO   Operating   2118   10/27/2020   Ozanam Inn (Agency Insurance)                                                 $       32.06
ANO   Operating   2118   10/27/2020   Ozanam Inn (Agency Insurance)                                                 $    1,166.67
ANO   Operating   2118   10/27/2020   Ozanam Inn (Agency Insurance)                                                 $    1,166.53
ANO   Operating   2118   10/27/2020   Ozanam Inn (Agency Insurance)                                                 $      929.17
ANO   Operating   2118   10/27/2020   St. Jane De Chantal Church (Priest Health Insurance)                          $    1,320.17
ANO   Operating   2118   10/27/2020   St. Jane De Chantal Church (Priest Auto Insurance)                            $      319.00
ANO   Operating   2118   10/27/2020   St. Jane De Chantal Church (Priest Retirement)                                $      591.67
ANO   Operating   2118   10/27/2020   St. Jane De Chantal Church (Parish Share)                                     $    7,844.83
ANO   Operating   2118   10/27/2020   St. Jane De Chantal Church (Parish Insurance)                                 $    1,112.86
ANO   Operating   2118   10/27/2020   St. Jane De Chantal Church (Parish Insurance)                                 $      362.40
ANO   Operating   2118   10/27/2020   St. Jane De Chantal Church (Parish Insurance)                                 $      328.14
ANO   Operating   2118   10/27/2020   St. Jane De Chantal Church (Parish Insurance)                                 $      436.13
ANO   Operating   2118   10/27/2020   St. Jane De Chantal Church (ACCOUNTING ASSISTANCE RECEIVABLE)                 $       35.00
ANO   Operating   2118   10/27/2020   St. Jane De Chantal Church (ACCOUNTING ASSISTANCE RECEIVABLE)                 $      200.00
ANO   Operating   2118   10/27/2020   St. Jane De Chantal Church (Parish Share)                                     $    7,844.83
ANO   Operating   2118   10/27/2020   St. Jane De Chantal Church (Priest Health Insurance)                          $    1,320.17
ANO   Operating   2118   10/27/2020   St. Jane De Chantal Church (Priest Auto Insurance)                            $      319.00
ANO   Operating   2118   10/27/2020   St. Jane De Chantal Church (Priest Retirement)                                $      591.67
ANO   Operating   2118   10/27/2020   St. Jane De Chantal Church (Parish Insurance)                                 $    1,112.86
ANO   Operating   2118   10/27/2020   St. Jane De Chantal Church (Parish Insurance)                                 $      362.40
ANO   Operating   2118   10/27/2020   St. Jane De Chantal Church (Parish Insurance)                                 $      328.14
ANO   Operating   2118   10/27/2020   St. Jane De Chantal Church (Parish Insurance)                                 $      436.13
ANO   Operating   2118   10/27/2020   St. Anthony Church (Gretna) (Parish Share)                                    $    1,039.48
ANO   Operating   2118   10/27/2020   St. Anthony Church (Gretna) (Priest Health Insurance)                         $      330.05
ANO   Operating   2118   10/27/2020   St. Anthony Church (Gretna) (Priest Auto Insurance)                           $       79.75
ANO   Operating   2118   10/27/2020   St. Anthony Church (Gretna) (Priest Retirement)                               $      147.92
ANO   Operating   2118   10/27/2020   St. Anthony Church (Gretna) (School Insurance)                                $      460.55
ANO   Operating   2118   10/27/2020   St. Anthony Church (Gretna) (School Insurance)                                $      969.94
ANO   Operating   2118   10/27/2020   St. Anthony Church (Gretna) (Parish Insurance)                                $    1,685.41
ANO   Operating   2118   10/27/2020   St. Anthony Church (Gretna) (Parish Insurance)                                $      101.58
ANO   Operating   2118   10/27/2020   St. Anthony Church (Gretna) (ACCOUNTING ASSISTANCE RECEIVABLE)                $       35.00
ANO   Operating   2118   10/27/2020   Our Lady Of The Lake Church (Parish Insurance)                                $      229.17
ANO   Operating   2118   10/27/2020   Our Lady Of The Lake Church (Parish Insurance)                                $       46.75
ANO   Operating   2118   10/27/2020   Our Lady Of The Lake Church (Parish Insurance)                                $    2,357.68
ANO   Operating   2118   10/27/2020   Our Lady Of The Lake Church (Parish Insurance)                                $      887.10
ANO   Operating   2118   10/27/2020   Our Lady Of The Lake Church (Parish Insurance)                                $    1,135.19
ANO   Operating   2118   10/27/2020   Our Lady Of The Lake Church (Parish Share)                                    $   22,030.33
ANO   Operating   2118   10/27/2020   Our Lady Of The Lake Church (Priest Health Insurance)                         $    2,640.34
ANO   Operating   2118   10/27/2020   Our Lady Of The Lake Church (Priest Auto Insurance)                           $      638.00
ANO   Operating   2118   10/27/2020   Our Lady Of The Lake Church (Priest Retirement)                               $    1,183.34
ANO   Operating   2118   10/27/2020   Our Lady Of The Lake Church (School Insurance)                                $    1,105.74
ANO   Operating   2118   10/27/2020   Our Lady Of The Lake Church (School Insurance)                                $    2,302.44
ANO   Operating   2118   10/27/2020   Our Lady Of The Lake Church (School Insurance)                                $    2,946.34
ANO   Operating   2118   10/27/2020   St. Agnes Church (ACCOUNTING ASSISTANCE RECEIVABLE)                           $      200.00
ANO   Operating   2118   10/27/2020   Mary Queen Of Vietnam Church (Parish Share)                                   $   10,880.42
ANO   Operating   2118   10/27/2020   Mary Queen Of Vietnam Church (Priest Health Insurance)                        $    1,320.17
ANO   Operating   2118   10/27/2020   Mary Queen Of Vietnam Church (Priest Auto Insurance)                          $      319.00
ANO   Operating   2118   10/27/2020   Mary Queen Of Vietnam Church (Priest Retirement)                              $      591.67
ANO   Operating   2118   10/27/2020   Mary Queen Of Vietnam Church (Parish Insurance)                               $    2,209.51
ANO   Operating   2118   10/27/2020   Mary Queen Of Vietnam Church (Parish Insurance)                               $      211.04
ANO   Operating   2118   10/27/2020   Mary Queen Of Vietnam Church (Parish Insurance)                               $      244.33
ANO   Operating   2118   10/27/2020   Mary Queen Of Vietnam Church (Parish Insurance)                               $      229.17
ANO   Operating   2118   10/27/2020   St. Joseph Church (Algiers) (Parish Flood Insurance)                          $    1,848.00
ANO   Operating   2118   10/27/2020   St. Rita School (NOLA) (ACCOUNTING ASSISTANCE RECEIVABLE)                     $       35.00
ANO   Operating   2118   10/27/2020   St. Edward the Confessor School (ACCOUNTING ASSISTANCE RECEIVABLE)            $       35.00
ANO   Operating   2118   10/27/2020   St. Margaret Mary Church (BUILDING OFFICE FEE REC.)                           $       45.00
ANO   Operating   2118   10/27/2020   St. Margaret Mary Church (School Insurance)                                   $    3,144.82
ANO   Operating   2118   10/27/2020   St. Margaret Mary Church (School Insurance)                                   $    1,295.44
ANO   Operating   2118   10/27/2020   St. Margaret Mary Church (School Insurance)                                   $    2,588.84
ANO   Operating   2118   10/27/2020   St. Katharine Drexel Church (Parish Insurance)                                $    1,590.98
ANO   Operating   2118   10/27/2020   St. Katharine Drexel Church (Parish Insurance)                                $      499.50
ANO   Operating   2118   10/27/2020   St. Katharine Drexel Church (Parish Insurance)                                $      146.23
ANO   Operating   2118   10/27/2020   St. Katharine Drexel Church (Parish Share)                                    $    5,051.25
ANO   Operating   2118   10/27/2020   St. Katharine Drexel Church (Priest Health Insurance)                         $    1,320.17
ANO   Operating   2118   10/27/2020   St. Katharine Drexel Church (Priest Auto Insurance)                           $      319.00
ANO   Operating   2118   10/27/2020   St. Katharine Drexel Church (Priest Retirement)                               $      591.67
ANO   Operating   2118   10/27/2020   St. Katharine Drexel Church (School Insurance)                                $    1,834.98
ANO   Operating   2118   10/27/2020   St. Katharine Drexel Church (BUILDING OFFICE FEE REC.)                        $       45.00
ANO   Operating   2118   10/27/2020   Christopher Homes, Inc. (INSURANCE RECEIVAB)                                  $    2,923.00
ANO   Operating   2118   10/27/2020   Rouquette Lodge III (Agency Insurance)                                        $      735.83
ANO   Operating   2118   10/27/2020   Rouquette Lodge IV (Agency Insurance)                                         $    3,603.24
ANO   Operating   2118   10/27/2020   Rouquette Lodge IV (Agency Insurance)                                         $    1,698.55
ANO   Operating   2118   10/27/2020   Rouquette Lodge IV (Agency Insurance)                                         $      204.05
ANO   Operating   2118   10/27/2020   Metairie Manor III (Agency Insurance)                                         $    5,936.50
ANO   Operating   2118   10/27/2020   Christopher Homes, Inc. (Agency Insurance)                                    $      389.84
ANO   Operating   2118   10/27/2020   Christopher Homes, Inc. (Agency Insurance)                                    $      245.11
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Slidell) (Parish Flood Insurance)                 $    3,098.00
ANO   Operating   2118   10/27/2020   Pope John Paul II High School (ANO School Insurance)                          $    1,035.00
ANO   Operating   2118   10/27/2020   Archbishop Hannan High School (ANO School Insurance)                          $    3,406.32
ANO   Operating   2118   10/27/2020   Archbishop Hannan High School (ANO School Insurance)                          $    5,090.22
ANO   Operating   2118   10/27/2020   Archbishop Hannan High School (ANO School Insurance)                          $    5,689.39
ANO   Operating   2118   10/27/2020   Archbishop Hannan High School (ANO School Insurance)                          $    2,140.28
ANO   Operating   2118   10/27/2020   St. Rita Church (Harahan) (Parish Insurance)                                  $      643.62
ANO   Operating   2118   10/27/2020   St. Rita Church (Harahan) (School Insurance)                                  $      276.06
ANO   Operating   2118   10/27/2020   St. Rita Church (Harahan) (School Insurance)                                  $      835.77
ANO   Operating   2118   10/27/2020   St. Rita Church (Harahan) (Parish Share)                                      $    2,244.00
ANO   Operating   2118   10/27/2020   St. Rita Church (Harahan) (Priest Health Insurance)                           $      609.00
ANO   Operating   2118   10/27/2020   St. Rita Church (Harahan) (Priest Auto Insurance)                             $      148.00
ANO   Operating   2118   10/27/2020   St. Rita Church (Harahan) (Priest Retirement)                                 $      263.55
ANO   Operating   2118   10/27/2020   St. Rita Church (Harahan) (Parish Flood Insurance)                            $      188.00
ANO   Operating   2118   10/27/2020   St. Rita Church (Harahan) (BUILDING OFFICE FEE REC.)                          $      255.00
ANO   Operating   2118   10/27/2020   St. Rita Church (Harahan) (BUILDING OFFICE FEE REC.)                          $      159.04
ANO   Operating   2118   10/27/2020   St. Rita Church (Harahan) (BUILDING OFFICE FEE REC.)                          $       45.00
ANO   Operating   2118   10/27/2020   St. Rita Church (Harahan) (SALARY REIMBURSEMENTS)                             $    1,769.00
ANO   Operating   2118   10/27/2020   St. Rita Church (Harahan) (SALARY REIMBURSEMENTS)                             $      600.00
ANO   Operating   2118   10/27/2020   St. Rita Church (Harahan) (SALARY REIMBURSEMENTS)                             $       25.25
ANO   Operating   2118   10/27/2020   Annunciation School (OCS Student Assessment Receivable)                       $       35.00
ANO   Operating   2118   10/27/2020   St. Joan Of Arc Church (BUILDING OFFICE FEE REC.)                             $       45.00
ANO   Operating   2118   10/27/2020   St. Joan Of Arc Church (PARISH ASSESSMENT)                                    $      347.02
ANO   Operating   2118   10/27/2020   St. Joan Of Arc Church (PARISH ASSESSMENT)                                    $       87.94
ANO   Operating   2118   10/27/2020   St. Joan Of Arc Church (PARISH ASSESSMENT)                                    $      307.85
ANO   Operating   2118   10/27/2020   St. Joan Of Arc Church (PARISH ASSESSMENT)                                    $      459.54
ANO   Operating   2118   10/27/2020   St. Joan Of Arc Church (PARISH ASSESSMENT)                                    $      478.99
ANO   Operating   2118   10/27/2020   St. Joan Of Arc Church (PARISH ASSESSMENT)                                    $      459.54
ANO   Operating   2118   10/27/2020   St. Joan Of Arc Church (PARISH ASSESSMENT)                                    $      514.12
ANO   Operating   2118   10/27/2020   St. Joseph Church (Gretna) (BUILDING OFFICE FEE REC.)                         $       45.00
ANO   Operating   2118   10/27/2020   St. Margaret Mary Church (MISCELLANEOUS RECEIVABLES)                          $      442.61
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Violet) (Parish Share)                            $    2,155.17
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Violet) (Priest Health Insurance)                 $    1,320.17
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Violet) (Priest Auto Insurance)                   $      319.00
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Violet) (Priest Retirement)                       $      591.67
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Violet) (Parish Insurance)                        $      664.07
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Violet) (Parish Insurance)                        $       78.01
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Violet) (Parish Insurance)                        $       90.31
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Violet) (Parish Insurance)                        $        6.38
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Violet) (Parish Flood Insurance)                  $      113.07
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Violet) (Parish Flood Insurance)                  $      319.07
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Violet) (PARISH ASSESSMENT)                       $      241.31
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Violet) (PARISH ASSESSMENT)                       $       52.85
ANO   Operating   2118   10/27/2020   Our Lady Of Prompt Succor Church (Chalme (Parish Insurance)                   $      321.93
ANO   Operating   2118   10/27/2020   Our Lady Of Prompt Succor Church (Chalme (School Flood Insurance)             $      292.30
ANO   Operating   2118   10/27/2020   Our Lady Of Prompt Succor Church (Chalme (School Flood Insurance)             $      367.90
ANO   Operating   2118   10/27/2020   Our Lady Of Prompt Succor Church (Chalme (Parish Insurance)                   $      365.35
ANO   Operating   2118   10/27/2020   Our Lady Of Prompt Succor Church (Chalme (ACCOUNTING ASSISTANCE RECEIVABLE)   $       35.00
ANO   Operating   2118   10/27/2020   Our Lady Of Prompt Succor Church (Chalme (Parish Insurance)                   $      321.93
ANO   Operating   2118   10/27/2020   Our Lady Of Prompt Succor Church (Chalme (School Flood Insurance)             $       24.72
ANO   Operating   2118   10/27/2020   Our Lady Of Prompt Succor Church (Chalme (School Flood Insurance)             $      380.60
ANO   Operating   2118   10/27/2020   Our Lady Of Prompt Succor Church (Chalme (School Flood Insurance)             $      309.00
ANO   Operating   2118   10/27/2020   Our Lady Of Prompt Succor Church (Chalme (School Flood Insurance)             $      309.00
ANO   Operating   2118   10/27/2020   Our Lady Of Prompt Succor Church (Chalme (School Flood Insurance)             $      380.60
ANO   Operating   2118   10/27/2020   Holy Name Of Jesus Church (Parish Insurance)                                  $    1,609.23
ANO   Operating   2118   10/27/2020   Holy Name Of Jesus Church (Parish Insurance)                                  $      229.17
ANO   Operating   2118   10/27/2020   Holy Name Of Jesus Church (Parish Insurance)                                  $       80.10
ANO   Operating   2118   10/27/2020   Holy Name Of Jesus Church (Parish Share)                                      $   12,720.75
ANO   Operating   2118   10/27/2020   Holy Name Of Jesus Church (School Insurance)                                  $    2,479.17
ANO   Operating   2118   10/27/2020   Holy Name Of Jesus Church (School Insurance)                                  $    3,515.66
ANO   Operating   2118   10/27/2020   Holy Name Of Jesus Church (School Insurance)                                  $    4,074.40
ANO   Operating   2118   10/27/2020   Holy Name Of Jesus Church (School Insurance)                                  $      283.34
ANO   Operating   2118   10/27/2020   Holy Name of JesusSchool (ACCOUNTING ASSISTANCE RECEIVABLE)                   $       35.00
ANO   Operating   2118   10/27/2020   Divine Mercy (Parish Flood Insurance)                                         $    3,806.00
ANO   Operating   2118   10/27/2020   Divine Mercy (Parish Flood Insurance)                                         $    1,611.00
ANO   Operating   2118   10/27/2020   St. Angela Merici Church (Parish Share)                                       $   15,163.58
ANO   Operating   2118   10/27/2020   St. Angela Merici Church (Priest Health Insurance)                            $    2,640.34
ANO   Operating   2118   10/27/2020   St. Angela Merici Church (Priest Auto Insurance)                              $      638.00
ANO   Operating   2118   10/27/2020   St. Angela Merici Church (Priest Retirement)                                  $    1,183.34
ANO   Operating   2118   10/27/2020   St. Angela Merici Church (School Insurance)                                   $      575.35
ANO   Operating   2118   10/27/2020   St. Angela Merici Church (School Insurance)                                   $    1,330.11
ANO   Operating   2118   10/27/2020   St. Angela Merici Church (School Insurance)                                   $    1,646.21
ANO   Operating   2118   10/27/2020   St. Angela Merici Church (Parish Insurance)                                   $    3,234.62
ANO   Operating   2118   10/27/2020   St. Angela Merici Church (Parish Insurance)                                   $      566.34
ANO   Operating   2118   10/27/2020   St. Angela Merici Church (Parish Insurance)                                   $      700.93
ANO   Operating   2118   10/27/2020   St. Clement Of Rome Church (BUILDING OFFICE FEE REC.)                         $       45.00
ANO   Operating   2118   10/27/2020   St. Clement Of Rome Church (ACCOUNTING ASSISTANCE RECEIVABLE)                 $       35.00
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 22 of
                                           103
ANO   Operating   2118   10/27/2020   St. Clement Of Rome Church (Parish Insurance)                                   $    1,243.75
ANO   Operating   2118   10/27/2020   St. Clement Of Rome Church (Parish Insurance)                                   $      470.91
ANO   Operating   2118   10/27/2020   St. Clement Of Rome Church (Parish Insurance)                                   $    1,278.12
ANO   Operating   2118   10/27/2020   St. Clement Of Rome Church (School Insurance)                                   $    1,618.86
ANO   Operating   2118   10/27/2020   St. Clement Of Rome Church (School Insurance)                                   $    1,697.26
ANO   Operating   2118   10/27/2020   St. Clement Of Rome Church (School Insurance)                                   $    4,606.61
ANO   Operating   2118   10/27/2020   St. Clement Of Rome Church (Parish Share)                                       $   17,404.67
ANO   Operating   2118   10/27/2020   St. Clement Of Rome Church (Priest Health Insurance)                            $    2,640.34
ANO   Operating   2118   10/27/2020   St. Clement Of Rome Church (Priest Auto Insurance)                              $      638.00
ANO   Operating   2118   10/27/2020   St. Clement Of Rome Church (Priest Retirement)                                  $    1,183.34
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Slidell) (Parish Flood Insurance)                   $      888.62
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Slidell) (Parish Flood Insurance)                   $      986.35
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Slidell) (Parish Flood Insurance)                   $    1,155.11
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Slidell) (Parish Flood Insurance)                   $      565.29
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Slidell) (Parish Flood Insurance)                   $      627.47
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Slidell) (Parish Flood Insurance)                   $      734.82
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Slidell) (Parish Flood Insurance)                   $      219.83
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Slidell) (Parish Flood Insurance)                   $      200.00
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Slidell) (Parish Flood Insurance)                   $      596.50
ANO   Operating   2118   10/27/2020   St. Anselm Church (Parish Insurance)                                            $    2,369.15
ANO   Operating   2118   10/27/2020   St. Anselm Church (Parish Insurance)                                            $    1,708.57
ANO   Operating   2118   10/27/2020   St. Anselm Church (Parish Insurance)                                            $      876.18
ANO   Operating   2118   10/27/2020   Ascension of Our Lord School (ACCOUNTING ASSISTANCE RECEIVABLE)                 $       35.00
ANO   Operating   2118   10/27/2020   Mary Queen Of Peace Church (Parish Insurance)                                   $    2,659.18
ANO   Operating   2118   10/27/2020   Mary Queen Of Peace Church (Parish Insurance)                                   $      794.10
ANO   Operating   2118   10/27/2020   Mary Queen Of Peace Church (Parish Insurance)                                   $      960.04
ANO   Operating   2118   10/27/2020   Mary Queen Of Peace Church (School Insurance)                                   $    1,439.72
ANO   Operating   2118   10/27/2020   Mary Queen Of Peace Church (School Insurance)                                   $    2,008.48
ANO   Operating   2118   10/27/2020   Mary Queen Of Peace Church (School Insurance)                                   $    2,428.19
ANO   Operating   2118   10/27/2020   Mary Queen Of Peace Church (Parish Share)                                       $   25,048.33
ANO   Operating   2118   10/27/2020   Mary Queen Of Peace Church (Priest Health Insurance)                            $    2,640.34
ANO   Operating   2118   10/27/2020   Mary Queen Of Peace Church (Priest Auto Insurance)                              $      638.00
ANO   Operating   2118   10/27/2020   Mary Queen Of Peace Church (Priest Retirement)                                  $    1,183.34
ANO   Operating   2118   10/27/2020   Holy Name Of Mary Church (BUILDING OFFICE FEE REC.)                             $       45.00
ANO   Operating   2118   10/27/2020   Holy Name Of Mary Church (ACCOUNTING ASSISTANCE RECEIVABLE)                     $       35.00
ANO   Operating   2118   10/27/2020   St. John Bosco Church (Parish Flood Insurance)                                  $    4,015.00
ANO   Operating   2118   10/27/2020   St. John Bosco Church (Parish Insurance)                                        $      247.76
ANO   Operating   2118   10/27/2020   St. John Bosco Church (Parish Insurance)                                        $      283.34
ANO   Operating   2118   10/27/2020   St. John Bosco Church (Parish Insurance)                                        $    2,339.48
ANO   Operating   2118   10/27/2020   St. John Bosco Church (Parish Insurance)                                        $      214.00
ANO   Operating   2118   10/27/2020   St. Martha Church (Parish Share)                                                $    6,256.83
ANO   Operating   2118   10/27/2020   St. Martha Church (Priest Health Insurance)                                     $    1,320.17
ANO   Operating   2118   10/27/2020   St. Martha Church (Priest Auto Insurance)                                       $      319.00
ANO   Operating   2118   10/27/2020   St. Martha Church (Priest Retirement)                                           $      591.67
ANO   Operating   2118   10/27/2020   St. Martha Church (Parish Insurance)                                            $      760.63
ANO   Operating   2118   10/27/2020   St. Martha Church (Parish Insurance)                                            $      168.33
ANO   Operating   2118   10/27/2020   St. Martha Church (Parish Insurance)                                            $      194.89
ANO   Operating   2118   10/27/2020   St. Martha Church (Parish Insurance)                                            $    1,611.24
ANO   Operating   2118   10/27/2020   St. Martha Church (Parish Flood Insurance)                                      $      218.59
ANO   Operating   2118   10/27/2020   St. Martha Church (Parish Flood Insurance)                                      $      230.09
ANO   Operating   2118   10/27/2020   St. Martha Church (Parish Flood Insurance)                                      $      102.00
ANO   Operating   2118   10/27/2020   St. Martha Church (ACCOUNTING ASSISTANCE RECEIVABLE)                            $       35.00
ANO   Operating   2118   10/27/2020   St. Martha Church (PARISH ASSESSMENT)                                           $      720.80
ANO   Operating   2118   10/27/2020   Our Lady Of The Rosary Church (BUILDING OFFICE FEE REC.)                        $       45.00
ANO   Operating   2118   10/27/2020   Our Lady Of The Rosary Church (BUILDING OFFICE FEE REC.)                        $       45.00
ANO   Operating   2118   10/27/2020   St. John Bosco Church (Parish Share)                                            $    6,335.33
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (MISCELLANEOUS RECEIVABLES)            $      216.27
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Flood Insurance)               $    2,923.00
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Flood Insurance)               $    2,853.00
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (MISCELLANEOUS RECEIVABLES)            $    3,271.09
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (MISCELLANEOUS RECEIVABLES)            $       18.74
ANO   Operating   2118   10/27/2020   Divine Mercy (SALARY REIMBURSEMENTS)                                            $    1,769.00
ANO   Operating   2118   10/27/2020   Divine Mercy (SALARY REIMBURSEMENTS)                                            $      600.00
ANO   Operating   2118   10/27/2020   Divine Mercy (SALARY REIMBURSEMENTS)                                            $       25.25
ANO   Operating   2118   10/27/2020   St. Raymond & St. Leo School (BUILDING OFFICE FEE REC.)                         $       45.00
ANO   Operating   2118   10/27/2020   Our Lady Of The Lake Church (BUILDING OFFICE FEE REC.)                          $       45.00
ANO   Operating   2118   10/27/2020   Society of the Holy Family (SALARY REIMBURSEMENTS)                              $    1,600.00
ANO   Operating   2118   10/27/2020   Blessed Sacrament ‐ St. Joan of Arc Church (ACCOUNTING ASSISTANCE RECEIVABLE)   $      200.00
ANO   Operating   2118   10/27/2020   Our Lady Of Divine Providence Church (ACCOUNTING ASSISTANCE RECEIVABLE)         $      200.00
ANO   Operating   2118   10/27/2020   Most Holy Trinity Church (Parish Insurance)                                     $    3,546.23
ANO   Operating   2118   10/27/2020   Most Holy Trinity Church (Parish Insurance)                                     $      804.95
ANO   Operating   2118   10/27/2020   Most Holy Trinity Church (Parish Insurance)                                     $      887.01
ANO   Operating   2118   10/27/2020   Most Holy Trinity Church (Priest Auto Insurance)                                $      319.00
ANO   Operating   2118   10/27/2020   Most Holy Trinity Church (Priest Retirement)                                    $      591.67
ANO   Operating   2118   10/27/2020   Most Holy Trinity Church (Parish Share)                                         $   14,069.67
ANO   Operating   2118   10/27/2020   Most Holy Trinity Church (Priest Health Insurance)                              $    1,320.17
ANO   Operating   2118   10/27/2020   Our Lady Of Lavang Mission (Parish Share)                                       $      937.58
ANO   Operating   2118   10/27/2020   Our Lady Of Lavang Mission (Priest Health Insurance)                            $    1,320.17
ANO   Operating   2118   10/27/2020   Our Lady Of Lavang Mission (Priest Auto Insurance)                              $      319.00
ANO   Operating   2118   10/27/2020   Our Lady Of Lavang Mission (Priest Retirement)                                  $      591.67
ANO   Operating   2118   10/27/2020   Our Lady Of Lavang Mission (Parish Insurance)                                   $    1,519.22
ANO   Operating   2118   10/27/2020   Our Lady Of Lavang Mission (Parish Insurance)                                   $       45.28
ANO   Operating   2118   10/27/2020   Our Lady Of Lavang Mission (Parish Insurance)                                   $       52.43
ANO   Operating   2118   10/27/2020   Our Lady Of Lavang Mission (School Flood Insurance)                             $      738.90
ANO   Operating   2118   10/27/2020   Divine Mercy (Parish Share)                                                     $    8,516.08
ANO   Operating   2118   10/27/2020   Divine Mercy (Priest Health Insurance)                                          $    2,640.34
ANO   Operating   2118   10/27/2020   Divine Mercy (Priest Auto Insurance)                                            $      638.00
ANO   Operating   2118   10/27/2020   Divine Mercy (Priest Retirement)                                                $    1,183.34
ANO   Operating   2118   10/27/2020   Divine Mercy (Parish Insurance)                                                 $    1,541.35
ANO   Operating   2118   10/27/2020   Divine Mercy (Parish Insurance)                                                 $      296.24
ANO   Operating   2118   10/27/2020   Divine Mercy (Parish Insurance)                                                 $      342.97
ANO   Operating   2118   10/27/2020   Divine Mercy (School Insurance)                                                 $    1,782.42
ANO   Operating   2118   10/27/2020   Divine Mercy (School Insurance)                                                 $    1,569.76
ANO   Operating   2118   10/27/2020   Divine Mercy (School Insurance)                                                 $    1,817.40
ANO   Operating   2118   10/27/2020   CATHOLIC FOUNDATION (RENT RECEIVABLES)                                          $    2,865.51
ANO   Operating   2118   10/27/2020   Visitation of Our Lady School (ACCOUNTING ASSISTANCE RECEIVABLE)                $       35.00
ANO   Operating   2118   10/27/2020   Visitation of Our Lady School (ACCOUNTING ASSISTANCE RECEIVABLE)                $       35.00
ANO   Operating   2118   10/27/2020   St. Agnes Le Thi Thanh Church (Parish Share)                                    $    5,731.00
ANO   Operating   2118   10/27/2020   St. Agnes Le Thi Thanh Church (Priest Health Insurance)                         $    1,320.17
ANO   Operating   2118   10/27/2020   St. Agnes Le Thi Thanh Church (Priest Auto Insurance)                           $      319.00
ANO   Operating   2118   10/27/2020   St. Agnes Le Thi Thanh Church (Priest Retirement)                               $      591.67
ANO   Operating   2118   10/27/2020   St. Agnes Le Thi Thanh Church (Parish Insurance)                                $      292.34
ANO   Operating   2118   10/27/2020   St. Agnes Le Thi Thanh Church (Parish Insurance)                                $      933.55
ANO   Operating   2118   10/27/2020   St. Agnes Le Thi Thanh Church (Parish Insurance)                                $       28.01
ANO   Operating   2118   10/27/2020   St. Agnes Le Thi Thanh Church (Parish Insurance)                                $       32.43
ANO   Operating   2118   10/27/2020   St. Katharine Drexel Church (ACCOUNTING ASSISTANCE RECEIVABLE)                  $      105.00
ANO   Operating   2118   10/27/2020   St. Katharine Drexel Church (ACCOUNTING ASSISTANCE RECEIVABLE)                  $       35.00
ANO   Operating   2118   10/27/2020   St. John the Baptist Church (NOLA) (ACCOUNTING ASSISTANCE RECEIVABLE)           $       40.65
ANO   Operating   2118   10/27/2020   St. Patrick Church (New Orleans) (ACCOUNTING ASSISTANCE RECEIVABLE)             $      200.00
ANO   Operating   2118   10/27/2020   St. Patrick Church (New Orleans) (ACCOUNTING ASSISTANCE RECEIVABLE)             $       35.00
ANO   Operating   2118   10/27/2020   St. Dominic School (ACCOUNTING ASSISTANCE RECEIVABLE)                           $      200.00
ANO   Operating   2118   10/27/2020   St. Dominic School (ACCOUNTING ASSISTANCE RECEIVABLE)                           $       35.00
ANO   Operating   2118   10/27/2020   Pope John Paul II High School (ANO School Insurance)                            $    3,110.50
ANO   Operating   2118   10/27/2020   Pope John Paul II High School (ANO School Insurance)                            $    2,397.01
ANO   Operating   2118   10/27/2020   Pope John Paul II High School (ANO School Insurance)                            $    2,810.24
ANO   Operating   2118   10/27/2020   Pope John Paul II High School (ANO School Insurance)                            $    1,833.34
ANO   Operating   2118   10/27/2020   St. Mary Magdalen Church (ACCOUNTING ASSISTANCE RECEIVABLE)                     $      200.00
ANO   Operating   2118   10/27/2020   St. Mary Magdalen Church (Parish Insurance)                                     $    1,481.03
ANO   Operating   2118   10/27/2020   St. Mary Magdalen Church (Parish Insurance)                                     $    1,596.18
ANO   Operating   2118   10/27/2020   St. Mary Magdalen Church (Parish Insurance)                                     $    1,926.73
ANO   Operating   2118   10/27/2020   St. Mary Magdalen Church (School Insurance)                                     $    3,197.89
ANO   Operating   2118   10/27/2020   St. Mary Magdalen Church (School Insurance)                                     $      358.34
ANO   Operating   2118   10/27/2020   St. Mary Magdalen Church (Parish Share)                                         $    7,462.25
ANO   Operating   2118   10/27/2020   St. Mary Magdalen Church (Priest Health Insurance)                              $    1,320.17
ANO   Operating   2118   10/27/2020   St. Mary Magdalen Church (Priest Auto Insurance)                                $      319.00
ANO   Operating   2118   10/27/2020   St. Mary Magdalen Church (Priest Retirement)                                    $      591.67
ANO   Operating   2118   10/27/2020   St. Mary Magdalen Church (ACCOUNTING ASSISTANCE RECEIVABLE)                     $      200.00
ANO   Operating   2118   10/27/2020   Our Lady of Lourdes School (Slidell) (ACCOUNTING ASSISTANCE RECEIVABLE)         $       35.00
ANO   Operating   2118   10/27/2020   Our Lady of Lourdes School (Slidell) (ACCOUNTING ASSISTANCE RECEIVABLE)         $      200.00
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Slidell) (Parish Insurance)                         $      177.00
ANO   Operating   2118   10/27/2020   Archdiocesan Cemeteries Office (Agency Insurance)                               $       62.21
ANO   Operating   2118   10/27/2020   Archdiocesan Cemeteries Office (Agency Insurance)                               $    2,277.00
ANO   Operating   2118   10/27/2020   Archdiocesan Cemeteries Office (Agency Insurance)                               $    2,510.01
ANO   Operating   2118   10/27/2020   Archdiocesan Cemeteries Office (Agency Insurance)                               $    3,033.34
ANO   Operating   2118   10/27/2020   Archdiocesan Cemeteries Office (Agency Insurance)                               $       37.32
ANO   Operating   2118   10/27/2020   Archdiocesan Cemeteries Office (Agency Insurance)                               $      416.58
ANO   Operating   2118   10/27/2020   Archdiocesan Cemeteries Office (Agency Insurance)                               $      108.53
ANO   Operating   2118   10/27/2020   Archdiocesan Cemeteries Office (Agency Insurance)                               $       38.04
ANO   Operating   2118   10/27/2020   Archdiocesan Cemeteries Office (Agency Insurance)                               $      154.53
ANO   Operating   2118   10/27/2020   Archdiocesan Cemeteries Office (Agency Insurance)                               $       98.77
ANO   Operating   2118   10/27/2020   Archdiocesan Cemeteries Office (Agency Insurance)                               $        8.67
ANO   Operating   2118   10/27/2020   Archdiocesan Cemeteries Office (Agency Insurance)                               $       21.25
ANO   Operating   2118   10/27/2020   Archdiocesan Cemeteries Office (Agency Insurance)                               $      249.20
ANO   Operating   2118   10/27/2020   Archdiocesan Cemeteries Office (Agency Insurance)                               $       73.26
ANO   Operating   2118   10/27/2020   Archdiocesan Cemeteries Office (Agency Insurance)                               $      599.19
ANO   Operating   2118   10/27/2020   Archdiocesan Cemeteries Office (Agency Insurance)                               $      245.31
ANO   Operating   2118   10/27/2020   Archdiocesan Cemeteries Office (Agency Insurance)                               $      338.39
ANO   Operating   2118   10/27/2020   Archdiocesan Cemeteries Office (Agency Insurance)                               $      393.37
ANO   Operating   2118   10/27/2020   Archdiocesan Cemeteries Office (Agency Insurance)                               $      747.56
ANO   Operating   2118   10/27/2020   Archdiocesan Cemeteries Office (Agency Insurance)                               $       21.42
ANO   Operating   2118   10/27/2020   Archdiocesan Cemeteries Office (Agency Insurance)                               $      136.17
ANO   Operating   2118   10/27/2020   Archdiocesan Cemeteries Office (Agency Assessment)                              $    1,614.90
ANO   Operating   2118   10/27/2020   Archdiocesan Cemeteries Office (RENT RECEIVABLES)                               $    3,009.09
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 23 of
                                           103
ANO   Operating   2118   10/27/2020   Archdiocesan Cemeteries Office (Agency Flood Insurance)             $    1,708.00
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    1,901.50
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    1,558.67
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      683.75
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    1,901.50
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      610.75
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      263.92
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    3,747.58
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      119.34
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      185.87
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      215.19
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $       63.75
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    3,045.16
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    2,549.40
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    8,743.99
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    8,962.65
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    3,672.00
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $        0.65
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $       90.86
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      105.19
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $        0.71
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      163.58
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      189.38
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      143.44
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      348.72
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    1,054.12
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    1,252.51
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      700.00
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $       13.82
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $        1.02
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      125.35
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      145.12
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      362.19
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      679.52
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    1,658.34
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      766.88
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    3,476.11
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    2,382.66
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    1,820.00
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $        0.85
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      378.16
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      437.81
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $       85.00
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    1,737.18
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    2,016.07
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      350.00
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $        5.87
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      249.11
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      318.77
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      700.00
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      149.30
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      350.00
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $       42.50
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      109.65
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $        0.06
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $        5.10
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $        5.90
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $        4.56
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      359.63
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      416.36
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $       99.45
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $        1.16
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      173.30
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      200.63
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $       11.69
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $        1.69
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      210.00
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      243.65
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    1,582.13
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    2,824.15
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    3,819.07
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $        1.15
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $       91.01
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      105.37
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $       21.62
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    2,027.28
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    2,217.15
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    1,654.74
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $       20.83
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      291.79
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      337.81
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      661.56
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    2,829.92
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    4,107.67
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      378.34
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      732.37
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      282.57
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      327.15
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $       55.62
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $       31.02
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      392.36
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      454.26
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $        4.44
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      272.01
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      317.38
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    1,972.71
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $       43.49
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      176.66
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      204.53
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $        2.21
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      529.60
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      613.15
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $       42.50
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Assessment)        $    3,445.16
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      849.00
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      816.00
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      123.00
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Flood Insurance)   $    3,806.00
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Flood Insurance)   $    3,806.00
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Flood Insurance)   $    1,688.00
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Flood Insurance)   $      741.00
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Flood Insurance)   $    3,090.00
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Flood Insurance)   $    1,403.00
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Flood Insurance)   $    3,546.00
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      100.00
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    1,901.50
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    1,558.67
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      683.75
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    1,901.50
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      610.75
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      263.92
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    3,747.58
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    1,901.50
ANO   Operating   2118   10/27/2020   St. Anselm Church (SALARY REIMBURSEMENTS)                           $    1,789.00
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    1,558.67
ANO   Operating   2118   10/27/2020   St. Anselm Church (Parish Flood Insurance)                          $    1,213.31
ANO   Operating   2118   10/27/2020   St. Anselm Church (Parish Flood Insurance)                          $    1,784.94
ANO   Operating   2118   10/27/2020   St. Anselm Church (SALARY REIMBURSEMENTS)                           $      600.00
ANO   Operating   2118   10/27/2020   St. Anselm Church (SALARY REIMBURSEMENTS)                           $       25.25
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      683.75
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    1,901.50
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      610.75
ANO   Operating   2118   10/27/2020   St. Peter Church (Covington) (Parish Insurance)                     $    2,255.04
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      263.92
ANO   Operating   2118   10/27/2020   St. Peter Church (Covington) (Parish Insurance)                     $      526.30
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    3,747.58
ANO   Operating   2118   10/27/2020   St. Peter Church (Covington) (Parish Insurance)                     $      687.77
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    3,747.58
ANO   Operating   2118   10/27/2020   St. Peter Church (Covington) (Parish Share)                         $   16,676.58
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    1,901.50
ANO   Operating   2118   10/27/2020   St. Peter Church (Covington) (Priest Health Insurance)              $    2,640.34
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    1,558.67
ANO   Operating   2118   10/27/2020   St. Peter Church (Covington) (Priest Auto Insurance)                $      638.00
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      683.75
ANO   Operating   2118   10/27/2020   St. Peter Church (Covington) (Priest Retirement)                    $    1,183.34
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $    1,901.50
ANO   Operating   2118   10/27/2020   St. Peter Church (Covington) (School Insurance)                     $    2,730.00
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      610.75
ANO   Operating   2118   10/27/2020   St. Peter Church (Covington) (School Insurance)                     $    3,567.56
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $      263.92
ANO   Operating   2118   10/27/2020   Catholic Charities, Arch. Of New Orleans (Agency Insurance)         $       87.49
ANO   Operating   2118   10/27/2020   St. Peter Church (Covington) (SALARY REIMBURSEMENTS)                $    1,776.00
ANO   Operating   2118   10/27/2020   St. Peter Church (Covington) (SALARY REIMBURSEMENTS)                $      600.00
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 24 of
                                           103
ANO   Operating   2118   10/27/2020   St. Peter Church (Covington) (SALARY REIMBURSEMENTS)                          $       25.25
ANO   Operating   2118   10/27/2020   St. Anselm Church (Parish Share)                                              $   20,197.33
ANO   Operating   2118   10/27/2020   St. Peter Church (Covington) (School Insurance)                               $    1,380.49
ANO   Operating   2118   10/27/2020   St. Anselm Church (Priest Health Insurance)                                   $    2,640.34
ANO   Operating   2118   10/27/2020   St. Peter Church (Covington) (ACCOUNTING ASSISTANCE RECEIVABLE)               $       35.00
ANO   Operating   2118   10/27/2020   St. Anselm Church (Priest Auto Insurance)                                     $      638.00
ANO   Operating   2118   10/27/2020   St. Anselm Church (Priest Retirement)                                         $    1,183.34
ANO   Operating   2118   10/27/2020   St. Peter Church (Covington) (PARISH ASSESSMENT)                              $      750.12
ANO   Operating   2118   10/27/2020   St. Peter Church (Covington) (PARISH ASSESSMENT)                              $      618.33
ANO   Operating   2118   10/27/2020   St. Peter Church (Covington) (PARISH ASSESSMENT)                              $      618.33
ANO   Operating   2118   10/27/2020   St. Peter Church (Covington) (PARISH ASSESSMENT)                              $      618.33
ANO   Operating   2118   10/27/2020   St. Peter Church (Covington) (PARISH ASSESSMENT)                              $      422.44
ANO   Operating   2118   10/27/2020   St. Peter Church (Covington) (PARISH ASSESSMENT)                              $      687.50
ANO   Operating   2118   10/27/2020   St. Peter Church (Covington) (PARISH ASSESSMENT)                              $      393.33
ANO   Operating   2118   10/27/2020   St. Peter School (Reserve) (ACCOUNTING ASSISTANCE RECEIVABLE)                 $       70.00
ANO   Operating   2118   10/27/2020   St. Gabriel The Archangel Church (Priest Health Insurance)                    $    1,320.17
ANO   Operating   2118   10/27/2020   St. Gabriel The Archangel Church (Parish Insurance)                           $    1,100.00
ANO   Operating   2118   10/27/2020   St. Gabriel The Archangel Church (Priest Auto Insurance)                      $      319.00
ANO   Operating   2118   10/27/2020   St. Gabriel The Archangel Church (Priest Retirement)                          $      510.83
ANO   Operating   2118   10/27/2020   St. Benilde Church (Parish Share)                                             $    2,494.92
ANO   Operating   2118   10/27/2020   St. Benilde Church (Priest Health Insurance)                                  $    1,320.17
ANO   Operating   2118   10/27/2020   St. Benilde Church (Priest Auto Insurance)                                    $      319.00
ANO   Operating   2118   10/27/2020   St. Benilde Church (Priest Retirement)                                        $      591.67
ANO   Operating   2118   10/27/2020   St. Benilde Church (School Insurance)                                         $    1,242.73
ANO   Operating   2118   10/27/2020   St. Benilde Church (School Insurance)                                         $    1,899.69
ANO   Operating   2118   10/27/2020   St. Benilde Church (School Insurance)                                         $    2,340.71
ANO   Operating   2118   10/27/2020   St. Benilde Church (Parish Insurance)                                         $    1,905.81
ANO   Operating   2118   10/27/2020   St. Benilde Church (Parish Insurance)                                         $      150.98
ANO   Operating   2118   10/27/2020   St. Benilde Church (Parish Insurance)                                         $      186.04
ANO   Operating   2118   10/27/2020   St. Benilde Church (ACCOUNTING ASSISTANCE RECEIVABLE)                         $      200.00
ANO   Operating   2118   10/27/2020   St. Benilde Church (PARISH ASSESSMENT)                                        $      178.64
ANO   Operating   2118   10/27/2020   St. Benilde Church (PARISH ASSESSMENT)                                        $       90.67
ANO   Operating   2118   10/27/2020   St. Benilde Church (PARISH ASSESSMENT)                                        $      191.19
ANO   Operating   2118   10/27/2020   St. Benilde Church (PARISH ASSESSMENT)                                        $      378.44
ANO   Operating   2118   10/27/2020   St. Benilde Church (PARISH ASSESSMENT)                                        $      374.99
ANO   Operating   2118   10/27/2020   St. Benilde Church (PARISH ASSESSMENT)                                        $      283.32
ANO   Operating   2118   10/27/2020   Our Lady Of The Rosary Church (ACCOUNTING ASSISTANCE RECEIVABLE)              $       35.00
ANO   Operating   2118   10/27/2020   Our Lady Of The Rosary Church (ACCOUNTING ASSISTANCE RECEIVABLE)              $      200.00
ANO   Operating   2118   10/27/2020   St. Anthony Of Padua Church (New Orleans (BUILDING OFFICE FEE REC.)           $       45.00
ANO   Operating   2118   10/27/2020   St. Anthony Of Padua Church (New Orleans (BUILDING OFFICE FEE REC.)           $       45.00
ANO   Operating   2118   10/27/2020   St. Edward The Confessor Church (BUILDING OFFICE FEE REC.)                    $       45.00
ANO   Operating   2118   10/27/2020   St. Bonaventure Church (Parish Share)                                         $      971.92
ANO   Operating   2118   10/27/2020   St. Bonaventure Church (Priest Health Insurance)                              $    1,320.17
ANO   Operating   2118   10/27/2020   St. Bonaventure Church (Priest Auto Insurance)                                $      319.00
ANO   Operating   2118   10/27/2020   St. Bonaventure Church (Priest Retirement)                                    $      591.67
ANO   Operating   2118   10/27/2020   St. Bonaventure Church (Parish Insurance)                                     $    1,066.73
ANO   Operating   2118   10/27/2020   St. Bonaventure Church (Parish Insurance)                                     $      100.18
ANO   Operating   2118   10/27/2020   St. Bonaventure Church (Parish Insurance)                                     $      115.99
ANO   Operating   2118   10/27/2020   Our Lady Of Perpetual Help Church (Kenne (Parish Insurance)                   $    1,216.32
ANO   Operating   2118   10/27/2020   Our Lady Of Perpetual Help Church (Kenne (Parish Insurance)                   $      462.12
ANO   Operating   2118   10/27/2020   Our Lady Of Perpetual Help Church (Kenne (Parish Insurance)                   $      535.02
ANO   Operating   2118   10/27/2020   Our Lady Of Perpetual Help Church (Kenne (Parish Share)                       $   10,168.42
ANO   Operating   2118   10/27/2020   Our Lady Of Perpetual Help Church (Kenne (Priest Health Insurance)            $    2,640.34
ANO   Operating   2118   10/27/2020   Our Lady Of Perpetual Help Church (Kenne (Priest Auto Insurance)              $      638.00
ANO   Operating   2118   10/27/2020   Our Lady Of Perpetual Help Church (Kenne (Priest Retirement)                  $    1,183.34
ANO   Operating   2118   10/27/2020   Our Lady Of Perpetual Help Church (Kenne (School Insurance)                   $    2,607.41
ANO   Operating   2118   10/27/2020   Our Lady Of Perpetual Help Church (Kenne (School Insurance)                   $    1,153.91
ANO   Operating   2118   10/27/2020   Our Lady Of Perpetual Help Church (Kenne (School Insurance)                   $    1,335.94
ANO   Operating   2118   10/27/2020   Our Lady Of Prompt Succor Church (Westwe (ACCOUNTING ASSISTANCE RECEIVABLE)   $      100.00
ANO   Operating   2118   10/27/2020   St. Jerome Church (ACCOUNTING ASSISTANCE RECEIVABLE)                          $      200.00
ANO   Operating   2118   10/27/2020   St. Jerome Church (ACCOUNTING ASSISTANCE RECEIVABLE)                          $       70.00
ANO   Operating   2118   10/27/2020   St. Jerome Church (Parish Insurance)                                          $    1,235.99
ANO   Operating   2118   10/27/2020   St. Jerome Church (Parish Insurance)                                          $      168.63
ANO   Operating   2118   10/27/2020   St. Jerome Church (Parish Insurance)                                          $      195.23
ANO   Operating   2118   10/27/2020   St. Jerome Church (Parish Share)                                              $    3,853.50
ANO   Operating   2118   10/27/2020   St. Jerome Church (Priest Health Insurance)                                   $    1,320.17
ANO   Operating   2118   10/27/2020   St. Jerome Church (Priest Auto Insurance)                                     $      319.00
ANO   Operating   2118   10/27/2020   St. Jerome Church (Priest Retirement)                                         $      591.67
ANO   Operating   2118   10/27/2020   St. Michael Special School (BUILDING OFFICE FEE REC.)                         $       45.00
ANO   Operating   2118   10/27/2020   St. Joan of Arc School (LaPlace) (ACCOUNTING ASSISTANCE RECEIVABLE)           $       35.00
ANO   Operating   2118   10/27/2020   St. Agnes Church (Parish Share)                                               $    1,824.84
ANO   Operating   2118   10/27/2020   St. Agnes Church (Priest Health Insurance)                                    $    1,320.17
ANO   Operating   2118   10/27/2020   St. Agnes Church (Priest Auto Insurance)                                      $      319.00
ANO   Operating   2118   10/27/2020   St. Agnes Church (Priest Retirement)                                          $      535.99
ANO   Operating   2118   10/27/2020   Hanmaum Korean Catholic Church (SALARY REIMBURSEMENTS)                        $    1,847.00
ANO   Operating   2118   10/27/2020   Hanmaum Korean Catholic Church (SALARY REIMBURSEMENTS)                        $       25.25
ANO   Operating   2118   10/27/2020   Hanmaum Korean Catholic Church (Parish Insurance)                             $      130.57
ANO   Operating   2118   10/27/2020   Hanmaum Korean Catholic Church (Parish Insurance)                             $      229.17
ANO   Operating   2118   10/27/2020   Hanmaum Korean Catholic Church (INSURANCE RECEIVAB)                           $      371.00
ANO   Operating   2118   10/27/2020   Hanmaum Korean Catholic Church (SALARY REIMBURSEMENTS)                        $      754.73
ANO   Operating   2118   10/27/2020   Hanmaum Korean Catholic Church (Parish Insurance)                             $      105.25
ANO   Operating   2118   10/27/2020   Hanmaum Korean Catholic Church (Parish Insurance)                             $      184.75
ANO   Operating   2118   10/27/2020   St. Theresa Of Avila Church (Parish Insurance)                                $      431.90
ANO   Operating   2118   10/27/2020   St. Theresa Of Avila Church (Parish Insurance)                                $      154.10
ANO   Operating   2118   10/27/2020   St. Mary Of The Angels Church (Parish Insurance)                              $      239.83
ANO   Operating   2118   10/27/2020   St. Mary Of The Angels Church (Parish Insurance)                              $      277.67
ANO   Operating   2118   10/27/2020   St. Mary Of The Angels Church (Parish Insurance)                              $      338.01
ANO   Operating   2118   10/27/2020   St. Mary Of The Angels Church (ACCOUNTING ASSISTANCE RECEIVABLE)              $      200.00
ANO   Operating   2118   10/27/2020   St. Mary Of The Angels Church (ACCOUNTING ASSISTANCE RECEIVABLE)              $       35.00
ANO   Operating   2118   10/27/2020   All Saints Church (ACCOUNTING ASSISTANCE RECEIVABLE)                          $      200.00
ANO   Operating   2118   10/27/2020   All Saints Church (Parish Share)                                              $      478.89
ANO   Operating   2118   10/27/2020   All Saints Church (Parish Insurance)                                          $      469.21
ANO   Operating   2118   10/27/2020   All Saints Church (Parish Flood Insurance)                                    $      100.00
ANO   Operating   2118   10/27/2020   All Saints Church (Parish Flood Insurance)                                    $      120.00
ANO   Operating   2118   10/27/2020   All Saints Church (School Flood Insurance)                                    $      131.90
ANO   Operating   2118   10/27/2020   Our Lady Of Guadalupe Church (ACCOUNTING ASSISTANCE RECEIVABLE)               $       35.00
ANO   Operating   2118   10/27/2020   Ochsner Medical Center (DONATIONS)                                            $    2,000.00
ANO   Operating   2118   10/27/2020   Sacred Heart Of Jesus Church (NOTES & LOANS)                                  $   10,000.00
ANO   Operating   2118   10/27/2020   Our Lady Of Divine Providence Church (NOTES & LOANS)                          $    1,000.00
ANO   Operating   2118   10/27/2020   St. Peter Claver Church (NOTES & LOANS)                                       $    4,950.00
ANO   Operating   2118   10/27/2020   St. Jerome Church (Deposit & Loan System)                                     $    1,000.00
ANO   Operating   2118   10/27/2020   St. Catherine Of Siena Church (Deposit & Loan System)                         $    3,913.82
ANO   Operating   2118   10/27/2020   St. Catherine Of Siena Church (Deposit & Loan System)                         $    9,132.24
ANO   Operating   2118   10/27/2020   Divine Mercy (NOTES & LOANS)                                                  $    9,929.45
ANO   Operating   2118   10/27/2020   Ascension Of Our Lord Church (NOTES & LOANS)                                  $    6,000.00
ANO   Operating   2118   10/27/2020   St. Charles Catholic High School (NOTES & LOANS)                              $    3,250.00
ANO   Operating   2118   10/27/2020   St. Charles Catholic High School (NOTES & LOANS)                              $    2,134.39
ANO   Operating   2118   10/27/2020   St. Charles Catholic High School (NOTES & LOANS)                              $   25,000.00
ANO   Operating   2118   10/27/2020   Good Shepherd Church (NOTES & LOANS)                                          $      114.20
ANO   Operating   2118   10/27/2020   Good Shepherd Church (Payable ‐ Pontifical Mission Society)                   $    1,041.00
ANO   Operating   2118   10/27/2020   Good Shepherd Church (CATHOLIC COMMUNICATION)                                 $       40.00
ANO   Operating   2118   10/27/2020   St. Anthony Church (Gretna) (Deposit & Loan System)                           $    2,245.61
ANO   Operating   2118   10/27/2020   Various Payees Through CYO (CAMP ABBEY DONATION)                              $   25,000.00
ANO   Operating   2118   10/27/2020   St. Catherine Of Siena Church (SPECIAL COVERAGES)                             $      110.00
ANO   Operating   2118   10/27/2020   St. Anthony Church (Gretna) (CATHOLIC COMMUNICATION)                          $      942.00
ANO   Operating   2118   10/27/2020   Our Lady Of Prompt Succor Church (Chalme (INTERNET RECEIVABLE)                $      134.25
ANO   Operating   2118   10/27/2020   Catholic Mutual (Fee Income)                                                  $       54.00
ANO   Operating   2118   10/27/2020   Various Payees Through Stella Maris (FEE INCOME‐PORT FEES)                    $      300.00
ANO   Operating   2118   10/27/2020   Various Payees Through Stella Maris (FEE INCOME‐PORT FEES)                    $      100.00
ANO   Operating   2118   10/27/2020   St. Rita School (Harahan) (ACCP INCOME)                                       $       40.00
ANO   Operating   2118   10/27/2020   Various Payees Through Vocations (SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT)     $      234.86
ANO   Operating   2118   10/27/2020   Various Payees Through ORE (HOFINGER CONF INCOM)                              $      962.80
ANO   Operating   2118   10/27/2020   Various Payees Through OCS (FINGERPRINTING INCOME)                            $      290.00
ANO   Operating   2118   10/27/2020   St. Hubert Church (CATHOLIC COMMUNICATION)                                    $      224.00
ANO   Operating   2118   10/27/2020   Most Holy Trinity Church (Payable ‐ Pontifical Mission Society)               $    2,389.96
ANO   Operating   2118   10/27/2020   St. Benedict Church (Payable ‐ Pontifical Mission Society)                    $      491.00
ANO   Operating   2118   10/27/2020   St. Scholastica High School (ELEVATOR RECEIVABLES)                            $    1,193.34
ANO   Operating   2118   10/27/2020   Various Payees Through Marriage & Family Life (MARRIAGE PREPARATION)          $      150.00
ANO   Operating   2118   10/27/2020   St. Mary's Academy (FINGERPRINTING INCOME)                                    $       10.00
ANO   Operating   2118   10/27/2020   United Health Care (Miscellaneous Receivables ‐ EIF & Captive)                $      107.63
ANO   Operating   2118   10/27/2020   St. Margaret Mary School (INTERNET RECEIVABLE)                                $      680.00
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Violet) (CATHOLIC COMMUNICATION)                  $      239.00
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Violet) (Clearing)                                $      910.00
ANO   Operating   2118   10/27/2020   Our Lady Of Lourdes Church (Violet) (DONATIONS)                               $      180.00
ANO   Operating   2118   10/27/2020   St. Dominic Church (CATHOLIC COMMUNICATION)                                   $    2,199.00
ANO   Operating   2118   10/27/2020   St. Francis Xavier Church (CATHOLIC COMMUNICATION)                            $      724.00
ANO   Operating   2118   10/27/2020   St. Katharine Drexel Church (Clearing)                                        $    1,000.00
ANO   Operating   2118   10/27/2020   Divine Mercy (CATHOLIC COMMUNICATION)                                         $      548.00
ANO   Operating   2118   10/27/2020   St. Joan Of Arc Church (CATHOLIC COMMUNICATION)                               $    1,056.00
ANO   Operating   2118   10/27/2020   St. Joan Of Arc Church (BLACK & INDIAN HOME MISSIONS)                         $       30.00
ANO   Operating   2118   10/27/2020   St. Joan Of Arc Church (MILITARY COLLECTION)                                  $       25.00
ANO   Operating   2118   10/27/2020   St. Joachim Church (HOLY LAND DONATIONS)                                      $      248.34
ANO   Operating   2118   10/27/2020   St. Joachim Church (CATHOLIC COMMUNICATION)                                   $      373.00
ANO   Operating   2118   10/27/2020   St. Joachim Church (Clearing)                                                 $      651.00
ANO   Operating   2118   10/27/2020   St. Joseph Church (Algiers) (Payable ‐ Pontifical Mission Society)            $    1,862.00
ANO   Operating   2118   10/27/2020   St. Clement Of Rome Church (CATHOLIC COMMUNICATION)                           $    1,872.00
ANO   Operating   2118   10/27/2020   St. Jerome Church (Payable ‐ Pontifical Mission Society)                      $    1,501.00
ANO   Operating   2118   10/27/2020   St. Jerome Church (CATHOLIC COMMUNICATION)                                    $       20.00
ANO   Operating   2118   10/27/2020   St. Benilde Church (Payable ‐ Pontifical Mission Society)                     $    1,153.00
ANO   Operating   2118   10/27/2020   St. Martha Church (CATHOLIC COMMUNICATION)                                    $       42.00
ANO   Operating   2118   10/27/2020   St. Martha Church (Payable ‐ Pontifical Mission Society)                      $      171.00
ANO   Operating   2118   10/27/2020   Various Payees Through TCC (DONATIONS ‐ SUNDAY)                               $       50.00
ANO   Operating   2118   10/27/2020   Various Payees Through TCC (DONATIONS ‐ SaintMakers)                          $       50.00
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 25 of
                                           103
ANO   Operating   2118   10/27/2020   Various Payees Through TCC (DONATIONS ‐ DEVELOPMENT)                          $      100.00
ANO   Operating   2118   10/27/2020   Various Payees Through TCC (DONATIONS ‐ NEWSLETTER)                           $      300.00
ANO   Operating   2118   10/27/2020   Various Payees Through Catholic Counseling (OUTSIDE COUNSELING)               $      970.00
ANO   Operating   2118   10/27/2020   Various Payees Through OCS (ACCP INCOME)                                      $       20.00
ANO   Operating   2118   10/27/2020   Mary Queen of Peace School (ACCP INCOME)                                      $       60.00
ANO   Operating   2118   10/27/2020   Various Payees Through Camp Abbey (CAMP ABBEY RETREAT FEES)                   $    4,152.00
ANO   Operating   2118   10/27/2020   Various Payees Through Retreat Center (PRAYER ENROLLMENTS)                    $       20.00
ANO   Operating   2118   10/27/2020   Various Payees Through Retreat Center (MAINTENANCE DONATIONS)                 $      200.00
ANO   Operating   2118   10/27/2020   Various Payees Through Retreat Center (DONATIONS)                             $      600.00
ANO   Operating   2118   10/27/2020   Various Payees Through Retreat Center (RETREAT INCOME ‐ SCHEDULED RETREATS)   $    4,850.00
ANO   Operating   2118   10/27/2020   Various Payees Through Retreat Center (RETREAT INCOME ‐ HOSPITALITY)          $      625.00
ANO   Operating   2118   10/27/2020   Various Payees Through Camp Abbey (CAMP ABBEY RETREAT FEES)                   $      100.00
ANO   Operating   2118   10/27/2020   Various Payees Through OCS (FINGERPRINTING INCOME)                            $      290.00
ANO   Operating   2118   10/27/2020   Various Payees Through CYO (YOUTH INSURANCE INC)                              $      150.00
ANO   Operating   2118   10/27/2020   Various Payees Through CYO (YOUTH EVENT INCOME)                               $       60.00
ANO   Operating   2118   10/27/2020   Various Payees Through CYO (PROPERTY RENTAL INC)                              $      360.00
ANO   Operating   2118   10/27/2020   Hanmaum Korean Catholic Church (NOTES & LOANS)                                $    1,500.00
ANO   Operating   2118   10/27/2020   St. Benedict Church (Deposit & Loan System)                                   $    3,753.00
ANO   Operating   2118   10/27/2020   St. Theresa Of Avila Church (Payable ‐ Pontifical Mission Society)            $      300.00
ANO   Operating   2118   10/27/2020   St. Mary Of The Angels Church (HOLY LAND DONATIONS)                           $      211.00
ANO   Operating   2118   10/27/2020   Annunciation Church (Payable ‐ Pontifical Mission Society)                    $      866.00
ANO   Operating   2118   10/27/2020   St. Gertrude Church (SPECIAL COVERAGES)                                       $       95.00
ANO   Operating   2118   10/27/2020   St. Gertrude Church (SPECIAL COVERAGES)                                       $       95.00
ANO   Operating   2118   10/27/2020   Various Payees Through Catholic Counseling (OUTSIDE COUNSELING)               $      603.11
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (ACCP INCOME)                                      $       21.06
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (ACCP INCOME)                                      $       21.06
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (ACCP INCOME)                                      $       21.06
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (ACCP INCOME)                                      $       21.06
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (FINGERPRINTING INCOME)                            $       57.75
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (FINGERPRINTING INCOME)                            $       58.34
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (ACCP INCOME)                                      $       21.06
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (FINGERPRINTING INCOME)                            $      231.45
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (FINGERPRINTING INCOME)                            $       57.75
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (ACCP INCOME)                                      $       21.06
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (ACCP INCOME)                                      $       21.06
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (ACCP INCOME)                                      $       21.06
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (ACCP INCOME)                                      $       21.06
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (ACCP INCOME)                                      $       21.06
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (FINGERPRINTING INCOME)                            $      115.65
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (ACCP INCOME)                                      $       21.06
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (FINGERPRINTING INCOME)                            $      115.65
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (ACCP INCOME)                                      $       21.06
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (FINGERPRINTING INCOME)                            $       57.75
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (FINGERPRINTING INCOME)                            $       58.34
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (FINGERPRINTING INCOME)                            $       57.75
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (ACCP INCOME)                                      $       21.06
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (ACCP INCOME)                                      $       21.06
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (ACCP INCOME)                                      $       21.06
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (ACCP INCOME)                                      $       21.06
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (FINGERPRINTING INCOME)                            $       57.96
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (FINGERPRINTING INCOME)                            $       58.34
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (FINGERPRINTING INCOME)                            $       58.34
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (ACCP INCOME)                                      $       21.06
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (FINGERPRINTING INCOME)                            $       57.75
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (FINGERPRINTING INCOME)                            $       58.34
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (ACCP INCOME)                                      $       21.06
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (ACCP INCOME)                                      $       21.06
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (FINGERPRINTING INCOME)                            $       10.38
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (FINGERPRINTING INCOME)                            $       10.38
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (ACCP INCOME)                                      $       21.06
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (ACCP INCOME)                                      $       21.06
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (ACCP INCOME)                                      $       21.06
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (FINGERPRINTING INCOME)                            $       57.96
ANO   Operating   2118   10/28/2020   Various Payees Through OCS (ACCP INCOME)                                      $       21.06
ANO   Operating   2118   10/29/2020   Notre Dame Health System (Deposit & Loan System)                              $    9,625.00
ANO   Operating   2118   10/30/2020   Notre Dame Health System (Deposit & Loan System)                              $   20,595.00
ANO   Operating   2118   10/30/2020   Mary Queen Of Peace Church (SALARY REIMBURSEMENTS)                            $    1,945.00
ANO   Operating   2118   10/30/2020   Mary Queen Of Peace Church (SALARY REIMBURSEMENTS)                            $      600.00
ANO   Operating   2118   10/30/2020   Mary Queen Of Peace Church (SALARY REIMBURSEMENTS)                            $       25.25
ANO   Operating   2118   10/30/2020   Good Shepherd Church (Parish Flood Insurance)                                 $    3,806.00
ANO   Operating   2118   10/30/2020   St. Stephen School (BUILDING OFFICE FEE REC.)                                 $       45.00
ANO   Operating   2118   10/30/2020   Good Shepherd Church (School Insurance)                                       $    1,237.41
ANO   Operating   2118   10/30/2020   Good Shepherd Church (School Insurance)                                       $    1,432.61
ANO   Operating   2118   10/30/2020   Good Shepherd Church (School Insurance)                                       $    2,822.20
ANO   Operating   2118   10/30/2020   Holy Name Of Mary Church (BUILDING OFFICE FEE REC.)                           $       45.00
ANO   Operating   2118   10/30/2020   Holy Name Of Mary Church (Parish Flood Insurance)                             $    5,966.00
ANO   Operating   2118   10/30/2020   St. Agnes Church (Priest Retirement)                                          $       55.68
ANO   Operating   2118   10/30/2020   St. Agnes Church (Parish Insurance)                                           $    2,344.90
ANO   Operating   2118   10/30/2020   St. Agnes Church (Parish Insurance)                                           $      318.23
ANO   Operating   2118   10/30/2020   St. Agnes Church (Parish Insurance)                                           $      347.16
ANO   Operating   2118   10/30/2020   St. Agnes Church (School Insurance)                                           $    3,071.07
ANO   Operating   2118   10/30/2020   St. Agnes Church (School Insurance)                                           $    1,862.96
ANO   Operating   2118   10/30/2020   St. Francis Xavier Church (Parish Insurance)                                  $    4,174.02
ANO   Operating   2118   10/30/2020   St. Francis Xavier Church (Parish Insurance)                                  $    1,383.32
ANO   Operating   2118   10/30/2020   St. Francis Xavier Church (Parish Insurance)                                  $    1,161.68
ANO   Operating   2118   10/30/2020   St. Francis Xavier Church (School Insurance)                                  $    1,434.28
ANO   Operating   2118   10/30/2020   St. Francis Xavier Church (School Insurance)                                  $    2,770.11
ANO   Operating   2118   10/30/2020   St. Francis Xavier Church (School Insurance)                                  $    2,326.28
ANO   Operating   2118   10/30/2020   St. Francis Xavier Church (Parish Share)                                      $   12,968.67
ANO   Operating   2118   10/30/2020   St. Francis Xavier Church (Priest Health Insurance)                           $    2,640.34
ANO   Operating   2118   10/30/2020   St. Francis Xavier Church (Priest Auto Insurance)                             $      638.00
ANO   Operating   2118   10/30/2020   St. Francis Xavier Church (Priest Retirement)                                 $    1,183.34
ANO   Operating   2118   10/30/2020   St. Francis Xavier Church (Parish Flood Insurance)                            $       69.06
ANO   Operating   2118   10/30/2020   St. Francis Xavier Church (Parish Flood Insurance)                            $      158.63
ANO   Operating   2118   10/30/2020   St. Francis Xavier Church (Parish Flood Insurance)                            $       83.04
ANO   Operating   2118   10/30/2020   St. Francis Xavier Church (Parish Flood Insurance)                            $      397.38
ANO   Operating   2118   10/30/2020   St. Francis Xavier Church (Parish Flood Insurance)                            $      317.17
ANO   Operating   2118   10/30/2020   Our Lady Of Lourdes Church (Slidell) (SALARY REIMBURSEMENTS)                  $    1,782.00
ANO   Operating   2118   10/30/2020   Our Lady Of Lourdes Church (Slidell) (SALARY REIMBURSEMENTS)                  $      600.00
ANO   Operating   2118   10/30/2020   Our Lady Of Lourdes Church (Slidell) (SALARY REIMBURSEMENTS)                  $       25.25
ANO   Operating   2118   10/30/2020   Our Lady Of Lourdes Church (Slidell) (ACCOUNTING ASSISTANCE RECEIVABLE)       $       35.00
ANO   Operating   2118   10/30/2020   Resurrection Of Our Lord Church (BUILDING OFFICE FEE REC.)                    $       44.35
ANO   Operating   2118   10/30/2020   St. Mark Church (ACCOUNTING ASSISTANCE RECEIVABLE)                            $       35.00
ANO   Operating   2118   10/30/2020   St. Cletus Church (PARISH ASSESSMENT)                                         $      250.00
ANO   Operating   2118   10/30/2020   St. Cletus Church (BUILDING OFFICE FEE REC.)                                  $       45.00
ANO   Operating   2118   10/30/2020   St. Cletus Church (Parish Insurance)                                          $      923.65
ANO   Operating   2118   10/30/2020   St. Cletus Church (Parish Insurance)                                          $      266.74
ANO   Operating   2118   10/30/2020   St. Cletus Church (Parish Insurance)                                          $      336.90
ANO   Operating   2118   10/30/2020   St. Cletus Church (Parish Share)                                              $    5,192.92
ANO   Operating   2118   10/30/2020   St. Cletus Church (Priest Health Insurance)                                   $    1,320.17
ANO   Operating   2118   10/30/2020   St. Cletus Church (Priest Auto Insurance)                                     $      319.00
ANO   Operating   2118   10/30/2020   St. Cletus Church (Priest Retirement)                                         $      591.67
ANO   Operating   2118   10/30/2020   St. Cletus Church (School Insurance)                                          $      886.01
ANO   Operating   2118   10/30/2020   St. Cletus Church (School Insurance)                                          $    1,825.71
ANO   Operating   2118   10/30/2020   St. Cletus Church (School Insurance)                                          $    2,305.88
ANO   Operating   2118   10/30/2020   St. Cletus Church (BUILDING OFFICE FEE REC.)                                  $       45.00
ANO   Operating   2118   10/30/2020   St. Cletus Church (PARISH ASSESSMENT)                                         $      383.00
ANO   Operating   2118   10/30/2020   St. Cletus Church (PARISH ASSESSMENT)                                         $      273.00
ANO   Operating   2118   10/30/2020   St. Cletus Church (PARISH ASSESSMENT)                                         $       10.00
ANO   Operating   2118   10/30/2020   St. Cletus Church (PARISH ASSESSMENT)                                         $      628.00
ANO   Operating   2118   10/30/2020   St. Francis Xavier Church (SALARY REIMBURSEMENTS)                             $    1,782.00
ANO   Operating   2118   10/30/2020   St. Francis Xavier Church (SALARY REIMBURSEMENTS)                             $      600.00
ANO   Operating   2118   10/30/2020   St. Francis Xavier Church (SALARY REIMBURSEMENTS)                             $       25.25
ANO   Operating   2118   10/30/2020   St. Francis Xavier Church (BUILDING OFFICE FEE REC.)                          $       45.00
ANO   Operating   2118   10/30/2020   St. Elizabeth Ann Seton School (ACCOUNTING ASSISTANCE RECEIVABLE)             $      200.00
ANO   Operating   2118   10/30/2020   St. Elizabeth Ann Seton School (ACCOUNTING ASSISTANCE RECEIVABLE)             $       35.00
ANO   Operating   2118   10/30/2020   St. Pius X Church (BUILDING OFFICE FEE REC.)                                  $       45.00
ANO   Operating   2118   10/30/2020   St. Alphonsus Church (Parish Share)                                           $    5,815.08
ANO   Operating   2118   10/30/2020   St. Hubert Church (Priest Auto Insurance)                                     $      319.00
ANO   Operating   2118   10/30/2020   St. Hubert Church (Priest Retirement)                                         $      591.67
ANO   Operating   2118   10/30/2020   St. Hubert Church (Parish Insurance)                                          $      995.91
ANO   Operating   2118   10/30/2020   St. Hubert Church (Parish Insurance)                                          $      127.77
ANO   Operating   2118   10/30/2020   St. Hubert Church (Parish Insurance)                                          $      147.93
ANO   Operating   2118   10/30/2020   St. Hubert Church (Parish Share)                                              $    1,022.00
ANO   Operating   2118   10/30/2020   St. Hubert Church (Priest Health Insurance)                                   $    1,320.17
ANO   Operating   2118   10/30/2020   Blessed Sacrament ‐ St Joan Of Arc Church (BUILDING OFFICE FEE REC.)          $       45.00
ANO   Operating   2118   10/30/2020   St. Mary Magdalen Church (BUILDING OFFICE FEE REC.)                           $       45.00
ANO   Operating   2118   10/30/2020   St. Mary Magdalen Church (BUILDING OFFICE FEE REC.)                           $       45.00
ANO   Operating   2118   10/30/2020   St. Charles Borromeo School (ACCOUNTING ASSISTANCE RECEIVABLE)                $       35.00
ANO   Operating   2118   10/30/2020   St. Charles Borromeo Church (School Insurance)                                $    1,903.64
ANO   Operating   2118   10/30/2020   St. Charles Borromeo Church (School Insurance)                                $    1,764.16
ANO   Operating   2118   10/30/2020   St. Charles Borromeo Church (School Insurance)                                $    2,071.28
ANO   Operating   2118   10/30/2020   St. Mary Magdalen School (ACCOUNTING ASSISTANCE RECEIVABLE)                   $       35.00
ANO   Operating   2118   10/30/2020   St. Charles Borromeo Church (Parish Share)                                    $   18,045.00
ANO   Operating   2118   10/30/2020   St. Charles Borromeo Church (Priest Health Insurance)                         $    2,640.34
ANO   Operating   2118   10/30/2020   St. Charles Borromeo Church (Priest Auto Insurance)                           $      638.00
ANO   Operating   2118   10/30/2020   St. Charles Borromeo Church (Priest Retirement)                               $    1,183.34
ANO   Operating   2118   10/30/2020   St. Charles Borromeo Church (Parish Insurance)                                $    1,740.66
ANO   Operating   2118   10/30/2020   St. Charles Borromeo Church (Parish Insurance)                                $      548.52
ANO   Operating   2118   10/30/2020   St. Charles Borromeo Church (Parish Insurance)                                $      644.01
ANO   Operating   2118   10/30/2020   St. Charles Borromeo Church (Parish Insurance)                                $      229.17
ANO   Operating   2118   10/30/2020   St. Charles Borromeo Church (Parish Insurance)                                $      566.24
ANO   Operating   2118   10/30/2020   St. Charles Borromeo Church (BUILDING OFFICE FEE REC.)                        $      255.00
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 26 of
                                           103
ANO   Operating                  2118   10/30/2020   St. Charles Borromeo Church (BUILDING OFFICE FEE REC.)                                                 $        25.00
ANO   Operating                  2118   10/30/2020   St. Charles Borromeo Church (BUILDING OFFICE FEE REC.)                                                 $        45.00
ANO   Operating                  2118   10/30/2020   St. Andrew The Apostle Church (ACCOUNTING ASSISTANCE RECEIVABLE)                                       $        35.00
ANO   Operating                  2118   10/30/2020   St. Andrew the Apostle School (ACCOUNTING ASSISTANCE RECEIVABLE)                                       $        35.00
ANO   Operating                  2118   10/30/2020   St. Charles Borromeo Church (BUILDING OFFICE FEE REC.)                                                 $        45.00
ANO   Operating                  2118   10/30/2020   St. Andrew The Apostle Church (BUILDING OFFICE FEE REC.)                                               $        45.00
ANO   Operating                  2118   10/30/2020   St. Andrew The Apostle Church (BUILDING OFFICE FEE REC.)                                               $        45.00
ANO   Operating                  2118   10/30/2020   St. Andrew The Apostle Church (School Insurance)                                                       $     4,270.04
ANO   Operating                  2118   10/30/2020   St. Andrew The Apostle Church (School Insurance)                                                       $     3,403.64
ANO   Operating                  2118   10/30/2020   St. Andrew The Apostle Church (School Insurance)                                                       $     3,135.57
ANO   Operating                  2118   10/30/2020   St. Andrew The Apostle Church (Parish Insurance)                                                       $     1,719.76
ANO   Operating                  2118   10/30/2020   St. Andrew The Apostle Church (Parish Insurance)                                                       $       478.24
ANO   Operating                  2118   10/30/2020   St. Andrew The Apostle Church (Parish Insurance)                                                       $       440.57
ANO   Operating                  2118   10/30/2020   St. Andrew The Apostle Church (Parish Insurance)                                                       $       283.34
ANO   Operating                  2118   10/30/2020   St. Andrew The Apostle Church (Parish Flood Insurance)                                                 $     3,090.00
ANO   Operating                  2118   10/30/2020   St. Andrew The Apostle Church (Parish Flood Insurance)                                                 $     1,035.00
ANO   Operating                  2118   10/30/2020   St. Andrew The Apostle Church (Parish Flood Insurance)                                                 $     1,902.00
ANO   Operating                  2118   10/30/2020   St. Andrew The Apostle Church (Parish Share)                                                           $    17,908.92
ANO   Operating                  2118   10/30/2020   St. Andrew The Apostle Church (Priest Health Insurance)                                                $     1,320.17
ANO   Operating                  2118   10/30/2020   St. Andrew The Apostle Church (Priest Auto Insurance)                                                  $       319.00
ANO   Operating                  2118   10/30/2020   St. Andrew The Apostle Church (Priest Retirement)                                                      $       591.67
ANO   Operating                  2118   10/30/2020   Sacred Heart Church (Parish Share)                                                                     $       624.41
ANO   Operating                  2118   10/30/2020   Sacred Heart Church (Priest Health Insurance)                                                          $     1,320.17
ANO   Operating                  2118   10/30/2020   Sacred Heart Church (Priest Auto Insurance)                                                            $       141.51
ANO   Operating                  2118   10/30/2020   Sacred Heart Church (Parish Flood Insurance)                                                           $        82.12
ANO   Operating                  2118   10/30/2020   Sacred Heart Church (PARISH ASSESSMENT)                                                                $       151.66
ANO   Operating                  2118   10/30/2020   Sacred Heart Church (PARISH ASSESSMENT)                                                                $       185.15
ANO   Operating                  2118   10/30/2020   OLPH School (Kenner) (ACCOUNTING ASSISTANCE RECEIVABLE)                                                $       200.00
ANO   Operating                  2118   10/30/2020   OLPH School (Kenner) (ACCOUNTING ASSISTANCE RECEIVABLE)                                                $       200.00
ANO   Operating                  2118   10/30/2020   OLPH School (Kenner) (ACCOUNTING ASSISTANCE RECEIVABLE)                                                $        35.00
ANO   Operating                  2118   10/30/2020   OLPH School (Kenner) (ACCOUNTING ASSISTANCE RECEIVABLE)                                                $        35.00
ANO   Operating                  2118   10/30/2020   St. Agnes Church (Deposit & Loan System)                                                               $     8,333.33
ANO   Operating                  2118   10/30/2020   St. Agnes Church (Deposit & Loan System)                                                               $       750.80
ANO   Operating                  2118   10/30/2020   St. Agnes Church (Deposit & Loan System)                                                               $     3,614.00
ANO   Operating                  2118   10/30/2020   Archdiocesan Cemeteries Office (Deposit & Loan System)                                                 $     1,322.00
ANO   Operating                  2118   10/30/2020   Archdiocesan Cemeteries Office (Deposit & Loan System)                                                 $     1,250.00
ANO   Operating                  2118   10/30/2020   Archdiocesan Cemeteries Office (Deposit & Loan System)                                                 $       260.10
ANO   Operating                  2118   10/30/2020   Archdiocesan Cemeteries Office (Deposit & Loan System)                                                 $       614.00
ANO   Operating                  2118   10/30/2020   Archdiocesan Cemeteries Office (Deposit & Loan System)                                                 $     1,237.00
ANO   Operating                  2118   10/30/2020   Archdiocesan Cemeteries Office (Deposit & Loan System)                                                 $       185.55
ANO   Operating                  2118   10/30/2020   St. Francis Xavier Church (Deposit & Loan System)                                                      $       125.00
ANO   Operating                  2118   10/30/2020   St. Raymond & St. Leo The Great Parish (Payable ‐ Pontifical Mission Society)                          $       572.00
ANO   Operating                  2118   10/30/2020   United Health Care (Miscellaneous Receivables ‐ EIF & Captive)                                         $    19,264.22
ANO   Operating                  2118   10/30/2020   Archdiocesan Spirituality Center (POSTAGE RECEIVABLES)                                                 $       170.90
ANO   Operating                  2118   10/30/2020   Texas Petroleum (SMYTH NELSON INCOM)                                                                   $        43.73
ANO   Operating                  2118   10/30/2020   Texas Petroleum (SMYTH NELSON INCOME)                                                                  $       279.07
ANO   Operating                  2118   10/30/2020   St. Ann Square (INTERNET RECEIVABLE)                                                                   $       326.20
ANO   Operating                  2118   10/30/2020   St. Margaret Mary School (INTERNET RECEIVABLE)                                                         $       227.22
ANO   Operating                  2118   10/30/2020   Immaculate Conception Church (New Orlean (Payable ‐ Pontifical Mission Society)                        $     1,360.00
ANO   Operating                  2118   10/30/2020   Immaculate Conception Church (New Orlean (Campaign for Human Development)                              $        50.00
ANO   Operating                  2118   10/30/2020   Resurrection Of Our Lord Church (Payable ‐ Pontifical Mission Society)                                 $       427.00
ANO   Operating                  2118   10/30/2020   St. Matthew The Apostle Church (Payable ‐ Pontifical Mission Society)                                  $     2,062.00
ANO   Operating                  2118   10/30/2020   St. Matthew The Apostle Church (Clearing)                                                              $     1,000.00
ANO   Operating                  2118   10/30/2020   St. Alphonsus Church (Payable ‐ Pontifical Mission Society)                                            $       136.00
ANO   Operating                  2118   10/30/2020   St. Agnes Le Thi Thanh Church (Payable ‐ Pontifical Mission Society)                                   $     3,057.00
ANO   Operating                  2118   10/30/2020   St. Mary Magdalen Church (Payable ‐ Pontifical Mission Society)                                        $     1,196.00
ANO   Operating                  2118   10/30/2020   St. Joan of Arc School (ACCP INCOME)                                                                   $        40.00
ANO   Operating                  2118   10/30/2020   Various Payees through OCS (FINGERPRINTING INCOME)                                                     $       174.00
ANO   Operating                  2118   10/30/2020   Various Payees through OCS (FINGERPRINTING INCOME)                                                     $     1,334.00
ANO   Operating                  2118   10/30/2020   Sacred Heart Church (Payable ‐ Pontifical Mission Society)                                             $       321.00
ANO   Operating                  2118   10/30/2020   St. Hubert Church (Payable ‐ Pontifical Mission Society)                                               $       243.00
ANO   Operating                  2118   10/30/2020   St. Bernard Church (INTERNET RECEIVABLE)                                                               $       102.75
ANO   Operating                  2118   10/31/2020   St. Hubert Church (Deposit & Loan System)                                                              $       850.00
ANO   Operating                  2118   10/31/2020                                                                                                          $       650.00
ANO   Operating                  2118   10/31/2020   Pope John Paul II High School (Deposit & Loan System)                                                  $       561.44
ANO   Operating                  2118   10/31/2020   WHITNEY BANK (To record Whitney interest ‐ October)                                                    $        59.33
ANO   Checking                   9680    10/5/2020   ANO Whitney Operating Account (FBT Wire Transfer 10.5.20 from Whit. Op)                                $   267,000.00
ANO   Checking                   9680    10/8/2020   Various payees through Tulane Catholic Center (To Record TCC Credit Card Deposit ‐ 10.01 ‐ 10.08)      $     2,397.00
ANO   Checking                   9680    10/6/2020   Various payees through Marriage & Family Life (To record Family Life WePay deposit 10.06.2020)         $        57.22
ANO   Checking                   9680    10/8/2020   Various payees through Retreat Center (To Record Retreat Center CC Payments 10.01 ‐ 10.08)             $     6,017.38
ANO   Checking                   9680   10/13/2020   Various payees through Marriage & Family Life (To record Family Life WePay deposit 10.13.2020)         $       858.46
ANO   Checking                   9680   10/15/2020   Hancock Whitney ANO Employee Benefit Trust‐EBA Account x3058 (September 2020 EBO Reimbursement Wire)   $    29,297.34
ANO   Checking                   9680   10/16/2020   Various payees through Tulane Catholic Center (To Record TCC Credit Card Deposit ‐ 10.12 ‐ 10.16)      $     1,243.00
ANO   Checking                   9680   10/16/2020   Various payees through Retreat Center (To Record Retreat Center CC Payments 10.12 ‐ 10.16)             $        85.00
ANO   Checking                   9680   10/19/2020   Various payees through Marriage & Family Life (To record Family Life WePay deposit 10.19.2020)         $       603.36
ANO   Checking                   9680   10/20/2020   ANO Whitney Operating Account (10.20.20 ACH FBT Transfer from Whit Op.)                                $   219,000.00
ANO   Checking                   9680   10/23/2020   Various payees through Tulane Catholic Center (To Record TCC Credit Card Deposit ‐ 10.19 ‐ 10.23)      $     1,822.00
ANO   Checking                   9680   10/23/2020   Various payees through Retreat Center (To Record Retreat Center CC Payments 10.19 ‐ 10.23)             $     1,227.36
ANO   Checking                   9680   10/26/2020   Various payees through Retreat Center (To Record Retreat Center CC Payments 10.24 ‐ 10.31)             $       135.00
ANO   Checking                   9680   10/27/2020   ANO Whitney Operating Account (10.27.20 FBT Transfer from Whitney Operating)                           $    85,000.00
ANO   Checking                   9680   10/27/2020   Various payees through Marriage & Family Life (To record Family Life WePay deposit 10.27.2020)         $       630.49
ANO   Checking                   9680   10/27/2020   Various payees through Retreat Center (To Record Retreat Center CC Payments 10.24 ‐ 10.31)             $        70.00
ANO   Checking                   9680   10/28/2020   Various payees through CYO (To Record CYO Youth Insurance)                                             $       150.98
ANO   Checking                   9680   10/28/2020   Various payees through Retreat Center (To Record Retreat Center CC Payments 10.24 ‐ 10.31)             $        45.00
ANO   Checking                   9680   10/29/2020   Various payees through Retreat Center (To Record Retreat Center CC Payments 10.24 ‐ 10.31)             $       349.10
ANO   Checking                   9680   10/30/2020   Various payees through Tulane Catholic Center (To Record TCC Credit Card Payments ‐ 10.25 ‐ 10.31)     $       465.00
ANO   Business Check Card Acct   9625   10/27/2020   ANO FBT Operating (BCC Account Replenishment)                                                          $     1,000.00
ANO   Business Check Card Acct   9625   10/30/2020   ANO FBT Operating (BCC Account Replenishment)                                                          $        75.33
ANO   Retirement                 2718    10/1/2020   HOLY SPIRIT (Employee Benefit Plan Remittance)                                                         $       154.41
ANO   Retirement                 2718    10/1/2020   PROJECT LAZA (Employee Benefit Plan Remittance)                                                        $     1,430.24
ANO   Retirement                 2718    10/1/2020   ST. MARYS AC (Employee Benefit Plan Remittance)                                                        $     7,242.73
ANO   Retirement                 2718    10/1/2020   ARCHBISHOP S (Employee Benefit Plan Remittance)                                                        $     8,402.55
ANO   Retirement                 2718    10/2/2020   ST. ANTHONY (Employee Benefit Plan Remittance)                                                         $        32.17
ANO   Retirement                 2718    10/2/2020   ST. PETER CA (Employee Benefit Plan Remittance)                                                        $       113.96
ANO   Retirement                 2718    10/2/2020   HOLY FAMILY (Employee Benefit Plan Remittance)                                                         $       138.32
ANO   Retirement                 2718    10/2/2020   ST PHILIP NE (Employee Benefit Plan Remittance)                                                        $       139.53
ANO   Retirement                 2718    10/2/2020   ST. PETER CA (Employee Benefit Plan Remittance)                                                        $       188.50
ANO   Retirement                 2718    10/2/2020   ARCHBISHOP R (Employee Benefit Plan Remittance)                                                        $       196.91
ANO   Retirement                 2718    10/2/2020   SAINT HUBERT (Employee Benefit Plan Remittance)                                                        $       480.07
ANO   Retirement                 2718    10/2/2020   CATHOLIC COM (Employee Benefit Plan Remittance)                                                        $     1,787.98
ANO   Retirement                 2718    10/2/2020   ST. ELIZABET (Employee Benefit Plan Remittance)                                                        $     6,846.41
ANO   Retirement                 2718    10/2/2020   ST. ANTHONY' (Employee Benefit Plan Remittance)                                                        $     8,193.09
ANO   Retirement                 2718    10/2/2020   SECOND HARVE (Employee Benefit Plan Remittance)                                                        $    17,170.51
ANO   Retirement                 2718    10/5/2020   AN330 ASSUMP (Employee Benefit Plan Remittance)                                                        $       363.06
ANO   Retirement                 2718    10/5/2020   SAINT PIUS X (Employee Benefit Plan Remittance)                                                        $     1,609.78
ANO   Retirement                 2718    10/5/2020   SAINT PIUS X (Employee Benefit Plan Remittance)                                                        $    14,112.52
ANO   Retirement                 2718    10/6/2020   ST. PETERS S (Employee Benefit Plan Remittance)                                                        $        55.35
ANO   Retirement                 2718    10/7/2020   THE SOCIETY (Employee Benefit Plan Remittance)                                                         $     1,593.69
ANO   Retirement                 2718    10/7/2020   ROMAN CATHOL (Employee Benefit Plan Remittance)                                                        $    26,716.99
ANO   Retirement                 2718    10/8/2020   ST. AUGUSTIN (Employee Benefit Plan Remittance)                                                        $        39.00
ANO   Retirement                 2718    10/8/2020   ST. JOHN THE (Employee Benefit Plan Remittance)                                                        $       358.93
ANO   Retirement                 2718    10/8/2020   ST. GABRIEL (Employee Benefit Plan Remittance)                                                         $       382.77
ANO   Retirement                 2718    10/8/2020   SOUTHERN DOM (Employee Benefit Plan Remittance)                                                        $     1,728.65
ANO   Retirement                 2718    10/8/2020   OZANAM INN (Employee Benefit Plan Remittance)                                                          $     4,423.56
ANO   Retirement                 2718    10/9/2020   BLESSED FRAN (Employee Benefit Plan Remittance)                                                        $        86.36
ANO   Retirement                 2718    10/9/2020   ST PHILIP NE (Employee Benefit Plan Remittance)                                                        $        96.31
ANO   Retirement                 2718    10/9/2020   ST JOHN BOSC (Employee Benefit Plan Remittance)                                                        $       119.13
ANO   Retirement                 2718    10/9/2020   ST. ANTHONY (Employee Benefit Plan Remittance)                                                         $       129.41
ANO   Retirement                 2718    10/9/2020   ARCHBISHOP R (Employee Benefit Plan Remittance)                                                        $       196.91
ANO   Retirement                 2718    10/9/2020   ST. PATRICK (Employee Benefit Plan Remittance)                                                         $       284.98
ANO   Retirement                 2718    10/9/2020   CONGREGATION (Employee Benefit Plan Remittance)                                                        $       441.18
ANO   Retirement                 2718    10/9/2020   AN156 OUR LA (Employee Benefit Plan Remittance)                                                        $       963.52
ANO   Retirement                 2718    10/9/2020   NEW ORLEANS (Employee Benefit Plan Remittance)                                                         $     6,061.48
ANO   Retirement                 2718    10/9/2020   ROMAN CATHOL (Employee Benefit Plan Remittance)                                                        $     7,201.49
ANO   Retirement                 2718    10/9/2020   ROMAN CATHOL (Employee Benefit Plan Remittance)                                                        $     9,061.36
ANO   Retirement                 2718   10/14/2020   ST. BENILDE (Employee Benefit Plan Remittance)                                                         $     8,298.79
ANO   Retirement                 2718   10/15/2020   ST. FRANCIS (Employee Benefit Plan Remittance)                                                         $        37.50
ANO   Retirement                 2718   10/15/2020   ASSUMPTION O (Employee Benefit Plan Remittance)                                                        $        76.49
ANO   Retirement                 2718   10/15/2020   OUR LADY OF (Employee Benefit Plan Remittance)                                                         $        97.04
ANO   Retirement                 2718   10/15/2020   OUR LADY OF (Employee Benefit Plan Remittance)                                                         $       107.18
ANO   Retirement                 2718   10/15/2020   SACRED HEART (Employee Benefit Plan Remittance)                                                        $       133.01
ANO   Retirement                 2718   10/15/2020   NOTRE DOME S (Employee Benefit Plan Remittance)                                                        $       168.01
ANO   Retirement                 2718   10/15/2020   TRANSFIGURAT (Employee Benefit Plan Remittance)                                                        $       176.79
ANO   Retirement                 2718   10/15/2020   ST. MARY OF (Employee Benefit Plan Remittance)                                                         $       177.06
ANO   Retirement                 2718   10/15/2020   HOLY SPIRIT (Employee Benefit Plan Remittance)                                                         $       217.55
ANO   Retirement                 2718   10/15/2020   ST. ANTHONY (Employee Benefit Plan Remittance)                                                         $       325.52
ANO   Retirement                 2718   10/15/2020   OUR LADY OF (Employee Benefit Plan Remittance)                                                         $       339.05
ANO   Retirement                 2718   10/15/2020   OUR LADY OF (Employee Benefit Plan Remittance)                                                         $       374.68
ANO   Retirement                 2718   10/15/2020   ST MARGARET (Employee Benefit Plan Remittance)                                                         $       387.82
ANO   Retirement                 2718   10/15/2020   ST CATHERINE (Employee Benefit Plan Remittance)                                                        $       465.86
ANO   Retirement                 2718   10/15/2020   ST LUKE THE (Employee Benefit Plan Remittance)                                                         $       496.02
ANO   Retirement                 2718   10/15/2020   ST. JANE DE (Employee Benefit Plan Remittance)                                                         $       503.64
ANO   Retirement                 2718   10/15/2020   ST. BENILDE (Employee Benefit Plan Remittance)                                                         $       503.69
ANO   Retirement                 2718   10/15/2020   ST. MARY MAG (Employee Benefit Plan Remittance)                                                        $       506.72
ANO   Retirement                 2718   10/15/2020   HOLY FAMILY (Employee Benefit Plan Remittance)                                                         $       520.21
ANO   Retirement                 2718   10/15/2020   OUR LADY OF (Employee Benefit Plan Remittance)                                                         $       529.33
ANO   Retirement                 2718   10/15/2020   LOUISIANA CO (Employee Benefit Plan Remittance)                                                        $       553.41
ANO   Retirement                 2718   10/15/2020   CONGREGATION (Employee Benefit Plan Remittance)                                                        $       563.48
ANO   Retirement                 2718   10/15/2020   ST. MARTHA C (Employee Benefit Plan Remittance)                                                        $       571.50
ANO   Retirement                 2718   10/15/2020   HOLY FAMILY (Employee Benefit Plan Remittance)                                                         $       582.12
ANO   Retirement                 2718   10/15/2020   ST. GENEVIEV (Employee Benefit Plan Remittance)                                                        $       604.77
ANO   Retirement                 2718   10/15/2020   AN209 ST. CL (Employee Benefit Plan Remittance)                                                        $       606.63
ANO   Retirement                 2718   10/15/2020   MARY QUEEN O (Employee Benefit Plan Remittance)                                                        $       654.76
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 27 of
                                           103
ANO   Retirement   2718   10/15/2020   ASCENSION OF (Employee Benefit Plan Remittance)   $      685.53
ANO   Retirement   2718   10/15/2020   CATHOLIC CHA (Employee Benefit Plan Remittance)   $      734.31
ANO   Retirement   2718   10/15/2020   ST. ANSELM C (Employee Benefit Plan Remittance)   $      757.20
ANO   Retirement   2718   10/15/2020   ST. RITA CAT (Employee Benefit Plan Remittance)   $      786.10
ANO   Retirement   2718   10/15/2020   ST PETER CLA (Employee Benefit Plan Remittance)   $      837.05
ANO   Retirement   2718   10/15/2020   ST MARGARET (Employee Benefit Plan Remittance)    $      846.80
ANO   Retirement   2718   10/15/2020   ST. ANN CHUR (Employee Benefit Plan Remittance)   $      944.37
ANO   Retirement   2718   10/15/2020   MOST HOLY TR (Employee Benefit Plan Remittance)   $    1,027.67
ANO   Retirement   2718   10/15/2020   MARY QUEEN O (Employee Benefit Plan Remittance)   $    1,093.53
ANO   Retirement   2718   10/15/2020   ST. ANTHONY (Employee Benefit Plan Remittance)    $    1,127.27
ANO   Retirement   2718   10/15/2020   ST STEPHEN S (Employee Benefit Plan Remittance)   $    1,202.38
ANO   Retirement   2718   10/15/2020   CONGREGATION (Employee Benefit Plan Remittance)   $    1,328.03
ANO   Retirement   2718   10/15/2020   PROJECT LAZA (Employee Benefit Plan Remittance)   $    1,342.52
ANO   Retirement   2718   10/15/2020   KNIGHTS OF C (Employee Benefit Plan Remittance)   $    1,492.01
ANO   Retirement   2718   10/15/2020   CORPUS CHRIS (Employee Benefit Plan Remittance)   $    1,571.45
ANO   Retirement   2718   10/15/2020   OUR LADY OF (Employee Benefit Plan Remittance)    $    1,612.06
ANO   Retirement   2718   10/15/2020   ST CATHERINE (Employee Benefit Plan Remittance)   $    1,998.31
ANO   Retirement   2718   10/15/2020   ST. FRANCIS (Employee Benefit Plan Remittance)    $    2,295.81
ANO   Retirement   2718   10/15/2020   ST. MATTHEW (Employee Benefit Plan Remittance)    $    3,122.68
ANO   Retirement   2718   10/15/2020   ST ALPHONSUS (Employee Benefit Plan Remittance)   $    3,134.50
ANO   Retirement   2718   10/15/2020   ST LEO THE G (Employee Benefit Plan Remittance)   $    3,251.40
ANO   Retirement   2718   10/15/2020   ST. JOAN OF (Employee Benefit Plan Remittance)    $    3,380.17
ANO   Retirement   2718   10/15/2020   CONGREGATION (Employee Benefit Plan Remittance)   $    3,624.16
ANO   Retirement   2718   10/15/2020   CLARION HERA (Employee Benefit Plan Remittance)   $    3,820.44
ANO   Retirement   2718   10/15/2020   ASCENSION OF (Employee Benefit Plan Remittance)   $    4,082.68
ANO   Retirement   2718   10/15/2020   SCHOOL FOOD (Employee Benefit Plan Remittance)    $    4,236.58
ANO   Retirement   2718   10/15/2020   ST. ROSALIE (Employee Benefit Plan Remittance)    $    4,321.81
ANO   Retirement   2718   10/15/2020   ST. ANDREW A (Employee Benefit Plan Remittance)   $    4,414.70
ANO   Retirement   2718   10/15/2020   POPE JOHN PA (Employee Benefit Plan Remittance)   $    4,448.72
ANO   Retirement   2718   10/15/2020   OUR LADY OF (Employee Benefit Plan Remittance)    $    4,892.56
ANO   Retirement   2718   10/15/2020   OUR LADY OF (Employee Benefit Plan Remittance)    $    5,214.83
ANO   Retirement   2718   10/15/2020   ST CLETUS SC (Employee Benefit Plan Remittance)   $    5,712.21
ANO   Retirement   2718   10/15/2020   ST. MARY MAG (Employee Benefit Plan Remittance)   $    5,857.10
ANO   Retirement   2718   10/15/2020   NOTRE DOME S (Employee Benefit Plan Remittance)   $    6,526.00
ANO   Retirement   2718   10/15/2020   ST. DOMINIC (Employee Benefit Plan Remittance)    $    6,704.61
ANO   Retirement   2718   10/15/2020   ST. MARYS AC (Employee Benefit Plan Remittance)   $    7,201.05
ANO   Retirement   2718   10/15/2020   ARCHBISHOP S (Employee Benefit Plan Remittance)   $    8,402.55
ANO   Retirement   2718   10/15/2020   ST MARGARET (Employee Benefit Plan Remittance)    $    8,607.26
ANO   Retirement   2718   10/15/2020   CHRISTOPHER (Employee Benefit Plan Remittance)    $    9,417.21
ANO   Retirement   2718   10/15/2020   ST. AUGUSTIN (Employee Benefit Plan Remittance)   $    9,548.10
ANO   Retirement   2718   10/15/2020   CHRISTOPHER (Employee Benefit Plan Remittance)    $   10,798.73
ANO   Retirement   2718   10/15/2020   ST. MATTHEW (Employee Benefit Plan Remittance)    $   11,118.30
ANO   Retirement   2718   10/15/2020   ST SCHOLASTI (Employee Benefit Plan Remittance)   $   11,502.46
ANO   Retirement   2718   10/15/2020   ST. FRANCIS (Employee Benefit Plan Remittance)    $   14,651.68
ANO   Retirement   2718   10/15/2020   ST PHILIP NE (Employee Benefit Plan Remittance)   $   16,132.44
ANO   Retirement   2718   10/15/2020   OUR LADY OF (Employee Benefit Plan Remittance)    $   17,018.03
ANO   Retirement   2718   10/15/2020   ST. PETERS S (Employee Benefit Plan Remittance)   $   20,559.35
ANO   Retirement   2718   10/15/2020   SCHOOL FOOD (Employee Benefit Plan Remittance)    $   24,138.52
ANO   Retirement   2718   10/15/2020   ST CATHERINE (Employee Benefit Plan Remittance)   $   24,256.85
ANO   Retirement   2718   10/15/2020   ST. ANN CHUR (Employee Benefit Plan Remittance)   $   24,440.14
ANO   Retirement   2718   10/15/2020   ARCHBISHOP R (Employee Benefit Plan Remittance)   $   24,745.36
ANO   Retirement   2718   10/16/2020   ST. ANTHONY (Employee Benefit Plan Remittance)    $       32.17
ANO   Retirement   2718   10/16/2020   ST. PETER CA (Employee Benefit Plan Remittance)   $      113.96
ANO   Retirement   2718   10/16/2020   HOLY FAMILY (Employee Benefit Plan Remittance)    $      132.75
ANO   Retirement   2718   10/16/2020   ST. PETER CA (Employee Benefit Plan Remittance)   $      188.50
ANO   Retirement   2718   10/16/2020   ARCHBISHOP R (Employee Benefit Plan Remittance)   $      196.91
ANO   Retirement   2718   10/16/2020   ST PHILIP NE (Employee Benefit Plan Remittance)   $      742.89
ANO   Retirement   2718   10/16/2020   ST. ELIZABET (Employee Benefit Plan Remittance)   $    6,950.89
ANO   Retirement   2718   10/16/2020   ST. ANTHONY' (Employee Benefit Plan Remittance)   $    8,184.89
ANO   Retirement   2718   10/16/2020   SECOND HARVE (Employee Benefit Plan Remittance)   $   17,030.25
ANO   Retirement   2718   10/20/2020   AN157 OUR LA (Employee Benefit Plan Remittance)   $      260.27
ANO   Retirement   2718   10/20/2020   SAINT PIUS X (Employee Benefit Plan Remittance)   $      288.47
ANO   Retirement   2718   10/20/2020   SAINT PIUS X (Employee Benefit Plan Remittance)   $    1,752.17
ANO   Retirement   2718   10/20/2020   CATHOLIC COM (Employee Benefit Plan Remittance)   $    1,787.98
ANO   Retirement   2718   10/20/2020   ST. CHARLES (Employee Benefit Plan Remittance)    $   20,843.06
ANO   Retirement   2718   10/22/2020   ST. AUGUSTIN (Employee Benefit Plan Remittance)   $       39.00
ANO   Retirement   2718   10/22/2020   ST. JOHN THE (Employee Benefit Plan Remittance)   $      358.93
ANO   Retirement   2718   10/22/2020   THE SOCIETY (Employee Benefit Plan Remittance)    $      448.91
ANO   Retirement   2718   10/22/2020   SOUTHERN DOM (Employee Benefit Plan Remittance)   $    1,545.31
ANO   Retirement   2718   10/22/2020   OZANAM INN (Employee Benefit Plan Remittance)     $    4,157.88
ANO   Retirement   2718   10/22/2020   ROMAN CATHOL (Employee Benefit Plan Remittance)   $   25,470.75
ANO   Retirement   2718   10/23/2020   BLESSED FRAN (Employee Benefit Plan Remittance)   $       86.36
ANO   Retirement   2718   10/23/2020   ST PHILIP NE (Employee Benefit Plan Remittance)   $       96.31
ANO   Retirement   2718   10/23/2020   ST JOHN BOSC (Employee Benefit Plan Remittance)   $      119.13
ANO   Retirement   2718   10/23/2020   ARCHBISHOP R (Employee Benefit Plan Remittance)   $      196.91
ANO   Retirement   2718   10/23/2020   OUR LADY OF (Employee Benefit Plan Remittance)    $      423.48
ANO   Retirement   2718   10/23/2020   CONGREGATION (Employee Benefit Plan Remittance)   $      441.18
ANO   Retirement   2718   10/23/2020   ST. PATRICK (Employee Benefit Plan Remittance)    $      689.86
ANO   Retirement   2718   10/23/2020   ST. GABRIEL (Employee Benefit Plan Remittance)    $      854.18
ANO   Retirement   2718   10/23/2020   ST. FRANCIS (Employee Benefit Plan Remittance)    $      960.89
ANO   Retirement   2718   10/23/2020   AN156 OUR LA (Employee Benefit Plan Remittance)   $    1,008.52
ANO   Retirement   2718   10/23/2020   AN157 OUR LA (Employee Benefit Plan Remittance)   $    1,631.52
ANO   Retirement   2718   10/23/2020   ST. PETER CA (Employee Benefit Plan Remittance)   $    3,051.17
ANO   Retirement   2718   10/23/2020   ST. EDWARD T (Employee Benefit Plan Remittance)   $    3,241.85
ANO   Retirement   2718   10/23/2020   ST LOUIS CAT (Employee Benefit Plan Remittance)   $    4,292.19
ANO   Retirement   2718   10/23/2020   NEW ORLEANS (Employee Benefit Plan Remittance)    $    5,914.34
ANO   Retirement   2718   10/23/2020   AN157 OUR LA (Employee Benefit Plan Remittance)   $    8,513.24
ANO   Retirement   2718   10/23/2020   ST. RITA'S C (Employee Benefit Plan Remittance)   $    9,642.29
ANO   Retirement   2718   10/23/2020   ST. EDWARD T (Employee Benefit Plan Remittance)   $   10,132.48
ANO   Retirement   2718   10/26/2020   STS PETER & (Employee Benefit Plan Remittance)    $    2,045.18
ANO   Retirement   2718   10/28/2020   CONG OF ALL (Employee Benefit Plan Remittance)    $      142.38
ANO   Retirement   2718   10/29/2020   ST. JOHN THE (Employee Benefit Plan Remittance)   $      273.75
ANO   Retirement   2718   10/29/2020   PROJECT LAZA (Employee Benefit Plan Remittance)   $    1,617.67
ANO   Retirement   2718   10/29/2020   ARCHBISHOP C (Employee Benefit Plan Remittance)   $   25,037.41
ANO   Retirement   2718   10/30/2020   ST. ANTHONY (Employee Benefit Plan Remittance)    $       32.17
ANO   Retirement   2718   10/30/2020   CONG OF ST. (Employee Benefit Plan Remittance)    $       37.50
ANO   Retirement   2718   10/30/2020   ASSUMPTION O (Employee Benefit Plan Remittance)   $       39.37
ANO   Retirement   2718   10/30/2020   ST. JOACHIM (Employee Benefit Plan Remittance)    $       55.35
ANO   Retirement   2718   10/30/2020   ST PHILIP NE (Employee Benefit Plan Remittance)   $       96.31
ANO   Retirement   2718   10/30/2020   ST. MARY MAG (Employee Benefit Plan Remittance)   $      113.64
ANO   Retirement   2718   10/30/2020   ST. PETER CA (Employee Benefit Plan Remittance)   $      113.96
ANO   Retirement   2718   10/30/2020   OUR LADY OF (Employee Benefit Plan Remittance)    $      128.11
ANO   Retirement   2718   10/30/2020   SAINT JOSEPH (Employee Benefit Plan Remittance)   $      130.70
ANO   Retirement   2718   10/30/2020   CONGREGATION (Employee Benefit Plan Remittance)   $      145.57
ANO   Retirement   2718   10/30/2020   ST MARGARET (Employee Benefit Plan Remittance)    $      154.56
ANO   Retirement   2718   10/30/2020   ST AGNES LE (Employee Benefit Plan Remittance)    $      158.46
ANO   Retirement   2718   10/30/2020   TRANSFIGURAT (Employee Benefit Plan Remittance)   $      176.79
ANO   Retirement   2718   10/30/2020   ST. MARY OF (Employee Benefit Plan Remittance)    $      177.06
ANO   Retirement   2718   10/30/2020   ST. JOHN THE (Employee Benefit Plan Remittance)   $      183.26
ANO   Retirement   2718   10/30/2020   NOTRE DOME S (Employee Benefit Plan Remittance)   $      190.77
ANO   Retirement   2718   10/30/2020   ARCHBISHOP R (Employee Benefit Plan Remittance)   $      196.91
ANO   Retirement   2718   10/30/2020   ST. GERTRUDE (Employee Benefit Plan Remittance)   $      219.75
ANO   Retirement   2718   10/30/2020   HOLY NAME OF (Employee Benefit Plan Remittance)   $      222.81
ANO   Retirement   2718   10/30/2020   HOLY FAMILY (Employee Benefit Plan Remittance)    $      243.50
ANO   Retirement   2718   10/30/2020   ST. ANTHONY (Employee Benefit Plan Remittance)    $      297.22
ANO   Retirement   2718   10/30/2020   ST. KATHARIN (Employee Benefit Plan Remittance)   $      315.63
ANO   Retirement   2718   10/30/2020   OUR LADY OF (Employee Benefit Plan Remittance)    $      339.05
ANO   Retirement   2718   10/30/2020   ST JOHN OF T (Employee Benefit Plan Remittance)   $      346.30
ANO   Retirement   2718   10/30/2020   ST. PETER CA (Employee Benefit Plan Remittance)   $      348.54
ANO   Retirement   2718   10/30/2020   MATER DOLORO (Employee Benefit Plan Remittance)   $      355.41
ANO   Retirement   2718   10/30/2020   ST MARGARET (Employee Benefit Plan Remittance)    $      387.82
ANO   Retirement   2718   10/30/2020   ST LOUIS KIN (Employee Benefit Plan Remittance)   $      388.79
ANO   Retirement   2718   10/30/2020   CHURCH ST CH (Employee Benefit Plan Remittance)   $      398.75
ANO   Retirement   2718   10/30/2020   OUR LADY OF (Employee Benefit Plan Remittance)    $      410.70
ANO   Retirement   2718   10/30/2020   OUR LADY OF (Employee Benefit Plan Remittance)    $      449.67
ANO   Retirement   2718   10/30/2020   ST CATHERINE (Employee Benefit Plan Remittance)   $      458.48
ANO   Retirement   2718   10/30/2020   AN227 ST. JE (Employee Benefit Plan Remittance)   $      483.53
ANO   Retirement   2718   10/30/2020   ST JOSEPH CH (Employee Benefit Plan Remittance)   $      488.49
ANO   Retirement   2718   10/30/2020   ST LUKE THE (Employee Benefit Plan Remittance)    $      497.07
ANO   Retirement   2718   10/30/2020   IMMACULATE C (Employee Benefit Plan Remittance)   $      520.00
ANO   Retirement   2718   10/30/2020   OUR LADY OF (Employee Benefit Plan Remittance)    $      536.32
ANO   Retirement   2718   10/30/2020   LOUISIANA CO (Employee Benefit Plan Remittance)   $      553.41
ANO   Retirement   2718   10/30/2020   OUR LADY OF (Employee Benefit Plan Remittance)    $      590.25
ANO   Retirement   2718   10/30/2020   HOLY FAMILY (Employee Benefit Plan Remittance)    $      590.41
ANO   Retirement   2718   10/30/2020   VISITATION O (Employee Benefit Plan Remittance)   $      603.17
ANO   Retirement   2718   10/30/2020   ST PETER CLA (Employee Benefit Plan Remittance)   $      603.82
ANO   Retirement   2718   10/30/2020   BLESSED TRIN (Employee Benefit Plan Remittance)   $      607.33
ANO   Retirement   2718   10/30/2020   ST. BENEDICT (Employee Benefit Plan Remittance)   $      707.09
ANO   Retirement   2718   10/30/2020   CONGREGATION (Employee Benefit Plan Remittance)   $      707.35
ANO   Retirement   2718   10/30/2020   CATHOLIC CHA (Employee Benefit Plan Remittance)   $      734.31
ANO   Retirement   2718   10/30/2020   SACRED HEART (Employee Benefit Plan Remittance)   $      760.54
ANO   Retirement   2718   10/30/2020   ST PATRICK C (Employee Benefit Plan Remittance)   $      762.38
ANO   Retirement   2718   10/30/2020   ST BERNARD C (Employee Benefit Plan Remittance)   $      819.43
ANO   Retirement   2718   10/30/2020   ST MARGARET (Employee Benefit Plan Remittance)    $      845.85
ANO   Retirement   2718   10/30/2020   OUR LADY OF (Employee Benefit Plan Remittance)    $      856.61
ANO   Retirement   2718   10/30/2020   ST. RITA'S C (Employee Benefit Plan Remittance)   $      862.28
ANO   Retirement   2718   10/30/2020   AN209 ST. CL (Employee Benefit Plan Remittance)   $      885.28
ANO   Retirement   2718   10/30/2020   ST. ANSELM C (Employee Benefit Plan Remittance)   $      910.78
ANO   Retirement   2718   10/30/2020   SACRED HEART (Employee Benefit Plan Remittance)   $      971.79
ANO   Retirement   2718   10/30/2020   OUR LADY OF (Employee Benefit Plan Remittance)    $      993.38
ANO   Retirement   2718   10/30/2020   ST. ANN CHUR (Employee Benefit Plan Remittance)   $    1,102.31
ANO   Retirement   2718   10/30/2020   ST. ELIZABET (Employee Benefit Plan Remittance)   $    1,167.07
ANO   Retirement   2718   10/30/2020   HOLY NAME OF (Employee Benefit Plan Remittance)   $    1,184.81
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 28 of
                                           103
ANO   Retirement                2718   10/30/2020   MOST HOLY TR (Employee Benefit Plan Remittance)                                $         1,196.71
ANO   Retirement                2718   10/30/2020   ST STEPHEN S (Employee Benefit Plan Remittance)                                $         1,223.09
ANO   Retirement                2718   10/30/2020   ST. ANN CHUR (Employee Benefit Plan Remittance)                                $         1,249.53
ANO   Retirement                2718   10/30/2020   ST CLETUS SC (Employee Benefit Plan Remittance)                                $         1,308.82
ANO   Retirement                2718   10/30/2020   CONGREGATION (Employee Benefit Plan Remittance)                                $         1,351.74
ANO   Retirement                2718   10/30/2020   ST. MATTHEW (Employee Benefit Plan Remittance)                                 $         1,369.71
ANO   Retirement                2718   10/30/2020   MARY QUEEN O (Employee Benefit Plan Remittance)                                $         1,476.44
ANO   Retirement                2718   10/30/2020   CONGREGATION (Employee Benefit Plan Remittance)                                $         1,479.29
ANO   Retirement                2718   10/30/2020   KNIGHTS OF C (Employee Benefit Plan Remittance)                                $         1,482.65
ANO   Retirement                2718   10/30/2020   ST. AGNES RO (Employee Benefit Plan Remittance)                                $         1,557.25
ANO   Retirement                2718   10/30/2020   CORPUS CHRIS (Employee Benefit Plan Remittance)                                $         1,571.45
ANO   Retirement                2718   10/30/2020   OUR LADY OF (Employee Benefit Plan Remittance)                                 $         1,622.73
ANO   Retirement                2718   10/30/2020   OUR LADY OF (Employee Benefit Plan Remittance)                                 $         1,682.54
ANO   Retirement                2718   10/30/2020   AN275 GOOD S (Employee Benefit Plan Remittance)                                $         1,769.46
ANO   Retirement                2718   10/30/2020   ST RITA SCHO (Employee Benefit Plan Remittance)                                $         2,522.87
ANO   Retirement                2718   10/30/2020   ST ALPHONSUS (Employee Benefit Plan Remittance)                                $         3,048.58
ANO   Retirement                2718   10/30/2020   ST LEO THE G (Employee Benefit Plan Remittance)                                $         3,286.97
ANO   Retirement                2718   10/30/2020   CONGREGATION (Employee Benefit Plan Remittance)                                $         3,615.37
ANO   Retirement                2718   10/30/2020   OUR LADY OF (Employee Benefit Plan Remittance)                                 $         3,649.72
ANO   Retirement                2718   10/30/2020   CLARION HERA (Employee Benefit Plan Remittance)                                $         3,820.53
ANO   Retirement                2718   10/30/2020   OUR LADY OF (Employee Benefit Plan Remittance)                                 $         4,203.42
ANO   Retirement                2718   10/30/2020   ST. ROSALIE (Employee Benefit Plan Remittance)                                 $         4,248.93
ANO   Retirement                2718   10/30/2020   SCHOOL FOOD (Employee Benefit Plan Remittance)                                 $         4,346.38
ANO   Retirement                2718   10/30/2020   ST. ANDREW A (Employee Benefit Plan Remittance)                                $         4,538.52
ANO   Retirement                2718   10/30/2020   OUR LADY OF (Employee Benefit Plan Remittance)                                 $         5,141.71
ANO   Retirement                2718   10/30/2020   ROMAN CATHOL (Employee Benefit Plan Remittance)                                $         5,398.88
ANO   Retirement                2718   10/30/2020   ST CLETUS SC (Employee Benefit Plan Remittance)                                $         5,590.03
ANO   Retirement                2718   10/30/2020   POPE JOHN PA (Employee Benefit Plan Remittance)                                $         5,716.76
ANO   Retirement                2718   10/30/2020   NOTRE DOME S (Employee Benefit Plan Remittance)                                $         6,526.00
ANO   Retirement                2718   10/30/2020   CONGREGATION (Employee Benefit Plan Remittance)                                $         6,705.78
ANO   Retirement                2718   10/30/2020   ST. ELIZABET (Employee Benefit Plan Remittance)                                $         6,985.15
ANO   Retirement                2718   10/30/2020   ST. DOMINIC (Employee Benefit Plan Remittance)                                 $         7,141.95
ANO   Retirement                2718   10/30/2020   ST. MARYS AC (Employee Benefit Plan Remittance)                                $         7,298.97
ANO   Retirement                2718   10/30/2020   ST. JOAN OF (Employee Benefit Plan Remittance)                                 $         8,434.85
ANO   Retirement                2718   10/30/2020   ST. ANTHONY' (Employee Benefit Plan Remittance)                                $         8,450.43
ANO   Retirement                2718   10/30/2020   ST. THERESE (Employee Benefit Plan Remittance)                                 $         8,795.27
ANO   Retirement                2718   10/30/2020   CHRISTOPHER (Employee Benefit Plan Remittance)                                 $         9,273.63
ANO   Retirement                2718   10/30/2020   ST. AUGUSTIN (Employee Benefit Plan Remittance)                                $         9,469.98
ANO   Retirement                2718   10/30/2020   CONG OF RESU (Employee Benefit Plan Remittance)                                $        10,049.43
ANO   Retirement                2718   10/30/2020   CHRISTOPHER (Employee Benefit Plan Remittance)                                 $        10,858.14
ANO   Retirement                2718   10/30/2020   ST SCHOLASTI (Employee Benefit Plan Remittance)                                $        11,708.25
ANO   Retirement                2718   10/30/2020   AN209 ST. CL (Employee Benefit Plan Remittance)                                $        11,914.13
ANO   Retirement                2718   10/30/2020   VISITATION O (Employee Benefit Plan Remittance)                                $        12,287.65
ANO   Retirement                2718   10/30/2020   ST ANGELA ME (Employee Benefit Plan Remittance)                                $        12,609.71
ANO   Retirement                2718   10/30/2020   HOLY NAME OF (Employee Benefit Plan Remittance)                                $        13,035.62
ANO   Retirement                2718   10/30/2020   ST. MICHAEL (Employee Benefit Plan Remittance)                                 $        13,077.89
ANO   Retirement                2718   10/30/2020   ROMAN CATHOL (Employee Benefit Plan Remittance)                                $        15,278.88
ANO   Retirement                2718   10/30/2020   CHURCH ST CH (Employee Benefit Plan Remittance)                                $        15,931.69
ANO   Retirement                2718   10/30/2020   ST LOUIS KIN (Employee Benefit Plan Remittance)                                $        16,107.46
ANO   Retirement                2718   10/30/2020   SECOND HARVE (Employee Benefit Plan Remittance)                                $        17,182.34
ANO   Retirement                2718   10/30/2020   MARY QUEEN O (Employee Benefit Plan Remittance)                                $        18,386.03
ANO   Retirement                2718   10/30/2020   IMMACULATE C (Employee Benefit Plan Remittance)                                $        18,529.13
ANO   Retirement                2718   10/30/2020   SCHOOL FOOD (Employee Benefit Plan Remittance)                                 $        22,660.53
ANO   Retirement                2718   10/30/2020   ARCHBISHOP H (Employee Benefit Plan Remittance)                                $        22,820.43
ANO   Savings                   5245   10/30/2020   Liberty Bank (Interest Income)                                                 $            13.76
ANO   Employee Insurance Fund   0766    10/2/2020   Various (EIF Premium Deposit 10.2.20)                                          $       361,103.15
ANO   Employee Insurance Fund   0766    10/5/2020   ANO Whitney Operating (General Fund Loan to EIF)                               $       200,000.00
ANO   Employee Insurance Fund   0766    10/7/2020   Various (10.7.20 EIF Premium Deposit)                                          $       966,077.07
ANO   Employee Insurance Fund   0766    10/9/2020   ANO Captive (August 2020 Captive MSL 10‐300 Reimbursement from Captive)        $     1,251,880.05
ANO   Employee Insurance Fund   0766   10/14/2020   Various (10.14.20 EIF Premium Deposit)                                         $       176,633.16
ANO   Employee Insurance Fund   0766   10/21/2020   Various (10.21.20 EIF Premium Deposit)                                         $        65,292.03
ANO   Employee Insurance Fund   0766   10/26/2020   ANO Whitney Operating Account (ANO General Fund Loan to EIF)                   $       300,000.00
ANO   Employee Insurance Fund   0766   10/27/2020   ANO Captive (September 2020 MSL 10‐300 Captive Transfer)                       $     1,142,642.48
ANO   Employee Insurance Fund   0766   10/31/2020   UMR (UMR Credit to Offset EIF Claims)                                          $         3,599.76
ANO   Employee Insurance Fund   0766   10/31/2020   Whitney Bank (Whitney EIF October 2020 Interest Income)                        $             8.57
ANO   Self Insurance Account    4265    10/1/2020   ANO Whitney Operating (Account Funding)                                        $        14,827.96
ANO   Self Insurance Account    4265    10/5/2020   ANO Whitney Operating (Account Funding)                                        $        30,000.00
ANO   Self Insurance Account    4265    10/6/2020   ANO Whitney Operating (Account Funding)                                        $        45,479.35
ANO   Self Insurance Account    4265    10/8/2020   ANO Whitney Operating (Account Funding)                                        $        26,944.89
ANO   Self Insurance Account    4265   10/13/2020   ANO Whitney Operating (Account Funding)                                        $        42,503.78
ANO   Self Insurance Account    4265   10/15/2020   ANO Whitney Operating (Account Funding)                                        $        11,565.79
ANO   Self Insurance Account    4265   10/20/2020   ANO Whitney Operating (Account Funding)                                        $        24,204.83
ANO   Self Insurance Account    4265   10/27/2020   ANO Whitney Operating (Account Funding)                                        $        25,070.59
ANO   Care & Compassion         4257   10/27/2020   ANO Whitney Operating (Account Funding)                                        $            53.98

                                                                                                                              Total $   20,463,259.31
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 29 of
                                           103
Cash Disbursements Journal
Cash Name                    The Roman Catholic Church of the Archdiocese of New Orleans
Case Number                  20‐10846


Entity Key                   Account Name                                                  Account # Ending in   Date         Check No. / Ref No.   Payee                                                 Description (Purpose)*, **                                                                        Amount                 Note   Insider?
SLC                          Operating Account                                             9250                  10/31/2020   930                   Primepay                                              Payroll fees                                                                                      $            35.00
SLC                          Operating Account                                             9250                  10/31/2020   930                   Capital One                                           Bank charges                                                                                      $            38.05
SLC                          Operating Account                                             9250                  10/31/2020   930                   FDC Financial                                         Bank charges                                                                                      $            20.00
SLC                          Souvenir Shop Account                                         3728                  10/06/2020                         Mercury Payment Systems                               Credit card fees                                                                                  $           282.56
SLC                          Souvenir Shop Account                                         3728                  10/06/2020                         Mercury Payment Systems                               Credit card fees                                                                                  $           357.29
SLC                          Operating Account                                             4085                  10/28/2020   5776                                                                        Personnel ‐ security                                                                              $           150.00
SLC                          Operating Account                                             4085                  10/28/2020   5775                  Southern Services, LLC                                Lawn & garden                                                                                     $           800.00
SLC                          Operating Account                                             4085                  10/28/2020   5774                                                                        Personnel ‐ security                                                                              $           600.00
SLC                          Operating Account                                             4085                  10/27/2020   5773                  Cox Communications                                    Cable                                                                                             $           229.66
SLC                          Operating Account                                             4085                  10/27/2020   5772                  Cox Communications                                    Cable                                                                                             $           217.07
SLC                          Operating Account                                             4085                  10/27/2020   5771                  Guillory Sheet Metal Works                            Repairs ‐ A/C & Heat                                                                              $           594.00
SLC                          Operating Account                                             4085                  10/27/2020   5770                  Archdiocese of New Orleans                            Flood Insurance                                                                                   $         3,806.00
SLC                          Operating Account                                             4085                  10/27/2020   5768                  Sewerage and Water Board of New Orleans               Water                                                                                             $           170.26
SLC                          Operating Account                                             4085                  10/27/2020   5767                  AT&T                                                  Computer Expense                                                                                  $            40.00
SLC                          Operating Account                                             4085                  10/22/2020   5765                                                                        Personnel ‐ organist, cantor, musicians                                                           $           250.00
SLC                          Operating Account                                             4085                  10/22/2020   5764                                                                        Personnel ‐ organist, cantor, musicians                                                           $           250.00
SLC                          Operating Account                                             4085                  10/22/2020   5763                                                                        Personnel ‐ organist, cantor, musicians                                                           $           250.00
SLC                          Operating Account                                             4085                  10/22/2020   5762                                                                        Personnel ‐ organist, cantor, musicians                                                           $           250.00
SLC                          Operating Account                                             4085                  10/22/2020   5761                  A & L Sales                                           Janitorial Supplies                                                                               $           795.32
SLC                          Operating Account                                             4085                  10/22/2020   5760                  Heritage Electrical Co., Inc.                         Extraordinary Repairs                                                                             $           275.00
SLC                          Operating Account                                             4085                  10/22/2020   5759                  American Sprinkler Company, Inc.                      Permits & inspections                                                                             $           325.00
SLC                          Operating Account                                             4085                  10/22/2020   5758                  Sewerage and Water Board of New Orleans               Water                                                                                             $            55.11
SLC                          Operating Account                                             4085                  10/22/2020   5757                  AT&T Mobility                                         Telephone                                                                                         $           245.10
SLC                          Operating Account                                             4085                  10/22/2020   5756                  Uniti Fiber                                           Telephone                                                                                         $           940.89
SLC                          Operating Account                                             4085                  10/15/2020   5755                  Hancock Whitney Bank                                  Lawn & garden                                                                                     $           313.12
SLC                          Operating Account                                             4085                  10/15/2020   5754                  Entergy                                               Electric                                                                                          $            19.19
SLC                          Operating Account                                             4085                  10/15/2020   5753                  Entergy                                               Electric                                                                                          $           189.31
SLC                          Operating Account                                             4085                  10/15/2020   5752                  Archdiocese of New Orleans                            Office contracts; subscriptions & memberships                                                     $           235.00
SLC                          Operating Account                                             4085                  10/15/2020   5751                                                                        Miscellaneous Household expenses                                                                  $            61.29
SLC                          Operating Account                                             4085                  10/12/2020   5750                  Entergy                                               Electric                                                                                          $         2,027.91
SLC                          Operating Account                                             4069                  10/28/2020   33540                                                                       Church Security ‐ masses                                                                          $           100.00
SLC                          Operating Account                                             4069                  10/28/2020   33539                                                                       Church Security ‐ masses                                                                          $           100.00
SLC                          Operating Account                                             4069                  10/28/2020   33538                                                                       Contract Labor ‐ Others ‐ security                                                                $           150.00
SLC                          Operating Account                                             4069                  10/28/2020   33537                                                                       Contract Labor ‐ Others; Church security ‐ masses                                                 $           950.00
SLC                          Operating Account                                             4069                  10/27/2020   33536                                                                       Janitorial services                                                                               $           375.00
SLC                          Operating Account                                             4069                  10/27/2020   33535                 The Guardian Life Insurance Company of America        Health Insurance                                                                                  $           142.56
SLC                          Operating Account                                             4069                  10/27/2020   33534                 Cox Communications                                    cable                                                                                             $           221.69
SLC                          Operating Account                                             4069                  10/27/2020   33533                 Gallagher Benefit Service                             Health Insurance                                                                                  $         6,360.87
SLC                          Operating Account                                             4069                  10/27/2020   33532                 Loose Leaf Lectionary                                 Subscriptions & memberships                                                                       $            84.95
SLC                          Operating Account                                             4069                  10/27/2020   33531                 Light Bulb Depot                                      Janitorial supplies                                                                               $            78.80
SLC                          Operating Account                                             4069                  10/23/2020   926                   October Payroll                                       October Payroll                                                                                   $        28,004.73
SLC                          Operating Account                                             4069                  10/23/2020   926                   October Payroll                                       October Payroll                                                                                   $        10,881.57
SLC                          Operating Account                                             4069                  10/23/2020   926                   October Payroll                                       October Payroll                                                                                   $         5,059.44
SLC                          Operating Account                                             4069                  10/23/2020   926                   October Payroll                                       October Payroll                                                                                   $           114.00
SLC                          Operating Account                                             4069                  10/18/2020   33530                 Sewerage & Water Board of New Orleans                 Water                                                                                             $           284.55
SLC                          Operating Account                                             4069                  10/18/2020   33529                                                                       Cambon section leader; Contract labor ‐ others ‐ organist, choir, musicians                       $           375.00
SLC                          Operating Account                                             4069                  10/18/2020   33528                                                                       Contract Labor ‐ others ‐ organist, choir, musicians                                              $           500.00
SLC                          Operating Account                                             4069                  10/18/2020   33527                                                                       Contract Labor ‐ others ‐ organist, choir, musicians                                              $           750.00
SLC                          Operating Account                                             4069                  10/18/2020   33526                                                                       Cambon section leader                                                                             $           350.00
SLC                          Operating Account                                             4069                  10/18/2020   33525                 Heritage Electrical Co. Inc.                          Ordinary repairs ‐ church                                                                         $         1,675.00
SLC                          Operating Account                                             4069                  10/18/2020   33524                 Nashville Chemical                                    Contracted services ‐ Unifirst                                                                    $           216.24
SLC                          Operating Account                                             4069                  10/18/2020   33523                 Sonitrol of New Orleans, Inc.                         Alarm monitoring                                                                                  $           237.00
SLC                          Operating Account                                             4069                  10/18/2020   33522                 Accardo and Lambert Plumbing and Heating, Inc         Ordinary repairs ‐ rectory, convent, St. Ann                                                      $           275.00
SLC                          Operating Account                                             4069                  10/18/2020   33521                 J. Prestes & Co., Inc.                                Sanctuary Expenses : registers, certificates                                                      $           154.62
SLC                          Operating Account                                             4069                  10/18/2020   33520                 Gulf Coast Office Products                            Office contracts                                                                                  $            29.53
SLC                          Operating Account                                             4069                  10/18/2020   33519                 Kentwood Spring Water                                 Miscellaneous household expenses                                                                  $           186.30
SLC                          Operating Account                                             4069                  10/18/2020   33518                 Sewerage & Water Board of New Orleans                 Water                                                                                             $                 ‐
SLC                          Operating Account                                             4069                  10/18/2020   33517                 Sewerage & Water Board of New Orleans                 Water                                                                                             $            72.99
SLC                          Operating Account                                             4069                  10/18/2020   33516                 Sewerage & Water Board of New Orleans                 Water                                                                                             $           181.20
SLC                          Operating Account                                             4069                  10/18/2020   33515                                                                       Janitorial services                                                                               $           375.00
SLC                          Operating Account                                             4069                  10/16/2020   928                   Whitney                                               Bank charges                                                                                      $              8.93
                                                                                                                                                                                                          Sanctuary expenses ‐ supplies; linen & vestments; office supplies; food & household
                                                                                                                                                                                                          consumables; linen & laundry; miscellaneous household expenses; cable; telephone;
                                                                                                                                                                                                          janitorial supplies; repairs ‐ church; repairs ‐ rectory, convent, St. Ann; pairsh appreciation
SLC                          Operating Account                                             4069                  10/15/2020   33514                 Hancock Whitney Bank                                  dinner; parish fellowhip; subscriptions & memberships                                             $          2,893.80
SLC                          Operating Account                                             4069                  10/15/2020   33513                 Sam's Club                                            Food & household consumables; miscellaneous household expense                                     $            296.85
SLC                          Operating Account                                             4069                  10/15/2020   33512                                                                       Automobile & business expense                                                                     $              33.00
SLC                          Operating Account                                             4069                  10/15/2020   33511                 Our Sunday Visitor, Inc.                              Collection envelopes                                                                              $               2.93
SLC                          Operating Account                                             4069                  10/14/2020   33510                 NOLA+Design, Inc                                      Landscaping expenses ‐ St. Anthony                                                                $          1,394.33
SLC                          Operating Account                                             4069                  10/14/2020   33509                 Archdiocese of New Orleans                            Monthly assessment                                                                                $         10,295.68
SLC                          Operating Account                                             4069                  10/14/2020   33508                 Terminix                                              Pest control                                                                                      $            713.00
SLC                          Operating Account                                             4069                  10/14/2020   33507                 Loomis                                                Office contracts                                                                                  $            276.94
SLC                          Operating Account                                             4069                  10/14/2020   33506                 Our Sunday Visitor, Inc.                              Collection envelopes                                                                              $            204.00
SLC                          Operating Account                                             4069                  10/14/2020   33505                 Entergy                                               Electric                                                                                          $              36.97
SLC                          Operating Account                                             4069                  10/14/2020   33504                 Archdiocese of New Orleans                            Subscriptions & memberships                                                                       $              35.00
SLC                          Operating Account                                             4069                  10/14/2020   33503                 Entergy                                               Electric                                                                                          $              19.19
SLC                          Operating Account                                             4069                  10/14/2020   33502                 Entergy                                               Electric                                                                                          $            159.38
SLC                          Operating Account                                             4069                  10/14/2020   33501                 Sewerage & Water Board of New Orleans                 Water                                                                                             $            850.10
SLC                          Operating Account                                             4069                  10/14/2020   33500                                                                       Janitorial services                                                                               $            375.00
SLC                          Operating Account                                             4069                  10/13/2020   33499                 P & L Painting Contractors                            Insured repairs & replacement                                                                     $          5,600.00
SLC                          Operating Account                                             4069                  10/12/2020   33498                 Josephite Community                                   Contract Labor ‐ extra priests                                                                    $              50.00
SLC                          Operating Account                                             4069                  10/12/2020   33497                                                                       Contract Labor ‐ extra priests                                                                    $            100.00
SLC                          Operating Account                                             4069                  10/12/2020   33496                 Entergy                                               Electric                                                                                          $          3,428.07
SLC                          Operating Account                                             4069                  10/12/2020   33495                 Entergy                                               Electric                                                                                          $            960.90
SLC                          Operating Account                                             4069                  10/12/2020   33494                 Guillory Sheet Metal                                  Repairs ‐ A/C & Heating                                                                           $            740.00
SLC                          Operating Account                                             4069                  10/12/2020   33493                 U.S. Bank                                             Office contracts                                                                                  $            259.99
SLC                          Operating Account                                             4069                  10/12/2020   33492                 Doerries International Co., Inc.                      Altar Wine                                                                                        $            173.60
SLC                          Operating Account                                             4069                  10/12/2020   33491                 Waste Connections Bayou, INC                          Contracted services ‐ Unifirst                                                                    $            612.43
SLC                          Operating Account                                             4069                  10/12/2020   33490                 Federico's Family Florist                             Appreciation Dinner                                                                               $            156.50
SLC                          Operating Account                                             4069                  10/08/2020   33489                                                                       Janitorial Services                                                                               $            375.00
SLC                          Operating Account                                             4069                  10/07/2020   33488                 Archdiocese of New Orleans                            Subscriptions & memberships                                                                       $            235.00
SLC                          Operating Account                                             4069                  10/07/2020   927                   deposit correction                                    Loose Collection                                                                                  $              10.00
SLC                          Operating Account                                             4069                  10/06/2020   929                   Bank charges                                          Bank charges                                                                                      $              58.11
SLC                          Operating Account                                             4069                  10/02/2020   33487                                                                       Contract labor ‐ others ‐ part‐time sacristan                                                     $            420.00
SLC                          Operating Account                                             4069                  10/01/2020   33486                                                                       Automobile & business expense                                                                     $            250.00
SLC                          Operating Account                                             4069                  10/01/2020   33485                                                                       Automobile & business expense                                                                     $              75.00
SLC                          Operating Account                                             4069                  10/01/2020   33483                                                                       Automobile & business expense                                                                     $            100.00
SLC                          Operating Account                                             4069                  10/01/2020   33482                                                                       Automobile & business expense                                                                     $            600.00
SLC                          Operating Account                                             4069                  10/01/2020   33481                                                                       Janitorial services                                                                               $            375.00
SLC                          Souvenir Shop Account                                         4077                  10/14/2020   4816                  McVan, Inc                                            Product purchases                                                                                 $              33.39
SLC                          Souvenir Shop Account                                         4077                  10/14/2020   4815                  Louisiana Department of Revenue                       Sales tax                                                                                         $            266.00
SLC                          Souvenir Shop Account                                         4077                  10/14/2020   4814                  City of New Orleans Department of Finance             Sales tax                                                                                         $            299.00
SLC                          Souvenir Shop Account                                         4077                  10/14/2020   4813                  Hancock Whitney                                       Postage                                                                                           $              21.00
SLC                          Souvenir Shop Account                                         4077                  10/01/2020   4812                  McVan, Inc                                            Product purchases                                                                                 $            491.00
SLC                          Souvenir Shop Account                                         4077                  10/01/2020   4811                                                                        Product purchases                                                                                 $            247.50
OLG                          Operating                                                     4318                  10/06/2020   53726                                                                       Personnel Costs:Salary‐Musicians                                                                  $           250.00
OLG                          Operating                                                     4318                  10/20/2020   53780                                                                       Personnel Costs:Salary‐Musicians                                                                  $           200.00
OLG                          Operating                                                     4318                  10/13/2020   53753                 American Express                                      utilies ‐ cable                                                                                   $           189.67
OLG                          Operating                                                     4318                  10/20/2020   53779                 Arcadia Publishing                                    Office expense                                                                                    $               ‐
OLG                          Operating                                                     4318                  10/15/2020   53759                 Archdiocese of New Orleans                            Diocesan Assessments:Parish Share                                                                 $         5,400.00
OLG                          Operating                                                     4318                  10/15/2020   53760                 Archdiocese of New Orleans                            Quickbooks fee                                                                                    $             35.00
OLG                          Operating                                                     4318                  10/15/2020   53761                 Archdiocese of New Orleans                            Professional services                                                                             $           200.00
OLG                          Operating                                                     4318                  10/15/2020   53762                 Archdiocese of New Orleans                            Parish Share Assessment                                                                           $         2,819.82
OLG                          Operating                                                     4318                  10/15/2020   53763                 Archdiocese of New Orleans                            Parish Share Assessment                                                                           $        11,454.58
OLG                          Operating                                                     4318                  10/15/2020   53766                 Archdiocese of New Orleans                            Insurance expense                                                                                 $         3,486.00
OLG                          Operating                                                     4318                  10/06/2020   53727                                                                       Personnel Costs:Salary‐Musicians                                                                  $           280.00
OLG                          Operating                                                     4318                  10/20/2020   53781                                                                       Personnel Costs:Salary‐Musicians                                                                  $           280.00
OLG                          Operating                                                     4318                  10/13/2020   53754                 AT & T                                                Cable Bill                                                                                        $           232.47
OLG                          Operating                                                     4318                  10/27/2020   53791                 Bigezguys                                             Capital:Renovations and Repairs ‐ Rooof Leak                                                      $         2,250.00
OLG                          Operating                                                     4318                  10/20/2020   53778                                                                       Office costs                                                                                      $           200.00
OLG                          Operating                                                     4318                  10/13/2020   53755                 Church Supply House                                   Sanctuary Expenses                                                                                $           164.45
OLG                          Operating                                                     4318                  10/13/2020   53756                 Clarion Herald                                        Diocesan Assessment ‐ Clarion Herald                                                              $           419.65
OLG                          Operating                                                     4318                  10/30/2020   53792                                                                       Personnel Costs:Salary‐Musicians                                                                  $           400.00
OLG                          Operating                                                     4318                  10/13/2020   53757                 Contreras Designs                                     Votives Religious Goods                                                                           $         1,500.00
OLG                          Operating                                                     4318                  10/15/2020   382                   deposit correction                                    loose collections                                                                                 $             20.00
OLG                          Operating                                                     4318                  10/28/2020   383                   deposit correction                                    loose collections                                                                                 $             55.00
OLG                          Operating                                                     4318                  10/15/2020   53767                 Devon Trading Corp                                    Votives Religious Goods                                                                           $         1,080.12
OLG                          Operating                                                     4318                  10/15/2020   53768                 Entergy                                               Utilities ‐ Electricity                                                                           $           642.73
OLG                          Operating                                                     4318                  10/20/2020   53772                 Entergy                                               Utilities ‐ Electricity                                                                           $             24.30
OLG                          Operating                                                     4318                  10/23/2020   ACH                   Entergy                                               Utilities ‐ Electricity                                                                           $             77.95
OLG                          Operating                                                     4318                  10/20/2020   53773                 F.C. Ziegler Co.                                      Sanctuary Expenses                                                                                $             26.09
OLG                          Operating                                                     4318                  10/05/2020   53725                                                                       Other Parish Expenses:Household expenses                                                          $           209.00
OLG                          Operating                                                     4318                  10/12/2020   53752                                                                       Other Parish Expenses:Household expenses                                                          $           180.00
OLG                          Operating                                                     4318                  10/19/2020   53771                                                                       Other Parish Expenses:Household expenses                                                          $           202.00
OLG                          Operating                                                     4318                  10/27/2020   53790                                                                       Other Parish Expenses:Household expenses                                                          $           210.00
OLG                          Operating                                                     4318                  10/01/2020   53724                                                                       Other Parish Expenses:Household expenses                                                          $           119.01
OLG                          Operating                                                     4318                  10/08/2020   53751                                                                       Other Parish Expenses:Household expenses                                                          $           293.98
OLG                          Operating                                                     4318                  10/06/2020   53728                                                                       Personnel Costs:Salary‐Musicians                                                                  $           100.00
OLG                          Operating                                                     4318                  10/20/2020   53782                                                                       Personnel Costs:Salary‐Musicians                                                                  $           100.00
OLG                          Operating                                                     4318                  10/08/2020   53749                                                                       Religious Education Expense                                                                       $           114.33
OLG                          Operating                                                     4318                  10/06/2020   53729                                                                       Personnel Costs:Salary‐Musicians                                                                  $           100.00
OLG                          Operating                                                     4318                  10/20/2020   53783                                                                       Personnel Costs:Salary‐Musicians                                                                  $           100.00
OLG                          Operating                                                     4318                  10/06/2020   53730                 King Rowe                                             Personnel Costs:Salary‐Musicians                                                                  $           100.00
OLG                          Operating                                                     4318                  10/20/2020   53784                 King Rowe                                             Personnel Costs:Salary‐Musicians                                                                  $           100.00
OLG                          Operating                                                     4318                  10/06/2020   53736                 Louisiana Dept of Revenue Sales Tax Return            Gift Shop Sales Tax                                                                               $             10.66
OLG                          Operating                                                     4318                  10/15/2020   53770                 Louisiana Dept of Revenue Sales Tax Return            Gift Shop Sales Tax                                                                               $           405.00
OLG                          Operating                                                     4318                  10/06/2020   53737                 Marianites of Holy Cross                              Miscellaneous Expense:Community Center                                                            $           500.00
OLG                          Operating                                                     4318                  10/15/2020   53764                 Marianites of Holy Cross                              Miscellaneous Expense:Community Center                                                            $           500.00
OLG                          Operating                                                     4318                  10/06/2020   53738                 Mercier Realty & Investment Co.                       Other Parish Expenses:Miscellaneous Expense:Taxes Paid                                            $         1,000.96
OLG                          Operating                                                     4318                  10/06/2020   53739                 Mercier Realty & Investment Co.                       Misc Expenses ‐ Misc ‐ Rent                                                                       $         1,500.00
OLG                          Operating                                                     4318                  10/06/2020   53747                 Oblates of Mary Immaculate                            Priest Salary, retirement, and health care costs                                                  $         4,941.00
OLG                          Operating                                                     4318                  10/06/2020   53748                 Oblates of Mary Immaculate                            Priest Salary, retirement, and health care costs                                                  $         5,212.00
OLG                          Operating                                                     4318                  10/06/2020   53741                 Orkin Pest Control                                    Contract Services                                                                                 $           244.62
OLG                          Operating                                                     4318                  10/06/2020   53731                                                                       Personnel Costs:Salary‐Musicians                                                                  $           280.00
OLG                          Operating                                                     4318                  10/20/2020   53785                                                                       Personnel Costs:Salary‐Musicians                                                                  $           280.00
OLG                          Operating                                                     4318                  10/06/2020   53740                 Pitney Bowes                                          postage                                                                                           $           725.03
OLG                          Operating                                                     4318                  10/06/2020   53732                 Professional Music Services, Inc                      Personnel Costs:Salary‐Musicians                                                                  $           600.00
OLG                          Operating                                                     4318                  10/20/2020   53786                 Professional Music Services, Inc                      Personnel Costs:Salary‐Musicians                                                                  $           600.00
OLG                          Operating                                                     4318                  10/06/2020   53733                                                                       Personnel Costs:Salary‐Musicians                                                                  $           200.00
OLG                          Operating                                                     4318                  10/20/2020   53787                                                                       Personnel Costs:Salary‐Musicians                                                                  $           200.00
OLG                          Operating                                                     4318                  10/31/2020   SVCCHRG               Service Charge                                        Bank charges                                                                                      $           166.26
OLG                          Operating                                                     4318                  10/15/2020   53765                 Sewerage and Water Board                                                                                                                                $           152.78
OLG                          Operating                                                     4318                  10/08/2020   53750                 St. Joseph's Church                                   Salary ‐ Extra Priest                                                                             $           100.00
OLG                          Operating                                                     4318                  10/06/2020   53734                                                                       Personnel Costs:Salary‐Musicians                                                                  $           550.00
OLG                          Operating                                                     4318                  10/20/2020   53788                                                                       Personnel Costs:Salary‐Musicians                                                                  $           500.00
OLG                          Operating                                                     4318                  10/20/2020   53774                 Tchoupitoulas Sales                                   Votives, Religious Goods                                                                          $         3,090.33
OLG                          Operating                                                     4318                  10/20/2020   53775                 The Home Depot Pro                                    Janitorial Supplies                                                                               $             70.22
OLG                          Operating                                                     4318                  10/02/2020   380                   To record bank charge we share                        Bank charges                                                                                      $             29.00
OLG                          Operating                                                     4318                  10/09/2020   381                   To record bank charge we share                        Bank charges                                                                                      $              4.00
OLG                          Operating                                                     4318                  10/09/2020   377                   To record payroll                                     To record payroll                                                                                 $         2,703.43
OLG                          Operating                                                     4318                  10/09/2020   377                   To record payroll                                     To record payroll                                                                                 $           144.00
OLG                          Operating                                                     4318                  10/09/2020   377                   To record payroll                                     To record payroll                                                                                 $         1,034.76
OLG                          Operating                                                     4318                  10/09/2020   377                   To record payroll                                     To record payroll                                                                                 $         1,018.16
OLG                          Operating                                                     4318                  10/19/2020   378                   To record payroll                                     To record payroll                                                                                 $         3,231.77
OLG                          Operating                                                     4318                  10/19/2020   378                   To record payroll                                     To record payroll                                                                                 $         1,111.71
OLG                          Operating                                                     4318                  10/19/2020   378                   To record payroll                                     To record payroll                                                                                 $               ‐
OLG                          Operating                                                     4318                  10/19/2020   378                   To record payroll                                     To record payroll                                                                                 $         1,091.76
OLG                          Operating                                                     4318                  10/06/2020   53743                                                                       Envelope Mail Out                                                                                 $           147.06
OLG                          Operating                                                     4318                  10/06/2020   53744                                                                       Envelope Mail Out                                                                                 $           255.85
OLG                          Operating                                                     4318                  10/06/2020   53745                                                                       Envelope Mail Out                                                                                 $           281.22
OLG                          Operating                                                     4318                  10/06/2020   53746                                                                       Envelope Mail Out                                                                                 $           271.33
OLG                          Operating                                                     4318                  10/13/2020   53758                                                                       Envelope Mail Out                                                                                 $           410.65
OLG                          Operating                                                     4318                  10/20/2020   53776                                                                       Envelope Mail Out                                                                                 $           455.80
OLG                          Operating                                                     4318                  10/20/2020   53777                                                                       Envelope Mail Out                                                                                 $           330.24
OLG                          Operating                                                     4318                  10/06/2020   53742                 Waste Connections Bayou. INC                          Contract Services                                                                                 $           430.63
OLG                          Operating                                                     4318                  10/06/2020   53735                                                                       Personnel Costs:Salary‐Musicians                                                                  $           200.00
OLG                          Operating                                                     4318                  10/20/2020   53789                                                                       Personnel Costs:Salary‐Musicians                                                                  $           200.00
OLG                          Operating                                                     4318                  10/15/2020   53769                 Xerox Corp.                                           office supplies                                                                                   $           119.65
AOL                          Operating Account                                             1492                  10/01/2020   19442                                                                       Administrative                                                                                    $               7.08
AOL                          Operating Account                                             1492                  10/01/2020   19435                                                                       Instructional                                                                                     $              36.88
AOL                          Operating Account                                             1492                  10/01/2020   19437                 Archdiocese of New Orleans                            Administrative                                                                                    $              58.00
AOL                          Operating Account                                             1492                  10/01/2020   19441                 IV Waste LLC                                          Operations and Maintenance of Plant                                                               $            148.95
AOL                          Operating Account                                             1492                  10/01/2020   19443                                                                       Instructional                                                                                     $            280.04
AOL                          Operating Account                                             1492                  10/01/2020   19444                 Rumbelow Consulting, LLC                              Administrative                                                                                    $            435.00
AOL                          Operating Account                                             1492                  10/01/2020   19439                 Clarion Herald                                        Development and Marketing                                                                         $            480.00
AOL                          Operating Account                                             1492                  10/01/2020   19447                 U.S. Bank Equipment Finance                           Obligations Under Capital Lease, Instructional and Operations and Maintenance of Plan             $          1,476.38
AOL                          Operating Account                                             1492                  10/01/2020   19440                 Foley Marketing                                       Student Activity: Agency Payable‐Clubs                                                            $          4,577.00
AOL                          Operating Account                                             1492                  10/01/2020   19438                 Archdiocese of New Orleans ‐ Information Technology   Instructional                                                                                     $          4,737.01
AOL                          Operating Account                                             1492                  10/01/2020   19446                 Star Service, Inc.                                    Operations and Maintenance of Plant                                                               $          7,374.00
AOL                          Operating Account                                             1492                  10/01/2020   19445                 Southeastern Louisiana University                     Instructional                                                                                     $          8,325.00
AOL                          Operating Account                                             1492                  10/01/2020   19436                                                                       Development and Marketing                                                                         $         10,000.00
AOL                          Operating Account                                             1492                  10/05/2020   19449                                                                       Student Activities                                                                                $              90.00
AOL                          Operating Account                                             1492                  10/05/2020   19448                                                                       Student Activities                                                                                $              90.00
AOL                          Operating Account                                             1492                  10/05/2020   8077                                                                        Tution and Fees                                                                                   $            500.00
AOL                          Operating Account                                             1492                  10/07/2020   19451                                                                       Student Activities                                                                                $              90.00
AOL                          Operating Account                                             1492                  10/07/2020   19450                                                                       Student Activities                                                                                $              90.00
AOL                          Operating Account                                             1492                  10/08/2020   19464                                                                       Development and Marketing                                                                         $              21.84
AOL                          Operating Account                                             1492                  10/08/2020   19458                                                                       Student Activities                                                                                $              50.00
AOL                          Operating Account                                             1492                  10/08/2020   19460                                                                       Student Activities                                                                                $              75.00
AOL                          Operating Account                                             1492                  10/08/2020   19453                                                                       Student Activities                                                                                $              90.00
AOL                          Operating Account                                             1492                  10/08/2020   19452                                                                       Student Activities                                                                                $              90.00
AOL                          Operating Account                                             1492                  10/08/2020   19470                 Truth Link 2150 Inc.                                  Student Activities                                                                                $            100.00
AOL                          Operating Account                                             1492                  10/08/2020   19463                 Louisiana Right to Life Federation                    Student Activities                                                                                $            100.00
AOL                          Operating Account                                             1492                  10/08/2020   19461                 Francotyp‐Postalia, Inc.                              Administrative                                                                                    $            126.26
AOL                          Operating Account                                             1492                  10/08/2020   19462                 IV Waste LLC                                          Operations and Maintenance of Plant                                                               $            148.95
AOL                          Operating Account                                             1492                  10/08/2020   19471                 U.S. Copy Incorporated                                Administrative and Instructiona                                                                   $            166.54
AOL                          Operating Account                                             1492                  10/08/2020   19469                 St. Thomas More Softball                              Student Activities                                                                                $            190.00
AOL                          Operating Account                                             1492                  10/08/2020   19468                 Selection.com                                         Administrative                                                                                    $            190.00
AOL                          Operating Account                                             1492                  10/08/2020   19465                                                                       Instructional                                                                                     $            246.79
AOL                          Operating Account                                             1492                  10/08/2020   19459                                                                       Instructional                                                                                     $            270.00
AOL                          Operating Account                                             1492                  10/08/2020   19472                 CCSCC                                                 Student Activity: Agency Payable‐Parent Club                                                      $            430.00
AOL                          Operating Account                                             1492                  10/08/2020   19467                                                                       Development and Marketing                                                                         $            560.00
AOL                          Operating Account                                             1492                  10/08/2020   19466                 Pelican Outdoor Advertising Inc                       Development and Marketing                                                                         $          2,615.00
AOL                          Operating Account                                             1492                  10/08/2020   19473                 Delgado Community College                             Instructional                                                                                     $          2,940.00
AOL                          Operating Account                                             1492                  10/09/2020   24                    Blue Pay Fees                                         Administrative                                                                                    $               0.35
AOL                          Operating Account                                             1492                  10/09/2020   16                    Jefferson Parish Dept of Water                        Operations and Maintenance of Plant                                                               $               5.02
AOL                          Operating Account                                             1492                  10/09/2020   21                    First Bank Merchant                                   Administrative                                                                                    $              14.95
AOL                          Operating Account                                             1492                  10/09/2020   21                    First Bank Merchant                                   Administrative                                                                                    $              15.60
AOL                          Operating Account                                             1492                  10/09/2020   21                    First Bank Merchant                                   Administrative                                                                                    $              32.08
AOL                          Operating Account                                             1492                  10/09/2020   21                    First Bank Merchant                                   Administrative                                                                                    $              32.75
AOL                          Operating Account                                             1492                  10/09/2020   14                    Ecatholic Merchant                                    Student Activity:Agency Payable: STUCO Spiritwear                                                 $              37.37
AOL                          Operating Account                                             1492                  10/09/2020   14                    Ecatholic Merchant                                    Student Activity:Agency Payable: STUCO Spiritwear                                                 $            104.06
AOL                          Operating Account                                             1492                  10/09/2020   21                    First Bank Merchant                                   Administrative                                                                                    $            107.75
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 30 of
                                           103
AOL    Operating Account   1492   10/13/2020   19475                                                                              Student Activites Expense                                                $         65.00
AOL    Operating Account   1492   10/13/2020   19474                                                                              Student Activites Expense                                                $         65.00
AOL    Operating Account   1492   10/14/2020   19494                   Youth Rebuilding New Orleans                               Student Activites Expense                                                $       120.00
AOL    Operating Account   1492   10/14/2020   19493                   Tujays Services Inc.                                       Operations and Maintenance of Plant                                      $     9,895.00
AOL    Operating Account   1492   10/14/2020   19492                   SLS Arts                                                   Instructional Expenses                                                   $       245.09
AOL    Operating Account   1492   10/14/2020   19491                   Selection.com                                              Administrative Expenses                                                  $       134.50
AOL    Operating Account   1492   10/14/2020   19490                   Office of State Fire Marshal                               Operations and Maintenance of Plant                                      $       120.00
AOL    Operating Account   1492   10/14/2020   19489                                                                              Instructional Expenses                                                   $       342.27
AOL    Operating Account   1492   10/14/2020   19488                   Lobb's Horticultural Spray East, Inc.                      Student Activites Expense                                                $       250.00
AOL    Operating Account   1492   10/14/2020   19487                   LHSAA                                                      Student Activites Expense                                                $       100.00
AOL    Operating Account   1492   10/14/2020   19486                                                                              Student Activites Expense                                                $         49.89
AOL    Operating Account   1492   10/14/2020   19485                   Hahnville High School                                      Student Activites Expense                                                $         60.00
AOL    Operating Account   1492   10/14/2020   19484                                                                              Student Services: Agency Payable‐Student Counci                          $       289.70
AOL    Operating Account   1492   10/14/2020   19483                                                                              Instructional Expenses                                                   $       796.59
AOL    Operating Account   1492   10/14/2020   19482                   Foley Marketing                                            Student Activites Expense and Student Services: Agency Payable‐Club      $     4,822.55
AOL    Operating Account   1492   10/14/2020   19481                   Ferdies's Printing Service                                 Administrative Expenses                                                  $       204.20
AOL    Operating Account   1492   10/14/2020   19480                                                                              Student Services: Agency Payable‐Clubs                                   $         96.43
AOL    Operating Account   1492   10/14/2020   19479                                                                              Student Activites Expense                                                $         55.58
AOL    Operating Account   1492   10/14/2020   19478                   C.T. Traina, Inc.                                          Operations and Maintenance of Plant                                      $     1,545.98
AOL    Operating Account   1492   10/14/2020   19477                   AT&T                                                       Operations and Maintenance of Plant                                      $       103.08
AOL    Operating Account   1492   10/14/2020   19476                   Archdiocese of New Orleans                                 Other Costs‐Insurance                                                    $    20,459.59
AOL    Operating Account   1492   10/19/2020   19495                                                                              Student Activites Expense                                                $         65.00
AOL    Operating Account   1492   10/19/2020   19454                                                                              Student Activites Expense                                                $         90.00
AOL    Operating Account   1492   10/20/2020   19497                                                                              Student Activites Expense                                                $         65.00
AOL    Operating Account   1492   10/20/2020   19496                                                                              Student Activites Expense                                                $         65.00
AOL    Operating Account   1492   10/22/2020   19514                                                                              Student Activities Expense                                               $         50.00
AOL    Operating Account   1492   10/22/2020   19513                   Westbank Florist                                           Student Services: Agency Payable‐Clubs                                   $       115.83
AOL    Operating Account   1492   10/22/2020   19512                   Star Service, Inc.                                         Operations and Maintenance of Plant                                      $       957.48
AOL    Operating Account   1492   10/22/2020   19511                   Selection.com                                              Administrative Expenses                                                  $         19.00
AOL    Operating Account   1492   10/22/2020   19510                                                                              Student Services: Agency Payable‐Clubs                                   $         50.00
AOL    Operating Account   1492   10/22/2020   19509                   Raymond Plumbing & Heating, Inc.                           Operations and Maintenance of Plant                                      $       292.00
AOL    Operating Account   1492   10/22/2020   19508                   Pan‐American Life Insurance Company                        Payroll Deductions‐Insurance                                             $         53.30
AOL    Operating Account   1492   10/22/2020   19507                                                                              Development and Marketing                                                $         87.30
AOL    Operating Account   1492   10/22/2020   19506                                                                              Student Activites Expense                                                $       339.33
AOL    Operating Account   1492   10/22/2020   19505                                                                              Student Activites Expense                                                $       100.00
AOL    Operating Account   1492   10/22/2020   19504                   Foley Marketing                                            Student Services: Agency Payable‐Clubs                                   $       330.00
AOL    Operating Account   1492   10/22/2020   19503                   DIS.IN.FX                                                  Operations and Maintenance of Plant                                      $     1,000.00
AOL    Operating Account   1492   10/22/2020   19502                   Carbonite Inc.                                             Instructional Expenses                                                   $       340.70
AOL    Operating Account   1492   10/22/2020   19501                   Belle Chasse High School                                   Student Activites Expense                                                $         35.00
AOL    Operating Account   1492   10/22/2020   19500                   Alarm Detection and Suppression Systems Contractors, LLC   Capital Asset ‐ Computer Equipment                                       $     7,679.00
AOL    Operating Account   1492   10/22/2020   19499                   A & L Sales, Inc.                                          Operations and Maintenance of Plant                                      $       637.44
AOL    Operating Account   1492   10/22/2020   19457                                                                              Student Activites Expense                                                $         90.00
AOL    Operating Account   1492   10/22/2020   19456                                                                              Student Activites Expense                                                $         90.00
AOL    Operating Account   1492   10/23/2020   37                      Verizon Wireless                                           Operations and Maintenance of Plant                                      $         90.06
AOL    Operating Account   1492   10/23/2020   35                      Guardian                                                   Dental/Vision and Life Insurance                                         $     2,282.35
AOL    Operating Account   1492   10/23/2020   34                      Gulf Coast Bank                                            Administrative Expenses                                                  $          8.00
AOL    Operating Account   1492   10/23/2020   34                      Student                                                    AR NSF                                                                   $         72.00
AOL    Operating Account   1492   10/23/2020   34                      Student                                                    AR NSF                                                                   $         32.00
AOL    Operating Account   1492   10/23/2020   25                      Uniti Fiber, LLC                                           Operations and Maintenance of Plant                                      $     1,109.78
AOL    Operating Account   1492   10/23/2020   17                      FGDL                                                       Administrative Expenses                                                  $         23.96
AOL    Operating Account   1492   10/23/2020   15                      Entergy                                                    Operations and Maintenance of Plant                                      $    13,452.80
AOL    Operating Account   1492   10/26/2020   8081                    Trinity Taylor Washington                                  Tuition and Fees                                                         $       500.00
AOL    Operating Account   1492   10/30/2020   19524                                                                              Student Activities Expense                                               $         65.00
AOL    Operating Account   1492   10/30/2020   19523                   Salesian Sisters‐001                                       Instructional and Administrative                                         $    10,062.50
AOL    Operating Account   1492   10/30/2020   19522                                                                              Administrative                                                           $         69.05
AOL    Operating Account   1492   10/30/2020   19521                   Lowe's Business Account                                    Operations and Maintenance of Plant                                      $       618.90
AOL    Operating Account   1492   10/30/2020   19520                   Immaculate Conception School                               Other payroll deductions‐Tuition                                         $     3,069.06
AOL    Operating Account   1492   10/30/2020   19519                   Gallagher Benefit Services                                 Health insurance                                                         $    29,084.35
AOL    Operating Account   1492   10/30/2020   19518                                                                              Administrative                                                           $       535.73
AOL    Operating Account   1492   10/30/2020   19517                   Brother Martin High School                                 Student Activities Expense                                               $         75.00
AOL    Operating Account   1492   10/30/2020   19516                   Archdiocese of New Orleans                                 Other costs ‐ Insurance                                                  $     3,016.00
AOL    Operating Account   1492   10/30/2020   19515                   A & L Sales, Inc.                                          Operations and Maintenance of Plant                                      $       147.81
AOL    Operating Account   1492   10/30/2020   19498                                                                              Student Activities Expense                                               $         65.00
AOL    Operating Account   1492   10/31/2020   34                      Ecorp                                                      Administrative                                                           $         25.00
AOL    Operating Account   1492   10/31/2020   23                                                                                 Student Services: Agency Payable‐Clubs                                   $         50.00
AOL    Operating Account   1492   10/31/2020   20                      Crescent Payroll                                           Payroll                                                                  $       198.75
AOL    Operating Account   1492   10/31/2020   8                       Crescent Payroll                                           Payroll                                                                  $    43,003.13
AOL    Operating Account   1492   10/31/2020   7                       Crescent Payroll                                           Payroll                                                                  $   114,858.21
AOL    Operating Account   1492   10/31/2020   2                       Crescent Payroll                                           Payroll                                                                  $    18,084.90
AOL    Tuition Funded      0011   10/1/2020    8079                    Gulf Coast Bank Reduction                                  Tuition and Fees ‐ loan cancellation                                     $     6,256.82
AOL    Tuition Funded      0011   10/9/2020    1                       Tuition Transfer                                           Tuition Transfer                                                         $    49,891.11
AOL    Tuition Funded      0011   10/9/2020    1                       Tuition Transfer                                           Tuition Transfer                                                         $     4,210.64
AOL    Tuition Funded      0011   10/23/2020   1                       Tuition Transfer                                           Tuition Transfer                                                         $    14,198.52
AOL    Tuition Funded      0011   10/23/2020   1                       Tuition Transfer                                           Tuition Transfer                                                         $   149,771.05
AOL    Tuition Funded      0011   10/31/2020   1                       Tuition Transfer                                           Tuition Transfer                                                         $     2,241.31
AOL    Regions             6073   10/14/2020   EB to VC 0683           Regions                                                    Credit Card Payment ‐ Athletic‐Stud. Act., Develop‐Promot                $    8,033.00
AOL    Regions             6073   10/22/2020   EB to VC 0683           Regions                                                    Credit Card Payment ‐ Stud. Act. ‐ Athl, Agency Pay ‐ STUCO, Instruct.   $    7,767.18
AOL    Regions             6073   10/29/2020   EB to VC 0683           Regions                                                    Credit Card Payment ‐ Stud. Act. ‐ Athletics, STUCO ‐ Agency Pay         $    1,674.00
ACHS   Operating Account   1514   10/01/2020   300342                  ACL/NJCL                                                   DUES                                                                     $        70.00
ACHS   Operating Account   1514   10/01/2020   300343                  ALARM PROTECTION SERVICES                                  BARN ‐ REPAIR WIRE                                                       $      306.00
ACHS   Operating Account   1514   10/01/2020   300344                  BRUSLY HIGH SCHOOL                                         CROSS COUNTRY MEET                                                       $        30.00
ACHS   Operating Account   1514   10/01/2020   300345                  BSN SPORTS, LLC                                            TENNIS COURT NETS                                                        $      535.50
ACHS   Operating Account   1514   10/01/2020   300346                  CAMP ABBEY RETREAT CENTER                                  SENIOR RETREAT                                                           $    8,102.00
ACHS   Operating Account   1514   10/01/2020   300347                  CARROLLTON BOOSTERS                                        CROSS COUNTRY COURSE MAINTENANCE                                         $      250.00
ACHS   Operating Account   1514   10/01/2020   300348                                                                             LIFE SKILLS SUPPLIES                                                     $        97.70
ACHS   Operating Account   1514   10/01/2020   300349                  CLARION HERALD                                             OPEN HOUSE ADVERTISING                                                   $      793.00
ACHS   Operating Account   1514   10/01/2020   300350                  COCA‐COLA BOTTLING COMPANY UNITED                          ATHLETIC CONCESSIONS                                                     $      529.22
ACHS   Operating Account   1514   10/01/2020   300351                  DISINFX INC                                                MONTHLY TESTING COST                                                     $      575.00
ACHS   Operating Account   1514   10/01/2020   300352                  DOCUMART                                                   THE PROVIDER COST                                                        $      445.35
ACHS   Operating Account   1514   10/01/2020   300353                  EDUCATIONAL ELECTRONICS CORPORATION                        REPLACE CLOCK IN HALL                                                    $    1,259.79
ACHS   Operating Account   1514   10/01/2020   300354                                                                             SR RETREAT SUPPLIES                                                      $        83.83
ACHS   Operating Account   1514   10/01/2020   300355                                                                             MONTHLY GROUNDS MAINTENANCE ‐ 10/20                                      $    3,699.00
ACHS   Operating Account   1514   10/01/2020   300356                  FAVORITES PROMOTIONAL PRODUCTS                             SWEATSHIRTS FOR GIVING FUND                                              $    4,348.51
ACHS   Operating Account   1514   10/01/2020   300357                  FOLEY MARKETING, INC                                       BOOKSTORE COST                                                           $      739.28
ACHS   Operating Account   1514   10/01/2020   300358                  GBP DIRECT, INC.                                           FURNITURE AND SUPPLIES                                                   $      315.42
ACHS   Operating Account   1514   10/01/2020   300359                  GREATER NEW ORLEANS OFFICIALS ASSN                         ATHLETIC ASSIGNMENT COST                                                 $      500.00
ACHS   Operating Account   1514   10/01/2020   300360                  GUARDIAN                                                   DENTAL, VISION LIFE,CRITICAL ILLNESS, ACCIDENT ‐ 9/20                    $    2,692.61
ACHS   Operating Account   1514   10/01/2020   300361                  JOHNSTON'S INC.                                            DONUTS MATTHEW 25                                                        $      156.00
ACHS   Operating Account   1514   10/01/2020   300362                                                                             TUITION REFUND                                                           $    1,311.77
ACHS   Operating Account   1514   10/01/2020   300363                  KELLERMEYER BERGENSONS SERVICES, LLC                       MONTHLY CLEANING FEE                                                     $    5,826.06
ACHS   Operating Account   1514   10/01/2020   300364                  KENTWOOD SPRINGS                                           WATER                                                                    $      182.15
ACHS   Operating Account   1514   10/01/2020   300365                  LD DESIGNS, LLC                                            SR RETREAT SHIRTS                                                        $    1,368.15
ACHS   Operating Account   1514   10/01/2020   300366                  LIBRARY INTERIORS,INC.                                     PLEXIGLASS TABLE SHIELD                                                  $        78.00
ACHS   Operating Account   1514   10/01/2020   300367                                                                             MEMBERSHIP DUES                                                          $        65.00
ACHS   Operating Account   1514   10/01/2020   300368                  PAN‐AMERICAN LIFE INS. CO.                                 CANCER BENEFIT‐ 10/1/20‐10/31/20                                         $        44.90
ACHS   Operating Account   1514   10/01/2020   300369                                                                             ACADEMIC NIGHT SUPPLIES                                                  $      195.00
ACHS   Operating Account   1514   10/01/2020   300370                  RELIASTAR LIFE INSURANCE CO.                               RELIASTAR LIFE INS 10/1/20‐10/31/20                                      $        17.34
ACHS   Operating Account   1514   10/01/2020   300371                  RICHARD REAMES TROPHY & AWARDS LLC                         REPLACEMENT DISTRICT TROPHY AWARDS                                       $      556.92
ACHS   Operating Account   1514   10/01/2020   300372                  ROLLAND SAFE & LOCK                                        KEYS                                                                     $        34.94
ACHS   Operating Account   1514   10/01/2020   300373                                                                             RAFFLE COST                                                              $      197.01
ACHS   Operating Account   1514   10/01/2020   300374                  UNIVERSAL CHEERLEADERS ASSOCIATION                         CHEER CAMP DEPOSIT                                                       $    2,646.00
ACHS   Operating Account   1514   10/05/2020   300375                  VIC'S TRUCK SERVICE INC                                    DUMPSTER                                                                 $      700.00
ACHS   Operating Account   1514   10/05/2020   300376                  SAFELITE                                                   WINDSHIELD REPAIR                                                        $      442.23
ACHS   Operating Account   1514   10/08/2020   300378                  AT&T                                                       Telephone                                                                $        89.43
ACHS   Operating Account   1514   10/08/2020   300379                  AT&T                                                       TELEPHONE                                                                $      178.88
ACHS   Operating Account   1514   10/08/2020   300380                  A‐1 SERVICE, INC.                                          DUST MOP SERVICE                                                         $      134.80
ACHS   Operating Account   1514   10/08/2020   300381                  AQUATIC SPECIALTIES, INC.                                  MONTHLY AQUARIUM SERVICE                                                 $      150.00
ACHS   Operating Account   1514   10/08/2020   300382                  ARCHDIOCESE OF NEW ORLEANS‐ACCOUNTING                      LIBRARY SOFTWARE AND INTERNET COSTS                                      $    3,478.46
ACHS   Operating Account   1514   10/08/2020   300383                  AT&T                                                       TELEPHONE                                                                $        89.43
ACHS   Operating Account   1514   10/08/2020   300384                  CARROLLTON BOOSTERS                                        BOOSTER BANNER                                                           $      600.00
ACHS   Operating Account   1514   10/08/2020   300385                  COMMUNITY COFFEE COMPANY, LLC                              COFFEE SUPPLIES                                                          $      178.00
ACHS   Operating Account   1514   10/08/2020   300386                  DISCOUNT MAGAZINE SUBSCRIPTION SVC., INC.                  MAGAZINE SUBSCRIPTIONS                                                   $      456.79
ACHS   Operating Account   1514   10/08/2020   300387                  DOCUMART                                                   THE PROVIDER                                                             $      183.46
ACHS   Operating Account   1514   10/08/2020   300388                  FAVORITES PROMOTIONAL PRODUCTS                             MASKS                                                                    $    1,724.00
ACHS   Operating Account   1514   10/08/2020   300389                  FIRST BANK & TRUST                                         VISA ‐ STUDENT ACTIVITIES /DEVELOPMENT                                   $    8,471.04
ACHS   Operating Account   1514   10/08/2020   300390                  HOME DEPOT CREDIT SERVICES                                 MAINTENANCE                                                              $    1,587.48
ACHS   Operating Account   1514   10/08/2020   300391                  IV WASTE LLC                                               DUMPSTER COST                                                            $      893.72
ACHS   Operating Account   1514   10/08/2020   300392                  MEDCO SUPPLY COMPANY                                       TRAINING SUPPLIES                                                        $        62.37
ACHS   Operating Account   1514   10/08/2020   300393                  OTIS ELEVATOR COMPANY                                      ANNULA ELEVATOR CONTRACT                                                 $    7,751.88
ACHS   Operating Account   1514   10/08/2020   300394                  PENNANT SHOP, INC.                                         STUDENT AWARDS                                                           $      131.04
ACHS   Operating Account   1514   10/08/2020   300395                                                                             PRINTER AND SUPPLIES                                                     $      212.89
ACHS   Operating Account   1514   10/08/2020   300396                  PITNEY BOWES GLOBAL FINANCIAL SERVICES LLC                 POSTAGE MACHINE LEASE‐ CONTRACT                                          $      776.41
ACHS   Operating Account   1514   10/08/2020   300397                  SAM'S CLUB/SYNCHRONY BANK                                  STUDENT ACTIVITES                                                        $    1,091.23
ACHS   Operating Account   1514   10/08/2020   300398                  STEVE WEISS MUSIC                                          MUSIC COST                                                               $        18.00
ACHS   Operating Account   1514   10/08/2020   300399                  VARSITY SPIRIT FASHIONS                                    CHAPELLETTE UNIFORM                                                      $        75.84
ACHS   Operating Account   1514   10/08/2020   300400                  VOCABULARY.COM                                             CLASSROOM SUPPLIES                                                       $    2,300.00
ACHS   Operating Account   1514   10/08/2020   300401                  VIC'S TRUCK SERVICE INC                                    DUMPSTER                                                                 $      700.00
ACHS   Operating Account   1514   10/09/2020   300402                  VIC'S TRUCK SERVICE INC                                    DUMPSTER                                                                 $      350.00
ACHS   Operating Account   1514   10/15/2020   300403                  ADMINISTRATORS‐TULANE EDUC. FUND                           COST OF TRAINER                                                          $    4,333.00
ACHS   Operating Account   1514   10/15/2020   300404                                                                             PROM FEST DECORATIONS                                                    $      351.94
ACHS   Operating Account   1514   10/15/2020   300405                  DOCUMART                                                   THE PROVIDER AND SPEND THE DAY NOTEBOOKS                                 $   10,582.68
ACHS   Operating Account   1514   10/15/2020   300406                  EASYPERMIT POSTAGE                                         POSTAGE                                                                  $      160.98
ACHS   Operating Account   1514   10/15/2020   300407                  FACTORY SERVICE AGENCY, INC.                               QUARTERLY HVAC MAINTENANCE                                               $    6,060.00
ACHS   Operating Account   1514   10/15/2020   300408                  FIRST BANK & TRUST                                         INTEREST                                                                 $        45.50
ACHS   Operating Account   1514   10/15/2020   300409                  GBP DIRECT, INC.                                           COPY PAPER / FURNITURE PRINCIPAL                                         $    1,190.28
ACHS   Operating Account   1514   10/15/2020   300410                  HOBNOBBER CAFE                                             REUNION DEPOSIT                                                          $      250.00
ACHS   Operating Account   1514   10/15/2020   300411                  LD DESIGNS, LLC                                            PINK WEEK/BIG SIS LITTEL SIS/ STUCO TSHIRTS                              $   10,383.67
ACHS   Operating Account   1514   10/15/2020   300412                  NATIONAL CATHOLIC EDUCATIONAL ASSOC.                       DUES                                                                     $      955.00
ACHS   Operating Account   1514   10/15/2020   300413                  NELNET BUSINESS SOLUTIONS, INC                             SIS MAINTENANCE/PARENT ALERT                                             $      575.01
ACHS   Operating Account   1514   10/15/2020   300414                                                                             DJ RING DANCE                                                            $      450.00
ACHS   Operating Account   1514   10/15/2020   300415                                                                             SOFTBALL UNIFORMS                                                        $    1,260.60
ACHS   Operating Account   1514   10/15/2020   300416                  SELECTION.COM                                              BACKGROUND CHECKS                                                        $        38.00
ACHS   Operating Account   1514   10/15/2020   300417                  SNO SITES                                                  SCHOOL NEWSPAPER ONLINE RENEWAL                                          $      400.00
ACHS   Operating Account   1514   10/15/2020   300418                  SOUTHEASTERN LOUISIANA UNIVERSITY                          DUAL ENROLLMENT COST                                                     $    5,625.00
ACHS   Operating Account   1514   10/15/2020   300419                                                                             PINK WEEK FUND RAISING SUPPLIES                                          $      257.88
ACHS   Operating Account   1514   10/15/2020   300420                  THE HON COMPANY LLC                                        FURNITIRE PRINCIPAL                                                      $    1,743.54
ACHS   Operating Account   1514   10/15/2020   300421                  THE STAGE DEPOT                                            NEW STAGE                                                                $   13,861.36
ACHS   Operating Account   1514   10/15/2020   300422                                                                             LMEA RENEWAL                                                             $      125.00
ACHS   Operating Account   1514   10/15/2020   300423                  UNITI FIBER                                                TELEPHONE                                                                $      247.67
ACHS   Operating Account   1514   10/15/2020   300424                  WEX BANK                                                   GAS BILLS                                                                $        97.01
ACHS   Operating Account   1514   10/22/2020   300425                  ACL/NJCL NATIONAL LATIN EXAM                               NATIONAL LATIN EXAM                                                      $      363.00
ACHS   Operating Account   1514   10/22/2020   300426                  ALL STAR TENNIS COURTS                                     TENNIS COURT REPAIR                                                      $   13,250.00
ACHS   Operating Account   1514   10/22/2020   300427                  BELLA PRODUCTIONS, LLC                                     CHIP CHAT‐ AUDIO VISIAL SUPPLIES                                         $      425.25
ACHS   Operating Account   1514   10/22/2020   300428                  BLICK ART MATERIALS                                        ART SUPPLIES                                                             $        32.94
ACHS   Operating Account   1514   10/22/2020   300429                  BROTHER MARTIN HIGH SCHOOL                                 CROSS COUNTRY MEET                                                       $        75.00
ACHS   Operating Account   1514   10/22/2020   300430                  BSN SPORTS, LLC                                            VOLLEYBALL SUPPLIES                                                      $      502.44
ACHS   Operating Account   1514   10/22/2020   300431                  CCSCC                                                      CLOTHE A CHILD DONATION                                                  $      400.00
ACHS   Operating Account   1514   10/22/2020   300432                  CINTAS CORPORATION #29K                                    MONTHLY MAT CLEANING                                                     $      158.02
ACHS   Operating Account   1514   10/22/2020   300433                  COCA‐COLA BOTTLING COMPANY UNITED                          CONCESSION EXPENSE                                                       $      529.22
ACHS   Operating Account   1514   10/22/2020   300434                  DIAL ONE FRANKLYNN PEST CONTROL CO., INC.                  MONTHLY PEST CONTROL                                                     $      393.00
ACHS   Operating Account   1514   10/22/2020   300435                  DISINFX INC                                                DISINFECTION SERVICE OCT, 2020                                           $      575.00
ACHS   Operating Account   1514   10/22/2020   300436                  DOCUMART                                                   DEVELOPMENT EXPENSE                                                      $    1,047.42
ACHS   Operating Account   1514   10/22/2020   300437                                                                             RECRUITING SUPPLIES                                                      $      206.71
ACHS   Operating Account   1514   10/22/2020   300438                  FAVORITES PROMOTIONAL PRODUCTS                             PRO LIFE T‐SHIRTS                                                        $    2,429.55
ACHS   Operating Account   1514   10/22/2020   300439                  GRUNDMANN'S ATHLETIC COMPANY                               ATHLETIC SUPPLIES                                                        $      354.90
ACHS   Operating Account   1514   10/22/2020   300440                  HOBNOBBER CAFE                                             RING DANCE COST                                                          $    4,087.52
ACHS   Operating Account   1514   10/22/2020   300441                  IDEAL LIGHTING, INC                                        LIGHT BULBS                                                              $        99.14
ACHS   Operating Account   1514   10/22/2020   300442                  J.W. PEPPER & SON, INC.                                    CHORALE SHEET MUSIC                                                      $      177.44
ACHS   Operating Account   1514   10/22/2020   300443                                                                             BONNIE SHEPPERD MEMORIAL COST                                            $      422.52
ACHS   Operating Account   1514   10/22/2020   300444                  JOHNSTON'S INC.                                            DONUTS                                                                   $      689.00
ACHS   Operating Account   1514   10/22/2020   300445                                                                             SWIM SUPPLIES                                                            $      396.00
ACHS   Operating Account   1514   10/22/2020   300446                                                                             STUDENT ACTIVITY SUPPLIES                                                $      119.33
ACHS   Operating Account   1514   10/22/2020   300447                                                                             CONCESSIONS EXPENSE                                                      $      379.02
ACHS   Operating Account   1514   10/22/2020   300448                  LAMAR COMPANIES                                            BILLBOARDS                                                               $      200.00
ACHS   Operating Account   1514   10/22/2020   300449                                                                             STORAGE BINS                                                             $        75.03
ACHS   Operating Account   1514   10/22/2020   300450                  MICHON MUSIC                                               BAND BOOK / SAXAPHONE REPAIR                                             $        33.84
ACHS   Operating Account   1514   10/22/2020   300451                  NELNET BUSINESS SOLUTIONS, INC                             INSTRUCTIONAL EXPENSE                                                    $      500.00
ACHS   Operating Account   1514   10/22/2020   300452                  O'KEEFE ELECTRIC SERVICE, INC.                             REPAIRS AND MAINTENANE                                                   $    2,870.00
ACHS   Operating Account   1514   10/22/2020   300453                  OFFICE OF STATE FIRE MARSHAL                               BOILER INSPECTION                                                        $        60.00
ACHS   Operating Account   1514   10/22/2020   300454                                                                             STORAGE BINS                                                             $        81.68
ACHS   Operating Account   1514   10/22/2020   300455                  RICOH USA, INC                                             COPY ROOM CHARGES                                                        $    1,324.59
ACHS   Operating Account   1514   10/22/2020   300456                                                                             ART SUPPLIES                                                             $      127.80
ACHS   Operating Account   1514   10/22/2020   300457                                                                             CHAPELLETTE UNIFORM                                                      $      115.00
ACHS   Operating Account   1514   10/22/2020   300458                  SYNCB/AMAZON                                               STUDENT ACTIVITY/INSTRUCTIONAL/ DEVELOPMENT                              $    1,666.43
ACHS   Operating Account   1514   10/22/2020   300459                  VERIZON WIRELESS                                           IPAD CELLULAR                                                            $        57.08
ACHS   Operating Account   1514   10/22/2020   300460                  VIVID INK GRAPHICS                                         OPEN HOUSE SIGNS                                                         $    2,539.86
ACHS   Operating Account   1514   10/27/2020   300461                  KVS                                                        LIMESTONE                                                                $    1,125.00
ACHS   Operating Account   1514   10/29/2020   300462                  AMERICAN ALL STAR, LLC                                     HI STEPPER COMPETITION FEE                                               $    1,125.00
ACHS   Operating Account   1514   10/29/2020   300463                  ARCHDIOCESE OF NO ‐ INSURANCE OFFICE                       MONTHLY INSURANCE BILL                                                   $   21,189.80
ACHS   Operating Account   1514   10/29/2020   300464                  ARCHDIOCESE OF NEW ORLEANS‐ACCOUNTING                      GAS METER ASSESSMENT                                                     $        90.00
ACHS   Operating Account   1514   10/29/2020   300465                  BROTHER MARTIN HIGH SCHOOL                                 REGIONAL CC MEET                                                         $      100.00
ACHS   Operating Account   1514   10/29/2020   300466                                                                             DJ FOR VOOBOO                                                            $      275.00
ACHS   Operating Account   1514   10/29/2020   300467                  CLARION HERALD                                             OPEN HOUSE ADD                                                           $      470.00
ACHS   Operating Account   1514   10/29/2020   300468                  CRESCENT CITY FUNDRAISING, LLC                             CHEER CANDY FUND RAISER                                                  $      600.00
ACHS   Operating Account   1514   10/29/2020   300469                                                                             MAIL COST FOR REPAIR                                                     $      180.39
ACHS   Operating Account   1514   10/29/2020   300470                  FACTORY SERVICE AGENCY, INC.                               6336‐ BOILER WATER FUEL CUT‐OFF REPAIRS PER STATE FIRE MARSHALL          $      706.20
ACHS   Operating Account   1514   10/29/2020   300471                  FAVORITES PROMOTIONAL PRODUCTS                             SPEND THE DAY AND FUND RAISING SHIRTS                                    $    3,999.93
ACHS   Operating Account   1514   10/29/2020   300472                  FLINN SCIENTIFIC, INC.                                     CHEMISTRY LAB SUPPLIES                                                   $    7,622.67
ACHS   Operating Account   1514   10/29/2020   300473                                                                             JR RETREAT BUS                                                           $    1,950.00
ACHS   Operating Account   1514   10/29/2020   300474                                                                             6129‐MUSIC FOR BONNIE SHEPPERD MEMORIAL                                  $      300.00
ACHS   Operating Account   1514   10/29/2020   300475                  KELLERMEYER BERGENSONS SERVICES, LLC                       MONTHLY CLEANING COST                                                    $    6,896.98
ACHS   Operating Account   1514   10/29/2020   300476                  KENTWOOD SPRINGS                                           MONTHLY WATER BILL                                                       $      149.18
ACHS   Operating Account   1514   10/29/2020   300477                  LHSAA                                                      SANTION FEE AND CC MEET FEE                                              $      170.00
ACHS   Operating Account   1514   10/29/2020   300478                  LHSCA                                                      6536‐ LHSCA MEMBERSHIP 20‐21 ‐ NEAL DUNN                                 $        50.00
ACHS   Operating Account   1514   10/29/2020   300479                  RAINEY ELECTRONICS, INC                                    6534‐SCORE BOARD CONTROL BOX REPAIR                                      $      332.60
ACHS   Operating Account   1514   10/29/2020   300480                                                                             BATTING CAGE UPGRADE                                                     $    4,298.35
ACHS   Operating Account   1514   10/29/2020   300481                  VIVID INK GRAPHICS                                         BATTING CAGE SIGNAGE                                                     $      265.98
ACHS   Operating Account   1514   10/29/2020   300482                  WELLS FARGO VENDOR FINANCIAL SERVICES, LLC                 COPIER COST                                                              $      395.29
ACHS   Operating Account   1514   10/29/2020   300483                                                                             BUS FOR VOLLEYBALL                                                       $      400.00
ACHS   Operating Account   1514   10/01/2020   ACH                     GALLAGHER BENEFIT SERVICES                                 October MEDICAL PREMIUM                                                  $   47,205.48
ACHS   Operating Account   1514   10/05/2020   ACH ‐ ENTERGY           ENTERGY                                                    UTILITY ‐ ENTERGY                                                        $   20,645.31
ACHS   Operating Account   1514   10/08/2020   PETTY CASH‐REFEREES     PETTY CASH                                                 VOLLEYBALL REFEREES                                                      $      160.00
ACHS   Operating Account   1514   10/09/2020   ACH ‐ JP WATER          JEFFERSON PARISH DEPT. OF WATER                            RECORD JEFF PARISH WATER PD 10/9/2020 (METER DATE 8/31/2020)             $        76.44
ACHS   Operating Account   1514   10/12/2020   ACH ‐ ATMOS ENERGY      ATMOS ENERGY                                               RECORD ATMOS GAS ‐ PD 10/12/20 (METER DATE 8/22‐9/22)                    $    2,500.40
ACHS   Operating Account   1514   10/12/2020   ACH ‐ JP WATER          JEFFERSON PARISH DEPT. OF WATER                            RECORD JEFF PARISH WATER PD 10/12/2020 (METER DATE 9/30/2020)            $      930.64
ACHS   Operating Account   1514   10/15/2020   PETTY CASH‐REFEREES     PETTY CASH                                                 VOLLEYBALL REFEREES                                                      $      130.00
ACHS   Operating Account   1514   10/15/2020   PETTY CASH‐REFEREES     PETTY CASH                                                 VOLLEYBALL REFEREES                                                      $      160.00
ACHS   Operating Account   1514   10/15/2020   Transfer                Transfer                                                   4510 BONNIE SHEPPARD MEMORIAL DONATION (ETAP 10/14/20) TODARO‐SILVA      $      250.00
ACHS   Operating Account   1514   10/19/2020   ACH                     ENTERGY                                                    UTILITY ‐ ENTERGY                                                        $   17,106.14
ACHS   Operating Account   1514   10/22/2020   PETTY CASH‐REFEREES     PETTY CASH                                                 VOLLEYBALL REFEREES                                                      $      195.00
ACHS   Operating Account   1514   10/22/2020   PETTY CASH‐REFEREES     PETTY CASH                                                 VOLLEYBALL REFEREES                                                      $      160.00
ACHS   Operating Account   1514   10/28/2020   ACH‐ CRESCENT PAYROLL   CRESCENT PAYROLL SOLUTIONS INC                             PAYROLL COSTS ‐ PR 10/28/20                                              $      315.00
ACHS   Operating Account   1514   10/28/2020   PETTY CASH ‐ BOX        PETTY CASH                                                 REPLENISH PETTY CASH BOX                                                 $      362.85
ACHS   Operating Account   1514   10/28/2020   PETTY CASH ‐ REFEREES   PETTY CASH                                                 VOLLEYBALL REFEREES                                                      $      160.00
ACHS   Operating Account   1514   10/28/2020   PETTY CASH ‐ REFEREES   PETTY CASH                                                 VOLLEYBALL REFEREES                                                      $      190.00
ACHS   Operating Account   1514   10/06/2020   45794                                                                              NSF Check‐Operating Acct ‐ 3 SHIRTS                                      $        38.00
ACHS   Operating Account   1514   10/02/2020   20‐10‐003               FIRST BANK & TRUST                                         RECORD FIRSTVIEW BANK CHARGE‐ 10/2/20                                    $        10.00
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 31 of
                                           103
ACHS   Operating Account             1514   10/02/2020   20‐10‐004                                       FIRST BANK & TRUST                                 RECORD MERCHANT FEE ‐ 10/2/20                                                  $          0.80
ACHS   Operating Account             1514   10/05/2020   20‐10‐005                                       FIRST BANK & TRUST                                 RECORD TSYS BANK CHARGE ‐ 10/5/20                                              $        355.97
ACHS   Operating Account             1514   10/21/2020   20‐10‐013                                       CRESCENT PAYROLL SOLUTIONS INC                     RECORD PR ‐ 10/31/20                                                           $    182,943.89
ACHS   Operating Account             1514   10/21/2020   20‐10‐014                                       CRESCENT PAYROLL SOLUTIONS INC                     RECORD PR TAXES ‐ PR 10/31/20                                                  $     64,712.77
ACHS   Operating Account             1514   10/21/2020   20‐10‐015                                       CRESCENT PAYROLL SOLUTIONS INC                     RECORD 401(K) ‐ PR 10/31/20                                                    $     30,072.39
ACHS   Operating Account             1514   10/31/2020   20‐10‐026                                       FIRST BANK & TRUST                                 RECORD BANK MAINT CHARGE ‐ 10/30/20                                            $         25.00
ACHS   Tuition Endowment             1745   10/12/2020   TRANSFER                                        TRANSFER                                           TRANSFER BACK TO OPERATING FROM T/E‐FBT FOR RECLASS OF T/E DONATION FROM V. LO $      3,000.00
ACHS   Tuition Borrower Loan Funds   0184   10/01/2020   TRANSFER                                        TRANSFER                                           TUITION TRANSFER FROM LOAN ACCT TO OPERATING ‐ 10/1/20                         $      1,652.54
ACHS   Tuition Borrower Loan Funds   0184   10/01/2020   TRANSFER                                        TRANSFER                                           INTEREST TRANSFER FROM LOAN ACCT TO OPERATING ‐ 10/1/20                        $      3,959.00
ACHS   Tuition Borrower Loan Funds   0184   10/02/2020   TRANSFER                                        TRANSFER                                           TUITION TRANSFER FROM LOAN ACCT TO OPERATING ‐ 10/2/20                         $        490.00
ACHS   Tuition Borrower Loan Funds   0184   10/05/2020   TRANSFER                                        TRANSFER                                           TUITION TRANSFER FROM LOAN ACCT. TO OPERATING ‐ 10/5/20                        $     99,394.90
ACHS   Tuition Borrower Loan Funds   0184   10/06/2020   TRANSFER                                        TRANSFER                                           TUITION TRANSFER FROM LOAN ACCT TO OPERATING ‐ 10/6/20                         $        910.00
ACHS   Tuition Borrower Loan Funds   0184   10/06/2020   45783                                                                                              Reduce Tuition Loan At Bank                                                    $      4,400.00
ACHS   Tuition Borrower Loan Funds   0184   10/12/2020   TRANSFER                                        TRANSFER                                           TUITION TRANSFER FROM LOAN ACCT TO OPERATING ‐ 10/12/20                        $      1,948.57
ACHS   Tuition Borrower Loan Funds   0184   10/13/2020   TRANSFER                                        TRANSFER                                           TUITION TRANSFER FROM LOAN ACCT TO OPERATING ‐ 10/13/20                        $      1,820.00
ACHS   Tuition Borrower Loan Funds   0184   10/13/2020   45809                                                                                              Reduce Tuition Loan At Bank                                                    $      4,400.00
ACHS   Tuition Borrower Loan Funds   0184   10/13/2020   45808                                                                                              Reduce Tuition Loan At Bank                                                    $      4,900.00
ACHS   Tuition Borrower Loan Funds   0184   10/14/2020   TRANSFER                                        TRANSFER                                           TUITION TRANSFER FROM LOAN ACCT TO OPERATING ‐ 10/14/20                        $      1,000.00
ACHS   Tuition Borrower Loan Funds   0184   10/15/2020   TRANSFER                                        TRANSFER                                           TUITION TRANSFER FROM LOAN ACCT TO OPERATING ‐ 10/15/20                        $    143,081.55
ACHS   Tuition Borrower Loan Funds   0184   10/20/2020   TRANSFER                                        TRANSFER                                           TUITION TRANSFER FROM LOAN ACCT TO OPERATIONG ‐ 10/20/20                       $        655.93
ACHS   Tuition Borrower Loan Funds   0184   10/21/2020   TRANSFER                                        TRANSFER                                           TRANSFER FROM LOAN TO OPERATING                                                $      1,576.23
ACHS   Tuition Borrower Loan Funds   0184   10/22/2020   TRANSFER                                        TRANSFER                                           TRANSFER FROM LOAN TO OPERATING                                                $        433.91
ACHS   Tuition Borrower Loan Funds   0184   10/26/2020   TRANSFER                                        TRANSFER                                           TUITION TRANSFER FROM LOAN ACCT TO OPERATING ‐ 10/26/20                        $      6,648.39
ACHS   Tuition Borrower Loan Funds   0184   10/26/2020   TRANSFER                                        TRANSFER                                           TUITION TRANSFER FROM LOAN ACCT TO OPERATING ‐ 10/23/20 (POSTED 10/26/20)      $      4,994.60
ACHS   Cash‐on‐line giving           2809   10/11/2020   20‐10‐002                                       First Bank                                         RECORD BANK CHARGE‐ CASH ONLINE ‐ 10/5/20                                      $        123.95
ACHS   Cash‐on‐line giving           2809   10/22/2020   TRANSFER                                        Transfer                                           RECORD TRANSFER FROM CASH ONLINE TO T/E FBT ‐ STRIPE 10/20/20                  $        100.00
ACHS   Cash‐on‐line giving           2809   10/23/2020   20‐10‐018                                                                                          RECORD REFUND ‐ ‐ COCKTAIL/COURTYARD ‐ 10/23/20                                $         30.00
AHHS   Operating                     8545   10/1/2020    ACH debit                                       BKCD Processing                                    Administrative                                                                 $         56.15
AHHS   Operating                     8545   10/2/2020    24201                                                                                              Student activities                                                             $        225.00
AHHS   Operating                     8545   10/2/2020    24202                                                                                              Student activities                                                             $        110.00
AHHS   Operating                     8545   10/2/2020    24203                                           VOID                                               VOID                                                                           $           ‐
AHHS   Operating                     8545   10/2/2020    24204                                                                                              Student activities                                                             $        110.00
AHHS   Operating                     8545   10/2/2020    24205                                           VOID                                               VOID                                                                           $           ‐
AHHS   Operating                     8545   10/2/2020    24206                                                                                              Student activities                                                             $        110.00
AHHS   Operating                     8545   10/2/2020    24207                                                                                              Student activities                                                             $        110.00
AHHS   Operating                     8545   10/2/2020    24208                                           Terrance North                                     Student activities                                                             $        110.00
AHHS   Operating                     8545   10/2/2020    24209                                           Walter Scott Bodet                                 Student activities                                                             $        125.00
AHHS   Operating                     8545   10/2/2020    24210                                                                                              Student activities                                                             $        110.00
AHHS   Operating                     8545   10/2/2020    24211                                                                                              Student activities                                                             $        106.00
AHHS   Operating                     8545   10/5/2020    24212                                                                                              Student activities                                                             $        106.00
AHHS   Operating                     8545   10/5/2020    24213                                                                                              Student activities                                                             $         76.00
AHHS   Operating                     8545   10/5/2020    24214                                                                                              Student activities                                                             $         76.00
AHHS   Operating                     8545   10/5/2020    24215                                                                                              Student activities                                                             $         30.00
AHHS   Operating                     8545   10/7/2020    ACH debit                                       Clearent                                           Administrative                                                                 $         60.66
AHHS   Operating                     8545   10/7/2020    24216                                           Evergreen Tractor Equipment                        Operations                                                                     $        169.52
AHHS   Operating                     8545   10/7/2020    24217                                           A‐1 Electrical Contractors                         Operations                                                                     $        250.00
AHHS   Operating                     8545   10/7/2020    24218                                           ADS Systems, LLC                                   Operations                                                                     $        411.25
AHHS   Operating                     8545   10/7/2020    24219                                           Capital City Press, LLC (The Advocate)             Development                                                                    $        275.00
AHHS   Operating                     8545   10/7/2020    24220                                                                                              Student Activities                                                             $         65.00
AHHS   Operating                     8545   10/7/2020    24221                                                                                              Student Activities                                                             $         65.00
AHHS   Operating                     8545   10/7/2020    24222                                           WESCO Gas & Welding Supply, Inc                    Instructional                                                                  $        138.07
AHHS   Operating                     8545   10/7/2020    24223                                           Creative Tees                                      Student Services                                                               $        191.50
AHHS   Operating                     8545   10/7/2020    24224                                           St. Tammany 4‐H                                    Student Actviities                                                             $         90.00
AHHS   Operating                     8545   10/7/2020    24225                                           T‐Shirt Po‐Boy                                     Student Activities                                                             $        760.00
AHHS   Operating                     8545   10/7/2020    24226                                           Tammany Mobile Lube                                Operations                                                                     $      1,851.46
AHHS   Operating                     8545   10/7/2020    24227                                           VOID                                               VOID                                                                           $           ‐
AHHS   Operating                     8545   10/7/2020    24228                                           Gulf Coast Office Products, Inc.                   Instructional                                                                  $      1,169.88
AHHS   Operating                     8545   10/7/2020    24229                                           Medco Supply Company                               Student Activities                                                             $         37.00
AHHS   Operating                     8545   10/7/2020    24230                                           Scott Ott Creative, Inc.                           Development                                                                    $        150.00
AHHS   Operating                     8545   10/7/2020    24231                                           Coca‐Cola Bottling Company United, Inc.            Student Activities                                                             $        354.07
AHHS   Operating                     8545   10/7/2020    24232                                           Mele Printing                                      Development                                                                    $         76.00
AHHS   Operating                     8545   10/7/2020    24233                                           Blick Art Materials                                Instructional                                                                  $        243.62
AHHS   Operating                     8545   10/7/2020    24234                                           HiTouch Business Services LLC                      Instructional                                                                  $        639.80
AHHS   Operating                     8545   10/7/2020    24235                                           Home Depot Credit Services                         Administrative                                                                 $         40.00
AHHS   Operating                     8545   10/7/2020    24236                                           LEAF                                               Instructional                                                                  $        268.49
AHHS   Operating                     8545   10/7/2020    24237                                           Tammany Utilities                                  Operations                                                                     $      1,379.68
AHHS   Operating                     8545   10/7/2020    24238                                           AT&T                                               Operations                                                                     $        196.75
AHHS   Operating                     8545   10/7/2020    24239                                           Star Service, Inc.                                 Operations                                                                     $      4,083.33
AHHS   Operating                     8545   10/7/2020    24240                                           Wells Fargo Vendor Fin Serv                        Instructional                                                                  $      1,556.47
AHHS   Operating                     8545   10/7/2020    24241                                           Wex Bank                                           Student Activities                                                             $        258.16
AHHS   Operating                     8545   10/7/2020    ACH Debit                                       Pitney Bowes Purchase Power                        Administrative                                                                 $        964.71
AHHS   Operating                     8545   10/8/2020    24242                                           Gallagher Benefit Services                         Administrative                                                                 $     39,234.52
AHHS   Operating                     8545   10/8/2020    24243                                           Davis Products Bogalusa                            Operations                                                                     $      1,066.05
AHHS   Operating                     8545   10/8/2020    24244                                           Davis Products Covington                           Operations                                                                     $      1,757.30
AHHS   Operating                     8545   10/8/2020    24245                                           Simpson Sod                                        Operations                                                                     $      2,540.00
AHHS   Operating                     8545   10/8/2020    24246                                           First Bank & Trust (Gas Card)                      Operations                                                                     $      2,214.04
AHHS   Operating                     8545   10/8/2020    24247                                           First Bank & Trust ‐ 1236 ‐                        Student Activities                                                             $        274.98
AHHS   Operating                     8545   10/8/2020    24248                                           First Bank And Trust (30207)                       Instructional                                                                  $      3,697.27
AHHS   Operating                     8545   10/8/2020    24249                                           First Bank And Trust ‐                             Administrative                                                                 $        303.19
AHHS   Operating                     8545   10/13/2020   24250                                                                                              Student Activities                                                             $         65.00
AHHS   Operating                     8545   10/13/2020   24251                                                                                              Student Activities                                                             $        101.00
AHHS   Operating                     8545   10/13/2020   24252                                                                                              Student ACtivities                                                             $         95.00
AHHS   Operating                     8545   10/14/2020   24253                                           Picture This Wraps and Graphics                    Student Activities                                                             $      1,502.75
AHHS   Operating                     8545   10/14/2020   24254                                           Star Service, Inc.                                 Operations                                                                     $        716.90
AHHS   Operating                     8545   10/14/2020   24255                                           Scott Ott Creative, Inc.                           Development                                                                    $        600.00
AHHS   Operating                     8545   10/14/2020   24256                                           Creative Tees                                      Student Activities                                                             $      3,523.75
AHHS   Operating                     8545   10/14/2020   24257                                           Lanier Music LLC                                   Instructional                                                                  $        382.62
AHHS   Operating                     8545   10/14/2020   24258                                           LHSAA                                              Student Activities                                                             $        150.00
AHHS   Operating                     8545   10/14/2020   24259                                           Northshore Food Bank                               Other ‐ donation                                                               $        881.00
AHHS   Operating                     8545   10/14/2020   24260                                           Southern Pottery Equipment & Supplies, LLC         Instructional                                                                  $        763.53
AHHS   Operating                     8545   10/14/2020   24261                                           St. Thomas Aquinas High School                     Student Activities                                                             $         60.00
AHHS   Operating                     8545   10/14/2020   24262                                                                                              Student Activities                                                             $        150.00
AHHS   Operating                     8545   10/14/2020   24263                                           National Catholic Educational Association (NCEA)   Administrative                                                                 $      1,130.00
AHHS   Operating                     8545   10/14/2020   24264                                           Loomis                                             Administrative                                                                 $        131.52
AHHS   Operating                     8545   10/14/2020   24265                                           VOID                                               VOID                                                                           $           ‐
AHHS   Operating                     8545   10/14/2020   24266                                           Healy Awards Inc.                                  Student Activities                                                             $        796.75
AHHS   Operating                     8545   10/14/2020   24267                                           BSN Sports LLC                                     Student Activities                                                             $        388.94
AHHS   Operating                     8545   10/14/2020   24268                                           Cintas Corporation #544                            Operations                                                                     $        168.49
AHHS   Operating                     8545   10/14/2020   24269                                           Mele Printing                                      Development                                                                    $      1,557.27
AHHS   Operating                     8545   10/14/2020   24270                                           CLECO Power LLC                                    Operations                                                                     $     11,578.45
AHHS   Operating                     8545   10/14/2020   24271                                           Sam's Club                                         Student Activities                                                             $      1,069.58
AHHS   Operating                     8545   10/14/2020   24272                                                                                              Student Activities                                                             $        750.00
AHHS   Operating                     8545   10/14/2020   24273                                                                                              Student Activities                                                             $        750.00
AHHS   Operating                     8545   10/14/2020   24274                                                                                              Student Activities                                                             $         95.00
AHHS   Operating                     8545   10/14/2020   24275                                                                                              Student Activities                                                             $         62.00
AHHS   Operating                     8545   10/14/2020   24276                                           Nicholas M Soileau, Inc.                           Student Activities                                                             $         62.00
AHHS   Operating                     8545   10/15/2020   24277                                           Mary Bird Perkins Breast Cancer Center             Other ‐ Donation                                                               $      1,768.38
AHHS   Operating                     8545   10/15/2020   24278                                                                                              Student Activities                                                             $        200.00
AHHS   Operating                     8545   10/15/2020   24279                                                                                              Student Activities                                                             $        106.00
AHHS   Operating                     8545   10/15/2020   24280                                                                                              Student Activities                                                             $         62.00
AHHS   Operating                     8545   10/15/2020   24281                                                                                              Student Activities                                                             $        152.00
AHHS   Operating                     8545   10/15/2020   24282                                                                                              Student Activities                                                             $        106.00
AHHS   Operating                     8545   10/15/2020   24283                                                                                              Student Activities                                                             $        152.00
AHHS   Operating                     8545   10/15/2020   24284                                                                                              Student Activities                                                             $        200.00
AHHS   Operating                     8545   10/15/2020   24285                                                                                              Student Activities                                                             $         62.00
AHHS   Operating                     8545   10/16/2020   24286                                                                                              Student Activities                                                             $        275.00
AHHS   Operating                     8545   10/16/2020   24287                                                                                              Student Activities                                                             $        152.00
AHHS   Operating                     8545   10/16/2020   24288                                                                                              Student Activities                                                             $        155.00
AHHS   Operating                     8545   10/16/2020   24289                                           VOID                                               VOID                                                                           $           ‐
AHHS   Operating                     8545   10/16/2020   24290                                                                                              Student Activities                                                             $        106.00
AHHS   Operating                     8545   10/16/2020   24291                                                                                              Student Activities                                                             $        106.00
AHHS   Operating                     8545   10/16/2020   24292                                                                                              Student Activities                                                             $        106.00
AHHS   Operating                     8545   10/16/2020   24293                                                                                              Student Activities                                                             $         61.00
AHHS   Operating                     8545   10/16/2020   24294                                                                                              Student Activities                                                             $        106.00
AHHS   Operating                     8545   10/16/2020   24295                                                                                              Student Activities                                                             $         61.00
AHHS   Operating                     8545   10/16/2020   24296                                                                                              Student Activities                                                             $        121.00
AHHS   Operating                     8545   10/19/2020   ACH debit                                       Louisiana High School Athletic Assn                Student Activities                                                             $        100.00
AHHS   Operating                     8545   10/21/2020   24297                                           ARNO ‐ Accounting Office                           Insurance                                                                      $     16,326.21
AHHS   Operating                     8545   10/21/2020   24298                                           Creative Tees                                      Student Activities                                                             $        295.78
AHHS   Operating                     8545   10/21/2020   24299                                           CYSA                                               Student Activities                                                             $        200.00
AHHS   Operating                     8545   10/21/2020   24300                                           Kentwood Springs                                   Administrative                                                                 $        361.12
AHHS   Operating                     8545   10/21/2020   24301                                           Fire and Safety Commodities, Inc                   Operations                                                                     $        761.10
AHHS   Operating                     8545   10/21/2020   24302                                                                                              Student Activities                                                             $         55.00
AHHS   Operating                     8545   10/21/2020   24303                                           Demons Unlimited Foundation                        Student Activities                                                             $         70.00
AHHS   Operating                     8545   10/21/2020   24304                                                                                              Student Activities                                                             $        140.00
AHHS   Operating                     8545   10/21/2020   24305                                                                                              Student Activities                                                             $         55.00
AHHS   Operating                     8545   10/21/2020   24306                                           St. Scholastica Academy                            Student Activities                                                             $         60.00
AHHS   Operating                     8545   10/21/2020   24307                                           The Tent Man                                       Student Activities                                                             $        417.40
AHHS   Operating                     8545   10/21/2020   24308                                                                                              Student Activities                                                             $         55.00
AHHS   Operating                     8545   10/21/2020   24309                                           Attaway Award Center                               Student Activities                                                             $          4.35
AHHS   Operating                     8545   10/21/2020   24310                                                                                              Student Activities                                                             $         62.00
AHHS   Operating                     8545   10/21/2020   24311                                           Blick Art Materials                                Instructional                                                                  $        491.46
AHHS   Operating                     8545   10/21/2020   24312                                           Intrado Interactive Services Corporation           Instructional                                                                  $      1,455.91
AHHS   Operating                     8545   10/21/2020   24313                                           Coca‐Cola Bottling Company United, Inc.            Student Activities                                                             $        590.99
AHHS   Operating                     8545   10/21/2020   24314                                           IV Waste LLC                                       Operations                                                                     $        186.19
AHHS   Operating                     8545   10/21/2020   24315                                           Rotolo Consultants, Inc.                           Operations                                                                     $      2,407.50
AHHS   Operating                     8545   10/21/2020   24316                                           BSN Sports LLC                                     Student Activities                                                             $      4,549.19
AHHS   Operating                     8545   10/21/2020   24317                                           Pond Solutions, LLC                                Operations                                                                     $        110.00
AHHS   Operating                     8545   10/21/2020   24318                                           Romano Promotions LLC                              Fundraising                                                                    $        635.00
AHHS   Operating                     8545   10/21/2020   24319                                           Guardian ‐ Appleton                                Administrative                                                                 $      2,451.73
AHHS   Operating                     8545   10/21/2020   24320                                           Loop Nola                                          Student Activities                                                             $      3,615.00
AHHS   Operating                     8545   10/21/2020   24321                                           CLECO Power LLC                                    Operations                                                                     $      7,124.03
AHHS   Operating                     8545   10/21/2020   24322                                           Mesalain Consulting Group, LLC                     Operations                                                                     $      5,950.00
AHHS   Operating                     8545   10/21/2020   24323                                           VOID                                               VOID                                                                           $           ‐
AHHS   Operating                     8545   10/21/2020   24324                                           Mele Printing                                      Development                                                                    $         90.00
AHHS   Operating                     8545   10/21/2020   24325                                           Davis Products Covington                           Operations                                                                     $        507.96
AHHS   Operating                     8545   10/21/2020   24326                                           Steve Weiss Music                                  Instructional                                                                  $        204.69
AHHS   Operating                     8545   10/21/2020   24327                                                                                              Student Activities                                                             $        800.00
AHHS   Operating                     8545   10/21/2020   24328                                           Southern Network Services LLC                      Operations                                                                     $     15,180.00
AHHS   Operating                     8545   10/22/2020   24329                                                                                              Student ACtivities                                                             $        152.00
AHHS   Operating                     8545   10/22/2020   24330                                                                                              Student Activities                                                             $        130.00
AHHS   Operating                     8545   10/23/2020   ACH debit                                       Deluxe Business Checks                             Administrative                                                                 $        448.00
AHHS   Operating                     8545   10/27/2020   24331                                                                                              Student Activities                                                             $         76.00
AHHS   Operating                     8545   10/28/2020   ACH debit                                       First Bank snd Trust ‐ ACH payment returned        Tuition and fees                                                               $      3,600.00
AHHS   Operating                     8545   10/29/2020   ACH debit                                       Crescent Payroll                                   401(k) deductions                                                              $     27,722.53
AHHS   Operating                     8545   10/29/2020   ACH debit                                       Crescent Payroll                                   FICA taxes                                                                     $     72,692.09
AHHS   Operating                     8545   10/29/2020   ACH debit                                       Crescent Payroll                                   Administrative                                                                 $        395.00
AHHS   Operating                     8545   10/29/2020   ACH debit                                       Crescent Payroll                                   October Direct Deposits                                                        $    215,646.14
AHHS   Operating                     8545   10/29/2020   24332                                           Creative Tees                                      Student Activities                                                             $      7,465.85
AHHS   Operating                     8545   10/29/2020   24333                                                                                              Student Activities                                                             $        180.00
AHHS   Operating                     8545   10/29/2020   24334                                           Coca‐Cola Bottling Company United, Inc.            Student Activities                                                             $        522.97
AHHS   Operating                     8545   10/29/2020   24335                                                                                              Student Activities                                                             $         54.25
AHHS   Operating                     8545   10/29/2020   24336                                           Klass Ink Trophies, LLC                            Student Activities                                                             $         15.00
AHHS   Operating                     8545   10/29/2020   24337                                           LHSAA                                              Student Activities                                                             $        140.00
AHHS   Operating                     8545   10/29/2020   24338                                           St. Thomas Aquinas High School                     Student Activities                                                             $         60.00
AHHS   Operating                     8545   10/29/2020   24339                                           Tchefuncta Country Club                            Student Activities                                                             $        300.00
AHHS   Operating                     8545   10/29/2020   24340                                                                                              Student Activities                                                             $         62.00
AHHS   Operating                     8545   10/29/2020   24341                                           Fire and Safety Commodities, Inc                   Operations                                                                     $        120.00
AHHS   Operating                     8545   10/29/2020   24342                                           Rotolo Consultants, Inc.                           Operations                                                                     $      3,247.14
AHHS   Operating                     8545   10/29/2020   24343                                           Uniti Fiber                                        Operations                                                                     $      1,401.66
AHHS   Operating                     8545   10/29/2020   24344                                           Gallagher Benefit Services                         Administrative                                                                 $     39,899.36
AHHS   Operating                     8545   10/29/2020   24345                                           Blick Art Materials                                Instructional                                                                  $        633.33
AHHS   Operating                     8545   10/29/2020   24346                                           Atmos Energy                                       Operations                                                                     $        211.13
AHHS   Operating                     8545   10/29/2020   24347                                           Pitney Bowes Purchase Power                        Administrative                                                                 $        402.50
AHHS   Operating                     8545   10/29/2020   24348                                           St. Thomas Aquinas High School                     Student Activities                                                             $         60.00
AHHS   Operating                     8545   10/29/2020   24349                                                                                              refund credit balance                                                          $      1,125.00
AHHS   Operating                     8545   10/30/2020   24350                                                                                              Student Activities                                                             $        106.00
AHHS   Operating                     8545   10/30/2020   24351                                                                                              Student Activities                                                             $        106.00
AHHS   Operating                     8545   10/30/2020   24352                                                                                              Student Activities                                                             $        110.00
AHHS   Operating                     8545   10/30/2020   24353                                                                                              Student Activities                                                             $         61.00
AHHS   Operating                     8545   10/30/2020   24354                                                                                              Student Activities                                                             $        106.00
AHHS   Operating                     8545   10/30/2020   24355                                                                                              Student Activities                                                             $        106.00
AHHS   Operating                     8545   10/30/2020   24356                                           Video Specialties                                  Student Activities                                                             $        652.20
AHHS   Operating                     8545   10/30/2020   24357                                                                                              Instructional                                                                  $        480.00
AHHS   Operating                     8545   10/30/2020   24358                                                                                              Student Activities                                                             $        200.00
AHHS   Operating                     8545   10/30/2020   24359                                                                                              Student Activities                                                             $        152.00
AHHS   Operating                     8545   10/30/2020   24360                                                                                              Student Activities                                                             $        200.00
AHHS   Operating                     8545   10/30/2020   24361                                                                                              Student Activities                                                             $         61.00
AHHS   Operating                     8545   10/30/2020   24362                                                                                              Student Activities                                                             $        152.00
AHHS   Operating                     8545   10/30/2020   24363                                                                                              Student Activities                                                             $        275.00
AHHS   Operating                     8545   10/30/2020   24364                                                                                              Student Activities                                                             $        106.00
AHHS   Operating                     8545   10/30/2020   24365                                                                                              Student Activities                                                             $        152.00
AHHS   Operating                     8545   10/30/2020   24366                                                                                              Student Activities                                                             $        106.00
AHHS   Operating                     8545   10/30/2020   24367                                                                                              Student Activities                                                             $        106.00
AHHS   Operating                     8545   10/30/2020   ACH debit                                       First Bank and Trust                               Administrative                                                                 $         25.00
AHHS   Tuition Reserve Account       0079   10/1/2020    ACH                                             transfers                                          Transfer to operating                                                          $      2,586.99
AHHS   Tuition Reserve Account       0079   10/1/2020    ACH                                             loan adjust                                        Loan cancelled ‐ student withdrew                                              $      8,116.64
AHHS   Tuition Reserve Account       0079   10/1/2020    ACH                                             transfers                                          Tuition and fees                                                               $      8,197.26
AHHS   Tuition Reserve Account       0079   10/2/2020    ACH                                             transfers                                          Tuition and fees                                                               $      2,079.00
AHHS   Tuition Reserve Account       0079   10/5/2020    ACH                                             loan decrease                                      Loan decrease due to ACE scholar funding                                       $      4,200.00
AHHS   Tuition Reserve Account       0079   10/5/2020    ACH                                             transfers                                          Tuition and fees                                                               $     66,514.81
AHHS   Tuition Reserve Account       0079   10/7/2020    ACH                                             transfers                                          Tuition and fees                                                               $      6,300.07
AHHS   Tuition Reserve Account       0079   10/8/2020    ACH                                             transfers                                          Tuition and fees                                                               $      2,943.09
AHHS   Tuition Reserve Account       0079   10/9/2020    ACH                                             loan decrease                                      Loan decrease due to tuition assistance                                        $      6,000.00
AHHS   Tuition Reserve Account       0079   10/14/2020   ACH                                             transfers                                          Tuition and fees                                                               $        364.61
AHHS   Tuition Reserve Account       0079   10/15/2020   ACH                                             transfers                                          Tuition and fees                                                               $     95,220.49
AHHS   Tuition Reserve Account       0079   10/16/2020   ACH                                             transfers                                          Tuition and fees                                                               $      3,202.34
AHHS   Tuition Reserve Account       0079   10/21/2020   ACH                                             transfers                                          Tuition and fees                                                               $        798.46
AHHS   Tuition Reserve Account       0079   10/22/2020   ACH                                             transfers                                          Tuition and fees                                                               $      1,039.50
AHHS   Tuition Reserve Account       0079   10/23/2020   ACH                                             transfers                                          Tuition and fees                                                               $        929.50
AHHS   Tuition Reserve Account       0079   10/27/2020   ACH                                             transfers                                          Tuition and fees                                                               $      1,079.50
AHHS   Tuition Reserve Account       0079   10/29/2020   ACH                                             transfers                                          Tuition and fees                                                               $      1,039.50
ARHS   Day Camp Account              2887   10/12/2020   GJ                                              FBT                                                Transfer to Operating from Day Camp for Cash Flow for Operations               $     70,000.00
ARHS   Day Camp Account              2887   10/23/2020   J4D8Z9N7B8Z0                                    FBT                                                FBT Stripe Fee 10/2/20 Fall Basketball Clinic                                  $          6.10
ARHS   Merchant Account              2876   10/9/2020    Merchant Service Merch Fee XXXXXX5670 10/2/20   FBT                                                Monthly Service Fee                                                             $         95.02
ARHS   Merchant Account              2876   10/9/2020    Merchant Service Merch Fee XXXXXX5670 10/2/20   FBT                                                Monthly Service Fee                                                             $         48.84
                                                                                                                                                            FBT Online Advancement Auth Net Gateway Billing
ARHS   Online Advancement            2832   10/2/2020    XXXXX8819                                       FBt                                                Oct 2 XXXXX8819                                                                $            8.00
ARHS   Online Advancement            2832   10/2/2020    XXXXXX8675                                      FBT                                                FBT Online Advancement Oct 2, 2020 Merchant Service Fee XXXXXX8675              $         42.50
ARHS   Online Advancement            2832   10/12/2020   FBT Internal Transfer                           FBT                                                Transfer to Operation from Online Advancement for Cash Flow for Operations      $     70,000.00
ARHS   Online Fundraising            2865   10/2/2020    628078000715292                                 FB T                                               Bankcard Monthly Fee                                                           $         10.00
ARHS   Operating                     2799   10/02/2020   61569                                           A & L Sales, Inc.                                   Custodial Supplies                                                             $      1,724.27
ARHS   Operating                     2799   10/02/2020   61570                                           Arch of New Orleans Info Technology                Instructional Technology Services                                               $      1,564.00
ARHS   Operating                     2799   10/02/2020   61571                                                                                              Stu Activ Retreat Expenses                                                     $         150.00
ARHS   Operating                     2799   10/02/2020   61572                                                                                              St Serv Fd Services Purchaes                                                    $      2,557.79
ARHS   Operating                     2799   10/02/2020   61573                                           BSN Sports, LLC                                    Stu Activ Baseball Fundraising Attire                                          $         737.87
ARHS   Operating                     2799   10/02/2020   61574                                                                                              St Serv Fd Services Purchaes                                                    $      5,201.83
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 32 of
                                           103
ARHS   Operating                                     2799   10/02/2020   61575                             Camp Abbey Retreat Center                                                      Stu Activ Retreat Expenes                                                           $      1,568.00
ARHS   Operating                                     2799   10/02/2020   61576                             Champion Custom Products                                                       St Serv Bkstr Inventory Purchases                                                   $      1,113.46
ARHS   Operating                                     2799   10/02/2020   61577                             CiCi's #378                                                                    St Serv Fd Services Purchaes                                                        $      1,457.82
ARHS   Operating                                     2799   10/02/2020   61578                             Clarion Herald                                                                 Devel Admissions Advertising                                                        $        795.00
ARHS   Operating                                     2799   10/02/2020   61579                                                                                                            Tuition and Fee Refund                                                              $        797.52
ARHS   Operating                                     2799   10/02/2020   61580                             Coca‐Cola Bottling Company United, Inc.                                        St Serv Fd Drink Services Purchaes                                                  $      5,014.58
ARHS   Operating                                     2799   10/02/2020   61581                                                                                                            Stu Activ Retreat Expenses                                                          $        250.00
ARHS   Operating                                     2799   10/02/2020   61582                             Hammond High Magnet School                                                     Stu Activ Football Gate Share                                                       $      5,440.00
ARHS   Operating                                     2799   10/02/2020   61583                                                                                                            Stu Activ Retreat Expenses                                                          $        150.00
ARHS   Operating                                     2799   10/02/2020   61584                                                                                                            Stu Activ Stu Cncl Reimburse                                                        $          6.99
ARHS   Operating                                     2799   10/02/2020   61585                             Jefferson Parish Parks & Recreation                                            Devel Alumni Baricade Rental for Event                                              $        500.00
ARHS   Operating                                     2799   10/02/2020   61586                             Joe Cummins Advertising Specialties Inc                                        Stu Serv Bkstr InventoryPurchase                                                    $      2,380.56
ARHS   Operating                                     2799   10/02/2020   61587                                                                                                            Stu Activ Golf Reimburse                                                            $         89.97
ARHS   Operating                                     2799   10/02/2020   61588                             LHSAA                                                                          Stu Activ Wrestling Weight Mgmt Fee                                                 $         30.00
ARHS   Operating                                     2799   10/02/2020   61589                                                                                                            Instructional Supply Reimburse                                                      $          6.99
ARHS   Operating                                     2799   10/02/2020   61590                                                                                                            Stu Activ Campus Ministry Reimburse                                                 $        198.14
ARHS   Operating                                     2799   10/02/2020   61591                             Medco Supply Co                                                                Stu Activ Athletics Trainer Supplies                                                $         60.43
ARHS   Operating                                     2799   10/02/2020   61592                             Metairie Park Country Day School                                               Stu Activ Athletics Cr Country Entry Fee                                            $         75.00
ARHS   Operating                                     2799   10/02/2020   61593                                                                                                            Stu Serv Fd Services Refund                                                         $         50.00
ARHS   Operating                                     2799   10/02/2020   61594                                                                                                            Stu Activ Football Scoutning Money/Supplies                                         $      1,186.54
ARHS   Operating                                     2799   10/02/2020   61595                             New Orleans City Business                                                      Devel/Marketing Subscription                                                        $        135.00
ARHS   Operating                                     2799   10/02/2020   61596                                                                                                            Stu Activ Ftbl Jr High Officials Advance                                            $      1,540.00
ARHS   Operating                                     2799   10/02/2020   61597                             School Specialty Inc                                                           Instructional Digital Art I supplies                                                $        977.95
ARHS   Operating                                     2799   10/02/2020   61598                             Screen Printing Unlimited LLC                                                  Stu Activ Baseball Banner                                                           $        105.07
ARHS   Operating                                     2799   10/02/2020   61599                             Subway 22229 LLC                                                               St Serv Fd Services Purchaes                                                        $      1,417.50
ARHS   Operating                                     2799   10/02/2020   61600                             Union Service & Maintenance                                                    Maintenance Contracted Services                                                     $      4,935.45
ARHS   Operating                                     2799   10/02/2020   61601                             Varsity Spirit Fashion                                                         Stu Activ Cheerleaders Uniforms                                                     $     17,910.42
ARHS   Operating                                     2799   10/02/2020   61602                             Veo Technologies, Inc.                                                         Stu Activ Soccer Camera Purchase                                                    $      2,189.00
ARHS   Operating                                     2799   10/02/2020   61603                             Vernier Software & Technology                                                  Instructional Science Equipment                                                     $        149.00
ARHS   Operating                                     2799   10/02/2020   61604                                                                                                            Tuition and Fee Refund                                                              $         75.00
ARHS   Operating                                     2799   10/05/2020   61605                                                                                                            Transportation Busses Titles Transferred                                            $        126.50
ARHS   Operating                                     2799   10/05/2020   Online Insurance Payment          GallagherOctPayment                                                            Medical Premiums Payment                                                            $      1,994.51
ARHS   Operating                                     2799   10/05/2020   Online Insurance Payment          GallagherOctPayment                                                            Medical Premiums Payment                                                            $     54,292.68
ARHS   Operating                                     2799   10/07/2020   61606                             All Sport Sales                                                                Stu Activ Stu Cncl Senior Sweatshirts                                               $        512.53
ARHS   Operating                                     2799   10/07/2020   61607                             Archdiocese of New Orleans Information Technology                              Technology hardware/software reimburse and licenses                                 $     26,061.67
ARHS   Operating                                     2799   10/07/2020   61608                                                                                                            Stu Activ Retreat Expenses                                                          $        150.00
ARHS   Operating                                     2799   10/07/2020   61609                                                                                                            St Serv Fd Services Purchaes                                                        $      4,094.71
ARHS   Operating                                     2799   10/07/2020   61610                             Best Business Forms                                                            Admin Purchase Orders Reprinted                                                     $        372.90
ARHS   Operating                                     2799   10/07/2020   61611                             Boys Girls High School Prep Bowling League                                     Stu Activ Bowling League Dues                                                        $             ‐
ARHS   Operating                                     2799   10/07/2020   61612                             Carver High School                                                             Stu Activ Track Meet Entry Fee                                                      $         75.00
ARHS   Operating                                     2799   10/07/2020   61613                             CiCi's #378                                                                    St Serv Fd Services Purchaes                                                        $        862.68
ARHS   Operating                                     2799   10/07/2020   61614                             Cintas Corp                                                                    Maintenance Reg Cleaning                                                            $        250.49
ARHS   Operating                                     2799   10/07/2020   61615                             Cox Communications                                                             Instructional Library and Media Expense                                             $        145.49
ARHS   Operating                                     2799   10/07/2020   61616                                                                                                            Stu Activ Campus Ministry Reimburse                                                 $        250.00
ARHS   Operating                                     2799   10/07/2020   61617                             Entergy                                                                        Utilities Electric                                                                  $     14,745.15
ARHS   Operating                                     2799   10/07/2020   61618                             Exxon Mobil                                                                    Stu Serv Dr Ed Gasoline                                                             $         40.16
ARHS   Operating                                     2799   10/07/2020   61619                             G & M Electric Co                                                              Maintenance new fan motor ftbl bathroom                                             $        172.93
ARHS   Operating                                     2799   10/07/2020   61620                             Greater New Orleans Official's Association                                     Assignment Secretaries Principals Assn                                              $        625.00
ARHS   Operating                                     2799   10/07/2020   61621                                                                                                            Stu Activ Retreat Expenses                                                          $        150.00
ARHS   Operating                                     2799   10/07/2020   61622                             Jefferson Trophies & Awards                                                    Stu Activ Athletics‐Hall of Fame Plaques                                            $        556.66
ARHS   Operating                                     2799   10/07/2020   61623                             Kentwood Springs                                                               Admin Hospitality                                                                   $         33.25
ARHS   Operating                                     2799   10/07/2020   61624                                                                                                            Guidance Contracted Services                                                        $      2,000.00
ARHS   Operating                                     2799   10/07/2020   61625                                                                                                            Stu Activ Retreat/Campus Ministry Reimbursement                                     $      1,184.03
ARHS   Operating                                     2799   10/07/2020   61626                             Main Stage Productions                                                         Stu Activ Music for Ring Event                                                      $      1,250.00
ARHS   Operating                                     2799   10/07/2020   61627                             MDK Apparel                                                                    Stu Serv Bkstr InventoryPurchase                                                    $      1,735.65
ARHS   Operating                                     2799   10/07/2020   61628                             Medco Supply Co                                                                Stu Activ Fooball Medical /Supplies                                                 $         16.45
ARHS   Operating                                     2799   10/07/2020   61629                                                                                                            Stu Activ Ftbl Locker Room Penants                                                  $        147.42
ARHS   Operating                                     2799   10/07/2020   61630                             Mowers‐Frazier, Heather                                                        Tuition and Fee Refund for overpay                                                  $      1,140.18
ARHS   Operating                                     2799   10/07/2020   61631                             New Orleans Catholic Men's Club Association                                    Marketing Sponsorship for Tourneu\y                                                 $        250.00
ARHS   Operating                                     2799   10/07/2020   61632                                                                                                            Instructional Epense Reimburse                                                      $         15.31
ARHS   Operating                                     2799   10/07/2020   61633                                                                                                            Refreshment reimburse Ring Ceremony                                                 $         76.12
ARHS   Operating                                     2799   10/07/2020   61634                             Star Service Inc.                                                              Maintenance Contracted Services                                                     $      2,886.00
ARHS   Operating                                     2799   10/07/2020   61635                             Subway 22229 LLC                                                               St Serv Fd Services Purchaes                                                        $        717.50
ARHS   Operating                                     2799   10/07/2020   61636                                                                                                            Stu Activ Campus Ministry Reimburse                                                 $        225.00
ARHS   Operating                                     2799   10/16/2020   61637                             A & L Sales, Inc.                                                              Custodial Supplies                                                                  $        676.68
ARHS   Operating                                     2799   10/16/2020   61638                             Adrian Hammers Church Interiors                                                Stu Activ Supplies for Chape                                                        $        347.00
ARHS   Operating                                     2799   10/16/2020   61639                             ADS Systems, LLC                                                               Maintenance Fire Alarm Inspection                                                   $      1,021.97
ARHS   Operating                                     2799   10/16/2020   61640                             Ahern Rentals                                                                  Maintenance Lift Rental for Painting                                                $        100.00
ARHS   Operating                                     2799   10/16/2020   61641                                                                                                            Instructional Reimbursement Math                                                    $         51.99
ARHS   Operating                                     2799   10/16/2020   61642                                                                                                            Stu Serv Fd Services Purchases                                                      $      1,021.52
ARHS   Operating                                     2799   10/16/2020   61643                                                                                                            Stu Serv Fd Services Purchases                                                      $        697.24
ARHS   Operating                                     2799   10/16/2020   61644                             CiCi's #378                                                                    St Serv Fd Services Purchaes                                                        $        829.92
ARHS   Operating                                     2799   10/16/2020   61645                             Cintas Corp                                                                    Maintenance Rug Cleaning                                                            $        250.49
ARHS   Operating                                     2799   10/16/2020   61646                                                                                                            Development Contracted Services                                                     $      2,083.34
ARHS   Operating                                     2799   10/16/2020   61647                             Corass Electrical Service                                                      Maintenance Contracted Services                                                     $     10,000.00
ARHS   Operating                                     2799   10/16/2020   61648                             Disinfx                                                                        Maintenance Sanitation Services                                                     $        700.00
ARHS   Operating                                     2799   10/16/2020   61649                                                                                                            Tuition Refund due to overpayment                                                   $      1,617.50
ARHS   Operating                                     2799   10/16/2020   61650                             Greenkeeper's, Inc.                                                            Maintenance Contracted Lawn Care                                                    $      3,584.00
ARHS   Operating                                     2799   10/16/2020   61651                                                                                                            Devel Admissions Expense Reimbursement                                              $        138.89
ARHS   Operating                                     2799   10/16/2020   61652                             Gus Willy                                                                      Stu Serv Bkstr InventoryPurchase                                                    $      1,664.21
ARHS   Operating                                     2799   10/16/2020   61653                             Integrity Abbey Flooring Center                                                Maint Upkeep Expenses                                                               $      7,365.22
ARHS   Operating                                     2799   10/16/2020   61654                             Interface Security Systems, LLC                                                Maint Contracted Security Services                                                  $      1,021.11
ARHS   Operating                                     2799   10/16/2020   61655                             Jefferson Parish Parks & Recreation                                            Alumni Rental Expense of Equipment for event                                        $        400.00
ARHS   Operating                                     2799   10/16/2020   61656                                                                                                            Tuition and Fee Refund                                                              $      2,218.00
ARHS   Operating                                     2799   10/16/2020   61657                                                                                                            Stu Serv Bkstr Inventory Purchase                                                   $        800.00
ARHS   Operating                                     2799   10/16/2020   61658                                                                                                            Stu Serv Bkstr Expense Reimburse                                                    $         16.95
ARHS   Operating                                     2799   10/16/2020   61659                                                                                                            Tuition refund due to SWE scholarship                                               $      2,502.50
ARHS   Operating                                     2799   10/16/2020   61660                             Nasco                                                                          Instructional Art Supplies                                                          $        121.35
ARHS   Operating                                     2799   10/16/2020   61661                             National Association of Secondary Principals ‐ NASSP                           Administration Dues                                                                 $        250.00
ARHS   Operating                                     2799   10/16/2020   61662                             NCEA                                                                           Administration Dues                                                                 $        955.00
ARHS   Operating                                     2799   10/16/2020   61663                             Nelnet Business Solutions ‐ FACTS                                              Instructional Technology Services Contracted                                        $      1,092.27
ARHS   Operating                                     2799   10/16/2020   61664                             Presto‐X                                                                       Maintenance Sanitation Supplies                                                     $        386.00
ARHS   Operating                                     2799   10/16/2020   61665                                                                                                            Tuition and Fee Refund                                                              $      3,320.28
ARHS   Operating                                     2799   10/16/2020   61666                             Screen Printing Unlimited LLC                                                  Stu Activ Baseball Signage                                                          $        279.62
ARHS   Operating                                     2799   10/16/2020   61667                             St. Thomas Aquinas High School                                                 Stu Activ Cross Cntry Entry Fees for Meet                                           $         60.00
ARHS   Operating                                     2799   10/16/2020   61668                             Subway 22229 LLC                                                               St Serv Fd Services Purchaes                                                        $        665.00
ARHS   Operating                                     2799   10/16/2020   61669                             Union Service & Maintenance                                                    Maintenance Contracted Services                                                     $     33,500.00
ARHS   Operating                                     2799   10/16/2020   61670                             Villere's Florist                                                              Public Relations Flowers for Various Events                                         $        638.97
ARHS   Operating                                     2799   10/16/2020   61671                             Wes‐Pet, Inc.                                                                  Stu Serv Dr Ed Gasoline                                                             $        180.52
ARHS   Operating                                     2799   10/20/2020   61676                             Boys Girls High School Prep Bowling League                                     Stu Activ Bowling League Dues                                                       $        665.00
ARHS   Operating                                     2799   10/22/2020   61677                                                                                                            Development/Marketing Advance for Constituents                                      $      1,000.00
ARHS   Operating                                     2799   10/22/2020   Online Payment Utility            FBT Oper Atmos Oct                                                             Utilities Gas                                                                       $         61.20
ARHS   Operating                                     2799   10/22/2020   Online Payment Utility            FBT Oper Atmos Oct                                                             Utilities Gas                                                                       $        823.76
ARHS   Operating                                     2799   10/23/2020   61678                             ACL/NJCL National Latin Exam                                                   Instructional Testing                                                               $        645.00
ARHS   Operating                                     2799   10/23/2020   61679                             American Crescent Elevator Corp.                                               Maintenance Contracted Services                                                     $        125.00
ARHS   Operating                                     2799   10/23/2020   61680                             AT&T Mobility                                                                  Utilities Telephones                                                                $        850.64
ARHS   Operating                                     2799   10/23/2020   61681                                                                                                            St Serv Fd Services Purchaes                                                        $      3,769.17
ARHS   Operating                                     2799   10/23/2020   61682                             BLP Mobile Paints                                                              Maintenance supplies for school bldgs                                               $        672.80
ARHS   Operating                                     2799   10/23/2020   61683                                                                                                            Stu Activ Genesian Players Reimburse                                                $         46.43
ARHS   Operating                                     2799   10/23/2020   61684                             Brother Martin High School                                                     Stu Activ Football Ticket Sales                                                     $      8,005.00
ARHS   Operating                                     2799   10/23/2020   61685                             BSN Sports, LLC                                                                Athletics Equipment                                                                 $        754.08
ARHS   Operating                                     2799   10/23/2020   61686                                                                                                            Stu Sev Fd Service Purchases                                                        $      4,550.77
ARHS   Operating                                     2799   10/23/2020   61687                             Camp Abbey Retreat Center                                                      Stu Activ Retreat Expenses                                                          $      1,704.00
ARHS   Operating                                     2799   10/23/2020   61688                             CC Sales Co                                                                    Stu Serv Bkstr InventoryPurchase                                                    $      1,580.80
ARHS   Operating                                     2799   10/23/2020   61689                             CiCi's #378                                                                    St Serv Fd Services Purchaes                                                        $      1,086.54
ARHS   Operating                                     2799   10/23/2020   61690                             First Bank & Trust ‐ Strickland                                                Technology Expenses VISA                                                            $        918.74
ARHS   Operating                                     2799   10/23/2020   61691                             First Bank & Trust‐Development                                                 Devel, Marketing and Admissions VISA                                                $      1,080.59
ARHS   Operating                                     2799   10/23/2020   61692                             First Bank & Trust‐Faculty Staff                                               Instructional, Devel, Marketing and Admin VISA                                      $      1,110.46
ARHS   Operating                                     2799   10/23/2020   61693                             First Bank & Trust‐Francioni                                                   Development Director VISA constituent charges                                       $        637.51
ARHS   Operating                                     2799   10/23/2020   61694                             First Bank & Trust‐Milano                                                      Principal Administrative Expense                                                    $         62.65
ARHS   Operating                                     2799   10/23/2020   61695                                                                                                            Admissions Reimburse                                                                $         12.51
ARHS   Operating                                     2799   10/23/2020   61696                             Jefferson Parish Department of Water                                           Utilities Water                                                                     $        765.94
ARHS   Operating                                     2799   10/23/2020   61697                             Louisiana Quiz Bowl Association                                                Stu Activ Club Entry Fee                                                            $        120.00
ARHS   Operating                                     2799   10/23/2020   61698                             NORBO                                                                          Stu Activ Basketball Officials Fees                                                 $         75.00
ARHS   Operating                                     2799   10/23/2020   61699                             Perret's                                                                       Stu Serv Bkstr InventoryPurchase                                                    $      1,647.82
ARHS   Operating                                     2799   10/23/2020   61700                             Psychemedics                                                                   Discipline Drug Testing Expenses                                                    $        104.00
ARHS   Operating                                     2799   10/23/2020   61701                             Recognition Co                                                                 Stu Activ Athletics Letterman Patches                                               $        247.94
ARHS   Operating                                     2799   10/23/2020   61702                             Red Shelf                                                                      Instructional Online Textbooks                                                      $     15,238.99
ARHS   Operating                                     2799   10/23/2020   61703                             Reliastar Life Insurance Co. of N. Y.                                          Employee Paid Life Ins Premiums                                                     $        111.95
ARHS   Operating                                     2799   10/23/2020   61704                             Renaissance Publishing                                                         Stu Activ Agenda Books                                                              $      1,000.00
ARHS   Operating                                     2799   10/23/2020   61705                                                                                                            Advance Football Gateworkers; Ath Dir Chairman                                      $      1,481.54
ARHS   Operating                                     2799   10/23/2020   61706                             Selection.com                                                                  Administration Background checks for ee/volunteers                                  $         57.00
ARHS   Operating                                     2799   10/23/2020   61707                             Sonnier, Colten                                                                Stu Activ Wrestling Expense Reimburse                                               $        140.00
ARHS   Operating                                     2799   10/23/2020   61708                             St. Matthew the Apostle                                                        Marketing Fair Sponsorship                                                          $      1,000.00
ARHS   Operating                                     2799   10/23/2020   61709                             Subway 22229 LLC                                                               St Serv Fd Services Purchaes                                                        $        840.00
ARHS   Operating                                     2799   10/23/2020   61710                             SwimCapz                                                                       Stu Activ Swimming Supplies                                                         $        200.00
ARHS   Operating                                     2799   10/23/2020   61711                             The ICEE Company                                                               Stu Serv Fd Services Purchases                                                      $        559.64
ARHS   Operating                                     2799   10/23/2020   61712                             Union Service & Maintenance                                                    Maintenance Contracted Services                                                     $        914.42
ARHS   Operating                                     2799   10/23/2020   61713                             VI Communications, Inc                                                         Technology Network Equip Instal                                                     $        917.00
ARHS   Operating                                     2799   10/23/2020   61714                             Waste Connections Bayou, Inc                                                   Maintenance Contracted Services                                                     $      1,140.31
ARHS   Operating                                     2799   10/23/2020   61715                             Wes‐Pet, Inc.                                                                  Transportation ;gasoline                                                            $        130.10
ARHS   Operating                                     2799   10/23/2020   61716                                                                                                            Stu Serv Bkstr Inventory Purchases‐Rosaries                                         $        240.00
ARHS   Operating                                     2799   10/30/2020   61769                             A & L Sales, Inc.                                                              Custodian Supplies                                                                  $         85.89
ARHS   Operating                                     2799   10/30/2020   61770                             ADS Systems, LLC                                                               Equipment Monitoring                                                                $        155.00
ARHS   Operating                                     2799   10/30/2020   61771                             Ahern Rentals                                                                  Maintenance Rental of Lift for Painting and Repairs                                 $      1,313.06
ARHS   Operating                                     2799   10/30/2020   61772                             ASCD                                                                           Administration Dues                                                                 $        169.00
ARHS   Operating                                     2799   10/30/2020   61773                             BeAed of Louisiana, Inc.                                                       Stu Activ Football Supplies                                                         $      1,429.43
ARHS   Operating                                     2799   10/30/2020   61774                             BLP Mobile Paints                                                              Maintenance Supplies                                                                $        738.00
ARHS   Operating                                     2799   10/30/2020   61775                                                                                                            Admin Fingerprinting Expense Reimburse                                              $         58.00
ARHS   Operating                                     2799   10/30/2020   61776                                                                                                            Stu Activ Supplies Reimbursed                                                       $         55.58
ARHS   Operating                                     2799   10/30/2020   61777                             C. T. Traina Inc.                                                              Maintenance Contracted Services                                                     $      4,288.77
ARHS   Operating                                     2799   10/30/2020   61778                             Cintas Corp                                                                    Maintenance Rug Cleaning                                                            $        250.49
ARHS   Operating                                     2799   10/30/2020   61779                             Coca‐Cola Bottling Company United, Inc.                                        St Serv Fd Services Drink Purchaes                                                  $      2,200.10
ARHS   Operating                                     2799   10/30/2020   61780                                                                                                            Admissions Expense Reimbursement                                                    $         81.95
ARHS   Operating                                     2799   10/30/2020   61781                             Interface Security Systems, LLC                                                Maintenance School Security                                                         $        157.21
ARHS   Operating                                     2799   10/30/2020   61782                             Lamar Companies                                                                Admissions Marketing Billboard Open House                                           $      2,500.00
ARHS   Operating                                     2799   10/30/2020   61783                                                                                                            Stu Activ Campus Ministry Reimburse                                                 $        202.12
ARHS   Operating                                     2799   10/30/2020   61784                             Nasco                                                                          Instructional Art Supplies                                                          $        601.04
ARHS   Operating                                     2799   10/30/2020   61785                             Nola Balloons                                                                  Stu Activ Event Decorations                                                         $        288.00
ARHS   Operating                                     2799   10/30/2020   61786                             Office of State Fire Marshal                                                   Maintenance Contracted Services                                                     $        120.00
ARHS   Operating                                     2799   10/30/2020   61787                             Orthopedic & Sports Therapy                                                    Stu Activities Athletics Trainer Expenses                                           $      3,409.44
ARHS   Operating                                     2799   10/30/2020   61788                             Pan‐American Life Insurance Co.                                                Employee Paid Cancer Ins Premiums                                                   $        158.80
ARHS   Operating                                     2799   10/30/2020   61789                                                                                                            Instructional Science Reimburse                                                     $        177.52
ARHS   Operating                                     2799   10/30/2020   61790                                                                                                            Stu Activ Straight A Luncheon Expense Reimburse                                     $      2,428.29
ARHS   Operating                                     2799   10/30/2020   61791                             SR Designs                                                                     Stu Serv Bkstr Inventory Purchases                                                  $         70.00
ARHS   Operating                                     2799   10/30/2020   61792                             Union Service & Maintenance                                                    Maitnenance Contracgted Services                                                    $         45.30
ARHS   Operating                                     2799   10/30/2020   61793                             Zephyr Graf‐X                                                                  Baseball Fundraising Zephyr Hats                                                    $      2,676.18
ARHS   Operating                                     2799   10/31/2020   FBT Oper Oct2020                  Record FBT Service Charge for Operating Sept                                   Monthly Bank Serv ice Charge                                                        $         50.00
ARHS   Operating                                     2799   10/31/2020   Soccer FR Oct Chg                 Wire Charge from FBT for Outgoing Wire to VEO Tech for Soccer Camera 10/2/20   Bank Wire Charge to transfer funds                                                  $         33.50
ARHS   Payroll Account                               2821   10/02/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03 Net Weekly PR checks Maint                                                  $      1,345.74
ARHS   Payroll Account                               2821   10/02/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03 Weekly Employer Ben Trust Payable                                           $         39.83
ARHS   Payroll Account                               2821   10/02/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03 Pay Prime Pay all Weekly Employee 401K                                      $        196.91
ARHS   Payroll Account                               2821   10/02/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03 Pay Prime Pay all Weekly Employee Taxes                                     $        437.88
ARHS   Payroll Account                               2821   10/02/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     Record Monthly Charge for Weekly Payroll Processing Crescent PR‐Oct                 $        325.00
ARHS   Payroll Account                               2821   10/09/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03 Net Weekly PR checks Maint                                                  $      1,345.74
ARHS   Payroll Account                               2821   10/09/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03 Weekly Employer Ben Trust Payable                                           $         39.83
ARHS   Payroll Account                               2821   10/09/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03 Pay Prime Pay all Weekly Employee 401K                                      $        196.91
ARHS   Payroll Account                               2821   10/09/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03 Pay Prime Pay all Weekly Employee Taxes                                     $        437.88
ARHS   Payroll Account                               2821   10/15/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03‐Total Monthly Net Salaries Paid                                             $    225,692.09
ARHS   Payroll Account                               2821   10/15/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03 Pay ING Monthly Employer Ben Trust                                          $      4,726.45
ARHS   Payroll Account                               2821   10/15/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03 ‐ Pay ING Monthly 401K ‐ (removed from checking account)                    $     24,745.36
ARHS   Payroll Account                               2821   10/15/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03 ‐ Pay ING all Monthly PR Taxes ‐ ((removed from checking account)           $     79,709.45
ARHS   Payroll Account                               2821   10/15/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03‐Monthly‐Pay ING for PR Processing                                           $        374.00
ARHS   Payroll Account                               2821   10/16/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03 Net Weekly PR checks Maint                                                  $      1,345.77
ARHS   Payroll Account                               2821   10/16/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03 Weekly Employer Ben Trust Payable                                           $         39.83
ARHS   Payroll Account                               2821   10/16/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03 Pay Prime Pay all Weekly Employee 401K                                      $        196.91
ARHS   Payroll Account                               2821   10/16/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03 Pay Prime Pay all Weekly Employee Taxes                                     $        437.82
ARHS   Payroll Account                               2821   10/19/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03 Net Monthly PR Check‐Coaching Stipend                                       $        549.37
ARHS   Payroll Account                               2821   10/19/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03 Pay Prime Pay all Monthly Coaching Stipend Employee Taxes                   $         96.53
ARHS   Payroll Account                               2821   10/23/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03 Net Weekly PR checks Maint                                                  $      1,345.73
ARHS   Payroll Account                               2821   10/23/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03 Weekly Employer Ben Trust Payable                                           $         39.83
ARHS   Payroll Account                               2821   10/23/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03 Pay Prime Pay all Weekly Employee 401K                                      $        196.91
ARHS   Payroll Account                               2821   10/23/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03 Pay Prime Pay all Weekly Employee Taxes                                     $        437.90
ARHS   Payroll Account                               2821   10/24/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     Record Manual Ck20001                                                               $        432.92
ARHS   Payroll Account                               2821   10/24/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     Record Manual Ck20002                                                               $        230.87
ARHS   Payroll Account                               2821   10/30/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03 Net Weekly PR checks Maint                                                  $      1,345.75
ARHS   Payroll Account                               2821   10/30/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03 Weekly Employer Ben Trust Payable                                           $         39.83
ARHS   Payroll Account                               2821   10/30/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03 Pay Prime Pay all Weekly Employee 401K                                      $        196.91
ARHS   Payroll Account                               2821   10/30/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     1120.03 Pay Prime Pay all Weekly Employee Taxes                                     $        437.86
ARHS   Payroll Account                               2821   10/31/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     Crescent PR FedEx Chg for Fritscher Oct                                             $         20.00
ARHS   Payroll Account                               2821   10/31/2020   Crescent Payroll AN109 for ARHS   ARHS AN109                                                                     ARHS Crescent PR Payroll Return 20557 10/15/20                                      $        461.75
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/07/2020   17518                             FBT                                                                            Decrease First Bank & Trust Loan ‐ SWE Scholarship                                  $      2,502.50
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/07/2020   17517                             FBT                                                                            Decrease First Bank & Trust Loan‐ SWE Scholarship                                   $      2,502.50
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/07/2020   17516                             FBT                                                                            Decrease First Bank & Trust Loan‐ SWE Scholarship                                   $      2,502.50
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/09/2020   FBTMM Oct2020                     FBT                                                                            Interest Transfer to Tuition Money Mgr 9/1/20                                       $      4,809.06
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/09/2020   FBTMM Oct2020                     FBT                                                                            Tuition Disbursement from Reserve Account 10/1/2020                                 $      2,316.91
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/09/2020   FBTMM Oct2020                     FBT                                                                            Tuition Disbursement from Reserve Account 10/2/2020                                 $      2,740.90
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/09/2020   FBTMM Oct2020                     FBT                                                                            Tuition Disbursement from Reserve Account 10/5/2020                                 $     94,629.99
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/09/2020   FBTMM Oct2020                     FBT                                                                            Tuition Disbursement from Reserve Account 10/6/2020                                 $      5,366.68
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/09/2020   FBTMM Oct2020                     FBT                                                                            Tuition Disbursement from Reserve Account 10/8/2020                                 $      1,697.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/09/2020   FBTMM Oct2020                     FBT                                                                            Tuition Disbursement from Reserve Account 10/9/2020                                 $      2,162.34
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/13/2020   17546                             FBT                                                                            Decrease First Bank & Trust Loan for difference of Aspiring Scholarship             $        200.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/13/2020   17545                             FBT                                                                            Decrease First Bank & Trust Loan for difference for Aspiring Scholarship            $        400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/13/2020   17544                             FBT                                                                            Decrease First Bank & Trust Loan for difference of Aspiring Scholarship             $        200.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/13/2020   17543                             FBT                                                                            Decrease First Bank & Trust Loan for difference of Aspiring Scholarship             $        400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/13/2020   17542                             FBT                                                                            Decrease First Bank & Trust Loan for difference for Aspiring Scholars               $        400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/16/2020   17574                             FBT                                                                            Cancel First Bank & Trust Loan principal $8,200 and Interest $48.72 = $8,248.72     $      8,248.72
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/16/2020   17565                             FBT                                                                            Decrease First Bank & Trust Loan for ACE scholarship difference                     $        300.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/23/2020   FBT MM Oct2020‐2                  FBT                                                                            Tuition Disbursement from Reserve Account 10/12/2020                                $      2,317.10
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/23/2020   FBT MM Oct2020‐2                  FBT                                                                            Tuition Disbursement from Reserve Account 10/13/2020                                $      4,968.08
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/23/2020   FBT MM Oct2020‐2                  FBT                                                                            Tuition Disbursement from Reserve Account 10/14/2020                                $      1,526.01
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/23/2020   FBT MM Oct2020‐2                  FBT                                                                            Tuition Disbursement from Reserve Account 10/15/2020                                $    153,406.47
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/23/2020   FBT MM Oct2020‐2                  FBT                                                                            Tuition Disbursement from Reserve Account 10/16/2020                                $        264.35
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/23/2020   FBT MM Oct2020‐2                  FBT                                                                            Tuition Disbursement from Reserve Account 10/20/2020                                $        358.37
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/23/2020   FBT MM Oct2020‐2                  FBT                                                                            Tuition Disbursement from Reserve Account 10/21/2020                                $      7,918.43
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/23/2020   FBT MM Oct2020‐2                  FBT                                                                            Tuition Disbursement from Reserve Account 10/22/2020                                $      1,284.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17647                             FBT                                                                            Decrease First Bank & Trust Loan fee bill paid twice                                $        400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17646                             FBT                                                                            Decrease First Bank & Trust Loan fee bill and registration twice less 2 AP classe   $        620.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17645                             FBT                                                                            Decrease First Bank & Trust Loan fee bill paid twice and over paymen                $        800.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17644                             FBT                                                                            Decrease First Bank & Trust Loan fee bill paid twice                                $        400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17643                             FBT                                                                            Decrease First Bank & Trust Loan over payment                                       $        750.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17642                             FBT                                                                            Decrease First Bank & Trust Loan Fee bill paid twice                                $        400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17641                             FBT                                                                            Decrease First Bank & Trust Loan over payment                                       $        300.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17640                             FBT                                                                            Decrease First Bank & Trust Loan over payment                                       $        300.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17639                             FBT                                                                            Decrease First Bank & Trust Loan fee bill paid twice                                $        400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17638                             FBT                                                                            Decrease First Bank & Trust Loan fee bill paid twice                                $        400.00
ARHS   Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17637                             FBT                                                                            Decrease First Bank & Trust Loan fee bill paid twice                                $        400.00
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 33 of
                                           103
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17636            FBT                                                   Decrease First Bank & Trust Loan ‐ fee bill paid twice less the new Physics AP clas   $         310.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17635            FBT                                                   Decrease First Bank & Trust Loan fee bill paid twice ‐ ART & AP not owed              $         565.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17634            FBT                                                   Decrease First Bank & Trust Loan for fee bill paid twice                              $          80.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17633            FBT                                                   Decrease First Bank & Trust Loan for fee bill paid twice                              $         400.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17632            FBT                                                   Decrease First Bank & Trust Loan for ART fee not owed and over payment                $         175.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17631            FBT                                                   Decrease First Bank & Trust Loan for fee bill paid twice                              $         400.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17630            FBT                                                   Decrease First Bank & Trust Loan for fee bill paid twice and over paymen              $         700.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17629            FBT                                                   Decrease First Bank & Trust Loan for AP class not owed                                $          90.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17628            FBT                                                   Decrease First Bank & Trust Loan fee bill paid twice                                  $         400.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17627            FBT                                                   Decrease First Bank & Trust Loan fee bill paid twice                                  $         400.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17626            FBT                                                   Decrease First Bank & Trust Loan for over payment                                     $         260.00
                                                                                                                                                 Decrease First Bank & Trust Loan over payment 400.00 fee bill ‐ over payment 400.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17625            FBT                                                   tuition ‐ 90.00 AP ‐75.00 Art for classes not owed                                     $         965.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17624            FBT                                                   Decrease First Bank & Trust Loan fee bill paid twice                                   $         400.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17623            FBT                                                   Decrease First Bank & Trust Loan paid fee bill twice less AP class that was no pai     $         310.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17622            FBT                                                   Decrease First Bank & Trust Loan overpayment                                           $         400.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17621            FBT                                                   Decrease First Bank & Trust Loan fee bill paid twice                                   $         400.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17620            FBT                                                   Decrease First Bank & Trust Loan fee bill paid twice                                   $         400.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17619            FBT                                                   Decrease First Bank & Trust Loan fee bill paid twice                                   $         400.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17618            FBT                                                   Decrease First Bank & Trust Loan fee bill paid twice                                   $         400.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17617            FBT                                                   Decrease First Bank & Trust Loan fee bill paid twice                                   $         400.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17616            FBT                                                   Decrease First Bank & Trust Loan fee bill paid twice                                   $         400.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17615            FBT                                                   Decrease First Bank & Trust Loan Fee bill paid twice                                   $         400.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17614            FBT                                                   Decrease First Bank & Trust Loan Fee bill paid twice                                   $         400.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17613            FBT                                                   Decrease First Bank & Trust Loan Fee bill paid twice                                   $         400.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17612            FBT                                                   Decrease First Bank & Trust Loan‐ AP class not owed                                    $          90.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17611            FBT                                                   Decrease First Bank & Trust Loan ‐ Registration paid twice                             $         400.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17610            FBT                                                   Decrease First Bank & Trust Loan‐ Registration paid twice                              $         350.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17609            FBT                                                   Decrease First Bank & Trust Loan ‐ ART fee now owed                                    $          75.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/26/2020   17608            FBT                                                   Decrease First Bank & Trust Loan‐ Fee bill paid twice                                  $         400.00
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/31/2020   FBT MM Oct‐4     FBT                                                   Tuition Disbursement from Reserve Account 10/23/2020                                   $       2,608.24
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/31/2020   FBT MM Oct‐4     FBT                                                   Tuition Disbursement from Reserve Account 10/26/2020                                   $       2,699.60
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/31/2020   FBT MM Oct‐4     FBT                                                   Tuition Disbursement from Reserve Account 10/27/2020                                   $         891.70
ARHS    Tuition Borrower Loan Funds Reserve Account   0431   10/31/2020   FBT MM Oct‐4     FBT                                                   Tuition Disbursement from Reserve Account 10/28/2020                                   $         931.82
ARHS    Tuition Money Manager                         2755   10/12/2020   FBT Transfer     FBT                                                   Transfer to Payroll for monthly and weekly payrolls 10/15/2020                        $     350,000.00
ASHS    COMM INTEREST CHECKING ACCOUNT                2440   10/7/2020    15‐2146          Crescent                                              Payroll                                                                               $     113,318.06
ASHS    COMM INTEREST CHECKING ACCOUNT                2440   10/27/2020   15‐2163          Crescent                                              Payroll                                                                               $     113,677.17
ASHS    TUITION RESERVE ACCOUNT                       0007   10/2/2020    15‐2140          Various                                               Tuition Interest Transfer                                                             $      2,763.56
ASHS    TUITION RESERVE ACCOUNT                       0007   10/6/2020    6215                                                                   Loan Reduction                                                                        $        200.00
ASHS    TUITION RESERVE ACCOUNT                       0007   10/6/2020    15‐2143          Various                                               Tuition Disbursement                                                                  $        349.64
ASHS    TUITION RESERVE ACCOUNT                       0007   10/7/2020    15‐2145          Various                                               Tuition Disbursement                                                                  $     65,606.72
ASHS    TUITION RESERVE ACCOUNT                       0007   10/7/2020    15‐2150          Various                                               Tuition Disbursement                                                                  $      1,092.05
ASHS    TUITION RESERVE ACCOUNT                       0007   10/13/2020   6216                                                                   Loan Reduction                                                                        $      2,744.79
ASHS    TUITION RESERVE ACCOUNT                       0007   10/14/2020   6217                                                                   Loan Reduction                                                                        $      7,100.06
ASHS    TUITION RESERVE ACCOUNT                       0007   10/15/2020   15‐2155          Various                                               Tuition Disbursement                                                                  $      3,472.18
ASHS    TUITION RESERVE ACCOUNT                       0007   10/19/2020   15‐2158          Various                                               Tuition Disbursement                                                                  $     92,697.98
ASHS    TUITION RESERVE ACCOUNT                       0007   10/27/2020   15‐2165          Various                                               Tuition Disbursement                                                                  $      4,570.07
ASHS    TUITION RESERVE ACCOUNT                       0007   10/28/2020   15‐2168          Various                                               Tuition Disbursement                                                                  $        425.75
ASHS    TUITION RESERVE ACCOUNT                       0007   10/28/2020   6230                                                                   Loan Reduction                                                                        $      3,768.15
ASHS    TUITION RESERVE ACCOUNT                       0007   10/28/2020   15‐2168          Various                                               Tuition Disbursement                                                                  $        389.88
ASHS    OPERATING AND PAYROLL MMA                     9162   10/8/2020    15‐2147          Crescent                                              Payroll Transfer                                                                      $    113,000.00
ASHS    OPERATING AND PAYROLL MMA                     9162   10/27/2020   15‐2164          Crescent                                              Payroll Transfer                                                                      $    113,700.00
ASHS    Operating Account                             2429   10/01/2020   20848            Pan American Life                                      Accrued Expenses: Payroll Deductions                                                 $          28.00
ASHS    Operating Account                             2429   10/01/2020   20850            C & L Customz, LLC                                     Student Services:Agency Payable‐Gridiron                                             $         182.00
ASHS    Operating Account                             2429   10/01/2020   20852                                                                   Student Services:Agency Payable‐Gridiron                                             $         516.87
ASHS    Operating Account                             2429   10/01/2020   20851            H‐D                                                    Student Services:Agency Payable‐Gridiron                                             $         521.94
ASHS    Operating Account                             2429   10/01/2020   20847            Light Bulb Depot                                       Operations and Maintenance of Plant                                                  $         644.30
ASHS    Operating Account                             2429   10/01/2020   20849            Windstream                                             Operations and Maintenance of Plant                                                  $         679.46
ASHS    Operating Account                             2429   10/01/2020   20854                                                                   Tuition and Fees ‐ refund                                                            $         700.00
ASHS    Operating Account                             2429   10/01/2020   20846            Guardian                                               Accrued Expenses: Payroll Deductions                                                 $       1,957.99
ASHS    Operating Account                             2429   10/01/2020   20845            Gallagher Benefits Services                            Health Insurance                                                                     $      31,571.37
ASHS    Operating Account                             2429   10/02/2020   20855                                                                   VOIDED                                                                               $               ‐
ASHS    Operating Account                             2429   10/02/2020   15‐2140          VISA                                                   Administrative                                                                       $          39.30
ASHS    Operating Account                             2429   10/02/2020   20856            Papa John's                                            Student Services:Agency Payable‐Band                                                 $         102.00
ASHS    Operating Account                             2429   10/02/2020   20853            Entergy                                                Operations and Maintenance of Plant                                                  $      13,365.71
ASHS    Operating Account                             2429   10/05/2020   20860            Kentwood Springs                                       Student Services:Agency Payable‐Amenities and SGO                                    $            7.64
ASHS    Operating Account                             2429   10/05/2020   20863                                                                   Student Services:Agency Payable‐Football                                             $          43.67
ASHS    Operating Account                             2429   10/05/2020   20857            Hahnville High School                                  Student Activities Expense                                                           $          60.00
ASHS    Operating Account                             2429   10/05/2020   20859                                                                   Student Services:Agency Payable‐Cross Country                                        $         146.07
ASHS    Operating Account                             2429   10/05/2020   20858            IV Waste LLC                                           Operations and Maintenance of Plant                                                  $         167.57
ASHS    Operating Account                             2429   10/05/2020   20862            Sam's Club /Synchrony Bank                             Administrative and Operations and Maintenance of Plant                               $         187.28
ASHS    Operating Account                             2429   10/05/2020   20861            NCEA                                                   Administrative                                                                       $         560.00
ASHS    Operating Account                             2429   10/06/2020   20864            Salesian Society                                       Administrative and Instructional                                                     $       7,715.88
ASHS    Operating Account                             2429   10/07/2020   20869            LHSAA                                                  Student Activities Expense                                                           $          30.00
ASHS    Operating Account                             2429   10/07/2020   20868            Home Depot Credit Servic                               Administrative                                                                       $          40.00
ASHS    Operating Account                             2429   10/07/2020   20878                                                                   Administrative                                                                       $          65.00
ASHS    Operating Account                             2429   10/07/2020   15‐2145          Bankcard                                               Administrative                                                                       $          83.09
ASHS    Operating Account                             2429   10/07/2020   20871                                                                   Student Services Expense                                                             $         207.14
ASHS    Operating Account                             2429   10/07/2020   20866            Atmos Entergy                                         Operations and Maintenance of Plant                                                   $         317.33
ASHS    Operating Account                             2429   10/07/2020   20870            Ochsner Sports Medicine Bldg                           Student Services:Agency Payable‐Football                                             $         400.00
ASHS    Operating Account                             2429   10/07/2020   20876            KT Graphics                                            Development and Marketing                                                            $         445.00
ASHS    Operating Account                             2429   10/07/2020   20881                                                                   Administrative and Operations and Maintenance of Plant                               $         746.83
ASHS    Operating Account                             2429   10/07/2020   20877            KT Graphics                                            Development and Marketing                                                            $       1,471.00
ASHS    Operating Account                             2429   10/07/2020   20873            Paramount Sales Group, LLC                             Student Services:Agency Payable‐Football                                             $       1,567.50
ASHS    Operating Account                             2429   10/07/2020   20872            P.C.C.                                                 Student Services:Agency Payable‐Football                                             $       2,198.00
ASHS    Operating Account                             2429   10/07/2020   20879            The Aministrators of the Tulane Educational Fund       Student Activities Expense                                                           $       2,250.00
ASHS    Operating Account                             2429   10/07/2020   20867            Foley Marketing, Inc.                                  Student Services Expense                                                             $       2,569.36
ASHS    Operating Account                             2429   10/07/2020   20880            Alarm Protection Services                             Operations and Maintenance of Plant                                                   $       3,230.22
ASHS    Operating Account                             2429   10/07/2020   20874            Tujays Services Inc.                                   Operations and Maintenance of Plant                                                  $       4,999.75
ASHS    Operating Account                             2429   10/07/2020   20865            Tujays Services Inc.                                  Operations and Maintenance of Plant                                                   $       4,999.75
ASHS    Operating Account                             2429   10/07/2020   20875            Varsity Spirit Fashions                                Student Services:Agency Payable‐Dance Team                                           $       6,931.62
ASHS    Operating Account                             2429   10/08/2020   20884            Ferdie's Printing Service                             Instructional Expense                                                                 $          82.99
ASHS    Operating Account                             2429   10/08/2020   20882                                                                   Student Services:Agency Payable‐Basketball                                           $         900.00
ASHS    Operating Account                             2429   10/08/2020   20883                                                                  Development and Marketing                                                             $       6,500.00
ASHS    Operating Account                             2429   10/08/2020   20885            Archdiocese of New Orleans                             Other Costs‐ Insurance                                                               $      18,326.38
ASHS    Operating Account                             2429   10/09/2020   20886            DIS.IN. FX                                             Operations and Maintenance of Plant                                                  $         700.00
ASHS    Operating Account                             2429   10/12/2020   20887                                                                   Student Services: Agency Payable‐Gridiron                                            $          78.11
ASHS    Operating Account                             2429   10/13/2020   20889            Visa                                                   Administrative, Instructional and Operations and Maintenance of Plant                $         939.09
ASHS    Operating Account                             2429   10/13/2020   20888                                                                   Student Services Expense                                                             $          10.35
ASHS    Operating Account                             2429   10/14/2020   20895                                                                   Student Services Expense                                                             $            8.73
ASHS    Operating Account                             2429   10/14/2020   20894            Eagle Athletic Facilities                              Student Activities Expense                                                           $       1,805.00
ASHS    Operating Account                             2429   10/14/2020   20893            Visa                                                   Development and Marketing and Administrative                                         $         126.33
ASHS    Operating Account                             2429   10/14/2020   20892            Ricoh USA, Inc                                         Instructional Expense                                                                $          28.26
ASHS    Operating Account                             2429   10/14/2020   20891            Downtown Delivery                                      Administrative Expenses                                                              $         200.00
ASHS    Operating Account                             2429   10/14/2020   20890            Visa                                                   Administrative Expenses                                                              $          37.19
ASHS    Operating Account                             2429   10/15/2020   20901            Visa                                                   Administrative Expenses                                                              $            1.17
ASHS    Operating Account                             2429   10/15/2020   20900            Visa                                                   Administrative Expenses                                                              $            8.40
ASHS    Operating Account                             2429   10/15/2020   20899            Medco Supply Co.                                       Student Activities Expense                                                           $       1,015.57
ASHS    Operating Account                             2429   10/15/2020   20898            Light Bulb Depot                                       Operations and Maintenance of Plant                                                  $         259.35
ASHS    Operating Account                             2429   10/15/2020   20897            Duhon Lock & Security                                  Operations and Maintenance of Plant                                                  $          26.21
ASHS    Operating Account                             2429   10/15/2020   20896            Chuckwagon Charters, Inc.                              Student Activities and Student Services:Agency Payable‐Cross Country                 $         630.00
ASHS    Operating Account                             2429   10/16/2020   20906                                                                   Student Services: Agency Payable‐Football                                            $         491.70
ASHS    Operating Account                             2429   10/16/2020   20905            Olive Branch Cafe                                      Development and Marketing                                                            $         446.22
ASHS    Operating Account                             2429   10/16/2020   20904            NOLA LED                                               Development and Marketing                                                            $         400.00
ASHS    Operating Account                             2429   10/16/2020   20903                                                                   Development and Marketing                                                            $         130.00
ASHS    Operating Account                             2429   10/16/2020   20902            Cafe Hope                                              Development and Marketing                                                            $       1,180.00
ASHS    Operating Account                             2429   10/19/2020   20911                                                                   Student Activities Expense                                                           $         150.00
ASHS    Operating Account                             2429   10/19/2020   20910            Lowes BusinessAcct/GECRB                               Operations and Maintenance of Plant                                                  $         370.79
ASHS    Operating Account                             2429   10/19/2020   20909            Grundmann's Ath. Co.                                   Student Services: Agency Payable‐Football                                            $       5,490.71
ASHS    Operating Account                             2429   10/19/2020   20908                                                                   Student Services Expense                                                             $         144.00
ASHS    Operating Account                             2429   10/19/2020   20907            KT Graphics                                            Development and Marketing                                                            $       1,914.45
ASHS    Operating Account                             2429   10/20/2020   20920            Windstream                                             Operations and Maintenance of Plant                                                  $         686.30
ASHS    Operating Account                             2429   10/20/2020   20919            Ferdie's Printing Service                              Administrative Expenses                                                              $         361.45
ASHS    Operating Account                             2429   10/20/2020   20918            Chuckwagon Charters, Inc.                              Student Activities and Student Services:Agency Payable‐Cross Country                 $         225.00
ASHS    Operating Account                             2429   10/20/2020   20917            Archdiocese of New Orleans Accounting Office           Operations and Maintenance of Plant                                                  $          45.00
ASHS    Operating Account                             2429   10/20/2020   20916                                                                   Student Activities Expense                                                           $          50.00
ASHS    Operating Account                             2429   10/20/2020   20915                                                                   Student Activities Expense                                                           $          50.00
ASHS    Operating Account                             2429   10/20/2020   20914                                                                   Student Activities Expense                                                           $          50.00
ASHS    Operating Account                             2429   10/20/2020   20913                                                                   Student Activities Expense                                                           $          50.00
ASHS    Operating Account                             2429   10/20/2020   20912                                                                   Student Activities Expense                                                           $          50.00
ASHS    Operating Account                             2429   10/21/2020   20923                                                                   Student Services: Agency Payable‐Cheerleaders                                        $         340.00
ASHS    Operating Account                             2429   10/21/2020   20922                                                                   Student Services: Agency Payable‐Cheerleaders                                        $         340.00
ASHS    Operating Account                             2429   10/21/2020   20921            LA DEPT AGR & FORESTRY                                 Operations and Maintenance of Plant                                                  $          25.00
ASHS    Operating Account                             2429   10/22/2020   20927            Belle Chasse High School                               Student Activities Expense                                                           $          35.00
ASHS    Operating Account                             2429   10/22/2020   20926            Holiday Inn Express and Suites                         Student Services: Agency Payable‐Basketball                                          $       2,332.00
ASHS    Operating Account                             2429   10/22/2020   20925                                                                   Instructional Expense                                                                $          50.00
ASHS    Operating Account                             2429   10/22/2020   20924                                                                   Instructional Expense                                                                $          50.00
ASHS    Operating Account                             2429   10/23/2020   20929            First Bank and Trust Company                           Accrued Expenses‐Amounts held for others                                             $       2,890.00
ASHS    Operating Account                             2429   10/23/2020   20928                                                                   Student Activities Expense                                                           $         180.00
ASHS    Operating Account                             2429   10/26/2020   20933            Thompson Auction Services, LLC                         Development and Marketing                                                            $       1,925.00
ASHS    Operating Account                             2429   10/26/2020   20932            Stonebridge Golf Club                                  Student Services: Agency Payable‐Cheerleaders                                        $       5,582.31
ASHS    Operating Account                             2429   10/26/2020   20931            Southern Fundraising                                   Development and Marketing                                                            $       1,800.00
ASHS    Operating Account                             2429   10/26/2020   20930                                                                   Student Services: Agency Payable‐Wrestling and Development and Marketing             $         346.24
ASHS    Operating Account                             2429   10/27/2020   20943            John Curtis Christian School                           Student Activities Expense                                                           $       1,700.00
                                                                                                                                                  Student Services: Agency Payable‐Wrestling and Development and Marketing and
ASHS    Operating Account                             2429   10/27/2020   20942            Visa                                                  Administrative                                                                        $         449.75
ASHS    Operating Account                             2429   10/27/2020   20941            Raymond Plumbing & Heating                             Operations and Maintenance of Plant                                                  $         166.00
ASHS    Operating Account                             2429   10/27/2020   20940            Purchase Power                                         Administrative                                                                       $         500.00
ASHS    Operating Account                             2429   10/27/2020   20939            Pitney Bowes Global Financial Services                 Administrative                                                                       $         141.52
ASHS    Operating Account                             2429   10/27/2020   20938                                                                   Student Services Expense                                                             $          64.06
ASHS    Operating Account                             2429   10/27/2020   20937            Ochsner Sports Medicine Bldg                           Student Services: Agency Payable‐Diamond Club                                        $      2,241.00
ASHS    Operating Account                             2429   10/27/2020   20936            Lee Tractor Co.                                        Operations and Maintenance of Plant                                                  $         282.77
ASHS    Operating Account                             2429   10/27/2020   20935            Cox Business                                           Development and Marketing                                                            $          44.64
ASHS    Operating Account                             2429   10/27/2020   20934            Archdiocese of New Orleans Accounting Office           Operations and Maintenance of Plant                                                  $         635.10
PJPHS   Operating                                     8055   10/01/2020   ACH Bank Fee     JP Morgan Chase                                       Bank Charges October 2020                                                              $          50.00
PJPHS   Operating                                     8055   10/01/2020   ACH Bank Fee     Paymentech Chase CC                                   Credit Cards Fees October 2020                                                         $          25.00
PJPHS   Operating                                     8055   10/02/2020   47423            All Star Services                                     Operations and Maintenance of Plant                                                    $      4,909.10
PJPHS   Operating                                     8055   10/02/2020   47424            Archdiocese of New Orleans ‐ Information Technology   Administrative Expense                                                                 $      1,265.75
PJPHS   Operating                                     8055   10/02/2020   47425            Blick Art Materials                                   Instruction Expense                                                                    $         108.48
PJPHS   Operating                                     8055   10/02/2020   47426            Davis Products Co., Inc                               Operations and Maintenance of Plant                                                    $         854.62
PJPHS   Operating                                     8055   10/02/2020   47427            Metairie Park Country Day School                      ck 47427 voided as deposit                                                             $          75.00
PJPHS   Operating                                     8055   10/02/2020   47428            NU‐Lite Elec. Wholesales, Inc.                        Operations and Maintenance of Plant                                                    $         125.23
PJPHS   Operating                                     8055   10/02/2020   47429            RFG Mechanical Contractor Inc                         Operations and Maintenance of Plant                                                    $      1,575.00
PJPHS   Operating                                     8055   10/06/2020   47430                                                                  Student Activities                                                                     $         588.60
PJPHS   Operating                                     8055   10/06/2020   47431            Archdiocese of New Orleans Insurance                  Administrative Expense                                                                 $      1,035.00
PJPHS   Operating                                     8055   10/06/2020   47432            Church Supply House                                   Student Activities                                                                     $         232.85
PJPHS   Operating                                     8055   10/06/2020   47433            Davis Products Co., Inc                               Operations and Maintenance of Plant                                                    $         497.76
PJPHS   Operating                                     8055   10/06/2020   47434                                                                  Operations and Maintenance of Plant                                                    $          40.07
PJPHS   Operating                                     8055   10/06/2020   47435                                                                  Student Activities                                                                     $         100.00
PJPHS   Operating                                     8055   10/06/2020   47436            Esyncs                                                Marketing and Advertising                                                              $          95.00
PJPHS   Operating                                     8055   10/06/2020   47437            McGraw‐Hill School Education Holdings, LLC            Instruction Expense                                                                    $         408.56
PJPHS   Operating                                     8055   10/06/2020   47438            National Catholic Educational Assn (NCEA)             Administrative Expense                                                                 $         560.00
PJPHS   Operating                                     8055   10/06/2020   47439            Omega Laboratories, Inc.                              Instruction Expense                                                                    $      3,464.00
PJPHS   Operating                                     8055   10/06/2020   47440                                                                  Student Activities                                                                     $          96.00
PJPHS   Operating                                     8055   10/06/2020   47441            Seruntine Refrigeration Serivices, Inc (SRS           Operations and Maintenance of Plant                                                    $         880.71
PJPHS   Operating                                     8055   10/06/2020   47442                                                                  Instruction Expense                                                                    $          94.01
PJPHS   Operating                                     8055   10/07/2020   47443                                                                  Student Activities                                                                     $          50.00
PJPHS   Operating                                     8055   10/07/2020   47444                                                                  Student Activities                                                                     $         150.00
PJPHS   Operating                                     8055   10/07/2020   47445            Canon Financial Services Inc                          Administration Expense                                                                 $         624.22
PJPHS   Operating                                     8055   10/07/2020   47446            City of Slidell                                       Operations and Maintenance of Plant                                                    $         310.73
PJPHS   Operating                                     8055   10/07/2020   47447                                                                  Instruction Expense                                                                    $      6,710.00
PJPHS   Operating                                     8055   10/07/2020   47448            Floorworks & Blinds                                   Operations and Maintenance of Plant                                                    $      3,644.25
PJPHS   Operating                                     8055   10/07/2020   47449            Moore & Powell                                        Administrative Expense                                                                 $         250.00
PJPHS   Operating                                     8055   10/07/2020   47450            Piccadilly                                            Student Activities                                                                     $         495.00
PJPHS   Operating                                     8055   10/08/2020   47451                                                                  Student Activities                                                                     $          80.00
PJPHS   Operating                                     8055   10/08/2020   47452                                                                  Administrative Expense                                                                 $          92.37
PJPHS   Operating                                     8055   10/08/2020   47453            Nelnet Business Solutions                             Instruction Expense                                                                    $         507.83
PJPHS   Operating                                     8055   10/08/2020   47454            Nunez Community College                               Instruction Expense                                                                    $      4,650.00
PJPHS   Operating                                     8055   10/08/2020   47455            Refreshment Solutions                                 Operations and Maintenance of Plant                                                    $         146.75
PJPHS   Operating                                     8055   10/13/2020   47456            Attaway's Award Center                                Administrative Expense                                                                $         10.87
PJPHS   Operating                                     8055   10/13/2020   47457            Benefit Strategies                                    Administrative Expense                                                                $        166.51
PJPHS   Operating                                     8055   10/13/2020   47458                                                                  Student Activities                                                                    $         96.00
PJPHS   Operating                                     8055   10/13/2020   47459            Dudley Smith Printing                                 Administrative Expense                                                                $        255.45
PJPHS   Operating                                     8055   10/13/2020   47460                                                                  Student Activities                                                                    $        100.00
PJPHS   Operating                                     8055   10/13/2020   47461                                                                  Student Activities                                                                    $         75.00
PJPHS   Operating                                     8055   10/13/2020   47470                                                                  Student Activities                                                                    $        100.00
PJPHS   Operating                                     8055   10/13/2020   47462                                                                  Student Activities                                                                    $        100.00
PJPHS   Operating                                     8055   10/13/2020   47463                                                                  Student Activities                                                                    $        100.00
PJPHS   Operating                                     8055   10/13/2020   47469                                                                  Student Activities                                                                    $        100.00
PJPHS   Operating                                     8055   10/13/2020   47464                                                                  Student Activities                                                                    $      7,495.00
PJPHS   Operating                                     8055   10/13/2020   47465            LaBourdette's Nursery LLC                             Student Activities                                                                    $      1,753.48
PJPHS   Operating                                     8055   10/13/2020   47466                                                                  Student Activities                                                                    $         71.00
PJPHS   Operating                                     8055   10/13/2020   47467            Slidell Independent                                   Marketing & Advertising                                                               $        300.00
PJPHS   Operating                                     8055   10/13/2020   47468            The Advocate (St Tammany Farmer local paper name)     Marketing & Advertising                                                               $        180.00
PJPHS   Operating                                     8055   10/15/2020   47484                                                                  Student Activities                                                                    $        130.44
PJPHS   Operating                                     8055   10/15/2020   21‐45            Crescent Payroll                                      Administrative Expense                                                                $     60,947.31
PJPHS   Operating                                     8055   10/15/2020   21‐46            Crescent Payroll                                      Administrative Expense                                                                $     22,743.97
PJPHS   Operating                                     8055   10/15/2020   21‐47            Crescent Payroll                                      Administrative Expense                                                                $      5,418.30
PJPHS   Operating                                     8055   10/15/2020   ACH PR Fee Oct   Crescent Payroll                                      Administrative Expense                                                                $        462.50
PJPHS   Operating                                     8055   10/15/2020   47485            St. Thomas Aquinas High School                        Student Activities                                                                    $         60.00
PJPHS   Operating                                     8055   10/16/2020   47471                                                                  Student Activities                                                                    $        479.14
PJPHS   Operating                                     8055   10/16/2020   47472            Archdiocese of New Orleans Insurance                  Administrative Expense                                                                $     10,151.09
PJPHS   Operating                                     8055   10/16/2020   47473            Blick Art Materials                                   Instructional                                                                         $         42.60
PJPHS   Operating                                     8055   10/16/2020   47474                                                                  Student Activities                                                                    $         55.00
PJPHS   Operating                                     8055   10/16/2020   47475            Busy Bee Floral Design                                Student Activities                                                                    $         63.00
PJPHS   Operating                                     8055   10/16/2020   47476                                                                  Student Activities                                                                    $        100.00
PJPHS   Operating                                     8055   10/16/2020   47477                                                                  Student Activities                                                                    $        100.00
PJPHS   Operating                                     8055   10/16/2020   47478                                                                  Student Activities                                                                    $         55.00
PJPHS   Operating                                     8055   10/16/2020   47479                                                                  Student Activities                                                                    $        100.00
PJPHS   Operating                                     8055   10/16/2020   47480                                                                  Student Activities                                                                    $        115.00
PJPHS   Operating                                     8055   10/16/2020   47481            Lobb's Horticultural Spray Inc                        Operations and Maint. of Plant                                                        $        700.00
PJPHS   Operating                                     8055   10/16/2020   47482            Sign Artist                                           Marketing & Advertising                                                               $      1,050.00
PJPHS   Operating                                     8055   10/16/2020   47483                                                                  Student Activities                                                                    $        100.00
PJPHS   Operating                                     8055   10/19/2020   47486            Balloon Expressions, LLC                              Student Activities                                                                    $        138.60
PJPHS   Operating                                     8055   10/19/2020   47487            Christy's Flowers                                     Student Activities                                                                    $        952.00
PJPHS   Operating                                     8055   10/19/2020   47488            Development Innovations 360                           Administrative Expense                                                                $      4,176.00
PJPHS   Operating                                     8055   10/19/2020   47489            EmbroidMe                                             Student Activities                                                                    $      1,272.14
PJPHS   Operating                                     8055   10/19/2020   47490            Federal Express ‐ FedEx                               Administrative Expense                                                                $         26.07
PJPHS   Operating                                     8055   10/19/2020   NSF Check                                                              Student Activities                                                                    $         15.00
PJPHS   Operating                                     8055   10/19/2020   47491            HOSA, Inc.                                            Student Activities                                                                    $      1,100.00
PJPHS   Operating                                     8055   10/19/2020   47492                                                                  Administrative Expense                                                                $        109.15
PJPHS   Operating                                     8055   10/19/2020   47493            Ordes Services, LLC                                   Operations and Maint. of Plant                                                        $      2,856.08
PJPHS   Operating                                     8055   10/19/2020   47494                                                                  Student Activities                                                                    $         75.00
PJPHS   Operating                                     8055   10/19/2020   47495                                                                  Student Activities                                                                    $         71.00
PJPHS   Operating                                     8055   10/19/2020   47496                                                                  Student Activities                                                                    $         62.20
PJPHS   Operating                                     8055   10/19/2020   47497            Sign Artist                                           Student Activities                                                                    $        450.00
PJPHS   Operating                                     8055   10/19/2020   47498            Uniti Fiber FKA Hunt Telecommunications, LLC          Operations and Maint. of Plant                                                        $        189.54
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 34 of
                                           103
PJPHS   Operating         8055   10/19/2020   47499                              Wash‐St Tammany Electric Co Inc                          Operations and Maint. of Plant                          $      7,824.07
PJPHS   Operating         8055   10/20/2020   47500                              Archdiocese of New Orleans                               Operations and Maint. of Plant                          $          45.00
PJPHS   Operating         8055   10/20/2020   47501                              Benefit Strategies                                       Administrative Expense                                  $          50.53
PJPHS   Operating         8055   10/20/2020   47502                                                                                       Student Activities                                      $          71.00
PJPHS   Operating         8055   10/20/2020   47503                                                                                       Student Activities                                      $        100.00
PJPHS   Operating         8055   10/20/2020   47508                              Geaux Preaux Printing                                    Student Activities                                      $        208.70
PJPHS   Operating         8055   10/20/2020   47504                                                                                       Student Activities                                      $        100.00
PJPHS   Operating         8055   10/20/2020   47509                                                                                       Student Activities                                      $        100.00
PJPHS   Operating         8055   10/20/2020   47510                                                                                       Student Activities                                      $        100.00
PJPHS   Operating         8055   10/20/2020   47505                                                                                       Student Activities                                      $        100.00
PJPHS   Operating         8055   10/20/2020   47506                                                                                       Student Activities                                      $          71.00
PJPHS   Operating         8055   10/20/2020   47507                                                                                       Student Activities                                      $          75.00
PJPHS   Operating         8055   10/20/2020   47511                              Wise, Dwight                                             Student Activities                                      $          75.00
PJPHS   Operating         8055   10/20/2020   47512                              Wise, Dwight                                             Student Activities                                      $        100.00
PJPHS   Operating         8055   10/21/2020   47515                              Chase Cardmember Services                                Administrative Expense                                  $        528.78
PJPHS   Operating         8055   10/21/2020   47515                              Chase Cardmember Services                                Instructional Expense                                   $        730.00
PJPHS   Operating         8055   10/21/2020   47515                              Chase Cardmember Services                                Operations and Maint. of Plant                          $      4,338.31
PJPHS   Operating         8055   10/21/2020   47515                              Chase Cardmember Services                                Student Activities                                      $      2,191.47
PJPHS   Operating         8055   10/21/2020   47513                                                                                       Administrative Expense                                  $        190.00
PJPHS   Operating         8055   10/21/2020   47516                                                                                       Administrative Expense                                  $        152.68
PJPHS   Operating         8055   10/21/2020   47517                              St. Scholastica Academy                                  Student Activities                                      $          60.00
PJPHS   Operating         8055   10/21/2020   47514                                                                                       Administrative Expense                                  $        190.00
PJPHS   Operating         8055   10/22/2020   47527                              Archdiocese of New Orleans                               Operations and Maint. of Plant                          $          45.00
PJPHS   Operating         8055   10/22/2020   47518                                                                                       Student Activities                                      $        100.00
PJPHS   Operating         8055   10/22/2020   47519                                                                                       Student Activities                                      $          55.00
PJPHS   Operating         8055   10/22/2020   47530                                                                                       Student Activities                                      $          80.00
PJPHS   Operating         8055   10/22/2020   47520                                                                                       Student Activities                                      $        115.00
PJPHS   Operating         8055   10/22/2020   47521                                                                                       Student Activities                                      $        100.00
PJPHS   Operating         8055   10/22/2020   47522                                                                                       Student Activities                                      $        100.00
PJPHS   Operating         8055   10/22/2020   47523                                                                                       Student Activities                                      $          55.00
PJPHS   Operating         8055   10/22/2020   47524                                                                                       Instructional                                           $          10.33
PJPHS   Operating         8055   10/22/2020   47528                                                                                       Instructional                                           $          14.79
PJPHS   Operating         8055   10/22/2020   47525                                                                                       Student Activities                                      $        100.00
PJPHS   Operating         8055   10/22/2020   47531                                                                                       Administrative Expense                                  $        150.00
PJPHS   Operating         8055   10/22/2020   47526                                                                                       Operations and Maint. of Plant                          $          54.83
PJPHS   Operating         8055   10/22/2020   47529                                                                                       Administrative Expense                                  $          13.00
PJPHS   Operating         8055   10/22/2020   47532                                                                                       Administrative Expense                                  $        150.00
PJPHS   Operating         8055   10/23/2020   47533                                                                                       Administrative Expense                                  $        140.00
PJPHS   Operating         8055   10/28/2020   47534                                                                                       Student Activities                                       $         550.00
PJPHS   Operating         8055   10/28/2020   47535                              Archdiocese of New Orleans OCS                           Administration Expenses                                  $          10.00
PJPHS   Operating         8055   10/28/2020   47536                                                                                       Student Activities                                      $             3.38
PJPHS   Operating         8055   10/28/2020   47537                                                                                       Student Services                                         $          62.91
PJPHS   Operating         8055   10/28/2020   47538                              E & J Lawn Care and Maintenance LLC                      Operations and Maintenance of Plant                      $       1,755.00
PJPHS   Operating         8055   10/28/2020   47539                              Foley Marketing, Inc.                                    Student Services                                         $       2,301.50
PJPHS   Operating         8055   10/28/2020   47540                              LHSPLA                                                   Student Activities                                       $         300.00
PJPHS   Operating         8055   10/28/2020   47541                                                                                       Administration Expenses                                  $          36.91
PJPHS   Operating         8055   10/28/2020   47542                              Southern Silk Screening ‐ Screen Printing & Embroidery   Student Activities                                       $       1,485.78
PJPHS   Operating         8055   10/28/2020   47543                              St. Michael's High School                                Student Activities                                       $         375.00
PJPHS   Operating         8055   10/28/2020   47544                                                                                       Student Activities                                       $         124.50
PJPHS   Operating         8055   10/28/2020   47545                              Waste Management of St Tammany                           Operations and Maintenance of Plant                      $         251.44
PJPHS   Operating         8055   10/30/2020   47546                              A‐1 Service Inc                                          Operations and Maintenance of Plant                      $         212.08
PJPHS   Operating         8055   10/30/2020   47556                              Archdiocese of New Orleans ‐ Information Technology      Operations and Maintenance of Plant                      $       1,265.75
PJPHS   Operating         8055   10/30/2020   ACH 10/30                          Archdiocese of New Orleans Financial Serv                Administration Expenses                                  $         561.44
PJPHS   Operating         8055   10/30/2020   47547                              Archdiocese of New Orleans OCS                           Student Services                                         $       9,210.00
PJPHS   Operating         8055   10/30/2020   47548                              ATMOS Energy Louisiana ‐ LGS                             Operations and Maintenance of Plant                      $         236.61
PJPHS   Operating         8055   10/30/2020   47561                              Audubon Limousine                                        Student Activities                                       $       2,400.00
PJPHS   Operating         8055   10/30/2020   47557                              Balfour New Orleans, LLC                                 Student Activities                                       $         226.74
PJPHS   Operating         8055   10/30/2020   47558                              Benecom Technologies                                     Administration Expenses                                  $         858.74
PJPHS   Operating         8055   10/30/2020   47559                              Blick Art Materials                                      Student Services                                         $          38.52
PJPHS   Operating         8055   10/30/2020   47549                                                                                       Student Activities                                       $          80.00
PJPHS   Operating         8055   10/30/2020   47555                                                                                       Student Activities                                       $         120.00
PJPHS   Operating         8055   10/30/2020   47550                              Catholic Relief Services                                 Student Activities                                       $         537.00
PJPHS   Operating         8055   10/30/2020   47562                                                                                       Student Activities                                       $          37.38
PJPHS   Operating         8055   10/30/2020   21‐55                              Crescent Payroll                                         Administration Expenses                                  $       7,074.55
PJPHS   Operating         8055   10/30/2020   21‐54                              Crescent Payroll                                         Administration Expenses                                  $      25,745.65
PJPHS   Operating         8055   10/30/2020   21‐53                              Crescent Payroll                                         Administration Expenses                                  $      63,779.51
PJPHS   Operating         8055   10/30/2020   47551                              Davis Products Co., Inc                                  Operations and Maintenance of Plant                      $       1,817.57
PJPHS   Operating         8055   10/30/2020   47563                              Engineer Your World                                      Student Services                                         $       4,000.00
PJPHS   Operating         8055   10/30/2020   47552                              Pro's Pest Control Service, Inc                          Operations and Maintenance of Plant                      $         205.00
PJPHS   Operating         8055   10/30/2020   47560                              Protection One / ADT                                     Operations and Maintenance of Plant                      $         459.72
PJPHS   Operating         8055   10/30/2020   47553                                                                                       Student Activities                                       $          44.00
PJPHS   Operating         8055   10/30/2020   47564                              Smith Sporting Goods LLC                                 Student Activities                                       $         603.63
PJPHS   Operating         8055   10/30/2020   47554                              WEX Bank                                                 Operations and Maintenance of Plant                      $         980.66
PJPHS   Reserve Loan      0271   10/1/2020    no check ‐ transfer b/t accounts   First Bank & Trust                                       Interest transfer                                       $       1,410.25
PJPHS   Reserve Loan      0271   10/5/2020    no check ‐ transfer b/t accounts   First Bank & Trust                                       tuition distribution                                    $      26,688.54
PJPHS   Reserve Loan      0271   10/6/2020    no check ‐ transfer b/t accounts   First Bank & Trust                                       tuition distribution                                    $         755.71
PJPHS   Reserve Loan      0271   10/14/2020   no check ‐ transfer b/t accounts   First Bank & Trust                                       tuition disbursement                                    $        201.87
PJPHS   Reserve Loan      0271   10/15/2020   no check ‐ transfer b/t accounts   First Bank & Trust                                       tuition disbursement                                    $     50,239.66
PJPHS   Reserve Loan      0271   10/16/2020   no check ‐ transfer b/t accounts   First Bank & Trust                                       tuition disbursement                                    $        457.85
PJPHS   Reserve Loan      0271   10/26/2020   no check                           First Bank & Trust                                       loan reduction                                          $       1,000.00
PJPHS   Reserve Loan      0271   10/28/2020   no check                           First Bank & Trust                                       loan reduction                                          $       2,000.00
PJPHS   Checking          4242   10/19/2020   transfer ‐ no check                First Bank & Trust                                       Transfer to higher interest bearing account             $    700,000.00
SCCS    Tuition Reserve   0437   10/01/2020   LD100120                                                                                    Tuition Loan Reduction                                  $      1,000.00
SCCS    Tuition Reserve   0437   10/01/2020   LD100120                                                                                    Tuition Loan Reduction                                  $      1,000.00
SCCS    Tuition Reserve   0437   10/01/2020   Transfer                           FBT Operating                                            Transfer Loan interest to FBT Operating                 $      2,096.87
SCCS    Tuition Reserve   0437   10/5/2020    Transfer                           FBT Operating                                            Tuition disb. from loan collections                     $     34,665.16
SCCS    Tuition Reserve   0437   10/08/2020   LD100820                                                                                    Tuition Loan Reduction                                  $        148.36
SCCS    Tuition Reserve   0437   10/09/2020   Transfer                           FBT Operating                                            Tuition disb. from loan collections                     $        753.76
SCCS    Tuition Reserve   0437   10/09/2020   LD100920                                                                                    Tuition Loan Reduction                                  $      2,409.51
SCCS    Tuition Reserve   0437   10/09/2020   Transfer                           FBT Operating                                            Tuition disb. from loan collections                     $      1,276.63
SCCS    Tuition Reserve   0437   10/14/2020   :LD101420                                                                                   Tuition Loan Reduction                                   $         500.00
SCCS    Tuition Reserve   0437   10/14/2020   :LD101420                                                                                   Tuition Loan Reduction                                   $         500.00
SCCS    Tuition Reserve   0437   10/14/2020   :LD101420                                                                                   Tuition Loan Reduction                                   $         500.00
SCCS    Tuition Reserve   0437   10/15/2020   Transfer                           FBT ‐ SCC Oper                                           Tuition disb. from loan collections                      $      68,897.53
SCCS    Tuition Reserve   0437   10/16/2020   Transfer                           FBT ‐ SCC Oper                                           Tuition disb. from loan collections                      $         675.61
SCCS    Tuition Reserve   0437   10/19/2020   Transfer                           FBT ‐ SCC Oper                                           Tuition disb. from loan collections                      $          30.89
SCCS    Tuition Reserve   0437   10/21/2020   Transfer                           FBT ‐ SCC Oper                                           Tuition disb. from loan collections                      $       2,584.98
SCCS    Tuition Reserve   0437   10/22/2020   Transfer                           FBT ‐ SCC Oper                                           Tuition disb. from loan collections                      $       2,248.76
SCCS    Tuition Reserve   0437   10/23/2020   Transfer                           FBT ‐ SCC Oper                                           Tuition disb. from loan collections                      $       2,216.78
SCCS    Tuition Reserve   0437   10/26/2020   Transfer                           FBT ‐ SCC Oper                                           Tuition disb. from loan collections                      $       1,792.63
SCCS    Tuition Reserve   0437   10/27/2020   Transfer                           FBT ‐ SCC Oper                                           Tuition disb. from loan collections                      $          31.78
SCCS    Tuition Reserve   0437   10/29/2020   Transfer                           FBT ‐ SCC Oper                                           Tuition disb. from loan collections                      $       2,286.26
SCCS    Operating         3063   10/2/2020                                       Elevon                                                   Credit Card Fee                                          $          27.78
SCCS    Operating         3063   10/13/2020   Transfer                           FABT ‐ SCC Oper                                          Transfer from FBT‐Operating to FABT‐Operating           $     425,000.00
SCCS    Operating         0502   10/01/2020   ACH‐100120‐A35                     Atmos Energy 35                                          Utilities ‐ Gas                                          $          40.66
SCCS    Operating         0502   10/01/2020   ACH‐100120‐A51                     Atmos Energy 51                                          Utilities ‐ Gas                                          $         210.53
SCCS    Operating         0502   10/01/2020   25310                              Gallagher Benefit Services                               Payroll expenses                                         $      16,701.59
SCCS    Operating         0502   10/01/2020   25311                              Guardian                                                 Payroll expenses                                         $       1,488.46
SCCS    Operating         0502   10/01/2020   25312                              Pan American Life Ins. Co.                               Payroll expenses                                         $         127.80
SCCS    Operating         0502   10/01/2020   25313                              Gold Medal                                               Student activities                                       $         885.99
SCCS    Operating         0502   10/01/2020   25314                                                                                       Student activities                                       $          95.00
SCCS    Operating         0502   10/01/2020   25315                                                                                       Student activities                                       $          95.00
SCCS    Operating         0502   10/2/2020    ACH                                Elevon                                                   Credit card merchant fee                                 $          25.48
SCCS    Operating         0502   10/02/2020   25316                                                                                       Student activities                                       $         105.00
SCCS    Operating         0502   10/02/2020   25317                                                                                       Student activities                                       $         120.00
SCCS    Operating         0502   10/02/2020   25318                                                                                       Student activities                                       $          80.00
SCCS    Operating         0502   10/02/2020   25319                                                                                       Student activities                                       $         105.00
SCCS    Operating         0502   10/02/2020   25320                                                                                       Student activities                                       $         105.00
SCCS    Operating         0502   10/02/2020   25321                                                                                       Student activities                                       $         105.00
SCCS    Operating         0502   10/02/2020   25322                                                                                       Student activities                                       $         105.00
SCCS    Operating         0502   10/02/2020   25323                                                                                       Student activities                                       $          60.00
SCCS    Operating         0502   10/02/2020   25325                              Red Stick Sports                                         Student activities                                       $       4,663.21
SCCS    Operating         0502   10/02/2020   25326                                                                                       Student activities                                       $         140.00
SCCS    Operating         0502   10/02/2020   25327                                                                                       Student activities                                       $         140.00
SCCS    Operating         0502   10/02/2020   25328                                                                                       Student activities                                       $         140.00
SCCS    Operating         0502   10/02/2020   25329                                                                                       Student activities                                       $         140.00
SCCS    Operating         0502   10/02/2020   25330                                                                                       Student activities                                       $         140.00
SCCS    Operating         0502   10/02/2020   25331                              Domino's Pizza                                           Student activities                                       $          83.88
SCCS    Operating         0502   10/02/2020   25332                              VISA                                                     Payment on statement balance @ 10‐01‐20                  $       5,715.91
SCCS    Operating         0502   10/06/2020   25335                                                                                       Student activities                                       $         300.00
SCCS    Operating         0502   10/06/2020   25336                                                                                       Student activities                                       $         249.89
SCCS    Operating         0502   10/06/2020   25337                                                                                       Student activities                                       $         123.00
SCCS    Operating         0502   10/06/2020   25338                                                                                       Grant expenses                                           $         109.48
SCCS    Operating         0502   10/06/2020   25339                                                                                       Student activities                                       $         220.00
SCCS    Operating         0502   10/06/2020   25341                                                                                       Guidance                                                 $         222.90
SCCS    Operating         0502   10/06/2020   25343                                                                                       Student activities                                       $         500.00
SCCS    Operating         0502   10/06/2020   25344                                                                                       Instructional Expenses                                   $          99.00
SCCS    Operating         0502   10/08/2020   25345                                                                                       Tuition refund ‐ Mya & Kaylee Brown                      $       2,000.00
SCCS    Operating         0502   10/08/2020   25346                                                                                       Tuition Refund ‐ Nathan Nosacka                          $       5,541.50
SCCS    Operating         0502   10/08/2020   25347                              Coca Cola Bottling Company United 2701                   Student activities                                       $         868.59
SCCS    Operating         0502   10/08/2020   25348                              Custom Ink                                               Student activities                                       $       2,565.39
SCCS    Operating         0502   10/08/2020   25349                              Fisher's Ace Hardware, Inc.                              Plant upkeep                                             $         333.43
SCCS    Operating         0502   10/08/2020   25350                                                                                       Instructional Expenses                                   $         150.00
SCCS    Operating         0502   10/08/2020   25351                              Mr. Sock                                                 Student services                                         $         594.00
SCCS    Operating         0502   10/08/2020   25352                              Nextel ‐ Sprint                                          Utilities ‐ phone                                        $         117.00
SCCS    Operating         0502   10/08/2020   25353                              Nu‐Lite Electrical Wholesalers, LLC                      Plant upkeep                                             $         944.88
SCCS    Operating         0502   10/08/2020   25354                              Reliastar Life Insurance Co. of New York                 Payroll expenses                                         $          30.12
SCCS    Operating         0502   10/08/2020   25355                              St. Charles Herald‐Guide Subscription                    Instructional Expenses                                   $          34.99
SCCS    Operating         0502   10/08/2020   25356                              Tri‐Parish Trophies                                      Student activities                                       $         569.45
SCCS    Operating         0502   10/12/2020   25357                                                                                       Student activities                                       $         450.00
SCCS    Operating         0502   10/12/2020   25358                              E. D. White Catholic High School                         Student activities                                       $       2,000.00
SCCS    Operating         0502   10/12/2020   25359                                                                                       Testing expenses                                         $          58.85
SCCS    Operating         0502   10/12/2020   25360                                                                                       Plant upkeep                                             $         546.00
SCCS    Operating         0502   10/12/2020   25361                                                                                       Student services                                         $          56.80
SCCS    Operating         0502   10/13/2020   25362                                                                                       Student activities                                       $          95.00
SCCS    Operating         0502   10/13/2020   25363                                                                                       Student activities                                       $          95.00
SCCS    Operating         0502   10/13/2020   25364                                                                                       Student activities                                       $          65.67
SCCS    Operating         0502   10/13/2020   25365                                                                                       Instructional expebses                                   $          85.00
SCCS    Operating         0502   10/13/2020   25366                                                                                       Instructional expebses                                   $          85.00
SCCS    Operating         0502   10/13/2020   25367                                                                                       Instructional expebses                                   $          85.00
SCCS    Operating         0502   10/13/2020   25368                              SCC ‐ Quarterback Club                                   Student activities                                       $      10,681.98
SCCS    Operating         0502   10/13/2020   25370                              St. Louis Catholic High School                           Donation                                                 $       1,000.00
SCCS    Operating         0502   10/14/2020                                      SCC‐FABT Payroll                                         Transfer from FABT‐Operating to FABT‐Payroll            $     180,000.00
SCCS    Operating         0502   10/14/2020   25371                                                                                       Tuition Refund                                           $       1,540.49
SCCS    Operating         0502   10/14/2020   25372                                                                                       Student activities                                       $          95.00
SCCS    Operating         0502   10/14/2020   25373                                                                                       Student activities                                       $          95.00
SCCS    Operating         0502   10/14/2020   25374                                                                                       Tuition Refund                                           $       5,596.50
SCCS    Operating         0502   10/15/2020   ACH‐101520‐E50                     Entergy                                                  Utilities ‐ Electricity                                  $       7,760.75
SCCS    Operating         0502   10/15/2020   ACH‐101520‐E84                     Entergy                                                  Utilities ‐ Electricity                                  $         623.18
SCCS    Operating         0502   10/15/2020   25375                                                                                       Student activities                                       $          95.00
SCCS    Operating         0502   10/15/2020   25376                                                                                       Student activities                                       $          95.00
SCCS    Operating         0502   10/15/2020   25377                              ARCHNO ‐ CFO                                             Payment #1 of 3 ‐ Principal ‐ FEMA Project Loan 324.1    $       3,250.00
SCCS    Operating         0502   10/15/2020   25378                              Johnson Controls                                         Administration Expenses                                  $         100.00
SCCS    Operating         0502   10/15/2020   25379                              L'Observateur                                            Development & Marketing                                  $         199.00
SCCS    Operating         0502   10/15/2020   25380                                                                                       Instructional expebses                                   $          75.00
SCCS    Operating         0502   10/15/2020   25381                              Lee Tractor Co., Inc.                                    Plant upkeep                                             $         166.18
SCCS    Operating         0502   10/15/2020   25382                              LHSAA                                                    Student activities                                       $         100.00
SCCS    Operating         0502   10/15/2020   25384                              Mastery Prep                                             Testing expenses                                         $       3,890.00
SCCS    Operating         0502   10/15/2020   25385                              Ruhr Valley Publishing, Inc                              Development & Marketing                                  $         350.00
SCCS    Operating         0502   10/15/2020   25386                              Savvas Learning Company LLC                              Instructional expebses                                   $         249.85
SCCS    Operating         0502   10/15/2020   25387                              St. Charles Printing                                     Development & Marketing                                  $         225.30
SCCS    Operating         0502   10/15/2020   25388                              St. John the Baptist Parish Utilities                    Utilities ‐ Water                                        $         738.30
SCCS    Operating         0502   10/15/2020   25389                              Superior Office Products Inc                             Administration Expenses                                  $       2,103.73
SCCS    Operating         0502   10/15/2020   25390                              The Master's Touch Drumline                              Student activities                                       $         203.18
SCCS    Operating         0502   10/15/2020   25391                              UTZ Quality Foods, LLC                                   Student activities                                       $         237.00
SCCS    Operating         0502   10/15/2020   25392                              Wells Fargo Vendor Financial Services 52                 Repayment ‐ Capital Lease                                $      19,266.24
SCCS    Operating         0502   10/15/2020   25393                              East Ascension High School                               Student activities                                       $       1,500.00
SCCS    Operating         0502   10/16/2020   ACH                                SCRIP                                                    Student activities                                      $             3.50
SCCS    Operating         0502   10/19/2020                                      SCC‐FABT Payroll                                         Transfer from FABT‐Operating to FABT‐Payroll             $      13,000.00
SCCS    Operating         0502   10/20/2020   ACH‐102020‐E87                     Entergy                                                  Utilities ‐ Electricity                                  $         535.60
SCCS    Operating         0502   10/20/2020   25411                                                                                       Instructional expebses                                   $          26.47
SCCS    Operating         0502   10/20/2020   25412                              Gold Medal                                               Student activities                                       $         294.80
SCCS    Operating         0502   10/20/2020   25413                                                                                       Instructional expebses                                   $         173.76
SCCS    Operating         0502   10/21/2020   25394                              Arthur's Bus Service, LLC                                Student activities                                       $         950.00
SCCS    Operating         0502   10/21/2020   25395                              Apple, Inc. 864214                                       Instructional Technology expense                         $       1,283.95
SCCS    Operating         0502   10/21/2020   25396                                                                                       Instructional expebses                                   $         170.00
SCCS    Operating         0502   10/21/2020   25397                              Madere Ventures, LLC                                     Instructional Technology contracted services             $       2,681.70
SCCS    Operating         0502   10/21/2020   25398                              Madere Ventures, LLC ‐ Other                             Instructional Technology contracted services             $         328.00
SCCS    Operating         0502   10/21/2020   25399                              Matherne's Supermarket                                   Development & Marketing                                  $          76.07
SCCS    Operating         0502   10/21/2020   25400                              Office Depot                                             Administration Expenses                                  $         555.94
SCCS    Operating         0502   10/21/2020   25401                              Reserve Telecommunications                               Utilities ‐ Internet                                     $         290.35
SCCS    Operating         0502   10/21/2020   25402                              The Church Supply House                                  Student services                                         $         119.69
SCCS    Operating         0502   10/21/2020   25403                              Community Coffee Co., LLC                                Administration Expenses                                  $         190.66
SCCS    Operating         0502   10/21/2020   25404                              Fisher's Ace Hardware, Inc.                              Plant upkeep                                             $         196.43
SCCS    Operating         0502   10/21/2020   25405                              Red Stick Sports                                         Student activities                                       $         161.63
SCCS    Operating         0502   10/21/2020   25406                              ARCHNO ‐ Accounting Office                               Construction Loan #1 payment Oct. 2020                   $      25,000.00
SCCS    Operating         0502   10/21/2020   25407                              ARCHNO ‐ Insurance Off.                                  Insurance expense                                        $      16,074.94
SCCS    Operating         0502   10/21/2020   25408                              ARCHNO ‐ CFO                                             Repayment # 10 ‐ Stadium Loan 324.4                      $       2,134.39
SCCS    Operating         0502   10/21/2020   25410                              NOAGL                                                    Student activities                                       $          85.00
SCCS    Operating         0502   10/21/2020   25414                              Amplified IT                                             Instructional Technology expense                         $       1,032.00
SCCS    Operating         0502   10/21/2020   25415                              IV Waste, LLC                                            Plant upkeep                                             $         965.20
SCCS    Operating         0502   10/22/2020   ACH‐102220‐20‐10                   Reserve Telecommunications                               Utilities ‐ Internet                                     $         290.35
SCCS    Operating         0502   10/22/2020   25418                                                                                       Instructional expebses                                   $         100.00
SCCS    Operating         0502   10/22/2020   25419                                                                                       Student activities                                       $          55.00
SCCS    Operating         0502   10/22/2020   25420                              East St. John High School                                Student activities                                       $          60.00
SCCS    Operating         0502   10/22/2020   25421                                                                                       Student activities                                       $          95.00
SCCS    Operating         0502   10/22/2020   25422                                                                                       Student activities                                       $          95.00
SCCS    Operating         0502   10/22/2020   25423                              The Master's Touch Drumline                              Student activities                                       $       1,058.46
SCCS    Operating         0502   10/22/2020   25424                                                                                       Student activities                                       $          95.00
SCCS    Operating         0502   10/22/2020   25425                                                                                       Student activities                                       $          95.00
SCCS    Operating         0502   10/24/2020                                      First American Bank                                      NSF + fee                                                $          25.00
SCCS    Operating         0502   10/26/2020   25426                              PJ's Coffee of New Orleans                               Administration Expenses                                  $         290.70
SCCS    Operating         0502   10/27/2020                                      First American Bank                                      NSF + fee                                                $         100.00
SCCS    Operating         0502   10/29/2020   25427                              ARCHNO ‐ Accounting Office                               Administration Expenses                                  $          90.00
SCCS    Operating         0502   10/29/2020   25428                                                                                       Development & Marketing                                  $          33.78
SCCS    Operating         0502   10/29/2020   25429                              Coca Cola Bottling Company United 2701                   Student activities                                       $         606.22
SCCS    Operating         0502   10/29/2020   25430                                                                                       Student activities                                       $         191.93
SCCS    Operating         0502   10/29/2020   25431                              Isidore Newman School                                    Student activities                                       $         112.00
SCCS    Operating         0502   10/29/2020   25432                                                                                       Administration Expenses                                  $         170.00
SCCS    Operating         0502   10/29/2020   25434                              LHSAA {3}                                                Student activities                                       $         100.00
SCCS    Operating         0502   10/29/2020   25435                              Office Depot                                             Administration Expenses                                  $         737.54
SCCS    Operating         0502   10/29/2020   25436                              Sensalert Security Services                              Administration Expenses                                  $         149.50
SCCS    Operating         0502   10/29/2020   25438                              SLFOA                                                    Student activities                                       $         690.00
SCCS    Operating         0502   10/29/2020   25439                              Team Sportsplex                                          Student activities                                       $         150.00
SCCS    Operating         0502   10/29/2020   25440                              Third Coast Soccer                                       Student activities                                       $       2,278.00
SCCS    Operating         0502   10/29/2020   25441                              Xerox Financial Services                                 Administration Expenses                                  $       1,370.15
SCCS    Operating         0502   10/29/2020   25442                                                                                       Instructional Expenses                                   $         187.00
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 35 of
                                           103
SCCS   Operating                                      0502   10/30/2020   25443                                                                          Student activities                                                                           $         175.00
SCCS   Operating                                      0502   10/30/2020   25444                                                                          Student activities                                                                           $         175.00
SCCS   Operating                                      0502   10/30/2020   25445                                                                          Student activities                                                                           $         140.00
SCCS   Operating                                      0502   10/30/2020   25446                                                                          Student activities                                                                           $         140.00
SCCS   Operating                                      0502   10/30/2020   25447                                                                          Student activities                                                                           $         140.00
SCCS   Operating                                      0502   10/30/2020   25448                                                                          Student activities                                                                           $         140.00
SCCS   Operating                                      0502   10/30/2020   25449                                                                          Student activities                                                                           $         140.00
SCCS   Operating                                      0502   10/30/2020   25450                                                                          Student activities                                                                           $         678.00
SCCS   Operating                                      0502   10/30/2020   25451                                                                          Student activities                                                                           $         201.83
SCCS   Operating                                      0502   10/30/2020   25452                      Arthur's Bus Service, LLC                           Student activities                                                                           $         750.00
SCCS   Operating                                      0502   10/30/2020   25453                                                                          Student activities                                                                           $         799.00
SCCS   Operating                                      0502   10/30/2020   25454                                                                          Student activities                                                                           $          72.00
SCCS   Operating                                      0502   10/30/2020   25455                      Hi‐Tech Electric, Inc.                              Facility upkeep                                                                              $      1,459.00
SCCS   Operating                                      0502   10/30/2020   25456                      Nola Family Magazine                                Development & Marketing                                                                      $      1,800.00
SCCS   Operating                                      0502   10/30/2020   25457                      McGraw‐Hill, LLC                                    Instructional Expenses                                                                       $      1,200.00
SCCS   Operating                                      0502   10/31/2020   25458                                                                          Student activities                                                                           $         600.00
SCCS   Payroll                                        1377   10/20/2020   ACH                        SCC employees                                       Monthly Payroll ‐ Net Payroll                                                               $    124,299.32
SCCS   Payroll                                        1377   10/20/2020   ACH                        Crescent Payroll                                    Monthly Payroll ‐ w/h paid                                                                   $     48,418.09
SCCS   Payroll                                        1377   10/20/2020   ACH                        Crescent Payroll                                    Monthly Payroll ‐ P/R processing fee                                                         $         228.00
SCCS   Payroll                                        1377   10/20/2020   ACH                        Crescent Payroll                                    Monthly Payroll ‐ 401K + Benefit Trust w/h & expense paid                                    $     23,742.91
SCCS   QB Club                                        7036   10/02/2020   4547                                                                           Student activities                                                                          $        546.00
SCCS   QB Club                                        7036   10/03/2020   4548                       Sam's Club                                          Student activities                                                                          $        214.26
SCCS   QB Club                                        7036   10/05/2020   4549                       Fisher's Ace Hardware, Inc.                         Student activities                                                                          $         77.23
SCCS   QB Club                                        7036   10/06/2020   4550                       Jeep Barrios                                        Student activities                                                                          $        159.44
SCCS   QB Club                                        7036   10/06/2020   4551                       Red Stick Sports                                    Student activities                                                                          $     1,107.82
SCCS   QB Club                                        7036   10/10/2020   4553                       Proforma                                            Student activities                                                                          $     1,495.96
SCCS   QB Club                                        7036   10/10/2020   4552                       Subway                                              Student activities                                                                          $        534.95
SCCS   QB Club                                        7036   10/12/2020   4554                       Matherne's Supermarket                              Student activities                                                                          $        696.26
SCCS   QB Club                                        7036   10/18/2020   4555                       Sam's Club                                          Student activities                                                                          $        122.55
SCCS   QB Club                                        7036   10/21/2020   4556                       Walmart                                             Student activities                                                                          $         51.92
SCCS   QB Club                                        7036   10/26/2020   4557                                                                           Student activities                                                                          $         74.25
SCCS   QB Club                                        7036   10/26/2020   4558                       Jeep Barrios                                        Student activities                                                                          $        259.13
SCCS   QB Club                                        7036   10/26/2020   4559                       Red Stick Sports                                    Student activities                                                                          $     2,748.62
SMSS   Operating Account                              3693   10/07/2020   57698                      THE CATHOLIC FOUNDATION                             Donation                                                                                    $      3,500.00
SMSS   Operating Account                              3693   10/07/2020   57697                                                                          Exploration Academy                                                                         $          90.52
SMSS   Operating Account                              3693   10/07/2020   57696                                                                          Computer Hardware                                                                           $          63.46
SMSS   Operating Account                              3693   10/07/2020   57695                      RELIASTAR LIFE INSURANCE CO.                        Employee Benefits                                                                           $          25.96
SMSS   Operating Account                              3693   10/07/2020   57694                      PRIORITY SYSTEMS, INC.                              Other Plant Upkeep Expense                                                                  $         180.00
SMSS   Operating Account                              3693   10/07/2020   57693                      POLO TRANSPORTATION                                 Bus Transportation                                                                          $     17,760.00
SMSS   Operating Account                              3693   10/07/2020   57692                      Pflaum Publishing Group                             Textbooks                                                                                   $         603.07
SMSS   Operating Account                              3693   10/07/2020   57691                      NATIONAL CATHOLIC EDUCATIONAL ASSOCIATION           Dues/Memberships                                                                            $         315.00
SMSS   Operating Account                              3693   10/07/2020   57690                                                                          Vo Tech Cooking                                                                             $          99.97
SMSS   Operating Account                              3693   10/07/2020   57689                                                                          Copier/Student Clubs                                                                        $         201.37
SMSS   Operating Account                              3693   10/07/2020   57688                      ENTERGY                                             Utilities ‐ Electric/Gas                                                                    $      4,223.79
SMSS   Operating Account                              3693   10/07/2020   57687                      AT&T                                                Utilities ‐ Telephone                                                                       $         129.66
SMSS   Operating Account                              3693   10/07/2020   57686                      AMERICAN SPRINKLER                                  Minor Maintenance Plant                                                                     $         425.00
SMSS   Operating Account                              3693   10/10/2020   JE 2017‐1712               Clearant                                            Bank Charges                                                                                $         151.44
SMSS   Operating Account                              3693   10/14/2020   57708                      Nelnet Business Solutions ‐ FACTS                   Computer Software                                                                           $         481.47
SMSS   Operating Account                              3693   10/14/2020   57707                      OFFICE OF STATE FIRE MARSHALL                       Minor Maintenance Plant                                                                     $          20.00
SMSS   Operating Account                              3693   10/14/2020   57706                      ARCHDIOCESE OF N.O. Insurance                       Insurance                                                                                   $     17,170.48
SMSS   Operating Account                              3693   10/14/2020   57705                      A CUT ABOVE                                         Gardener                                                                                    $         425.00
SMSS   Operating Account                              3693   10/14/2020   57704                      RIVER PARISH DISPOSAL, INC.                         Plant Upkeep Trash                                                                          $         453.54
SMSS   Operating Account                              3693   10/14/2020   57703                      Redemptorists                                       Other Instructional Expense                                                                 $          50.00
SMSS   Operating Account                              3693   10/14/2020   57702                      Mesalain Group                                      Custodial Subcontractor                                                                     $      4,500.00
SMSS   Operating Account                              3693   10/14/2020   57701                                                                          Blue Rose Ball Expenses                                                                     $         395.28
SMSS   Operating Account                              3693   10/14/2020   57700                      COX COMMUNICATIONS                                  Utilities Cable                                                                             $          42.49
SMSS   Operating Account                              3693   10/14/2020   57699                      A&L SALES, INC.                                     Custodial Supplies                                                                          $         623.54
SMSS   Operating Account                              3693   10/21/2020   57722                                                                          Joy Center Money Management                                                                 $         615.00
SMSS   Operating Account                              3693   10/21/2020   57721                      Uniti Fiber                                         Utilities Telephone                                                                         $          88.37
SMSS   Operating Account                              3693   10/21/2020   57720                                                                          Classroom Supplies                                                                          $         201.87
SMSS   Operating Account                              3693   10/21/2020   57719                      SEWERAGE & WATER BOARD                              Utilities Water                                                                             $         221.83
SMSS   Operating Account                              3693   10/21/2020   57718                                                                          Classroom Supplies                                                                          $          71.29
SMSS   Operating Account                              3693   10/21/2020   57717                                                                          Joy Center                                                                                  $          26.79
SMSS   Operating Account                              3693   10/21/2020   57716                      Redemptorists                                       Other Instructional Expense                                                                 $         100.00
SMSS   Operating Account                              3693   10/21/2020   57715                      ParaTech LLC                                        Computer Hardware                                                                           $      1,398.00
SMSS   Operating Account                              3693   10/21/2020   57714                      GULF COAST OFFICE PRODUCTS                          Copier/Printing                                                                             $         472.05
SMSS   Operating Account                              3693   10/21/2020   57713                      FIRE & SAFETY COMMODITIES                           Minor Maintenance Plant                                                                     $         360.00
SMSS   Operating Account                              3693   10/21/2020   57712                      ESJD                                                Milk                                                                                        $         224.40
SMSS   Operating Account                              3693   10/21/2020   57711                      BALDWIN, STERLING ‐‐ Reimbursement                  Classroom Supplies                                                                          $          97.33
SMSS   Operating Account                              3693   10/21/2020   57710                      ARCHDIOCESE OF NEW ORLEANS                          Minor Maintenance Plant                                                                     $          45.00
SMSS   Operating Account                              3693   10/21/2020   57709                      ALLFAX                                              Copier/Printing                                                                             $         208.76
SMSS   Operating Account                              3693   10/31/2020   JE 2017‐1714               SMSS                                                Transfer to Payroll                                                                         $    164,467.81
SMSS   Operating Account                              3693   10/31/2020   JE 2017‐1714               SMSS                                                Transfer to Payroll                                                                         $            5.00
SMSS   Operating Account                              3693   10/31/2020   SVCCHRG                    First Bank                                          Bank Charges                                                                                $          16.05
SMSS   Money Market Account                           9129   10/07/2020   10.7.20 Transfer           SMSS                                                Transfer to Operating                                                                       $     28,000.00
SMSS   Money Market Account                           9129   10/10/2020   100 Item Returned          First Bank                                          Deposited Item returned                                                                     $         100.00
SMSS   Money Market Account                           9129   10/10/2020   Dep Item Returned Fee      First Bank                                          Deposited Item returned fee                                                                 $            6.00
SMSS   Money Market Account                           9129   10/10/2020   10 Item Returned           First Bank                                          Deposited Item returned                                                                     $          10.00
SMSS   Money Market Account                           9129   10/16/2020   10.16 Transfer             SMSS                                                Transfer to Operating                                                                       $     24,500.00
SMSS   Money Market Account                           9129   10/21/2020   10.21 Transfer             SMSS                                                Transfer to Operating                                                                       $      4,200.00
SMSS   Money Market Account                           9129   10/27/2020   Trans10.27                 SMSS                                                Transfer to Operating                                                                       $    164,500.00
SMSS   Money Market Account                           9129   10/31/2020   Service Charge             First Bank                                          Service Charge                                                                              $          55.37
SMSS   Payroll Account                                9602   10/7/2020                               SMSS                                                Transfer from Money Market                                                                  $     28,000.00
SMSS   Payroll Account                                9602   10/31/2020   JE 2017‐1714 Fee           Crescent Payroll                                    Payroll Processing Fee                                                                      $         367.50
SMSS   Payroll Account                                9602   10/31/2020   JE 2017‐1714 401(k)        Crescent Payroll                                    401(K)                                                                                      $     15,630.05
SMSS   Payroll Account                                9602   10/31/2020   JE 2017‐1714 Taxes         Crescent Payroll                                    Taxes                                                                                       $     39,381.93
SMSS   Payroll Account                                9602   10/31/2020   JE 2017‐1714 Net Pay       Crescent Payroll                                    Net Payroll                                                                                 $    109,088.33
SMSS   Payroll Account                                9602   10/31/2020   JE 2017‐1714 Bank Charge   First Bank                                          Service Charge                                                                              $            5.00
SMSS   Capital Funds                                  1509   10/31/2020                              Whitney                                             service charges                                                                             $           3.00
SSA    Commercial Checking                            4776   10/16/2020   ACH                        Capital One                                         Bank Fees Charged after Bank Acct Closed. Bank Reversed 10/26                               $           45.00
SSA    As Custodian for Tuition Borrower Loan Funds   0067   10/09/2020   online txf                 txf                                                 Parent Tuition Disb Loan Pymts 10/1‐10/9                                                    $     68,641.25
SSA    As Custodian for Tuition Borrower Loan Funds   0067   10/09/2020   online txf                 txf                                                 Parent Tuition Disb Loan Pymts 10/1‐10/9                                                    $       1,778.00
SSA    As Custodian for Tuition Borrower Loan Funds   0067   10/09/2020   online txf                 txf                                                  Interest Income Txf, 1st of mo                                                             $       2,032.92
SSA    As Custodian for Tuition Borrower Loan Funds   0067   10/23/2020   online txf                 txf                                                 Parent Tuition Disb Loan Pymts 10/10‐10/23                                                  $         189.79
SSA    As Custodian for Tuition Borrower Loan Funds   0067   10/23/2020   online txf                 txf                                                 Parent Tuition Disb Loan Pymts 10/10‐10/23                                                  $     66,016.49
SSA    As Custodian for Tuition Borrower Loan Funds   0067   10/23/2020   online txf                 txf                                                 Parent Tuition Disb Loan Pymts 10/10‐10/23                                                  $       2,117.08
SSA    As Custodian for Tuition Borrower Loan Funds   0067   10/23/2020   online txf                 txf                                                 Parent Tuition Disb Loan Pymts 10/10‐10/23                                                  $         613.35
SSA    As Custodian for Tuition Borrower Loan Funds   0067   10/31/2020   online txf                 txf                                                 Parent Tuition Disb Loan Pymts 10/26                                                        $       1,338.00
SSA    As Custodian for Tuition Borrower Loan Funds   0067   10/31/2020   online txf                 txf                                                 Parent Tuition Disb Loan Pymts 10/27                                                        $       1,431.70
SSA    As Custodian for Tuition Borrower Loan Funds   0067   10/31/2020   online txf                 txf                                                 IN‐TRANSIT Parent Tuition Disb Loan Pymts,10/30 in NOV Bank                                 $       4,815.25
SSA    Operating                                      3065   10/01/2020   17856                      Archdiocese of New Orleans {4}                      Instructional Exp, Technology                                                                $      2,117.67
SSA    Operating                                      3065   10/01/2020   17857                      Artmasters Screen Printing                          various Agency / Club accts for GolfDoveClassicTeeGifts, t‐shirts, etc                       $      3,192.36
SSA    Operating                                      3065   10/01/2020   17858                      AT&T                                                Plant Utilities                                                                              $         769.22
SSA    Operating                                      3065   10/01/2020   17859                                                                          Student Activities, Athletic‐referees                                                        $          95.00
SSA    Operating                                      3065   10/01/2020   17860                                                                          Agency / Club acct ‐ SPS Cheer Choreography                                                  $         460.00
SSA    Operating                                      3065   10/01/2020   17861                      City Of Covington                                   Plant Utilities                                                                              $         378.90
SSA    Operating                                      3065   10/01/2020   17862                      Clarion Herald                                      Plant Utilities                                                                              $      1,250.00
SSA    Operating                                      3065   10/01/2020   17863                      Cleco                                               Plant Utilities                                                                              $      5,029.56
SSA    Operating                                      3065   10/01/2020   17864                      Davis Products Company, Inc                         Operations and Maintenance of Plant                                                          $         915.41
SSA    Operating                                      3065   10/01/2020   17865                                                                          EE Reimbursement, Utilties, Cell Ph                                                          $          75.00
SSA    Operating                                      3065   10/01/2020   17866                      Excel LD                                            Plant Utilities                                                                              $          97.49
SSA    Operating                                      3065   10/01/2020   17867                      Guardian                                            Benefits: Dental, Vision, etc Plans                                                          $      3,063.55
SSA    Operating                                      3065   10/01/2020   17868                                                                          Student Activities, Athletic‐referees                                                        $          40.00
SSA    Operating                                      3065   10/01/2020   17869                                                                          Agency / Club acct ‐ Team supplies                                                           $         380.19
SSA    Operating                                      3065   10/01/2020   17870                      Kent‐Mitchell Bus & RV Sales & Service LLC          Student Services Other                                                                       $          21.28
SSA    Operating                                      3065   10/01/2020   17871                      Kentwood Spring Water                               Student Services Other                                                                       $          42.87
SSA    Operating                                      3065   10/01/2020   17872                                                                          Student Activities, Athletic‐referees                                                        $          95.00
SSA    Operating                                      3065   10/01/2020   17873                                                                          Operations and Maintenance of Plant, Contracted Janitoria                                    $          90.00
SSA    Operating                                      3065   10/01/2020   17874                                                                          Student Activities, Athletic‐referees                                                        $         175.00
SSA    Operating                                      3065   10/01/2020   17875                      NAPA AUTO PARTS                                     Operations & Maintenance Plant, Athletic Field                                               $          46.18
SSA    Operating                                      3065   10/01/2020   17876                      Pan‐American Life Ins Company                       Admin Exp‐ Fringe Benefits                                                                   $          14.80
SSA    Operating                                      3065   10/01/2020   17877                      Ross Bus & Equipment Sales, Inc                     Student Services, Other                                                                      $         133.93
SSA    Operating                                      3065   10/01/2020   17878                      S & W Wholesale Foods                               PJs Coffee, CGS                                                                              $         328.67
SSA    Operating                                      3065   10/01/2020   17879                      Saia's Super Meat Market                            Agency / Club acct ‐ GolfClassic Fundraiser                                                  $         762.42
SSA    Operating                                      3065   10/01/2020   17880                      St Joseph Academy                                   Student Activities, Athletic, MeetEntryFee                                                   $          75.00
SSA    Operating                                      3065   10/01/2020   17881                      St Paul's School                                    Admin Exp ‐ Other, Ad                                                                        $         100.00
SSA    Operating                                      3065   10/01/2020   17882                                                                          Instructional, Salaries (sub)                                                                $          75.00
SSA    Operating                                      3065   10/01/2020   17883                      Turnitin                                            Instructional Exp, Technology                                                                $      2,662.10
SSA    Operating                                      3065   10/01/2020   17884                      Wagner's Landscaping LLC                            Operations and Maintenance of Plant                                                          $         600.00
SSA    Operating                                      3065   10/01/2020   17885                      S & W Wholesale Foods                               PJs Coffee, CGS                                                                              $         513.97
SSA    Operating                                      3065   10/08/2020   17886                      Acadian Ambulance Service                           Student Activities, Athletic                                                                 $         281.25
SSA    Operating                                      3065   10/08/2020   17887                      Artmasters Screen Printing                          FundRaisingExp, Annual Giving t‐shirts                                                       $      3,976.25
SSA    Operating                                      3065   10/08/2020   17888                                                                          Petty Cash, LimestoneRocks & BusBrakeTag                                                     $          90.00
SSA    Operating                                      3065   10/08/2020   17889                      Capital City Press                                  Developm & Mkt Exp, Other Fundraising                                                        $         110.00
SSA    Operating                                      3065   10/08/2020   17890                      City Of Covington                                   Plant Utilities                                                                              $         727.52
SSA    Operating                                      3065   10/08/2020   17891                      Coastal Environmental Services of LA, LLC           Plant Utilities                                                                              $          54.00
SSA    Operating                                      3065   10/08/2020   17892                      Coquille Parks & Recreation                         Student Activities, Athletic Gym Renta                                                       $          28.00
SSA    Operating                                      3065   10/08/2020   17893                      Gulf Coast Office Products                          Instructional Copy Machine                                                                   $         373.68
SSA    Operating                                      3065   10/08/2020   17894                      Home Depot Credit Services                          Plant Upkeep, Instructional Classroom                                                        $         932.31
SSA    Operating                                      3065   10/08/2020   17895                      IV Waste LLC                                        Plant Utilities                                                                              $         288.60
SSA    Operating                                      3065   10/08/2020   17896                                                                          EE Reimbursement, Utilties, Cell Ph & Instructional Supplies for Disection                   $         117.91
SSA    Operating                                      3065   10/08/2020   17897                                                                          reimb EE for Instructional Art Supplies                                                      $          13.14
SSA    Operating                                      3065   10/08/2020   17898                      Larry's Hardware Inc                                Operations and Maintenance of Plant                                                          $         164.09
SSA    Operating                                      3065   10/08/2020   17899                      LEAF                                                Instructional Copy Machine                                                                   $         450.02
SSA    Operating                                      3065   10/08/2020   17900                                                                          Student Activities, Athletic‐referees                                                        $         195.00
SSA    Operating                                      3065   10/08/2020   17901                      Mele Printing, Inc.                                 Developm & Mkt Exp, Other, Office                                                            $         168.97
SSA    Operating                                      3065   10/08/2020   17902                      Mesalain Consulting Group, LLC                      Operations and Maintenance of Plant                                                          $     10,713.00
SSA    Operating                                      3065   10/08/2020   17903                      NAPA AUTO PARTS                                     Other Exp, Repairs & Maintenance                                                             $          33.66
SSA    Operating                                      3065   10/08/2020   17904                      North Shore Broadcasting Inc                        Developm & Mkt Exp, Other ‐ Open Hse                                                         $         700.00
SSA    Operating                                      3065   10/08/2020   17905                                                                          Student Services, Athletic Other                                                             $         165.00
SSA    Operating                                      3065   10/08/2020   17906                      Postmaster                                          Developm & Mkt Exp, Other ‐ Postage                                                          $      1,000.00
SSA    Operating                                      3065   10/08/2020   17907                      Priority Systems, Inc                               Operations and Maintenance of Plant                                                          $         180.00
SSA    Operating                                      3065   10/08/2020   17908                      S & W Wholesale Foods                               PJs Coffee, CGS                                                                              $         731.74
SSA    Operating                                      3065   10/08/2020   17909                                                                          Student Activities, Athletic‐referees                                                        $         140.00
SSA    Operating                                      3065   10/08/2020   17910                      St Tammany Humane Society                           Agency / Club‐Donation                                                                       $         250.00
SSA    Operating                                      3065   10/08/2020   17911                                                                          Instructional, Salaries (sub)                                                                $         175.00
SSA    Operating                                      3065   10/08/2020   17912                      The Wellness Studio                                 Instructional, Other Training                                                                $      1,125.00
SSA    Operating                                      3065   10/08/2020   17913                      Uniform A Tee School Apparel                        Agency / Club ‐ DovesNest Inventory & Class t‐shirts                                         $      2,018.75
SSA    Operating                                      3065   10/08/2020   17914                      W T Kentzel Inc                                     Student Activities & Admin Exp, Othe                                                         $         696.11
SSA    Operating                                      3065   10/08/2020   17915                      The Administrators of the Tulane Educational Fund   Student Activities, Athletic Traine                                                          $      2,167.00
SSA    Operating                                      3065   10/14/2020   17916                                                                          Refund of Overpymt of Tuition & Fees                                                         $         448.00
SSA    Operating                                      3065   10/15/2020   17917                      Blossman Oil Company Inc                            Student Services, Other                                                                     $             9.12
SSA    Operating                                      3065   10/15/2020   17918                      BSN Sports                                          Agency/ Club ‐ Athletics, Softball uniforms                                                  $      2,700.00
SSA    Operating                                      3065   10/15/2020   17919                                                                          EE Reimbursement, Utilties, Cell Ph                                                          $          75.00
SSA    Operating                                      3065   10/15/2020   17920                      Cleco                                               Plant Utilities                                                                              $         294.26
SSA    Operating                                      3065   10/15/2020   17921                      Davis Products Company, Inc                         Operations & Maintenance of Plant, Elevator                                                  $         774.16
SSA    Operating                                      3065   10/15/2020   17922                      Home Bank, NA                                       Visa, Instructional, Operations & Maintenance of Plant, Admin Exp Other, Agency/ Club Ath    $     14,240.94
SSA    Operating                                      3065   10/15/2020   17923                                                                          Student Activities, Athletic, Refs                                                           $          40.00
SSA    Operating                                      3065   10/15/2020   17924                                                                          instructional, Sub                                                                           $         100.00
SSA    Operating                                      3065   10/15/2020   17925                      LASC                                                Agency/ Club, Student Council Annual Dues                                                    $          50.00
SSA    Operating                                      3065   10/15/2020   17926                      Louisiana Landscape Specialty, Inc.                 Operations and Plant, Contracted                                                             $      1,990.00
SSA    Operating                                      3065   10/15/2020   17927                      Louisiana State University                          Agency/ Club ‐ Dual Enrollm                                                                  $     27,000.00
SSA    Operating                                      3065   10/15/2020   17928                      Partyflix New Orleans, Inc                          Student Activities, Non‐Athletic                                                             $         450.00
SSA    Operating                                      3065   10/15/2020   17929                                                                          instructional, Sub                                                                           $         150.00
SSA    Operating                                      3065   10/15/2020   17930                                                                          EE Reimbursement, Utilties, Cell Ph                                                          $          75.00
SSA    Operating                                      3065   10/15/2020   17931                      Southeastern Louisiana University                   Agency/ Club ‐ Dual Enrollm                                                                  $     17,325.00
SSA    Operating                                      3065   10/15/2020   17932                      St Thomas Aquinas                                   Student Activities, Athletic Entry Fee                                                       $          60.00
SSA    Operating                                      3065   10/15/2020   17933                                                                          instructional, Sub                                                                           $         175.00
SSA    Operating                                      3065   10/15/2020   17934                      The University of Texas at Austin                   Instructional Exp, Other                                                                     $      3,000.00
SSA    Operating                                      3065   10/15/2020   17935                                                                          Instructional Exp, Other                                                                     $          78.00
SSA    Operating                                      3065   10/15/2020   17936                      UniFirst Holdings Inc                               Operations & Maintenance of Plant, Elevator                                                  $         381.47
SSA    Operating                                      3065   10/20/2020   17937                      Wesco Gas & Welding Supply, Inc                     Developm & Mktg Exp, Other                                                                   $         312.55
SSA    Operating                                      3065   10/22/2020   17938                      1000 Bulbs                                          Operations & Maintenance of Plant                                                            $         137.63
SSA    Operating                                      3065   10/22/2020   17939                                                                          Student Activities, Athletic Other                                                           $          70.00
SSA    Operating                                      3065   10/22/2020   17940                      Alta Supply and Packaging                           Agency/ Club, Athletic Assoc                                                                 $         683.72
SSA    Operating                                      3065   10/22/2020   17941                      Archdiocese of New Orleans (7E)                     Operations & Maintenance of Plant, Elevator                                                  $      1,193.34
SSA    Operating                                      3065   10/22/2020   17942                      Archdiocese of New Orleans {8}                      Operations & Maintenance of Plant                                                            $          45.00
SSA    Operating                                      3065   10/22/2020   17943                      Atmos Energy Louisiana LGS                          Plant Utilities                                                                              $         219.35
SSA    Operating                                      3065   10/22/2020   17944                                                                          Agency/ Club, Parent Club ‐ Teacher Appreciation                                             $         741.98
SSA    Operating                                      3065   10/22/2020   17945                      Boys and Girls Club                                 Agency/ Clb, Key Club Donation                                                               $         126.00
SSA    Operating                                      3065   10/22/2020   17946                                                                          Student Activities, Athletic, Refs                                                           $         100.00
SSA    Operating                                      3065   10/22/2020   17947                      CTT LLC                                             instructional, Technology                                                                    $          50.00
SSA    Operating                                      3065   10/22/2020   17948                      Evergreen Tractor & Equipment Inc                   Operations & Maintenance of Plant, Elevator                                                  $      2,004.61
SSA    Operating                                      3065   10/22/2020   17949                      Image Video Solutions, LLC                          Developm & Mktg, Other Open House Video                                                      $      1,480.00
SSA    Operating                                      3065   10/22/2020   17950                                                                          Student Activities, Athletic, Refs                                                           $          70.00
SSA    Operating                                      3065   10/22/2020   17951                                                                          Student Activities, Athletic, Refs                                                           $         140.00
SSA    Operating                                      3065   10/22/2020   17952                      Pan‐American Life Ins Company                       Admin Exp, Fringe Benefits, Life Ins                                                         $          14.80
SSA    Operating                                      3065   10/22/2020   17953                      S & W Wholesale Foods                               PJs Coffee Shop CGS                                                                          $         383.13
SSA    Operating                                      3065   10/22/2020   17954                      Sam's Club                                          Admin Exp, Other                                                                             $         152.17
SSA    Operating                                      3065   10/22/2020   17955                      School Time                                         Agency/ Club ‐ Athletic Assoc Doves Nest CGS                                                 $         996.48
SSA    Operating                                      3065   10/22/2020   17956                      Selection.com                                       Admin Exp, Other Backgr Checks                                                               $          95.00
SSA    Operating                                      3065   10/22/2020   17957                                                                          instructional, Sub                                                                           $         175.00
SSA    Operating                                      3065   10/22/2020   17958                      Tchefuncta Country Club                             Student Activities, Swim Team Pool renta                                                     $      2,500.00
SSA    Operating                                      3065   10/22/2020   17959                      Uniform A Tee School Apparel                        Agency/ Club ‐ Sr Fleeces                                                                    $      1,579.50
SSA    Operating                                      3065   10/22/2020   17960                      Covington Printworks LLC                            Developm & Mktg, Other Recruiting                                                            $          78.26
SSA    Operating                                      3065   10/22/2020   17961                                                                          EE Reimbursement, Utilties, Cell Ph                                                          $          75.00
SSA    Operating                                      3065   10/22/2020   17962                                                                          Operations & Maintenance of Plant                                                            $         100.00
SSA    Operating                                      3065   10/22/2020   17963                      Atmos Energy Louisiana LGS                          Plant Utilities                                                                              $          62.42
SSA    Operating                                      3065   10/29/2020   17964                                                                          Agency/ Club, overpd DE class                                                               $          75.00
SSA    Operating                                      3065   10/29/2020   17965                                                                          Agency/ Club, overpd DE class                                                               $          75.00
SSA    Operating                                      3065   10/29/2020   17966                      AT&T                                                Plant Utilities                                                                             $         798.72
SSA    Operating                                      3065   10/29/2020   17967                      Atmos Energy Louisiana LGS                          Plant Utilities                                                                             $          96.93
SSA    Operating                                      3065   10/29/2020   17968                                                                          Operations & Maint of Plant:Maint‐Ath Field                                                 $      1,658.11
SSA    Operating                                      3065   10/29/2020   17969                                                                          Agency/ Club, overpd DE class                                                               $         300.00
SSA    Operating                                      3065   10/29/2020   17970                      City Of Covington                                   Plant Utilities                                                                             $         125.57
SSA    Operating                                      3065   10/29/2020   17971                      Cleco                                               Plant Utilities                                                                             $      4,695.72
SSA    Operating                                      3065   10/29/2020   17972                                                                          EE Reimbursement, Utilties, Cell Ph, multiple month                                         $         225.00
SSA    Operating                                      3065   10/29/2020   17973                      Flinn Scientific                                     Instructional Supplies                                                                     $         130.43
SSA    Operating                                      3065   10/29/2020   17974                      Gallagher Benefit Services                          PR Benefits premiums                                                                        $     39,921.72
SSA    Operating                                      3065   10/29/2020   17975                      Gallardo Signs & Printing                           Agency/ Club, Volleyball Locker Name Plates                                                 $          60.00
SSA    Operating                                      3065   10/29/2020   17976                      Guardian                                            PR Benefits premiums                                                                        $      3,103.05
SSA    Operating                                      3065   10/29/2020   17977                      Kentwood Spring Water                                Devlp & Mkt Expense:Other:Off. Supp. & Materials                                           $          30.93
SSA    Operating                                      3065   10/29/2020   17978                                                                          Agency/ Club, overpd DE class                                                               $          75.00
SSA    Operating                                      3065   10/29/2020   17979                      Leisure Craft Inc                                   Ops. & Maint of Plant:Upkeep:Equip                                                          $      3,055.09
SSA    Operating                                      3065   10/29/2020   17980                      Louisiana State University                          Agency/ Club, overpd DE class                                                               $         300.00
SSA    Operating                                      3065   10/29/2020   17981                      Medco Supply Company                                Student Activities :Athletic:Med. Supp                                                      $      1,143.87
SSA    Operating                                      3065   10/29/2020   17982                      Mele Printing, Inc.                                 Devlp & Mkt Expense:Other:Fundraising                                                       $      1,323.84
SSA    Operating                                      3065   10/29/2020   17983                                                                          Student Activities, Athletic Referee Fee                                                    $         175.00
SSA    Operating                                      3065   10/29/2020   17984                      Office Depot Business Credit                        Admin. Expenses:Other:Supplies                                                              $         158.73
SSA    Operating                                      3065   10/29/2020   17985                                                                          Agency/ Club, overpd DE class                                                               $          75.00
SSA    Operating                                      3065   10/29/2020   17986                                                                          Agency/ Club ‐ reimb HOSA supplies                                                          $          52.70
SSA    Operating                                      3065   10/29/2020   17987                                                                          Student Activities Exp:Non‐Athletic:, Mass Exp                                              $         150.00
SSA    Operating                                      3065   10/29/2020   17988                                                                          instructional, Sub                                                                          $          75.00
SSA    Operating                                      3065   10/29/2020   17989                                                                          instructional, Sub                                                                          $         250.00
SSA    Operating                                      3065   10/29/2020   17990                                                                          Developm & Mktg, Other Fundraising Exp, reimb                                               $         250.00
SSA    Operating                                      3065   10/29/2020   17991                                                                          Admin Exp:Other                                                                             $          45.79
SSA    Operating                                      3065   10/30/2020   17992                      Garcia Roofing Replacement, LLC                     Property Building Improvements                                                              $      8,654.00
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 36 of
                                           103
SSA    Operating      3065   10/09/2020      ACH                     ANO ACH Draft                              Txf Cash to SSA's Tuition/Operational/ Savings a/c at ANO                                $     350,000.00
SSA    Operating      3065   10/15/2020      ACH                     Crescent Payroll                           payroll                                                                                  $         123.50
SSA    Operating      3065   10/15/2020      ACH                     Crescent Payroll                           payroll                                                                                  $         259.30
SSA    Operating      3065   10/15/2020      ACH                     Crescent Payroll                           payroll                                                                                  $         660.00
SSA    Operating      3065   10/15/2020      ACH                     Crescent Payroll                           payroll                                                                                   $      1,423.57
SSA    Operating      3065   10/15/2020      ACH                     Crescent Payroll                           payroll                                                                                   $     13,333.11
SSA    Operating      3065   10/15/2020      ACH                     Crescent Payroll                           payroll                                                                                   $     29,250.69
SSA    Operating      3065   10/15/2020      ACH                     Crescent Payroll                           payroll                                                                                   $     82,581.39
SSA    Operating      3065   10/09/2020      ACH PJs Fees            PJ's Coffee                                PJs Royalty Fees w/e 9/27 (Bank 10/1‐10/9)                                               $            9.41
SSA    Operating      3065   10/23/2020      ACH PJs Fees            PJ's Coffee                                PJs Royalty Fees w/e 10/11 (Bank 10/10‐10/23)                                             $         16.63
SSA    Operating      3065   10/23/2020      ACH PJs Fees            PJ's Coffee                                PJs Royalty Fees w/e 10/4 (Bank 10/10‐10/23)                                              $         23.00
SSA    Operating      3065   10/31/2020      ACH                     Crescent Payroll                           payroll                                                                                  $     27,649.07
SSA    Operating      3065   10/31/2020      JE#10‐04HomeBank10/31   PJ's Coffee                                PJs Royalty Fees w/e 10/18 (10/24‐10/31/20)                                              $         12.65
SSA    Operating      3065   10/31/2020      ACH                     Crescent Payroll                           payroll                                                                                  $     81,935.32
SSA    Operating      3065   10/31/2020      ACH                     Crescent Payroll                           payroll                                                                                  $     13,786.28
ANO    Payroll        9614      10/06/2020   N/A                     Crescent Payroll Solutions                 To record lay iSolved payroll invoice ‐ October (One time)                               $        250.00
ANO    Payroll        9614      10/06/2020   N/A                     Crescent Payroll Solutions                 To Record 9.16.20 ‐ 9.30.20 Lay Payroll Bank Clearing ‐ 401K                             $     25,442.63
ANO    Payroll        9614      10/06/2020   N/A                     Crescent Payroll Solutions                 To Record 9.16.20 ‐ 9.30.20 Lay Payroll Bank Clearing ‐ 401K (Entwisle)                  $      1,274.36
ANO    Payroll        9614      10/06/2020   N/A                     Crescent Payroll Solutions                 To Record 9.16.20 ‐ 9.30.20 Lay Payroll Bank Clearing ‐ BenTrust (Entwisle)              $        133.29
ANO    Payroll        9614      10/06/2020   N/A                     Crescent Payroll Solutions                 To Record 9.16.20 ‐ 9.30.20 Lay Payroll Bank Clearing ‐ BenTrust                         $      3,792.48
ANO    Payroll        9614      10/06/2020   N/A                     Crescent Payroll Solutions                 To Record 9.16.20 ‐ 9.30.20 Lay Payroll Bank Clearing ‐ Taxes (Entwisle)                 $      1,553.39
ANO    Payroll        9614      10/06/2020   N/A                     Crescent Payroll Solutions                 To Record 9.16.20 ‐ 9.30.20 Lay Payroll Bank Clearing ‐ Taxes                            $     64,158.73
ANO    Payroll        9614      10/06/2020   N/A                     Crescent Payroll Solutions                 To Record 9.16.20 ‐ 9.30.20 Lay Payroll Bank Clearing ‐ Wages & Benefits (Entwisle)      $      3,836.99
ANO    Payroll        9614      10/06/2020   N/A                     Crescent Payroll Solutions                 To Record 9.16.20 ‐ 9.30.20 Lay Payroll Bank Clearing ‐ Wages & Benefits                 $    166,579.68
ANO    Payroll        9614      10/07/2020   N/A                     Crescent Payroll Solutions                 To record IOI payroll invoice ‐ 10/6/20                                                  $        552.50
ANO    Payroll        9614      10/14/2020   N/A                     PrimePay                                   Payroll Invoice                                                                          $        552.50
ANO    Payroll        9614      10/21/2020   N/A                     Crescent Payroll Solutions                 To Record 10/01/20 ‐ 10/15/20 Lay Payroll Bank Clearing ‐ Wages & Benefits               $    162,701.33
ANO    Payroll        9614      10/21/2020   N/A                     Crescent Payroll Solutions                 To Record 10/01/20 ‐ 10/15/20 Lay Payroll (Entwisle)                                     $      3,836.99
ANO    Payroll        9614      10/21/2020   N/A                     Crescent Payroll Solutions                 To Record 10/01/20 ‐ 10/15/20 Lay Payroll Bank Clearing ‐ Taxes                          $     61,599.68
ANO    Payroll        9614      10/21/2020   N/A                     Crescent Payroll Solutions                 To Record 10/01/20 ‐ 10/15/20 payroll tax (Entwisle)                                     $      1,553.38
ANO    Payroll        9614      10/21/2020   N/A                     Crescent Payroll Solutions                 To Record 10/01/20 ‐ 10/15/20 Lay Payroll Bank Clearing ‐ 401K                           $     24,196.39
ANO    Payroll        9614      10/21/2020   N/A                     Crescent Payroll Solutions                 To Record 10/01/20 ‐ 10/15/20 Lay Payroll Bank Clearing ‐ 401K (Entwisle)                $      1,274.36
ANO    Payroll        9614      10/21/2020   N/A                     Crescent Payroll Solutions                 To Record 10/01/20 ‐ 10/15/20 Lay payroll BenTrust                                       $      3,918.95
ANO    Payroll        9614      10/21/2020   N/A                     Crescent Payroll Solutions                 To Record 10/01/20 ‐ 10/15/20 Lay payroll BenTrust                                       $        133.29
ANO    Payroll        9614      10/21/2020   N/A                     Crescent Payroll Solutions                 To record lay Crescent iSolved payroll invoice ‐ October                                 $      3,210.00
ANO    Payroll        9614      10/21/2020   N/A                     PrimePay                                   Payroll Invoice                                                                          $        552.50
ANO    Payroll        9614      10/28/2020   N/A                     Crescent Payroll Solutions                 10.30.2020 clergy Crescent iSolved payroll invoice                                       $      1,417.75
ANO    Payroll        9614      10/28/2020   N/A                     PrimePay                                   To record IOI payroll invoice                                                            $        552.50
ANO    Payroll        9614      10/30/2020   N/A                     Crescent Payroll Solutions                 10.1.2020 ‐ 10.30.2020 Clergy Payroll Wages; Pay Date 10.30.2020                         $     65,552.44
ANO    Payroll        9614      10/30/2020   N/A                     Crescent Payroll Solutions                 10.1.2020 ‐ 10.30.2020 Clergy Payroll Wages; Pay Date 9.30.2020 (Aymond)                 $      1,655.22
ANO    Payroll        9614      10/30/2020   N/A                     Crescent Payroll Solutions                 10.1.2020 ‐ 10.30.2020 Clergy Payroll Wages; Pay Date 9.30.2020 (Akpoghiran)             $      1,776.64
ANO    Payroll        9614      10/30/2020   N/A                     Crescent Payroll Solutions                 10.1.2020 ‐ 10.30.2020 Clergy Payroll Wages; Pay Date 9.30.2020 (Cheri)                  $      1,521.75
ANO    Payroll        9614      10/30/2020   N/A                     Crescent Payroll Solutions                 10.1.2020 ‐ 10.30.2020 Clergy Payroll Tax Withholdings; Pay Date 10.30.2020              $      7,795.60
ANO    Payroll        9614      10/30/2020   N/A                     Crescent Payroll Solutions                 10.1.2020 ‐ 10.30.2020 Clergy Payroll Tax Withholdings; Pay Date 9.30.2020 (Aymond)      $        432.78
ANO    Payroll        9614      10/30/2020   N/A                     Crescent Payroll Solutions                 10.1.2020 ‐ 10.30.2020 Clergy Payroll Tax Withholdings; Pay Date 9.30.2020 (Akpoghiran) $         200.00
ANO    Payroll        9614      10/30/2020   N/A                     Crescent Payroll Solutions                 10.1.2020 ‐ 10.30.2020 Clergy Payroll Tax Withholdings; Pay Date 9.30.2020 (Cheri)       $        546.09
ANO    Payroll        9614      10/30/2020   N/A                     Crescent Payroll Solutions                 10.1.2020 ‐ 10.30.2020 Clergy Payroll 401k Withholding & Match Remittance; Pay Date 10.3 $      5,143.36
ANO    Payroll        9614      10/30/2020   N/A                     Crescent Payroll Solutions                 10.1.2020 ‐ 10.30.2020 Clergy Payroll 401k Withholding & Match Remittance; Pay Date 9.30 $         87.00
ANO    Payroll        9614      10/30/2020   N/A                     Crescent Payroll Solutions                 10.1.2020 ‐ 10.30.2020 Clergy Payroll 401k Withholding & Match Remittance; Pay Date 9.30 $         82.36
ANO    Payroll        9614      10/30/2020   N/A                     Crescent Payroll Solutions                 10.1.2020 ‐ 10.30.2020 Clergy Payroll 401k Withholding & Match Remittance; Pay Date 9.30 $         86.16
ANO    Operating      2118       10/1/2020   N/A                     ANO Whitney Self‐Insurance Account         Self‐Insurance P&C Checks 97180‐97205 & Funds Transfer                                   $     14,827.96
ANO    Operating      2118       10/2/2020   N/A                     Our Lady of Prompt Succor (Chalmette)      DEPOSIT AND LOAN FUND                                                                    $      1,000.00
ANO    Operating      2118       10/2/2020   N/A                     NOTRE DAME SEMINARY                        DEPOSIT AND LOAN FUND                                                                    $    300,000.00
ANO    Operating      2118       10/5/2020   N/A                     ANO Whitney Self‐Insurance Account         Self‐Insurance P&C Checks 97206 & Transfer                                               $     30,000.00
ANO    Operating      2118       10/5/2020   N/A                     St. Dominic School                         DEPOSIT AND LOAN FUND                                                                    $     40,000.00
ANO    Operating      2118       10/5/2020   N/A                     CATHOLIC COMMUNITY FOUNDATION              DEPOSIT AND LOAN FUND                                                                    $     25,000.00
ANO    Operating      2118       10/5/2020   N/A                     NEW ORLEANS CEMETERIES                     DEPOSIT AND LOAN FUND                                                                    $        825.00
ANO    Operating      2118       10/5/2020   N/A                     EIF Loan Repayment from ANO General Fund   General Fund Loan to EIF                                                                 $    200,000.00
ANO    Operating      2118       10/5/2020   N/A                     FIRST BANK AND TRUST                       FBT Wire Transfer 10.5.20 from Whit. Op                                                  $    267,000.00
ANO    Operating      2118       10/6/2020   N/A                     ANO Whitney Self‐Insurance Account         P&C Self‐Insurance Checks 97207‐97239 Funds Transfer                                     $     45,479.35
ANO    Operating      2118       10/7/2020   N/A                     ST. PATRICK CEMETERY                       DEPOSIT AND LOAN FUND                                                                    $        937.50
ANO    Operating      2118       10/7/2020   N/A                     ST. PATRICK CEMETERY                       DEPOSIT AND LOAN FUND                                                                    $        937.50
ANO    Operating      2118       10/7/2020   N/A                     HOLY TRINITY DRIVE LC                      Payable to Holy Trinity Drive Land Corp                                                  $      9,000.00
ANO    Operating      2118       10/7/2020   N/A                     ST. AGNES                                  DEPOSIT AND LOAN FUND                                                                    $        270.00
ANO    Operating      2118       10/7/2020   N/A                     OUR LADY OF THE LAKE SCHOOL                DEPOSIT AND LOAN FUND                                                                    $    165,000.00
ANO    Operating      2118       10/7/2020   N/A                     ST. ANTHONY OF PADUA (LULING)              DEPOSIT AND LOAN FUND                                                                    $    187,909.02
ANO    Operating      2118       10/7/2020   92047                   A & L SALES INC                            HOUSEHOLD EXPENSES                                                                       $        178.64
ANO    Operating      2118       10/7/2020   92048                   A 1 SERVICE INC.                           CONTRACTED SERVICE                                                                       $         57.93
ANO    Operating      2118       10/7/2020   92049                                                              SPECIAL FUNCTIONS                                                                        $        200.00
ANO    Operating      2118       10/7/2020   92050                   ALL TEMP REFRIGERATION SERVICES LLC        REPAIRS & MAINTENANCE ‐ RETREATS                                                         $        768.25
ANO    Operating      2118       10/7/2020   92051                   AMERIGAS                                   HOUSEHOLD UTILITIES                                                                      $      2,759.40
ANO    Operating      2118       10/7/2020   92052                                                              AUTOMOBILE EXPENSE                                                                       $        187.12
ANO    Operating      2118       10/7/2020   92053                   ARCHIBALD L MELCHER IV LLC                 Active Priest Medical Expense ‐ Dental & Vision                                          $        200.00
ANO    Operating      2118       10/7/2020   92054                   AT&T                                       TELEPHONE EXPENSE                                                                        $         49.94
ANO    Operating      2118       10/7/2020   92055                   AT&T                                       TELEPHONE EXPENSE                                                                        $        254.89
ANO    Operating      2118       10/7/2020   92055                   AT&T                                       MISCELLANEOUS RECEIVABLES                                                                $         84.97
ANO    Operating      2118       10/7/2020   92056                   AT&T                                       MISCELLANEOUS RECEIVABLES                                                                $         92.28
ANO    Operating      2118       10/7/2020   92056                   AT&T                                       SUBSIDY                                                                                  $         92.28
ANO    Operating      2118       10/7/2020   92056                   AT&T                                       TELEPHONE EXPENSE                                                                        $         92.27
ANO    Operating      2118       10/7/2020   92057                   AT&T MOBILITY                              TELEPHONE EXPENSE                                                                        $         53.50
ANO    Operating      2118       10/7/2020   92058                   ATMOS ENERGY LOUISIANA                     HOUSEHOLD UTILITIES                                                                      $         30.60
ANO    Operating      2118       10/7/2020   92059                   ATMOS ENERGY LOUISIANA                     MISCELLANEOUS RECEIVABLES                                                                $         10.08
ANO    Operating      2118       10/7/2020   92059                   ATMOS ENERGY LOUISIANA                     UTILITIES                                                                                $         30.26
ANO    Operating      2118       10/7/2020   92060                   ATMOS ENERGY LOUISIANA                     UTILITIES                                                                                $         25.98
ANO    Operating      2118       10/7/2020   92060                   ATMOS ENERGY LOUISIANA                     MISCELLANEOUS RECEIVABLES                                                                $          8.66
ANO    Operating      2118       10/7/2020   92061                   ATMOS ENERGY LOUISIANA                     HOUSEHOLD UTILITIES                                                                      $         33.49
ANO    Operating      2118       10/7/2020   92062                   ATMOS ENERGY LOUISIANA                     UTILITIES                                                                                $        412.40
ANO    Operating      2118       10/7/2020   92063                   BOHNENSTIEHL ELECTRIC INC                  HOUSEHOLD EXPENSES                                                                       $        199.50         Yes ‐ Cheri
ANO    Operating      2118       10/7/2020   92064                   BRISTER STEPHENS INC.                      REPAIRS & MAINTENANCE ‐ RETREATS                                                         $        780.50
ANO    Operating      2118       10/7/2020   92065                   BUCKTOWN DENTAL CENTER                     Retired Priest Plus Expense ‐ Dental & Vision                                            $        354.00
ANO    Operating      2118       10/7/2020   92066                   CALUDA'S COTTAGE CATERING                  MARRIAGE PREPARATION                                                                     $        425.38
ANO    Operating      2118       10/7/2020   92066                   CALUDA'S COTTAGE CATERING                  DESIGNATED FUNDS INTERNAL                                                                $        221.19
ANO    Operating      2118       10/7/2020   92067                                                              SPECIAL FUNCTIONS                                                                        $        175.00
ANO    Operating      2118       10/7/2020   92068                   CATHOLIC ENGAGED ENCOUNTER                 MARRIAGE PREPARATION                                                                     $        971.28
ANO    Operating      2118       10/7/2020   92069                   CATHOLIC JOURNEYS.COM                      SEMINARIAN ASSIST ‐ OTHER                                                                $     16,220.00
ANO    Operating      2118       10/7/2020   92070                   CATHOLIC MUTUAL GROUP                      INS PREMIUMS‐SPECIAL                                                                     $        855.00
ANO    Operating      2118       10/7/2020   92070                   CATHOLIC MUTUAL GROUP                      SPECIAL FUNCTIONS                                                                        $         95.00
ANO    Operating      2118       10/7/2020   92070                   CATHOLIC MUTUAL GROUP                      MISCELLANEOUS EXPENSE                                                                    $        125.00
ANO    Operating      2118       10/7/2020   92071                   CHATEAU DE NOTRE DAME                      Retired Priest Plus Expense ‐ Medical Co‐Pays                                            $      7,144.57
ANO    Operating      2118       10/7/2020   92072                   CHATEAU DE NOTRE DAME APARTMENTS           Retired Priest Plus Expense ‐ Medical Co‐Pays                                            $      3,472.00
ANO    Operating      2118       10/7/2020   92072                   CHATEAU DE NOTRE DAME APARTMENTS           Retired Priest Plus Expense ‐ Medical Co‐Pays                                            $      4,841.00
ANO    Operating      2118       10/7/2020   92072                   CHATEAU DE NOTRE DAME APARTMENTS           Retired Priest Plus Expense ‐ Medical Co‐Pays                                            $      4,831.00
ANO    Operating      2118       10/7/2020   92072                   CHATEAU DE NOTRE DAME APARTMENTS           Retired Priest Plus Expense ‐ Medical Co‐Pays                                            $      6,627.93
ANO    Operating      2118       10/7/2020   92073                   CHURCH SUPPLY HOUSE                        LITURGICAL SUPPLIES                                                                      $        196.76
ANO    Operating      2118       10/7/2020   92074                   CHURCH SUPPLY HOUSE                        SEMINARIAN ASSIST ‐ EDUCATION                                                            $        437.70
ANO    Operating      2118       10/7/2020   92075                   COBURN SUPPLY COMPANY INC                  REPAIRS & MAINTENANCE ‐ RETREATS                                                         $        445.08
ANO    Operating      2118       10/7/2020   92076                   CORVUS OF NEW ORLEANS, LLC                 CONTRACTED SERVICE                                                                       $        485.00
ANO    Operating      2118       10/7/2020   92076                   CORVUS OF NEW ORLEANS, LLC                 HOUSEHOLD EXPENSES                                                                       $      1,138.00
ANO    Operating      2118       10/7/2020   92076                   CORVUS OF NEW ORLEANS, LLC                 HOUSEHOLD EXPENSES                                                                       $      1,138.00
ANO    Operating      2118       10/7/2020   92077                   COX BUSINESS                               CONTRACTED SERVICE                                                                       $         40.89
ANO    Operating      2118       10/7/2020   92078                   COX BUSINESS                               HOUSEHOLD UTILITIES                                                                      $        219.12
ANO    Operating      2118       10/7/2020   92079                   COX BUSINESS                               TELEPHONE EXPENSE                                                                        $        214.71
ANO    Operating      2118       10/7/2020   92080                   CROWN COFFEE SERVICE INC                   COFFEE & SOFT DRINK EXPENSE                                                              $         90.03
ANO    Operating      2118       10/7/2020   92081                   CURTIS ENVIRONMENTAL SERVICES INC          HOUSEHOLD UTILITIES                                                                      $        155.00
ANO    Operating      2118       10/7/2020   92081                   CURTIS ENVIRONMENTAL SERVICES INC          HOUSEHOLD UTILITIES                                                                      $         35.00
ANO    Operating      2118       10/7/2020   92082                   DAVIS PRODUCTS CO INC                      SUPPLIES ‐ RETREATS                                                                      $        816.57
ANO    Operating      2118       10/7/2020   92083                   DELL MARKETING L. P.                       REPAIRS & MAINTENANCE                                                                    $         60.99
ANO    Operating      2118       10/7/2020   92084                   DENECHAUD & DENECHAUD LLC                  LEGAL RECEIVABLES                                                                        $        118.14
ANO    Operating      2118       10/7/2020   92084                   DENECHAUD & DENECHAUD LLC                  ACCRUED Exp                                                                              $     28,000.00
ANO    Operating      2118       10/7/2020   92085                                                              MISCELLANEOUS EXPENSE                                                                    $        119.88
ANO    Operating      2118       10/7/2020   92086                                                              ATHLETIC LEAGUE                                                                          $         37.13
ANO    Operating      2118       10/7/2020   92086                                                              ATHLETIC LEAGUE                                                                          $        400.00
ANO    Operating      2118       10/7/2020   92086                                                              ATHLETIC LEAGUE                                                                          $        510.00
ANO    Operating      2118       10/7/2020   92086                                                              ATHLETIC LEAGUE                                                                          $        300.00
ANO    Operating      2118       10/7/2020   92087                                                              SPECIAL FUNCTIONS                                                                        $        500.00
ANO    Operating      2118       10/7/2020   92088                                                              SPECIAL FUNCTIONS                                                                        $        125.00
ANO    Operating      2118       10/7/2020   92089                   DOCUMART                                   STATIONERY & PRINTING                                                                    $         34.64
ANO    Operating      2118       10/7/2020   92090                   Down South Lawn Service, LLC               CONTRACTED SERVICE                                                                       $         35.00
ANO    Operating      2118       10/7/2020   92091                   ED SMITH STENCIL WORKS LTD                 OFFICE SUPPLIES                                                                          $         10.95
ANO    Operating      2118       10/7/2020   92091                   ED SMITH STENCIL WORKS LTD                 OFFICE SUPPLIES                                                                          $         21.89
ANO    Operating      2118       10/7/2020   92092                   EDWARD LEVY DDS                            Retired Priest Plus Expense ‐ Dental & Vision                                            $        235.00
ANO    Operating      2118       10/7/2020   92093                                                              TELEPHONE EXPENSE                                                                        $        110.28
ANO    Operating      2118       10/7/2020   92093                                                              AUTOMOBILE EXPENSE                                                                       $        221.38
ANO    Operating      2118       10/7/2020   92094                                                              MARRIAGE PREPARATION                                                                     $        200.00
ANO    Operating      2118       10/7/2020   92095                   ENTERGY                                    HOUSEHOLD UTILITIES                                                                      $        655.51
ANO    Operating      2118       10/7/2020   92096                   ENTERGY                                    HOUSEHOLD UTILITIES                                                                      $      5,059.55
ANO    Operating      2118       10/7/2020   92096                   ENTERGY                                    HOUSEHOLD UTILITIES                                                                      $         33.45
ANO    Operating      2118       10/7/2020   92097                   ENTERGY                                    HOUSEHOLD UTILITIES                                                                      $        354.69
ANO    Operating      2118       10/7/2020   92098                   ENTERGY                                    HOUSEHOLD UTILITIES                                                                      $         28.84
ANO    Operating      2118       10/7/2020   92099                   ENTERGY                                    HOUSEHOLD EXPENSES                                                                       $        534.69          Yes ‐ Cheri
ANO    Operating      2118       10/7/2020   92100                   ENTERGY                                    HOUSEHOLD UTILITIES                                                                      $      1,401.80         Yes ‐ Aymond
ANO    Operating      2118       10/7/2020   92101                   ENTERGY                                    HOUSEHOLD UTILITIES                                                                      $         71.34
ANO    Operating      2118       10/7/2020   92102                   ENTERGY                                    HOUSEHOLD UTILITIES                                                                      $      4,362.35
ANO    Operating      2118       10/7/2020   92103                   ENTERGY                                    HOUSEHOLD UTILITIES                                                                      $         20.83
ANO    Operating      2118       10/7/2020   92104                   ENTERGY                                    HOUSEHOLD UTILITIES                                                                      $         28.63
ANO    Operating      2118       10/7/2020   92105                   ENTERGY                                    HOUSEHOLD UTILITIES                                                                      $        752.50
ANO    Operating      2118       10/7/2020   92106                   ENTERGY                                    UTILITIES                                                                                $      3,065.95
ANO    Operating      2118       10/7/2020   92107                   ENTERGY                                    UTILITIES                                                                                $         20.83
ANO    Operating      2118       10/7/2020   92108                   ENTERGY                                    HOUSEHOLD UTILITIES                                                                      $        209.91
ANO    Operating      2118       10/7/2020   92109                   FELLOWSHIP OF CATH UNIV STUDENTS           DESIGNATED FUNDS INTERNAL                                                                $      1,042.53
ANO    Operating      2118       10/7/2020   92109                   FELLOWSHIP OF CATH UNIV STUDENTS           MINISTRY PROGRAM ‐ FOCUS campus fee                                                      $      3,124.14
ANO    Operating      2118       10/7/2020   92110                   FIRE & SAFETY COMMODITIES INC.             REPAIRS & MAINTENANCE                                                                    $        118.80
ANO    Operating      2118       10/7/2020   92111                   GALLO MECHANICAL SERVICES LLC              REPAIRS & MAINTENANCE                                                                    $        450.00
ANO    Operating      2118       10/7/2020   92112                                                              HEALTHY FAMILY                                                                           $         32.00
ANO    Operating      2118       10/7/2020   92113                                                              AUTOMOBILE EXPENSE                                                                       $         14.25
ANO    Operating      2118       10/7/2020   92114                   GILBERT KELLY & COUTURIE INC.              MISCELLANEOUS RECEIVABLES                                                                $        250.00
ANO    Operating      2118       10/7/2020   92115                   GLENN D LEBOEUF MSW LCSW BCD               PRIEST THERAPY                                                                           $        540.00
ANO    Operating      2118       10/7/2020   92115                   GLENN D LEBOEUF MSW LCSW BCD               PRIEST THERAPY                                                                           $        240.00
ANO    Operating      2118       10/7/2020   92116                   GREG'S LAWN SERVICE, LLC                   REPAIRS & MAINTENANCE                                                                    $      1,100.00
ANO    Operating      2118       10/7/2020   92117                                                              CONSULTANT FEES                                                                          $        750.00
ANO    Operating      2118       10/7/2020   92118                                                              SEMINARIAN ASSIST ‐ PERSONAL                                                             $         75.00
ANO    Operating      2118       10/7/2020   92118                                                              SEMINARIAN ASSIST ‐ EDUCATION                                                            $        107.89
ANO    Operating      2118       10/7/2020   92119                   HUNT TELECOMMUNICATIONS LLC                TELEPHONE EXPENSE                                                                        $        100.00
ANO    Operating      2118       10/7/2020   92119                   HUNT TELECOMMUNICATIONS LLC                TELEPHONE EXPENSE                                                                        $      1,000.00
ANO    Operating      2118       10/7/2020   92119                   HUNT TELECOMMUNICATIONS LLC                TELEPHONE EXPENSE                                                                        $        599.00
ANO    Operating      2118       10/7/2020   92119                   HUNT TELECOMMUNICATIONS LLC                TELEPHONE EXPENSE                                                                        $        500.00
ANO    Operating      2118       10/7/2020   92119                   HUNT TELECOMMUNICATIONS LLC                IT EQUIPMENT                                                                             $      4,040.00
ANO    Operating      2118       10/7/2020   92119                   HUNT TELECOMMUNICATIONS LLC                IT EQUIPMENT                                                                             $      3,037.50
ANO    Operating      2118       10/7/2020   92119                   HUNT TELECOMMUNICATIONS LLC                IT EQUIPMENT                                                                             $      7,500.00
ANO    Operating      2118       10/7/2020   92119                   HUNT TELECOMMUNICATIONS LLC                IT EQUIPMENT                                                                             $      5,349.40
ANO    Operating      2118       10/7/2020   92119                   HUNT TELECOMMUNICATIONS LLC                IT EQUIPMENT                                                                             $     25,082.60
ANO    Operating      2118       10/7/2020   92120                   I.T.S. FIRE ALARM SECURITY LLC             UTILITIES                                                                                $        660.00
ANO    Operating      2118       10/7/2020   92121                   IRON MOUNTAIN                              RECORDS DISPOSITION                                                                      $        251.97
ANO    Operating      2118       10/7/2020   92122                   JACK PETTY MARKETING & PROMOTIONS          OFFICE SUPPLIES                                                                          $         21.79
ANO    Operating      2118       10/7/2020   92123                   JEFFERSON PARISH DEPT OF WATER             HOUSING COSTS ‐ PRIESTS                                                                  $         54.13         Yes ‐ Akpoghiran
ANO    Operating      2118       10/7/2020   92124                   JEFFERSON PARISH SHERIFF'S OFFICE          BOOKSTORE EXPENSES                                                                       $          8.83
ANO    Operating      2118       10/7/2020   92125                                                              SPECIAL FUNCTIONS                                                                        $        250.00
ANO    Operating      2118       10/7/2020   92126                                                              ATHLETIC LEAGUE                                                                          $        240.00
ANO    Operating      2118       10/7/2020   92126                                                              ATHLETIC LEAGUE                                                                          $        330.00
ANO    Operating      2118       10/7/2020   92127                                                              REPAIRS & MAINTENANCE                                                                    $        130.35
ANO    Operating      2118       10/7/2020   92127                                                              AUTOMOBILE EXPENSE                                                                       $         64.98
ANO    Operating      2118       10/7/2020   92127                                                              IT EQUIPMENT                                                                             $        250.00
ANO    Operating      2118       10/7/2020   92128                                                              SPECIAL FUNCTIONS                                                                        $        225.00
ANO    Operating      2118       10/7/2020   92129                   KENTWOOD SPRINGS                           COFFEE & SOFT DRINK                                                                      $          5.79
ANO    Operating      2118       10/7/2020   92130                   KENTWOOD SPRINGS                           COFFEE & SOFT DRINK EXPENSE                                                              $         13.85
ANO    Operating      2118       10/7/2020   92131                   KENTWOOD SPRINGS                           COFFEE & SOFT DRINK                                                                      $          7.65
ANO    Operating      2118       10/7/2020   92132                   KENTWOOD SPRINGS                           HOUSEHOLD EXPENSES                                                                       $         26.02         Yes ‐ Aymond
ANO    Operating      2118       10/7/2020   92132                   KENTWOOD SPRINGS                           COFFEE & SOFT DRINK EXPENSE                                                              $         60.65
ANO    Operating      2118       10/7/2020   92132                   KENTWOOD SPRINGS                           COFFEE & SOFT DRINK EXPENSE                                                              $         93.82
ANO    Operating      2118       10/7/2020   92133                   KIM E VANGEFFEN PHD                        CONSULTANT FEES                                                                          $      1,000.00
ANO    Operating      2118       10/7/2020   92134                                                              OFFICE SUPPLIES                                                                          $          6.55
ANO    Operating      2118       10/7/2020   92134                                                              AUTOMOBILE EXPENSE                                                                       $         98.00
ANO    Operating      2118       10/7/2020   92134                                                              REPAIRS & MAINTENANCE ‐ BUILDING                                                         $        209.10
ANO    Operating      2118       10/7/2020   92134                                                              KITCHEN FOOD                                                                             $        388.74
ANO    Operating      2118       10/7/2020   92135                   LEAF                                       OFFICE SUPPLIES                                                                          $        374.32
ANO    Operating      2118       10/7/2020   92136                   LINCARE INC                                Active Priest Medical Expense ‐ Medical Co‐Pays                                          $          6.44         Yes ‐ Cheri
ANO    Operating      2118       10/7/2020   92137                   LIQUID ENVIRONMENTAL SOLUTIONS             CONTRACTED SERVICE ‐ BUILDING/JANITORIAL                                                 $        382.70
ANO    Operating      2118       10/7/2020   92137                   LIQUID ENVIRONMENTAL SOLUTIONS             CONTRACTED SERVICE                                                                       $      1,047.38
ANO    Operating      2118       10/7/2020   92138                                                              TRAVEL, MEALS & ENTERTAINMENT                                                            $        160.55
ANO    Operating      2118       10/7/2020   92138                                                              TRAVEL, MEALS & ENTERTAINMENT                                                            $         16.41
ANO    Operating      2118       10/7/2020   92138                                                              TRAVEL, MEALS & ENTERTAINMENT                                                            $        132.36
ANO    Operating      2118       10/7/2020   92138                                                              HOUSEHOLD EXPENSES                                                                       $        216.04
ANO    Operating      2118       10/7/2020   92138                                                              HOUSEHOLD EXPENSES                                                                       $         50.51
ANO    Operating      2118       10/7/2020   92138                                                              MINISTRY PROGRAM ‐ Sunday Night Supper                                                   $        426.74
ANO    Operating      2118       10/7/2020   92138                                                              MINISTRY PROGRAM ‐ Sunday Night Supper                                                   $         54.47
ANO    Operating      2118       10/7/2020   92139                   LOUISIANA OFFICE PRODUCTS INC              OFFICE SUPPLIES                                                                          $         28.40
ANO    Operating      2118       10/7/2020   92139                   LOUISIANA OFFICE PRODUCTS INC              OFFICE SUPPLIES                                                                          $        192.15
ANO    Operating      2118       10/7/2020   92139                   LOUISIANA OFFICE PRODUCTS INC              OFFICE SUPPLIES                                                                          $         20.52
ANO    Operating      2118       10/7/2020   92140                   LYNN PARKER PH D                           SEMINARIAN ASSIST ‐ OTHER                                                                $      1,200.00
ANO    Operating      2118       10/7/2020   92141                                                              AUTOMOBILE EXPENSE                                                                       $        317.35
ANO    Operating      2118       10/7/2020   92141                                                              REPAIRS & MAINTENANCE                                                                    $        146.58
ANO    Operating      2118       10/7/2020   92141                                                              IT EQUIPMENT                                                                             $          7.41
ANO    Operating      2118       10/7/2020   92141                                                              IT EQUIPMENT                                                                             $         21.83
ANO    Operating      2118       10/7/2020   92142                   MMG PROPERTIES                             REPAIRS & MAINTENANCE                                                                    $      1,000.00
ANO    Operating      2118       10/7/2020   92142                   MMG PROPERTIES                             REPAIRS & MAINTENANCE                                                                    $      2,150.00
ANO    Operating      2118       10/7/2020   92142                   MMG PROPERTIES                             REPAIRS & MAINTENANCE                                                                    $        700.00
ANO    Operating      2118       10/7/2020   92143                   NATIONAL ASSOCIATION OF BLACK              BOOKS & SUBSCRIPTIONS                                                                    $        105.00
ANO    Operating      2118       10/7/2020   92144                   NATIONAL CATHOLIC EDUCATIONAL ASSOC        DUES & ASSESSMENTS                                                                       $      2,600.00
ANO    Operating      2118       10/7/2020   92145                   NATIONAL CORROSION SERVICE INC             BUILDING OFFICE FEE REC.                                                                 $      1,800.00
ANO    Operating      2118       10/7/2020   92146                   NEW ORLEANS PEST MANAGEMENT                CONTRACTED SERVICE                                                                       $         95.00
ANO    Operating      2118       10/7/2020   92147                   ORKIN INC.                                 CONTRACTED SERVICE                                                                       $        321.25
ANO    Operating      2118       10/7/2020   92148                   ORY FAMILY DENTISTRY                       Active Priest Medical Expense ‐ Dental & Vision                                          $        202.00
ANO    Operating      2118       10/7/2020   92149                   OUR LADY OF WISDOM HEALTH CARE             Retired Priest Plus Expense ‐ Medical Co‐Pays                                            $      8,011.03
ANO    Operating      2118       10/7/2020   92149                   OUR LADY OF WISDOM HEALTH CARE             Retired Priest Plus Expense ‐ Medical Co‐Pays                                            $      8,002.03
ANO    Operating      2118       10/7/2020   92150                   PAUL SHURTE, PHD, LCSW                     FINANCIAL ASSISTANCE TO VICTIMS                                                          $        300.00     *
ANO    Operating      2118       10/7/2020   92151                   PINNACLE ELEVATOR                          REPAIRS & MAINTENANCE                                                                    $        900.00         Yes ‐ Aymond
ANO    Operating      2118       10/7/2020   92152                   PM MAINTENANCE INC                         CONTRACTED SERVICE                                                                       $        450.00
ANO    Operating      2118       10/7/2020   92153                                                              OFFICE SUPPLIES                                                                          $         19.98
ANO    Operating      2118       10/7/2020   92154                                                              SPECIAL FUNCTIONS                                                                        $        125.00
ANO    Operating      2118       10/7/2020   92155                                                              TELEPHONE EXPENSE                                                                        $        246.55
ANO    Operating      2118       10/7/2020   92155                                                              HOUSING COSTS ‐ PRIE                                                                     $         55.29
ANO    Operating      2118       10/7/2020   92156                                                              Active Priest Medical Expense ‐ Medical Co‐Pays                                          $        122.07
ANO    Operating      2118       10/7/2020   92156                                                              Active Priest Medical Expense ‐ Medical Co‐Pays                                          $         44.40     *
ANO    Operating      2118       10/7/2020   92157                                                              Active Priest Medical Expense ‐ Medical Co‐Pays                                          $        349.79
ANO    Operating      2118       10/7/2020   92158                                                              Active Priest Medical Expense ‐ Medical Co‐Pays                                          $        215.00
ANO    Operating      2118       10/7/2020   92160                                                              LEGAL FEES ‐ Immigration                                                                 $        840.00
ANO    Operating      2118       10/7/2020   92161                                                              AUTOMOBILE EXPENSE                                                                       $         14.25         Yes ‐ Akpoghiran
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 37 of
                                           103
ANO    Operating      2118    10/7/2020   92161                                                       HOUSING COSTS ‐ PRIESTS                                     $       321.41        Yes ‐ Akpoghiran
ANO    Operating      2118    10/7/2020   92162                                                       Active Priest Medical Expense ‐ Medical Co‐Pays             $        50.00
ANO    Operating      2118    10/7/2020   92163                                                       Active Priest Medical Expense ‐ Medical Co‐Pays             $       236.11
ANO    Operating      2118    10/7/2020   92163                                                       Active Priest Medical Expense ‐ Dental & Vision             $       165.60
ANO    Operating      2118    10/7/2020   92164                                                       Active Priest Medical Expense ‐ Medical Co‐Pays             $        70.00
ANO    Operating      2118    10/7/2020   92164                                                       Active Priest Medical Expense ‐ Medical Co‐Pays             $        55.10
ANO    Operating      2118    10/7/2020   92165                                                       Active Priest Medical Expense ‐ Medical Co‐Pays             $        42.00
ANO    Operating      2118    10/7/2020   92166                                                       Retired Priest Plus Expense ‐ Medical Co‐Pays               $     1,278.96
ANO    Operating      2118    10/7/2020   92167                                                       TELEPHONE EXPENSE                                           $        38.06
ANO    Operating      2118    10/7/2020   92168                                                       SOCIAL FUNCTIONS                                            $       353.49
ANO    Operating      2118    10/7/2020   92169         RICOH USA INC                                 CONTRACTED SERVICE                                          $        34.08
ANO    Operating      2118    10/7/2020   92170                                                       AUTOMOBILE EXPENSE                                          $       204.70
ANO    Operating      2118    10/7/2020   92171                                                       AUTOMOBILE EXPENSE                                          $       187.45
ANO    Operating      2118    10/7/2020   92172         S & S LAWN SERVICE                            REPAIRS & MAINTENANCE                                       $       192.00
ANO    Operating      2118    10/7/2020   92172         S & S LAWN SERVICE                            REPAIRS & MAINTENANCE                                       $        64.00
ANO    Operating      2118    10/7/2020   92172         S & S LAWN SERVICE                            MISCELLANEOUS RECEIVABLES                                   $        64.00
ANO    Operating      2118    10/7/2020   92173         SCOTT BROTHERS PH D                           PRIEST THERAPY                                              $       110.00
ANO    Operating      2118    10/7/2020   92173         SCOTT BROTHERS PH D                           PRIEST THERAPY                                              $       240.00
ANO    Operating      2118    10/7/2020   92174                                                       SEMINARIAN ASSIST ‐ PERSONAL                                $       626.00
ANO    Operating      2118    10/7/2020   92175         Selection.com                                 CONSULTANT FEES                                             $        19.00
ANO    Operating      2118    10/7/2020   92176         SEWERAGE & WATER BOARD OF N.O.                UTILITIES                                                   $       153.97
ANO    Operating      2118    10/7/2020   92177         SEWERAGE & WATER BOARD OF N.O.                HOUSEHOLD UTILITIES                                         $       194.24
ANO    Operating      2118    10/7/2020   92178         SEWERAGE & WATER BOARD OF N.O.                UTILITIES                                                   $       170.26
ANO    Operating      2118    10/7/2020   92179                                                       OFFICE SUPPLIES                                             $        13.50
ANO    Operating      2118    10/7/2020   92179                                                       COFFEE & SOFT DRINK                                         $        16.97
ANO    Operating      2118    10/7/2020   92180         SLIDELL MEMORIAL HOSPITAL                     Active Priest Medical Expense ‐ Medical Co‐Pays             $       315.00
ANO    Operating      2118    10/7/2020   92181         SOUTHWEST ENGINEERS INC                       CONTRACTED SERVICE ‐ BUILDING/JANITORIAL                    $       207.19
ANO    Operating      2118    10/7/2020   92182         SPARKLIGHT                                    IT EQUIPMENT                                                $       130.07
ANO    Operating      2118    10/7/2020   92183                                                       BOOKS & SUBSCRIPTION                                        $        71.14
ANO    Operating      2118    10/7/2020   92184         ST JOSEPH ABBEY                               PREPAID OTHER EXPENSES                                      $       500.00
ANO    Operating      2118    10/7/2020   92185         ST PETER CLAVER CHURCH                        SPECIAL FUNCTIONS                                           $       500.00
ANO    Operating      2118    10/7/2020   92186                                                       MISCELLANEOUS EXPE                                          $        24.85
ANO    Operating      2118    10/7/2020   92187         SWYFT CONNECT                                 IT EQUIPMENT                                                $       125.00
ANO    Operating      2118    10/7/2020   92188         SYSCO FOOD SERVICES OF NEW ORLEANS            KITCHEN SUPPLIES                                            $       172.27
ANO    Operating      2118    10/7/2020   92188         SYSCO FOOD SERVICES OF NEW ORLEANS            KITCHEN FOOD                                                $       (13.33)
ANO    Operating      2118    10/7/2020   92188         SYSCO FOOD SERVICES OF NEW ORLEANS            KITCHEN FOOD                                                $       802.10
ANO    Operating      2118    10/7/2020   92189         SYSCO FOOD SERVICES OF NEW ORLEANS            KITCHEN FOOD ‐ RETREATS                                     $       712.09
ANO    Operating      2118    10/7/2020   92189         SYSCO FOOD SERVICES OF NEW ORLEANS            KITCHEN FOOD ‐ RETREATS                                     $     1,572.13
ANO    Operating      2118    10/7/2020   92189         SYSCO FOOD SERVICES OF NEW ORLEANS            KITCHEN FOOD ‐ RETREATS                                     $       142.58
ANO    Operating      2118    10/7/2020   92190         TEXAS UBS INC.                                CONTRACTED SERVICE                                          $     5,542.34
ANO    Operating      2118    10/7/2020   92191                                                       COFFEE & SOFT DRINK EXPENSE                                 $        29.04
ANO    Operating      2118    10/7/2020   92191                                                       LEADERSHIP AWARDS                                           $        75.96
ANO    Operating      2118    10/7/2020   92191                                                       LEADERSHIP AWARDS                                           $        35.51
ANO    Operating      2118    10/7/2020   92191                                                       YOUTH EVENT EXPENSE                                         $        26.10
ANO    Operating      2118    10/7/2020   92191                                                       TELEPHONE EXPENSE                                           $        72.62
ANO    Operating      2118    10/7/2020   92191                                                       TELEPHONE EXPENSE                                           $        49.00
ANO    Operating      2118    10/7/2020   92191                                                       TELEPHONE EXPENSE                                           $       290.48
ANO    Operating      2118    10/7/2020   92191                                                       TELEPHONE EXPENSE                                           $       196.00
ANO    Operating      2118    10/7/2020   92191                                                       OFFICE SUPPLIES                                             $       119.88
ANO    Operating      2118    10/7/2020   92191                                                       OFFICE SUPPLIES                                             $       140.05
ANO    Operating      2118    10/7/2020   92192         UTILITIES INC. OF LOUISIANA                   REPAIRS & MAINTENANCE                                       $       112.22
ANO    Operating      2118    10/7/2020   92192         UTILITIES INC. OF LOUISIANA                   REPAIRS & MAINTENANCE                                       $        37.40
ANO    Operating      2118    10/7/2020   92192         UTILITIES INC. OF LOUISIANA                   MISCELLANEOUS RECEIVABLES                                   $        37.40
ANO    Operating      2118    10/7/2020   92193                                                       SPECIAL FUNCTIONS                                           $       125.00
ANO    Operating      2118    10/7/2020   92194                                                       SPECIAL FUNCTIONS                                           $       450.00
ANO    Operating      2118    10/7/2020   92195         W C CRESSON, INC                              HOUSEHOLD SUPPLIES                                          $       345.62
ANO    Operating      2118    10/7/2020   92196         WASTE MANAGEMENT OF ST TAMMANY                HOUSEHOLD UTILITIES                                         $       451.29
ANO    Operating      2118    10/7/2020   92197                                                       AUTOMOBILE EXPENSE                                          $       104.08
ANO    Operating      2118    10/7/2020   92198         WJS ENTERPRISES INC                           XEROX COPIES                                                $       558.14
ANO    Operating      2118    10/7/2020   92199         WRIGHT NATIONAL FLOOD INS CO                  PREPAID INSURANCE                                           $     3,806.00
ANO    Operating      2118    10/7/2020   92199         WRIGHT NATIONAL FLOOD INS CO                  PREPAID INSURANCE                                           $     1,323.00
ANO    Operating      2118    10/7/2020   92199         WRIGHT NATIONAL FLOOD INS CO                  PREPAID INSURANCE                                           $     2,923.00
ANO    Operating      2118    10/7/2020   92199         WRIGHT NATIONAL FLOOD INS CO                  PREPAID INSURANCE                                           $     2,853.00
ANO    Operating      2118    10/7/2020   92199         WRIGHT NATIONAL FLOOD INS CO                  PREPAID INSURANCE                                           $     5,163.00
ANO    Operating      2118    10/7/2020   92200         WRIGHT NATIONAL FLOOD INS CO                  PREPAID INSURANCE                                           $     1,848.00
ANO    Operating      2118    10/7/2020   92201         WRIGHT NATIONAL FLOOD INS CO                  PREPAID INSURANCE                                           $     1,708.00
ANO    Operating      2118    10/7/2020   92202         WRIGHT NATIONAL FLOOD INS CO                  PREPAID INSURANCE                                           $     1,499.00
ANO    Operating      2118    10/7/2020   92203         WRIGHT NATIONAL FLOOD INS CO                  PREPAID INSURANCE                                           $     1,519.00
ANO    Operating      2118    10/7/2020   92204         WRIGHT NATIONAL FLOOD INS CO                  PREPAID INSURANCE                                           $     5,417.00
ANO    Operating      2118    10/7/2020   92205         WRIGHT NATIONAL FLOOD INS CO                  PREPAID INSURANCE                                           $    15,756.00
ANO    Operating      2118    10/7/2020   92206         WRIGHT NATIONAL FLOOD INS CO                  PREPAID INSURANCE                                           $     7,612.00
ANO    Operating      2118    10/7/2020   92207         WRIGHT NATIONAL FLOOD INS CO                  PREPAID INSURANCE                                           $    20,082.00
ANO    Operating      2118    10/7/2020   92208         YOUNG'S DRYCLEANING                           HOUSEHOLD EXPENSES                                          $        97.11        Yes ‐ Aymond
ANO    Operating      2118    10/7/2020   92209         ZEIGLER TREE & TIMBER                         MISCELLANEOUS EXPENSE                                       $     1,150.00
ANO    Operating      2118    10/7/2020   92210         JEFFERSON PARISH DEPT OF WATER                HOUSEHOLD UTILITIES                                         $        61.84
ANO    Operating      2118    10/7/2020   92211         JEFFERSON PARISH DEPT OF WATER                HOUSEHOLD UTILITIES                                         $        11.95
ANO    Operating      2118    10/7/2020   92212         JEFFERSON PARISH DEPT OF WATER                HOUSEHOLD UTILITIES                                         $        11.95
ANO    Operating      2118    10/7/2020   92213         JEFFERSON PARISH DEPT OF WATER                UTILITIES                                                   $        26.12
ANO    Operating      2118    10/7/2020   92214         JEFFERSON PARISH DEPT OF WATER                UTILITIES                                                   $       679.53
ANO    Operating      2118    10/7/2020   92215                                                       MINISTRY PROGRAM ‐ Spirituality                             $       250.00
ANO    Operating      2118    10/8/2020   N/A           ANO Whitney Self‐Insurance Account            Self Insurance P&C Checks 97240 ‐ 97268 Funds Transfer      $    26,944.89
ANO    Operating      2118    10/8/2020             904 Aplos Software LLC                            CONTRACTED SERVICE ‐ Other                                  $       403.50
ANO    Operating      2118    10/8/2020             905 Aplos Software LLC                            CONTRACTED SERVICE ‐ Other                                  $     1,750.00
ANO    Operating      2118    10/8/2020   92216         JEFFERSON PARISH                              UTILITIES                                                   $     1,234.78    *
ANO    Operating      2118    10/8/2020   92216         JEFFERSON PARISH                              UTILITIES                                                   $       347.57
ANO    Operating      2118    10/8/2020   92216         JEFFERSON PARISH                              UTILITIES                                                   $       306.50
ANO    Operating      2118    10/8/2020   92216         JEFFERSON PARISH                              SUBSIDY                                                     $       617.40    *
ANO    Operating      2118    10/8/2020   92216         JEFFERSON PARISH                              SUBSIDY                                                     $       173.79
ANO    Operating      2118    10/8/2020   92216         JEFFERSON PARISH                              MISCELLANEOUS RECEIVABLES                                   $     1,234.78    *
ANO    Operating      2118    10/8/2020   92216         JEFFERSON PARISH                              MISCELLANEOUS RECEIVABLES                                   $       347.57
ANO    Operating      2118    10/9/2020   N/A           St. Peter Church (Reserve)                    DEPOSIT AND LOAN FUND                                       $     2,815.20
ANO    Operating      2118    10/9/2020   N/A           St. Agnes Church                              DEPOSIT AND LOAN FUND                                       $     1,980.00
ANO    Operating      2118    10/9/2020   N/A           Catholic Community Foundation                 DEPOSIT AND LOAN FUND                                       $    10,000.00
ANO    Operating      2118    10/9/2020   N/A           St. Charles Borromeo                          DEPOSIT AND LOAN FUND                                       $    55,674.78
ANO    Operating      2118   10/13/2020           92005                                               Active Priest Medical Expense ‐ Dental & Vision (Reversal   $    (1,261.00)
ANO    Operating      2118   10/13/2020             N/A ANO Whitney Self‐Insurance Account            ANO Whitney Self‐Insurance Account Transfer                 $    42,503.78
ANO    Operating      2118   10/14/2020             N/A School Food & Nutrition                       DEPOSIT AND LOAN FUND                                       $   500,000.00
ANO    Operating      2118   10/14/2020             907 PITNEY BOWES GLOBAL                           POSTAGE                                                     $     3,000.00
ANO    Operating      2118   10/14/2020             N/A Transfiguration of the Lord                   DEPOSIT AND LOAN FUND                                       $    10,000.00
ANO    Operating      2118   10/14/2020             909 PUBLIC STORAGE 25740                          RECORDS DISPOSITION                                         $     1,078.00
ANO    Operating      2118   10/14/2020           92217 ALARM DETECTION & SUPPRESSION                 REPAIRS & MAINTENANCE                                       $       108.00
ANO    Operating      2118   10/14/2020           92217 ALARM DETECTION & SUPPRESSION                 MISCELLANEOUS RECEIVABLES                                   $       108.00
ANO    Operating      2118   10/14/2020           92217 ALARM DETECTION & SUPPRESSION                 REPAIRS & MAINTENANCE                                       $       324.00
ANO    Operating      2118   10/14/2020           92218 ALL TEMP REFRIGERATION SERVICES LLC           REPAIRS & MAINTENANCE ‐ RETREATS                            $       206.10
ANO    Operating      2118   10/14/2020           92219 AMERICA'S SWIMMING POOL CO                    REPAIRS & MAINTENANCE ‐ RETREATS                            $     1,800.00
ANO    Operating      2118   10/14/2020           92220 AMERIPRINT                                    SPECIAL FUNCTIONS                                           $       255.82
ANO    Operating      2118   10/14/2020           92220 AMERIPRINT                                    SPECIAL FUNCTIONS                                           $       408.89
ANO    Operating      2118   10/14/2020           92221                                               AUTOMOBILE EXPENSE                                          $        56.35
ANO    Operating      2118   10/14/2020           92221                                               TELEPHONE EXPENSE                                           $        85.28
ANO    Operating      2118   10/14/2020           92222 ARCHIBALD L MELCHER IV LLC                    Active Priest Medical Expense ‐ Dental & Vision             $     4,850.00
ANO    Operating      2118   10/14/2020           92223 AT&T                                          HOUSEHOLD EXPENSES                                          $       208.32        Yes ‐ Cheri
ANO    Operating      2118   10/14/2020           92224 AT&T                                          TELEPHONE EXPENSE                                           $        55.92
ANO    Operating      2118   10/14/2020           92225 AT&T                                          TELEPHONE EXPENSE                                           $       138.68
ANO    Operating      2118   10/14/2020           92226 AT&T                                          TELEPHONE EXPENSE                                           $        51.14
ANO    Operating      2118   10/14/2020           92227 AT&T                                          TELEPHONE EXPENSE                                           $        97.27
ANO    Operating      2118   10/14/2020           92228 AT&T                                          TELEPHONE EXPENSE                                           $         3.37
ANO    Operating      2118   10/14/2020           92229 AT&T MOBILITY                                 TELEPHONE EXPENSE                                           $     2,147.43
ANO    Operating      2118   10/14/2020           92230                                               SEMINARIAN ASSIST ‐ INSURANCES AND MISC NEEDS               $       168.25
ANO    Operating      2118   10/14/2020           92231 B4 TIME, INC                                  CONTRACTED SERVICE                                          $       405.30
ANO    Operating      2118   10/14/2020           92232                                               AUTOMOBILE EXPENSE                                          $        26.45        Yes ‐ Cheri
ANO    Operating      2118   10/14/2020           92232                                               HOUSEHOLD EXPENSES                                          $        39.39        Yes ‐ Cheri
ANO    Operating      2118   10/14/2020           92233                                               SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT                      $       234.86
ANO    Operating      2118   10/14/2020           92234 CABRINI HIGH SCHOOL                           SPECIAL FUNCTIONS                                           $     1,000.00
ANO    Operating      2118   10/14/2020           92235 CALUDA'S COTTAGE CATERING                     DESIGNATED FUNDS INTERNAL                                   $       208.11
ANO    Operating      2118   10/14/2020           92235 CALUDA'S COTTAGE CATERING                     MARRIAGE PREPARATION                                        $       416.22
ANO    Operating      2118   10/14/2020           92236                                               MEETINGS                                                    $        53.30
ANO    Operating      2118   10/14/2020           92236                                               CONVENTION EXPENSE                                          $       319.89
ANO    Operating      2118   10/14/2020           92237 CATHOLIC MUTUAL RELIEF                        CONSULTANT FEES                                             $     2,000.00
ANO    Operating      2118   10/14/2020           92238                                               ST LOUIS MEDAL COSTS                                        $       150.00
ANO    Operating      2118   10/14/2020           92239 CHEMSEARCH                                    REPAIRS & MAINTENANCE                                       $       334.26
ANO    Operating      2118   10/14/2020           92240 CHURCH SUPPLY HOUSE                           LITURGICAL SUPPLIES                                         $        43.78
ANO    Operating      2118   10/14/2020           92240 CHURCH SUPPLY HOUSE                           LITURGICAL SUPPLIES                                         $        11.78
ANO    Operating      2118   10/14/2020           92241 CITY OF NEW ORLEANS                           TAXES                                                       $         2.00
ANO    Operating      2118   10/14/2020           92242                                               TEMPORARY HELP                                              $       318.25
ANO    Operating      2118   10/14/2020           92243 COASTAL ENVIRONMENTAL SERVICES OF LA LLC      REPAIRS & MAINTENANCE                                       $        41.26
ANO    Operating      2118   10/14/2020           92243 COASTAL ENVIRONMENTAL SERVICES OF LA LLC      REPAIRS & MAINTENANCE                                       $        13.75
ANO    Operating      2118   10/14/2020           92243 COASTAL ENVIRONMENTAL SERVICES OF LA LLC      MISCELLANEOUS RECEIVABLES                                   $        13.75
ANO    Operating      2118   10/14/2020           92244 COWLEY DENTAL CARE LLC                        Active Priest Medical Expense ‐ Dental & Vision             $       115.00
ANO    Operating      2118   10/14/2020           92245 COX BUSINESS                                  IT EQUIPMENT                                                $       255.58
ANO    Operating      2118   10/14/2020           92246 COX BUSINESS                                  IT EQUIPMENT                                                $       220.46
ANO    Operating      2118   10/14/2020           92247 COX COMMUNICATIONS                            HOUSEHOLD EXPENSES                                          $       185.32        Yes ‐ Cheri
ANO    Operating      2118   10/14/2020           92248 CROWN COFFEE SERVICE INC                      COFFEE & SOFT DRINK                                         $       346.33
ANO    Operating      2118   10/14/2020           92249                                               TELEPHONE EXPENSE                                           $        73.99
ANO    Operating      2118   10/14/2020           92250                                               ACCP EXPENSE                                                $       300.00
ANO    Operating      2118   10/14/2020           92251 DELL MARKETING L. P.                          REPAIRS & MAINTENANCE                                       $     1,371.83
ANO    Operating      2118   10/14/2020           92251 DELL MARKETING L. P.                          IT EQUIPMENT                                                $        66.99
ANO    Operating      2118   10/14/2020           92251 DELL MARKETING L. P.                          IT EQUIPMENT                                                $       332.48
ANO    Operating      2118   10/14/2020           92252 DEMARCUS SMITH DDS                            Active Priest Medical Expense ‐ Dental & Vision             $       334.00
ANO    Operating      2118   10/14/2020           92252 DEMARCUS SMITH DDS                            Active Priest Medical Expense ‐ Dental & Vision             $     4,898.00
ANO    Operating      2118   10/14/2020           92252 DEMARCUS SMITH DDS                            Active Priest Medical Expense ‐ Dental & Vision             $     2,927.00
ANO    Operating      2118   10/14/2020           92253 DIOCESE OF ALEXANDRIA                         ADVERTISING                                                 $       500.00
ANO    Operating      2118   10/14/2020           92254 DIRTY LAUNDRY LLC                             CONTRACTED SERVICE ‐ BUILDING/JANITORIAL                    $       104.91
ANO    Operating      2118   10/14/2020           92255 DOCUMART                                      STATIONERY & PRINTING                                       $       421.38
ANO    Operating      2118   10/14/2020           92255 DOCUMART                                      ST LOUIS MEDAL COSTS                                        $       289.66
ANO    Operating      2118   10/14/2020           92255 DOCUMART                                      ST LOUIS MEDAL COSTS                                        $       225.80
ANO    Operating      2118   10/14/2020           92256                                               ST LOUIS MEDAL COSTS                                        $       150.00
ANO    Operating      2118   10/14/2020           92257 DR JOSEPH TRAMONTANA, PHD                     CONSULTANT FEES                                             $       400.00
ANO    Operating      2118   10/14/2020           92258                                               AUTOMOBILE EXPENSE                                          $       148.12
ANO    Operating      2118   10/14/2020           92259                                               DESIGNATED FUNDS INTERNAL                                   $       434.50
ANO    Operating      2118   10/14/2020           92260 EDWIN KOPFLER DDS                             Active Priest Medical Expense ‐ Dental & Vision             $       231.00
ANO    Operating      2118   10/14/2020           92261 ENTERGY                                       UTILITIES                                                   $        43.74
ANO    Operating      2118   10/14/2020           92262 ENTERGY                                       UTILITIES                                                   $     1,505.05
ANO    Operating      2118   10/14/2020           92263 ENTERGY                                       HOUSEHOLD UTILITIES                                         $        20.33
ANO    Operating      2118   10/14/2020           92263 ENTERGY                                       HOUSEHOLD UTILITIES                                         $     1,086.41
ANO    Operating      2118   10/14/2020           92264 ENTERGY                                       HOUSING COSTS ‐ PRIESTS                                     $       180.18        Yes ‐ Akpoghiran
ANO    Operating      2118   10/14/2020           92265 EVERGREEN LAWN SERVICE LLC                    CONTRACTED SERVICE                                          $       346.00
ANO    Operating      2118   10/14/2020           92266 FRANCIS G MARTELLO DDS                        Active Priest Medical Expense ‐ Dental & Vision             $       531.00
ANO    Operating      2118   10/14/2020           92267                                               REPAIRS & MAINTENANCE                                       $     1,150.00
ANO    Operating      2118   10/14/2020           92268 GALLO MECHANICAL SERVICES LLC                 REPAIRS & MAINTENANCE                                       $       325.00
ANO    Operating      2118   10/14/2020           92269                                               TELEPHONE EXPENSE                                           $        62.64
ANO    Operating      2118   10/14/2020           92269                                               TELEPHONE EXPENSE                                           $        79.98
ANO    Operating      2118   10/14/2020           92269                                               TELEPHONE EXPENSE                                           $        60.00
ANO    Operating      2118   10/14/2020           92270                                               DESIGNATED FUNDS INTERNAL                                   $       434.50
ANO    Operating      2118   10/14/2020           92271 GOOD SHEPHERD PARISH                          Clearing                                                    $        60.28
ANO    Operating      2118   10/14/2020           92272 GULF COAST OFFICE PRODUCTS                    XEROX COPIES                                                $        65.46
ANO    Operating      2118   10/14/2020           92272 GULF COAST OFFICE PRODUCTS                    XEROX COPIES                                                $       178.78
ANO    Operating      2118   10/14/2020           92273 HY TECH ROOFING INC.                          REPAIRS & MAINTENAN                                         $     1,260.00        Yes ‐ Cheri
ANO    Operating      2118   10/14/2020           92274                                               DESIGNATED FUNDS INTERNAL                                   $       434.50
ANO    Operating      2118   10/14/2020           92275                                               DESIGNATED FUNDS INTERNAL                                   $       434.50
ANO    Operating      2118   10/14/2020           92276                                               REPAIRS & MAINTENANCE                                       $        43.78
ANO    Operating      2118   10/14/2020           92277                                               CONVENTION EXPENSE                                          $       319.89
ANO    Operating      2118   10/14/2020           92278                                               AUTOMOBILE EXPENSE                                          $       169.05
ANO    Operating      2118   10/14/2020           92279 KRISTI SOILEAU DDS                            Retired Priest Plus Expense ‐ Dental & Vision               $       556.00
ANO    Operating      2118   10/14/2020           92280 LCMC ‐ SBO                                    Retired Priest Plus Expense ‐ Medical Co‐Pays               $       170.00
ANO    Operating      2118   10/14/2020           92281                                               DESIGNATED FUNDS INTERNAL                                   $       434.50
ANO    Operating      2118   10/14/2020           92282                                               ST LOUIS MEDAL COSTS                                        $       100.00
ANO    Operating      2118   10/14/2020           92283                                               DESIGNATED FUNDS INTERNAL                                   $       434.50
ANO    Operating      2118   10/14/2020           92284 LOUISIANA DEPARTMENT OF REVENUE               TAXES                                                       $         2.00
ANO    Operating      2118   10/14/2020           92284 LOUISIANA DEPARTMENT OF REVENUE               BOOKSTORE EXPENSES                                          $         9.00
ANO    Operating      2118   10/14/2020           92285 LOUISIANA OFFICE PRODUCTS INC                 OFFICE SUPPLIES                                             $        75.41
ANO    Operating      2118   10/14/2020           92286 LOUISIANA OFFICE PRODUCTS INC                 COFFEE & SOFT DRINK                                         $        44.55
ANO    Operating      2118   10/14/2020           92286 LOUISIANA OFFICE PRODUCTS INC                 OFFICE SUPPLIES                                             $       138.99
ANO    Operating      2118   10/14/2020           92286 LOUISIANA OFFICE PRODUCTS INC                 OFFICE SUPPLIES                                             $       138.99
ANO    Operating      2118   10/14/2020           92286 LOUISIANA OFFICE PRODUCTS INC                 OFFICE SUPPLIES                                             $       163.49
ANO    Operating      2118   10/14/2020           92286 LOUISIANA OFFICE PRODUCTS INC                 XEROX COPIES                                                $       196.46
ANO    Operating      2118   10/14/2020           92286 LOUISIANA OFFICE PRODUCTS INC                 OFFICE SUPPLIES                                             $       126.69
ANO    Operating      2118   10/14/2020           92287 MANIX COMPUTING SERVICES INC                  IT EQUIPMENT                                                $       150.00
ANO    Operating      2118   10/14/2020           92287 MANIX COMPUTING SERVICES INC                  IT EQUIPMENT                                                $       450.00
ANO    Operating      2118   10/14/2020           92288                                               AUTOMOBILE EXPENSE                                          $       185.73
ANO    Operating      2118   10/14/2020           92289 Martz Inc                                     Construction in Progress                                    $    29,748.00
ANO    Operating      2118   10/14/2020           92290 Missionaries of Our Mother of the Eucharist   CLERGY SABBATICALS                                          $       750.00
ANO    Operating      2118   10/14/2020           92291                                               Active Priest Medical Expense ‐ Medical Co‐Pays             $       160.00
ANO    Operating      2118   10/14/2020           92292 Mullin                                        SUBSIDY                                                     $       492.59
ANO    Operating      2118   10/14/2020           92292 Mullin                                        CONTRACTED SERVICE                                          $       985.17
ANO    Operating      2118   10/14/2020           92292 Mullin                                        MISCELLANEOUS RECEIVABLES                                   $       400.00
ANO    Operating      2118   10/14/2020           92292 Mullin                                        SUBSIDY                                                     $       400.00
ANO    Operating      2118   10/14/2020           92292 Mullin                                        CONTRACTED SERVICE                                          $       400.00
ANO    Operating      2118   10/14/2020           92293                                               DESIGNATED FUNDS INTERNAL                                   $       434.50
ANO    Operating      2118   10/14/2020           92294 NATIONAL CORROSION SERVICE INC                BUILDING OFFICE FEE REC.                                    $       694.04
ANO    Operating      2118   10/14/2020           92295 NEW ORLEANS ARCHDIOCESAN                      OTHER FUNDS ON DEP                                          $     9,384.00
ANO    Operating      2118   10/14/2020           92296 NEW ORLEANS PEST MANAGEMENT                   CONTRACTED SERVICE                                          $       150.00
ANO    Operating      2118   10/14/2020           92296 NEW ORLEANS PEST MANAGEMENT                   REPAIRS & MAINTENAN                                         $        95.00
ANO    Operating      2118   10/14/2020           92297                                               DESIGNATED FUNDS INTERNAL                                   $       434.50
ANO    Operating      2118   10/14/2020           92298                                               DESIGNATED FUNDS INTERNAL                                   $       434.50
ANO    Operating      2118   10/14/2020           92299                                               ADVERTISING                                                 $     7,646.18
ANO    Operating      2118   10/14/2020           92300 PINNACLE ELEVATOR                             REPAIRS & MAINTENANCE                                       $       900.00
ANO    Operating      2118   10/14/2020           92301 RELYCO SALES INC                              OFFICE SUPPLIES                                             $       441.08
ANO    Operating      2118   10/14/2020           92302                                               Active Priest Medical Expense ‐ Dental & Vision             $     1,261.00
ANO    Operating      2118   10/14/2020           92303                                               PRIEST POLICY LIVING COSTS                                  $        26.57
ANO    Operating      2118   10/14/2020           92303                                               PRIEST POLICY LIVING COSTS                                  $        65.73
ANO    Operating      2118   10/14/2020           92303                                               SEMINARIAN ASSIST ‐ INSURANCES AND MISC NEEDS               $        39.61
ANO    Operating      2118   10/14/2020           92304                                               Retired Priest Plus Expense ‐ Medical Co‐Pays               $        21.45
ANO    Operating      2118   10/14/2020           92305                                               Active Priest Medical Expense ‐ Medical Co‐Pays             $        91.00
ANO    Operating      2118   10/14/2020           92306                                               Retired Priest Plus Expense ‐ Medical Co‐Pays               $       324.94
ANO    Operating      2118   10/14/2020           92307                                               Retired Priest Plus Expense ‐ Medical Co‐Pays               $       179.36
ANO    Operating      2118   10/14/2020           92308                                               Active Priest Medical Expense ‐ Medical Co‐Pays             $        13.90
ANO    Operating      2118   10/14/2020           92309                                               Active Priest Medical Expense ‐ Medical Co‐Pays             $        37.00
ANO    Operating      2118   10/14/2020           92310                                               Active Priest Medical Expense ‐ Medical Co‐Pays             $        14.00
ANO    Operating      2118   10/14/2020           92311                                               DESIGNATED FUNDS INTERNAL                                   $       434.50
ANO    Operating      2118   10/14/2020           92312 RICOH USA INC                                 REPAIRS & MAINTENANCE                                       $       147.99
ANO    Operating      2118   10/14/2020           92312 RICOH USA INC                                 XEROX COPIES                                                $        93.54
ANO    Operating      2118   10/14/2020           92313 RIVER PARISH DISPOSAL LLC                     CONTRACTED SERVICE                                          $       553.30
ANO    Operating      2118   10/14/2020           92314                                               DESIGNATED FUNDS INTERNAL                                   $       434.50
ANO    Operating      2118   10/14/2020           92315 ROTO ROOTER SEWER DRAIN SERVICE               REPAIRS & MAINTENANCE ‐ CAMP                                $       229.00
ANO    Operating      2118   10/14/2020           92316 SERVIKLEEN JANITORIAL SERVICES                CONTRACTED SERVICE ‐ BUILDING/JANITORIAL                    $       220.00
ANO    Operating      2118   10/14/2020           92317                                               Repairs & Maintenance ‐ Supplies                            $        21.82
ANO    Operating      2118   10/14/2020           92317                                               Repairs & Maintenance ‐ Supplies                            $       141.95
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 38 of
                                           103
ANO    Operating      2118   10/14/2020   92318   SOUTHERN ELECTR0NICS SUPPLY INC                   REPAIRS & MAINTENANCE                             $        78.92
ANO    Operating      2118   10/14/2020   92318   SOUTHERN ELECTR0NICS SUPPLY INC                   REPAIRS & MAINTENANCE                             $       106.37
ANO    Operating      2118   10/14/2020   92319   ST ANTHONY OF PADUA CHURCH (LULING)               DESIGNATED FUNDS INTERNAL                         $       434.50
ANO    Operating      2118   10/14/2020   92320   ST CATHERINE OF SIENA CHURCH                      ST LOUIS MEDAL COSTS                              $       200.00
ANO    Operating      2118   10/14/2020   92321   ST CHARLES PARISH                                 HOUSEHOLD UTILITIES                               $        40.92
ANO    Operating      2118   10/14/2020   92322   ST CHARLES WELLNESS LLC                           SEMINARIAN ASSIST ‐ BOOKS AND RESOURCES           $       155.00
ANO    Operating      2118   10/14/2020   92322   ST CHARLES WELLNESS LLC                           SEMINARIAN ASSIST ‐ BOOKS AND RESOURCES           $       155.00
ANO    Operating      2118   10/14/2020   92322   ST CHARLES WELLNESS LLC                           SEMINARIAN ASSIST ‐ BOOKS AND RESOURCES           $       155.00
ANO    Operating      2118   10/14/2020   92322   ST CHARLES WELLNESS LLC                           SEMINARIAN ASSIST ‐ BOOKS AND RESOURCES           $       155.00
ANO    Operating      2118   10/14/2020   92323   ST KATHARINE DREXEL PREP                          SPECIAL FUNCTIONS                                 $     1,000.00
ANO    Operating      2118   10/14/2020   92324   ST LOUIS KING OF FRANCE CHURCH                    Clearing                                          $       140.89
ANO    Operating      2118   10/14/2020   92325   ST MARTHA CHURCH                                  DESIGNATED FUNDS INTERNAL                         $       434.50
ANO    Operating      2118   10/14/2020   92326   ST MARY S ACADEMY                                 SPECIAL FUNCTIONS                                 $     2,000.00
ANO    Operating      2118   10/14/2020   92327   TERMINIX                                          REPAIRS & MAINTENANCE                             $       654.00    Yes ‐ Aymond
ANO    Operating      2118   10/14/2020   92328                                                     DESIGNATED FUNDS INTERNAL                         $       434.50
ANO    Operating      2118   10/14/2020   92329   THYSSENKRUPP ELEVATOR CORP                        REPAIRS & MAINTENANCE                             $       629.43
ANO    Operating      2118   10/14/2020   92329   THYSSENKRUPP ELEVATOR CORP                        REPAIRS & MAINTENANCE                             $     2,954.73
ANO    Operating      2118   10/14/2020   92329   THYSSENKRUPP ELEVATOR CORP                        ELEVATOR RECEIVABLES                              $     1,193.34
ANO    Operating      2118   10/14/2020   92329   THYSSENKRUPP ELEVATOR CORP                        ELEVATOR RECEIVABLES                              $       590.10
ANO    Operating      2118   10/14/2020   92329   THYSSENKRUPP ELEVATOR CORP                        REPAIRS & MAINTENANCE                             $       590.10
ANO    Operating      2118   10/14/2020   92329   THYSSENKRUPP ELEVATOR CORP                        ELEVATOR RECEIVABLES                              $       590.10
ANO    Operating      2118   10/14/2020   92329   THYSSENKRUPP ELEVATOR CORP                        REPAIRS & MAINTENANCE                             $     1,098.15
ANO    Operating      2118   10/14/2020   92330                                                     CONTRACTED SERVICE                                $     1,139.10
ANO    Operating      2118   10/14/2020   92331                                                     Active Priest Medical Expense ‐ Dental & Vision   $       131.00
ANO    Operating      2118   10/14/2020   92332   W D SCOTT GROUP INC                               STAFF DEVELOPMENT                                 $       475.00
ANO    Operating      2118   10/14/2020   92333                                                     DESIGNATED FUNDS INTERNAL                         $       434.50
ANO    Operating      2118   10/14/2020   92334   WILLIS TOWERS WATSON US LLC                       CONTRACTED SERVICE ‐ Actuary                      $     6,835.18
ANO    Operating      2118   10/14/2020   92335   WLAE TV                                           ADVERTISING                                       $     1,500.00
ANO    Operating      2118   10/14/2020   92336   WRIGHT NATIONAL FLOOD INS CO                      PREPAID INSURANCE                                 $     5,966.00
ANO    Operating      2118   10/14/2020   92336   WRIGHT NATIONAL FLOOD INS CO                      PREPAID INSURANCE                                 $     1,997.00
ANO    Operating      2118   10/14/2020   92336   WRIGHT NATIONAL FLOOD INS CO                      PREPAID INSURANCE                                 $     2,107.00
ANO    Operating      2118   10/14/2020   92336   WRIGHT NATIONAL FLOOD INS CO                      PREPAID INSURANCE                                 $     3,250.00
ANO    Operating      2118   10/14/2020   92337   WRIGHT NATIONAL FLOOD INS CO                      PREPAID INSURANCE                                 $       741.00
ANO    Operating      2118   10/14/2020   92338   WRIGHT NATIONAL FLOOD INS CO                      PREPAID INSURANCE                                 $     1,035.00
ANO    Operating      2118   10/14/2020   92339   WRIGHT NATIONAL FLOOD INS CO                      PREPAID INSURANCE                                 $       741.00
ANO    Operating      2118   10/14/2020   92340   WRIGHT NATIONAL FLOOD INS CO                      PREPAID INSURANCE                                 $       747.00
ANO    Operating      2118   10/14/2020   92341   WRIGHT NATIONAL FLOOD INS CO                      PREPAID INSURANCE                                 $     3,402.00
ANO    Operating      2118   10/14/2020   92342   WRIGHT NATIONAL FLOOD INS CO                      PREPAID INSURANCE                                 $     3,546.00
ANO    Operating      2118   10/14/2020   92343   WRIGHT NATIONAL FLOOD INS CO                      PREPAID INSURANCE                                 $     4,545.00
ANO    Operating      2118   10/14/2020   92344   WRIGHT NATIONAL FLOOD INS CO                      PREPAID INSURANCE                                 $     1,197.00
ANO    Operating      2118   10/14/2020   92345   WRIGHT NATIONAL FLOOD INS CO                      PREPAID INSURANCE                                 $     3,090.00
ANO    Operating      2118   10/14/2020   92345   WRIGHT NATIONAL FLOOD INS CO                      PREPAID INSURANCE                                 $     1,035.00
ANO    Operating      2118   10/15/2020   91588   THE HOLY ROOD GUILD                               HOUSEHOLD EXPENSES (Reversal)                     $      (250.00)
ANO    Operating      2118   10/15/2020     906                                                     DEPOSIT AND LOAN FUND                             $       833.34
ANO    Operating      2118   10/15/2020     N/A   ANO Whitney Self‐Insurance Account                ANO Whitney Self‐Insurance Account Transfer       $    11,565.79
ANO    Operating      2118   10/15/2020   92346   St. Anthony Priory                                AUTOMOBILE EXPENSE                                $        99.33
ANO    Operating      2118   10/15/2020   92346   St. Anthony Priory                                AUTOMOBILE EXPENSE                                $       611.04
ANO    Operating      2118   10/15/2020   92346   St. Anthony Priory                                NORTH SHORE CHAPEL EXPENSE                        $       101.07
ANO    Operating      2118   10/15/2020   92346   St. Anthony Priory                                MISCELLANEOUS EXPENSE                             $       272.18
ANO    Operating      2118   10/15/2020   92346   St. Anthony Priory                                TELEPHONE EXPENSE                                 $       200.82
ANO    Operating      2118   10/15/2020   92346   St. Anthony Priory                                MISCELLANEOUS EXPENSE                             $       387.23
ANO    Operating      2118   10/15/2020   92346   St. Anthony Priory                                OFFICE SUPPLIES                                   $        56.18
ANO    Operating      2118   10/15/2020   92346   St. Anthony Priory                                TRAVEL, MEALS & ENTERTAINMENT                     $        39.39
ANO    Operating      2118   10/15/2020   92346   St. Anthony Priory                                CONTRIBUTIONS ‐ COMMUNITY SERVICES                $     3,998.13
ANO    Operating      2118   10/15/2020   92346   St. Anthony Priory                                REPAIRS & MAINTENANCE                             $       627.37
ANO    Operating      2118   10/15/2020   92346   St. Anthony Priory                                CONTRACTED SERVICE                                $       155.15
ANO    Operating      2118   10/16/2020     N/A   Our Lady of Prompt Succor Church (Chalmette)      DEPOSIT AND LOAN FUND                             $     2,170.64
ANO    Operating      2118   10/16/2020     N/A   Most Holy Trinity                                 DEPOSIT AND LOAN FUND                             $    90,000.00
ANO    Operating      2118   10/16/2020     N/A   WHITNEY                                           Whitney monthly bank fees ‐ October               $     2,139.16
ANO    Operating      2118   10/16/2020   90930                                                     Clearing                                          $      (130.86)
ANO    Operating      2118   10/19/2020   92300                                                     REPAIRS & MAINTENANCE                             $      (900.00)
ANO    Operating      2118   10/19/2020     N/A   St. Dominic School                                DEPOSIT AND LOAN FUND                             $    35,000.00
ANO    Operating      2118   10/19/2020     N/A   St. Agnes Parish                                  DEPOSIT AND LOAN FUND                             $    10,000.00
ANO    Operating      2118   10/19/2020     N/A   St. Peter Church (Covington)                      DEPOSIT AND LOAN FUND                             $    53,629.28
ANO    Operating      2118   10/19/2020   92519   ARCHDIOCESE OF NEW ORLEANS                        Test Check                                        $         1.00
ANO    Operating      2118   10/19/2020   92521                                                     AUTOMOBILE EXPENSE                                $       460.58
ANO    Operating      2118   10/19/2020   92522                                                     OFFICE SUPPLIES                                   $        64.62
ANO    Operating      2118   10/19/2020   92520                                                     MISCELLANEOUS EXPENSE                             $        25.00
ANO    Operating      2118   10/20/2020     N/A   St. Matthew the Apostle Schoo                     DEPOSIT AND LOAN FUND                             $   200,000.00
ANO    Operating      2118   10/20/2020     N/A   St. Anthony of Padua Church (New Orleans)         DEPOSIT AND LOAN FUND                             $     5,156.15
ANO    Operating      2118   10/20/2020     N/A   St. Catherine of Sienna Church                    DEPOSIT AND LOAN FUND                             $   101,175.20
ANO    Operating      2118   10/20/2020     N/A   ANO FBT Operating                                 PAYROLL TRANSFER to ANO FBT Operating             $   219,000.00
ANO    Operating      2118   10/20/2020     N/A   ANO Whitney Self‐Insurance Account                ANO Whitney Self‐Insurance Account Transfer       $    24,204.83
ANO    Operating      2118   10/21/2020     908   United States Depart                              CONTRACTED SERVICE                                $   250,000.00
ANO    Operating      2118   10/21/2020     N/A   Our Lady of Perpetual Help Church (Belle Chasse   DEPOSIT AND LOAN FUND                             $    64,000.00
ANO    Operating      2118   10/21/2020     N/A   St. Patrick Church (NOLA)                         DEPOSIT AND LOAN FUND                             $     8,733.16
ANO    Operating      2118   10/22/2020     N/A   Pontifical Mission Societies                      DEPOSIT AND LOAN FUND                             $    60,000.00
ANO    Operating      2118   10/22/2020     N/A   Pontifical Mission Societies                      DEPOSIT AND LOAN FUND                             $     5,000.00
ANO    Operating      2118   10/22/2020     910                                                     DEPOSIT AND LOAN FUND                             $       833.34
ANO    Operating      2118   10/22/2020     911   P & A ADMINISTRATIVE                              FLEX ACCOUNT                                      $       373.21
ANO    Operating      2118   10/22/2020     N/A   St. Dominic School                                DEPOSIT AND LOAN FUND                             $    22,500.00
ANO    Operating      2118   10/22/2020     N/A   St. Peter Church (Covington)                      DEPOSIT AND LOAN FUND                             $    42,143.63
ANO    Operating      2118   10/22/2020   92523   ACME LOCK CO                                      REPAIRS & MAINTENANCE                             $       226.68
ANO    Operating      2118   10/22/2020   92524   A 1 SERVICE INC.                                  CONTRACTED SERVICE                                $        57.93
ANO    Operating      2118   10/22/2020   92524   A 1 SERVICE INC.                                  REPAIRS & MAINTENANCE                             $        32.55    Yes ‐ Aymond
ANO    Operating      2118   10/22/2020   92525   ADS SYSTEMS LLC                                   REPAIRS & MAINTENANCE ‐ BUILDING                  $       450.00
ANO    Operating      2118   10/22/2020   92526   ALFORTISH'S OFFICE                                Retired Priest Plus Expense ‐ Dental & Vision     $       130.00
ANO    Operating      2118   10/22/2020   92527   ALPHA TECH                                        ADVERTISING                                       $       390.00
ANO    Operating      2118   10/22/2020   92528   AT&T                                              REPAIRS & MAINTENANCE                             $        49.52
ANO    Operating      2118   10/22/2020   92529   AT&T                                              REPAIRS & MAINTENANCE                             $       571.63
ANO    Operating      2118   10/22/2020   92530   AT&T                                              UTILITIES                                         $       205.69
ANO    Operating      2118   10/22/2020   92531   AT&T MOBILITY                                     HOUSING COSTS ‐ PRIESTS                           $       180.27    Yes ‐ Akpoghiran
ANO    Operating      2118   10/22/2020   92532   BUBBA'S PRODUCE CO                                KITCHEN FOOD                                      $       320.73
ANO    Operating      2118   10/22/2020   92533   CAMPO DENTISTRY                                   Active Priest Medical Expense ‐ Dental & Vision   $       956.00
ANO    Operating      2118   10/22/2020   92534   CARDMEMBER SERVICE                                TELEPHONE EXPENSE                                 $        29.49
ANO    Operating      2118   10/22/2020   92535   CHEMSEARCH                                        REPAIRS & MAINTENANCE                             $     1,126.84
ANO    Operating      2118   10/22/2020   92536                                                     OFFICE SUPPLIES                                   $        96.49
ANO    Operating      2118   10/22/2020   92537   CHURCH SUPPLY HOUSE                               BOOKS & SUBSCRIPTIONS                             $       262.02
ANO    Operating      2118   10/22/2020   92537   CHURCH SUPPLY HOUSE                               LITURGICAL SUPPLIES                               $       209.39
ANO    Operating      2118   10/22/2020   92538   CISCO'S HEATING & AIR CONDITIONING INC            HOUSING COSTS ‐ PRIESTS                           $       595.00    Yes ‐ Akpoghiran
ANO    Operating      2118   10/22/2020   92539   COX BUSINESS                                      IT EQUIPMENT                                      $       170.63
ANO    Operating      2118   10/22/2020   92540   COX BUSINESS                                      TELEPHONE EXPENSE                                 $       303.31
ANO    Operating      2118   10/22/2020   92541   COX COMMUNICATIONS                                HOUSING COSTS ‐ PRIESTS                           $       292.27    Yes ‐ Akpoghiran
ANO    Operating      2118   10/22/2020   92542   CURTIS ENVIRONMENTAL SERVICES INC                 HOUSEHOLD UTILITIES                               $       700.00
ANO    Operating      2118   10/22/2020   92542   CURTIS ENVIRONMENTAL SERVICES INC                 HOUSEHOLD UTILITIES                               $       700.00
ANO    Operating      2118   10/22/2020   92543   DAVID MERMILLIOD DDS LLC                          Retired Priest Plus Expense ‐ Dental & Vision     $       465.00
ANO    Operating      2118   10/22/2020   92544   DELL MARKETING L. P.                              REPAIRS & MAINTENANCE                             $     1,624.84
ANO    Operating      2118   10/22/2020   92545   DOCUMART                                          GOLDEN ANNIVERSARY                                $       417.03
ANO    Operating      2118   10/22/2020   92546   DUMB OX MINISTRIES INC                            Clearing                                          $       300.00
ANO    Operating      2118   10/22/2020   92547   EAGLE SECURITY SYSTEMS INC                        HOUSING COSTS ‐ PRIESTS                           $        60.00    Yes ‐ Akpoghiran
ANO    Operating      2118   10/22/2020   92548   EAST JEFFERSON GENERAL HOSPITAL                   Active Priest Medical Expense ‐ Medical Co‐Pays   $       238.00
ANO    Operating      2118   10/22/2020   92549   EATEL                                             IT EQUIPMENT                                      $        48.13
ANO    Operating      2118   10/22/2020   92550                                                     Active Priest Medical Expense ‐ Dental & Vision   $       261.00
ANO    Operating      2118   10/22/2020   92551   ENGRAVING CO                                      MISCELLANEOUS EXPE                                $       163.80
ANO    Operating      2118   10/22/2020   92551   ENGRAVING CO                                      MISCELLANEOUS EXPE                                $       327.60
ANO    Operating      2118   10/22/2020   92552   ENHANCING BEAUTIFUL MINDS LLC                     GRANT EXPENSES ‐ EEF                              $     4,400.00
ANO    Operating      2118   10/22/2020   92553   ENTERGY                                           HOUSEHOLD UTILITIES                               $       354.69
ANO    Operating      2118   10/22/2020   92554   ENTERGY                                           UTILITIES                                         $       720.76
ANO    Operating      2118   10/22/2020   92555   ENTERGY                                           UTILITIES                                         $       770.50
ANO    Operating      2118   10/22/2020   92556   ENTERGY                                           UTILITIES                                         $         6.97
ANO    Operating      2118   10/22/2020   92556   ENTERGY                                           SUBSIDY                                           $         6.97
ANO    Operating      2118   10/22/2020   92556   ENTERGY                                           MISCELLANEOUS RECEIVABLES                         $         6.97
ANO    Operating      2118   10/22/2020   92557   ENTERGY                                           UTILITIES                                         $     1,309.37
ANO    Operating      2118   10/22/2020   92557   ENTERGY                                           SUBSIDY                                           $       436.47
ANO    Operating      2118   10/22/2020   92557   ENTERGY                                           MISCELLANEOUS RECEIVABLES                         $       581.95
ANO    Operating      2118   10/22/2020   92558   EYECARE PROVIDERS LLC                             Active Priest Medical Expense ‐ Dental & Vision   $        65.00
ANO    Operating      2118   10/22/2020   92559   FEDEX                                             POSTAGE                                           $       102.26    Yes ‐ Akpoghiran
ANO    Operating      2118   10/22/2020   92559   FEDEX                                             POSTAGE                                           $        73.04
ANO    Operating      2118   10/22/2020   92559   FEDEX                                             CONSULTANT FEES                                   $       224.11
ANO    Operating      2118   10/22/2020   92559   FEDEX                                             POSTAGE                                           $        92.20
ANO    Operating      2118   10/22/2020   92560   FLOURISH COUNSELING & WELLNESS CENTER             FINANCIAL ASSISTANCE TO VICTIMS                   $       175.00
ANO    Operating      2118   10/22/2020   92560   FLOURISH COUNSELING & WELLNESS CENTER             FINANCIAL ASSISTANCE TO VICTIMS                   $       175.00
ANO    Operating      2118   10/22/2020   92561   GILBERT KELLY & COUTURIE INC.                     MISCELLANEOUS RECEIVABLES                         $       375.00
ANO    Operating      2118   10/22/2020   92562   Great Minds PBC                                   GRANT EXPENSES ‐ EEF                              $       442.70
ANO    Operating      2118   10/22/2020   92562   Great Minds PBC                                   GRANT EXPENSES ‐ EEF                              $        81.83
ANO    Operating      2118   10/22/2020   92562   Great Minds PBC                                   GRANT EXPENSES ‐ EEF                              $       327.30
ANO    Operating      2118   10/22/2020   92562   Great Minds PBC                                   GRANT EXPENSES ‐ EEF                              $       803.05
ANO    Operating      2118   10/22/2020   92562   Great Minds PBC                                   GRANT EXPENSES ‐ EEF                              $        27.80
ANO    Operating      2118   10/22/2020   92562   Great Minds PBC                                   GRANT EXPENSES ‐ EEF                              $       572.78
ANO    Operating      2118   10/22/2020   92563                                                     CONSULTANT FEES                                   $       600.00
ANO    Operating      2118   10/22/2020   92564   GUILLORY SHEET METAL WORKS INC                    REPAIRS & MAINTENANCE                             $       445.00
ANO    Operating      2118   10/22/2020   92564   GUILLORY SHEET METAL WORKS INC                    REPAIRS & MAINTENANCE                             $       320.00
ANO    Operating      2118   10/22/2020   92564   GUILLORY SHEET METAL WORKS INC                    REPAIRS & MAINTENANCE                             $       780.00
ANO    Operating      2118   10/22/2020   92564   GUILLORY SHEET METAL WORKS INC                    REPAIRS & MAINTENANCE ‐ BUILDING                  $       175.00
ANO    Operating      2118   10/22/2020   92565   GULF COAST OFFICE PRODUCTS                        XEROX COPIES                                      $        57.71
ANO    Operating      2118   10/22/2020   92565   GULF COAST OFFICE PRODUCTS                        XEROX COPIES                                      $        59.99
ANO    Operating      2118   10/22/2020   92565   GULF COAST OFFICE PRODUCTS                        XEROX COPIES                                      $        19.88
ANO    Operating      2118   10/22/2020   92565   GULF COAST OFFICE PRODUCTS                        XEROX COPIES                                      $        49.38
ANO    Operating      2118   10/22/2020   92565   GULF COAST OFFICE PRODUCTS                        XEROX COPIES                                      $       440.09
ANO    Operating      2118   10/22/2020   92565   GULF COAST OFFICE PRODUCTS                        XEROX COPIES                                      $        11.13
ANO    Operating      2118   10/22/2020   92566   HARAHAN DENTAL CARE LLC                           Active Priest Medical Expense ‐ Dental & Vision   $       881.90
ANO    Operating      2118   10/22/2020   92567   HELP AIR CONDITIONING & HEATING                   REPAIRS & MAINTENANCE                             $     2,990.00
ANO    Operating      2118   10/22/2020   92568   HOLLYWOOD DOOR CO INC                             REPAIRS & MAINTENANCE                             $       474.00    Yes ‐ Aymond
ANO    Operating      2118   10/22/2020   92569   HOME DEPOT PRO                                    HOUSEHOLD EXPENSES                                $       936.48
ANO    Operating      2118   10/22/2020   92570   INTERNATIONAL SOLUTIONS FOR GROWTH GROUP LLC      GRANT EXPENSES ‐ EEF                              $    12,000.00
ANO    Operating      2118   10/22/2020   92571                                                     Clearing                                          $       130.86
ANO    Operating      2118   10/22/2020   92572   J & J EXTERMINATING OF MANDEVILLE                 REPAIRS & MAINTENANCE                             $        73.80
ANO    Operating      2118   10/22/2020   92572   J & J EXTERMINATING OF MANDEVILLE                 REPAIRS & MAINTENANCE                             $        24.60
ANO    Operating      2118   10/22/2020   92572   J & J EXTERMINATING OF MANDEVILLE                 MISCELLANEOUS RECEIVABLES                         $        24.60
ANO    Operating      2118   10/22/2020   92573   JACK PETTY MARKETING & PROMOTIONS                 OFFICE SUPPLIES                                   $        21.78
ANO    Operating      2118   10/22/2020   92573   JACK PETTY MARKETING & PROMOTIONS                 OFFICE SUPPLIES                                   $        21.78
ANO    Operating      2118   10/22/2020   92574   JEWISH FAMILY SERVICE                             Retired Priest Plus Expense ‐ Miscellaneous       $        37.00
ANO    Operating      2118   10/22/2020   92574   JEWISH FAMILY SERVICE                             Active Priest Medical Expense ‐ Miscellaneous     $        64.95
ANO    Operating      2118   10/22/2020   92575                                                     SUPPLIES ‐ RETREATS                               $        29.28
ANO    Operating      2118   10/22/2020   92576                                                     ADVERTISING AND PROMOTION                         $       850.00
ANO    Operating      2118   10/22/2020   92577                                                     WORKSHOP EXPENSE                                  $       594.51
ANO    Operating      2118   10/22/2020   92578   JOSEPHUS ROBERT BARNES MD                         FINANCIAL ASSISTANCE TO VICTIMS                   $       125.00
ANO    Operating      2118   10/22/2020   92579   JOSEPHUS ROBERT BARNES MD                         FINANCIAL ASSISTANCE TO VICTIMS                   $       250.00
ANO    Operating      2118   10/22/2020   92580                                                     STAFF DEVELOPMENT                                 $        93.19
ANO    Operating      2118   10/22/2020   92580                                                     TELEPHONE EXPENSE                                 $        21.01
ANO    Operating      2118   10/22/2020   92580                                                     IT EQUIPMENT                                      $       874.95
ANO    Operating      2118   10/22/2020   92580                                                     IT EQUIPMENT                                      $       250.00
ANO    Operating      2118   10/22/2020   92581   KENTWOOD SPRINGS                                  COFFEE & SOFT DRINK                               $        24.75
ANO    Operating      2118   10/22/2020   92582   KENTWOOD SPRINGS                                  COFFEE & SOFT DRINK                               $        12.75
ANO    Operating      2118   10/22/2020   92583   KGLA RADIO TROPICAL                               ADVERTISING                                       $       600.00
ANO    Operating      2118   10/22/2020   92584   LA DEPT OF ENVIRONMENTAL QUALITY                  DUES & ASSESSMENTS                                $       291.00
ANO    Operating      2118   10/22/2020   92585   LCMC ‐ SBO                                        Active Priest Medical Expense ‐ Medical Co‐Pays   $       440.00
ANO    Operating      2118   10/22/2020   92586   LITURGY TRAINING PUBLICATIONS                     BOOKS & SUBSCRIPTION                              $       421.26
ANO    Operating      2118   10/22/2020   92587                                                     TEMPORARY HELP ‐ PRESENTERS                       $       350.00
ANO    Operating      2118   10/22/2020   92588   LOUISIANA OFFICE PRODUCTS INC                     OFFICE SUPPLIES                                   $       102.28
ANO    Operating      2118   10/22/2020   92589   LOUISIANA PUBLIC BROADCASTING                     GRANT EXPENSES ‐ EEF                              $     3,676.00
ANO    Operating      2118   10/22/2020   92590   MANIX COMPUTING SERVICES INC                      IT EQUIPMENT                                      $       150.00
ANO    Operating      2118   10/22/2020   92591                                                     MISC SCHOOL SUPPORT                               $       585.80
ANO    Operating      2118   10/22/2020   92591                                                     DESIGNATED FUNDS INTERNAL                         $       204.04
ANO    Operating      2118   10/22/2020   92591                                                     DESIGNATED FUNDS INTERNAL                         $     2,707.50
ANO    Operating      2118   10/22/2020   92592   NEW ORLEANS PEST MANAGEMENT                       CONTRACTED SERVICE                                $        60.00    Yes ‐ Cheri
ANO    Operating      2118   10/22/2020   92592   NEW ORLEANS PEST MANAGEMENT                       CONTRACTED SERVICE                                $       150.00
ANO    Operating      2118   10/22/2020   92593   NOTRE DAME SEMINARY                               SEMINARIAN ASSIST ‐ BOOKS AND RESOURCES           $   145,930.34
ANO    Operating      2118   10/22/2020   92594   OMNICARE OF NEW ORLEANS                           Retired Priest Plus Expense ‐ Medical Co‐Pays     $       225.49
ANO    Operating      2118   10/22/2020   92594   OMNICARE OF NEW ORLEANS                           Retired Priest Plus Expense ‐ Medical Co‐Pays     $        61.50
ANO    Operating      2118   10/22/2020   92594   OMNICARE OF NEW ORLEANS                           Retired Priest Plus Expense ‐ Medical Co‐Pays     $       217.37
ANO    Operating      2118   10/22/2020   92594   OMNICARE OF NEW ORLEANS                           Retired Priest Plus Expense ‐ Medical Co‐Pays     $        39.26
ANO    Operating      2118   10/22/2020   92595   OUR LADY OF PERPETUAL HELP SCHOOL                 GRANT EXPENSES ‐ EEF                              $    15,000.00
ANO    Operating      2118   10/22/2020   92596   OUR LADY OF PERPETUAL HELP SCHOOL (KENNER)        GRANT EXPENSES ‐ EEF                              $    10,000.00
ANO    Operating      2118   10/22/2020   92597   PITNEY BOWES GLOBAL                               POSTAGE                                           $      (422.85)
ANO    Operating      2118   10/22/2020   92597   PITNEY BOWES GLOBAL                               POSTAGE                                           $       366.14
ANO    Operating      2118   10/22/2020   92597   PITNEY BOWES GLOBAL                               POSTAGE                                           $       366.14
ANO    Operating      2118   10/22/2020   92598   PM MAINTENANCE INC                                CONTRACTED SERVICE                                $       225.00
ANO    Operating      2118   10/22/2020   92599                                                     COFFEE & SOFT DRINK                               $       270.06
ANO    Operating      2118   10/22/2020   92600                                                     TEMPORARY HELP ‐ PRESENTERS                       $       100.00
ANO    Operating      2118   10/22/2020   92601                                                     HOUSING COSTS ‐ PRIESTS                           $        48.86
ANO    Operating      2118   10/22/2020   92601                                                     REPAIRS & MAINTENANCE                             $       102.56
ANO    Operating      2118   10/22/2020   92601                                                     HOUSING COSTS ‐ PRIESTS                           $        35.20
ANO    Operating      2118   10/22/2020   92601                                                     OFFICE SUPPLIES                                   $        16.58
ANO    Operating      2118   10/22/2020   92601                                                     POSTAGE                                           $        11.00
ANO    Operating      2118   10/22/2020   92601                                                     OFFICE SUPPLIES                                   $       152.67
ANO    Operating      2118   10/22/2020   92601                                                     HOUSING COSTS ‐ PRIESTS                           $        40.97
ANO    Operating      2118   10/22/2020   92602                                                     Active Priest Medical Expense ‐ Medical Co‐Pays   $       348.00
ANO    Operating      2118   10/22/2020   92603                                                     Active Priest Medical Expense ‐ Medical Co‐Pays   $       171.13
ANO    Operating      2118   10/22/2020   92604                                                     Active Priest Medical Expense ‐ Medical Co‐Pays   $        91.50
ANO    Operating      2118   10/22/2020   92605   RICOH USA INC                                     XEROX COPIES                                      $       794.89
ANO    Operating      2118   10/22/2020   92605   RICOH USA INC                                     XEROX COPIES                                      $       620.37
ANO    Operating      2118   10/22/2020   92605   RICOH USA INC                                     XEROX COPIES                                      $        57.49
ANO    Operating      2118   10/22/2020   92606   SECURE SHREDDING & RECYCLING                      CONTRACTED SERVICE                                $        47.00
ANO    Operating      2118   10/22/2020   92607   Selection.com                                     CONSULTANT FEES                                   $        95.00
ANO    Operating      2118   10/22/2020   92608   SEWERAGE & WATER BOARD OF N.O.                    HOUSEHOLD UTILITIES                               $     1,335.87
ANO    Operating      2118   10/22/2020   92609   SEWERAGE & WATER BOARD OF N.O.                    HOUSEHOLD UTILITIES                               $       331.54
ANO    Operating      2118   10/22/2020   92609   SEWERAGE & WATER BOARD OF N.O.                    HOUSEHOLD UTILITIES                               $       228.55
ANO    Operating      2118   10/22/2020   92610   SEWERAGE & WATER BOARD OF N.O.                    HOUSEHOLD UTILITIES                               $        61.90
ANO    Operating      2118   10/22/2020   92611   SMH HOSPITAL                                      Retired Priest Plus Expense ‐ Medical Co‐Pays     $     1,670.00
ANO    Operating      2118   10/22/2020   92612   SOUTHERN ELECTR0NICS SUPPLY INC                   REPAIRS & MAINTENANCE                             $        44.44
ANO    Operating      2118   10/22/2020   92613   SOUTHERN NETWORKING SERVICES LLC                  IT EQUIPMENT                                      $     1,360.00
ANO    Operating      2118   10/22/2020   92614   SPECTRUM BUSINESS                                 TELEPHONE EXPENSE                                 $       659.49
ANO    Operating      2118   10/22/2020   92615   ST ANTHONY PRIORY                                 CONTRIBUTIONS ‐ COMMUNITY SERVICES                $       278.78
ANO    Operating      2118   10/22/2020   92615   ST ANTHONY PRIORY                                 AUTOMOBILE EXPENSE                                $        42.00
ANO    Operating      2118   10/22/2020   92615   ST ANTHONY PRIORY                                 HOUSEHOLD EXPENSES                                $         5.57
ANO    Operating      2118   10/22/2020   92615   ST ANTHONY PRIORY                                 CONTRIBUTIONS ‐ COMMUNITY SERVICES                $       242.93
ANO    Operating      2118   10/22/2020   92615   ST ANTHONY PRIORY                                 AUTOMOBILE EXPENSE                                $       222.70
ANO    Operating      2118   10/22/2020   92615   ST ANTHONY PRIORY                                 TELEPHONE EXPENSE                                 $        73.98
ANO    Operating      2118   10/22/2020   92615   ST ANTHONY PRIORY                                 BOOKS & SUBSCRIPTIONS                             $       339.00
ANO    Operating      2118   10/22/2020   92615   ST ANTHONY PRIORY                                 OFFICE SUPPLIES                                   $        56.75
ANO    Operating      2118   10/22/2020   92615   ST ANTHONY PRIORY                                 TRAVEL, MEALS & ENTERTAINMENT                     $        50.69
ANO    Operating      2118   10/22/2020   92615   ST ANTHONY PRIORY                                 CONTRIBUTIONS ‐ COMMUNITY SERVICES                $       894.99
ANO    Operating      2118   10/22/2020   92615   ST ANTHONY PRIORY                                 REPAIRS & MAINTENANCE                             $       184.77
ANO    Operating      2118   10/22/2020   92615   ST ANTHONY PRIORY                                 CONTRACTED SERVICE                                $       155.15
ANO    Operating      2118   10/22/2020   92616   ST CLEMENT OF ROME CHURCH                         OTHER FUNDS ON DEP                                $       434.00
ANO    Operating      2118   10/22/2020   92617   ST LEO THE GREAT SCHOOL                           GRANT EXPENSES ‐ EEF                              $     6,000.00
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 39 of
                                           103
ANO    Operating      2118   10/22/2020   92618   ST STEPHEN SCHOOL                            GRANT EXPENSES ‐ EEF                                       $      30,000.00
ANO    Operating      2118   10/22/2020   92619   STEWART & STEVENSON SERVICES INC             REPAIRS & MAINTENANCE                                      $       1,361.65
ANO    Operating      2118   10/22/2020   92620   SYSCO FOOD SERVICES OF NEW ORLEANS           KITCHEN FOOD                                               $          39.44
ANO    Operating      2118   10/22/2020   92620   SYSCO FOOD SERVICES OF NEW ORLEANS           KITCHEN SUPPLIES                                           $          40.07
ANO    Operating      2118   10/22/2020   92620   SYSCO FOOD SERVICES OF NEW ORLEANS           KITCHEN FOOD                                               $         (40.14)
ANO    Operating      2118   10/22/2020   92620   SYSCO FOOD SERVICES OF NEW ORLEANS           KITCHEN FOOD                                               $       1,743.35
ANO    Operating      2118   10/22/2020   92620   SYSCO FOOD SERVICES OF NEW ORLEANS           KITCHEN SUPPLIES                                           $         112.39
ANO    Operating      2118   10/22/2020   92620   SYSCO FOOD SERVICES OF NEW ORLEANS           KITCHEN FOOD ‐ RETREATS                                    $         642.81
ANO    Operating      2118   10/22/2020   92621                                                AUTOMOBILE EXPENSE                                         $         201.83
ANO    Operating      2118   10/22/2020   92622   TERMINIX                                     CONTRACTED SERVICE                                         $          84.00
ANO    Operating      2118   10/22/2020   92623   VOIP SUPPLY LLC                              IT EQUIPMENT                                               $         679.92
ANO    Operating      2118   10/22/2020   92624   W C CRESSON, INC                             HOUSEHOLD SUPPLIES                                         $         547.09
ANO    Operating      2118   10/22/2020   92625                                                AUTOMOBILE EXPENSE                                         $         894.61
ANO    Operating      2118   10/22/2020   92626   We All Asked for You Barbecue and Catering   DAYS OF PRAYER                                             $       1,748.00
ANO    Operating      2118   10/23/2020     N/A   St. Cather of Sienna Church                  DEPOSIT AND LOAN FUND                                      $       3,452.05
ANO    Operating      2118   10/23/2020     N/A   Catholic Foundation                          DEPOSIT AND LOAN FUND                                      $       1,000.00
ANO    Operating      2118   10/23/2020     N/A   Catholic Foundation                          DEPOSIT AND LOAN FUND                                      $       3,250.00
ANO    Operating      2118   10/23/2020     N/A   St. Mary Magdalen School                     DEPOSIT AND LOAN FUND                                      $      14,284.00
ANO    Operating      2118   10/26/2020     N/A   WRIGHT NATIONAL FLOOD INS CO                 PREPAID INSURANCE                                          $      (4,183.00)
ANO    Operating      2118   10/26/2020     N/A   EIF Loan Repayment from ANO General Fund     General Fund Loan to EIF                                   $     300,000.00
ANO    Operating      2118   10/26/2020     N/A   St. Agnes Parish                             Deposit & Loan System                                      $         360.36
ANO    Operating      2118   10/26/2020     N/A   Christopher Homes, Inc                       Deposit & Loan System                                      $     400,000.00
ANO    Operating      2118   10/26/2020     N/A   St. Patrick (NOLA)                           Deposit & Loan System                                      $      33,214.00
ANO    Operating      2118   10/26/2020     N/A   Aspiring Scholars                            DUES & ASSESSMENTS                                         $          15.00
ANO    Operating      2118   10/26/2020     N/A   Project Lazazrus                             DUES & ASSESSMENTS                                         $          30.00
ANO    Operating      2118   10/26/2020     N/A   Quickbooks                                   BOOKS & SUBSCRIPTIO                                        $       4,135.17
ANO    Operating      2118   10/26/2020     N/A   RubberStampChamp                             OFFICE SUPPLIES                                            $          79.77
ANO    Operating      2118   10/26/2020     N/A   SHRM & NOLA SHRM Membership                  BOOKS & SUBSCRIPTIONS                                      $         269.00
ANO    Operating      2118   10/27/2020     N/A   ANO FIRST BANK AND TRUST Account             10.27.20 FBT Transfer from Whitney Operating               $      85,000.00
ANO    Operating      2118   10/27/2020     N/A   St. Catherine of Sienna Parish               Deposit & Loan System                                      $     100,750.20
ANO    Operating      2118   10/27/2020     N/A   ANO Captive                                  Q1 2020 P&C Captive Premium Payment                        $   1,455,191.25
ANO    Operating      2118   10/27/2020     N/A   ANO Whitney Care & Compassion                ANO Whitney Care & Compassion                              $          53.98
ANO    Operating      2118   10/27/2020     N/A   ANO Whitney Self‐Insurance Account           P&C Self‐Insurance Checks 97365‐97412 Transfer             $      25,070.59
ANO    Operating      2118   10/28/2020     N/A   Holy Name of Jesus School                    Deposit & Loan System                                      $     219,330.73
ANO    Operating      2118   10/28/2020     N/A   St. Angela Merici School                     Deposit & Loan System                                      $     158,975.10
ANO    Operating      2118   10/28/2020     N/A   School Food Nutrition                        Deposit & Loan System                                      $     365,000.00
ANO    Operating      2118   10/28/2020     N/A   St. Patrick's (NOLA)                         Deposit & Loan System                                      $       6,133.50
ANO    Operating      2118   10/28/2020     N/A   St. Elizabeth Ann Seaton School              Deposit & Loan System                                      $     150,000.00
ANO    Operating      2118   10/30/2020     912   CATHOLIC MUTUAL GROUP                        PREPAID INSURANCE                                          $       2,745.00
ANO    Operating      2118   10/30/2020     912   CATHOLIC MUTUAL GROUP                        GENERAL LIABILITY                                          $     491,755.00
ANO    Operating      2118   10/30/2020     912   CATHOLIC MUTUAL GROUP                        PRIESTS AUTO                                               $      60,500.00
ANO    Operating      2118   10/30/2020     913                                                PRIESTS PENSION EXPENSE                                    $       1,594.23
ANO    Operating      2118   10/30/2020   92627   2878 Building Association, LLC               HEALTHY FAMILY                                             $         200.00
ANO    Operating      2118   10/30/2020   92628   ADT Commercial LLC                           CONTRACTED SERVICE                                         $         727.34
ANO    Operating      2118   10/30/2020   92628   ADT Commercial LLC                           REPAIRS & MAINTENANCE                                      $         205.48
ANO    Operating      2118   10/30/2020   92629                                                SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT                     $         160.00
ANO    Operating      2118   10/30/2020   92629                                                Deposit & Loan System                                      $         200.00
ANO    Operating      2118   10/30/2020   92630   AKT ENVIRONMENTAL SERVICES INC.              REPAIRS & MAINTENANCE                                      $       1,450.00
ANO    Operating      2118   10/30/2020   92631   AL J BOURGEOIS PLUMBING AND HEATING CO.      REPAIRS & MAINTENANCE                                      $         293.50
ANO    Operating      2118   10/30/2020   92631   AL J BOURGEOIS PLUMBING AND HEATING CO.      REPAIRS & MAINTENANCE                                      $         639.26
ANO    Operating      2118   10/30/2020   92632                                                ACCP EXPENSE                                               $         300.00
ANO    Operating      2118   10/30/2020   92633                                                ST JOSEPH SEMINARY                                         $         160.00
ANO    Operating      2118   10/30/2020   92634                                                SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT                     $         160.00
ANO    Operating      2118   10/30/2020   92635   ARCHIBALD L MELCHER IV LLC                   Active Priest Medical Expense ‐ Dental & Vision            $         210.00
ANO    Operating      2118   10/30/2020   92636   AT&T                                         PRIEST VACATION VILLA                                      $          34.29
ANO    Operating      2118   10/30/2020   92637   ATMOS ENERGY LOUISIANA                       HOUSING COSTS ‐ PRIESTS                                    $          25.77        Yes ‐ Akpoghiran
ANO    Operating      2118   10/30/2020   92638                                                SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT                     $         160.00
ANO    Operating      2118   10/30/2020   92639   BARCLAYS                                     OFFICE SUPPLIES                                            $          75.00
ANO    Operating      2118   10/30/2020   92639   BARCLAYS                                     SOCIAL FUNCTIONS                                           $         100.00
ANO    Operating      2118   10/30/2020   92640   BLESSED FRANCIS XAVIER SEELOS                RENT                                                       $         689.00
ANO    Operating      2118   10/30/2020   92641                                                SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT                     $         160.00
ANO    Operating      2118   10/30/2020   92642   BRIAN LEBON DDS                              Active Priest Medical Expense ‐ Dental & Vision            $         140.00
ANO    Operating      2118   10/30/2020   92643   BRISTER STEPHENS INC.                        REPAIRS & MAINTENANCE ‐ RETREATS                           $         200.00
ANO    Operating      2118   10/30/2020   92644   BUBBA'S PRODUCE CO                           KITCHEN FOOD                                               $          87.38
ANO    Operating      2118   10/30/2020   92645                                                SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT                     $         160.00
ANO    Operating      2118   10/30/2020   92646   CATHOLIC BOOK STORE                          UTILITIES                                                  $          25.00
ANO    Operating      2118   10/30/2020   92647   CATHOLIC COMMUNITY FOUNDATION                Clearing                                                   $      24,134.75
ANO    Operating      2118   10/30/2020   92648   CATHOLIC MUTUAL GROUP                        CONTRACTED SERVICE                                         $      69,000.00
ANO    Operating      2118   10/30/2020   92649   CDW GOVERNMENT INC                           REPAIRS & MAINTENANCE                                      $         173.44
ANO    Operating      2118   10/30/2020   92649   CDW GOVERNMENT INC                           IT EQUIPMENT                                               $       1,985.90
ANO    Operating      2118   10/30/2020   92650   CLARION HERALD                               LAY EMPLOYEES SALARY                                       $         775.00
ANO    Operating      2118   10/30/2020   92651   CLECO POWER LLC                              MISCELLANEOUS RECEIVABLES                                  $         354.06
ANO    Operating      2118   10/30/2020   92651   CLECO POWER LLC                              HOUSEHOLD UTILITIES                                        $       1,062.21
ANO    Operating      2118   10/30/2020   92651   CLECO POWER LLC                              UTILITIES                                                  $         354.06
ANO    Operating      2118   10/30/2020   92652   COMFORT SPECIALISTS                          REPAIRS & MAINTENANCE                                      $       2,800.00
ANO    Operating      2118   10/30/2020   92653   CONFERENCE OF CHANCERY & TRIBUNAL            DUES & ASSESSMENTS                                         $         350.00
ANO    Operating      2118   10/30/2020   92654                                                SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT                     $         160.00
ANO    Operating      2118   10/30/2020   92655   COX BUSINESS                                 TELEPHONE EXPENSE                                          $         221.81
ANO    Operating      2118   10/30/2020   92656   CROWN COFFEE SERVICE INC                     COFFEE & SOFT DRINK                                        $         232.87
ANO    Operating      2118   10/30/2020   92657                                                SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT                     $         160.00
ANO    Operating      2118   10/30/2020   92658                                                SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT                     $         160.00
ANO    Operating      2118   10/30/2020   92659                                                SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT                     $         160.00
ANO    Operating      2118   10/30/2020   92660                                                REPAIRS & MAINTENANCE                                      $          51.18
ANO    Operating      2118   10/30/2020   92661                                                SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT                     $         185.00
ANO    Operating      2118   10/30/2020   92662   DELL MARKETING L. P.                         REPAIRS & MAINTENANCE                                      $          73.99
ANO    Operating      2118   10/30/2020   92663                                                SUPPLIES ‐ RETREATS                                        $          82.65
ANO    Operating      2118   10/30/2020   92664   DEPARTMENT OF PUBLIC SAFETY                  FINGERPRINTING EXPENSE                                     $       2,590.50
ANO    Operating      2118   10/30/2020   92665   DIRTY LAUNDRY LLC                            CONTRACTED SERVICE ‐ BUILDING/JANITORIAL                   $         139.00
ANO    Operating      2118   10/30/2020   92665   DIRTY LAUNDRY LLC                            CONTRACTED SERVICE ‐ BUILDING/JANITORIAL                   $         178.12
ANO    Operating      2118   10/30/2020   92666   ED SMITH STENCIL WORKS LTD                   OFFICE SUPPLIES                                            $         338.53
ANO    Operating      2118   10/30/2020   92667                                                ST JOSEPH SEMINARY                                         $         160.00
ANO    Operating      2118   10/30/2020   92668   ENGRAVING CO                                 STATIONERY & PRINTING                                      $         163.80
ANO    Operating      2118   10/30/2020   92669   ENTERGY                                      UTILITIES                                                  $         255.90
ANO    Operating      2118   10/30/2020   92670   ENTERGY                                      UTILITIES                                                  $      12,824.16
ANO    Operating      2118   10/30/2020   92671   ENTERGY                                      HOUSEHOLD UTILITIES                                        $          19.87
ANO    Operating      2118   10/30/2020   92672   ENTERGY                                      HOUSEHOLD UTILITIES                                        $         190.47
ANO    Operating      2118   10/30/2020   92673   ENTERGY                                      HOUSEHOLD UTILITIES                                        $         953.37
ANO    Operating      2118   10/30/2020   92674   FIRE EXTINGUISHER                            SUBSIDY                                                    $         122.42
ANO    Operating      2118   10/30/2020   92675   FIRE EXTINGUISHER                            CONTRACTED SERVICE                                         $         514.44
ANO    Operating      2118   10/30/2020   92676   FRANCIS G MARTELLO DDS                       Retired Priest Plus Expense ‐ Dental & Vision              $         136.00
ANO    Operating      2118   10/30/2020   92677                                                REPAIRS & MAINTENANCE                                      $       1,150.00
ANO    Operating      2118   10/30/2020   92678                                                SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT                     $         160.00
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               SALARY REIMBURSEMENTS                                      $         754.73
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               SALARY REIMBURSEMENTS                                      $         604.84
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               OTHER RECEIVABLES                                          $         664.84
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS ‐ LAY                                 $       1,814.52
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS ‐ LAY                                 $         604.84
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS ‐ LAY                                 $       3,778.93
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS ‐ LAY                                 $       1,209.68
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS                                       $         604.84
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS                                       $         604.84
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS ‐ LAY                                 $         604.84
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS                                       $       1,209.68
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               Active Priest Medical Expense ‐ Health Insurance Premium   $     123,685.83
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS ‐ LAY                                 $         604.84
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               Retired Priest Plus Expense ‐ Health Insurance Premium     $       4,187.35
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS                                       $         604.84
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS                                       $       2,419.36
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               CAMP ABBEY                                                 $       1,814.52
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS                                       $         604.84
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS                                       $       1,814.52
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS                                       $       7,366.95
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS                                       $         604.84
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS                                       $       2,419.36
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS                                       $       1,209.68
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS                                       $         907.26
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS                                       $       4,838.72
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS                                       $       1,512.10
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS                                       $       1,209.68
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS                                       $         604.84
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS                                       $         604.84
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS                                       $       1,209.68
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS                                       $       3,024.20
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS                                       $       4,074.48
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS ‐ LAY                                 $         604.84
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               FRINGE BENEFIT COSTS                                       $         604.84
ANO    Operating      2118   10/30/2020   92679   GALLAGHER BENEFIT SERVICES INC               OTHER RECEIVABLES ‐ Medical insurance                      $      20,785.48
ANO    Operating      2118   10/30/2020   92680                                                HEALTHY FAMILY                                             $          49.99
ANO    Operating      2118   10/30/2020   92681   GENOVESE TRACTOR SERVICE LLC                 CONTRACTED SERVICE                                         $         125.00
ANO    Operating      2118   10/30/2020   92682                                                CONSULTANT FEES                                            $         750.00
ANO    Operating      2118   10/30/2020   92683   GUILLORY SHEET METAL WORKS INC               REPAIRS & MAINTENANCE                                      $         780.00
ANO    Operating      2118   10/30/2020   92683   GUILLORY SHEET METAL WORKS INC               REPAIRS & MAINTENANCE                                      $       2,873.00
ANO    Operating      2118   10/30/2020   92684   GUY GERARD CRESSON DDS                       Active Priest Medical Expense ‐ Dental & Vision            $         296.00
ANO    Operating      2118   10/30/2020   92685   H.C. Alexander Funeral Home                  PRIEST FUNERAL EXPENSE                                     $       9,587.10
ANO    Operating      2118   10/30/2020   92686                                                SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT                     $         160.00
ANO    Operating      2118   10/30/2020   92687                                                SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT                     $         160.00
ANO    Operating      2118   10/30/2020   92688   JEFFERSON PARISH DEPT OF WATER               HOUSEHOLD UTILITIES                                        $          11.95
ANO    Operating      2118   10/30/2020   92689   JEFFERSON PARISH DEPT OF WATER               HOUSEHOLD UTILITIES                                        $          11.95
ANO    Operating      2118   10/30/2020   92690                                                SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT                     $         160.00
ANO    Operating      2118   10/30/2020   92691   JESSICA HOF, MD                              SEMINARIAN ASSIST ‐ BOOKS AND RESOURCES                    $         125.00
ANO    Operating      2118   10/30/2020   92691   JESSICA HOF, MD                              SEMINARIAN ASSIST ‐ BOOKS AND RESOURCES                    $         165.00
ANO    Operating      2118   10/30/2020   92691   JESSICA HOF, MD                              SEMINARIAN ASSIST ‐ BOOKS AND RESOURCES                    $         125.00
ANO    Operating      2118   10/30/2020   92692                                                SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT                     $         195.00
ANO    Operating      2118   10/30/2020   92693                                                SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT                     $         160.00
ANO    Operating      2118   10/30/2020   92694                                                SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT                     $         160.00
ANO    Operating      2118   10/30/2020   92695                                                POSTAGE                                                    $          34.27
ANO    Operating      2118   10/30/2020   92696   KENTWOOD SPRINGS                             COFFEE & SOFT DRINK                                        $           7.65
ANO    Operating      2118   10/30/2020   92697                                                SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT                     $         160.00
ANO    Operating      2118   10/30/2020   92698   KIM E VANGEFFEN PHD                          CONSULTANT FEES                                            $       1,000.00
ANO    Operating      2118   10/30/2020   92699   KNOWBE4 INC                                  REPAIRS & MAINTENANCE                                      $       6,028.51
ANO    Operating      2118   10/30/2020   92700                                                SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT                     $         195.00
ANO    Operating      2118   10/30/2020   92701                                                SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT                     $         160.00
ANO    Operating      2118   10/30/2020   92702   LOUISIANA INTERCHURCH                        DUES ‐ LA INTERCHURCH CONFERENCE                           $       2,167.50
ANO    Operating      2118   10/30/2020   92703   LOUISIANA OFFICE PRODUCTS INC                OFFICE SUPPLIES                                            $         251.71
ANO    Operating      2118   10/30/2020   92704   MATER DOLOROSA APARTMENTS                    HOUSING COSTS ‐ PRIESTS                                    $         481.00
ANO    Operating      2118   10/30/2020   92705                                                SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT                     $         160.00
ANO    Operating      2118   10/30/2020   92706                                                REPAIRS & MAINTENANCE                                      $          18.55
ANO    Operating      2118   10/30/2020   92706                                                REPAIRS & MAINTENANCE                                      $         145.79
ANO    Operating      2118   10/30/2020   92706                                                IT EQUIPMENT                                               $          15.80
ANO    Operating      2118   10/30/2020   92707                                                Retired Priest Plus Expense ‐ Medical Co‐Pays              $         396.30
ANO    Operating      2118   10/30/2020   92708   Mullin                                       SUBSIDY                                                    $         738.88
ANO    Operating      2118   10/30/2020   92708   Mullin                                       CONTRACTED SERVICE                                         $         738.88
ANO    Operating      2118   10/30/2020   92709   NOTRE DAME SEMINARY                          SEMINARIAN ASSIST ‐ BOOKS AND RESOURCES                    $     145,930.34
ANO    Operating      2118   10/30/2020   92710   OCHSNER HOME MEDICAL EQUIPMENT               Active Priest Medical Expense ‐ Miscellaneous              $          85.41
ANO    Operating      2118   10/30/2020   92711   OPUS LEGALIS LLC                             POSTAGE                                                    $         128.00
ANO    Operating      2118   10/30/2020   92712   PAN AMERICAN LIFE INS COMPANY                FRINGE BENEFIT COSTS                                       $          27.10
ANO    Operating      2118   10/30/2020   92713   PAUL J LANE PHD                              FINANCIAL ASSISTANCE TO VICTIMS                            $         750.00
ANO    Operating      2118   10/30/2020   92714   PERFORMANCE FOODSERVICE CARD                 KITCHEN FOOD ‐ RETREATS                                    $       1,018.63
ANO    Operating      2118   10/30/2020   92715   PINNACLE SECURITY & INVESTIGATION INC        SECURITY                                                   $         713.16
ANO    Operating      2118   10/30/2020   92715   PINNACLE SECURITY & INVESTIGATION INC        SECURITY                                                   $         891.45
ANO    Operating      2118   10/30/2020   92715   PINNACLE SECURITY & INVESTIGATION INC        SECURITY                                                   $         891.45
ANO    Operating      2118   10/30/2020   92715   PINNACLE SECURITY & INVESTIGATION INC        SECURITY                                                   $         891.45
ANO    Operating      2118   10/30/2020   92715   PINNACLE SECURITY & INVESTIGATION INC        SECURITY                                                   $         891.45
ANO    Operating      2118   10/30/2020   92715   PINNACLE SECURITY & INVESTIGATION INC        SECURITY                                                   $         133.72
ANO    Operating      2118   10/30/2020   92716   PM MAINTENANCE INC                           CONTRACTED SERVICE                                         $         500.00
ANO    Operating      2118   10/30/2020   92717   PRECISION PSI INC                            REPAIRS & MAINTENANCE                                      $         441.25
ANO    Operating      2118   10/30/2020   92718   QUILL CORPORATION                            OFFICE SUPPLIES                                            $          65.25
ANO    Operating      2118   10/30/2020   92718   QUILL CORPORATION                            OFFICE SUPPLIES                                            $         114.80
ANO    Operating      2118   10/30/2020   92719                                                OFFICE SUPPLIES                                            $         175.77
ANO    Operating      2118   10/30/2020   92719                                                SPECIAL FUNCTIONS                                          $         253.82
ANO    Operating      2118   10/30/2020   92720   Retiree First                                Retired Priest Plus Expense ‐ Health Insurance Premium     $      16,182.55
ANO    Operating      2118   10/30/2020   92721                                                Retired Priest Plus Expense ‐ Medical Co‐Pays              $         189.53
ANO    Operating      2118   10/30/2020   92722                                                Retired Priest Plus Expense ‐ Medical Co‐Pays              $         354.03    *
ANO    Operating      2118   10/30/2020   92723                                                SEMINARIAN ASSIST ‐ INSURANCES AND MISC NEEDS              $          30.35
ANO    Operating      2118   10/30/2020   92723                                                PRIEST POLICY LIVING COSTS                                 $          50.51
ANO    Operating      2118   10/30/2020   92724                                                Active Priest Medical Expense ‐ Medical Co‐Pays            $         291.20
ANO    Operating      2118   10/30/2020   92725                                                Retired Priest Plus Expense ‐ Medical Co‐Pays              $       1,373.38
ANO    Operating      2118   10/30/2020   92726                                                Retired Priest Plus Expense ‐ Medical Co‐Pays              $         137.83
ANO    Operating      2118   10/30/2020   92726                                                Retired Priest Plus Expense ‐ Dental & Vision              $         240.00
ANO    Operating      2118   10/30/2020   92727                                                Active Priest Medical Expense ‐ Dental & Vision            $         342.59
ANO    Operating      2118   10/30/2020   92727                                                Active Priest Medical Expense ‐ Medical Co‐Pays            $          55.00
ANO    Operating      2118   10/30/2020   92728                                                Active Priest Medical Expense ‐ Medical Co‐Pays            $         138.38
ANO    Operating      2118   10/30/2020   92729                                                Active Priest Medical Expense ‐ Medical Co‐Pays            $         286.09
ANO    Operating      2118   10/30/2020   92729                                                Active Priest Medical Expense ‐ Dental & Vision            $         313.53
ANO    Operating      2118   10/30/2020   92730                                                Active Priest Medical Expense ‐ Medical Co‐Pays            $         241.19    *
ANO    Operating      2118   10/30/2020   92731                                                Active Priest Medical Expense ‐ Medical Co‐Pays            $          89.00
ANO    Operating      2118   10/30/2020   92732                                                Active Priest Medical Expense ‐ Medical Co‐Pays            $         178.36
ANO    Operating      2118   10/30/2020   92732                                                Active Priest Medical Expense ‐ Medical Co‐Pays            $          30.00
ANO    Operating      2118   10/30/2020   92733                                                HOUSING COSTS ‐ PRIESTS                                    $         260.05        Yes ‐ Akpoghiran
ANO    Operating      2118   10/30/2020   92734                                                Active Priest Medical Expense ‐ Medical Co‐Pays            $         577.90
ANO    Operating      2118   10/30/2020   92734                                                Active Priest Medical Expense ‐ Dental & Vision            $         175.00
ANO    Operating      2118   10/30/2020   92735                                                PRIESTS PENSION EXPENSE                                    $       1,615.22
ANO    Operating      2118   10/30/2020   92736   RICOH USA INC                                XEROX COPIES                                               $         559.28
ANO    Operating      2118   10/30/2020   92737                                                ST JOSEPH SEMINARY                                         $         160.00
ANO    Operating      2118   10/30/2020   92738                                                SPECIAL FUNCTIONS                                          $         341.61
ANO    Operating      2118   10/30/2020   92738                                                SPECIAL FUNCTIONS                                          $         655.99
ANO    Operating      2118   10/30/2020   92739                                                SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT                     $         160.00
ANO    Operating      2118   10/30/2020   92740   SERVIKLEEN JANITORIAL SERVICES               CONTRACTED SERVICE ‐ BUILDING/JANITORIAL                   $         293.32
ANO    Operating      2118   10/30/2020   92740   SERVIKLEEN JANITORIAL SERVICES               CONTRACTED SERVICE ‐ BUILDING/JANITORIAL                   $         275.00
ANO    Operating      2118   10/30/2020   92740   SERVIKLEEN JANITORIAL SERVICES               CONTRACTED SERVICE ‐ BUILDING/JANITORIAL                   $         293.32
ANO    Operating      2118   10/30/2020   92741   SEWERAGE & WATER BOARD OF N.O.               UTILITIES                                                  $       2,255.02
ANO    Operating      2118   10/30/2020   92742                                                OFFICE SUPPLIES                                            $          48.48
ANO    Operating      2118   10/30/2020   92743   SOUTHERN DOMINICAN PROVINCE                  FRINGE BENEFIT COSTS ‐ LAY                                 $         583.34
ANO    Operating      2118   10/30/2020   92744   SOUTHERN DOMINICAN PROVINCE                  FRINGE BENEFIT COSTS ‐ LAY                                 $         583.34
ANO    Operating      2118   10/30/2020   92745   SOUTHERN ELECTR0NICS SUPPLY INC              IT EQUIPMENT                                               $           3.71
ANO    Operating      2118   10/30/2020   92746   SOUTHLAND FIRE & SAFETY EQUIPMENT            REPAIRS & MAINTENANCE                                      $          74.43
ANO    Operating      2118   10/30/2020   92747   SPECTRUM BUSINESS                            TELEPHONE EXPENSE                                          $         324.97
ANO    Operating      2118   10/30/2020   92748   ST ANTHONY PRIORY                            PRIESTS & RELIGIOUS                                        $       2,555.00
ANO    Operating      2118   10/30/2020   92748   ST ANTHONY PRIORY                            FRINGE BENEFIT COSTS ‐ LAY                                 $       1,576.37
ANO    Operating      2118   10/30/2020   92748   ST ANTHONY PRIORY                            UNITED WAY WITHHOLDING                                     $         (50.00)
ANO    Operating      2118   10/30/2020   92748   ST ANTHONY PRIORY                            HOUSING COSTS ‐ PRIESTS                                    $         500.00
ANO    Operating      2118   10/30/2020   92749   ST ANTHONY PRIORY                            Deposit & Loan System                                      $         180.30
ANO    Operating      2118   10/30/2020   92749   ST ANTHONY PRIORY                            TELEPHONE EXPENSE                                          $         127.46
ANO    Operating      2118   10/30/2020   92749   ST ANTHONY PRIORY                            BOOKS & SUBSCRIPTIONS                                      $         325.01
ANO    Operating      2118   10/30/2020   92750   ST ANTHONY PRIORY                            TELEPHONE EXPENSE                                          $         151.96
ANO    Operating      2118   10/30/2020   92750   ST ANTHONY PRIORY                            ADVERTISING                                                $          71.34
ANO    Operating      2118   10/30/2020   92750   ST ANTHONY PRIORY                            ADVERTISING                                                $         100.00
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 40 of
                                           103
ANO    Operating                  2118   10/30/2020                                  92750   ST ANTHONY PRIORY                       ADVERTISING                                                    $        29.00
ANO    Operating                  2118   10/30/2020                                  92750   ST ANTHONY PRIORY                       RENT                                                           $        65.85
ANO    Operating                  2118   10/30/2020                                  92750   ST ANTHONY PRIORY                       BOOKS & SUBSCRIPTIONS                                          $        49.95
ANO    Operating                  2118   10/30/2020                                  92750   ST ANTHONY PRIORY                       BOOKS & SUBSCRIPTIONS                                          $        80.00
ANO    Operating                  2118   10/30/2020                                  92750   ST ANTHONY PRIORY                       BOOKS & SUBSCRIPTIONS                                          $        32.82
ANO    Operating                  2118   10/30/2020                                  92750   ST ANTHONY PRIORY                       BOOKS & SUBSCRIPTIONS                                          $        53.99
ANO    Operating                  2118   10/30/2020                                  92751   ST ANTHONY'S GARDENS                    Retired Priest Plus Expense ‐ Medical Co‐Pays                  $     5,250.00
ANO    Operating                  2118   10/30/2020                                  92751   ST ANTHONY'S GARDENS                    Retired Priest Plus Expense ‐ Medical Co‐Pays                  $     5,070.00
ANO    Operating                  2118   10/30/2020                                  92751   ST ANTHONY'S GARDENS                    Retired Priest Plus Expense ‐ Medical Co‐Pays                  $     4,375.00
ANO    Operating                  2118   10/30/2020                                  92751   ST ANTHONY'S GARDENS                    Retired Priest Plus Expense ‐ Medical Co‐Pays                  $     5,070.00
ANO    Operating                  2118   10/30/2020                                  92752   ST MICHAEL SPECIAL SCHOOL               SCHOOL FUNDRAISING/SOCIAL SUPPORT                              $       500.00
ANO    Operating                  2118   10/30/2020                                  92753   ST PIUS X CHURCH (NEW ORLEANS)          PRIESTS & RELIGIOUS                                            $     1,325.50
ANO    Operating                  2118   10/30/2020                                  92753   ST PIUS X CHURCH (NEW ORLEANS)          FRINGE BENEFIT COSTS ‐ LAY                                     $       166.67
ANO    Operating                  2118   10/30/2020                                  92754   ST TAMMANY PARISH HOSPITAL              Active Priest Medical Expense ‐ Medical Co‐Pays                $        30.00
ANO    Operating                  2118   10/30/2020                                  92755   ST. ANTHONY PRIORY                      FRINGE BENEFIT COSTS ‐ LAY                                     $     1,576.33
ANO    Operating                  2118   10/30/2020                                  92755   ST. ANTHONY PRIORY                      PRIESTS & RELIGIOUS                                            $     2,522.00
ANO    Operating                  2118   10/30/2020                                  92756   SYSCO FOOD SERVICES OF NEW ORLEANS      KITCHEN FOOD                                                   $       505.66
ANO    Operating                  2118   10/30/2020                                  92756   SYSCO FOOD SERVICES OF NEW ORLEANS      KITCHEN SUPPLIES                                               $       191.05
ANO    Operating                  2118   10/30/2020                                  92757   TRANSFIGURATION OF THE LORD             RENT                                                           $     2,500.00
ANO    Operating                  2118   10/30/2020                                  92758                                           SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT                         $       160.00
ANO    Operating                  2118   10/30/2020                                  92759   Uniti Fiber                             TELEPHONE EXPENSE                                              $       197.76
ANO    Operating                  2118   10/30/2020                                  92760   USCCB COMMUNICATIONS                    BOOKS & SUBSCRIPTION                                           $     1,619.23
ANO    Operating                  2118   10/30/2020                                  92761   VI COMMUNICATIONS INC                   IT EQUIPMENT                                                   $       264.00
ANO    Operating                  2118   10/30/2020                                  92762   VIANNEY VOCATIONS                       ADVERTISING AND PROMOTION                                      $     4,068.25
ANO    Operating                  2118   10/30/2020                                  92763   Wasabi Technologies, Inc.               REPAIRS & MAINTENANCE                                          $     4,023.56
ANO    Operating                  2118   10/30/2020                                  92764                                           SEMINARIAN ASSIST ‐ MEALS MISC SUPPORT                         $       160.00
ANO    Operating                  2118   10/30/2020                                  92765   WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                              $     4,183.00
ANO    Operating                  2118   10/30/2020                                  92766   WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                              $     4,298.00
ANO    Operating                  2118   10/30/2020                                  92767   WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                              $     2,365.00
ANO    Operating                  2118   10/30/2020                                  92768   WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                              $     2,559.00
ANO    Operating                  2118   10/30/2020                                  92768   WRIGHT NATIONAL FLOOD INS CO            PREPAID INSURANCE                                              $     3,016.00
ANO    Operating                  2118   10/30/2020                                  92769                                           STAFF DEVELOPMENT                                              $       408.00
ANO    Operating                  2118   10/30/2020                                  92770   CDW GOVERNMENT INC                      IT EQUIPMENT                                                   $    45,000.50
ANO    Operating                  2118   10/30/2020                                  92771   CHURCH SUPPLY HOUSE                     LITURGICAL SUPPLIES                                            $       115.96
ANO    Operating                  2118   10/30/2020                                  92771   CHURCH SUPPLY HOUSE                     LITURGICAL SUPPLIES                                            $        23.22
ANO    Operating                  2118   10/30/2020                                  92772   COX COMMUNICATIONS                      HOUSEHOLD UTILITIES                                            $       175.90    Yes ‐ Aymond
ANO    Operating                  2118   10/30/2020                                  92773                                           CONTRIBUTIONS                                                  $       350.00
ANO    Operating                  2118   10/30/2020                                  92774   DELL MARKETING L. P.                    IT EQUIPMENT                                                   $       767.43
ANO    Operating                  2118   10/30/2020                                  92775   ENHANCING BEAUTIFUL MINDS LLC           GRANT EXPENSES ‐ EEF                                           $    14,800.00
ANO    Operating                  2118   10/30/2020                                  92776   ENTERGY                                 HOUSEHOLD UTILITIES                                            $     4,804.65
ANO    Operating                  2118   10/30/2020                                  92776   ENTERGY                                 HOUSEHOLD UTILITIES                                            $        33.11
ANO    Operating                  2118   10/30/2020                                  92777   ENTERGY                                 HOUSEHOLD UTILITIES                                            $       612.75
ANO    Operating                  2118   10/30/2020                                  92778   ENTERGY                                 HOUSEHOLD EXPENSES                                             $       422.30    Yes ‐ Cheri
ANO    Operating                  2118   10/30/2020                                  92779   ENTERGY                                 HOUSEHOLD UTILITIES                                            $        28.84
ANO    Operating                  2118   10/30/2020                                  92780   FAXLOGIC, LLC                           IT EQUIPMENT                                                   $     1,578.14
ANO    Operating                  2118   10/30/2020                                  92781   GUILLORY SHEET METAL WORKS INC          REPAIRS & MAINTENANCE                                          $       402.00    Yes ‐ Aymond
ANO    Operating                  2118   10/30/2020                                  92781   GUILLORY SHEET METAL WORKS INC          REPAIRS & MAINTENANCE                                          $       125.00    Yes ‐ Aymond
ANO    Operating                  2118   10/30/2020                                  92781   GUILLORY SHEET METAL WORKS INC          REPAIRS & MAINTENANCE                                          $       192.00    Yes ‐ Aymond
ANO    Operating                  2118   10/30/2020                                  92782                                           REPAIRS & MAINTENANCE                                          $        31.31
ANO    Operating                  2118   10/30/2020                                  92782                                           REPAIRS & MAINTENANCE                                          $       147.20
ANO    Operating                  2118   10/30/2020                                  92783   HERITAGE ELECTRICAL CO INC              REPAIRS & MAINTENANCE                                          $       580.00    Yes ‐ Aymond
ANO    Operating                  2118   10/30/2020                                  92784   HOME DEPOT PRO                          HOUSEHOLD EXPENSES                                             $       241.52
ANO    Operating                  2118   10/30/2020                                  92785                                           CONTRIBUTIONS                                                  $       350.00
ANO    Operating                  2118   10/30/2020                                  92786                                           CONTRIBUTIONS                                                  $       350.00
ANO    Operating                  2118   10/30/2020                                  92787   KENTWOOD SPRINGS                        COFFEE & SOFT DRINK EXPENSE                                    $       144.84    Yes ‐ Aymond
ANO    Operating                  2118   10/30/2020                                  92787   KENTWOOD SPRINGS                        COFFEE & SOFT DRINK EXPENSE                                    $       345.43
ANO    Operating                  2118   10/30/2020                                  92787   KENTWOOD SPRINGS                        HOUSEHOLD EXPENSES                                             $         7.66
ANO    Operating                  2118   10/30/2020                                  92788                                           REPAIRS & MAINTENANCE                                          $       590.00
ANO    Operating                  2118   10/30/2020                                  92789                                           CONTRIBUTIONS                                                  $       350.00
ANO    Operating                  2118   10/30/2020                                  92790                                           CONTRIBUTIONS                                                  $       350.00
ANO    Operating                  2118   10/30/2020                                  92791   MAYEUX S A/C & HEATING LLC              REPAIRS & MAINTENANCE                                          $       771.00
ANO    Operating                  2118   10/30/2020                                  92792                                           AUTOMOBILE EXPENSE                                             $       547.63
ANO    Operating                  2118   10/30/2020                                  92793   NASHVILLE CHEMICAL & EQUIPMENT CO INC   REPAIRS & MAINTENANCE                                          $       328.35    Yes ‐ Aymond
ANO    Operating                  2118   10/30/2020                                  92794   NEW ORLEANS PEST MANAGEMENT             REPAIRS & MAINTENANCE                                          $        60.00    Yes ‐ Aymond
ANO    Operating                  2118   10/30/2020                                  92795                                           HOUSING COSTS ‐ PRIESTS                                        $        36.70
ANO    Operating                  2118   10/30/2020                                  92795                                           OFFICE SUPPLIES                                                $        85.74
ANO    Operating                  2118   10/30/2020                                  92796                                           CONTRIBUTIONS                                                  $       350.00
ANO    Operating                  2118   10/30/2020                                  92797                                           AUTOMOBILE EXPENSE                                             $       109.83
ANO    Operating                  2118   10/30/2020                                  92798                                           CONTRIBUTIONS                                                  $       350.00
ANO    Operating                  2118   10/30/2020                                  92799                                           CONTRIBUTIONS                                                  $       350.00
ANO    Operating                  2118   10/30/2020                                  92800                                           CONTRIBUTIONS                                                  $       350.00
ANO    Operating                  2118   10/30/2020                                  92801   Uniti Fiber                             TELEPHONE EXPENSE                                              $     1,232.71
ANO    Operating                  2118   10/30/2020                                  92801   Uniti Fiber                             IT EQUIPMENT                                                   $     3,972.50
ANO    Operating                  2118   10/30/2020                                  92801   Uniti Fiber                             IT EQUIPMENT                                                   $     3,037.50
ANO    Operating                  2118   10/30/2020                                  92801   Uniti Fiber                             IT EQUIPMENT                                                   $     9,017.17
ANO    Operating                  2118   10/30/2020                                  92801   Uniti Fiber                             IT EQUIPMENT                                                   $     4,228.75
ANO    Operating                  2118   10/30/2020                                  92801   Uniti Fiber                             IT EQUIPMENT                                                   $    17,717.26
ANO    Operating                  2118   10/30/2020                                    N/A   St. Agnes Parish                        Deposit & Loan System                                          $     6,854.00
ANO    Operating                  2118   10/30/2020                                    N/A   St. Anthony of Padua (Luling)           Deposit & Loan System                                          $    13,500.00
ANO    Operating                  2118   10/30/2020                                    N/A   St. Scholastica                         Deposit & Loan System                                          $    12,649.50
ANO    Operating                  2118   10/30/2020                                    914   MARIANITES OF HOLY CROSS                PRIESTS & RELIGIOUS                                            $     1,530.00
ANO    Operating                  2118   10/30/2020                                    915   SISTERS OF MOUNT CARMEL                 PRIESTS & RELIGIOUS                                            $     2,564.58
ANO    Operating                  2118   10/30/2020                                    915   SISTERS OF MOUNT CARMEL                 FRINGE BENEFIT COSTS ‐ LAY                                     $       470.67
ANO    Operating                  2118   10/30/2020                                    915   SISTERS OF MOUNT CARMEL                 PRIESTS & RELIGIOUS                                            $     4,161.60
ANO    Operating                  2118   10/30/2020                                    915   SISTERS OF MOUNT CARMEL                 FRINGE BENEFIT COSTS ‐ RELIGIOUS                               $     1,122.46
ANO    Operating                  2118   10/30/2020                                    916   SOUTHERN DOMINICAN PROVINCE             PRIESTS & RELIGIOUS                                            $     2,333.34
ANO    Operating                  2118   10/30/2020                                    916   SOUTHERN DOMINICAN PROVINCE             FRINGE BENEFIT COSTS ‐ LAY                                     $       554.40
ANO    Operating                  2118   10/30/2020                                    917                                           HOUSING COSTS ‐ PRIESTS                                        $       500.00
ANO    Operating                  2118   10/30/2020                                    918                                           HOUSING COSTS ‐ PRIESTS                                        $       500.00
ANO    Operating                  2118   10/30/2020                                    919                                           SEMINARIAN ASSIST ‐ INSURANCES AND MISC NEEDS                  $       723.93
ANO    Operating                  2118   10/30/2020                                    925                                           FRINGE BENEFIT COSTS                                           $       600.00    Yes ‐ Aymond
ANO    Operating                  2118   10/30/2020                                    926                                           FRINGE BENEFIT COSTS                                           $       600.00
ANO    Operating                  2118   10/30/2020                                    927                                           FRINGE BENEFIT COSTS                                           $       600.00
ANO    Operating                  2118   10/30/2020                                    928                                           FRINGE BENEFIT COSTS                                           $       600.00
ANO    Operating                  2118   10/30/2020                                    929                                           FRINGE BENEFIT COSTS                                           $       600.00
ANO    Operating                  2118   10/30/2020                                    930                                           SALARY REIMBURSEMENTS                                          $       600.00
ANO    Operating                  2118   10/30/2020                                    931                                           SALARY REIMBURSEMENTS                                          $       600.00
ANO    Operating                  2118   10/30/2020                                    932                                           FRINGE BENEFIT COSTS                                           $       600.00
ANO    Operating                  2118   10/30/2020                                    933                                           SALARY REIMBURSEMENTS                                          $       600.00
ANO    Operating                  2118   10/30/2020                                    934                                           SALARY REIMBURSEMENTS                                          $       600.00
ANO    Operating                  2118   10/30/2020                                    935                                           FRINGE BENEFIT COSTS                                           $       600.00
ANO    Operating                  2118   10/30/2020                                    936                                           FRINGE BENEFIT COSTS                                           $       600.00
ANO    Operating                  2118   10/30/2020                                    937                                           FRINGE BENEFIT COSTS                                           $       600.00
ANO    Operating                  2118   10/30/2020                                    938                                           SALARY REIMBURSEMENTS                                          $       600.00
ANO    Operating                  2118   10/30/2020                                    939                                           FRINGE BENEFIT COSTS                                           $       600.00
ANO    Operating                  2118   10/30/2020                                    940                                           FRINGE BENEFIT COSTS                                           $       600.00
ANO    Operating                  2118   10/30/2020                                    941                                           SALARY REIMBURSEMENTS                                          $       600.00
ANO    Operating                  2118   10/30/2020                                    942                                           FRINGE BENEFIT COSTS                                           $       600.00
ANO    Operating                  2118   10/30/2020                                    943                                           SALARY REIMBURSEMENTS                                          $       600.00
ANO    Operating                  2118   10/30/2020                                    944                                           SALARY REIMBURSEMENTS                                          $       600.00
ANO    Operating                  2118   10/30/2020                                    945                                           SALARY REIMBURSEMENTS                                          $       600.00
ANO    Operating                  2118   10/30/2020                                    946                                           FRINGE BENEFIT COSTS                                           $       600.00
ANO    Operating                  2118   10/30/2020                                    947                                           SALARY REIMBURSEMENTS                                          $       600.00
ANO    Operating                  2118   10/30/2020                                    948                                           FRINGE BENEFIT COSTS                                           $       600.00    Yes ‐ Akpoghiran
ANO    Operating                  2118   10/30/2020                                    949                                           FRINGE BENEFIT COSTS                                           $       600.00
ANO    Operating                  2118   10/30/2020                                    950                                           FRINGE BENEFIT COSTS                                           $       600.00
ANO    Operating                  2118   10/30/2020                                    951                                           FRINGE BENEFIT COSTS                                           $       600.00
ANO    Operating                  2118   10/30/2020                                    952                                           FRINGE BENEFIT COSTS                                           $       300.00
ANO    Operating                  2118   10/30/2020                                    953                                           SALARY REIMBURSEMENTS                                          $       600.00
ANO    Operating                  2118   10/30/2020                                    954                                           SALARY REIMBURSEMENTS                                          $       600.00
ANO    Operating                  2118   10/30/2020                                    955                                           FRINGE BENEFIT COSTS                                           $       600.00
ANO    Operating                  2118   10/30/2020                                    956                                           SALARY REIMBURSEMENTS                                          $       600.00
ANO    Operating                  2118   10/30/2020                                    957                                           FRINGE BENEFIT COSTS                                           $       600.00
ANO    Operating                  2118   10/30/2020                                    958                                           FRINGE BENEFIT COSTS                                           $       600.00
ANO    Operating                  2118   10/30/2020                                    959                                           FRINGE BENEFIT COSTS                                           $       600.00
ANO    Operating                  2118   10/30/2020                                    960                                           FRINGE BENEFIT COSTS                                           $       600.00
ANO    Operating                  2118   10/30/2020                                    961                                           FRINGE BENEFIT COSTS                                           $       600.00
ANO    Operating                  2118   10/30/2020                                    962                                           SALARY REIMBURSEMENTS                                          $       600.00
ANO    Operating                  2118   10/30/2020                                    963                                           FRINGE BENEFIT COSTS                                           $       600.00
ANO    Operating                  2118   10/30/2020                                    964                                           PRIESTS & RELIGIOUS                                            $     1,960.63
ANO    Operating                  2118   10/30/2020                                    964                                           FRINGE BENEFIT COSTS ‐ LAY                                     $       300.00
ANO    Operating                  2118   10/30/2020                                    965                                           PRIESTS PENSION EXPENSE                                        $     2,786.07
ANO    Operating                  2118   10/30/2020                                    966                                           PRIESTS PENSION EXPENSE                                        $     2,777.33
ANO    Operating                  2118   10/30/2020                                    967                                           PRIESTS PENSION EXPENSE                                        $     2,393.10
ANO    Operating                  2118   10/30/2020                                    967                                           Retired Priest Plus Expense ‐ Miscellaneous                    $       104.90
ANO    Operating                  2118   10/30/2020                                    968                                           Retired Priest Plus Expense ‐ Miscellaneous                    $       134.00
ANO    Operating                  2118   10/30/2020                                    968                                           PROPERTY RENTAL INC                                            $    (1,429.20)
ANO    Operating                  2118   10/30/2020                                    968                                           PRIESTS PENSION EXPENSE                                        $     2,397.53
ANO    Operating                  2118   10/30/2020                                    969                                           PRIESTS PENSION EXPENSE                                        $     2,773.79
ANO    Operating                  2118   10/30/2020                                    969                                           Retired Priest Plus Expense ‐ Miscellaneous                    $        99.90
ANO    Operating                  2118   10/30/2020                                    970                                           PRIESTS PENSION EXPENSE                                        $     2,647.82
ANO    Operating                  2118   10/30/2020                                    971                                           PRIESTS PENSION EXPENSE                                        $     2,382.00
ANO    Operating                  2118   10/30/2020                                    972                                           PRIESTS PENSION EXPENSE                                        $     2,404.72
ANO    Operating                  2118   10/30/2020                                    973                                           PRIESTS PENSION EXPENSE                                        $     2,399.42
ANO    Operating                  2118   10/30/2020                                    974                                           PRIESTS PENSION EXPENSE                                        $     2,394.57
ANO    Operating                  2118   10/30/2020                                    974                                           Retired Priest Plus Expense ‐ Miscellaneous                    $       144.60
ANO    Operating                  2118   10/30/2020                                    975                                           Retired Priest Plus Expense ‐ Medical Co‐Pays                  $    (2,697.54)
ANO    Operating                  2118   10/30/2020                                    975                                           PRIESTS PENSION EXPENSE                                        $     2,780.97
ANO    Operating                  2118   10/30/2020                                    976                                           PRIESTS PENSION EXPENSE                                        $     2,628.08
ANO    Operating                  2118   10/30/2020                                    976                                           Retired Priest Plus Expense ‐ Miscellaneous                    $       144.60
ANO    Operating                  2118   10/30/2020                                    977                                           Retired Priest Plus Expense ‐ Miscellaneous                    $       104.90
ANO    Operating                  2118   10/30/2020                                    977                                           PRIESTS PENSION EXPENSE                                        $     2,394.92
ANO    Operating                  2118   10/30/2020                                    978                                           PRIESTS PENSION EXPENSE                                        $     2,451.92
ANO    Operating                  2118   10/30/2020                                    978                                           Retired Priest Plus Expense ‐ Miscellaneous                    $       135.50
ANO    Operating                  2118   10/30/2020                                    979                                           Retired Priest Plus Expense ‐ Miscellaneous                    $       135.50
ANO    Operating                  2118   10/30/2020                                    979                                           PRIESTS PENSION EXPENSE                                        $     2,477.81
ANO    Operating                  2118   10/30/2020                                    980                                           PRIESTS PENSION EXPENSE                                        $     2,400.51
ANO    Operating                  2118   10/30/2020                                    980                                           Retired Priest Plus Expense ‐ Miscellaneous                    $        96.50
ANO    Operating                  2118   10/30/2020                                    981                                           Retired Priest Plus Expense ‐ Miscellaneous                    $        54.00
ANO    Operating                  2118   10/30/2020                                    981                                           Retired Priest Plus Expense ‐ Medical Co‐Pays                  $    (2,322.21)
ANO    Operating                  2118   10/30/2020                                    981                                           PRIESTS PENSION EXPENSE                                        $     2,394.03
ANO    Operating                  2118   10/30/2020                                    982                                           PRIESTS PENSION EXPENSE                                        $     2,392.56
ANO    Operating                  2118   10/30/2020                                    983                                           PRIESTS PENSION EXPENSE                                        $     2,384.54
ANO    Operating                  2118   10/30/2020                                    983                                           PROPERTY RENTAL INC                                            $    (1,429.20)
ANO    Operating                  2118   10/30/2020                                    984                                           Retired Priest Plus Expense ‐ Medical Co‐Pays                  $    (2,310.54)
ANO    Operating                  2118   10/30/2020                                    984                                           PRIESTS PENSION EXPENSE                                        $     2,382.00
ANO    Operating                  2118   10/30/2020                                    985                                           PRIESTS PENSION EXPENSE                                        $     2,533.54
ANO    Operating                  2118   10/30/2020                                    985                                           Retired Priest Plus Expense ‐ Miscellaneous                    $       144.60
ANO    Operating                  2118   10/30/2020                                    986                                           PRIESTS PENSION EXPENSE                                        $     1,856.05
ANO    Operating                  2118   10/30/2020                                    986                                           Retired Priest Plus Expense ‐ Miscellaneous                    $       135.50
ANO    Operating                  2118   10/30/2020                                    987                                           PRIESTS PENSION EXPENSE                                        $     2,711.81
ANO    Operating                  2118   10/30/2020                                    987                                           Retired Priest Plus Expense ‐ Miscellaneous                    $       250.00
ANO    Operating                  2118   10/30/2020                                    988                                           PRIESTS PENSION EXPENSE                                        $     2,739.80
ANO    Operating                  2118   10/30/2020                                    989                                           PRIESTS PENSION EXPENSE                                        $     2,480.44
ANO    Operating                  2118   10/30/2020                                    989                                           Retired Priest Plus Expense ‐ Medical Co‐Pays                  $    (2,406.03)
ANO    Operating                  2118   10/30/2020                                    989                                           Retired Priest Plus Expense ‐ Miscellaneous                    $       135.50
ANO    Operating                  2118   10/30/2020                                    990                                           Retired Priest Plus Expense ‐ Miscellaneous                    $       144.60
ANO    Operating                  2118   10/30/2020                                    990                                           PRIESTS PENSION EXPENSE                                        $     2,449.26
ANO    Operating                  2118   10/30/2020                                    991                                           PRIESTS PENSION EXPENSE                                        $     2,789.06
ANO    Operating                  2118   10/30/2020                                    991                                           PROPERTY RENTAL INC                                            $    (1,429.20)
ANO    Operating                  2118   10/30/2020                                    992                                           Retired Priest Plus Expense ‐ Miscellaneous                    $       144.60
ANO    Operating                  2118   10/30/2020                                    992                                           PRIESTS PENSION EXPENSE                                        $     2,788.19
ANO    Operating                  2118   10/30/2020                                    993                                           PRIESTS PENSION EXPENSE                                        $     2,787.07
ANO    Operating                  2118   10/30/2020                                    993                                           Retired Priest Plus Expense ‐ Miscellaneous                    $       108.00
ANO    Operating                  2118   10/30/2020                                    994                                           Retired Priest Plus Expense ‐ Miscellaneous                    $       144.60
ANO    Operating                  2118   10/30/2020                                    994                                           PRIESTS PENSION EXPENSE                                        $     2,786.08
ANO    Operating                  2118   10/30/2020                                    995                                           PRIESTS PENSION EXPENSE                                        $     1,000.00
ANO    Operating                  2118   10/30/2020                                    996                                           PRIESTS PENSION EXPENSE                                        $     2,747.08
ANO    Operating                  2118   10/30/2020                                    996                                           Retired Priest Plus Expense ‐ Miscellaneous                    $       104.90
ANO    Operating                  2118   10/30/2020                                    997                                           Retired Priest Plus Expense ‐ Miscellaneous                    $       135.50
ANO    Operating                  2118   10/30/2020                                    997                                           PROPERTY RENTAL INC                                            $    (1,429.20)
ANO    Operating                  2118   10/30/2020                                    997                                           PRIESTS PENSION EXPENSE                                        $     2,771.05
ANO    Operating                  2118   10/30/2020                                    998                                           PRIESTS PENSION EXPENSE                                        $     2,501.32
ANO    Operating                  2118   10/30/2020                                    999                                           PRIESTS PENSION EXPENSE                                        $     2,618.90
ANO    Operating                  2118   10/30/2020                                   1000                                           PRIESTS PENSION EXPENSE                                        $     2,509.29
ANO    Operating                  2118   10/30/2020                                   1000                                           Retired Priest Plus Expense ‐ Miscellaneous                    $       144.60
ANO    Operating                  2118   10/30/2020                                   1001                                           Retired Priest Plus Expense ‐ Miscellaneous                    $       116.00
ANO    Operating                  2118   10/30/2020                                   1001                                           PROPERTY RENTAL INC                                            $    (1,429.20)
ANO    Operating                  2118   10/30/2020                                   1001                                           PRIESTS PENSION EXPENSE                                        $     2,142.56
ANO    Operating                  2118   10/30/2020                                   1002                                           PRIESTS PENSION EXPENSE                                        $     2,778.51
ANO    Operating                  2118   10/30/2020                                   1002                                           Retired Priest Plus Expense ‐ Miscellaneous                    $       135.50
ANO    Operating                  2118   10/30/2020                                   1003                                           PRIESTS PENSION EXPENSE                                        $     2,543.63
ANO    Operating                  2118   10/30/2020                                   1004                                           PRIESTS PENSION EXPENSE                                        $     2,417.04
ANO    Operating                  2118   10/30/2020                                   1004                                           Retired Priest Plus Expense ‐ Medical Co‐Pays                  $    (1,905.60)
ANO    Operating                  2118   10/30/2020                                   1005                                           PRIESTS PENSION EXPENSE                                        $     2,569.14
ANO    Operating                  2118   10/30/2020                                   1006                                           PRIESTS PENSION EXPENSE                                        $     2,300.00
ANO    Operating                  2118   10/30/2020                                   1006                                           Retired Priest Plus Expense ‐ Miscellaneous                    $       135.50
ANO    Operating                  2118   10/30/2020                                   1007                                           Retired Priest Plus Expense ‐ Medical Co‐Pays                  $    (2,685.76)
ANO    Operating                  2118   10/30/2020                                   1007                                           PRIESTS PENSION EXPENSE                                        $     2,768.82
ANO    Operating                  2118   10/30/2020                                   1008                                           PRIESTS PENSION EXPENSE                                        $     2,548.42
ANO    Operating                  2118   10/30/2020                                   1009                                           PRIESTS PENSION EXPENSE                                        $     2,783.77
ANO    Operating                  2118   10/30/2020                                   1009                                           PRIEST PLUS EXPENS                                             $       153.80
ANO    Operating                  2118   10/30/2020                                   1010                                           PRIESTS PENSION EXPENSE                                        $     2,435.52
ANO    Operating                  2118   10/30/2020                                   1010                                           Retired Priest Plus Expense ‐ Miscellaneous                    $       298.10
ANO    Operating                  2118   10/30/2020                                   1011                                           Retired Priest Plus Expense ‐ Miscellaneous                    $       107.40
ANO    Operating                  2118   10/30/2020                                   1011                                           PRIESTS PENSION EXPENSE                                        $     2,121.69
ANO    Checking                   9680   10/01/2020   N/A                                    CircuitTree                             To record CircuitTree credit card fees                         $       100.00
ANO    Checking                   9680   10/02/2020   N/A                                    eCatholic                               To record Tulane Catholic fees 10.01 ‐ 10.08                   $        14.12
ANO    Checking                   9680   10/02/2020   N/A                                    eCatholic                               To record Tulane Catholic fees 10.01 ‐ 10.08                   $        70.80
ANO    Checking                   9680   10/02/2020   N/A                                    eCatholic                               To record Tulane Catholic fees 10.01 ‐ 10.08                   $       160.01
ANO    Checking                   9680   10/02/2020   N/A                                    Blackbaud                               To record Retreat Center Fees 10.01 ‐ 10.08                    $        16.06
ANO    Checking                   9680   10/02/2020   N/A                                    Blackbaud                               To record Retreat Center Fees 10.01 ‐ 10.08                    $        20.56
ANO    Checking                   9680   10/06/2020   N/A                                    ANO FBT Payroll Account                 To record 9.16 ‐ 9.30 payroll transfer ‐ FBT oper. to FBT pr   $   267,021.55
ANO    Checking                   9680   10/07/2020   N/A                                    ANO FBT Payroll Account                 To record IOI payroll invoice ‐ 10/6/20                        $       552.50
ANO    Checking                   9680   10/08/2020   N/A                                    eCatholic                               To record Tulane Catholic fees 10.01 ‐ 10.08                   $         4.90
ANO    Checking                   9680   10/13/2020   N/A                                    CircuitTree                             To record Camp Abbey refunds ‐ 10.13.2020                      $     1,582.00
ANO    Checking                   9680   10/14/2020   N/A                                    PrimePay                                To record IOI payroll invoice ‐ 10/14/20                       $       552.50
ANO    Checking                   9680   10/20/2020   N/A                                    ANO FBT Payroll Account                 To record 10.1‐ 10.15 payroll transfer ‐ FBT oper. to FBT pr   $   262,976.87
ANO    Checking                   9680   10/26/2020   N/A                                    CircuitTree                             To record Camp Abbey refunds ‐ 10.26.2020                      $     4,680.00
ANO    Checking                   9680   10/26/2020   N/A                                    CircuitTree                             To record Camp Abbey refunds ‐ 10.26.2020                      $     4,849.00
ANO    Checking                   9680   10/27/2020   N/A                                    ANO FBT BCC Account                     10.27.20 FBT BCC transfer from FBT Operating                   $     1,000.00
ANO    Checking                   9680   10/28/2020   N/A                                    ANO FBT Payroll Account                 To record IOI payroll invoice                                  $       552.50
ANO    Checking                   9680   10/29/2020   N/A                                    ANO FBT Payroll Account                 To record Oct. 2020 Clergy Payroll FBT Oper. to FBT Payroll    $    86,297.15
ANO    Checking                   9680   10/29/2020   N/A                                    CircuitTree                             To record Camp Abbey refunds ‐ 10.29.2020                      $     2,139.00
ANO    Checking                   9680   10/30/2020   N/A                                    ANO FBT BCC Account                     10.30.20 FBT BCC transfer from FBT Operating                   $        75.33
ANO    Checking                   9680   10/31/2020   N/A                                    First Bank & Trust                      Service Charge‐Oct oper acct                                   $        85.97
ANO    Business Check Card Acct   9625    10/2/2020   N/A ‐ debit card transaction           Chevron                                 Archbishop Automobile expenses                                 $        36.95
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 41 of
                                           103
ANO    Business Check Card Acct   9625    10/2/2020   N/A ‐ debit card transaction   Shell                                      Archbishop Automobile expenses                                            $        18.45
ANO    Business Check Card Acct   9625    10/5/2020   N/A ‐ debit card transaction   Best Chevrolet                             Archbishop Automobile expenses                                            $       140.87
ANO    Business Check Card Acct   9625    10/5/2020   N/A ‐ debit card transaction   Walmart                                    Archbishop Residence Household expenses                                   $        60.80
ANO    Business Check Card Acct   9625    10/6/2020   N/A ‐ debit card transaction   Eastbank Cyclery                           Lawn Maintenance expenses                                                 $        55.53
ANO    Business Check Card Acct   9625    10/6/2020   N/A ‐ debit card transaction   Automotive Tires                           Lawn Maintenance expenses                                                 $        23.59
ANO    Business Check Card Acct   9625    10/6/2020   N/A ‐ debit card transaction   O'Reilly                                   Lawn Maintenance expenses                                                 $        17.38
ANO    Business Check Card Acct   9625    10/6/2020   N/A ‐ debit card transaction   O'Reilly                                   Lawn Maintenance expenses                                                 $         9.81
ANO    Business Check Card Acct   9625    10/7/2020   N/A ‐ debit card transaction   Walmart                                    Archbishop Residence Household expenses                                   $        19.59
ANO    Business Check Card Acct   9625    10/8/2020   N/A ‐ debit card transaction   Castellon Pharmacy                         Archbishop Residence Household expenses                                   $         5.45
ANO    Business Check Card Acct   9625    10/9/2020   N/A ‐ debit card transaction   Chevron                                    Lawn Maintenance expenses                                                 $        53.97
ANO    Business Check Card Acct   9625   10/13/2020   N/A ‐ debit card transaction   Costco                                     Archbishop Residence Household expenses                                   $        62.69
ANO    Business Check Card Acct   9625   10/13/2020   N/A ‐ debit card transaction   Safari Car Wash                            Archbishop Automobile expenses                                            $        28.95
ANO    Business Check Card Acct   9625   10/14/2020   N/A ‐ debit card transaction   Costco                                     Archbishop Residence Household expenses                                   $        21.88
ANO    Business Check Card Acct   9625   10/19/2020   N/A ‐ debit card transaction   Home Depot                                 Lawn Maintenance expenses                                                 $       176.06
ANO    Business Check Card Acct   9625   10/19/2020   N/A ‐ debit card transaction   Chevron                                    Lawn Maintenance expenses                                                 $        36.35
ANO    Business Check Card Acct   9625   10/19/2020   N/A ‐ debit card transaction   Walmart                                    Archbishop Residence Household expenses                                   $        24.63
ANO    Business Check Card Acct   9625   10/19/2020   N/A ‐ debit card transaction   Walmart                                    Archbishop Residence Household expenses                                   $        21.93
ANO    Business Check Card Acct   9625   10/19/2020   N/A ‐ debit card transaction   Domino's                                   Archbishop Residence Household expenses                                   $        17.61
ANO    Business Check Card Acct   9625   10/20/2020   N/A ‐ debit card transaction   CVS Pharmacy                               Archbishop Residence Household expenses                                   $         6.32
ANO    Business Check Card Acct   9625   10/21/2020   N/A ‐ debit card transaction   Domino's                                   Archbishop Residence Household expenses                                   $        17.61
ANO    Business Check Card Acct   9625   10/21/2020   N/A ‐ debit card transaction   Shell                                      Archbishop Automobile expenses                                            $         9.69
ANO    Business Check Card Acct   9625   10/21/2020   N/A ‐ debit card transaction   Winn Dixie                                 Archbishop Residence Household expenses                                   $         7.22
ANO    Business Check Card Acct   9625   10/23/2020   N/A ‐ debit card transaction   O'Reilly Auto Parts                        Lawn Maintenance expenses                                                 $        16.37
ANO    Business Check Card Acct   9625   10/26/2020   N/A ‐ debit card transaction   Ulta                                       Archbishop Residence Household expenses                                   $        18.56
ANO    Business Check Card Acct   9625   10/26/2020   N/A ‐ debit card transaction   Walmart                                    Archbishop Residence Household expenses                                   $        25.78
ANO    Business Check Card Acct   9625   10/27/2020   N/A ‐ debit card transaction   Shell                                      Lawn Maintenance expenses                                                 $         9.29
ANO    Business Check Card Acct   9625   10/27/2020   N/A ‐ debit card transaction   Domino's                                   Archbishop Residence Household expenses                                   $        17.61
ANO    Business Check Card Acct   9625   10/27/2020   N/A ‐ debit card transaction   Best Chevrolet                             Archbishop Automobile expenses                                            $        19.55
ANO    Business Check Card Acct   9625   10/28/2020   N/A ‐ debit card transaction   Home Depot                                 Lawn Maintenance expenses                                                 $        16.31
ANO    Business Check Card Acct   9625   10/28/2020   N/A ‐ debit card transaction   NOLA Discount Pharmacy                     Archbishop Residence Household expenses                                   $        52.38
ANO    Business Check Card Acct   9625   10/29/2020   N/A ‐ debit card transaction   Overstock.com                              Archbishop Residence Household expenses                                   $        26.15
ANO    Insurance                  3664   10/31/2020   N/A                            Capital One                                Bank Fees                                                                 $       484.07
ANO    Retirement                 2718    10/1/2020   N/A ‐ Wire                     Voya                                       Employee Benefit Plan Remittance                                          $    87,758.31
ANO    Retirement                 2718    10/8/2020   N/A ‐ Wire                     Voya                                       Employee Benefit Plan Remittance                                          $    18,194.84
ANO    Retirement                 2718    10/8/2020   N/A                            ANO Whitney Operating                      ANO Whitney Operating Transfer                                            $       140.89
ANO    Retirement                 2718    10/8/2020   N/A                            ANO Whitney Operating                      ANO Whitney Operating Transfer                                            $        60.28
ANO    Retirement                 2718    10/9/2020   N/A ‐ Wire                     Voya                                       Employee Benefit Plan Remittance                                          $   443,786.85
ANO    Retirement                 2718   10/15/2020   N/A ‐ Wire                     Voya                                       Employee Benefit Plan Remittance                                          $    75,838.93
ANO    Retirement                 2718   10/20/2020   N/A                            Society for the Propogation of the Faith   Society for the Propogation of the Faith excess remittance funds return   $       187.50
ANO    Retirement                 2718   10/22/2020   N/A ‐ Wire                     Voya                                       Employee Benefit Plan Remittance                                          $   392,833.11
ANO    Retirement                 2718   10/29/2020   N/A ‐ Wire                     Voya                                       Employee Benefit Plan Remittance                                          $   108,248.63
ANO    Employee Insurance Fund    0766    10/1/2020   EFT Draft                                                                 Self‐Insured Medical Claims                                               $   265,904.48
ANO    Employee Insurance Fund    0766    10/1/2020   EFT Draft                                                                 Self‐Insured Medical Claims                                               $     6,371.07
ANO    Employee Insurance Fund    0766    10/1/2020   EFT Draft                                                                 Self‐Insured Medical Claims                                               $     3,699.98
ANO    Employee Insurance Fund    0766    10/1/2020   EFT Draft                                                                 Self‐Insured Medical Claims                                               $   423,864.77
ANO    Employee Insurance Fund    0766    10/2/2020   50548                                                                     Self‐Insured Medical Claims                                               $       735.00
ANO    Employee Insurance Fund    0766    10/2/2020   50549                                                                     Self‐Insured Medical Claims                                               $       210.00
ANO    Employee Insurance Fund    0766    10/2/2020   50550                                                                     Self‐Insured Medical Claims                                               $        30.00
ANO    Employee Insurance Fund    0766    10/2/2020   50551                                                                     Self‐Insured Medical Claims                                               $        82.56
ANO    Employee Insurance Fund    0766    10/2/2020   50552                                                                     Self‐Insured Medical Claims                                               $        45.86
ANO    Employee Insurance Fund    0766    10/2/2020   50553                                                                     Self‐Insured Medical Claims                                               $        92.56
ANO    Employee Insurance Fund    0766    10/2/2020   EFT Draft                                                                 Self‐Insured Medical Claims                                               $   109,769.91
ANO    Employee Insurance Fund    0766    10/2/2020   EFT Draft                                                                 Self‐Insured Medical Claims                                               $     5,047.55
ANO    Employee Insurance Fund    0766    10/5/2020   50554                                                                     Self‐Insured Medical Claims                                               $   102,040.51
ANO    Employee Insurance Fund    0766    10/6/2020   50555                                                                     Self‐Insured Medical Claims                                               $        42.88
ANO    Employee Insurance Fund    0766    10/7/2020   N/A                            UMR                                        October Stop Loss and TPA Fees                                            $   170,934.65
ANO    Employee Insurance Fund    0766    10/9/2020   N/A                            ANO Whitney Operating                      EIF Loan Repayment to ANO General Fund                                    $   600,000.00
ANO    Employee Insurance Fund    0766    10/9/2020   50556                          Optum RX                                   Self‐Insured Pharmacy Claims                                              $   427,373.96
ANO    Employee Insurance Fund    0766    10/9/2020   50557                                                                     Self‐Insured Medical Claims                                               $         1.75
ANO    Employee Insurance Fund    0766    10/9/2020   50558                                                                     Self‐Insured Medical Claims                                               $       185.00
ANO    Employee Insurance Fund    0766    10/9/2020   50559                                                                     Self‐Insured Medical Claims                                               $         1.00
ANO    Employee Insurance Fund    0766    10/9/2020   50560                                                                     Self‐Insured Medical Claims                                               $        89.59
ANO    Employee Insurance Fund    0766    10/9/2020   50561                                                                     Self‐Insured Medical Claims                                               $        77.85
ANO    Employee Insurance Fund    0766    10/9/2020   50562                                                                     Self‐Insured Medical Claims                                               $        51.00
ANO    Employee Insurance Fund    0766    10/9/2020   50563                                                                     Self‐Insured Medical Claims                                               $       101.35
ANO    Employee Insurance Fund    0766    10/9/2020   50564                                                                     Self‐Insured Medical Claims                                               $        30.00
ANO    Employee Insurance Fund    0766    10/9/2020   50565                                                                     Self‐Insured Medical Claims                                               $        61.77
ANO    Employee Insurance Fund    0766    10/9/2020   50566                                                                     Self‐Insured Medical Claims                                               $       226.91
ANO    Employee Insurance Fund    0766    10/9/2020   50567                                                                     Self‐Insured Medical Claims                                               $         5.00
ANO    Employee Insurance Fund    0766    10/9/2020   50568                                                                     Self‐Insured Medical Claims                                               $        15.03
ANO    Employee Insurance Fund    0766    10/9/2020   50569                                                                     Self‐Insured Medical Claims                                               $       525.42
ANO    Employee Insurance Fund    0766    10/9/2020   50570                                                                     Self‐Insured Medical Claims                                               $        43.06
ANO    Employee Insurance Fund    0766    10/9/2020   50571                                                                     Self‐Insured Medical Claims                                               $        37.00
ANO    Employee Insurance Fund    0766    10/9/2020   50572                                                                     Self‐Insured Medical Claims                                               $        79.59
ANO    Employee Insurance Fund    0766    10/9/2020   50573                                                                     Self‐Insured Medical Claims                                               $       727.35
ANO    Employee Insurance Fund    0766    10/9/2020   EFT Draft                                                                 Self‐Insured Medical Claims                                               $   397,956.48
ANO    Employee Insurance Fund    0766    10/9/2020   EFT Draft                                                                 Self‐Insured Medical Claims                                               $     6,455.54
ANO    Employee Insurance Fund    0766   10/16/2020   50574                                                                     Self‐Insured Medical Claims                                               $       192.02
ANO    Employee Insurance Fund    0766   10/16/2020   50575                                                                     Self‐Insured Medical Claims                                               $        39.55
ANO    Employee Insurance Fund    0766   10/16/2020   50576                                                                     Self‐Insured Medical Claims                                               $       213.01
ANO    Employee Insurance Fund    0766   10/16/2020   50577                                                                     Self‐Insured Medical Claims                                               $     1,789.75
ANO    Employee Insurance Fund    0766   10/16/2020   50578                                                                     Self‐Insured Medical Claims                                               $       463.26
ANO    Employee Insurance Fund    0766   10/16/2020   50579                                                                     Self‐Insured Medical Claims                                               $        57.16
ANO    Employee Insurance Fund    0766   10/16/2020   50580                                                                     Self‐Insured Medical Claims                                               $       197.88
ANO    Employee Insurance Fund    0766   10/16/2020   50581                                                                     Self‐Insured Medical Claims                                               $     2,065.47
ANO    Employee Insurance Fund    0766   10/16/2020   50582                                                                     Self‐Insured Medical Claims                                               $       171.51
ANO    Employee Insurance Fund    0766   10/16/2020   50583                                                                     Self‐Insured Medical Claims                                               $        52.80
ANO    Employee Insurance Fund    0766   10/16/2020   50584                                                                     Self‐Insured Medical Claims                                               $        90.00
ANO    Employee Insurance Fund    0766   10/16/2020   50585                                                                     Self‐Insured Medical Claims                                               $       104.21
ANO    Employee Insurance Fund    0766   10/16/2020   50586                                                                     Self‐Insured Medical Claims                                               $        71.65
ANO    Employee Insurance Fund    0766   10/16/2020   50587                                                                     Self‐Insured Medical Claims                                               $        43.06
ANO    Employee Insurance Fund    0766   10/16/2020   50588                                                                     Self‐Insured Medical Claims                                               $        46.00
ANO    Employee Insurance Fund    0766   10/16/2020   50589                                                                     Self‐Insured Medical Claims                                               $        51.63
ANO    Employee Insurance Fund    0766   10/16/2020   50590                                                                     Self‐Insured Medical Claims                                               $        79.00
ANO    Employee Insurance Fund    0766   10/16/2020   50591                                                                     Self‐Insured Medical Claims                                               $    13,817.04
ANO    Employee Insurance Fund    0766   10/16/2020   EFT Draft                                                                 Self‐Insured Medical Claims                                               $   324,417.85
ANO    Employee Insurance Fund    0766   10/16/2020   EFT Draft                                                                 Self‐Insured Medical Claims                                               $     4,363.47
ANO    Employee Insurance Fund    0766   10/20/2020   EFT                            Gallagher Benefit Services                 October 2020 Gallagher Consulting Bil                                     $    28,390.00
ANO    Employee Insurance Fund    0766   10/23/2020   50592                                                                     Self‐Insured Pharmacy Claims                                              $   408,363.62
ANO    Employee Insurance Fund    0766   10/23/2020   50593                                                                     Self‐Insured Medical Claims                                               $       736.78
ANO    Employee Insurance Fund    0766   10/23/2020   50594                                                                     Self‐Insured Medical Claims                                               $        30.00
ANO    Employee Insurance Fund    0766   10/23/2020   50595                                                                     Self‐Insured Medical Claims                                               $        30.00
ANO    Employee Insurance Fund    0766   10/23/2020   50596                                                                     Self‐Insured Medical Claims                                               $        20.00
ANO    Employee Insurance Fund    0766   10/23/2020   50597                                                                     Self‐Insured Medical Claims                                               $       152.77
ANO    Employee Insurance Fund    0766   10/23/2020   50598                                                                     Self‐Insured Medical Claims                                               $        57.33
ANO    Employee Insurance Fund    0766   10/23/2020   50599                                                                     Self‐Insured Medical Claims                                               $        30.80
ANO    Employee Insurance Fund    0766   10/23/2020   50600                                                                     Self‐Insured Medical Claims                                               $       106.84
ANO    Employee Insurance Fund    0766   10/23/2020   50601                                                                     Self‐Insured Medical Claims                                               $        72.16
ANO    Employee Insurance Fund    0766   10/23/2020   50602                                                                     Self‐Insured Medical Claims                                               $       149.10
ANO    Employee Insurance Fund    0766   10/23/2020   50603                                                                     Self‐Insured Medical Claims                                               $        77.85
ANO    Employee Insurance Fund    0766   10/23/2020   50604                                                                     Self‐Insured Medical Claims                                               $        89.59
ANO    Employee Insurance Fund    0766   10/23/2020   50605                                                                     Self‐Insured Medical Claims                                               $        81.00
ANO    Employee Insurance Fund    0766   10/23/2020   50606                                                                     Self‐Insured Medical Claims                                               $       537.54
ANO    Employee Insurance Fund    0766   10/23/2020   50607                                                                     Self‐Insured Medical Claims                                               $       150.00
ANO    Employee Insurance Fund    0766   10/23/2020   50608                                                                     Self‐Insured Medical Claims                                               $        16.31
ANO    Employee Insurance Fund    0766   10/23/2020   50609                                                                     Self‐Insured Medical Claims                                               $       445.23
ANO    Employee Insurance Fund    0766   10/23/2020   50610                                                                     Self‐Insured Medical Claims                                               $        45.00
ANO    Employee Insurance Fund    0766   10/23/2020   50611                                                                     Self‐Insured Medical Claims                                               $        79.59
ANO    Employee Insurance Fund    0766   10/23/2020   50612                                                                     Self‐Insured Medical Claims                                               $        22.71
ANO    Employee Insurance Fund    0766   10/23/2020   50613                                                                     Self‐Insured Medical Claims                                               $         5.00
ANO    Employee Insurance Fund    0766   10/23/2020   50614                                                                     Self‐Insured Medical Claims                                               $       129.18
ANO    Employee Insurance Fund    0766   10/23/2020   50615                                                                     Self‐Insured Medical Claims                                               $        58.50
ANO    Employee Insurance Fund    0766   10/23/2020   50616                                                                     Self‐Insured Medical Claims                                               $        49.47
ANO    Employee Insurance Fund    0766   10/23/2020   50617                                                                     Self‐Insured Medical Claims                                               $        50.68
ANO    Employee Insurance Fund    0766   10/23/2020   50618                                                                     Self‐Insured Medical Claims                                               $    16,330.75
ANO    Employee Insurance Fund    0766   10/23/2020   50619                                                                     Self‐Insured Medical Claims                                               $         9.54
ANO    Employee Insurance Fund    0766   10/23/2020   EFT Draft                                                                 Self‐Insured Medical Claims                                               $   411,417.66
ANO    Employee Insurance Fund    0766   10/23/2020   EFT Draft                                                                 Self‐Insured Medical Claims                                               $     7,516.65
ANO    Employee Insurance Fund    0766   10/29/2020   50620                                                                     Self‐Insured Medical Claims                                               $     3,075.00
ANO    Employee Insurance Fund    0766   10/30/2020   50621                                                                     Self‐Insured Medical Claims                                               $       308.00
ANO    Employee Insurance Fund    0766   10/30/2020   50622                                                                     Self‐Insured Medical Claims                                               $        15.00
ANO    Employee Insurance Fund    0766   10/30/2020   50623                                                                     Self‐Insured Medical Claims                                               $        96.88
ANO    Employee Insurance Fund    0766   10/30/2020   50624                                                                     Self‐Insured Medical Claims                                               $        32.16
ANO    Employee Insurance Fund    0766   10/30/2020   50625                                                                     Self‐Insured Medical Claims                                               $       174.88
ANO    Employee Insurance Fund    0766   10/30/2020   50626                                                                     Self‐Insured Medical Claims                                               $       101.80
ANO    Employee Insurance Fund    0766   10/30/2020   50627                                                                     Self‐Insured Medical Claims                                               $        89.59
ANO    Employee Insurance Fund    0766   10/30/2020   50628                                                                     Self‐Insured Medical Claims                                               $       451.50
ANO    Employee Insurance Fund    0766   10/30/2020   50629                                                                     Self‐Insured Medical Claims                                               $        73.32
ANO    Employee Insurance Fund    0766   10/30/2020   50630                                                                     Self‐Insured Medical Claims                                               $       326.43
ANO    Employee Insurance Fund    0766   10/30/2020   50631                                                                     Self‐Insured Medical Claims                                               $        70.00
ANO    Employee Insurance Fund    0766   10/30/2020   50632                                                                     Self‐Insured Medical Claims                                               $        98.94
ANO    Employee Insurance Fund    0766   10/30/2020   50633                                                                     Self‐Insured Medical Claims                                               $       149.70
ANO    Employee Insurance Fund    0766   10/30/2020   50634                                                                     Self‐Insured Medical Claims                                               $        89.39
ANO    Employee Insurance Fund    0766   10/30/2020   50635                                                                     Self‐Insured Medical Claims                                               $        79.59
ANO    Employee Insurance Fund    0766   10/30/2020   50636                                                                     Self‐Insured Medical Claims                                               $        60.00
ANO    Employee Insurance Fund    0766   10/30/2020   50637                                                                     Self‐Insured Medical Claims                                               $       185.31
ANO    Employee Insurance Fund    0766   10/30/2020   50638                                                                     Self‐Insured Medical Claims                                               $       104.21
ANO    Employee Insurance Fund    0766   10/30/2020   50639                                                                     Self‐Insured Medical Claims                                               $        43.06
ANO    Employee Insurance Fund    0766   10/30/2020   50640                                                                     Self‐Insured Medical Claims                                               $    23,553.07
ANO    Employee Insurance Fund    0766   10/30/2020   50641                                                                     Self‐Insured Medical Claims                                               $        53.06
ANO    Employee Insurance Fund    0766   10/30/2020   50642                                                                     Self‐Insured Medical Claims                                               $        53.06
ANO    Employee Insurance Fund    0766   10/30/2020   50643                                                                     Self‐Insured Medical Claims                                               $        13.00
ANO    Employee Insurance Fund    0766   10/30/2020   50644                                                                     Self‐Insured Medical Claims                                               $         7.03
ANO    Employee Insurance Fund    0766   10/30/2020   50645                                                                     Self‐Insured Medical Claims                                               $        17.68
ANO    Employee Insurance Fund    0766   10/30/2020   50646                                                                     Self‐Insured Medical Claims                                               $         7.03
ANO    Employee Insurance Fund    0766   10/30/2020   50647                                                                     Self‐Insured Medical Claims                                               $         7.03
ANO    Employee Insurance Fund    0766   10/30/2020   50648                                                                     Self‐Insured Medical Claims                                               $        48.10
ANO    Employee Insurance Fund    0766   10/30/2020   50649                                                                     Self‐Insured Medical Claims                                               $         7.03
ANO    Employee Insurance Fund    0766   10/30/2020   50650                                                                     Self‐Insured Medical Claims                                               $       162.00
ANO    Employee Insurance Fund    0766   10/30/2020   50651                                                                     Self‐Insured Medical Claims                                               $       230.40
ANO    Employee Insurance Fund    0766   10/30/2020   50652                                                                     Self‐Insured Medical Claims                                               $        10.89
ANO    Employee Insurance Fund    0766   10/30/2020   50653                                                                     Self‐Insured Medical Claims                                               $        29.48
ANO    Self Insurance Account     4265    10/1/2020   97180                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $        22.75
ANO    Self Insurance Account     4265    10/1/2020   97181                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       345.00
ANO    Self Insurance Account     4265    10/1/2020   97182                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       210.00
ANO    Self Insurance Account     4265    10/1/2020   97183                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       315.00
ANO    Self Insurance Account     4265    10/1/2020   97184                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       775.26
ANO    Self Insurance Account     4265    10/1/2020   97185                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       300.00
ANO    Self Insurance Account     4265    10/1/2020   97186                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       300.00
ANO    Self Insurance Account     4265    10/1/2020   97187                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $        75.00
ANO    Self Insurance Account     4265    10/1/2020   97188                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $        62.00
ANO    Self Insurance Account     4265    10/1/2020   97189                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       105.00
ANO    Self Insurance Account     4265    10/1/2020   97190                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $        57.00
ANO    Self Insurance Account     4265    10/1/2020   97191                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       130.00
ANO    Self Insurance Account     4265    10/1/2020   97192                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       197.00
ANO    Self Insurance Account     4265    10/1/2020   97193                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       167.00
ANO    Self Insurance Account     4265    10/1/2020   97194                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       300.00
ANO    Self Insurance Account     4265    10/1/2020   97195                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $        75.00
ANO    Self Insurance Account     4265    10/1/2020   97196                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       300.00
ANO    Self Insurance Account     4265    10/1/2020   97197                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       122.00
ANO    Self Insurance Account     4265    10/1/2020   97198                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       117.00
ANO    Self Insurance Account     4265    10/1/2020   97199                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       311.40
ANO    Self Insurance Account     4265    10/1/2020   97200                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $        46.93
ANO    Self Insurance Account     4265    10/1/2020   97201                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       120.00
ANO    Self Insurance Account     4265    10/1/2020   97202                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $     5,511.00
ANO    Self Insurance Account     4265    10/1/2020   97203                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       473.76
ANO    Self Insurance Account     4265    10/1/2020   97204                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       348.66
ANO    Self Insurance Account     4265    10/1/2020   97205                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $     4,041.20
ANO    Self Insurance Account     4265    10/5/2020   97206                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $    30,000.00
ANO    Self Insurance Account     4265    10/6/2020   97207                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $        97.27
ANO    Self Insurance Account     4265    10/6/2020   97208                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       143.45
ANO    Self Insurance Account     4265    10/6/2020   97209                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       564.00
ANO    Self Insurance Account     4265    10/6/2020   97210                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       306.00
ANO    Self Insurance Account     4265    10/6/2020   97211                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       848.88
ANO    Self Insurance Account     4265    10/6/2020   97212                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       350.00
ANO    Self Insurance Account     4265    10/6/2020   97213                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       138.14
ANO    Self Insurance Account     4265    10/6/2020   97214                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       880.05
ANO    Self Insurance Account     4265    10/6/2020   97215                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       860.60
ANO    Self Insurance Account     4265    10/6/2020   97216                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $    28,238.17
ANO    Self Insurance Account     4265    10/6/2020   97217                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       592.14
ANO    Self Insurance Account     4265    10/6/2020   97218                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       320.00
ANO    Self Insurance Account     4265    10/6/2020   97219                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       699.16
ANO    Self Insurance Account     4265    10/6/2020   97220                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       501.78
ANO    Self Insurance Account     4265    10/6/2020   97221                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $     1,013.60
ANO    Self Insurance Account     4265    10/6/2020   97222                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       807.50
ANO    Self Insurance Account     4265    10/6/2020   97223                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       372.00
ANO    Self Insurance Account     4265    10/6/2020   97224                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       511.24
ANO    Self Insurance Account     4265    10/6/2020   97225                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $        32.02
ANO    Self Insurance Account     4265    10/6/2020   97226                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       190.00
ANO    Self Insurance Account     4265    10/6/2020   97227                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $     2,283.00
ANO    Self Insurance Account     4265    10/6/2020   97228                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       122.00
ANO    Self Insurance Account     4265    10/6/2020   97229                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       122.00
ANO    Self Insurance Account     4265    10/6/2020   97230                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       251.00
ANO    Self Insurance Account     4265    10/6/2020   97231                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $        45.00
ANO    Self Insurance Account     4265    10/6/2020   97232                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $        37.00
ANO    Self Insurance Account     4265    10/6/2020   97233                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $        14.35
ANO    Self Insurance Account     4265    10/6/2020   97234                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $     1,082.20
ANO    Self Insurance Account     4265    10/6/2020   97235                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       105.00
ANO    Self Insurance Account     4265    10/6/2020   97236                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       350.00
ANO    Self Insurance Account     4265    10/6/2020   97237                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       607.65
ANO    Self Insurance Account     4265    10/6/2020   97238                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       757.00
ANO    Self Insurance Account     4265    10/6/2020   97239                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $     2,237.15
ANO    Self Insurance Account     4265    10/8/2020   97240                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       240.00
ANO    Self Insurance Account     4265    10/8/2020   97241                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       659.60
ANO    Self Insurance Account     4265    10/8/2020   97242                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $        75.00
ANO    Self Insurance Account     4265    10/8/2020   97243                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       105.00
ANO    Self Insurance Account     4265    10/8/2020   97244                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       293.82
ANO    Self Insurance Account     4265    10/8/2020   97245                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $        68.00
ANO    Self Insurance Account     4265    10/8/2020   97246                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       158.00
ANO    Self Insurance Account     4265    10/8/2020   97247                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       207.00
ANO    Self Insurance Account     4265    10/8/2020   97248                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       173.00
ANO    Self Insurance Account     4265    10/8/2020   97249                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       768.00
ANO    Self Insurance Account     4265    10/8/2020   97250                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       582.50
ANO    Self Insurance Account     4265    10/8/2020   97251                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $     1,527.50
ANO    Self Insurance Account     4265    10/8/2020   97252                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $        67.50
ANO    Self Insurance Account     4265    10/8/2020   97253                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $       962.50
ANO    Self Insurance Account     4265    10/8/2020   97254                                                                     Non‐Medical P&C Self‐Insurance Claims                                     $     4,777.22
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 42 of
                                           103
ANO    Self Insurance Account   4265       10/8/2020   97255          Non‐Medical P&C Self‐Insurance Claims               $         3,275.00
ANO    Self Insurance Account   4265       10/8/2020   97256          Non‐Medical P&C Self‐Insurance Claims               $         2,090.00
ANO    Self Insurance Account   4265       10/8/2020   97257          Non‐Medical P&C Self‐Insurance Claims               $         1,177.50
ANO    Self Insurance Account   4265       10/8/2020   97258          Non‐Medical P&C Self‐Insurance Claims               $           702.50
ANO    Self Insurance Account   4265       10/8/2020   97259          Non‐Medical P&C Self‐Insurance Claims               $           225.00
ANO    Self Insurance Account   4265       10/8/2020   97260          Non‐Medical P&C Self‐Insurance Claims               $           857.50
ANO    Self Insurance Account   4265       10/8/2020   97261          Non‐Medical P&C Self‐Insurance Claims               $           870.00
ANO    Self Insurance Account   4265       10/8/2020   97262          Non‐Medical P&C Self‐Insurance Claims               $         1,990.00
ANO    Self Insurance Account   4265       10/8/2020   97263          Non‐Medical P&C Self‐Insurance Claims               $           100.00
ANO    Self Insurance Account   4265       10/8/2020   97264          Non‐Medical P&C Self‐Insurance Claims               $           646.50
ANO    Self Insurance Account   4265       10/8/2020   97265          Non‐Medical P&C Self‐Insurance Claims               $         3,318.75
ANO    Self Insurance Account   4265       10/8/2020   97266          Non‐Medical P&C Self‐Insurance Claims               $           252.00
ANO    Self Insurance Account   4265       10/8/2020   97267          Non‐Medical P&C Self‐Insurance Claims               $           403.50
ANO    Self Insurance Account   4265       10/8/2020   97268          Non‐Medical P&C Self‐Insurance Claims               $           372.00
ANO    Self Insurance Account   4265      10/13/2020   97269          Non‐Medical P&C Self‐Insurance Claims               $           534.47
ANO    Self Insurance Account   4265      10/13/2020   97270          Non‐Medical P&C Self‐Insurance Claims               $         1,376.00
ANO    Self Insurance Account   4265      10/13/2020   97271          Non‐Medical P&C Self‐Insurance Claims               $           501.23
ANO    Self Insurance Account   4265      10/13/2020   97272          Non‐Medical P&C Self‐Insurance Claims               $         5,100.00
ANO    Self Insurance Account   4265      10/13/2020   97273          Non‐Medical P&C Self‐Insurance Claims               $        17,132.61
ANO    Self Insurance Account   4265      10/13/2020   97274          Non‐Medical P&C Self‐Insurance Claims               $           285.00
ANO    Self Insurance Account   4265      10/13/2020   97275          Non‐Medical P&C Self‐Insurance Claims               $           184.00
ANO    Self Insurance Account   4265      10/13/2020   97276          Non‐Medical P&C Self‐Insurance Claims               $            89.00
ANO    Self Insurance Account   4265      10/13/2020   97277          Non‐Medical P&C Self‐Insurance Claims               $           190.00
ANO    Self Insurance Account   4265      10/13/2020   97278          Non‐Medical P&C Self‐Insurance Claims               $           258.00
ANO    Self Insurance Account   4265      10/13/2020   97279          Non‐Medical P&C Self‐Insurance Claims               $           557.03
ANO    Self Insurance Account   4265      10/13/2020   97280          Non‐Medical P&C Self‐Insurance Claims               $           394.00
ANO    Self Insurance Account   4265      10/13/2020   97281          Non‐Medical P&C Self‐Insurance Claims               $           486.00
ANO    Self Insurance Account   4265      10/13/2020   97282          Non‐Medical P&C Self‐Insurance Claims               $         1,050.00
ANO    Self Insurance Account   4265      10/13/2020   97283          Non‐Medical P&C Self‐Insurance Claims               $         2,153.70
ANO    Self Insurance Account   4265      10/13/2020   97284          Non‐Medical P&C Self‐Insurance Claims               $           130.00
ANO    Self Insurance Account   4265      10/13/2020   97285          Non‐Medical P&C Self‐Insurance Claims               $           390.00
ANO    Self Insurance Account   4265      10/13/2020   97286          Non‐Medical P&C Self‐Insurance Claims               $           158.00
ANO    Self Insurance Account   4265      10/13/2020   97287          Non‐Medical P&C Self‐Insurance Claims               $           190.00
ANO    Self Insurance Account   4265      10/13/2020   97288          Non‐Medical P&C Self‐Insurance Claims               $           480.00
ANO    Self Insurance Account   4265      10/13/2020   97289          Non‐Medical P&C Self‐Insurance Claims               $            68.00
ANO    Self Insurance Account   4265      10/13/2020   97290          Non‐Medical P&C Self‐Insurance Claims               $           319.14
ANO    Self Insurance Account   4265      10/13/2020   97291          Non‐Medical P&C Self‐Insurance Claims               $            60.00
ANO    Self Insurance Account   4265      10/13/2020   97292          Non‐Medical P&C Self‐Insurance Claims               $            68.00
ANO    Self Insurance Account   4265      10/13/2020   97293          Non‐Medical P&C Self‐Insurance Claims               $           105.00
ANO    Self Insurance Account   4265      10/13/2020   97294          Non‐Medical P&C Self‐Insurance Claims               $           896.00
ANO    Self Insurance Account   4265      10/13/2020   97295          Non‐Medical P&C Self‐Insurance Claims               $         1,289.30
ANO    Self Insurance Account   4265      10/13/2020   97296          Non‐Medical P&C Self‐Insurance Claims               $         2,407.50
ANO    Self Insurance Account   4265      10/13/2020   97297          Non‐Medical P&C Self‐Insurance Claims               $         3,127.50
ANO    Self Insurance Account   4265      10/13/2020   97298          Non‐Medical P&C Self‐Insurance Claims               $           396.00
ANO    Self Insurance Account   4265      10/13/2020   97299          Non‐Medical P&C Self‐Insurance Claims               $         1,531.00
ANO    Self Insurance Account   4265      10/13/2020   97300          Non‐Medical P&C Self‐Insurance Claims               $           492.30
ANO    Self Insurance Account   4265      10/13/2020   97301          Non‐Medical P&C Self‐Insurance Claims               $           105.00
ANO    Self Insurance Account   4265      10/15/2020   97302          Non‐Medical P&C Self‐Insurance Claims               $         1,090.67
ANO    Self Insurance Account   4265      10/15/2020   97303          Non‐Medical P&C Self‐Insurance Claims               $         1,007.26
ANO    Self Insurance Account   4265      10/15/2020   97304          Non‐Medical P&C Self‐Insurance Claims               $           720.86
ANO    Self Insurance Account   4265      10/15/2020   97305          Non‐Medical P&C Self‐Insurance Claims               $            49.62
ANO    Self Insurance Account   4265      10/15/2020   97306          Non‐Medical P&C Self‐Insurance Claims               $           405.76
ANO    Self Insurance Account   4265      10/15/2020   97307          Non‐Medical P&C Self‐Insurance Claims               $           770.00
ANO    Self Insurance Account   4265      10/15/2020   97308          Non‐Medical P&C Self‐Insurance Claims               $            94.50
ANO    Self Insurance Account   4265      10/15/2020   97309          Non‐Medical P&C Self‐Insurance Claims               $           793.80
ANO    Self Insurance Account   4265      10/15/2020   97310          Non‐Medical P&C Self‐Insurance Claims               $           179.00
ANO    Self Insurance Account   4265      10/15/2020   97311          Non‐Medical P&C Self‐Insurance Claims               $           160.00
ANO    Self Insurance Account   4265      10/15/2020   97312          Non‐Medical P&C Self‐Insurance Claims               $           197.00
ANO    Self Insurance Account   4265      10/15/2020   97313          Non‐Medical P&C Self‐Insurance Claims               $           192.00
ANO    Self Insurance Account   4265      10/15/2020   97314          Non‐Medical P&C Self‐Insurance Claims               $            91.00
ANO    Self Insurance Account   4265      10/15/2020   97315          Non‐Medical P&C Self‐Insurance Claims               $           480.00
ANO    Self Insurance Account   4265      10/15/2020   97316          Non‐Medical P&C Self‐Insurance Claims               $         1,094.67
ANO    Self Insurance Account   4265      10/15/2020   97317          Non‐Medical P&C Self‐Insurance Claims               $           158.00
ANO    Self Insurance Account   4265      10/15/2020   97318          Non‐Medical P&C Self‐Insurance Claims               $           129.00
ANO    Self Insurance Account   4265      10/15/2020   97319          Non‐Medical P&C Self‐Insurance Claims               $            68.00
ANO    Self Insurance Account   4265      10/15/2020   97320          Non‐Medical P&C Self‐Insurance Claims               $           152.00
ANO    Self Insurance Account   4265      10/15/2020   97321          Non‐Medical P&C Self‐Insurance Claims               $           154.00
ANO    Self Insurance Account   4265      10/15/2020   97322          Non‐Medical P&C Self‐Insurance Claims               $           372.00
ANO    Self Insurance Account   4265      10/15/2020   97323          Non‐Medical P&C Self‐Insurance Claims               $         1,027.20
ANO    Self Insurance Account   4265      10/15/2020   97324          Non‐Medical P&C Self‐Insurance Claims               $           220.00
ANO    Self Insurance Account   4265      10/15/2020   97325          Non‐Medical P&C Self‐Insurance Claims               $           292.00
ANO    Self Insurance Account   4265      10/15/2020   97326          Non‐Medical P&C Self‐Insurance Claims               $           564.00
ANO    Self Insurance Account   4265      10/15/2020   97327          Non‐Medical P&C Self‐Insurance Claims               $           124.00
ANO    Self Insurance Account   4265      10/15/2020   97328          Non‐Medical P&C Self‐Insurance Claims               $           275.03
ANO    Self Insurance Account   4265      10/15/2020   97329          Non‐Medical P&C Self‐Insurance Claims               $           704.42
ANO    Self Insurance Account   4265      10/20/2020   97330          Non‐Medical P&C Self‐Insurance Claims               $           592.14
ANO    Self Insurance Account   4265      10/20/2020   97331          Non‐Medical P&C Self‐Insurance Claims               $           428.40
ANO    Self Insurance Account   4265      10/20/2020   97332          Non‐Medical P&C Self‐Insurance Claims               $             3.00
ANO    Self Insurance Account   4265      10/20/2020   97333          Non‐Medical P&C Self‐Insurance Claims               $           699.16
ANO    Self Insurance Account   4265      10/20/2020   97334          Non‐Medical P&C Self‐Insurance Claims               $           224.00
ANO    Self Insurance Account   4265      10/20/2020   97335          Non‐Medical P&C Self‐Insurance Claims               $           175.00
ANO    Self Insurance Account   4265      10/20/2020   97336          Non‐Medical P&C Self‐Insurance Claims               $           200.00
ANO    Self Insurance Account   4265      10/20/2020   97337          Non‐Medical P&C Self‐Insurance Claims               $         2,100.00
ANO    Self Insurance Account   4265      10/20/2020   97338          Non‐Medical P&C Self‐Insurance Claims               $           345.00
ANO    Self Insurance Account   4265      10/20/2020   97339          Non‐Medical P&C Self‐Insurance Claims               $           325.00
ANO    Self Insurance Account   4265      10/20/2020   97340          Non‐Medical P&C Self‐Insurance Claims               $           300.00
ANO    Self Insurance Account   4265      10/20/2020   97341          Non‐Medical P&C Self‐Insurance Claims               $           375.00
ANO    Self Insurance Account   4265      10/20/2020   97342          Non‐Medical P&C Self‐Insurance Claims               $            75.00
ANO    Self Insurance Account   4265      10/20/2020   97343          Non‐Medical P&C Self‐Insurance Claims               $           300.00
ANO    Self Insurance Account   4265      10/20/2020   97344          Non‐Medical P&C Self‐Insurance Claims               $           659.60
ANO    Self Insurance Account   4265      10/20/2020   97345          Non‐Medical P&C Self‐Insurance Claims               $           588.80
ANO    Self Insurance Account   4265      10/20/2020   97346          Non‐Medical P&C Self‐Insurance Claims               $           880.05
ANO    Self Insurance Account   4265      10/20/2020   97347          Non‐Medical P&C Self‐Insurance Claims               $           511.24
ANO    Self Insurance Account   4265      10/20/2020   97348          Non‐Medical P&C Self‐Insurance Claims               $           138.14
ANO    Self Insurance Account   4265      10/20/2020   97349          Non‐Medical P&C Self‐Insurance Claims               $           350.00
ANO    Self Insurance Account   4265      10/20/2020   97350          Non‐Medical P&C Self‐Insurance Claims               $           807.50
ANO    Self Insurance Account   4265      10/20/2020   97351          Non‐Medical P&C Self‐Insurance Claims               $           501.78
ANO    Self Insurance Account   4265      10/20/2020   97352          Non‐Medical P&C Self‐Insurance Claims               $           848.88
ANO    Self Insurance Account   4265      10/20/2020   97353          Non‐Medical P&C Self‐Insurance Claims               $           860.60
ANO    Self Insurance Account   4265      10/20/2020   97354          Non‐Medical P&C Self‐Insurance Claims               $         1,714.67
ANO    Self Insurance Account   4265      10/20/2020   97355          Non‐Medical P&C Self‐Insurance Claims               $           846.28
ANO    Self Insurance Account   4265      10/20/2020   97356          Non‐Medical P&C Self‐Insurance Claims               $           225.00
ANO    Self Insurance Account   4265      10/20/2020   97357          Non‐Medical P&C Self‐Insurance Claims               $           225.00
ANO    Self Insurance Account   4265      10/20/2020   97358          Non‐Medical P&C Self‐Insurance Claims               $            66.75
ANO    Self Insurance Account   4265      10/20/2020   97359          Non‐Medical P&C Self‐Insurance Claims               $         2,625.22
ANO    Self Insurance Account   4265      10/20/2020   97360          Non‐Medical P&C Self‐Insurance Claims               $         2,326.66
ANO    Self Insurance Account   4265      10/20/2020   97361          Non‐Medical P&C Self‐Insurance Claims               $         1,531.15
ANO    Self Insurance Account   4265      10/20/2020   97362          Non‐Medical P&C Self‐Insurance Claims               $           348.66
ANO    Self Insurance Account   4265      10/20/2020   97363          Non‐Medical P&C Self‐Insurance Claims               $           308.00
ANO    Self Insurance Account   4265      10/20/2020   97364          Non‐Medical P&C Self‐Insurance Claims               $         1,699.15
ANO    Self Insurance Account   4265   10/27/2020      97365          Non‐Medical P&C Self‐Insurance Claims               $           583.52
ANO    Self Insurance Account   4265   10/27/2020      97366          Non‐Medical P&C Self‐Insurance Claims               $           583.52
ANO    Self Insurance Account   4265   10/27/2020      97367          Non‐Medical P&C Self‐Insurance Claims               $         1,376.00
ANO    Self Insurance Account   4265   10/27/2020      97368          Non‐Medical P&C Self‐Insurance Claims               $         1,068.94
ANO    Self Insurance Account   4265   10/27/2020      97369          Non‐Medical P&C Self‐Insurance Claims               $           105.00
ANO    Self Insurance Account   4265   10/27/2020      97370          Non‐Medical P&C Self‐Insurance Claims               $           234.00
ANO    Self Insurance Account   4265   10/27/2020      97371          Non‐Medical P&C Self‐Insurance Claims               $           173.00
ANO    Self Insurance Account   4265   10/27/2020      97372          Non‐Medical P&C Self‐Insurance Claims               $           520.00
ANO    Self Insurance Account   4265   10/27/2020      97373          Non‐Medical P&C Self‐Insurance Claims               $            87.00
ANO    Self Insurance Account   4265   10/27/2020      97374          Non‐Medical P&C Self‐Insurance Claims               $         5,710.00
ANO    Self Insurance Account   4265   10/27/2020      97375          Non‐Medical P&C Self‐Insurance Claims               $         4,160.00
ANO    Self Insurance Account   4265   10/27/2020      97376          Non‐Medical P&C Self‐Insurance Claims               $           315.71
ANO    Self Insurance Account   4265   10/27/2020      97377          Non‐Medical P&C Self‐Insurance Claims               $           271.29
ANO    Self Insurance Account   4265   10/27/2020      97378          Non‐Medical P&C Self‐Insurance Claims               $           172.00
ANO    Self Insurance Account   4265   10/27/2020      97379          Non‐Medical P&C Self‐Insurance Claims               $            27.10
ANO    Self Insurance Account   4265   10/27/2020      97380          Non‐Medical P&C Self‐Insurance Claims               $           105.00
ANO    Self Insurance Account   4265   10/27/2020      97381          Non‐Medical P&C Self‐Insurance Claims               $           154.00
ANO    Self Insurance Account   4265   10/27/2020      97382          Non‐Medical P&C Self‐Insurance Claims               $           216.00
ANO    Self Insurance Account   4265   10/27/2020      97383          Non‐Medical P&C Self‐Insurance Claims               $            20.00
ANO    Self Insurance Account   4265   10/27/2020      97384          Non‐Medical P&C Self‐Insurance Claims               $           130.00
ANO    Self Insurance Account   4265   10/27/2020      97385          Non‐Medical P&C Self‐Insurance Claims               $           430.00
ANO    Self Insurance Account   4265   10/27/2020      97386          Non‐Medical P&C Self‐Insurance Claims               $           162.00
ANO    Self Insurance Account   4265   10/27/2020      97387          Non‐Medical P&C Self‐Insurance Claims               $           153.85
ANO    Self Insurance Account   4265   10/27/2020      97388          Non‐Medical P&C Self‐Insurance Claims               $           174.73
ANO    Self Insurance Account   4265   10/27/2020      97389          Non‐Medical P&C Self‐Insurance Claims               $           122.00
ANO    Self Insurance Account   4265   10/27/2020      97390          Non‐Medical P&C Self‐Insurance Claims               $           122.00
ANO    Self Insurance Account   4265   10/27/2020      97391          Non‐Medical P&C Self‐Insurance Claims               $           477.00
ANO    Self Insurance Account   4265   10/27/2020      97392          Non‐Medical P&C Self‐Insurance Claims               $           247.00
ANO    Self Insurance Account   4265   10/27/2020      97393          Non‐Medical P&C Self‐Insurance Claims               $           377.60
ANO    Self Insurance Account   4265   10/27/2020      97394          Non‐Medical P&C Self‐Insurance Claims               $            68.00
ANO    Self Insurance Account   4265   10/27/2020      97395          Non‐Medical P&C Self‐Insurance Claims               $            13.84
ANO    Self Insurance Account   4265   10/27/2020      97396          Non‐Medical P&C Self‐Insurance Claims               $         2,897.00
ANO    Self Insurance Account   4265   10/27/2020      97397          Non‐Medical P&C Self‐Insurance Claims               $            57.00
ANO    Self Insurance Account   4265   10/27/2020      97398          Non‐Medical P&C Self‐Insurance Claims               $           182.00
ANO    Self Insurance Account   4265   10/27/2020      97399          Non‐Medical P&C Self‐Insurance Claims               $           136.00
ANO    Self Insurance Account   4265   10/27/2020      97400          Non‐Medical P&C Self‐Insurance Claims               $           547.52
ANO    Self Insurance Account   4265   10/27/2020      97401          Non‐Medical P&C Self‐Insurance Claims               $            68.00
ANO    Self Insurance Account   4265   10/27/2020      97402          Non‐Medical P&C Self‐Insurance Claims               $           346.00
ANO    Self Insurance Account   4265   10/27/2020      97403          Non‐Medical P&C Self‐Insurance Claims               $           557.00
ANO    Self Insurance Account   4265   10/27/2020      97404          Non‐Medical P&C Self‐Insurance Claims               $           110.00
ANO    Self Insurance Account   4265   10/27/2020      97405          Non‐Medical P&C Self‐Insurance Claims               $           103.20
ANO    Self Insurance Account   4265   10/27/2020      97406          Non‐Medical P&C Self‐Insurance Claims               $           344.00
ANO    Self Insurance Account   4265   10/27/2020      97407          Non‐Medical P&C Self‐Insurance Claims               $           160.00
ANO    Self Insurance Account   4265   10/27/2020      97408          Non‐Medical P&C Self‐Insurance Claims               $           318.00
ANO    Self Insurance Account   4265   10/27/2020      97409          Non‐Medical P&C Self‐Insurance Claims               $           167.00
ANO    Self Insurance Account   4265   10/27/2020      97410          Non‐Medical P&C Self‐Insurance Claims               $           195.00
ANO    Self Insurance Account   4265   10/27/2020      97411          Non‐Medical P&C Self‐Insurance Claims               $           492.30
ANO    Self Insurance Account   4265   10/27/2020      97412          Non‐Medical P&C Self‐Insurance Claims               $            30.47
ANO    Self Insurance Account   4265   10/31/2020      97355 (Void)   Non‐Medical P&C Self‐Insurance Claims (Void)        $          (846.28)
ANO    Care & Compassion        4257   10/27/2020      1302           Care & Compassion Claims Check                      $            53.98

                                                                                                                     Total $   23,539,154.08
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 43 of
                                           103

Quarterly Fee Summary

Case name                                   The Roman Catholic Church of the Archdiocese of New Orleans
Case number                                 20‐10846

Month ended:                                October 31, 2020

Payment date                                Cash Disbursements*            Quarterly Fee Due                  Payment ID              Date
January
February
March
Total 1st Quarter

April
May                                          $     8,899,705.93             $           88,997.06
June                                         $    16,698,521.95             $          166,985.22
Total 2nd Quarter                            $    25,598,227.88             $          250,000.00 <A>         26PG9VF0                 7/29/2020

July                                         $    16,704,741.50             $          167,047.42
August                                       $    16,850,104.11             $          168,501.04
September                                    $    15,990,675.39             $          159,906.75
Total 3rd Quarter                            $    49,545,521.00             $          250,000.00 <A>         26Q7698V                10/21/2020

October                                      $    23,539,154.08 <B>
November
December
Total 4th Quarter
                                                                           <A> Total Quarterly Fee due for disbursements
                                                                           $1,000,000 or more category exceeded $250,000
Disbursement Category                       Quarterly Fee Due              threshold.

$0 to $14,999.99                             $               325
                                                                           <B> As of October 31, 2020, it was determined, based on
$15,000 to $74,999.99                        $               650           historical qurarterly disbursements, that the debtor
                                                                           entity's quarterly cash disbursements are expected to
$75,000 to $149,999.99                       $               975           exceed $1,000,000 or more so the quarterly fee due is
                                                                           expected to be $250,000. As such, interaccount transfers
$150,000 to $224,999.99                      $             1,625           within the debtor entity were not identified on the cash
                                                                           di b            j      l
$225,000 to $299,999.99                      $             1,950

$300,000 to $999,999.99                      $             4,875

$1,000,000 or more                          1% of quarterly disbursements or $250,000, whichever is less


Note that a minimum payment of $325 is due each quarter even if no disbursements are made in the case during the period.
*Note: should agree with "adjusted cash
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 44 of
                                           103
           AP Aging
           AP Aging
           Case name                                  The Roman Catholic Church of the Archdiocese of New Orleans
           Case number                                20‐10846

           For Period October 1 to October 31, 2020

                                                                                                                                 Post‐Petition Accounts Payable Aging Report
  Entity   Type                                       Date Incurred                                                 Days Outstanding                                         Vendor    Description                                                      Amount
  OLG      Bill                                       05/07/2020                                                         60‐90               Professional Music Services, Inc          Personnel Costs:Salary‐Musicians                                  $          150.00
  OLG      Bill                                       05/07/2020                                                         60‐90                                                         Personnel Costs:Salary‐Musicians                                  $          100.00
  OLG      Bill                                       05/07/2020                                                         60‐90                                                         Personnel Costs:Salary‐Musicians                                  $           70.00
  OLG      Bill                                       05/07/2020                                                         60‐90               William Willoughby                        Personnel Costs:Salary‐Musicians                                  $           50.00
  OLG      Bill                                       05/07/2020                                                         60‐90                                                         Personnel Costs:Salary‐Musicians                                  $           25.00
  OLG      Bill                                       05/14/2020                                                         60‐90               Pitney Bowes                              Other Parish Expenses:Church Office Costs:Postage                 $          820.99
  OLG      Bill                                       10/27/2020                                                          0‐30                                                         Other Parish Expenses:Household expenses                          $          210.00
  AOL      Trade payable                              10/1/2020                                                           0‐30               Acme Lock Co.                             Operations and Maintenance of Plant                               $          200.00
  AOL      Trade payable                              10/20/2020                                                          0‐30               Archdiocese of New Orleans                Administrative                                                    $       15,030.00
  AOL      Trade payable                              10/31/2020                                                          0‐30               IV Waste, LLC                             Operations and Maintenance of Plant                               $          148.95
  AOL      Trade payable                              10/27/2020                                                          0‐30               Prometric                                 Instructional Expense                                             $        2,125.00
  AOL      Trade payable                              10/31/2020                                                          0‐30               Rumbelow Consulting, LLC                  Administrative                                                    $          435.00
  AOL      Other payable                              Old issue with subledger agreeing to balance sheet                                                                                                                                                 $           98.70
  ACHS     TRADE                                      10/29/2020                                                          0‐30               LHSAA                                     CC‐ FINE FOR RUNNING UNREGISTERED ATHLETES                        $           50.00
  ACHS     TRADE                                      10/02/2020                                                          0‐30                                                         BANNER IN FRONT OF SCHOOL                                         $           36.25
  ACHS     TRADE                                      10/7/2020                                                           0‐30                                                         CAMPUS MINISTRY LEADERSHIP TEAM T‐SHIRTS (27)                     $          378.00
  ACHS     TRADE                                      10/16/2020                                                          0‐30               DOCUMART                                  SPEND THE DAY‐ THANK YOU CARDS (250)                              $          139.64
  ACHS     TRADE                                      10/19/2020                                                          0‐30               AT&T                                      PHONE ‐ 10/19‐11/18                                               $          185.60
  ACHS     TRADE                                      10/20/2020                                                          0‐30               RICHARD REAMES TROPHY & AWARDS LLC        DOOR SIGNS (3)                                                    $          111.39
  ACHS     TRADE                                      10/21/2020                                                          0‐30                                                         BATTERIES/BATTERIES TESTER MAC LAB/CABLES FOR MONITORS/DOCKING $             240.67
  ACHS     TRADE                                      10/21/2020                                                          0‐30               ROSER'S                                   6129‐22 TABLE CLOTHS AND SKIRTS FOUND WHEN CLEANED ROUND BUIL $              169.02
  ACHS     TRADE                                      10/23/2020                                                          0‐30               DINA LIVACCARI                            Senior Ring Dance Decorations                                     $           74.21
  ACHS     TRADE                                      10/27/2020                                                          0‐30               MULE'S RELIGIOUS & OFFICE SUPPLY, INC     37.5" ST. JOSEPH STATUE (REPLACEMENT)                             $          436.75
  ACHS     TRADE                                      10/27/2020                                                          0‐30               MKN, LLC dba CANNON FRAMING & ARTWORKS    CLASS 2020 COMPOSITE PICTURE FRAMED / PRINCIPAL DANTAGNAN PICT $             408.23
  ACHS     TRADE                                      10/27/2020                                                          0‐30               CAROLINA BIOLOGICAL SUPPLY COMPANY        SCIENCE‐ BIOLOGY LAB SUPPLIES: PS SHEEP BRAIN/PS SHEEP EYE/EARTHW $          373.21
  ACHS     TRADE                                      10/30/2020                                                          0‐30               AQUATIC SPECIALTIES, INC.                 AQUARIUM MAINT ‐ 9/2, 9/16)                                       $          150.00
  ACHS     TRADE                                      10/31/2020                                                          0‐30               FIRST BANK & TRUST                        VISA CHARGES‐ 10/3/2020‐11/2/2020                                 $        6,419.21
  ACHS     TRADE                                      10/31/2020                                                          0‐30               SAM'S CLUB/SYNCHRONY BANK                 SAM'S CREDIT CARD STATEMENT BILLING PERIOD 10/3/20‐11/2/20        $          511.93
  ACHS     TRADE                                      10/31/2020                                                          0‐30               HOME DEPOT CREDIT SERVICES                MAINENANCE SUPPLIES                                               $          464.02
  ACHS     TRADE                                      10/07/2020                                                          0‐30               MEDCO SUPPLY COMPANY                      ATHLETIC TRAINING SUPPLIES ; LIP BALM                             $            7.69
  ACHS     TRADE                                      10/09/2020                                                          0‐30               THOMPSON AUCTION SERVICE, LLC             GALA‐ AUCTION EVENT SERVICES ‐ 3/27/21 (DEPOSIT)                  $        1,000.00
  ACHS     TRADE                                      10/12/2020                                                          0‐30               A‐1 SERVICE, INC.                         DUST MOP SERVICE‐ 10/12/20                                        $           67.40
  ACHS     TRADE                                      10/20/2020                                                          0‐30               ARCHDIOCESE OF NEW ORLEANS‐ACCOUNTING     STUDENT ASSESSMENT 2020‐2021                                      $       17,100.00
  ACHS     TRADE                                      10/22/2020                                                          0‐30               COMMUNITY COFFEE COMPANY, LLC             COFFEE‐36 CT (3) / CRMR (24) / SIR STIX (2000                     $          224.08
  ACHS     TRADE                                      10/25/2020                                                          0‐30               AT&T                                      PHONE ‐ 10/25‐11/24                                               $           93.39
  ACHS     TRADE                                      10/25/2020                                                          0‐30               AT&T                                      PHONE ‐ 10/25‐11/24                                               $           93.12
  ACHS     TRADE                                      10/26/2020                                                          0‐30               A & L SALES, INC.                         6332‐6 BOXES GARBAGE BAGS                                         $          147.72
  ACHS     TRADE                                      10/27/2020                                                          0‐30               MOBILE PAINT MFG CO., INC                 PAINT SUPPLIES‐ FENCE AND POLES                                   $           84.82
  ACHS     TRADE                                      10/29/2020                                                          0‐30               LAMAR COMPANIES                           OPEN HOUSE‐ BILLBOARDS ‐ EARHART EXP (10/29‐11/6)                 $          270.00
  ACHS     TRADE                                      10/30/2020                                                          0‐30               O'KEEFE ELECTRIC SERVICE, INC.            SHORT CIRCUIT IN CANOPY LIGHTS/DAMAGED FIXTURE FLAG POLE          $          220.00
  ACHS     TRADE                                      10/31/2020                                                          0‐30               IV WASTE LLC                              DUMPSTER SERVICE ‐ 10/20                                          $          576.00
  AHHS     Invoice                                    10/01/2020                                                          0‐30               DocuCenter                                Development                                                       $           66.00
  AHHS     Invoice                                    10/01/2020                                                          0‐30               DocuCenter                                Development                                                       $          117.00
  AHHS     Invoice                                    10/05/2020                                                          0‐30               DocuCenter                                Development                                                       $           27.00
  AHHS     Invoice                                    10/09/2020                                                          0‐30               DocuCenter                                Development                                                       $          432.00
  AHHS     Invoice                                    10/13/2020                                                          0‐30               DocuCenter                                Development                                                       $          681.00
  AHHS     Invoice                                    10/20/2020                                                          0‐30               DocuCenter                                Development                                                       $          336.00
  AHHS     Invoice                                    10/26/2020                                                          0‐30               DocuCenter                                Development                                                       $           36.00
  AHHS     Invoice                                    10/01/2020                                                          0‐30               Project Lead the Way Inc.                 Instructional                                                     $          220.00
  AHHS     Invoice                                    10/01/2020                                                          0‐30               Project Lead the Way Inc.                 Instructional                                                     $          201.00
  AHHS     Invoice                                    10/01/2020                                                          0‐30               Project Lead the Way Inc.                 Instructional                                                     $        2,400.00
  AHHS     Invoice                                    10/01/2020                                                          0‐30               Project Lead the Way Inc.                 Instructional                                                     $        2,400.00
  AHHS     Invoice                                    10/01/2020                                                          0‐30               Ochsner Clinic Foundation                 Student Activities                                                $        3,400.00
  AHHS     Invoice                                    10/01/2020                                                          0‐30               Star Service, Inc.                        Operations                                                        $          370.40
  AHHS     Invoice                                    10/01/2020                                                          0‐30               Star Service, Inc.                        Operations                                                        $          138.80
  AHHS     Invoice                                    10/01/2020                                                          0‐30               Star Service, Inc.                        Operations                                                        $          138.80
  AHHS     Invoice                                    10/01/2020                                                          0‐30               WGNO‐TV                                   Development                                                       $          361.00
  AHHS     Invoice                                    10/07/2020                                                          0‐30               Star Service, Inc.                        Operations                                                        $          187.60
  AHHS     Invoice                                    10/07/2020                                                          0‐30               Star Service, Inc.                        Operations                                                        $          320.60
  AHHS     Invoice                                    10/30/2020                                                          0‐30               Davis Products Bogalusa                   Operations                                                        $          255.76
  AHHS     Invoice                                    10/26/2020                                                          0‐30               Coca‐Cola Bottling Company United, Inc.   Student Activities                                                $          785.09
  AHHS     Invoice                                    10/12/2020                                                          0‐30               Medco Supply Company                      Student Activities                                                $        1,511.07
  AHHS     Invoice                                    10/13/2020                                                          0‐30               Attaway Award Center                      Student Activities                                                $           10.87
  AHHS     Invoice                                    10/13/2020                                                          0‐30               Medco Supply Company                      Student Activities                                                $          313.40
  AHHS     Invoice                                    10/13/2020                                                          0‐30               Medco Supply Company                      Student Activities                                                $          198.80
  AHHS     Invoice                                    10/16/2020                                                          0‐30               Selection.com                             Administrative                                                    $           19.00
  AHHS     Invoice                                    10/16/2020                                                          0‐30               ARNO ‐ Accounting Office                  Operations                                                        $          590.10
  AHHS     Invoice                                    10/16/2020                                                          0‐30               Medco Supply Company                      Student Activities                                                $           30.88
  AHHS     Invoice                                    10/26/2020                                                          0‐30               Tammany Utilities                         Operations                                                        $          477.45
  AHHS     Invoice                                    10/26/2020                                                          0‐30               Tammany Utilities                         Operations                                                        $          500.41
  AHHS     Invoice                                    10/24/2020                                                          0‐30               LEAF                                      Instructional                                                     $          268.49
  AHHS     Invoice                                    10/28/2020                                                          0‐30               Home Depot Credit Services                Operations                                                        $           20.00
  AHHS     Invoice                                    10/20/2020                                                          0‐30               Star Service, Inc.                        Operations                                                        $        1,873.33
  AHHS     Invoice                                    10/20/2020                                                          0‐30               Star Service, Inc.                        Operations                                                        $        2,210.00
  AHHS     Invoice                                    10/20/2020                                                          0‐30               Waste Management                          Operations                                                        $          355.51
  AHHS     Invoice                                    10/20/2020                                                          0‐30               Medco Supply Company                      Student Activities                                                $          119.35
  AHHS     Invoice                                    10/20/2020                                                          0‐30               ARNO ‐ Accounting Office                  Administrative                                                    $       18,570.00
  AHHS     Invoice                                    10/21/2020                                                          0‐30               Ochsner Clinic Foundation                 Student Activities                                                $        3,400.00
  AHHS     Invoice                                    10/24/2020                                                          0‐30               Wells Fargo Vendor Fin Serv               Instructional                                                     $        1,553.77
  AHHS     Invoice                                    10/22/2020                                                          0‐30               AT&T                                      Operations                                                        $          210.68
  AHHS     Invoice                                    10/23/2020                                                          0‐30               Mele Printing                             Development                                                       $        2,361.59
  AHHS     Invoice                                    10/23/2020                                                          0‐30               Mele Printing                             Development                                                       $        1,469.00
  AHHS     Invoice                                    10/06/2020                                                          0‐30               Southeastern La. University               Instructional                                                     $        9,225.00
  AHHS     Invoice                                    10/26/2020                                                          0‐30               Jostens                                   Student Services                                                  $       43,531.62
  AHHS     Invoice                                    10/27/2020                                                          0‐30               Mele Printing                             Development                                                       $        5,163.00
  AHHS     Invoice                                    10/27/2020                                                          0‐30               J.W. Pepper & Son, Inc.                   Instructional                                                     $           93.99
  AHHS     Invoice                                    10/29/2020                                                          0‐30               Project Lead the Way Inc.                 Instructional                                                     $           42.00
  AHHS     Invoice                                    10/30/2020                                                          0‐30               Rotolo Consultants, Inc.                  Operations                                                        $        2,407.50
  AHHS     Invoice                                    10/31/2020                                                          0‐30                                                         Student Activities                                                $          327.91
  AHHS     Invoice                                    10/31/2020                                                          0‐30                                                         Instructional                                                     $           60.00
  AHHS     Invoice                                    10/31/2020                                                          0‐30                                                         Instructional                                                     $           15.00
  AHHS     Invoice                                    10/31/2020                                                          0‐30               IV Waste LLC                              Operations                                                        $          186.19
  AHHS     Invoice                                    10/31/2020                                                          0‐30               WGNO‐TV                                   Development                                                       $        2,584.73
  ARHS     Bill                                       10/24/2020                                                          0‐30               Wes‐Pet, Inc.                             Transportation Gasoline                                           $           34.40
  ARHS     Bill                                       10/31/2020                                                          0‐30               Canon Financial Services, Inc.            Instructional Copier Lease Payment                                $        2,566.52
  ARHS     Bill                                       10/31/2020                                                          0‐30               Canon Financial Services, Inc.            Instructional Copie Usage Charge                                  $           63.69
  ARHS     Bill                                       10/12/2020                                                          0‐30               MMI Culinary Services                     Stu Serv Fd Service Purchase                                      $        4,903.01
  ARHS     Bill                                       10/13/2020                                                          0‐30               Sportdecals                               Stu Serv Bookstore Inventory Purchases                            $          512.73
  ARHS     Bill                                       10/15/2020                                                          0‐30               New Orleans Tours                         Stu Activ Athletics Transportation to Shreveport                  $        5,600.00
  ARHS     Bill                                       10/15/2020                                                          0‐30               First Tee LLC                             Stu Serv Fall Basketball Camp T Shirts                            $        1,310.40
  ARHS     Bill                                       10/15/2020                                                          0‐30               Wayne's Vending                           Admin Hospitality                                                 $          363.32
  ARHS     Bill                                       10/19/2020                                                          0‐30               Joe Cummins Advertising Specialties Inc   Stu Serv Bookstore Inventory Purchases                            $          899.88
  ARHS     Bill                                       10/19/2020                                                          0‐30               Joe Cummins Advertising Specialties Inc   Stu Serv Bookstore Inventory Purchases                            $          314.79
  ARHS     Bill                                       10/24/2020                                                          0‐30               iNprint Solutions                         Football Fundraising Program Printing                             $       13,243.78
  ARHS     Bill                                       10/24/2020                                                          0‐30               Varsity Spirit Fashion                    Cheerleader Uniforms                                              $        6,119.43
  ARHS     Bill                                       10/24/2020                                                          0‐30               Chuckwagon Charters Inc                   Stu Activ Campus Ministry Transportation Retreats                 $          700.00
  ARHS     Bill                                       10/24/2020                                                          0‐30               FastSigns of Metairie                     Development Admissions Expense                                    $          490.31
  ARHS     Bill                                       10/24/2020                                                          0‐30               Chuckwagon Charters Inc                   Stu Activ Football Transportation                                 $          450.00
  ARHS     Bill                                       10/24/2020                                                          0‐30               Presto‐X                                  Maintenance Sanitation Supplies                                   $          386.00
  ARHS     Bill                                       10/24/2020                                                          0‐30               Union Service & Maintenance               Maintenance Contracted Services                                   $          310.00
  ARHS     Bill                                       10/24/2020                                                          0‐30               Canon Solutions America, Inc.             Instructional Supplies for copier‐staples                         $          245.70
  ARHS     Bill                                       10/24/2020                                                          0‐30               Acme Solutions                            Maintenance Sanitation Supplies                                   $          218.40
  ARHS     Bill                                       10/24/2020                                                          0‐30                                                         Stu Activ Yearbook Expense Reimbursement                          $          204.81
  ARHS     Bill                                       10/24/2020                                                          0‐30               Exxon Mobil                               Stu Serv Dr Ed Gasoline Expense                                   $          142.47
  ARHS     Bill                                       10/26/2020                                                          0‐30               Entergy                                   Utilities Electricity                                             $          638.81
  ARHS     Bill                                       10/26/2020                                                          0‐30               Chuckwagon Charters Inc                   Devel Admissions Transport Raider Experience                      $          225.00
  ARHS     Bill                                       10/26/2020                                                          0‐30               Entergy                                   Utilities Electricity                                             $          149.60
  ARHS     Bill                                       10/26/2020                                                          0‐30                                                         Devel/Admissions Expense Reimbursement                            $           23.02
  ARHS     Bill                                       10/26/2020                                                          0‐30               Entergy                                   Utilities Electricity                                             $           20.91
  ARHS     Bill                                       10/27/2020                                                          0‐30               Entergy                                   Utilities Electricity                                             $        9,391.30
  ARHS     Bill                                       10/27/2020                                                          0‐30               Entergy                                   Utilities Electricity                                             $        1,258.60
  ARHS     Bill                                       10/27/2020                                                          0‐30               Entergy                                   Utilities Electricity                                             $          811.70
  ARHS     Bill                                       10/27/2020                                                          0‐30               Entergy                                   Utilities Electricity                                             $          695.01
  ARHS     Bill                                       10/27/2020                                                          0‐30               Entergy                                   Utilities Electricity                                             $          501.71
  ARHS     Bill                                       10/27/2020                                                          0‐30                                                         Instructional Science Expense Reimbursement                       $          194.41
  ARHS     Bill                                       10/27/2020                                                          0‐30               Entergy                                   Utilities Electricity                                             $          174.04
  ARHS     Bill                                       10/27/2020                                                          0‐30               Entergy                                   Utilities Electricity                                             $          142.31
  ARHS     Bill                                       10/27/2020                                                          0‐30                                                         Instructional Prof Development In Service Reimburse               $           70.00
  ARHS     Bill                                       10/28/2020                                                          0‐30                                                         Stu Serv Fd Service Purchase                                      $        3,221.14
  ARHS     Bill                                       10/28/2020                                                          0‐30               CiCi's #378                               Stu Serv Fd Service Purchase                                      $        1,124.76
  ARHS     Bill                                       10/28/2020                                                          0‐30               Subway 22229 LLC                          Stu Serv Fd Service Purchase                                      $          875.00
  ARHS     Bill                                       10/28/2020                                                          0‐30                                                         Stu Serv Fd Service Reimbursement                                 $          681.66
  ARHS     Bill                                       10/28/2020                                                          0‐30               Subway 22229 LLC                          Stu Serv Fd Service Purchase                                      $          305.00
  ARHS     Bill                                       10/28/2020                                                          0‐30                                                         Stu Serv Fd Service Reimbursement                                 $          144.69
  ARHS     Bill                                       10/28/2020                                                          0‐30                                                         Stu Serv Fd Service Expense Reimburse                             $           62.60
  ARHS     Bill                                       10/30/2020                                                          0‐30               Entergy                                   Utilities Electricity                                             $          208.42
  ARHS     Bill                                       10/31/2020                                                          0‐30               W. R. Transport, LLC                      Stu Activ Band Transportation to Hammond Ftbl                     $        1,350.00
  ARHS     Bill                                       10/20/2020                                                          0‐30               Perret's                                  Stu Serv Bookstore Inventory Purchases                            $        1,228.50
  ARHS     Bill                                       10/21/2020                                                          0‐30               Coca‐Cola Bottling Company United, Inc.   Stu Serv Fd Service Purchase                                      $        1,816.55
  ARHS     Bill                                       10/24/2020                                                          0‐30               Star Service Inc.                         Maintenance Contracted Services                                   $        2,886.00
  ARHS     Bill                                       10/24/2020                                                          0‐30               World's Finest Chocolate, Inc.            Instructional Band Fundraising for Disney                         $        2,639.25
  ARHS     Bill                                       10/24/2020                                                          0‐30               FastSigns of Metairie                     Devel/Admissions Marketing                                        $        2,550.37
  ARHS     Bill                                       10/24/2020                                                          0‐30                                                         Stu Serv Bookstore Inventory Purchases                            $        1,739.56
  ARHS     Bill                                       10/24/2020                                                          0‐30               FastSigns of Metairie                     Development Marketing Vinyl Panels Advertisement                  $        1,692.35
  ARHS     Bill                                       10/24/2020                                                          0‐30               A & L Sales, Inc.                         Custodial Maintenance Supplies                                    $        1,672.86
  ARHS     Bill                                       10/24/2020                                                          0‐30                                                         Stu Serv Bookstore Inventory Purchases                            $        1,592.14
  ARHS     Bill                                       10/24/2020                                                          0‐30                                                         Stu Serv Bookstore Inventory Purchases                            $        1,503.68
  ARHS     Bill                                       10/24/2020                                                          0‐30                                                         Stu Serv Bookstore Inventory Purchases                            $        1,149.88
  ARHS     Bill                                       10/24/2020                                                          0‐30               All Sport Sales                           Stu Activ Athletics                                               $          683.05
  ARHS     Bill                                       10/24/2020                                                          0‐30                                                         Stu Serv Bookstore Inventory Purchases                            $          622.44
  ARHS     Bill                                       10/24/2020                                                          0‐30                                                         Stu Serv Bookstore Inventory Purchases                            $          438.98
  ARHS     Bill                                       10/24/2020                                                          0‐30               BSN Sports, LLC                           Stu Activ Athletics                                               $          203.34
  ARHS     Bill                                       10/24/2020                                                          0‐30               A & L Sales, Inc.                         Custodial Maintenance Supplies                                    $          191.65
  ARHS     Bill                                       10/24/2020                                                          0‐30               Direct Tire Town Causeway, Inc.           Vehicle Upkeep                                                    $          140.00
  ARHS     Bill                                       10/24/2020                                                          0‐30               Christian Brothers Conference             Admin registration for conference                                 $          100.00
  ARHS     Bill                                       10/24/2020                                                          0‐30               A & L Sales, Inc.                         Custodial Maintenance Supplies                                    $           87.36
  ARHS     Bill                                       10/25/2020                                                          0‐30               Jefferson Battery Co., Inc.               Vehicle Upkeep                                                    $          120.01
  ARHS     Bill                                       10/26/2020                                                          0‐30               Perret's                                  Stu Serv Bookstore Inventory Purchases                            $          689.27
  ARHS     Bill                                       10/26/2020                                                          0‐30               Joe Cummins Advertising Specialties Inc   Stu Serv Bookstore Inventory Purchases                            $          456.38
  ARHS     Bill                                       10/30/2020                                                          0‐30               Hobnobber / The Alexander Room            Stu Activ                                                         $        5,474.00
  ARHS     Bill                                       10/24/2020                                                          0‐30               Camp Abbey Retreat Center                 Stu Activ Campus Ministry Retreat Expenses                        $        2,016.00
  ARHS     Bill                                       10/24/2020                                                          0‐30               Screen Printing Unlimited LLC             Stu Activ Baseball Fundraising Signage                            $        1,789.90
  ARHS     Bill                                       10/24/2020                                                          0‐30               Screen Printing Unlimited LLC             Stu Activ Baseball Fundraising Signage                            $          111.87
  ARHS     Bill                                       10/24/2020                                                          0‐30               Reliastar Life Insurance Co. of N. Y.     Employee Paid Insurance Premiums                                  $           94.31
  ARHS     Bill                                       10/24/2020                                                          0‐30               Reliastar Life Insurance Co. of N. Y.     Employee Paid Insurance Premiums                                  $           17.64
  ARHS     Bill                                       10/26/2020                                                          0‐30               Joe Cummins Advertising Specialties Inc   Stu Serv Bookstore Inventory Purchases                            $        1,764.69
  ARHS     Bill                                       10/26/2020                                                          0‐30               Greenkeeper's, Inc.                       Maintenance Grounds Upkeep Contracted Services                    $          948.00
  ARHS     Bill                                       10/27/2020                                                          0‐30               Corass Electrical Service                 Maintenance Contracted Services                                   $       10,925.00
  ARHS     Bill                                       10/27/2020                                                          0‐30               Corass Electrical Service                 Maintenance Contracted Services                                   $          427.00
  ARHS     Bill                                       10/27/2020                                                          0‐30               Cintas Corp                               Maintenance Routine Rug Cleaning                                  $          274.99
  ARHS     Bill                                       10/27/2020                                                          0‐30               Corass Electrical Service                 Maintenance Contracted Services                                   $          255.00
  ARHS     Bill                                       10/27/2020                                                          0‐30               Church Supply House                       Stu Activ Chapel Supplies                                         $           83.49
  ARHS     Bill                                       10/27/2020                                                          0‐30               Interface Security Systems, LLC           Battery for Gate                                                  $           21.84
  ARHS     Bill                                       10/28/2020                                                          0‐30               Austin Fire Systems, L.L.C.               Contracted Services for Inspection                                $        1,875.00
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 45 of
                                           103
  ARHS    Bill             10/28/2020    0‐30    Coca‐Cola Bottling Company United, Inc.             Stu Serv Fd Service Drink Purchases                                           $     1,569.90
  ARHS    Bill             10/28/2020    0‐30    Wes‐Pet, Inc.                                       Transportation Gasoline                                                       $        72.90
  ARHS    Bill             10/30/2020    0‐30    BeAed of Louisiana, Inc.                            Stu Serv Bookstore Inventory Purchases                                        $     1,044.00
  ARHS    Bill             10/30/2020    0‐30    Wes‐Pet, Inc.                                       Transportation Gasoline                                                       $        73.11
  ARHS    Bill             10/31/2020    0‐30    Chateau Golf & Country Club                         Stu Activ Golf Expenses                                                       $        54.60
  ASHS    Trade Payable    10/1/2020     0‐30    Foley Marketing                                     Student Activities:Agency Payable: Cheerleaders                               $       542.23
  ASHS    Trade Payable    10/1/2020     0‐30    Ricoh USA, Inc.                                     Instructional Expense                                                         $        27.35
  ASHS    Trade Payable    10/16/2020    0‐30    Entergy                                             Operations and Maintenance of Plant                                           $    11,937.73
  ASHS    Trade Payable    10/20/2020    0‐30    Universal Cheerleaders Association                  Student Activities:Agency Payable: Cheerleaders                               $       700.00
  ASHS    Trade Payable    10/20/2020    0‐30    Foley Marketing                                     Student Services                                                              $       121.92
  ASHS    Trade Payable    10/22/2020    0‐30    Romaguera Photography                               Student Activities:Agency Payable: Gridiron                                   $       614.10
  ASHS    Trade Payable    10/22/2020    0‐30    TTC Trammell Company                                Student Activities:Agency Payable: Gridiron                                   $        97.95
  ASHS    Trade Payable    10/23/2020    0‐30    Sherwin Williams                                    Operations and Maintenance of Plant                                           $       198.19
  ASHS    Trade Payable    10/28/2020    0‐30    Sam's Club                                          Administrative, Instructional, Operations and Maintenance of Plant and        $     1,560.74
  ASHS    Trade Payable    10/28/2020    0‐30                                                        Operations and Maintenance of Plant                                           $       553.08
  ASHS    Trade Payable    10/28/2020    0‐30    Atmost Energy                                       Operations and Maintenance of Plant                                           $       333.69
  ASHS    Trade Payable    10/28/2020    0‐30    Home Depot Credit Card                              Administrative Expense                                                        $        20.00
  ASHS    Trade Payable    10/29/2020    0‐30    Photographer Stephen Young                          Development and Marketing                                                     $     2,800.00
  ASHS    Trade Payable    10/30/2020    0‐30    Guillory Sheet Metal Works, INC.                    Operations and Maintenance of Plant                                           $       598.00
  ASHS    Trade Payable    10/31/2020    0‐30    Rumbelow Consulting, LLC                            Administrative Expense                                                        $       217.50
  ASHS    Trade Payable    10/31/2020    0‐30    IV Waste LLC                                        Operations and Maintenance of Plant                                           $       167.57
  PJPHS   Bill             10/31/2020    0‐30    City of Slidell                                     Water                                                                         $       222.14
  PJPHS   Bill             10/31/202     0‐30    City of Slidell                                     Water                                                                         $       460.00
  PJPHS   Bill             10/2/2020     0‐30    Painter's World                                     Football Field Paint                                                          $       369.84
  PJPHS   Bill             10/15/2020    0‐30    Painter's World                                     Football Field Paint                                                          $       173.65
  PJPHS   Bill             10/28/2020    0‐30    Painter's World                                     Football Field Paint                                                          $        80.43
  PJPHS   Bill             10/31/2020    0‐30    Coastal Environmental                               Dumpster for Event                                                            $       350.00
  PJPHS   Bill             10/1/2020     0‐30    Musemeche/Flashpix                                  Senior Banner Signs                                                           $       600.00
  PJPHS   Bill             10/1/2020     0‐30    Selection.com                                       CGM Connect ‐ Safe Environment                                                $       114.00
  PJPHS   Bill             10/1/2020     0‐30    Selection.com                                       CGM Connect ‐ Safe Environment                                                $       171.00
  PJPHS   Bill             10/16/2020    0‐30    Selection.com                                       CGM Connect ‐ Safe Environment                                                $       418.00
  PJPHS   Bill             10/1/2020     0‐30    K12 Management                                      AP / HS course / Elective classes                                             $     1,376.00
  PJPHS   Bill             10/1/2020     0‐30    K12 Management                                      AP / HS course / Elective classes                                             $     2,408.00
  PJPHS   Bill             10/20/2020    0‐30    La HOSA                                             Fall Forum Conference                                                         $       100.00
  PJPHS   Bill             10/6/2020     0‐30    Balfour New Orleans                                 Student Athletic Patches                                                      $     1,584.73
  SCCS    Bill             10/01/2020    0 ‐30   Red Stick Sports                                    Softball apparal                                                              $       638.53
  SCCS    Bill             10/01/2020    0 ‐30   Dynamic Audio Video                                 Sales Tax on Invoice #3215 ‐ Stadium speakers                                 $       155.52
  SCCS    Bill             10/01/2020    0 ‐30   Plantation Decor                                    Plant ‐ Cupit                                                                 $        49.25
  SCCS    Bill             10/01/2020    0 ‐30   Madere Ventures, LLC                                IT Consulting and Installation services; IT Repair & Maintenance services ‐   $       100.00
  SCCS    Bill             10/02/2020    0 ‐30   Tri‐Parish Trophies                                 Nametags                                                                      $         7.21
  SCCS    Bill             10/08/2020    0 ‐30   Reserve Telecommunications                          Excess payment due to check written                                           $      (290.35)
  SCCS    Check            10/22/2020    0 ‐30   Apple, Inc. 649446                                  Adapter and USB Drive                                                         $       269.80
  SCCS    Bill             10/21/2020    0 ‐30   ARCHNO ‐ Insurance Off.                             Flood + Property + G/L + W/C + Vehicle for Oct. 2020                          $        20.00
  SCCS    Bill             10/01/2020    0 ‐30   Fisher's Ace Hardware, Inc.                         Wasp killer                                                                   $        15.34
  SCCS    Bill             10/24/2020    0 ‐30                                                       Reimburse for body suits                                                      $        62.20
  SCCS    Bill             10/30/2020    0 ‐30   SLFOA                                               Officials for SCC v Franklinton Football 10/30                                $       870.00
  SCCS    Bill             10/30/2020    0 ‐30                                                       Reimburse for jambalaya ingredients                                           $       355.12
  SCCS    Bill             10/30/2020    0 ‐30                                                       Cookies for homecoming                                                        $       150.00
  SCCS    Bill             10/13/2020    0 ‐30   Atmos Energy 51                                     Cust. #3002184851                                                             $       259.27
  SCCS    Bill             10/13/2020    0 ‐30   Atmos Energy 35                                                                                                                   $        32.76
  SCCS    Bill             10/20/2020    0 ‐30   Office of Catholic Schools                          2020‐21 Student Assessment Fee                                                $    11,550.00
  SCCS    Bill             10/20/2020    0 ‐30   Pioneer Manufacturing Company                       Field Paint                                                                   $       633.50
  SCCS    Bill             10/22/2020    0 ‐30   Coca Cola Bottling Company United 2702              Volleyball ‐ Drinks                                                           $       250.23
  SCCS    Bill             10/22/2020    0 ‐30   Coca Cola Bottling Company United 2702              Pumpkin decorating ‐ Drinks                                                   $        83.38
  SCCS    Bill             10/08/2020    0 ‐30   Red Stick Sports                                    Coach Clothing                                                                $       448.60
  SCCS    Bill             10/14/2020    0 ‐30   Varsity Spirit Fashion                              Uniforms & supplies                                                           $     1,038.36
  SCCS    Bill             10/14/2020    0 ‐30   Fisse Graphics                                      Spirit T‐shirts                                                               $       168.07
  SCCS    Bill             10/14/2020    0 ‐30   Fisher's Ace Hardware, Inc.                         Ant killer, booster cable                                                     $        86.60
  SCCS    Bill             10/14/2020    0 ‐30   Matherne's Supermarket                              Concession stock for football                                                 $        17.26
  SCCS    Bill             10/19/2020    0 ‐30   St. John the Baptist Parish Utilities               Customer ID: 0360000122                                                       $     1,150.60
  SCCS    Bill             10/19/2020    0 ‐30   St. John the Baptist Parish Utilities               Customer ID: 0360000127                                                       $        49.66
  SCCS    Bill             10/19/2020    0 ‐30   St. John the Baptist Parish Utilities               Customer ID: 0360000120                                                       $        43.07
  SCCS    Bill             10/19/2020    0 ‐30   St. John the Baptist Parish Utilities               Customer ID: 0360000126                                                       $        43.07
  SCCS    Bill             10/15/2020    0 ‐30   Reliastar Life Insurance Co. of New York            Horizon Global                                                                $        30.12
  SCCS    Bill             10/19/2020    0 ‐30   St. John the Baptist Parish Utilities               Customer ID: 0360000124                                                       $        43.07
  SCCS    Bill             10/16/2020    0 ‐30   Adobe, Inc.                                         Creative Cloud ALL MLP License 10‐30‐20 to 9‐29‐21                            $     2,255.00
  SCCS    Bill             10/16/2020    0 ‐30   Melanie P. Lohfink                                  Reimburse for supplies for Homecoming Week                                    $        79.70
  SCCS    Bill             10/26/2020    0 ‐30   Nextel ‐ Sprint                                     telephone expense                                                             $       117.06
  SCCS    Bill             10/22/2020    0 ‐30   Entergy                                             Account #28184950 Meter #5153532                                              $     7,323.05
  SCCS    Bill             10/22/2020    0 ‐30   Entergy                                             Acct# 128189484 Meter# 7793740/AM12122871                                     $       508.76
  SCCS    Bill             10/22/2020    0 ‐30   Entergy                                             Acct# 128189487 Meter# 7867485/AM1160425                                      $       367.32
  SCCS    Bill             10/18/2020    0 ‐30   River Parishes Community College                    Technical career essentails and exploration course                            $     4,000.00
  SCCS    Bill             10/23/2020    0 ‐30   Pitney Bowes Purchase Power                         postage                                                                       $       301.50
  SCCS    Bill             10/20/2020    0 ‐30   Economical Janitorial & Paper Supplies              Supplies ‐ tissue / towel rolls                                               $     1,185.23
  SCCS    Bill             10/20/2020    0 ‐30   Apple, Inc. 864214                                  Applecare service fee ‐ Macbook Pro                                           $       497.95
  SCCS    Bill             10/20/2020    0 ‐30   Apple, Inc. 864214                                  Applecare service fee ‐ Ipad x 2                                              $        98.00
  SCCS    Bill             10/20/2020    0 ‐30   Apple, Inc. 864214                                  Applecare service fee ‐ Ipad x 2                                              $        98.00
  SCCS    Bill             10/20/2020    0 ‐30   Hymel's Florist and Gifts                           Flowers ‐ E. Mohon                                                            $        74.54
  SCCS    Bill             10/21/2020    0 ‐30   Apple, Inc. 864214                                  Applecare service fee ‐ Ipad x 2                                              $        98.00
  SCCS    Bill             10/21/2020    0 ‐30   Economical Janitorial & Paper Supplies              Dispenser                                                                     $        48.75
  SCCS    Bill             10/22/2020    0 ‐30   Apple, Inc. 864214                                  Applecare service fee ‐ Mac level 1                                           $       198.00
  SCCS    Bill             10/23/2020    0 ‐30   Office Depot                                        Copy paper / other                                                            $       491.87
  SCCS    Bill             10/23/2020    0 ‐30   Fisse Graphics                                      Visors                                                                        $       362.02
  SCCS    Bill             10/23/2020    0 ‐30   Fisher's Ace Hardware, Inc.                         Cable ties                                                                    $         6.01
  SCCS    Bill             10/26/2020    0 ‐30   Fisse Graphics                                      T‐shirt s, sweatshirts                                                        $     1,279.87
  SCCS    Bill             10/26/2020    0 ‐30   The Master's Touch Drumline                         Reimburse for Drumline T‐shirts                                               $        26.33
  SCCS    Bill             10/27/2020    0 ‐30   Fisse Graphics                                      Homecoming T‐shirts                                                           $     1,748.85
  SCCS    Bill             10/27/2020    0 ‐30   Apple, Inc. 649446                                  Adapter and Cable                                                             $       284.00
  SCCS    Bill             10/27/2020    0 ‐30   Apple, Inc. 649446                                  Power adapter                                                                 $        79.00
  SCCS    Bill             10/27/2020    0 ‐30                                                       Reimburse for Homecoming supplies                                             $        32.65
  SCCS    Bill             10/28/2020    0 ‐30   MnM Services, LLC                                   Practice Gear                                                                 $       990.00
  SCCS    Bill             10/28/2020    0 ‐30   St. Charles Printing                                Non‐Negotiable Forms                                                          $       284.88
  SCCS    Bill             10/29/2020    0 ‐30   Fisher's Ace Hardware, Inc.                         Bowsaw                                                                        $        38.92
  SCCS    Bill             10/30/2020    0 ‐30   Matherne's Supermarket                              Concession stock for football                                                 $       105.76
  SCCS    Bill             10/31/2020    0 ‐30   IV Waste, LLC                                       Dumpster Service                                                              $       184.70
  SCCS    Bill             09/14/2020   31 ‐60   Dynamic Audio Video                                 Additional speakers for Stadium                                               $       729.97
  SCCS    Vendor Credit    08/01/2020   60‐90    ACT, Inc.                                           Credit Memo ‐ Test expense                                                    $       (83.00)
  SCCS    Vendor Credit    06/30/2015   90plus   Follett Educational Services                        Credit from texbook order                                                     $       (35.23)
  SCCS    Vendor Credit    06/30/2015   90plus   ASCD                                                Credit for cancelled membership                                               $      (130.00)
  SCCS    Vendor Credit    04/03/2017   90plus   Triumph Learning                                    Credit for overpayment on 4‐5‐2016 Ck#19738                                   $      (140.13)
  SSA     Trade payables   06/30/2016    90+     audit vendor                                        Other Administrative                                                          $       (74.96)
  SSA     Trade payables   11/01/2018    90+                                                         Agency Club reimbursements                                                    $       107.34
  SSA     Trade payables   05/30/2019    90+     Waste Connections Bayou, Inc                        Operations & Maintenance Plant                                                $      (277.20)
  SSA     Trade payables   1/16/2020     90+     BSN Sports                                          Student Activities                                                            $        (8.00)
  SSA     Trade payables   10/31/2020    0‐30                                                        Contracted Janitorial Service                                                 $       140.00
  SSA     Trade payables   10/31/2020    0‐30    The Administrators of the Tulane Educational Fund   Student Activities, Athletics, Medical‐Trainer                                $     3,375.00
  SSA     Trade payables   10/31/2020    0‐30    Wagner's Landscaping LLC                            Repairs & Maintenance ‐Athletic Field                                         $       600.00
  SSA     Trade payables   10/31/2020    0‐30    LEAF                                                Instructional Other, Copier                                                   $       450.02
  ANO     Trade payables   12/17/2019    90+     ZUPPARDO FAMILY SUPER MARKETS INC.                  KITCHEN FOOD                                                                  $        46.97
  ANO     Trade payables   2/28/2020     90+                                                         AUTOMOBILE EXPENSE                                                            $        28.75
  ANO     Trade payables   3/9/2020      90+                                                         Active Priest Medical Expense ‐ Medical Co‐Pays                               $       190.00
  ANO     Trade payables   3/9/2020      90+     SEWERAGE & WATER BOARD OF N.O.                      HOUSEHOLD UTILITIES                                                           $        82.36
  ANO     Trade payables   3/11/2020     90+     P & A ADMINISTRATIVE SERVICE INC                    FLEX ACCOUNT                                                                  $        10.52
  ANO     Trade payables   3/12/2020     90+                                                         PRIEST THERAPY                                                                $       960.00
  ANO     Trade payables   3/12/2020     90+     GOLDSTAR ELECTRIC, INC                              REPAIRS & MAINTENANCE ‐ RETREATS                                              $       605.97
  ANO     Trade payables   3/12/2020     90+     LITURGY TRAINING PUBLICATIONS                       BOOKS & SUBSCRIPTIONS                                                         $     1,132.74
  ANO     Trade payables   3/13/2020     90+     JEFFERSON PARISH SHERIFF'S OFFICE                   BOOKSTORE EXPENSES                                                            $        24.20
  ANO     Trade payables   3/18/2020     90+     LC PASTORAL SERVICES                                MINISTRY PROGRAM ‐ Spirituality                                               $       150.00
  ANO     Trade payables   3/19/2020     90+     ParishSOFT                                          BOOKS & SUBSCRIPTIONS                                                         $        10.00
  ANO     Trade payables   3/24/2020     90+     GUILLORY SHEET METAL WORKS INC                      REPAIRS & MAINTENANCE                                                         $       300.00
  ANO     Trade payables   3/30/2020     90+                                                         Active Priest Medical Expense ‐ Medical Co‐Pays                               $       458.57
  ANO     Trade payables   4/1/2020      90+                                                         CONSULTANT FEES                                                               $       750.00
  ANO     Trade payables   4/1/2020      90+     WASTE MANAGEMENT OF ST TAMMANY                      HOUSEHOLD UTILITIES                                                           $       451.01
  ANO     Trade payables   4/8/2020      90+     SYSCO FOOD SERVICES OF NEW ORLEANS                  KITCHEN FOOD ‐ RETREATS                                                       $       805.58
  ANO     Trade payables   4/14/2020     90+     NOTRE DAME SEMINARY                                 SEMINARIAN ASSIST ‐ BOOKS AND RESOURCES                                       $   145,930.34
  ANO     Trade payables   4/15/2020     90+     S & S LAWN SERVICE                                  MISCELLANEOUS RECEIVABLES                                                     $        64.00
  ANO     Trade payables   4/16/2020     90+     S & S LAWN SERVICE                                  REPAIRS & MAINTENANCE                                                         $        64.00
  ANO     Trade payables   4/17/2020     90+     WLAE TV                                             ADVERTISING                                                                   $     1,500.00
  ANO     Trade payables   4/20/2020     90+     GUARDIAN EMPLOYEE BENEFITS                          OTHER RECEIVABLES ‐ GUARDIAN                                                  $     4,381.04
  ANO     Trade payables   4/21/2020     90+                                                         Active Priest Medical Expense ‐ Medical Co‐Pays                               $       208.00
  ANO     Trade payables   4/21/2020     90+                                                         PRIEST POLICY LIVING COSTS                                                    $        55.29
  ANO     Trade payables   4/21/2020     90+                                                         PRIEST POLICY LIVING COSTS                                                    $       106.28
  ANO     Trade payables   4/22/2020     90+     S & S LAWN SERVICE                                  REPAIRS & MAINTENANCE                                                         $       192.00
  ANO     Trade payables   4/23/2020     90+     KENTWOOD SPRINGS                                    COFFEE & SOFT DRINK EXPENSE                                                   $        22.36
  ANO     Trade payables   4/23/2020     90+     KENTWOOD SPRINGS                                    COFFEE & SOFT DRINK EXPENSE                                                   $        13.85
  ANO     Trade payables   4/24/2020     90+     JESUIT COMMUNITY                                    MINISTRY PROGRAM ‐ Spirituality                                               $       100.00
  ANO     Trade payables   4/26/2020     90+     The Ehrhardt Group                                  CONSULTANT FEES ‐ Reorg                                                       $    10,000.00
  ANO     Trade payables   4/27/2020     90+     GUARDIAN EMPLOYEE BENEFITS                          OTHER RECEIVABLES                                                             $       204.94
  ANO     Trade payables   4/27/2020     90+     ParishSOFT                                          BOOKS & SUBSCRIPTIONS                                                         $        10.00
  ANO     Trade payables   4/27/2020     90+     THE HOLY ROOD GUILD                                 HOUSEHOLD EXPENSES                                                            $       250.00
  ANO     Trade payables   4/28/2020     90+     TROY L PATTERSON D D S                              Active Priest Medical Expense ‐ Dental & Vision                               $       213.00
  ANO     Trade payables   4/30/2020     90+     GUILLORY SHEET METAL WORKS INC                      REPAIRS & MAINTENAN                                                           $       193.00
  ANO     Trade payables   4/30/2020     90+     JONES WALKER LLP                                    Legal Fees                                                                    $   780,937.40
  ANO     Trade payables   4/30/2020     90+     JONES WALKER LLP                                    Legal Fees                                                                    $     3,312.00
  ANO     Trade payables   4/30/2020     90+     JONES WALKER LLP                                    Legal Fees                                                                    $     3,020.00
  ANO     Trade payables   4/30/2020     90+     KENTWOOD SPRINGS                                    COFFEE & SOFT DRINK                                                           $        58.59
  ANO     Trade payables   4/30/2020     90+                                                         HOUSEHOLD EXPENSES                                                            $       158.14
  ANO     Trade payables   4/30/2020     90+     MICHAEL B SMITH DDS                                 Active Priest Medical Expense ‐ Dental & Vision                               $       894.00
  ANO     Trade payables   4/30/2020     90+     Missionaries of Our Mother of the Eucharist         CLERGY SABBATICALS                                                            $       750.00
  ANO     Trade payables   4/30/2020     90+     MMG PROPERTIES                                      REPAIRS & MAINTENANCE                                                         $     1,000.00
  ANO     Trade payables   4/30/2020     90+     MMG PROPERTIES                                      REPAIRS & MAINTENANCE                                                         $     2,150.00
  ANO     Trade payables   4/30/2020     90+     MMG PROPERTIES                                      REPAIRS & MAINTENANCE                                                         $       700.00
  ANO     Trade payables   4/30/2020     90+     PM MAINTENANCE INC                                  CONTRACTED SERVICE                                                            $       400.00
  ANO     Trade payables   4/30/2020     90+     PM MAINTENANCE INC                                  CONTRACTED SERVICE                                                            $       500.00
  ANO     Trade payables   4/30/2020     90+     REPUBLIC SERVICES #842                              CONTRACTED SERVICE ‐ BUILDING/JANITORIAL                                      $       109.84
  ANO     Trade payables   4/30/2020     90+                                                         Active Priest Medical Expense ‐ Medical Co‐Pays                               $       133.91
  ANO     Trade payables   4/30/2020     90+                                                         Retired Priest Plus Expense ‐ Dental & Vision                                 $       175.00
  ANO     Trade payables   4/30/2020     90+                                                         Retired Priest Plus Expense ‐ Medical Co‐Pays                                 $       179.35
  ANO     Trade payables   4/30/2020     90+                                                         Active Priest Medical Expense ‐ Medical Co‐Pays                               $        20.72
  ANO     Trade payables   4/30/2020     90+                                                         Active Priest Medical Expense ‐ Medical Co‐Pays                               $        41.06
  ANO     Trade payables   4/30/2020     90+     RIVAGE                                              Active Priest Medical Expense ‐ Dental & Vision                               $       222.00
  ANO     Trade payables   4/30/2020     90+     ST ANTHONY PRIORY                                   MINISTRY PROGRAM ‐ Spirituality                                               $        50.00
  ANO     Trade payables   5/2/2020      90+     JONES WALKER LLP                                    Legal Fees                                                                    $    46,081.36
  ANO     Trade payables   5/2/2020      90+     JONES WALKER LLP                                    Legal Fees                                                                    $    11,520.34
  ANO     Trade payables   5/2/2020      90+     JONES WALKER LLP                                    Legal Fees                                                                    $   195,234.35
  ANO     Trade payables   5/2/2020      90+     JONES WALKER LLP                                    Legal Fees                                                                    $       828.00
  ANO     Trade payables   5/2/2020      90+     JONES WALKER LLP                                    Legal Fees                                                                    $       755.00
  ANO     Trade payables   5/2/2020      90+     JONES WALKER LLP                                    Reorganization Costs                                                          $   162,885.50
  ANO     Trade payables   5/2/2020      90+                                                         BOOKS & SUBSCRIPTIO                                                           $       367.41
  ANO     Trade payables   6/17/2020     90+     GUILLORY SHEET METAL WORKS INC                      REPAIRS & MAINTENANCE                                                         $       233.00
  ANO     Trade payables   6/30/2020     90+     Donlin Recano & Company Inc.                        CONTRACTED SERVICE                                                            $    22,648.71
  ANO     Trade payables   7/15/2020     90+     EAGLE SECURITY SYSTEMS INC                          HOUSEHOLD EXPENSES                                                            $        12.00
  ANO     Trade payables   7/25/2020     90+     ELEVATOR TECHNICAL SERVICES INC                     REPAIRS & MAINTENANCE                                                         $       360.00
  ANO     Trade payables   7/25/2020     90+     ELEVATOR TECHNICAL SERVICES INC                     REPAIRS & MAINTENANCE                                                         $       120.00
  ANO     Trade payables   7/31/2020     90+     Donlin Recano & Company Inc.                        CONTRACTED SERVICE                                                            $    20,111.59
  ANO     Trade payables   8/1/2020      90+                                                         MISCELLANEOUS EXPENSE                                                         $       200.00
  ANO     Trade payables   8/14/2020    61‐90    NU LITE ELECTRICAL WHOLESALERS INC                  REPAIRS & MAINTENANCE                                                         $       366.93
  ANO     Trade payables   8/18/2020    61‐90    JESUIT COMMUNITY                                    MINISTRY PROGRAM ‐ Spirituality                                               $        50.00
  ANO     Trade payables   8/21/2020    61‐90    ORKIN INC.                                          CONTRACTED SERVICE                                                            $       321.25
  ANO     Trade payables   8/21/2020    61‐90    ORY FAMILY DENTISTRY                                Active Priest Medical Expense ‐ Dental & Vision                               $        93.00
  ANO     Trade payables   8/21/2020    61‐90    OVERHEAD DOOR COMPANY                               REPAIRS & MAINTENANCE                                                         $       164.36
  ANO     Trade payables   8/31/2020    61‐90    Donlin Recano & Company Inc.                        CONTRACTED SERVICE                                                            $    14,308.76
  ANO     Trade payables   8/31/2020    61‐90    KGLA RADIO TROPICAL                                 ADVERTISING                                                                   $       750.00
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 46 of
                                           103
  ANO     Trade payables                     9/1/2020                                 31‐60                                                                            Active Priest Medical Expense ‐ Medical Co‐Pays   $                                                  35.00
  ANO     Trade payables                     9/1/2020                                 31‐60                                                                            TELEPHONE EXPENSE                                 $                                                  38.06
  ANO     Trade payables                     9/11/2020                                31‐60               ST PHILIP NERI SCHOOL                                        ELEVATOR RECEIVABLES                              $                                                 230.00
  ANO     Trade payables                     9/14/2020                                31‐60               SOUTHERN ELECTR0NICS SUPPLY INC                              REPAIRS & MAINTENANCE                             $                                                  30.24
  ANO     Trade payables                     9/18/2020                                31‐60               LARRY S HARDWARE INC                                         REPAIRS & MAINTENANCE ‐ RETREATS                  $                                                  56.14
  ANO     Trade payables                     9/18/2020                                31‐60               LOUISIANA OFFICE PRODUCTS INC                                OFFICE SUPPLIES                                   $                                                  53.56
  ANO     Trade payables                     9/21/2020                                31‐60               SEMANTIKOS LLC                                               MISC SCHOOL SUPPORT                               $                                                 300.00
  ANO     Trade payables                     9/21/2020                                31‐60               SWYFT CONNECT                                                IT EQUIPMENT                                      $                                                 125.00
  ANO     Trade payables                     9/24/2020                                31‐60               CARR RIGGS & INGRAM LLC                                      CONTRACTED SERVICE                                $                                              19,861.50
  ANO     Trade payables                     9/24/2020                                31‐60                                                                            MINISTRY PROGRAM ‐ Sunday Night Supper            $                                                 607.35
  ANO     Trade payables                     9/25/2020                                31‐60               FLOURISH COUNSELING & WELLNESS CENTER                        FINANCIAL ASSISTANCE TO VICTIMS                   $                                                 700.00
  ANO     Trade payables                     9/26/2020                                31‐60               McAlister's Deli                                             SPECIAL FUNCTIONS                                 $                                                 504.03
  ANO     Trade payables                     9/27/2020                                31‐60               P & A ADMINISTRATIVE SERVICE INC                             FLEX ACCOUNT                                      $                                                 314.50
  ANO     Trade payables                     9/28/2020                                31‐60                                                                            PRIEST VACATION VILLA                             $                                                 500.00
  ANO     Trade payables                     9/28/2020                                31‐60               LOUISIANA OFFICE PRODUCTS INC                                STATIONERY & PRINTING                             $                                                  60.33
  ANO     Trade payables                     9/28/2020                                31‐60               ST LOUIS CATHEDRAL CHURCH                                    Clearing                                          $                                                 500.00
  ANO     Trade payables                     9/29/2020                                31‐60               FELLOWSHIP OF CATH UNIV STUDENTS                             MINISTRY PROGRAM ‐ FOCUS campus fee               $                                               4,166.67
  ANO     Trade payables                     9/29/2020                                31‐60                                                                            HOUSING COSTS ‐ PRIESTS                           $                                                  85.82
  ANO     Trade payables                     9/29/2020                                31‐60                                                                            Active Priest Medical Expense ‐ Medical Co‐Pays   $                                                 139.99
  ANO     Trade payables                     9/29/2020                                31‐60               RICOH USA INC                                                XEROX COPIES                                      $                                                  83.76
  ANO     Trade payables                     9/30/2020                                31‐60               Donlin Recano & Company Inc.                                 CONTRACTED SERVICE                                $                                              23,035.17
  ANO     Trade payables                     9/30/2020                                31‐60                                                                            LEADERSHIP AWARDS                                 $                                                 150.00
  ANO     Trade payables                     9/30/2020                                31‐60               KONICA MINOLTA                                               XEROX COPIES                                      $                                                 473.70
  ANO     Trade payables                     9/30/2020                                31‐60                                                                            REPAIRS & MAINTENANCE                             $                                                  28.73
  ANO     Trade payables                     9/30/2020                                31‐60                                                                            Retired Priest Plus Expense ‐ Medical Co‐Pays     $                                                 223.26
  ANO     Trade payables                     9/30/2020                                31‐60                                                                            Active Priest Medical Expense ‐ Medical Co‐Pays   $                                                  42.00
  ANO     Trade payables                     9/30/2020                                31‐60               RICOH USA INC                                                REPAIRS & MAINTENANCE                             $                                                 236.84
  ANO     Trade payables                     9/30/2020                                31‐60               SWEET TOOTH DENTAL                                           Active Priest Medical Expense ‐ Dental & Vision   $                                                 118.00
  ANO     Trade payables                     10/7/2020                                0‐30                CATHOLIC BOOK STORE                                          BOOKS & SUBSCRIPTIONS                             $                                                 262.02
  ANO     Trade payables                     10/15/2020                               0‐30                ADT Commercial LLC                                           CONTRACTED SERVICE                                $                                               1,766.53
  ANO     Trade payables                     10/15/2020                               0‐30                ADT Commercial LLC                                           CONTRACTED SERVICE                                $                                                 606.68
  ANO     Trade payables                     10/20/2020                               0‐30                ATMOS ENERGY LOUISIANA                                       HOUSEHOLD UTILITIES                               $                                                  68.35
  ANO     Trade payables                     10/20/2020                               0‐30                BOLLINGER SPECIALTY GROUP                                    SUMMER CAMP PREMIU                                $                                                 939.98
  ANO     Trade payables                     10/20/2020                               0‐30                CENTURYLINK                                                  TELEPHONE EXPENSE                                 $                                                  20.00
  ANO     Trade payables                     10/21/2020                               0‐30                ENTERGY                                                      HOUSEHOLD UTILITIES                               $                                                  20.91
  ANO     Trade payables                     10/21/2020                               0‐30                ENTERGY                                                      HOUSEHOLD UTILITIES                               $                                                 774.48
  ANO     Trade payables                     10/21/2020                               0‐30                ENTERGY                                                      HOUSEHOLD UTILITIES                               $                                                  30.11
  ANO     Trade payables                     10/22/2020                               0‐30                ARCHIBALD L MELCHER IV LLC                                   Active Priest Medical Expense ‐ Dental & Vision   $                                                 388.00
  ANO     Trade payables                     10/23/2020                               0‐30                AT&T                                                         TELEPHONE EXPENSE                                 $                                                  50.03
  ANO     Trade payables                     10/23/2020                               0‐30                DOCUMART                                                     STATIONERY & PRINTING                             $                                                 289.66
  ANO     Trade payables                     10/24/2020                               0‐30                                                                             TELEPHONE EXPENSE                                 $                                                  73.99
  ANO     Trade payables                     10/25/2020                               0‐30                BASSIL' S ACE HARDWARE                                       Repairs & Maintenance ‐ Supplies                  $                                                  40.15
  ANO     Trade payables                     10/25/2020                               0‐30                COX BUSINESS                                                 CONTRACTED SERVICE                                $                                                  40.89
  ANO     Trade payables                     10/25/2020                               0‐30                                                                             TELEPHONE EXPENSE                                 $                                                 110.28
  ANO     Trade payables                     10/27/2020                               0‐30                CDW GOVERNMENT INC                                           TELEPHONE EXPENSE                                 $                                                 173.44
  ANO     Trade payables                     10/27/2020                               0‐30                CHEMSEARCH                                                   REPAIRS & MAINTENANCE                             $                                                 334.26
  ANO     Trade payables                     10/27/2020                               0‐30                DIRTY LAUNDRY LLC                                            CONTRACTED SERVICE ‐ BUILDING/JANITORIAL          $                                                 205.14
  ANO     Trade payables                     10/27/2020                               0‐30                                                                             AUTOMOBILE EXPENSE                                $                                                 162.61
  ANO     Trade payables                     10/28/2020                               0‐30                ACADIAN AMBULANCE SERVICE INC.                               Active Priest Medical Expense ‐ Medical Co‐Pays   $                                                  50.00
  ANO     Trade payables                     10/28/2020                               0‐30                ENTERGY                                                      UTILITIES                                         $                                               2,710.39
  ANO     Trade payables                     10/28/2020                               0‐30                ENTERGY                                                      UTILITIES                                         $                                                  20.91
  ANO     Trade payables                     10/29/2020                               0‐30                                                                             OFFICE SUPPLIES                                   $                                                 131.26
  ANO     Trade payables                     10/29/2020                               0‐30                                                                             RETREAT INCOME ‐ SCHEDULED RETREATS               $                                                 350.00
  ANO     Trade payables                     10/29/2020                               0‐30                                                                             RETREAT INCOME ‐ SCHEDULED RETREATS               $                                                  75.00
  ANO     Trade payables                     10/30/2020                               0‐30                ENTERGY                                                      HOUSEHOLD UTILITIES                               $                                                 163.99
  ANO     Trade payables                     10/30/2020                               0‐30                ENTERGY                                                      HOUSEHOLD UTILITIES                               $                                                  57.50
  ANO     Trade payables                     10/31/2020                               0‐30                                                                             AUTOMOBILE EXPENSE                                $                                                 210.45
  ANO     Trade payables                     10/31/2020                               0‐30                ANO Captive                                                  Captive Premium October 2020                      $                                             485,063.75
  ANO     Trade payables                     10/31/2020                               0‐30                P & A Admin.                                                 FLEX ACCOUNT                                      $                                              (2,333.07)

          Total Amount                                                                                                                                                                                                   $                                           2,338,880.16
          Inter‐debtor eliminations                                                                                                                                                                                      $                                            (216,630.00)
          Consolidated Total                                                                                                                                                                                             $                                           2,122,250.16

                                                                                               Pre‐Petition Liabilities NOT identified at Petition Date of 4/30/2020

                               Month Added   Type                                  Date Incurred                                     Days Outstanding                                                      Vendor                                  Description                            Amount
  SLC     May 2020                           Journal Entry                          4/24/2020                                              90+                         Gulf Coast Office Products                        Invoice #607386                                              $           108.78
  SLC     May 2020                           Journal Entry                          4/24/2020                                              90+                                                                           Security Detail ‐ Good Friday                                $           240.00
  SLC     May 2020                           Journal Entry                          4/24/2020                                              90+                                                                           Security Detail ‐ Good Friday                                $           240.00
  SLC     May 2020                           Journal Entry                          4/14/2020                                              90+                         Bohnenstiehl Electric, Inc.                       Invoice #11272‐AB                                            $           199.50
  SLC     May 2020                           Journal Entry                          3/24/2020                                              90+                         J. Prestes & Co., Inc.                            Invoice #177958 ‐ Large altar bread                          $           477.73
  SLC     May 2020                           Journal Entry                          4/22/2020                                             60‐90                        Guillory Sheet Metal Works                        Invoice #12309 4/22/2020                                     $           594.00
  AOL     Sept 2020                          Trade payable                          10/14/2019                                             90+                         Jostems                                           To record Jostems Invoice dated 10.14.19 for Athletic Patch $            764.86
  AOL     Sept 2020                          Trade payable                          4/28/2020                                              90+                         Lobb's Horticultural                              To record Lobb's Invoice dated 4/28/2020 for Lawn applicat $             250.00
  AOL     July 2020                          Tuition Refund                         4/11/2020                                              90+                         Parent                                            overpayment of tuition because of Scholarship, aid granted $          2,425.00
  AOL     July 2020                          Tuition Refund                         4/11/2020                                              90+                         Parent                                            overpayment of tuition because of Scholarship, aid granted $             170.00
  AOL     July 2020                          Tuition Refund                         4/11/2020                                              90+                         Parent                                            overpayment of tuition because of Scholarship, aid granted $             425.00
  AOL     July 2020                          Tuition Refund                         4/11/2020                                              90+                         Parent                                            overpayment of tuition because of Scholarship, aid granted $             300.00
  AOL     June 2020                          Trade Payable                           2/6/2020                                              90+                                                                                            Mu Alpha Theta club refund                 $           22.00
  ACHS    August 2020                        Trade                                  3/14/2020                                              90+                         THOMPSON AUCTION SERVICE, LLC                     Gala software                                               $        1,075.00
  ACHS    August 2020                        Trade                                   3/9/2020                                              90+                         FAVORITES PROMOTIONAL PRODUCTS                    Tennis uniforms                                             $           62.96
  ACHS    August 2020                        Trade                                  4/18/2020                                              90+                         Clarion Herald                                    Principal search ad                                         $          532.00
  ACHS    July 2020                          Trade                                  07/25/2020                                             90+                         SIZELER THOMPSON BROWN ARCHITECTS                 Architect fees Window Project                               $        1,888.18
  ACHS    July 2020                          Trade                                  07/25/2020                                             90+                         SIZELER THOMPSON BROWN ARCHITECTS                 Architect fees Window Project                               $          952.77
  ACHS    June 2020                          Trade                                  06/16/2020                                             90+                                                                           STOP PAYMENT (VOID) CK #12648 DATED 1/24/20 ‐                $           375.00
  ACHS    June 2020                          Trade                                  06/17/2020                                             90+                         FAVORITES PROMOTIONAL PRODUCTS                    Spend the Day shirts‐reorder                                 $           453.63
  ACHS    June 2020                          Trade                                  06/18/2020                                             90+                         ADMINISTRATORS‐TULANE EDUC. FUND                  TRAINER INVOICE ‐ 2ND QTR (19‐20)                            $         6,500.00
  ACHS    June 2020                          Trade                                  06/18/2020                                            60‐90                                                                          SURVEY OF LAND FOR FRONT SIGN                                $         1,700.00
  ACHS    June 2020                          Trade                                  06/18/2020                                             90+                                                                           INCENTIVE FOR STUDENT SELLING WINNING TICKET                 $             50.00
  ACHS    May 2020                           Trade                                   2/1/2020                                              90+                         DOW JONES & COMPANY INC                           Sunscription                                                 $             61.18
  ACHS    May 2020                           Trade                                  3/27/2020                                             60‐90                        STATE OF LA DEQ                                   HW Generator Fee                                             $             83.00
  ACHS    May 2020                           Trade                                  4/30/2020                                              0‐30                        JESUIT HIGH SCHOOL                                Athetic Directors meetings                                   $           184.66
  AHHS    August 2020                        Invoice                                5/17/2019                                              90+                         Johnson Tropicals                                 Student Activities                                          $          750.00
  AHHS    August 2020                        Invoice                                5/14/2019                                              90+                         Johnson Tropicals                                 Student Activities                                          $          255.00
  AHHS    August 2020                        Invoice                                 8/8/2019                                              90+                         Johnson Tropicals                                 Student Activities                                          $          300.00
  AHHS    July 2020                          Invoice                                10/24/2019                                             90+                         Big Game Football Factory                         Student Activities                                          $           83.40
  AHHS    June 2020                          Invoice                                1/24/2020                                              90+                         Glenn's Towing & Recovery                         Operations                                                  $          260.00
  AHHS    June 2020                          Invoice                                3/11/2020                                              90+                         Chick Fil A                                       Student Activities                                          $          172.94
  AHHS    June 2020                          Invoice                                2/19/2020                                              90+                         Third Coast Soccer                                Student Activities                                          $           46.99
  AHHS    June 2020                          Invoice                                2/12/2020                                              90+                         Brendan Joseph David Special Needs Trust          Donation                                                    $          205.00
  AHHS    June 2020                          Invoice                                 2/4/2020                                              90+                         Peter Verret Jump Start Team Camp                 Student Activities                                          $          220.00
  AHHS    June 2020                          Invoice                                1/22/2020                                              90+                         Sign Gypsies Northshore                           Student Activities                                          $           53.26
  AHHS    June 2020                          Reim                                   10/20/2019                                             90+                                                                           Administrative                                              $        1,658.17
  AHHS    June 2020                          Invoice                                2/10/2020                                              90+                         Prep Fan Sports                                   Student Activities                                          $          555.00
  AHHS    June 2020                          Invoice                                4/30/2020                                             60‐90                        Home Depot Credit Services                        Operations                                                  $          116.39
  AHHS    May 2020                           Invoice                                4/29/2020                                             30‐60                        Davis Products Covington                          Operations ‐custodial supplies                              $          565.46
  AHHS    May 2020                           Invoice                                3/27/2020                                             60‐90                        State of LA Dept of Environmental Quality         Instructional ‐ hazardous materials license                 $           83.00
  AHHS    May 2020                           Invoice                                4/25/2020                                             30‐60                        Deere Credit, Inc                                 Operations ‐ equipment lease                                $          366.24
  AHHS    May 2020                           Invoice                                4/30/2020                                             30‐60                        Scantron                                          Instructional ‐ testing supplies                            $          943.21
  AHHS    May 2020                           Invoice                                3/20/2020                                             60‐90                        Star Services                                     Operations ‐ HVAC maintenance                               $        2,210.00
  AHHS    May 2020                           Invoice                                3/20/2020                                             60‐90                        Star Services                                     Operations ‐ HVAC maintenance                               $        1,873.33
  AHHS    May 2020                           Credit Card Stmt                       4/30/2020                                             30‐60                        First Bank and Trust (General Use)                Instructional, Administrative, Operations                   $        9,909.04
  AHHS    May 2020                           Credit Card Stmt                       4/30/2020                                             30‐60                        First Bank and Trust (Gas Card)                   Instructional, Administrative, Operations                   $        1,046.68
  ARHS    October 2020                       Stu Activities Track & Field           2/20/2020                                              90+                         LHSAA                                             Rules Clinic Charge for Track & Field ‐ not paid            $           50.00
  ARHS    June 2020                          Trade Payable                          3/12/2020                                              90+                                                                           Reimburse fishing club supplies                             $          366.00
  ARHS    June 2020                          Trade Payable                          4/21/2020                                             60‐90                        A & L Sales                                       Hospital Disinfectant                                       $          154.58
  ARHS    June 2020                          Trade Payable                          3/13/2020                                              90+                         Allstate Sugar Bowl                               Sugar Bowl Scholar Athlete Banquet‐one table                 $           300.00
  ARHS    June 2020                          Trade Payable                          1/30/2020                                              90+                         Archdiocese of NO                                 New employee fingerprinting                                  $             48.00
  ARHS    June 2020                          Trade Payable                          1/30/2020                                              90+                         Archdiocese of NO                                 New employee fingerprinting                                  $             48.00
  ARHS    June 2020                          Trade Payable                           3/6/2020                                              90+                                                                           Parade security detail for Band                              $           632.00
  ARHS    June 2020                          Trade Payable                          2/28/2019                                              90+                                                                           Refund for purchase of two mouthpieces                       $           388.84
  ARHS    June 2020                          Trade Payable                          12/24/2019                                             90+                         Dept of Children Services                         Garnishment of former employee                               $             52.50
  ARHS    June 2020                          Trade Payable                          4/25/2020                                             60‐90                        DisinFX                                           Antimicrobial and Disinfection Serv.                        $          700.00
  ARHS    June 2020                          Trade Payable                          5/16/2019                                              90+                                                                           Reimbursement for school lunch overpay                       $             65.00
  ARHS    June 2020                          Trade Payable                          1/17/2020                                              90+                                                                           Donation for ministry to s tudents in 12th grade             $             50.00
  ARHS    June 2020                          Trade Payable                           3/6/2020                                              90+                                                                           Speaker for Campus Ministry Night                            $           150.00
  ARHS    June 2020                          Trade Payable                           2/7/2020                                              90+                         Harry Thompson Center                             Donation from Salt Club                                      $           250.00
  ARHS    June 2020                          Trade Payable                          3/19/2020                                              90+                                                                           Reimbursement for CDL Expenses                               $             15.00
  ARHS    June 2020                          Trade Payable                          12/5/2019                                              90+                         Jefferson Parish Sheriff's Office                 Fingerprinting for new employee                              $             54.25
  ARHS    June 2020                          Trade Payable                          3/15/2019                                              90+                         LHSPLA                                            Powerlifting Team entry fees                                 $             40.00
  ARHS    June 2020                          Trade Payable                          11/20/2019                                             90+                                                                           Reimburse for Dr Ed Payment                                 $          415.00
  ARHS    June 2020                          Trade Payable                           3/2/2020                                              90+                         Nelnet Business                                   Technology for school database‐March                        $        1,073.50
  ARHS    June 2020                          Trade Payable                           4/2/2020                                              90+                         Nelnet Business                                   Technology for school database‐April                        $        1,076.40
  ARHS    June 2020                          Trade Payable                          12/12/2019                                             90+                         Order of OPSE                                     Orleans Parish Security for Raider Club Function             $           162.79
  ARHS    June 2020                          Trade Payable                          3/13/2020                                              90+                         Rocky and Carlos'                                 invoice for 3 pans baked mac and cheese for Lent             $           910.00
  ARHS    June 2020                          Trade Payable                          2/26/2020                                              90+                                                                           Parade Security Detail for Band                             $          256.00
  ARHS    June 2020                          Trade Payable                          12/5/2019                                              90+                         Sherwin Williams                                  Paint for Band Room                                          $             85.37
  ARHS    June 2020                          Trade Payable                          8/29/2019                                              90+                                                                           Reimbursement for band supplies‐paint                        $             36.19
  ARHS    June 2020                          Trade Payable                           3/2/2020                                              90+                         Synergy Bldg.                                     Technician service for schedule change                      $          240.00
  ARHS    June 2020                          Trade Payable                           3/2/2020                                              90+                         Synergy Bldg.                                     Technicial service due to Tstat lockout                     $          240.00
  ARHS    June 2020                          Trade Payable                          9/12/2019                                              90+                                                                           Reimbursement for supplies‐Band Room                         $             18.06
  ARHS    June 2020                          Trade Payable                          5/16/2019                                              90+                                                                           Refund of overpay on lunch account                           $             41.45
  ARHS    June 2020                          Trade Payable                          9/27/2019                                              90+                                                                           Zip drive reimburse for English                             $               6.99
  ARHS    June 2020                          Trade Payable                          10/11/2019                                             90+                                                                           Working Game Clock at Rummel BrMartin Game                   $             50.00
  ARHS    May 2020                           Trade Payable                          3/31/2020                                             60‐90                        Hahn Enterprises,Inc.                             3/31/20 Inv. 6721‐6594 2 new main court basketball units, $         13,601.44
  ARHS    May 2020                           Trade Payable                          2/27/2020                                              90+                         A & KL Sales, Inc.                                Feb 27,2020 Inv.7089688 Custodial Supplies                  $          119.68
  ARHS    May 2020                           Trade Payable                          3/31/2020                                             60‐90                        Green Acres Cntry Clb                             03/31/20 Inv.20391 Tennis Court Rental                      $          300.00
  ARHS    May 2020                           Trade Payable                          2/20/2020                                              90+                         Grundmann's Ath Co                                2/20/20 Inv. 78775‐00 for Baseball Practice Jerseys for Var $          882.82
  ARHS    May 2020                           Trade Payable                          4/24/2020                                             30‐60                        Grundmann's Ath Co                                4/24/20 Inv. 78895‐00 Custom Express Baseball Caps          $        1,690.47
  ARHS    May 2020                           Trade Payable                           2/1/2020                                              90+                         Orthopedic & Sports                               February 2020 Invoice for Trainer Expenses; I               $          543.07
  ARHS    May 2020                           Trade Payable                          2/20/2020                                              90+                         Perret's                                          2/20/20 Inv.84895 for Tennis Team Shirts                    $          125.58
  ARHS    May 2020                           Trade Payable                          3/27/2020                                             60‐90                        State of LA DEQ                                   3/27/20 Inv. 698337 Annual Fee Haz Waste HW Generator $                 83.00
  ARHS    May 2020                           Trade Payable                          4/28/2020                                             30‐60                        Wes‐Pet, inc.                                     04/28/20 Inv. 202002178 for 27 gallons Non‐Etthanol         $           43.20
  ASHS    June 2020                          Trade Payable                           3/5/2020                                              90+                         ADS Systems                                       Replacement Batteries                                       $          371.04
  ASHS    June 2020                          Trade Payable                           3/5/2020                                              90+                         Bubba Gump Shrimp Company                         Band Trip                                                   $        1,024.80
  ASHS    June 2020                          Trade Payable                           2/4/2020                                              90+                                                                           Supplies for Jambalaya Dinner                               $           21.55
  ASHS    June 2020                          Trade Payable                           2/3/2020                                              90+                                                                           Official for Basketball Game                                $          100.00
  ASHS    June 2020                          Trade Payable                          2/21/2020                                              90+                         First Louisiana‐Mississippi, Inc.                 Robotics Championship Registration                          $          250.00
  ASHS    June 2020                          Trade Payable                           3/9/2020                                              90+                         Hard Rock Cafe Orlando                            Band Trip                                                   $        1,777.02
  ASHS    June 2020                          Trade Payable                           1/1/2020                                              90+                         Logo Express                                      Music Ministry Logo, Cardigan                               $          224.90
  ASHS    June 2020                          Trade Payable                          9/14/2019                                              90+                         Smart Apple Media                                 Books for Library                                           $          179.70
  ASHS    June 2020                          Trade Payable                           3/5/2020                                              90+                         Universal City Development Partners               Band Trip                                                   $        1,105.94
  ASHS    May 2020                           Bill                                   1/15/2020                                              90+                         Ave Maria Press                                   Bibles                                                      $             68.77
  ASHS    May 2020                           Bill                                   3/14/2020                                             30‐60                        Chuckwagon Charters, Inc.                         Transportation                                              $           930.00
  ASHS    May 2020                           Bill                                   3/14/2020                                             30‐60                        Chuckwagon Charters, Inc.                         Transportation                                              $           180.00
  ASHS    May 2020                           Bill                                   4/29/2020                                             30‐60                        KT Graphics                                       Banners for Shrimp Fest                                     $           305.76
  ASHS    May 2020                           Bill                                   4/29/2020                                             30‐60                        KT Graphics                                       Banners for Shrimp Fest                                     $         1,263.99
  ASHS    May 2020                           Bill                                   4/28/2020                                             30‐60                        Lobb's Horticultural Spray East, Inc.             Field Spray                                                 $           760.00
  PJPHS   August 2020                        Student Activities                     10/7/2019                                              90+                         Kiefer Aquatics                                   Swim Clothing                                               $          183.00
  PJPHS   July 2020                          Registration Refund                     3/2/2020                                              0‐30                                                                          Student w/d prior to start of school                        $          350.00
  PJPHS   June 2020                          Trade Payable                          1/19/2020                                              90+                         SCA Summer Camps                                  Student Activities                                          $          975.00
  PJPHS   June 2020                          Expense Reimb                           4/3/2019                                              90+                                                                           Student Activities ‐ Reimbursement Touch of Class student e $           18.63
  PJPHS   June 2020                          Expense Reimb                          9/19/2019                                              90+                                                                           Administrative ‐Meal Reimbursement ‐ between two events $               18.43
  PJPHS   June 2020                          Service Payable                        11/15/2019                                             90+                                                                           Student Activities                                          $          200.00
  PJPHS   June 2020                          Trade Payable                          2/12/2020                                              90+                         Southeast Louisiana District Literary Rally       Student Activities                                          $           66.00
  PJPHS   June 2020                          Stipend                                2/24/2020                                              90+                         LSU Powerlifting Club / Team                      Student Activities                                          $          300.00
  PJPHS   June 2020                          Trade Payable                           3/4/2020                                              90+                         SLU‐Languages and Culture                         Student Activities                                          $           45.00
  PJPHS   June 2020                          Trade Payable                           3/1/2020                                              90+                                                                           Student Activities ‐ Reimbursement                          $           66.79
  PJPHS   June 2020                          Trade Payable                           2/6/2020                                              90+                         Calvary Baptist Church of Shreveport Louisiana    Student Activities                                          $           17.60
  PJPHS   June 2020                          Trade Payable                          2/28/2020                                              90+                         LHSPLA                                            Student Activities                                          $        1,265.00
  PJPHS   June 2020                          Trade Payable                          2/28/2020                                              90+                         LHSPLA                                            Student Activities                                          $        1,689.50
  PJPHS   May 2020                           Operations and Maintenance of Plant    2/28/2020                                              90+                         Seruntine Refrigeration                           HVAC Service                                                $        3,558.99
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 47 of
                                           103
  PJPHS   May 2020       Other Costs              t close date 5/23/20; pre May 1 cha   30‐60                                                                   pre May 1 chrgs                                             $      509.74
  PJPHS   May 2020       Student Services                      4/28/2020                 0‐30                                                                   student services reimb                                      $      149.50
  PJPHS   May 2020       Other Costs                           11/8/2019                 90+                                                                    Winner Soccer Raffle ‐ split two people ‐ COVID19 stopped   $    4,565.00
  PJPHS   May 2020       Other Costs                           11/8/2019                 90+                                                                    Winner Soccer Raffle ‐ split two people ‐ COVID19 stopped   $    4,565.00
  PJPHS   October 2020   Refund                                 3/2/2020                 90+                                                                    REFUND REGISTRATION                                         $      350.00
  SCCS    June 2020      Trade                                 9/10/2019                 90+      A & M Enterprises                                             To Void Ck #23167 to A & M Enterprises 9/10/19              $       83.99
  SCCS    June 2020      Trade                                 10/23/2019                90+      East St. John High School                                     To Void Ck #23351 to East St. John High School 10/23/19     $       50.00
  SCCS    June 2020      Trade                                 10/3/2019                 90+      Hahn Enterprises, Inc.                                        To Void Ck #23227 to Hahn Enterprises 10/03/19              $      120.73
  SCCS    June 2020      Trade                                 11/22/2019                90+                                                                    To Void Ck #23511 to Iris Henry 11/22/19                    $        9.75
  SCCS    June 2020      Trade                                 11/29/2019                90+      Joshua Masters                                                To Void Ck #23530 to Joshua Masters 11/29/19                $      140.00
  SCCS    June 2020      Trade                                  2/7/2020                 90+      Lutcher High School                                           To Void Ck #23791 to Lutcher High School 2/07/20            $      100.00
  SCCS    June 2020      Trade                                 11/15/2019                90+                                                                    To Void Ck #23462 to Michelle Jensen 11/15/19               $      232.00
  SCCS    June 2020      Trade                                  4/7/2019                 90+                                                                    To Void Ck #22809 to P. Doucet 4/17/19                      $       72.36
  SCCS    June 2020      Trade                                  1/0/1900                 90+      St. John Parish School Board                                  To Void Ck #23909 to St. John Parish School Board 2/07/20   $      207.20
  SCCS    June 2020      Trade                                  2/7/2020                 90+      St. John Theatre                                              To Void Ck #23906 to St. John Theatre 2/07/20               $    2,400.00
  SCCS    May 2020       Trade                                 3/11/2020                60 ‐ 90   Tri‐Parish Trophies                                           Inv. # 46822 Student tags, pinbacks dtd 3/11/20             $       31.96
  SCCS    May 2020       Trade                                 3/13/2020                60 ‐ 90   Arthur's Bus Service, LLC                                     Inv # 194384 Bus for baseball dtd 3/13/20                   $      475.00
  SMSS    August 2020    Employee Reimb                        10/7/2019                 90+                                                                                        Fundraising Supplies                    $       23.49
  SMSS    August 2020    Trade Payable                         2/12/2020                 90+      Denechaud & Denechaud                                                          Legal and Accounting Fees                  $      247.00
  SMSS    August 2020    Trade Payable                         12/18/2019                90+      Emeril's                                                                            G/C ‐ Fundraising                     $      100.00
  SMSS    August 2020    Employee Reimb                        3/29/2020                 90+                                                                                        Classroom Supplies                      $      150.63
  SMSS    June 2020      Employee Reimb                          Aug‐19                  0‐30                                                                                        Classroom Supplies                     $      130.44
  SMSS    June 2020      Overpaid Tuition                         Jun‐19                 0‐30                                                                   Overpaid Tuition                                            $      250.00
  SMSS    May 2020       employee reimb                         7/1/2019                 0‐30                                                                   Classroom Supplies                                          $      100.19
  SMSS    July 2020      Overpaid Tuition                         Jun‐19                30‐60                                                                   Overpaid Tuition                                            $      210.00
  SMSS    July 2020      Employee Reimbursement                  Feb‐20                  0‐30                                                                   Custodial supplies                                          $      145.44
  SMSS    July 2020      Vendor                                  Mar‐20                  0‐30     Year Round Heating & AC                                       Minor Maint Plant                                           $      200.00
  SSA     June 2020      Trade payables                          4/30/20                30‐60     Home Bank, NA                                                 Operations & Maintenance Plant                               $       103.27
  SSA     June 2020      Trade payables                          2/5/20                  90+      A&L Sales, Inc                                                Agency Club reimbursement                                    $       171.51
  SSA     June 2020      Trade payables                        04/17/2018                90+                                                                    TuitionOverpaymentRefund                                     $       300.00
  SSA     June 2020      Trade payables                          4/23/20                30‐60                                                                   Student Activities                                           $        41.18
  SSA     June 2020      Trade payables                        03/01/2020                90+                                                                    ReimCDLPhysOutstandingCh#16435StopPmt                        $        30.00
  SSA     June 2020      Trade payables                         6/1/2018                 90+                                                                    TuitionOverpaymentRefund                                     $       700.00
  SSA     June 2020      Trade payables                        02/01/2020                90+      Fontainebleau High School                                     OutstandingCh#16327StopPmtSBTourn                            $       120.00
  SSA     June 2020      Trade payables                          4/7/20                 30‐60     Home Bank, NA                                                 EE reimbursement                                             $       100.00
  SSA     June 2020      Trade payables                          4/4/20                 30‐60     Home Bank, NA                                                 Instructional Exp                                            $        81.49
  SSA     June 2020      Trade payables                          4/14/20                30‐60     Ja‐Roy Exterminating                                          EE reimbursement                                             $       180.00
  SSA     June 2020      Trade payables                        02/01/2020                90+                                                                    OutstandingCh#16305StopPmtRef                                $       120.00
  SSA     June 2020      Trade payables                         04/30/20                60‐90     Mesalain Consulting Group, LLC                                Operations and Plant, Apr Contracted                         $     4,387.50
  SSA     June 2020      Trade payables                          3/01/20                 90+                                                                    Due to School Cafeteria Services                             $       194.79
  SSA     June 2020      Trade payables                         6/1/2017                 90+                                                                    TuitionOverpaymentRefund                                     $       700.00
  SSA     June 2020      Trade payables                    Aug 2019‐Mar 2020             90+      School Food and Nutrition                                     Student Lunch Pymts due                                      $     1,520.80
  SSA     May 2020       Trade payables                          4/30/20                30‐60     Wagner's Landscaping LLC                                      Operations & Maintenance Plant                              $      600.00
  SSA     May 2020       Trade payables                          4/4/20                 30‐60     Gulf Coast Office Products                                    Instructional Exp                                           $       20.02
  SSA     May 2020       Trade payables                          4/23/20                30‐60     Herff Jones Inc                                               Student Activities                                          $       61.68
  SSA     May 2020       Trade payables                          2/5/20                  90+                                                                    Agency Club reimbursement                                   $       57.07
  SSA     May 2020       Trade payables                          3/01/20                 90+      School Food and Nutrition                                     Due to School Cafeteria Services                            $       96.70
  ANO     May 2020       Trade payables                        4/21/2020                 90+      ADI                                                           IT EQUIPMENT                                                $      454.25
  ANO     May 2020       Trade payables                        4/30/2020                 90+      AKT ENVIRONMENTAL SERVICES INC.                               REPAIRS & MAINTENANCE                                       $      275.00
  ANO     May 2020       Trade payables                        4/30/2020                 90+      ALPHA TECH                                                    ADVERTISING                                                 $      715.00
  ANO     May 2020       Trade payables                        4/16/2020                 90+      AMERICA'S SWIMMING POOL CO                                    CONTRACTED SERVICE                                          $    1,900.00
  ANO     May 2020       Trade payables                         4/6/2020                 90+      APPLE INC.                                                    IT EQUIPMENT                                                $       19.00
  ANO     May 2020       Trade payables                        4/14/2020                 90+      APPLE INC.                                                    IT EQUIPMENT                                                $    1,779.00
  ANO     May 2020       Trade payables                         4/2/2020                 90+      APPLE INC.                                                    IT EQUIPMENT                                                $      211.00
  ANO     May 2020       Trade payables                        4/30/2020                 90+                                                                    ATHLETIC LEAGUE                                             $       35.00
  ANO     May 2020       Trade payables                        4/30/2020                 90+                                                                    RETREAT INCOME ‐ SCHEDULED RETREATS                         $       75.00
  ANO     May 2020       Trade payables                        4/30/2020                 90+                                                                    KITCHEN FOOD ‐ RETREATS                                     $      368.18
  ANO     May 2020       Trade payables                        3/12/2020                 90+                                                                    KITCHEN FOOD ‐ RETREATS                                     $       47.71
  ANO     May 2020       Trade payables                        3/12/2020                 90+                                                                    KITCHEN FOOD ‐ RETREATS                                     $    1,454.89
  ANO     May 2020       Trade payables                        4/30/2020                 90+                                                                    ATHLETIC LEAGUE                                             $       70.00
  ANO     May 2020       Trade payables                         3/9/2020                 90+                                                                    ATHLETIC LEAGUE                                             $       90.00
  ANO     May 2020       Trade payables                        4/30/2020                 90+      BROWN RICE MARKETING                                          ADVERTISING                                                 $      430.00
  ANO     May 2020       Trade payables                         3/1/2020                 90+      C F BIGGS COMPANY INC                                         ELECTRONIC RECORDS                                          $      959.54
  ANO     May 2020       Trade payables                        4/30/2020                 90+      Cambas Electric Inc.                                          REPAIRS & MAINTENANCE                                       $      255.00
  ANO     May 2020       Trade payables                        4/30/2020                 90+                                                                    RETREAT INCOME ‐ SCHEDULED RETREATS                         $       75.00
  ANO     May 2020       Trade payables                        3/31/2020                 90+      CAPITAL CITY PRESS LLC                                        ADVERTISING                                                 $      315.00
  ANO     May 2020       Trade payables                        4/28/2020                 90+      CDW GOVERNMENT INC                                            IT EQUIPMENT                                                $      645.00
  ANO     May 2020       Trade payables                        4/29/2020                 90+      CDW GOVERNMENT INC                                            IT EQUIPMENT                                                $    1,935.00
  ANO     May 2020       Trade payables                        4/29/2020                 90+      CDW GOVERNMENT INC                                            IT EQUIPMENT                                                $    1,290.00
  ANO     May 2020       Trade payables                        4/27/2020                 90+      CHEMSEARCH                                                    REPAIRS & MAINTENANCE                                       $      334.26
  ANO     May 2020       Trade payables                        4/30/2020                 90+                                                                    ATHLETIC LEAGUE                                             $      245.00
  ANO     May 2020       Trade payables                        3/12/2020                 90+                                                                    ATHLETIC LEAGUE                                             $       60.00
  ANO     May 2020       Trade payables                        3/11/2020                 90+      CHURCH SUPPLY HOUSE                                           OFFICE SUPPLIES                                             $       20.80
  ANO     May 2020       Trade payables                         4/1/2020                 90+      CHURCH SUPPLY HOUSE                                           SUPPLIES ‐ RETREATS                                         $      184.25
  ANO     May 2020       Trade payables                        4/30/2020                 90+      CIRCUITREE LLC                                                CONTRACTED SERVICE                                          $    6,745.05
  ANO     May 2020       Trade payables                        4/30/2020                 90+      CIRCUITREE LLC                                                CONTRACTED SERVICE                                          $      333.45
  ANO     May 2020       Trade payables                        4/30/2020                 90+      CIRCUITREE LLC                                                CONTRACTED SERVICE                                          $       11.70
  ANO     May 2020       Trade payables                        3/14/2020                 90+      CLARION HERALD                                                ADVERTISING                                                 $      975.00
  ANO     May 2020       Trade payables                        4/30/2020                 90+      CRESCENT TRANSPORT INC                                        MISC SCHOOL SUPPORT                                         $       68.00
  ANO     May 2020       Trade payables                         4/7/2020                 90+      CURTIS ENVIRONMENTAL SERVICES INC                             HOUSEHOLD UTILITIES                                         $      700.00
  ANO     May 2020       Trade payables                         4/1/2020                 90+      CURTIS ENVIRONMENTAL SERVICES INC                             HOUSEHOLD UTILITIES                                         $       75.00
  ANO     May 2020       Trade payables                        4/30/2020                 90+                                                                    RETREAT INCOME ‐ SCHEDULED RETREATS                         $       75.00
  ANO     May 2020       Trade payables                        4/30/2020                 90+      DA EXTERMINATING                                              CONTRACTED SERVICE                                          $      155.00
  ANO     May 2020       Trade payables                        4/30/2020                 90+                                                                    RETREAT INCOME ‐ SCHEDULED RETREATS                         $       75.00
  ANO     May 2020       Trade payables                        4/30/2020                 90+                                                                    ATHLETIC LEAGUE                                             $      140.00
  ANO     May 2020       Trade payables                        3/14/2020                 90+      DARLING INGREDIENTS INC                                       CONTRACTED SERVICE                                          $      231.95
  ANO     May 2020       Trade payables                        4/30/2020                 90+                                                                    RETREAT INCOME ‐ SCHEDULED RETREATS                         $       75.00
  ANO     May 2020       Trade payables                        4/30/2020                 90+                                                                    RETREAT INCOME ‐ SCHEDULED RETREATS                         $      150.00
  ANO     May 2020       Trade payables                        4/30/2020                 90+                                                                    RETREAT INCOME ‐ SCHEDULED RETREATS                         $       75.00
  ANO     May 2020       Trade payables                        3/10/2020                 90+                                                                    ATHLETIC LEAGUE                                             $      490.00
  ANO     May 2020       Trade payables                        4/30/2020                 90+      DEPARTMENT OF PUBLIC SAFETY                                   FINGERPRINTING EXPENSE                                      $       39.25
  ANO     May 2020       Trade payables                        4/30/2020                 90+                                                                    RETREAT INCOME ‐ SCHEDULED RETREATS                         $       75.00
  ANO     May 2020       Trade payables                        4/30/2020                 90+      DOCUMART                                                      STATIONERY & PRINTING                                       $      893.90
  ANO     May 2020       Trade payables                        2/27/2020                 90+      DOCUMART                                                      STATIONERY & PRINTI                                         $      335.71
  ANO     May 2020       Trade payables                        4/30/2020                 90+                                                                    RETREAT INCOME ‐ SCHEDULED RETREATS                         $       75.00
  ANO     May 2020       Trade payables                        4/28/2020                 90+      DR JOSEPH TRAMONTANA, PHD                                     CONSULTANT FEES                                             $      400.00
  ANO     May 2020       Trade payables                        4/30/2020                 90+                                                                    FINANCIAL ASSISTANCE TO VICTIMS                             $      480.00
  ANO     May 2020       Trade payables                        4/30/2020                 90+      EVERGREEN LAWN SERVICE LLC                                    CONTRACTED SERVICE                                          $      830.92
  ANO     May 2020       Trade payables                        3/31/2020                 90+      EVERGREEN LAWN SERVICE LLC                                    CONTRACTED SERVICE                                          $      830.92
  ANO     May 2020       Trade payables                        1/31/2020                 90+      EVERGREEN LAWN SERVICE LLC                                    CONTRACTED SERVICE                                          $      828.83
  ANO     May 2020       Trade payables                        4/30/2020                 90+      FEDEX                                                         POSTAGE                                                     $       85.24
  ANO     May 2020       Trade payables                        9/26/2020                31‐60     FEDEX                                                         POSTAGE                                                     $      120.79
  ANO     May 2020       Trade payables                        9/28/2020                31‐60     FEDEX                                                         POSTAGE                                                     $      169.37
  ANO     May 2020       Trade payables                        9/28/2020                31‐60     FEDEX                                                         POSTAGE                                                     $       62.17
  ANO     May 2020       Trade payables                        9/28/2020                31‐60     FEDEX                                                         POSTAGE                                                     $       79.32
  ANO     May 2020       Trade payables                        9/29/2020                31‐60     FEDEX                                                         POSTAGE                                                     $       27.04
  ANO     May 2020       Trade payables                        9/29/2020                31‐60     FEDEX                                                         POSTAGE                                                     $       21.46
  ANO     May 2020       Trade payables                        9/29/2020                31‐60     FEDEX                                                         POSTAGE                                                     $      101.09
  ANO     May 2020       Trade payables                        9/22/2020                31‐60                                                                   ATHLETIC LEAGUE                                             $      280.00
  ANO     May 2020       Trade payables                        9/22/2020                31‐60                                                                   REPAIRS & MAINTENANCE                                       $    1,150.00
  ANO     May 2020       Trade payables                        9/22/2020                31‐60                                                                   REPAIRS & MAINTENANCE                                       $    1,150.00
  ANO     May 2020       Trade payables                        3/31/2020                 90+      GALLO MECHANICAL SERVICES LLC                                 REPAIRS & MAINTENANCE                                       $      641.18
  ANO     May 2020       Trade payables                        1/31/2020                 90+      GAMBEL PUBLISHING LLC                                         ADVERTISING                                                 $    1,009.00
  ANO     May 2020       Trade payables                        6/25/2019                 90+                                                                    MEN'S MINISTRY EXPENSES                                     $      916.50
  ANO     May 2020       Trade payables                        4/26/2020                 90+                                                                    MEN'S MINISTRY EXPENSES                                     $      916.50
  ANO     May 2020       Trade payables                        4/30/2020                 90+      GENOVESE TRACTOR SERVICE LLC                                  CONTRACTED SERVICE                                          $      125.00
  ANO     May 2020       Trade payables                        3/12/2020                 90+                                                                    ATHLETIC LEAGUE                                             $       70.00
  ANO     May 2020       Trade payables                        3/12/2020                 90+                                                                    ATHLETIC LEAGUE                                             $       70.00
  ANO     May 2020       Trade payables                        3/12/2020                 90+      GOLDSTAR ELECTRIC, INC                                        REPAIRS & MAINTENANCE ‐ RETREATS                            $      824.84
  ANO     May 2020       Trade payables                        3/12/2020                 90+      GRAYBAR ELECTRIC COMPANY INC                                  TELEPHONE EXPENSE                                           $       33.11
  ANO     May 2020       Trade payables                        3/12/2020                 90+      GRAYBAR ELECTRIC COMPANY INC                                  TELEPHONE EXPENSE                                           $       42.21
  ANO     May 2020       Trade payables                        9/30/2020                31‐60     GRAYBAR ELECTRIC COMPANY INC                                  REPAIRS & MAINTENANCE                                       $       10.90
  ANO     May 2020       Trade payables                        4/30/2020                 90+                                                                    CONSULTANT FEES                                             $      750.00
  ANO     May 2020       Trade payables                        4/26/2020                 90+                                                                    CONSULTANT FEES                                             $      750.00
  ANO     May 2020       Trade payables                        4/26/2020                 90+      GREG'S LAWN SERVICE, LLC                                      CONTRACTED SERVICE                                          $    1,100.00
  ANO     May 2020       Trade payables                        9/30/2020                31‐60     GULF COAST OFFICE PRODUCTS                                    XEROX COPIES                                                $      103.95
  ANO     May 2020       Trade payables                        4/22/2020                 90+      GULF COAST OFFICE PRODUCTS                                    XEROX COPIES                                                $       17.70
  ANO     May 2020       Trade payables                        4/29/2020                 90+      HOME DEPOT CREDIT SERVICES                                    REPAIRS & MAINTENANCE                                       $      116.81
  ANO     May 2020       Trade payables                         3/5/2020                 90+      HOME DEPOT CREDIT SERVICES                                    REPAIRS & MAINTENANCE                                       $       75.76
  ANO     May 2020       Trade payables                        9/30/2020                31‐60     HOME DEPOT CREDIT SERVICES                                    REPAIRS & MAINTENANCE                                       $      166.60
  ANO     May 2020       Trade payables                        4/30/2020                 90+      HOME DEPOT CREDIT SERVICES                                    REPAIRS & MAINTENANCE                                       $       20.00
  ANO     May 2020       Trade payables                        4/14/2020                 90+      HOME DEPOT CREDIT SERVICES                                    TELEPHONE EXPENSE                                           $      130.53
  ANO     May 2020       Trade payables                        4/14/2020                 90+      HOME DEPOT CREDIT SERVICES                                    TELEPHONE EXPENSE                                           $      125.45
  ANO     May 2020       Trade payables                        4/14/2020                 90+      INTERNATIONAL INSTITUTE FOR CULTURE                           MISCELLANEOUS EXPE                                          $      600.00
  ANO     May 2020       Trade payables                        4/14/2020                 90+                                                                    RETREAT INCOME ‐ SCHEDULED RETREATS                         $       75.00
  ANO     May 2020       Trade payables                        4/14/2020                 90+      JACK PETTY MARKETING & PROMOTIONS                             LEADERSHIP AWARDS                                           $    1,960.94
  ANO     May 2020       Trade payables                        3/13/2020                 90+      JACK PETTY MARKETING & PROMOTIONS                             LEADERSHIP AWARDS                                           $      628.23
  ANO     May 2020       Trade payables                        3/13/2020                 90+                                                                    RETREAT INCOME ‐ SCHEDULED RETREATS                         $       75.00
  ANO     May 2020       Trade payables                        3/13/2020                 90+                                                                    RETREAT INCOME ‐ SCHEDULED RETREATS                         $       75.00
  ANO     May 2020       Trade payables                        3/13/2020                 90+                                                                    SEMINARIAN ASSIST ‐ INSURANCES AND MISC NEEDS               $      340.00
  ANO     May 2020       Trade payables                        4/20/2020                 90+      JESSICA HOF, MD                                               SEMINARIAN ASSIST ‐ INSURANCES AND MISC NEEDS               $      125.00
  ANO     May 2020       Trade payables                        4/30/2020                 90+                                                                    MISCELLANEOUS EXPE                                          $      200.00
  ANO     May 2020       Trade payables                        4/21/2020                 90+                                                                    RETREAT INCOME ‐ SCHEDULED RETREATS                         $       75.00
  ANO     May 2020       Trade payables                         5/2/2020                 90+                                                                    RETREAT INCOME ‐ SCHEDULED RETREATS                         $       75.00
  ANO     May 2020       Trade payables                         5/2/2020                 90+                                                                    RETREAT INCOME ‐ SCHEDULED RETREATS                         $       75.00
  ANO     May 2020       Trade payables                         9/1/2020                31‐60                                                                   RETREAT INCOME ‐ SCHEDULED RETREATS                         $       75.00
  ANO     May 2020       Trade payables                        4/30/2020                 90+      KAISER SUPPLY                                                 REPAIRS & MAINTENANCE                                       $      127.51
  ANO     May 2020       Trade payables                        2/29/2020                 90+                                                                    ATHLETIC LEAGUE                                             $       70.00
  ANO     May 2020       Trade payables                        4/30/2020                 90+      KENTWOOD SPRINGS                                              COFFEE & SOFT DRINK                                         $       23.14
  ANO     May 2020       Trade payables                        8/31/2020                61‐90                                                                   ATHLETIC LEAGUE                                             $      210.00
  ANO     May 2020       Trade payables                        8/26/2020                61‐90     KGLA RADIO TROPICAL                                           COMMUNICATIONS                                              $    2,400.00
  ANO     May 2020       Trade payables                         9/4/2020                31‐60     KGLA RADIO TROPICAL                                           COMMUNICATIONS                                              $      840.00
  ANO     May 2020       Trade payables                         9/4/2020                31‐60     KGLA RADIO TROPICAL                                           COMMUNICATIONS                                              $      800.00
  ANO     May 2020       Trade payables                        8/31/2020                61‐90     KIM E VANGEFFEN PHD                                           CONSULTANT FEES                                             $    1,000.00
  ANO     May 2020       Trade payables                        4/20/2020                 90+      LARRY S HARDWARE INC                                          REPAIRS & MAINTENANCE ‐ RETREATS                            $       42.30
  ANO     May 2020       Trade payables                        4/30/2020                 90+      LEAF                                                          CONTRACTED SERVICE                                          $      728.61
  ANO     May 2020       Trade payables                        6/29/2020                 90+      LIQUID ENVIRONMENTAL SOLUTIONS                                CONTRACTED SERVICE ‐ BUILDING/JANITORIAL                    $      364.47
  ANO     May 2020       Trade payables                         7/7/2020                 90+      MANIX COMPUTING SERVICES INC                                  IT EQUIPMENT                                                $      150.00
  ANO     May 2020       Trade payables                        9/28/2020                31‐60                                                                   RETREAT INCOME ‐ SCHEDULED RETREATS                         $       75.00
  ANO     May 2020       Trade payables                        9/25/2020                31‐60                                                                   CYO WORLD YOUTH DAY                                         $      150.00
  ANO     May 2020       Trade payables                        9/25/2020                31‐60                                                                   RETREAT INCOME ‐ SCHEDULED RETREATS                         $       75.00
  ANO     May 2020       Trade payables                        9/26/2020                31‐60     MELE PRINTING                                                 STATIONERY & PRINTING                                       $    2,630.99
  ANO     May 2020       Trade payables                        4/25/2020                 90+      MELE PRINTING                                                 SEMINARIAN ASSIST ‐ INSURANCES AND MISC NEEDS               $    1,180.09
  ANO     May 2020       Trade payables                        4/30/2020                 90+                                                                    ATHLETIC LEAGUE                                             $      315.00
  ANO     May 2020       Trade payables                         4/3/2020                 90+                                                                    ATHLETIC LEAGUE                                             $      245.00
  ANO     May 2020       Trade payables                        9/28/2020                31‐60     MMG PROPERTIES                                                REPAIRS & MAINTENANCE                                       $    1,000.00
  ANO     May 2020       Trade payables                        3/16/2020                 90+      MMG PROPERTIES                                                REPAIRS & MAINTENANCE                                       $      700.00
  ANO     May 2020       Trade payables                        4/28/2020                 90+      MMG PROPERTIES                                                REPAIRS & MAINTENANCE                                       $    2,150.00
  ANO     May 2020       Trade payables                        9/30/2020                31‐60                                                                   RETREAT INCOME ‐ SCHEDULED RETREATS                         $       75.00
  ANO     May 2020       Trade payables                        2/24/2020                 90+      NITA GAUTHIER INTERIOR DESIGN INC                             RETREAT INCOME ‐ SCHEDULED RETREATS                         $       75.00
  ANO     May 2020       Trade payables                         9/8/2020                31‐60     OAKWOOD ROOTS                                                 SEMINARIAN ASSIST ‐ INSURANCES AND MISC NEEDS               $      255.00
  ANO     May 2020       Trade payables                        2/29/2020                 90+      OFFICE DEPOT                                                  OFFICE SUPPLIES                                             $       85.15
  ANO     May 2020       Trade payables                         4/6/2020                 90+                                                                    ATHLETIC LEAGUE                                             $      210.00
  ANO     May 2020       Trade payables                        3/10/2020                 90+      PM MAINTENANCE INC                                            CONTRACTED SERVICE                                          $      525.00
  ANO     May 2020       Trade payables                        4/30/2020                 90+      Renaissance Montgomery Hotel & Spa at the Convention Center   SPECIAL FUNCTIONS ‐ Pilgrimages                             $    6,726.91
  ANO     May 2020       Trade payables                        3/30/2020                 90+                                                                    RETREAT INCOME ‐ SCHEDULED RETREATS                         $       75.00
  ANO     May 2020       Trade payables                        4/30/2020                 90+      REPUBLIC SERVICES #842                                        CONTRACTED SERVICE ‐ BUILDING/JANITORIAL                    $       10.00
  ANO     May 2020       Trade payables                        4/21/2020                 90+                                                                    TEMPORARY HELP ‐ REIMBURSEMENTS                             $       41.61
  ANO     May 2020       Trade payables                        4/13/2020                 90+      RICOH USA INC                                                 XEROX COPIES                                                $       33.19
  ANO     May 2020       Trade payables                        4/30/2020                 90+      RICOH USA INC                                                 XEROX COPIES                                                $       44.50
  ANO     May 2020       Trade payables                        4/30/2020                 90+      RIVER PARISH DISPOSAL LLC                                     CONTRACTED SERVICE                                          $      130.00
  ANO     May 2020       Trade payables                        9/28/2020                31‐60     S & S LAWN SERVICE                                            MISCELLANEOUS RECEIVABLES                                   $       80.00
  ANO     May 2020       Trade payables                        4/27/2020                 90+      S & S LAWN SERVICE                                            REPAIRS & MAINTENANCE                                       $       80.00
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 48 of
                                           103
  ANO     May 2020         Trade payables   4/29/2020     90+    S & S LAWN SERVICE                    REPAIRS & MAINTENANCE                             $       240.00
  ANO     May 2020         Trade payables   9/30/2020    31‐60   SACASA COUNSELING SERVICES LLC        SEMINARIAN ASSIST ‐ INSURANCES AND MISC NEEDS     $       300.00
  ANO     May 2020         Trade payables    4/6/2020     90+                                          RETREAT INCOME ‐ SCHEDULED RETREATS               $        75.00
  ANO     May 2020         Trade payables   9/29/2020    31‐60                                         MISCELLANEOUS EXPE                                $       200.00
  ANO     May 2020         Trade payables   4/15/2020     90+                                          RETREAT INCOME ‐ SCHEDULED RETREATS               $       150.00
  ANO     May 2020         Trade payables   4/15/2020     90+                                          ATHLETIC LEAGUE                                   $       280.00
  ANO     May 2020         Trade payables   3/16/2020     90+                                          ATHLETIC LEAGUE                                   $        70.00
  ANO     May 2020         Trade payables   9/28/2020    31‐60                                         ATHLETIC LEAGUE                                   $        70.00
  ANO     May 2020         Trade payables   4/28/2020     90+                                          CONTRACTED SERVICE                                $     1,009.40
  ANO     May 2020         Trade payables   4/30/2020     90+    UNITED STATES CONFERENCE OF           TRAVEL, MEALS & ENTERTAINMENT                     $     1,125.12
  ANO     May 2020         Trade payables   8/17/2020    61‐90   UNITED STATES CONFERENCE OF           TRAVEL, MEALS & ENTERTAINMENT                     $     1,125.12
  ANO     May 2020         Trade payables   9/30/2020    31‐60                                         RETREAT INCOME ‐ SCHEDULED RETREATS               $        75.00
  ANO     May 2020         Trade payables   5/26/2020     90+    WASTE MANAGEMENT OF ST TAMMANY        CONTRACTED SERVICE                                $       635.96
  ANO     May 2020         Trade payables    4/3/2020     90+    WFNO AM                               COMMUNICATIONS                                    $       420.00
  ANO     May 2020         Trade payables   4/15/2020     90+    WFNO AM                               COMMUNICATIONS                                    $       720.00
  ANO     May 2020         Trade payables   11/19/2019    90+    WJS ENTERPRISES INC                   XEROX COPIES                                      $       132.37
  ANO     May 2020         Trade payables   9/29/2020    31‐60   WLAE TV                               ADVERTISING                                       $     1,500.00
  ANO     May 2020         Trade payables    3/4/2020     90+    YOUNG'S DRYCLEANING                   HOUSEHOLD EXPENSES                                $        21.28
  ANO     May 2020         Trade payables   9/18/2020    31‐60   ZUPPARDO FAMILY SUPER MARKETS INC.    KITCHEN FOOD                                      $       404.78
  ANO     May 2020         Trade payables   6/30/2020     90+    ZUPPARDO FAMILY SUPER MARKETS INC.    KITCHEN ‐ COMMUNITY FOOD                          $        35.79
  ANO     June 2020        Trade payables   3/14/2020     90+    CALUDA'S COTTAGE CATERING             MARRIAGE PREPARATION                              $       558.33
  ANO     June 2020        Trade payables   3/14/2020     90+    CALUDA'S COTTAGE CATERING             MARRIAGE PREPARATION                              $       608.33
  ANO     June 2020        Trade payables   11/21/2019    90+    CATHOLIC CHARITIES                    CONSULTANT FEES                                   $        76.38
  ANO     June 2020        Trade payables    4/1/2020     90+    CORVUS OF NEW ORLEANS, LLC            CONTRACTED SERVICE                                $       161.67
  ANO     June 2020        Trade payables   4/30/2020     90+    CURTIS ENVIRONMENTAL SERVICES INC     HOUSEHOLD UTILITIES                               $       700.00
  ANO     June 2020        Trade payables   3/13/2020     90+                                          Temporary Help                                    $       225.00
  ANO     June 2020        Trade payables   3/13/2020     90+                                          SEMINARIAN ASSIST ‐ INSURANCES AND MISC NEEDS     $       595.00
  ANO     June 2020        Trade payables   4/30/2020     90+    KENTWOOD SPRINGS                      COFFEE & SOFT DRINK                               $        10.00
  ANO     June 2020        Trade payables   4/30/2020     90+    KENTWOOD SPRINGS                      COFFEE & SOFT DRINK                               $       233.73
  ANO     June 2020        Trade payables   4/24/2020     90+    LYNN PARKER PH D                      SEMINARIAN ASSIST ‐ INSURANCES AND MISC NEEDS     $     1,200.00
  ANO     June 2020        Trade payables   4/22/2020     90+                                          MISC SCHOOL SUPPORT                               $     2,381.52
  ANO     June 2020        Trade payables   4/10/2020     90+                                          MISC SCHOOL SUPPORT                               $       746.16
  ANO     June 2020        Trade payables   9/21/2020    31‐60   NTT Cloud Communications US Inc.      TELEPHONE EXPENSE                                 $       135.26
  ANO     June 2020        Trade payables   4/23/2020     90+    THYSSENKRUPP ELEVATOR CORP            REPAIRS & MAINTENANCE                             $       540.00
  ANO     July 2020        Trade payables   4/22/2020     90+    ADS SYSTEMS LLC                       REPAIRS & MAINTENANCE ‐ BUILDING                  $       450.00
  ANO     July 2020        Trade payables   4/30/2020     90+    ALPHA TECH                            ADVERTISING                                       $       260.00
  ANO     July 2020        Trade payables   2/10/2020     90+                                          PARISH FAMILY MINISTRY                            $       500.00
  ANO     July 2020        Trade payables   3/30/2020     90+                                          RETREAT INCOME ‐ SCHEDULED RETREATS               $        75.00
  ANO     July 2020        Trade payables   4/30/2020     90+    ARCGNO                                Repairs & Maintenance ‐ Grounds                   $       400.00
  ANO     July 2020        Trade payables   4/30/2020     90+    ARCGNO                                Repairs & Maintenance ‐ Grounds                   $       400.00
  ANO     July 2020        Trade payables   4/30/2020     90+    HOLY NAME OF JESUS SCHOOL             ELEVATOR RECEIVABLES                              $       115.00
  ANO     July 2020        Trade payables   4/30/2020     90+    LC PASTORAL SERVICES                  NORTH SHORE CHAPEL EXPENSE                        $       400.00
  ANO     July 2020        Trade payables   4/30/2020     90+    LOU PIAZZA & ASSOCIATES LLC           HEALTHY FAMILY                                    $       300.00
  ANO     July 2020        Trade payables   4/12/2020     90+    MELE PRINTING                         POSTAGE                                           $       288.68
  ANO     July 2020        Trade payables   3/15/2020     90+    MELE PRINTING                         POSTAGE                                           $       235.98
  ANO     July 2020        Trade payables   4/28/2020     90+    MELE PRINTING                         STATIONERY & PRINTING                             $       376.00
  ANO     July 2020        Trade payables   4/28/2020     90+    MELE PRINTING                         STATIONERY & PRINTING                             $       336.00
  ANO     July 2020        Trade payables   9/30/2020    31‐60   PERINO'S GARDEN CENTER                REPAIRS & MAINTENANCE                             $       117.80
  ANO     August 2020      Trade payables   3/30/2020     90+                                          MOTHER/DAUGHTER                                   $        35.00
  ANO     August 2020      Trade payables    2/5/2020     90+                                          PARISH FAMILY MINISTRY                            $       515.00
  ANO     August 2020      Trade payables    4/1/2020     90+    CHRISTIAN BROTHERS SCHOOL             CAMP ABBEY RETREAT FEES                           $     5,000.00
  ANO     August 2020      Trade payables   12/23/2019    90+    DUHON LOCK & SECURITY                 REPAIRS & MAINTENANCE                             $        97.50
  ANO     August 2020      Trade payables   4/14/2020     90+    IRON MOUNTAIN                         RECORDS DISPOSITION                               $     1,000.00
  ANO     August 2020      Trade payables   3/13/2020     90+                                          PARISH FAMILY MINISTRY                            $       500.00
  ANO     August 2020      Trade payables   4/21/2020     90+    JOHNSON CONTROLS FIRE PROTECTION LP   Construction in Progress                          $     4,466.28
  ANO     August 2020      Trade payables   9/26/2020    31‐60                                         MOTHER/DAUGHTER                                   $        35.00
  ANO     August 2020      Trade payables   4/30/2020     90+                                          PARISH FAMILY MINISTRY                            $       500.00
  ANO     August 2020      Trade payables   2/13/2020     90+                                          PARISH FAMILY MINISTRY                            $     3,198.15
  ANO     August 2020      Trade payables   4/15/2020     90+                                          MOTHER/DAUGHTER                                   $        35.00
  ANO     September 2020   Trade payables    3/8/2020     90+    New Orleans WGNO                      ADVERTISING                                       $     3,400.02
  ANO     September 2020   Trade payables   9/30/2020    31‐60                                         MINISTRY PROGRAM ‐ Spirituality                   $       250.00
  ANO     September 2020   Trade payables   4/13/2020     90+    RICOH USA INC                         XEROX COPIES                                      $        57.97
  ANO     September 2020   Trade payables   4/28/2020     90+                                          MOTHER/DAUGHTER                                   $        35.00
  ANO     October 2020     Trade payables   8/18/2020    61‐90   JESSICA HOF, MD                       SEMINARIAN ASSIST ‐ BOOKS AND RESOURCES           $       125.00
  ANO     October 2020     Trade payables   9/29/2020    31‐60                                         Active Priest Medical Expense ‐ Medical Co‐Pays   $       184.98
  ANO     October 2020     Trade payables   3/30/2020     90+                                          Active Priest Medical Expense ‐ Dental & Vision   $       368.53
  ANO     October 2020     Trade payables   4/30/2020     90+                                          Active Priest Medical Expense ‐ Medical Co‐Pays   $       476.05
  ANO     October 2020     Trade payables   9/30/2020    31‐60                                         Active Priest Medical Expense ‐ Medical Co‐Pays   $       249.39

  Total                                                                                                                                                  $   220,013.63
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 49 of
                                           103

         AR Aging
         Case name                                          The Roman Catholic Church of the Archdiocese of New Orleans
         Case number                                        20‐10846

         For Period October 1 to October 31, 2020

                                                                                                                                  Accounts Receivable Aging Report



                              Customer                                 Incurred                                    Due Date        0‐30                   31‐60               61‐90              Over 90              Total          Collection Status (90+) (for ANO only, see other entities below)
 AOL     Parent                                             10/23/2020                      11/30/2020                        $            32.00   $                ‐     $            ‐     $              ‐     $          32.00
 SCCS    Pledges $1,000 & under ‐ Cap. Campaign             Various 2015 ‐ 2018             6/30/2019                         $              ‐     $                ‐     $            ‐     $         2,727.50   $       2,727.50
 SCCS    Pledges $1,001 to $10,000 ‐ Cap. Campaign          Various 2015 ‐ 2018             6/30/2019                         $              ‐     $                ‐     $            ‐     $        18,200.00   $      18,200.00
 SCCS    CC Pledges > $10,000: Pledge #4                    Various 2015 ‐ 2018             6/30/2019                         $              ‐     $                ‐     $            ‐     $        20,000.00   $      20,000.00
 SCCS    Stadium Pledges $1,000 & under                     March / April 2020 ‐ 2nd Paymentvarious                           $              ‐     $                ‐     $            ‐     $        95,330.00   $      95,330.00
 SCCS    Stadium Pledges $1,001 to $10,000                  March / April 2020 ‐ 2nd Paymentvarious                           $              ‐     $                ‐     $            ‐     $        19,115.00   $      19,115.00
 SCCS    Stadium Pledges > $10,000: Pledge #1               March 2020 ‐ 2nd Payment        various                           $              ‐     $                ‐     $            ‐     $        20,000.00   $      20,000.00
 SCCS    Stadium Pledges > $10,000: Pledge #2               April 2020 ‐ 2nd Payment        various                           $              ‐     $                ‐     $            ‐     $        24,000.00   $      24,000.00
 ACHS    Balfour                                            9/1/2020                        5/15/2021                         $              ‐     $             393.12   $            ‐     $              ‐     $         393.12
 ACHS    Bella Productions                                  9/1/2020                        2/15/2021                         $              ‐     $           1,500.00   $            ‐     $              ‐     $       1,500.00
 AHHS    Donors                                             10/31/2020                      11/9/2020                         $         7,090.20   $                ‐     $            ‐     $              ‐     $       7,090.20
 AHHS    Cheer Payments                                     5/1/2020                        9/30/2020                         $              ‐     $           6,220.28   $            ‐     $              ‐     $       6,220.28
 PJPHS   Employee Advances                                  April ‐ Aug 2020                7/31/2021                         $         5,564.35   $           3,674.00   $       3,674.00   $        14,479.23   $      27,391.58
 SMSS    Pledge #1                                          8/15/2018                       12/31/2022                        $       200,000.00   $                ‐     $            ‐     $              ‐     $     200,000.00
 SMSS    State of LA School Choice                          9/1/2020                        5/31/2020                         $       202,031.50   $                ‐     $            ‐     $              ‐     $     202,031.50
 SMSS    ARETE                                              9/1/2020                        5/31/2020                         $        12,133.00   $                ‐     $            ‐     $              ‐     $      12,133.00
 SMSS    ACE                                                9/1/2020                        5/31/2020                         $        88,050.00   $                ‐     $            ‐     $              ‐     $      88,050.00
 SMSS    Aspiring Scholars                                  9/1/2020                        5/31/2020                         $         6,975.00   $                ‐     $            ‐     $              ‐     $       6,975.00
 SSA     Pledge #1                                           Feb 2019                       Feb 2024                          $              ‐     $                ‐     $            ‐     $         7,000.00   $       7,000.00
 SSA     Pledge #2                                           Feb 2019                       Feb 2024                          $              ‐     $                ‐     $            ‐     $         4,000.00   $       4,000.00
 ANO     Our Lady of Prompt Succor School (Chalmette)                                                                         $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     Our Lady of Prompt Succor School (Chalmette)                                                                         $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Peter School (Covington)                                                                                         $           150.00   $                ‐     $            ‐     $              ‐     $         150.00
 ANO     St. Anthony School (Gretna)                                                                                          $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. Anthony School (Gretna)                                                                                          $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Rita School (Harahan)                                                                                            $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Immaculate Conception School (Marrero)                                                                               $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Our Lady of Lourdes School (Slidell)                                                                                 $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     Our Lady of Lourdes School (Slidell)                                                                                 $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Our Lady of Prompt Succor School (Westwego)                                                                          $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     Our Lady of Prompt Succor School (Westwego)                                                                          $            70.00   $                ‐     $            ‐     $              ‐     $          70.00
 ANO     Ascension Of Our Lord Church                                                                                         $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Blessed Sacrament‐St Joan Of Arc Church                                                                              $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     Blessed Trinity                                                                                                      $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     Blessed Trinity                                                                                                      $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Catholic Cultural Heritage Center                                                                                    $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Center Of Jesus The Lord Church                                                                                      $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     Center Of Jesus The Lord Church                                                                                      $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Our Lady of Perpetual Help School (Belle Chasse)                                                                     $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Christ the King School                                                                                               $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Clarion Herald                                                                                                       $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Divine Mercy                                                                                                         $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     Divine Mercy                                                                                                         $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Holy Family Church (Franklinton)                                                                                     $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     Holy Family Church (Franklinton)                                                                                     $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Holy Name Of Mary Church                                                                                             $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Holy Spirit Church                                                                                                   $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Immaculate Conception Church (Marrero)                                                                               $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Mary Queen of Peace School                                                                                           $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Mater Dolorosa Church                                                                                                $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Most Holy Trinity Church                                                                                             $            13.50   $                ‐     $            ‐     $              ‐     $          13.50
 ANO     Notre Dame Seminary                                                                                                  $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     OLPH School (Kenner)                                                                                                 $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     OLPH School (Kenner)                                                                                                 $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Our Lady Of Divine Providence Church                                                                                 $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Our Lady Of Lourdes Church (Slidell)                                                                                 $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     Our Lady Of Lourdes Church (Slidell)                                                                                 $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Our Lady Of Perpetual Help Church (Belle Chasse)                                                                     $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Our Lady Of Perpetual Help Church (Kenner)                                                                           $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     Our Lady Of Perpetual Help Church (Kenner)                                                                           $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Our Lady Of Prompt Succor Church (Chalmette)                                                                         $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Our Lady Of Prompt Succor Church (Westwego)                                                                          $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     Our Lady Of The Angels Church                                                                                        $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     Our Lady Of The Angels Church                                                                                        $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Our Lady Of The Holy Rosary Church                                                                                   $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     Our Lady Of The Holy Rosary Church                                                                                   $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Our Lady Of The Rosary Church                                                                                        $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     Our Lady Of The Rosary Church                                                                                        $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Our Lady Star Of The Sea Church                                                                                      $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Pontifical Mission Societies                                                                                         $           250.00   $                ‐     $            ‐     $              ‐     $         250.00
 ANO     Pontifical Mission Societies                                                                                         $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Project Lazarus                                                                                                      $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Resurrection Of Our Lord Church                                                                                      $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     Resurrection Of Our Lord Church                                                                                      $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Resurrection of Our Lord School                                                                                      $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Aspiring Scholars                                                                                                    $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     Ascension of Our Lord School                                                                                         $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Holy Name of Jesus School                                                                                            $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Holy Name of Jesus School                                                                                            $            30.00   $                ‐     $            ‐     $              ‐     $          30.00
 ANO     Our Lady of the Lake School                                                                                          $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Alphonsus School                                                                                                 $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Andrew the Apostle School                                                                                        $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Benilde School                                                                                                   $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. Benilde School                                                                                                   $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Catherine of Siena School                                                                                        $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. Catherine of Siena School                                                                                        $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Christopher School                                                                                               $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. Christopher School                                                                                               $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Clement of Rome School                                                                                           $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Cletus School                                                                                                    $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Dominic School                                                                                                   $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. Dominic School                                                                                                   $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Elizabeth Ann Seton School                                                                                       $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. Elizabeth Ann Seton School                                                                                       $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Francis Xavier School                                                                                            $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Joan of Arc School                                                                                               $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Leo the Great School                                                                                             $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Margaret Mary School                                                                                             $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Philip Neri School                                                                                               $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. Philip Neri School                                                                                               $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Pius X School                                                                                                    $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. Pius X School                                                                                                    $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Rita School                                                                                                      $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Stephen School                                                                                                   $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     Visitation of Our Lady School                                                                                        $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Agnes Church                                                                                                     $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. Andrew The Apostle Church                                                                                        $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Ann Church                                                                                                       $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. Ann School                                                                                                       $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. Ann School                                                                                                       $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Anthony Church (Gretna)                                                                                          $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Anthony Church (Lafitte)                                                                                         $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Anthony Of Padua Church (Luling)                                                                                 $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. Anthony Of Padua Church (Luling)                                                                                 $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Augustine Church                                                                                                 $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. Augustine Church                                                                                                 $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Benilde Church                                                                                                   $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. Bernard Church                                                                                                   $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. Bernard Church                                                                                                   $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Bonaventure Church                                                                                               $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. Bonaventure Church                                                                                               $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Catherine Of Siena Church                                                                                        $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. Charles Borromeo School                                                                                          $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Christopher The Martyr Church                                                                                    $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. Christopher The Martyr Church                                                                                    $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Clement Of Rome Church                                                                                           $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Dominic Church                                                                                                   $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. Dominic Church                                                                                                   $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Edward the Confessor School                                                                                      $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Francis Of Assisi Church                                                                                         $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Gertrude Church                                                                                                  $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Jane De Chantal Church                                                                                           $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. Jane De Chantal Church                                                                                           $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Jerome Church                                                                                                    $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. Jerome Church                                                                                                    $            70.00   $                ‐     $            ‐     $              ‐     $          70.00
 ANO     St. Joan Of Arc Church                                                                                               $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Joan of Arc School ‐ N.O.                                                                                        $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. Joan of Arc School ‐ N.O.                                                                                        $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. John The Baptist Church (Edgard)                                                                                 $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. John The Baptist Church (Edgard)                                                                                 $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. John The Baptist Church (Folsom)                                                                                 $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. John the Baptist Church (NOLA)                                                                                   $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. John The Baptist Church (Paradis)                                                                                $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Joseph Church (Gretna)                                                                                           $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Joseph Church (New Orleans)                                                                                      $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Joseph The Worker Church                                                                                         $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Jude Community Center                                                                                            $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. Jude Community Center                                                                                            $            20.00   $                ‐     $            ‐     $              ‐     $          20.00
 ANO     St. Louis Cathedral Church                                                                                           $           130.00   $                ‐     $            ‐     $              ‐     $         130.00
 ANO     St. Louis Cathedral Church                                                                                           $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Louis Cathedral Church                                                                                           $            70.00   $                ‐     $            ‐     $              ‐     $          70.00
 ANO     St. Louis King Of France Church                                                                                      $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. Louis King Of France Church                                                                                      $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Louis King of France School                                                                                      $            35.00   $                ‐     $            ‐     $              ‐     $          35.00
 ANO     St. Luke The Evangelist Church                                                                                       $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
 ANO     St. Maria Goretti Church                                                                                             $           200.00   $                ‐     $            ‐     $              ‐     $         200.00
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 50 of
                                           103
 ANO   St. Maria Goretti Church                           $       35.00   $      ‐     $      ‐     $        ‐     $       35.00
 ANO   St. Mark Church                                    $       35.00   $      ‐     $      ‐     $        ‐     $       35.00
 ANO   St. Martha Church                                  $       35.00   $      ‐     $      ‐     $        ‐     $       35.00
 ANO   St. Mary Magdalen School                           $      200.00   $      ‐     $      ‐     $        ‐     $      200.00
 ANO   St. Mary Magdalen School                           $       35.00   $      ‐     $      ‐     $        ‐     $       35.00
 ANO   St. Mary Of The Angels Church                      $      200.00   $      ‐     $      ‐     $        ‐     $      200.00
 ANO   St. Mary Of The Angels Church                      $       35.00   $      ‐     $      ‐     $        ‐     $       35.00
 ANO   St. Matthew the Apostle School                     $       35.00   $      ‐     $      ‐     $        ‐     $       35.00
 ANO   St. Patrick Church (New Orleans)                   $      200.00   $      ‐     $      ‐     $        ‐     $      200.00
 ANO   St. Patrick Church (New Orleans)                   $       35.00   $      ‐     $      ‐     $        ‐     $       35.00
 ANO   St. Patrick Church (Port Sulphur)                  $      200.00   $      ‐     $      ‐     $        ‐     $      200.00
 ANO   St. Patrick Church (Port Sulphur)                  $       35.00   $      ‐     $      ‐     $        ‐     $       35.00
 ANO   St. Paul The Apostle Church                        $       35.00   $      ‐     $      ‐     $        ‐     $       35.00
 ANO   St. Peter Church (Covington)                       $      200.00   $      ‐     $      ‐     $        ‐     $      200.00
 ANO   St. Peter Church (Covington)                       $       35.00   $      ‐     $      ‐     $        ‐     $       35.00
 ANO   St. Peter Church (Reserve)                         $       35.00   $      ‐     $      ‐     $        ‐     $       35.00
 ANO   St. Peter School (Reserve)                         $       70.00   $      ‐     $      ‐     $        ‐     $       70.00
 ANO   St. Philip Neri Church                             $      200.00   $      ‐     $      ‐     $        ‐     $      200.00
 ANO   St. Pius X Church                                  $      200.00   $      ‐     $      ‐     $        ‐     $      200.00
 ANO   St. Pius X Church                                  $       35.00   $      ‐     $      ‐     $        ‐     $       35.00
 ANO   St. Rita Church (New Orleans)                      $       35.00   $      ‐     $      ‐     $        ‐     $       35.00
 ANO   St. Rosalie Church                                 $       35.00   $      ‐     $      ‐     $        ‐     $       35.00
 ANO   St. Rosalie School                                 $       35.00   $      ‐     $      ‐     $        ‐     $       35.00
 ANO   St. Therese Academy                                $       35.00   $      ‐     $      ‐     $        ‐     $       35.00
 ANO   St. Thomas Church                                  $      200.00   $      ‐     $      ‐     $        ‐     $      200.00
 ANO   St. Thomas Church                                  $       35.00   $      ‐     $      ‐     $        ‐     $       35.00
 ANO   The Visitation Of Our Lady Church                  $      200.00   $      ‐     $      ‐     $        ‐     $      200.00
 ANO   The Visitation Of Our Lady Church                  $       35.00   $      ‐     $      ‐     $        ‐     $       35.00
 ANO   Transfiguration Of The Lord                        $       35.00   $      ‐     $      ‐     $        ‐     $       35.00
 ANO   Our Lady of Prompt Succor School (Chalmette)       $         ‐     $   200.00   $      ‐     $        ‐     $      200.00
 ANO   Our Lady of Prompt Succor School (Chalmette)       $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   Immaculate Conception School (Marrero)             $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   Our Lady of Lourdes School (Slidell)               $         ‐     $   200.00   $      ‐     $        ‐     $      200.00
 ANO   Our Lady of Prompt Succor School (Westwego)        $         ‐     $   200.00   $      ‐     $        ‐     $      200.00
 ANO   Our Lady of Prompt Succor School (Westwego)        $         ‐     $    70.00   $      ‐     $        ‐     $       70.00
 ANO   Blessed Trinity                                    $         ‐     $   200.00   $      ‐     $        ‐     $      200.00
 ANO   Blessed Trinity                                    $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   Center Of Jesus The Lord Church                    $         ‐     $   200.00   $      ‐     $        ‐     $      200.00
 ANO   Center Of Jesus The Lord Church                    $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   Our Lady of Perpetual Help School (Belle Chasse)   $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   Christ the King School                             $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   Clarion Herald                                     $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   Holy Family Church (Franklinton)                   $         ‐     $   200.00   $      ‐     $        ‐     $      200.00
 ANO   Holy Family Church (Franklinton)                   $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   Holy Spirit Church                                 $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   Mater Dolorosa Church                              $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   Notre Dame Seminary                                $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   Our Lady Of Divine Providence Church               $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   Our Lady Of Divine Providence Church               $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   Our Lady Of Lourdes Church (Slidell)               $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   Our Lady Of Perpetual Help Church (Belle Chasse)   $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   Our Lady Of Prompt Succor Church (Westwego)        $         ‐     $   100.00   $      ‐     $        ‐     $      100.00
 ANO   Our Lady Of The Holy Rosary Church                 $         ‐     $   200.00   $      ‐     $        ‐     $      200.00
 ANO   Our Lady Of The Holy Rosary Church                 $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   Our Lady Star Of The Sea Church                    $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   Project Lazarus                                    $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   Resurrection Of Our Lord Church                    $         ‐     $   200.00   $      ‐     $        ‐     $      200.00
 ANO   Resurrection Of Our Lord Church                    $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   Resurrection of Our Lord School                    $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   Ascension of Our Lord School                       $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. Alphonsus School                               $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. Benilde School                                 $         ‐     $   200.00   $      ‐     $        ‐     $      200.00
 ANO   St. Clement of Rome School                         $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. Cletus School                                  $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. Francis Xavier School                          $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. Margaret Mary School                           $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. Philip Neri School                             $         ‐     $   137.50   $      ‐     $        ‐     $      137.50
 ANO   St. Pius X School                                  $         ‐     $   200.00   $      ‐     $        ‐     $      200.00
 ANO   St. Pius X School                                  $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. Ann School                                     $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. Anthony Church (Lafitte)                       $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. Augustine Church                               $         ‐     $   200.00   $      ‐     $        ‐     $      200.00
 ANO   St. Augustine Church                               $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. Bernard Church                                 $         ‐     $   200.00   $      ‐     $        ‐     $      200.00
 ANO   St. Bernard Church                                 $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. Bonaventure Church                             $         ‐     $   200.00   $      ‐     $        ‐     $      200.00
 ANO   St. Bonaventure Church                             $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. Christopher The Martyr Church                  $         ‐     $   200.00   $      ‐     $        ‐     $      200.00
 ANO   St. Christopher The Martyr Church                  $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. Dominic Church                                 $         ‐     $   200.00   $      ‐     $        ‐     $      200.00
 ANO   St. Dominic Church                                 $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. Gertrude Church                                $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. Joan of Arc School ‐ N.O.                      $         ‐     $   200.00   $      ‐     $        ‐     $      200.00
 ANO   St. Joan of Arc School ‐ N.O.                      $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. John The Baptist Church (Edgard)               $         ‐     $   200.00   $      ‐     $        ‐     $      200.00
 ANO   St. John The Baptist Church (Edgard)               $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. John The Baptist Church (Paradis)              $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. Joseph Church (New Orleans)                    $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. Joseph The Worker Church                       $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. Jude Community Center                          $         ‐     $   200.00   $      ‐     $        ‐     $      200.00
 ANO   St. Jude Community Center                          $         ‐     $    20.00   $      ‐     $        ‐     $       20.00
 ANO   St. Louis King of France School                    $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. Maria Goretti Church                           $         ‐     $   200.00   $      ‐     $        ‐     $      200.00
 ANO   St. Maria Goretti Church                           $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. Mary Magdalen School                           $         ‐     $   200.00   $      ‐     $        ‐     $      200.00
 ANO   St. Patrick Church (Port Sulphur)                  $         ‐     $    70.00   $      ‐     $        ‐     $       70.00
 ANO   St. Patrick Church (Port Sulphur)                  $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. Paul The Apostle Church                        $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. Peter Church (Reserve)                         $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. Pius X Church                                  $         ‐     $   200.00   $      ‐     $        ‐     $      200.00
 ANO   St. Pius X Church                                  $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. Rosalie Church                                 $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   St. Thomas Church                                  $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   The Visitation Of Our Lady Church                  $         ‐     $   200.00   $      ‐     $        ‐     $      200.00
 ANO   The Visitation Of Our Lady Church                  $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   Transfiguration Of The Lord                        $         ‐     $    35.00   $      ‐     $        ‐     $       35.00
 ANO   Our Lady of Prompt Succor School (Chalmette)       $         ‐     $      ‐     $    35.00   $        ‐     $       35.00
 ANO   Blessed Trinity                                    $         ‐     $      ‐     $    35.00   $        ‐     $       35.00
 ANO   Holy Spirit Church                                 $         ‐     $      ‐     $    40.65   $        ‐     $       40.65
 ANO   Our Lady Of Prompt Succor Church (Westwego)        $         ‐     $      ‐     $    29.99   $        ‐     $       29.99
 ANO   Our Lady Of The Lake Church                        $         ‐     $      ‐     $    35.00   $        ‐     $       35.00
 ANO   St. Alphonsus School                               $         ‐     $      ‐     $    35.00   $        ‐     $       35.00
 ANO   St. Ann Church                                     $         ‐     $      ‐     $    35.00   $        ‐     $       35.00
 ANO   St. Augustine Church                               $         ‐     $      ‐     $    35.00   $        ‐     $       35.00
 ANO   St. Bernard Church                                 $         ‐     $      ‐     $    35.00   $        ‐     $       35.00
 ANO   St. Bonaventure Church                             $         ‐     $      ‐     $    35.00   $        ‐     $       35.00
 ANO   St. Joseph Church (New Orleans)                    $         ‐     $      ‐     $    35.00   $        ‐     $       35.00
 ANO   St. Jude Community Center                          $         ‐     $      ‐     $    20.00   $        ‐     $       20.00
 ANO   St. Peter Church (Reserve)                         $         ‐     $      ‐     $    35.00   $        ‐     $       35.00
 ANO   Our Lady of Prompt Succor School (Chalmette)       $         ‐     $      ‐     $   200.00   $        ‐     $      200.00
 ANO   Blessed Trinity                                    $         ‐     $      ‐     $   200.00   $        ‐     $      200.00
 ANO   Our Lady Of Prompt Succor Church (Westwego)        $         ‐     $      ‐     $     5.00   $        ‐     $        5.00
 ANO   St. Augustine Church                               $         ‐     $      ‐     $   200.00   $        ‐     $      200.00
 ANO   St. Bernard Church                                 $         ‐     $      ‐     $   200.00   $        ‐     $      200.00
 ANO   St. Bonaventure Church                             $         ‐     $      ‐     $   200.00   $        ‐     $      200.00
 ANO   St. John The Baptist Church (Edgard)               $         ‐     $      ‐     $   200.00   $        ‐     $      200.00
 ANO   St. Mary Magdalen School                           $         ‐     $      ‐     $   165.00   $        ‐     $      165.00
 ANO   Holy Family Church (Franklinton)                   $         ‐     $      ‐     $      ‐     $      35.00   $       35.00   Statement sent; general allowance recorded
 ANO   St. Benilde Church                                 $         ‐     $      ‐     $      ‐     $      35.00   $       35.00   Statement sent; general allowance recorded
 ANO   Our Lady of Prompt Succor School (Chalmette)       $         ‐     $      ‐     $      ‐     $     835.00   $      835.00   Statement sent; general allowance recorded
 ANO   Blessed Trinity                                    $         ‐     $      ‐     $      ‐     $   2,655.00   $    2,655.00   Statement sent; general allowance recorded
 ANO   St. Augustine Church                               $         ‐     $      ‐     $      ‐     $     400.00   $      400.00   Statement sent; general allowance recorded
 ANO   St. Bernard Church                                 $         ‐     $      ‐     $      ‐     $   2,650.00   $    2,650.00   Statement sent; general allowance recorded
 ANO   St. Bonaventure Church                             $         ‐     $      ‐     $      ‐     $   1,250.00   $    1,250.00   Statement sent; general allowance recorded
 ANO   St. John The Baptist Church (Edgard)               $         ‐     $      ‐     $      ‐     $     635.00   $      635.00   Statement sent; general allowance recorded
 ANO   Clarion Herald                                     $      917.55   $      ‐     $      ‐     $        ‐     $      917.55
 ANO   Notre Dame Health System                           $   31,066.07   $      ‐     $      ‐     $        ‐     $   31,066.07
 ANO   Project Lazarus                                    $      159.77   $      ‐     $      ‐     $        ‐     $      159.77
 ANO   School Food Services                               $    4,355.93   $      ‐     $      ‐     $        ‐     $    4,355.93
 ANO   Second Harvest Food Bank Of Greater New Orleans    $    3,939.04   $      ‐     $      ‐     $        ‐     $    3,939.04
 ANO   St. Anthony's Gardens                              $    3,781.91   $      ‐     $      ‐     $        ‐     $    3,781.91
 ANO   Hanmaum Korean Catholic Church                     $       25.32   $      ‐     $      ‐     $        ‐     $       25.32
 ANO   St. Christopher The Martyr Church                  $      276.23   $      ‐     $      ‐     $        ‐     $      276.23
 ANO   Archbishop Chapelle High School                    $    9,728.78   $      ‐     $      ‐     $        ‐     $    9,728.78
 ANO   Archbishop Chapelle High School                    $    5,024.00   $      ‐     $      ‐     $        ‐     $    5,024.00
 ANO   Archbishop Chapelle High School                    $    5,849.52   $      ‐     $      ‐     $        ‐     $    5,849.52
 ANO   Archbishop Chapelle High School                    $      587.50   $      ‐     $      ‐     $        ‐     $      587.50
 ANO   Archbishop Rummel High School                      $    6,793.56   $      ‐     $      ‐     $        ‐     $    6,793.56
 ANO   Archbishop Rummel High School                      $    7,608.73   $      ‐     $      ‐     $        ‐     $    7,608.73
 ANO   Archbishop Rummel High School                      $   10,328.68   $      ‐     $      ‐     $        ‐     $   10,328.68
 ANO   Archbishop Rummel High School                      $    2,925.00   $      ‐     $      ‐     $        ‐     $    2,925.00
 ANO   Archbishop Shaw High School                        $        0.01   $      ‐     $      ‐     $        ‐     $        0.01
 ANO   Blessed Francis Xavier Seelos Church               $    2,700.52   $      ‐     $      ‐     $        ‐     $    2,700.52
 ANO   Blessed Francis Xavier Seelos Church               $      154.13   $      ‐     $      ‐     $        ‐     $      154.13
 ANO   Blessed Francis Xavier Seelos Church               $      215.10   $      ‐     $      ‐     $        ‐     $      215.10
 ANO   Blessed Sacrament‐St Joan Of Arc Church            $    1,500.64   $      ‐     $      ‐     $        ‐     $    1,500.64
 ANO   Blessed Sacrament‐St Joan Of Arc Church            $      229.17   $      ‐     $      ‐     $        ‐     $      229.17
 ANO   Blessed Sacrament‐St Joan Of Arc Church            $      416.59   $      ‐     $      ‐     $        ‐     $      416.59
 ANO   Blessed Sacrament‐St Joan Of Arc Church            $      496.99   $      ‐     $      ‐     $        ‐     $      496.99
 ANO   Blessed Sacrament‐St Joan Of Arc Church            $      575.40   $      ‐     $      ‐     $        ‐     $      575.40
 ANO   Blessed Sacrament‐St Joan Of Arc Church            $       21.25   $      ‐     $      ‐     $        ‐     $       21.25
 ANO   Blessed Trinity                                    $    2,506.65   $      ‐     $      ‐     $        ‐     $    2,506.65
 ANO   Blessed Trinity                                    $    2,762.78   $      ‐     $      ‐     $        ‐     $    2,762.78
 ANO   Blessed Trinity                                    $      160.39   $      ‐     $      ‐     $        ‐     $      160.39
 ANO   Blessed Trinity                                    $      185.69   $      ‐     $      ‐     $        ‐     $      185.69
 ANO   Blessed Trinity                                    $       14.88   $      ‐     $      ‐     $        ‐     $       14.88
 ANO   Center Of Jesus The Lord Church                    $    3,011.33   $      ‐     $      ‐     $        ‐     $    3,011.33
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 51 of
                                           103
 ANO   Center Of Jesus The Lord Church                    $      144.89   $   ‐   $   ‐   $   ‐   $      144.89
 ANO   Center Of Jesus The Lord Church                    $      113.15   $   ‐   $   ‐   $   ‐   $      113.15
 ANO   Center Of Jesus The Lord Church                    $       41.67   $   ‐   $   ‐   $   ‐   $       41.67
 ANO   Christ The King Church                             $      428.31   $   ‐   $   ‐   $   ‐   $      428.31
 ANO   Christ The King Church                             $      491.24   $   ‐   $   ‐   $   ‐   $      491.24
 ANO   Christ The King Church                             $    4,999.66   $   ‐   $   ‐   $   ‐   $    4,999.66
 ANO   Clarion Herald                                     $       43.77   $   ‐   $   ‐   $   ‐   $       43.77
 ANO   Clarion Herald                                     $      894.65   $   ‐   $   ‐   $   ‐   $      894.65
 ANO   Clarion Herald                                     $    1,071.80   $   ‐   $   ‐   $   ‐   $    1,071.80
 ANO   Corpus Christi‐Epiphany Church                     $    1,533.70   $   ‐   $   ‐   $   ‐   $    1,533.70
 ANO   Corpus Christi‐Epiphany Church                     $      256.52   $   ‐   $   ‐   $   ‐   $      256.52
 ANO   Corpus Christi‐Epiphany Church                     $      296.98   $   ‐   $   ‐   $   ‐   $      296.98
 ANO   Corpus Christi‐Epiphany Church                     $      741.67   $   ‐   $   ‐   $   ‐   $      741.67
 ANO   Corpus Christi‐Epiphany Church                     $    5,890.50   $   ‐   $   ‐   $   ‐   $    5,890.50
 ANO   Good Shepherd Church                               $    5,239.30   $   ‐   $   ‐   $   ‐   $    5,239.30
 ANO   Good Shepherd Church                               $      411.63   $   ‐   $   ‐   $   ‐   $      411.63
 ANO   Good Shepherd Church                               $      487.12   $   ‐   $   ‐   $   ‐   $      487.12
 ANO   Hanmaum Korean Catholic Church                     $       44.42   $   ‐   $   ‐   $   ‐   $       44.42
 ANO   Holy Family Church (Franklinton)                   $      445.65   $   ‐   $   ‐   $   ‐   $      445.65
 ANO   Holy Family Church (Franklinton)                   $       36.57   $   ‐   $   ‐   $   ‐   $       36.57
 ANO   Holy Family Church (Franklinton)                   $       41.96   $   ‐   $   ‐   $   ‐   $       41.96
 ANO   Holy Spirit Church                                 $      993.45   $   ‐   $   ‐   $   ‐   $      993.45
 ANO   Holy Spirit Church                                 $      107.87   $   ‐   $   ‐   $   ‐   $      107.87
 ANO   Holy Spirit Church                                 $      124.89   $   ‐   $   ‐   $   ‐   $      124.89
 ANO   Mater Dolorosa Church                              $    3,264.09   $   ‐   $   ‐   $   ‐   $    3,264.09
 ANO   Mater Dolorosa Church                              $      193.12   $   ‐   $   ‐   $   ‐   $      193.12
 ANO   Mater Dolorosa Church                              $      238.57   $   ‐   $   ‐   $   ‐   $      238.57
 ANO   Mater Dolorosa Church                              $      157.09   $   ‐   $   ‐   $   ‐   $      157.09
 ANO   Notre Dame Health System                           $    4,505.18   $   ‐   $   ‐   $   ‐   $    4,505.18
 ANO   Notre Dame Health System                           $   21,208.86   $   ‐   $   ‐   $   ‐   $   21,208.86
 ANO   Notre Dame Health System                           $    2,550.00   $   ‐   $   ‐   $   ‐   $    2,550.00
 ANO   Notre Dame Health System                           $      726.09   $   ‐   $   ‐   $   ‐   $      726.09
 ANO   Notre Dame Health System                           $       14.07   $   ‐   $   ‐   $   ‐   $       14.07
 ANO   Notre Dame Health System                           $    1,322.12   $   ‐   $   ‐   $   ‐   $    1,322.12
 ANO   Notre Dame Health System                           $    1,530.69   $   ‐   $   ‐   $   ‐   $    1,530.69
 ANO   Notre Dame Health System                           $        8.77   $   ‐   $   ‐   $   ‐   $        8.77
 ANO   Notre Dame Health System                           $      704.57   $   ‐   $   ‐   $   ‐   $      704.57
 ANO   Notre Dame Health System                           $      815.72   $   ‐   $   ‐   $   ‐   $      815.72
 ANO   Notre Dame Health System                           $        2.76   $   ‐   $   ‐   $   ‐   $        2.76
 ANO   Notre Dame Health System                           $    7,521.04   $   ‐   $   ‐   $   ‐   $    7,521.04
 ANO   Notre Dame Health System                           $    8,759.44   $   ‐   $   ‐   $   ‐   $    8,759.44
 ANO   Notre Dame Health System                           $    7,540.16   $   ‐   $   ‐   $   ‐   $    7,540.16
 ANO   Notre Dame Health System                           $   11,936.37   $   ‐   $   ‐   $   ‐   $   11,936.37
 ANO   Notre Dame Health System                           $   11,955.84   $   ‐   $   ‐   $   ‐   $   11,955.84
 ANO   Notre Dame Health System                           $      958.34   $   ‐   $   ‐   $   ‐   $      958.34
 ANO   Notre Dame Health System                           $   11,991.18   $   ‐   $   ‐   $   ‐   $   11,991.18
 ANO   Notre Dame Health System                           $   15,545.78   $   ‐   $   ‐   $   ‐   $   15,545.78
 ANO   Notre Dame Health System                           $      258.34   $   ‐   $   ‐   $   ‐   $      258.34
 ANO   Notre Dame Seminary                                $   16,207.16   $   ‐   $   ‐   $   ‐   $   16,207.16
 ANO   Notre Dame Seminary                                $    4,918.08   $   ‐   $   ‐   $   ‐   $    4,918.08
 ANO   Notre Dame Seminary                                $    5,848.97   $   ‐   $   ‐   $   ‐   $    5,848.97
 ANO   Notre Dame Seminary                                $      458.34   $   ‐   $   ‐   $   ‐   $      458.34
 ANO   Notre Dame Seminary                                $      626.28   $   ‐   $   ‐   $   ‐   $      626.28
 ANO   Our Lady Of Divine Providence Church               $      349.41   $   ‐   $   ‐   $   ‐   $      349.41
 ANO   Our Lady Of Divine Providence Church               $      938.89   $   ‐   $   ‐   $   ‐   $      938.89
 ANO   Our Lady Of Divine Providence Church               $      290.45   $   ‐   $   ‐   $   ‐   $      290.45
 ANO   Our Lady Of Divine Providence Church               $      350.00   $   ‐   $   ‐   $   ‐   $      350.00
 ANO   Our Lady Of Divine Providence Church               $    2,382.98   $   ‐   $   ‐   $   ‐   $    2,382.98
 ANO   Our Lady Of Grace Church                           $      577.87   $   ‐   $   ‐   $   ‐   $      577.87
 ANO   Our Lady Of Grace Church                           $       57.87   $   ‐   $   ‐   $   ‐   $       57.87
 ANO   Our Lady Of Grace Church                           $       67.00   $   ‐   $   ‐   $   ‐   $       67.00
 ANO   Our Lady Of Grace Church                           $      229.17   $   ‐   $   ‐   $   ‐   $      229.17
 ANO   Our Lady Of Grace Church                           $      362.36   $   ‐   $   ‐   $   ‐   $      362.36
 ANO   Our Lady Of Lourdes Church (Slidell)               $    4,190.01   $   ‐   $   ‐   $   ‐   $    4,190.01
 ANO   Our Lady Of Lourdes Church (Slidell)               $      529.17   $   ‐   $   ‐   $   ‐   $      529.17
 ANO   Our Lady Of Lourdes Church (Slidell)               $      621.49   $   ‐   $   ‐   $   ‐   $      621.49
 ANO   Our Lady Of Lourdes Church (Slidell)               $       83.34   $   ‐   $   ‐   $   ‐   $       83.34
 ANO   Our Lady Of Lourdes Church (Slidell)               $       41.44   $   ‐   $   ‐   $   ‐   $       41.44
 ANO   Our Lady Of Lourdes Church (Slidell)               $    7,016.23   $   ‐   $   ‐   $   ‐   $    7,016.23
 ANO   Our Lady Of Lourdes Church (Slidell)               $    3,644.92   $   ‐   $   ‐   $   ‐   $    3,644.92
 ANO   Our Lady Of Lourdes Church (Slidell)               $    4,222.87   $   ‐   $   ‐   $   ‐   $    4,222.87
 ANO   Our Lady Of Prompt Succor Church (Chalmette)       $    2,352.26   $   ‐   $   ‐   $   ‐   $    2,352.26
 ANO   Our Lady Of Prompt Succor Church (Chalmette)       $      517.83   $   ‐   $   ‐   $   ‐   $      517.83
 ANO   Our Lady Of Prompt Succor Church (Chalmette)       $    1,032.96   $   ‐   $   ‐   $   ‐   $    1,032.96
 ANO   Our Lady Of Prompt Succor Church (Chalmette)       $    2,269.52   $   ‐   $   ‐   $   ‐   $    2,269.52
 ANO   Our Lady Of Prompt Succor Church (Chalmette)       $    2,575.54   $   ‐   $   ‐   $   ‐   $    2,575.54
 ANO   Our Lady Of Prompt Succor Church (Chalmette)       $    5,137.66   $   ‐   $   ‐   $   ‐   $    5,137.66
 ANO   Our Lady Of Prompt Succor Church (Westwego)        $      373.27   $   ‐   $   ‐   $   ‐   $      373.27
 ANO   Our Lady Of Prompt Succor Church (Westwego)        $    1,800.57   $   ‐   $   ‐   $   ‐   $    1,800.57
 ANO   Our Lady Of Prompt Succor Church (Westwego)        $    2,101.61   $   ‐   $   ‐   $   ‐   $    2,101.61
 ANO   Our Lady Of Prompt Succor Church (Westwego)        $      763.99   $   ‐   $   ‐   $   ‐   $      763.99
 ANO   Our Lady Of Prompt Succor Church (Westwego)        $      569.33   $   ‐   $   ‐   $   ‐   $      569.33
 ANO   Our Lady Of Prompt Succor Church (Westwego)        $      512.50   $   ‐   $   ‐   $   ‐   $      512.50
 ANO   Our Lady Of Prompt Succor Church (Westwego)        $      143.38   $   ‐   $   ‐   $   ‐   $      143.38
 ANO   Our Lady Of Prompt Succor Church (Westwego)        $    1,176.20   $   ‐   $   ‐   $   ‐   $    1,176.20
 ANO   Our Lady Of Prompt Succor Church (Westwego)        $    2,161.25   $   ‐   $   ‐   $   ‐   $    2,161.25
 ANO   Our Lady Of Prompt Succor Church (Westwego)        $    1,026.06   $   ‐   $   ‐   $   ‐   $    1,026.06
 ANO   Our Lady Of The Holy Rosary Church                 $    1,385.48   $   ‐   $   ‐   $   ‐   $    1,385.48
 ANO   Our Lady Of The Holy Rosary Church                 $      176.52   $   ‐   $   ‐   $   ‐   $      176.52
 ANO   Our Lady Of The Holy Rosary Church                 $      204.37   $   ‐   $   ‐   $   ‐   $      204.37
 ANO   Our Lady Of The Holy Rosary Church                 $       79.19   $   ‐   $   ‐   $   ‐   $       79.19
 ANO   Our Lady Star Of The Sea Church                    $    2,591.43   $   ‐   $   ‐   $   ‐   $    2,591.43
 ANO   Our Lady Star Of The Sea Church                    $      110.68   $   ‐   $   ‐   $   ‐   $      110.68
 ANO   Our Lady Star Of The Sea Church                    $      128.14   $   ‐   $   ‐   $   ‐   $      128.14
 ANO   Project Lazarus                                    $      789.45   $   ‐   $   ‐   $   ‐   $      789.45
 ANO   Project Lazarus                                    $    1,193.66   $   ‐   $   ‐   $   ‐   $    1,193.66
 ANO   Project Lazarus                                    $    1,407.51   $   ‐   $   ‐   $   ‐   $    1,407.51
 ANO   Project Lazarus                                    $      579.17   $   ‐   $   ‐   $   ‐   $      579.17
 ANO   Resurrection Of Our Lord Church                    $    1,476.17   $   ‐   $   ‐   $   ‐   $    1,476.17
 ANO   Resurrection Of Our Lord Church                    $      149.30   $   ‐   $   ‐   $   ‐   $      149.30
 ANO   Resurrection Of Our Lord Church                    $      245.79   $   ‐   $   ‐   $   ‐   $      245.79
 ANO   Resurrection Of Our Lord Church                    $      229.17   $   ‐   $   ‐   $   ‐   $      229.17
 ANO   Resurrection Of Our Lord Church                    $      295.51   $   ‐   $   ‐   $   ‐   $      295.51
 ANO   Rouquette Lodge III                                $    1,900.80   $   ‐   $   ‐   $   ‐   $    1,900.80
 ANO   Rouquette Lodge III                                $      892.77   $   ‐   $   ‐   $   ‐   $      892.77
 ANO   Rouquette Lodge III                                $      236.69   $   ‐   $   ‐   $   ‐   $      236.69
 ANO   Sacred Heart Church                                $    1,025.82   $   ‐   $   ‐   $   ‐   $    1,025.82
 ANO   Sacred Heart Church                                $      165.93   $   ‐   $   ‐   $   ‐   $      165.93
 ANO   Sacred Heart Church                                $      192.11   $   ‐   $   ‐   $   ‐   $      192.11
 ANO   Sacred Heart Church                                $       35.07   $   ‐   $   ‐   $   ‐   $       35.07
 ANO   Sacred Heart Of Jesus Church                       $    1,949.76   $   ‐   $   ‐   $   ‐   $    1,949.76
 ANO   Sacred Heart Of Jesus Church                       $      255.38   $   ‐   $   ‐   $   ‐   $      255.38
 ANO   Sacred Heart Of Jesus Church                       $      318.45   $   ‐   $   ‐   $   ‐   $      318.45
 ANO   Sacred Heart Of Jesus Church                       $    2,611.10   $   ‐   $   ‐   $   ‐   $    2,611.10
 ANO                      School Food Services            $    2,619.92   $   ‐   $   ‐   $   ‐   $    2,619.92
 ANO                      School Food Services            $    9,279.24   $   ‐   $   ‐   $   ‐   $    9,279.24
 ANO                      School Food Services            $   19,881.14   $   ‐   $   ‐   $   ‐   $   19,881.14
 ANO    Second Harvest Food Bank Of Greater New Orleans   $    3,854.64   $   ‐   $   ‐   $   ‐   $    3,854.64
 ANO    Second Harvest Food Bank Of Greater New Orleans   $    4,521.59   $   ‐   $   ‐   $   ‐   $    4,521.59
 ANO    Second Harvest Food Bank Of Greater New Orleans   $    9,098.82   $   ‐   $   ‐   $   ‐   $    9,098.82
 ANO    Second Harvest Food Bank Of Greater New Orleans   $   11,205.63   $   ‐   $   ‐   $   ‐   $   11,205.63
 ANO                     St. Alphonsus Church             $      183.14   $   ‐   $   ‐   $   ‐   $      183.14
 ANO                 St. Anthony Church (Lafitte)         $    1,220.37   $   ‐   $   ‐   $   ‐   $    1,220.37
 ANO                 St. Anthony Church (Lafitte)         $       52.70   $   ‐   $   ‐   $   ‐   $       52.70
 ANO                 St. Anthony Church (Lafitte)         $       30.25   $   ‐   $   ‐   $   ‐   $       30.25
 ANO                 St. Anthony Church (Lafitte)         $      701.69   $   ‐   $   ‐   $   ‐   $      701.69
 ANO                 St. Anthony Church (Lafitte)         $      248.36   $   ‐   $   ‐   $   ‐   $      248.36
 ANO        St. Anthony Of Padua Church (New Orleans)     $    3,447.19   $   ‐   $   ‐   $   ‐   $    3,447.19
 ANO        St. Anthony Of Padua Church (New Orleans)     $      582.08   $   ‐   $   ‐   $   ‐   $      582.08
 ANO        St. Anthony Of Padua Church (New Orleans)     $      778.58   $   ‐   $   ‐   $   ‐   $      778.58
 ANO        St. Anthony Of Padua Church (New Orleans)     $      803.47   $   ‐   $   ‐   $   ‐   $      803.47
 ANO        St. Anthony Of Padua Church (New Orleans)     $    1,793.45   $   ‐   $   ‐   $   ‐   $    1,793.45
 ANO                     St. Anthony's Gardens            $   14,457.64   $   ‐   $   ‐   $   ‐   $   14,457.64
 ANO                     St. Anthony's Gardens            $    6,072.03   $   ‐   $   ‐   $   ‐   $    6,072.03
 ANO                     St. Anthony's Gardens            $    9,163.43   $   ‐   $   ‐   $   ‐   $    9,163.43
 ANO                     St. Anthony's Gardens            $      350.00   $   ‐   $   ‐   $   ‐   $      350.00
 ANO                      St. Augustine Church            $    1,415.49   $   ‐   $   ‐   $   ‐   $    1,415.49
 ANO                      St. Augustine Church            $      103.24   $   ‐   $   ‐   $   ‐   $      103.24
 ANO                      St. Augustine Church            $      119.52   $   ‐   $   ‐   $   ‐   $      119.52
 ANO                       St. Bernard Church             $      391.09   $   ‐   $   ‐   $   ‐   $      391.09
 ANO                       St. Bernard Church             $      179.60   $   ‐   $   ‐   $   ‐   $      179.60
 ANO                       St. Bernard Church             $      207.93   $   ‐   $   ‐   $   ‐   $      207.93
 ANO                       St. Bernard Church             $      165.32   $   ‐   $   ‐   $   ‐   $      165.32
 ANO             St. Christopher The Martyr Church        $    2,404.29   $   ‐   $   ‐   $   ‐   $    2,404.29
 ANO             St. Christopher The Martyr Church        $      164.29   $   ‐   $   ‐   $   ‐   $      164.29
 ANO             St. Christopher The Martyr Church        $      190.85   $   ‐   $   ‐   $   ‐   $      190.85
 ANO             St. Christopher The Martyr Church        $    1,878.32   $   ‐   $   ‐   $   ‐   $    1,878.32
 ANO             St. Christopher The Martyr Church        $    3,136.51   $   ‐   $   ‐   $   ‐   $    3,136.51
 ANO             St. Christopher The Martyr Church        $    3,643.56   $   ‐   $   ‐   $   ‐   $    3,643.56
 ANO                         St. David Church             $      198.01   $   ‐   $   ‐   $   ‐   $      198.01
 ANO                         St. David Church             $       54.00   $   ‐   $   ‐   $   ‐   $       54.00
 ANO                         St. David Church             $       62.52   $   ‐   $   ‐   $   ‐   $       62.52
 ANO                         St. David Church             $      229.17   $   ‐   $   ‐   $   ‐   $      229.17
 ANO                         St. David Church             $    2,099.91   $   ‐   $   ‐   $   ‐   $    2,099.91
 ANO                       St. Dominic Church             $    7,732.45   $   ‐   $   ‐   $   ‐   $    7,732.45
 ANO                       St. Dominic Church             $      804.10   $   ‐   $   ‐   $   ‐   $      804.10
 ANO                       St. Dominic Church             $    1,013.27   $   ‐   $   ‐   $   ‐   $    1,013.27
 ANO                       St. Dominic Church             $    2,621.79   $   ‐   $   ‐   $   ‐   $    2,621.79
 ANO                       St. Dominic Church             $    3,324.66   $   ‐   $   ‐   $   ‐   $    3,324.66
 ANO                       St. Dominic Church             $    4,189.53   $   ‐   $   ‐   $   ‐   $    4,189.53
 ANO                       St. Dominic Church             $      358.34   $   ‐   $   ‐   $   ‐   $      358.34
 ANO              St. Gabriel The Archangel Church        $    2,749.64   $   ‐   $   ‐   $   ‐   $    2,749.64
 ANO              St. Gabriel The Archangel Church        $      255.49   $   ‐   $   ‐   $   ‐   $      255.49
 ANO              St. Gabriel The Archangel Church        $      295.80   $   ‐   $   ‐   $   ‐   $      295.80
 ANO                      St. Gertrude Church             $    1,875.73   $   ‐   $   ‐   $   ‐   $    1,875.73
 ANO                      St. Gertrude Church             $      108.01   $   ‐   $   ‐   $   ‐   $      108.01
 ANO                      St. Gertrude Church             $      125.04   $   ‐   $   ‐   $   ‐   $      125.04
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 52 of
                                           103
 ANO                     St. Gertrude Church             $     124.20   $         ‐     $   ‐   $   ‐   $      124.20
 ANO                   St. James Major Church            $   4,791.52   $         ‐     $   ‐   $   ‐   $    4,791.52
 ANO                   St. James Major Church            $     109.17   $         ‐     $   ‐   $   ‐   $      109.17
 ANO                   St. James Major Church            $     126.39   $         ‐     $   ‐   $   ‐   $      126.39
 ANO                      St. Joachim Church             $      46.84   $         ‐     $   ‐   $   ‐   $       46.84
 ANO                      St. Joachim Church             $     783.17   $         ‐     $   ‐   $   ‐   $      783.17
 ANO                      St. Joachim Church             $      12.19   $         ‐     $   ‐   $   ‐   $       12.19
 ANO                     St. John Of The Cross           $   1,591.75   $         ‐     $   ‐   $   ‐   $    1,591.75
 ANO                     St. John Of The Cross           $     183.51   $         ‐     $   ‐   $   ‐   $      183.51
 ANO                     St. John Of The Cross           $     212.46   $         ‐     $   ‐   $   ‐   $      212.46
 ANO          St. John The Baptist Church (Edgard)       $   3,026.12   $         ‐     $   ‐   $   ‐   $    3,026.12
 ANO          St. John The Baptist Church (Edgard)       $     185.31   $         ‐     $   ‐   $   ‐   $      185.31
 ANO          St. John The Baptist Church (Edgard)       $     214.55   $         ‐     $   ‐   $   ‐   $      214.55
 ANO          St. John The Baptist Church (Edgard)       $     126.99   $         ‐     $   ‐   $   ‐   $      126.99
 ANO           St. John the Baptist Church (NOLA)        $     153.77   $         ‐     $   ‐   $   ‐   $      153.77
 ANO           St. John the Baptist Church (NOLA)        $   1,766.47   $         ‐     $   ‐   $   ‐   $    1,766.47
 ANO          St. John The Baptist Church (Paradis)      $   1,165.09   $         ‐     $   ‐   $   ‐   $    1,165.09
 ANO          St. John The Baptist Church (Paradis)      $     144.89   $         ‐     $   ‐   $   ‐   $      144.89
 ANO          St. John The Baptist Church (Paradis)      $     167.75   $         ‐     $   ‐   $   ‐   $      167.75
 ANO            St. Joseph Church (New Orleans)          $   1,701.02   $         ‐     $   ‐   $   ‐   $    1,701.02
 ANO            St. Joseph Church (New Orleans)          $     590.10   $         ‐     $   ‐   $   ‐   $      590.10
 ANO            St. Joseph Church (New Orleans)          $      83.11   $         ‐     $   ‐   $   ‐   $       83.11
 ANO              St. Joseph The Worker Church           $   1,109.30   $         ‐     $   ‐   $   ‐   $    1,109.30
 ANO              St. Joseph The Worker Church           $     323.00   $         ‐     $   ‐   $   ‐   $      323.00
 ANO              St. Joseph The Worker Church           $     342.99   $         ‐     $   ‐   $   ‐   $      342.99
 ANO              St. Joseph The Worker Church           $     283.34   $         ‐     $   ‐   $   ‐   $      283.34
 ANO              St. Joseph The Worker Church           $   1,032.52   $         ‐     $   ‐   $   ‐   $    1,032.52
 ANO                St. Jude Community Center            $   1,454.46   $         ‐     $   ‐   $   ‐   $    1,454.46
 ANO                  St. Maria Goretti Church           $   2,672.70   $         ‐     $   ‐   $   ‐   $    2,672.70
 ANO                  St. Maria Goretti Church           $     535.20   $         ‐     $   ‐   $   ‐   $      535.20
 ANO                  St. Maria Goretti Church           $     619.63   $         ‐     $   ‐   $   ‐   $      619.63
 ANO                  St. Maria Goretti Church           $     283.34   $         ‐     $   ‐   $   ‐   $      283.34
 ANO                        St. Mark Church              $     770.51   $         ‐     $   ‐   $   ‐   $      770.51
 ANO                        St. Mark Church              $      11.19   $         ‐     $   ‐   $   ‐   $       11.19
 ANO                        St. Mark Church              $       6.66   $         ‐     $   ‐   $   ‐   $        6.66
 ANO                 St. Michael Special School          $   2,759.09   $         ‐     $   ‐   $   ‐   $    2,759.09
 ANO                 St. Michael Special School          $   2,174.57   $         ‐     $   ‐   $   ‐   $    2,174.57
 ANO                 St. Michael Special School          $   2,601.58   $         ‐     $   ‐   $   ‐   $    2,601.58
 ANO                 St. Michael Special School          $   1,050.00   $         ‐     $   ‐   $   ‐   $    1,050.00
 ANO            St. Patrick Church (New Orleans)         $   2,522.49   $         ‐     $   ‐   $   ‐   $    2,522.49
 ANO            St. Patrick Church (New Orleans)         $     219.59   $         ‐     $   ‐   $   ‐   $      219.59
 ANO            St. Patrick Church (New Orleans)         $     394.18   $         ‐     $   ‐   $   ‐   $      394.18
 ANO            St. Patrick Church (Port Sulphur)        $   1,546.06   $         ‐     $   ‐   $   ‐   $    1,546.06
 ANO            St. Patrick Church (Port Sulphur)        $     181.47   $         ‐     $   ‐   $   ‐   $      181.47
 ANO            St. Patrick Church (Port Sulphur)        $     210.10   $         ‐     $   ‐   $   ‐   $      210.10
 ANO            St. Patrick Church (Port Sulphur)        $     152.30   $         ‐     $   ‐   $   ‐   $      152.30
 ANO            St. Patrick Church (Port Sulphur)        $      72.65   $         ‐     $   ‐   $   ‐   $       72.65
 ANO                 St. Peter Church (Reserve)          $   2,025.45   $         ‐     $   ‐   $   ‐   $    2,025.45
 ANO                 St. Peter Church (Reserve)          $     545.12   $         ‐     $   ‐   $   ‐   $      545.12
 ANO                 St. Peter Church (Reserve)          $     631.11   $         ‐     $   ‐   $   ‐   $      631.11
 ANO                 St. Peter Church (Reserve)          $     283.34   $         ‐     $   ‐   $   ‐   $      283.34
 ANO                 St. Peter Church (Reserve)          $     463.47   $         ‐     $   ‐   $   ‐   $      463.47
 ANO                 St. Peter Church (Reserve)          $   1,412.92   $         ‐     $   ‐   $   ‐   $    1,412.92
 ANO                 St. Peter Church (Reserve)          $     912.51   $         ‐     $   ‐   $   ‐   $      912.51
 ANO                 St. Peter Church (Reserve)          $   1,056.47   $         ‐     $   ‐   $   ‐   $    1,056.47
 ANO                   St. Peter Claver Church           $   1,352.85   $         ‐     $   ‐   $   ‐   $    1,352.85
 ANO                   St. Peter Claver Church           $     552.97   $         ‐     $   ‐   $   ‐   $      552.97
 ANO                   St. Peter Claver Church           $     470.54   $         ‐     $   ‐   $   ‐   $      470.54
 ANO                   St. Peter Claver Church           $      15.04   $         ‐     $   ‐   $   ‐   $       15.04
 ANO                   St. Peter Claver Church           $      54.36   $         ‐     $   ‐   $   ‐   $       54.36
 ANO                   St. Peter Claver Church           $      21.25   $         ‐     $   ‐   $   ‐   $       21.25
 ANO                   St. Peter Claver Church           $   1,552.57   $         ‐     $   ‐   $   ‐   $    1,552.57
 ANO                        St. Pius X Church            $   1,827.57   $         ‐     $   ‐   $   ‐   $    1,827.57
 ANO                        St. Pius X Church            $     872.48   $         ‐     $   ‐   $   ‐   $      872.48
 ANO                        St. Pius X Church            $   1,032.08   $         ‐     $   ‐   $   ‐   $    1,032.08
 ANO                        St. Pius X Church            $     229.17   $         ‐     $   ‐   $   ‐   $      229.17
 ANO                        St. Pius X Church            $   2,984.61   $         ‐     $   ‐   $   ‐   $    2,984.61
 ANO                        St. Pius X Church            $   2,557.72   $         ‐     $   ‐   $   ‐   $    2,557.72
 ANO                        St. Pius X Church            $   3,025.60   $         ‐     $   ‐   $   ‐   $    3,025.60
 ANO                  St. Rita Church (Harahan)          $     325.97   $         ‐     $   ‐   $   ‐   $      325.97
 ANO                  St. Rita Church (Harahan)          $     537.99   $         ‐     $   ‐   $   ‐   $      537.99
 ANO                  St. Rita Church (Harahan)          $   1,383.83   $         ‐     $   ‐   $   ‐   $    1,383.83
 ANO                       St. Rosalie Church            $   1,391.85   $         ‐     $   ‐   $   ‐   $    1,391.85
 ANO                       St. Rosalie Church            $     128.71   $         ‐     $   ‐   $   ‐   $      128.71
 ANO                       St. Rosalie Church            $     155.29   $         ‐     $   ‐   $   ‐   $      155.29
 ANO                       St. Rosalie Church            $     283.34   $         ‐     $   ‐   $   ‐   $      283.34
 ANO                       St. Rosalie Church            $      27.05   $         ‐     $   ‐   $   ‐   $       27.05
 ANO                       St. Rosalie Church            $   1,814.99   $         ‐     $   ‐   $   ‐   $    1,814.99
 ANO                       St. Rosalie Church            $   2,189.79   $         ‐     $   ‐   $   ‐   $    2,189.79
 ANO                       St. Rosalie Church            $   6,565.74   $         ‐     $   ‐   $   ‐   $    6,565.74
 ANO                St. Scholastica High School          $   3,020.10   $         ‐     $   ‐   $   ‐   $    3,020.10
 ANO                St. Scholastica High School          $   3,567.08   $         ‐     $   ‐   $   ‐   $    3,567.08
 ANO                St. Scholastica High School          $   4,708.78   $         ‐     $   ‐   $   ‐   $    4,708.78
 ANO                St. Scholastica High School          $   1,162.72   $         ‐     $   ‐   $   ‐   $    1,162.72
 ANO                St. Theresa Of Avila Church          $       2.36   $         ‐     $   ‐   $   ‐   $        2.36
 ANO                St. Theresa Of Avila Church          $     142.35   $         ‐     $   ‐   $   ‐   $      142.35
 ANO                St. Theresa Of Avila Church          $     139.03   $         ‐     $   ‐   $   ‐   $      139.03
 ANO                      St. Thomas Church              $     321.84   $         ‐     $   ‐   $   ‐   $      321.84
 ANO                      St. Thomas Church              $      45.81   $         ‐     $   ‐   $   ‐   $       45.81
 ANO                      St. Thomas Church              $      53.03   $         ‐     $   ‐   $   ‐   $       53.03
 ANO                      St. Thomas Church              $     558.31   $         ‐     $   ‐   $   ‐   $      558.31
 ANO                Sts. Peter And Paul Church           $     834.69   $         ‐     $   ‐   $   ‐   $      834.69
 ANO                Sts. Peter And Paul Church           $     148.06   $         ‐     $   ‐   $   ‐   $      148.06
 ANO                Sts. Peter And Paul Church           $     171.42   $         ‐     $   ‐   $   ‐   $      171.42
 ANO           The Visitation Of Our Lady Church         $   1,290.11   $         ‐     $   ‐   $   ‐   $    1,290.11
 ANO           The Visitation Of Our Lady Church         $     843.88   $         ‐     $   ‐   $   ‐   $      843.88
 ANO           The Visitation Of Our Lady Church         $     658.46   $         ‐     $   ‐   $   ‐   $      658.46
 ANO           The Visitation Of Our Lady Church         $   2,390.41   $         ‐     $   ‐   $   ‐   $    2,390.41
 ANO           The Visitation Of Our Lady Church         $   3,495.53   $         ‐     $   ‐   $   ‐   $    3,495.53
 ANO           The Visitation Of Our Lady Church         $   2,727.48   $         ‐     $   ‐   $   ‐   $    2,727.48
 ANO                Transfiguration Of The Lord          $   9,898.15   $         ‐     $   ‐   $   ‐   $    9,898.15
 ANO                Transfiguration Of The Lord          $     400.22   $         ‐     $   ‐   $   ‐   $      400.22
 ANO                Transfiguration Of The Lord          $     463.36   $         ‐     $   ‐   $   ‐   $      463.36
 ANO                Notre Dame Health System             $        ‐     $   54,560.00   $   ‐   $   ‐   $   54,560.00
 ANO                Notre Dame Health System             $        ‐     $   11,031.00   $   ‐   $   ‐   $   11,031.00
 ANO                Notre Dame Health System             $        ‐     $       91.00   $   ‐   $   ‐   $       91.00
 ANO                Notre Dame Health System             $        ‐     $    3,250.00   $   ‐   $   ‐   $    3,250.00
 ANO                Notre Dame Health System             $        ‐     $   52,880.00   $   ‐   $   ‐   $   52,880.00
 ANO                Notre Dame Health System             $        ‐     $   39,545.00   $   ‐   $   ‐   $   39,545.00
 ANO                Notre Dame Health System             $        ‐     $   27,824.00   $   ‐   $   ‐   $   27,824.00
 ANO                Notre Dame Health System             $        ‐     $    9,519.00   $   ‐   $   ‐   $    9,519.00
 ANO                           Ozanam Inn                $        ‐     $      121.00   $   ‐   $   ‐   $      121.00
 ANO                           Ozanam Inn                $        ‐     $      156.00   $   ‐   $   ‐   $      156.00
 ANO                         Project Lazarus             $        ‐     $    3,035.00   $   ‐   $   ‐   $    3,035.00
 ANO   Second Harvest Food Bank Of Greater New Orleans   $        ‐     $      500.00   $   ‐   $   ‐   $      500.00
 ANO   Second Harvest Food Bank Of Greater New Orleans   $        ‐     $      500.00   $   ‐   $   ‐   $      500.00
 ANO                    St. Anthony's Gardens            $        ‐     $      705.64   $   ‐   $   ‐   $      705.64
 ANO                         Blessed Trinity             $        ‐     $    2,506.65   $   ‐   $   ‐   $    2,506.65
 ANO                         Blessed Trinity             $        ‐     $    2,762.78   $   ‐   $   ‐   $    2,762.78
 ANO                         Blessed Trinity             $        ‐     $      160.39   $   ‐   $   ‐   $      160.39
 ANO                         Blessed Trinity             $        ‐     $      185.69   $   ‐   $   ‐   $      185.69
 ANO                         Blessed Trinity             $        ‐     $       14.88   $   ‐   $   ‐   $       14.88
 ANO            Center Of Jesus The Lord Church          $        ‐     $    3,011.33   $   ‐   $   ‐   $    3,011.33
 ANO            Center Of Jesus The Lord Church          $        ‐     $      144.89   $   ‐   $   ‐   $      144.89
 ANO            Center Of Jesus The Lord Church          $        ‐     $      113.15   $   ‐   $   ‐   $      113.15
 ANO            Center Of Jesus The Lord Church          $        ‐     $       41.67   $   ‐   $   ‐   $       41.67
 ANO                   Christ The King Church            $        ‐     $    4,999.66   $   ‐   $   ‐   $    4,999.66
 ANO             Corpus Christi‐Epiphany Church          $        ‐     $    3,951.13   $   ‐   $   ‐   $    3,951.13
 ANO     Immaculate Conception Church (New Orleans)      $        ‐     $    3,406.50   $   ‐   $   ‐   $    3,406.50
 ANO     Immaculate Conception Church (New Orleans)      $        ‐     $      149.75   $   ‐   $   ‐   $      149.75
 ANO     Immaculate Conception Church (New Orleans)      $        ‐     $    1,012.16   $   ‐   $   ‐   $    1,012.16
 ANO     Immaculate Conception Church (New Orleans)      $        ‐     $      458.34   $   ‐   $   ‐   $      458.34
 ANO         Our Lady Of Divine Providence Church        $        ‐     $      421.89   $   ‐   $   ‐   $      421.89
 ANO         Our Lady Of Divine Providence Church        $        ‐     $      290.45   $   ‐   $   ‐   $      290.45
 ANO         Our Lady Of Divine Providence Church        $        ‐     $      350.00   $   ‐   $   ‐   $      350.00
 ANO         Our Lady Of Divine Providence Church        $        ‐     $    1,786.98   $   ‐   $   ‐   $    1,786.98
 ANO                 Our Lady Of Grace Church            $        ‐     $      580.15   $   ‐   $   ‐   $      580.15
 ANO                 Our Lady Of Grace Church            $        ‐     $       57.87   $   ‐   $   ‐   $       57.87
 ANO                 Our Lady Of Grace Church            $        ‐     $       67.00   $   ‐   $   ‐   $       67.00
 ANO                 Our Lady Of Grace Church            $        ‐     $      229.17   $   ‐   $   ‐   $      229.17
 ANO                 Our Lady Of Grace Church            $        ‐     $      362.36   $   ‐   $   ‐   $      362.36
 ANO          Our Lady Of Lourdes Church (Slidell)       $        ‐     $    4,190.01   $   ‐   $   ‐   $    4,190.01
 ANO          Our Lady Of Lourdes Church (Slidell)       $        ‐     $      529.17   $   ‐   $   ‐   $      529.17
 ANO          Our Lady Of Lourdes Church (Slidell)       $        ‐     $      621.49   $   ‐   $   ‐   $      621.49
 ANO          Our Lady Of Lourdes Church (Slidell)       $        ‐     $       83.34   $   ‐   $   ‐   $       83.34
 ANO          Our Lady Of Lourdes Church (Slidell)       $        ‐     $       41.44   $   ‐   $   ‐   $       41.44
 ANO          Our Lady Of Lourdes Church (Slidell)       $        ‐     $    7,016.23   $   ‐   $   ‐   $    7,016.23
 ANO          Our Lady Of Lourdes Church (Slidell)       $        ‐     $    3,644.92   $   ‐   $   ‐   $    3,644.92
 ANO          Our Lady Of Lourdes Church (Slidell)       $        ‐     $    4,222.87   $   ‐   $   ‐   $    4,222.87
 ANO     Our Lady Of Prompt Succor Church (Chalmette)    $        ‐     $    2,352.26   $   ‐   $   ‐   $    2,352.26
 ANO     Our Lady Of Prompt Succor Church (Chalmette)    $        ‐     $      517.83   $   ‐   $   ‐   $      517.83
 ANO     Our Lady Of Prompt Succor Church (Chalmette)    $        ‐     $    1,032.96   $   ‐   $   ‐   $    1,032.96
 ANO     Our Lady Of Prompt Succor Church (Chalmette)    $        ‐     $    2,269.52   $   ‐   $   ‐   $    2,269.52
 ANO     Our Lady Of Prompt Succor Church (Chalmette)    $        ‐     $    2,575.54   $   ‐   $   ‐   $    2,575.54
 ANO     Our Lady Of Prompt Succor Church (Chalmette)    $        ‐     $    5,137.66   $   ‐   $   ‐   $    5,137.66
 ANO     Our Lady Of Prompt Succor Church (Westwego)     $        ‐     $      373.27   $   ‐   $   ‐   $      373.27
 ANO     Our Lady Of Prompt Succor Church (Westwego)     $        ‐     $    1,800.57   $   ‐   $   ‐   $    1,800.57
 ANO            Resurrection Of Our Lord Church          $        ‐     $    1,476.17   $   ‐   $   ‐   $    1,476.17
 ANO            Resurrection Of Our Lord Church          $        ‐     $      149.30   $   ‐   $   ‐   $      149.30
 ANO            Resurrection Of Our Lord Church          $        ‐     $      245.79   $   ‐   $   ‐   $      245.79
 ANO            Resurrection Of Our Lord Church          $        ‐     $      229.17   $   ‐   $   ‐   $      229.17
 ANO            Resurrection Of Our Lord Church          $        ‐     $      295.51   $   ‐   $   ‐   $      295.51
 ANO                      Rouquette Lodge III            $        ‐     $    1,900.80   $   ‐   $   ‐   $    1,900.80
 ANO                      Rouquette Lodge III            $        ‐     $      892.77   $   ‐   $   ‐   $      892.77
 ANO                      Rouquette Lodge III            $        ‐     $      236.69   $   ‐   $   ‐   $      236.69
 ANO                     Sacred Heart Church             $        ‐     $    1,025.82   $   ‐   $   ‐   $    1,025.82
 ANO                     Sacred Heart Church             $        ‐     $      165.93   $   ‐   $   ‐   $      165.93
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 53 of
                                           103
 ANO                   Sacred Heart Church            $   ‐   $     192.11   $        ‐     $        ‐     $     192.11
 ANO                   Sacred Heart Church            $   ‐   $      35.07   $        ‐     $        ‐     $      35.07
 ANO                     St. Agnes Church             $   ‐   $     218.40   $        ‐     $        ‐     $     218.40
 ANO            St. Agnes Le Thi Thanh Church         $   ‐   $     933.55   $        ‐     $        ‐     $     933.55
 ANO            St. Agnes Le Thi Thanh Church         $   ‐   $      28.01   $        ‐     $        ‐     $      28.01
 ANO            St. Agnes Le Thi Thanh Church         $   ‐   $      32.43   $        ‐     $        ‐     $      32.43
 ANO            St. Agnes Le Thi Thanh Church         $   ‐   $     292.34   $        ‐     $        ‐     $     292.34
 ANO                  St. Alphonsus Church            $   ‐   $     183.14   $        ‐     $        ‐     $     183.14
 ANO             St. Anthony Church (Lafitte)         $   ‐   $     120.03   $        ‐     $        ‐     $     120.03
 ANO                  St. Augustine Church            $   ‐   $   1,415.49   $        ‐     $        ‐     $   1,415.49
 ANO                  St. Augustine Church            $   ‐   $     103.24   $        ‐     $        ‐     $     103.24
 ANO                  St. Augustine Church            $   ‐   $     119.52   $        ‐     $        ‐     $     119.52
 ANO                    St. Bernard Church            $   ‐   $     391.09   $        ‐     $        ‐     $     391.09
 ANO                    St. Bernard Church            $   ‐   $     179.60   $        ‐     $        ‐     $     179.60
 ANO                    St. Bernard Church            $   ‐   $     207.93   $        ‐     $        ‐     $     207.93
 ANO                    St. Bernard Church            $   ‐   $     165.32   $        ‐     $        ‐     $     165.32
 ANO                     St. David Church             $   ‐   $     198.01   $        ‐     $        ‐     $     198.01
 ANO                     St. David Church             $   ‐   $      54.00   $        ‐     $        ‐     $      54.00
 ANO                     St. David Church             $   ‐   $      62.52   $        ‐     $        ‐     $      62.52
 ANO                     St. David Church             $   ‐   $     229.17   $        ‐     $        ‐     $     229.17
 ANO                     St. David Church             $   ‐   $   2,099.91   $        ‐     $        ‐     $   2,099.91
 ANO          St. Gabriel The Archangel Church        $   ‐   $   3,849.64   $        ‐     $        ‐     $   3,849.64
 ANO                St. James Major Church            $   ‐   $   4,791.52   $        ‐     $        ‐     $   4,791.52
 ANO                St. James Major Church            $   ‐   $     109.17   $        ‐     $        ‐     $     109.17
 ANO                St. James Major Church            $   ‐   $     126.39   $        ‐     $        ‐     $     126.39
 ANO                    St. Joachim Church            $   ‐   $      46.84   $        ‐     $        ‐     $      46.84
 ANO                    St. Joachim Church            $   ‐   $     783.17   $        ‐     $        ‐     $     783.17
 ANO                    St. Joachim Church            $   ‐   $      12.19   $        ‐     $        ‐     $      12.19
 ANO        St. John The Baptist Church (Edgard)      $   ‐   $   3,026.12   $        ‐     $        ‐     $   3,026.12
 ANO        St. John The Baptist Church (Edgard)      $   ‐   $     185.31   $        ‐     $        ‐     $     185.31
 ANO        St. John The Baptist Church (Edgard)      $   ‐   $     214.55   $        ‐     $        ‐     $     214.55
 ANO        St. John The Baptist Church (Edgard)      $   ‐   $     126.99   $        ‐     $        ‐     $     126.99
 ANO          St. Joseph Church (New Orleans)         $   ‐   $   1,701.02   $        ‐     $        ‐     $   1,701.02
 ANO          St. Joseph Church (New Orleans)         $   ‐   $     590.10   $        ‐     $        ‐     $     590.10
 ANO          St. Joseph Church (New Orleans)         $   ‐   $      83.11   $        ‐     $        ‐     $      83.11
 ANO              St. Katharine Drexel Church         $   ‐   $      62.50   $        ‐     $        ‐     $      62.50
 ANO                St. Maria Goretti Church          $   ‐   $   2,672.70   $        ‐     $        ‐     $   2,672.70
 ANO                St. Maria Goretti Church          $   ‐   $     535.20   $        ‐     $        ‐     $     535.20
 ANO                St. Maria Goretti Church          $   ‐   $     619.63   $        ‐     $        ‐     $     619.63
 ANO                St. Maria Goretti Church          $   ‐   $     283.34   $        ‐     $        ‐     $     283.34
 ANO               St. Michael Special School         $   ‐   $   2,759.09   $        ‐     $        ‐     $   2,759.09
 ANO               St. Michael Special School         $   ‐   $   2,174.57   $        ‐     $        ‐     $   2,174.57
 ANO               St. Michael Special School         $   ‐   $   2,601.58   $        ‐     $        ‐     $   2,601.58
 ANO               St. Michael Special School         $   ‐   $   1,050.00   $        ‐     $        ‐     $   1,050.00
 ANO          St. Patrick Church (Port Sulphur)       $   ‐   $   1,546.06   $        ‐     $        ‐     $   1,546.06
 ANO          St. Patrick Church (Port Sulphur)       $   ‐   $     181.47   $        ‐     $        ‐     $     181.47
 ANO          St. Patrick Church (Port Sulphur)       $   ‐   $     210.10   $        ‐     $        ‐     $     210.10
 ANO          St. Patrick Church (Port Sulphur)       $   ‐   $     152.30   $        ‐     $        ‐     $     152.30
 ANO          St. Patrick Church (Port Sulphur)       $   ‐   $      72.65   $        ‐     $        ‐     $      72.65
 ANO               St. Peter Church (Reserve)         $   ‐   $   2,025.45   $        ‐     $        ‐     $   2,025.45
 ANO               St. Peter Church (Reserve)         $   ‐   $     545.12   $        ‐     $        ‐     $     545.12
 ANO               St. Peter Church (Reserve)         $   ‐   $     631.11   $        ‐     $        ‐     $     631.11
 ANO               St. Peter Church (Reserve)         $   ‐   $     283.34   $        ‐     $        ‐     $     283.34
 ANO               St. Peter Church (Reserve)         $   ‐   $     463.47   $        ‐     $        ‐     $     463.47
 ANO               St. Peter Church (Reserve)         $   ‐   $   1,412.92   $        ‐     $        ‐     $   1,412.92
 ANO               St. Peter Church (Reserve)         $   ‐   $     912.51   $        ‐     $        ‐     $     912.51
 ANO               St. Peter Church (Reserve)         $   ‐   $   1,056.47   $        ‐     $        ‐     $   1,056.47
 ANO                 St. Peter Claver Church          $   ‐   $   1,352.85   $        ‐     $        ‐     $   1,352.85
 ANO                 St. Peter Claver Church          $   ‐   $     552.97   $        ‐     $        ‐     $     552.97
 ANO                 St. Peter Claver Church          $   ‐   $     470.54   $        ‐     $        ‐     $     470.54
 ANO                 St. Peter Claver Church          $   ‐   $      15.04   $        ‐     $        ‐     $      15.04
 ANO                 St. Peter Claver Church          $   ‐   $      54.36   $        ‐     $        ‐     $      54.36
 ANO                 St. Peter Claver Church          $   ‐   $      21.25   $        ‐     $        ‐     $      21.25
 ANO                 St. Peter Claver Church          $   ‐   $   1,552.57   $        ‐     $        ‐     $   1,552.57
 ANO                     St. Pius X Church            $   ‐   $   1,827.57   $        ‐     $        ‐     $   1,827.57
 ANO                     St. Pius X Church            $   ‐   $     872.48   $        ‐     $        ‐     $     872.48
 ANO                     St. Pius X Church            $   ‐   $   1,032.08   $        ‐     $        ‐     $   1,032.08
 ANO                     St. Pius X Church            $   ‐   $     229.17   $        ‐     $        ‐     $     229.17
 ANO                     St. Pius X Church            $   ‐   $   2,984.61   $        ‐     $        ‐     $   2,984.61
 ANO                     St. Pius X Church            $   ‐   $   2,557.72   $        ‐     $        ‐     $   2,557.72
 ANO                     St. Pius X Church            $   ‐   $   3,025.60   $        ‐     $        ‐     $   3,025.60
 ANO              St. Theresa Of Avila Church         $   ‐   $     691.83   $        ‐     $        ‐     $     691.83
 ANO                    St. Thomas Church             $   ‐   $     321.84   $        ‐     $        ‐     $     321.84
 ANO                    St. Thomas Church             $   ‐   $      45.81   $        ‐     $        ‐     $      45.81
 ANO                    St. Thomas Church             $   ‐   $      53.03   $        ‐     $        ‐     $      53.03
 ANO                    St. Thomas Church             $   ‐   $     558.31   $        ‐     $        ‐     $     558.31
 ANO         The Visitation Of Our Lady Church        $   ‐   $   1,323.27   $        ‐     $        ‐     $   1,323.27
 ANO         The Visitation Of Our Lady Church        $   ‐   $     843.88   $        ‐     $        ‐     $     843.88
 ANO         The Visitation Of Our Lady Church        $   ‐   $     658.46   $        ‐     $        ‐     $     658.46
 ANO         The Visitation Of Our Lady Church        $   ‐   $   2,390.41   $        ‐     $        ‐     $   2,390.41
 ANO         The Visitation Of Our Lady Church        $   ‐   $   3,495.53   $        ‐     $        ‐     $   3,495.53
 ANO         The Visitation Of Our Lady Church        $   ‐   $   2,727.48   $        ‐     $        ‐     $   2,727.48
 ANO                      Blessed Trinity             $   ‐   $        ‐     $   2,414.15   $        ‐     $   2,414.15
 ANO          Center Of Jesus The Lord Church         $   ‐   $        ‐     $   3,011.33   $        ‐     $   3,011.33
 ANO          Center Of Jesus The Lord Church         $   ‐   $        ‐     $     144.89   $        ‐     $     144.89
 ANO          Center Of Jesus The Lord Church         $   ‐   $        ‐     $      92.32   $        ‐     $      92.32
 ANO                 Christ The King Church           $   ‐   $        ‐     $   5,185.83   $        ‐     $   5,185.83
 ANO       Our Lady Of Divine Providence Church       $   ‐   $        ‐     $     290.45   $        ‐     $     290.45
 ANO       Our Lady Of Divine Providence Church       $   ‐   $        ‐     $     306.41   $        ‐     $     306.41
 ANO               Our Lady Of Grace Church           $   ‐   $        ‐     $     580.15   $        ‐     $     580.15
 ANO               Our Lady Of Grace Church           $   ‐   $        ‐     $      57.87   $        ‐     $      57.87
 ANO               Our Lady Of Grace Church           $   ‐   $        ‐     $      67.00   $        ‐     $      67.00
 ANO               Our Lady Of Grace Church           $   ‐   $        ‐     $     229.17   $        ‐     $     229.17
 ANO               Our Lady Of Grace Church           $   ‐   $        ‐     $     362.36   $        ‐     $     362.36
 ANO        Our Lady Of Lourdes Church (Slidell)      $   ‐   $        ‐     $   4,190.01   $        ‐     $   4,190.01
 ANO        Our Lady Of Lourdes Church (Slidell)      $   ‐   $        ‐     $     529.17   $        ‐     $     529.17
 ANO        Our Lady Of Lourdes Church (Slidell)      $   ‐   $        ‐     $     621.49   $        ‐     $     621.49
 ANO        Our Lady Of Lourdes Church (Slidell)      $   ‐   $        ‐     $      83.34   $        ‐     $      83.34
 ANO        Our Lady Of Lourdes Church (Slidell)      $   ‐   $        ‐     $      41.44   $        ‐     $      41.44
 ANO        Our Lady Of Lourdes Church (Slidell)      $   ‐   $        ‐     $   7,016.23   $        ‐     $   7,016.23
 ANO        Our Lady Of Lourdes Church (Slidell)      $   ‐   $        ‐     $   3,644.92   $        ‐     $   3,644.92
 ANO        Our Lady Of Lourdes Church (Slidell)      $   ‐   $        ‐     $   4,222.87   $        ‐     $   4,222.87
 ANO   Our Lady Of Prompt Succor Church (Chalmette)   $   ‐   $        ‐     $   1,986.91   $        ‐     $   1,986.91
 ANO   Our Lady Of Prompt Succor Church (Chalmette)   $   ‐   $        ‐     $     517.83   $        ‐     $     517.83
 ANO   Our Lady Of Prompt Succor Church (Chalmette)   $   ‐   $        ‐     $   1,032.96   $        ‐     $   1,032.96
 ANO   Our Lady Of Prompt Succor Church (Chalmette)   $   ‐   $        ‐     $   2,269.52   $        ‐     $   2,269.52
 ANO   Our Lady Of Prompt Succor Church (Chalmette)   $   ‐   $        ‐     $   2,575.54   $        ‐     $   2,575.54
 ANO   Our Lady Of Prompt Succor Church (Chalmette)   $   ‐   $        ‐     $   5,137.66   $        ‐     $   5,137.66
 ANO   Our Lady Of Prompt Succor Church (Westwego)    $   ‐   $        ‐     $     373.27   $        ‐     $     373.27
 ANO   Our Lady Of Prompt Succor Church (Westwego)    $   ‐   $        ‐     $   1,800.57   $        ‐     $   1,800.57
 ANO   Our Lady Of Prompt Succor Church (Westwego)    $   ‐   $        ‐     $   2,101.61   $        ‐     $   2,101.61
 ANO   Our Lady Of Prompt Succor Church (Westwego)    $   ‐   $        ‐     $     799.92   $        ‐     $     799.92
 ANO   Our Lady Of Prompt Succor Church (Westwego)    $   ‐   $        ‐     $     569.33   $        ‐     $     569.33
 ANO   Our Lady Of Prompt Succor Church (Westwego)    $   ‐   $        ‐     $     512.50   $        ‐     $     512.50
 ANO   Our Lady Of Prompt Succor Church (Westwego)    $   ‐   $        ‐     $     143.38   $        ‐     $     143.38
 ANO          Resurrection Of Our Lord Church         $   ‐   $        ‐     $   1,476.17   $        ‐     $   1,476.17
 ANO          Resurrection Of Our Lord Church         $   ‐   $        ‐     $     149.30   $        ‐     $     149.30
 ANO          Resurrection Of Our Lord Church         $   ‐   $        ‐     $     245.79   $        ‐     $     245.79
 ANO          Resurrection Of Our Lord Church         $   ‐   $        ‐     $     229.17   $        ‐     $     229.17
 ANO          Resurrection Of Our Lord Church         $   ‐   $        ‐     $     295.51   $        ‐     $     295.51
 ANO                   Sacred Heart Church            $   ‐   $        ‐     $   1,025.82   $        ‐     $   1,025.82
 ANO            St. Agnes Le Thi Thanh Church         $   ‐   $        ‐     $     933.55   $        ‐     $     933.55
 ANO            St. Agnes Le Thi Thanh Church         $   ‐   $        ‐     $      28.01   $        ‐     $      28.01
 ANO            St. Agnes Le Thi Thanh Church         $   ‐   $        ‐     $      32.43   $        ‐     $      32.43
 ANO            St. Agnes Le Thi Thanh Church         $   ‐   $        ‐     $     292.34   $        ‐     $     292.34
 ANO                  St. Alphonsus Church            $   ‐   $        ‐     $     366.28   $        ‐     $     366.28
 ANO                  St. Augustine Church            $   ‐   $        ‐     $   1,415.49   $        ‐     $   1,415.49
 ANO                  St. Augustine Church            $   ‐   $        ‐     $      72.26   $        ‐     $      72.26
 ANO                    St. Bernard Church            $   ‐   $        ‐     $     391.09   $        ‐     $     391.09
 ANO                    St. Bernard Church            $   ‐   $        ‐     $     179.60   $        ‐     $     179.60
 ANO                    St. Bernard Church            $   ‐   $        ‐     $     207.93   $        ‐     $     207.93
 ANO                    St. Bernard Church            $   ‐   $        ‐     $     165.32   $        ‐     $     165.32
 ANO                     St. David Church             $   ‐   $        ‐     $     198.01   $        ‐     $     198.01
 ANO                     St. David Church             $   ‐   $        ‐     $      54.00   $        ‐     $      54.00
 ANO                     St. David Church             $   ‐   $        ‐     $      62.52   $        ‐     $      62.52
 ANO                     St. David Church             $   ‐   $        ‐     $     229.17   $        ‐     $     229.17
 ANO                     St. David Church             $   ‐   $        ‐     $   2,099.91   $        ‐     $   2,099.91
 ANO          St. Gabriel The Archangel Church        $   ‐   $        ‐     $   2,594.09   $        ‐     $   2,594.09
 ANO                St. James Major Church            $   ‐   $        ‐     $   4,791.52   $        ‐     $   4,791.52
 ANO                St. James Major Church            $   ‐   $        ‐     $     109.17   $        ‐     $     109.17
 ANO                St. James Major Church            $   ‐   $        ‐     $     126.39   $        ‐     $     126.39
 ANO                    St. Joachim Church            $   ‐   $        ‐     $      46.84   $        ‐     $      46.84
 ANO                    St. Joachim Church            $   ‐   $        ‐     $     783.17   $        ‐     $     783.17
 ANO                    St. Joachim Church            $   ‐   $        ‐     $      12.19   $        ‐     $      12.19
 ANO        St. John The Baptist Church (Edgard)      $   ‐   $        ‐     $   3,026.12   $        ‐     $   3,026.12
 ANO                St. Maria Goretti Church          $   ‐   $        ‐     $   2,672.70   $        ‐     $   2,672.70
 ANO                St. Maria Goretti Church          $   ‐   $        ‐     $     535.20   $        ‐     $     535.20
 ANO                St. Maria Goretti Church          $   ‐   $        ‐     $     619.63   $        ‐     $     619.63
 ANO                St. Maria Goretti Church          $   ‐   $        ‐     $     283.34   $        ‐     $     283.34
 ANO               St. Michael Special School         $   ‐   $        ‐     $   2,759.09   $        ‐     $   2,759.09
 ANO               St. Michael Special School         $   ‐   $        ‐     $   2,174.57   $        ‐     $   2,174.57
 ANO               St. Michael Special School         $   ‐   $        ‐     $   2,601.58   $        ‐     $   2,601.58
 ANO               St. Michael Special School         $   ‐   $        ‐     $   1,050.00   $        ‐     $   1,050.00
 ANO                 St. Peter Claver Church          $   ‐   $        ‐     $   1,352.85   $        ‐     $   1,352.85
 ANO                 St. Peter Claver Church          $   ‐   $        ‐     $     552.97   $        ‐     $     552.97
 ANO                 St. Peter Claver Church          $   ‐   $        ‐     $     470.54   $        ‐     $     470.54
 ANO                 St. Peter Claver Church          $   ‐   $        ‐     $      15.04   $        ‐     $      15.04
 ANO                 St. Peter Claver Church          $   ‐   $        ‐     $      54.36   $        ‐     $      54.36
 ANO                 St. Peter Claver Church          $   ‐   $        ‐     $      21.25   $        ‐     $      21.25
 ANO                 St. Peter Claver Church          $   ‐   $        ‐     $   1,552.57   $        ‐     $   1,552.57
 ANO                     St. Theresa's Villa          $   ‐   $        ‐     $   1,695.75   $        ‐     $   1,695.75
 ANO                    St. Thomas Church             $   ‐   $        ‐     $     321.84   $        ‐     $     321.84
 ANO                    St. Thomas Church             $   ‐   $        ‐     $      27.85   $        ‐     $      27.85
 ANO                    St. Thomas Church             $   ‐   $        ‐     $     558.31   $        ‐     $     558.31
 ANO         St. John the Baptist Church (NOLA)       $   ‐   $        ‐     $        ‐     $   2,241.49   $   2,241.49 Statement sent; general allowance recorded
 ANO                  Annunciation Church             $   ‐   $        ‐     $        ‐     $   1,587.59   $   1,587.59 Statement sent; general allowance recorded
 ANO                  Annunciation Church             $   ‐   $        ‐     $        ‐     $     272.26   $     272.26 Statement sent; general allowance recorded
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 54 of
                                           103
 ANO                   Annunciation Church            $         ‐     $         ‐     $         ‐     $    1,139.48   $    1,139.48   Statement sent; general allowance recorded
 ANO         Blessed Francis Xavier Seelos Church     $         ‐     $         ‐     $         ‐     $    2,275.87   $    2,275.87   Statement sent; general allowance recorded
 ANO           Center Of Jesus The Lord Church        $         ‐     $         ‐     $         ‐     $    3,011.33   $    3,011.33   Statement sent; general allowance recorded
 ANO           Center Of Jesus The Lord Church        $         ‐     $         ‐     $         ‐     $      144.89   $      144.89   Statement sent; general allowance recorded
 ANO           Center Of Jesus The Lord Church        $         ‐     $         ‐     $         ‐     $      113.15   $      113.15   Statement sent; general allowance recorded
 ANO           Center Of Jesus The Lord Church        $         ‐     $         ‐     $         ‐     $       41.67   $       41.67   Statement sent; general allowance recorded
 ANO                Our Lady Of Grace Church          $         ‐     $         ‐     $         ‐     $      580.15   $      580.15   Statement sent; general allowance recorded
 ANO                Our Lady Of Grace Church          $         ‐     $         ‐     $         ‐     $       57.87   $       57.87   Statement sent; general allowance recorded
 ANO                Our Lady Of Grace Church          $         ‐     $         ‐     $         ‐     $       67.00   $       67.00   Statement sent; general allowance recorded
 ANO                Our Lady Of Grace Church          $         ‐     $         ‐     $         ‐     $      229.17   $      229.17   Statement sent; general allowance recorded
 ANO                Our Lady Of Grace Church          $         ‐     $         ‐     $         ‐     $      362.36   $      362.36   Statement sent; general allowance recorded
 ANO         Our Lady Of Lourdes Church (Slidell)     $         ‐     $         ‐     $         ‐     $    4,190.01   $    4,190.01   Statement sent; general allowance recorded
 ANO         Our Lady Of Lourdes Church (Slidell)     $         ‐     $         ‐     $         ‐     $      529.17   $      529.17   Statement sent; general allowance recorded
 ANO         Our Lady Of Lourdes Church (Slidell)     $         ‐     $         ‐     $         ‐     $      621.49   $      621.49   Statement sent; general allowance recorded
 ANO         Our Lady Of Lourdes Church (Slidell)     $         ‐     $         ‐     $         ‐     $       58.95   $       58.95   Statement sent; general allowance recorded
 ANO         Our Lady Of Lourdes Church (Slidell)     $         ‐     $         ‐     $         ‐     $    7,016.23   $    7,016.23   Statement sent; general allowance recorded
 ANO         Our Lady Of Lourdes Church (Slidell)     $         ‐     $         ‐     $         ‐     $    3,644.92   $    3,644.92   Statement sent; general allowance recorded
 ANO         Our Lady Of Lourdes Church (Slidell)     $         ‐     $         ‐     $         ‐     $    4,222.87   $    4,222.87   Statement sent; general allowance recorded
 ANO   Our Lady Of Prompt Succor Church (Westwego)    $         ‐     $         ‐     $         ‐     $    1,176.20   $    1,176.20   Statement sent; general allowance recorded
 ANO   Our Lady Of Prompt Succor Church (Westwego)    $         ‐     $         ‐     $         ‐     $    2,161.25   $    2,161.25   Statement sent; general allowance recorded
 ANO   Our Lady Of Prompt Succor Church (Westwego)    $         ‐     $         ‐     $         ‐     $    1,026.06   $    1,026.06   Statement sent; general allowance recorded
 ANO           Resurrection Of Our Lord Church        $         ‐     $         ‐     $         ‐     $    1,476.17   $    1,476.17   Statement sent; general allowance recorded
 ANO           Resurrection Of Our Lord Church        $         ‐     $         ‐     $         ‐     $      149.30   $      149.30   Statement sent; general allowance recorded
 ANO           Resurrection Of Our Lord Church        $         ‐     $         ‐     $         ‐     $      245.79   $      245.79   Statement sent; general allowance recorded
 ANO           Resurrection Of Our Lord Church        $         ‐     $         ‐     $         ‐     $      229.17   $      229.17   Statement sent; general allowance recorded
 ANO           Resurrection Of Our Lord Church        $         ‐     $         ‐     $         ‐     $      295.51   $      295.51   Statement sent; general allowance recorded
 ANO                        St. Ann Square            $         ‐     $         ‐     $         ‐     $      248.26   $      248.26   Statement sent; general allowance recorded
 ANO                        St. Ann Square            $         ‐     $         ‐     $         ‐     $      510.00   $      510.00   Statement sent; general allowance recorded
 ANO                     St. Bernard Church           $         ‐     $         ‐     $         ‐     $      391.09   $      391.09   Statement sent; general allowance recorded
 ANO                     St. Bernard Church           $         ‐     $         ‐     $         ‐     $      179.60   $      179.60   Statement sent; general allowance recorded
 ANO                     St. Bernard Church           $         ‐     $         ‐     $         ‐     $      207.93   $      207.93   Statement sent; general allowance recorded
 ANO                     St. Bernard Church           $         ‐     $         ‐     $         ‐     $      165.32   $      165.32   Statement sent; general allowance recorded
 ANO                       St. David Church           $         ‐     $         ‐     $         ‐     $      198.01   $      198.01   Statement sent; general allowance recorded
 ANO                       St. David Church           $         ‐     $         ‐     $         ‐     $       54.00   $       54.00   Statement sent; general allowance recorded
 ANO                       St. David Church           $         ‐     $         ‐     $         ‐     $       62.52   $       62.52   Statement sent; general allowance recorded
 ANO                       St. David Church           $         ‐     $         ‐     $         ‐     $      229.17   $      229.17   Statement sent; general allowance recorded
 ANO                       St. David Church           $         ‐     $         ‐     $         ‐     $    2,099.91   $    2,099.91   Statement sent; general allowance recorded
 ANO                  St. James Major Church          $         ‐     $         ‐     $         ‐     $    4,791.52   $    4,791.52   Statement sent; general allowance recorded
 ANO                  St. James Major Church          $         ‐     $         ‐     $         ‐     $      109.17   $      109.17   Statement sent; general allowance recorded
 ANO                  St. James Major Church          $         ‐     $         ‐     $         ‐     $      126.39   $      126.39   Statement sent; general allowance recorded
 ANO        St. John The Baptist Church (Paradis)     $         ‐     $         ‐     $         ‐     $      668.66   $      668.66   Statement sent; general allowance recorded
 ANO                 St. Maria Goretti Church         $         ‐     $         ‐     $         ‐     $    2,672.70   $    2,672.70   Statement sent; general allowance recorded
 ANO                 St. Maria Goretti Church         $         ‐     $         ‐     $         ‐     $      535.20   $      535.20   Statement sent; general allowance recorded
 ANO                 St. Maria Goretti Church         $         ‐     $         ‐     $         ‐     $      619.63   $      619.63   Statement sent; general allowance recorded
 ANO                 St. Maria Goretti Church         $         ‐     $         ‐     $         ‐     $      283.34   $      283.34   Statement sent; general allowance recorded
 ANO                  St. Peter Claver Church         $         ‐     $         ‐     $         ‐     $       54.36   $       54.36   Statement sent; general allowance recorded
 ANO                  St. Peter Claver Church         $         ‐     $         ‐     $         ‐     $       21.25   $       21.25   Statement sent; general allowance recorded
 ANO                  St. Peter Claver Church         $         ‐     $         ‐     $         ‐     $    1,352.85   $    1,352.85   Statement sent; general allowance recorded
 ANO                  St. Peter Claver Church         $         ‐     $         ‐     $         ‐     $      552.97   $      552.97   Statement sent; general allowance recorded
 ANO                  St. Peter Claver Church         $         ‐     $         ‐     $         ‐     $      470.54   $      470.54   Statement sent; general allowance recorded
 ANO                  St. Peter Claver Church         $         ‐     $         ‐     $         ‐     $       15.04   $       15.04   Statement sent; general allowance recorded
 ANO                  St. Peter Claver Church         $         ‐     $         ‐     $         ‐     $    1,552.57   $    1,552.57   Statement sent; general allowance recorded
 ANO         Blessed Francis Xavier Seelos Church     $    2,934.75   $         ‐     $         ‐     $         ‐     $    2,934.75
 ANO     Blessed Sacrament‐St Joan Of Arc Church      $    2,504.75   $         ‐     $         ‐     $         ‐     $    2,504.75
 ANO                        Blessed Trinity           $    2,665.83   $         ‐     $         ‐     $         ‐     $    2,665.83
 ANO                  Christ The King Church          $    3,789.17   $         ‐     $         ‐     $         ‐     $    3,789.17
 ANO            Corpus Christi‐Epiphany Church        $    5,552.00   $         ‐     $         ‐     $         ‐     $    5,552.00
 ANO                  Good Shepherd Church            $    8,170.75   $         ‐     $         ‐     $         ‐     $    8,170.75
 ANO           Holy Family Church (Franklinton)       $    2,150.67   $         ‐     $         ‐     $         ‐     $    2,150.67
 ANO                      Holy Spirit Church          $    1,913.25   $         ‐     $         ‐     $         ‐     $    1,913.25
 ANO                  Mater Dolorosa Church           $    6,211.08   $         ‐     $         ‐     $         ‐     $    6,211.08
 ANO        Our Lady Of Divine Providence Church      $    6,878.33   $         ‐     $         ‐     $         ‐     $    6,878.33
 ANO                Our Lady Of Grace Church          $    2,716.33   $         ‐     $         ‐     $         ‐     $    2,716.33
 ANO         Our Lady Of Lourdes Church (Slidell)     $   11,482.08   $         ‐     $         ‐     $         ‐     $   11,482.08
 ANO   Our Lady Of Prompt Succor Church (Chalmette)   $    5,326.50   $         ‐     $         ‐     $         ‐     $    5,326.50
 ANO   Our Lady Of Prompt Succor Church (Westwego)    $    7,868.17   $         ‐     $         ‐     $         ‐     $    7,868.17
 ANO         Our Lady Of The Holy Rosary Church       $    2,801.25   $         ‐     $         ‐     $         ‐     $    2,801.25
 ANO           Our Lady Star Of The Sea Church        $    2,512.08   $         ‐     $         ‐     $         ‐     $    2,512.08
 ANO           Resurrection Of Our Lord Church        $    2,126.08   $         ‐     $         ‐     $         ‐     $    2,126.08
 ANO              Sacred Heart Of Jesus Church        $    4,049.00   $         ‐     $         ‐     $         ‐     $    4,049.00
 ANO               St. Anthony Church (Lafitte)       $    1,910.31   $         ‐     $         ‐     $         ‐     $    1,910.31
 ANO    St. Anthony Of Padua Church (New Orleans)     $    6,829.50   $         ‐     $         ‐     $         ‐     $    6,829.50
 ANO                   St. Augustine Church           $    2,148.75   $         ‐     $         ‐     $         ‐     $    2,148.75
 ANO                     St. Bernard Church           $    1,039.08   $         ‐     $         ‐     $         ‐     $    1,039.08
 ANO          St. Christopher The Martyr Church       $    2,811.58   $         ‐     $         ‐     $         ‐     $    2,811.58
 ANO                       St. David Church           $    1,101.42   $         ‐     $         ‐     $         ‐     $    1,101.42
 ANO                     St. Dominic Church           $   23,335.58   $         ‐     $         ‐     $         ‐     $   23,335.58
 ANO           St. Gabriel The Archangel Church       $    6,343.42   $         ‐     $         ‐     $         ‐     $    6,343.42
 ANO                    St. Gertrude Church           $    1,115.92   $         ‐     $         ‐     $         ‐     $    1,115.92
 ANO                  St. James Major Church          $    2,715.50   $         ‐     $         ‐     $         ‐     $    2,715.50
 ANO                     St. Joachim Church           $    1,885.33   $         ‐     $         ‐     $         ‐     $    1,885.33
 ANO                   St. John Of The Cross          $    2,018.58   $         ‐     $         ‐     $         ‐     $    2,018.58
 ANO         St. John The Baptist Church (Edgard)     $    3,232.50   $         ‐     $         ‐     $         ‐     $    3,232.50
 ANO          St. John the Baptist Church (NOLA)      $      297.84   $         ‐     $         ‐     $         ‐     $      297.84
 ANO        St. John The Baptist Church (Paradis)     $    1,095.08   $         ‐     $         ‐     $         ‐     $    1,095.08
 ANO           St. Joseph Church (New Orleans)        $    5,650.42   $         ‐     $         ‐     $         ‐     $    5,650.42
 ANO             St. Joseph The Worker Church         $    7,053.25   $         ‐     $         ‐     $         ‐     $    7,053.25
 ANO                 St. Maria Goretti Church         $   12,829.17   $         ‐     $         ‐     $         ‐     $   12,829.17
 ANO                       St. Mark Church            $      794.50   $         ‐     $         ‐     $         ‐     $      794.50
 ANO           St. Patrick Church (Port Sulphur)      $    1,942.00   $         ‐     $         ‐     $         ‐     $    1,942.00
 ANO                St. Peter Church (Reserve)        $    3,767.75   $         ‐     $         ‐     $         ‐     $    3,767.75
 ANO                  St. Peter Claver Church         $   10,797.75   $         ‐     $         ‐     $         ‐     $   10,797.75
 ANO                       St. Pius X Church          $   13,001.17   $         ‐     $         ‐     $         ‐     $   13,001.17
 ANO                 St. Rita Church (Harahan)        $    2,991.17   $         ‐     $         ‐     $         ‐     $    2,991.17
 ANO                      St. Rosalie Church          $    1,981.67   $         ‐     $         ‐     $         ‐     $    1,981.67
 ANO               St. Theresa Of Avila Church        $    1,135.67   $         ‐     $         ‐     $         ‐     $    1,135.67
 ANO                     St. Thomas Church            $      792.50   $         ‐     $         ‐     $         ‐     $      792.50
 ANO                Sts. Peter And Paul Church        $    3,782.67   $         ‐     $         ‐     $         ‐     $    3,782.67
 ANO          The Visitation Of Our Lady Church       $   12,324.00   $         ‐     $         ‐     $         ‐     $   12,324.00
 ANO               Transfiguration Of The Lord        $    3,370.17   $         ‐     $         ‐     $         ‐     $    3,370.17
 ANO         Blessed Francis Xavier Seelos Church     $         ‐     $    1,441.35   $         ‐     $         ‐     $    1,441.35
 ANO                        Blessed Trinity           $         ‐     $    2,665.83   $         ‐     $         ‐     $    2,665.83
 ANO                  Christ The King Church          $         ‐     $    2,365.30   $         ‐     $         ‐     $    2,365.30
 ANO                  Good Shepherd Church            $         ‐     $    3,300.00   $         ‐     $         ‐     $    3,300.00
 ANO        Our Lady Of Divine Providence Church      $         ‐     $    6,878.33   $         ‐     $         ‐     $    6,878.33
 ANO                Our Lady Of Grace Church          $         ‐     $    2,716.33   $         ‐     $         ‐     $    2,716.33
 ANO         Our Lady Of Lourdes Church (Slidell)     $         ‐     $   11,482.08   $         ‐     $         ‐     $   11,482.08
 ANO   Our Lady Of Prompt Succor Church (Chalmette)   $         ‐     $    5,326.50   $         ‐     $         ‐     $    5,326.50
 ANO   Our Lady Of Prompt Succor Church (Westwego)    $         ‐     $    7,868.17   $         ‐     $         ‐     $    7,868.17
 ANO           Resurrection Of Our Lord Church        $         ‐     $    2,126.08   $         ‐     $         ‐     $    2,126.08
 ANO             St. Agnes Le Thi Thanh Church        $         ‐     $    5,731.00   $         ‐     $         ‐     $    5,731.00
 ANO                   St. Augustine Church           $         ‐     $    2,148.75   $         ‐     $         ‐     $    2,148.75
 ANO                     St. Bernard Church           $         ‐     $    1,039.08   $         ‐     $         ‐     $    1,039.08
 ANO                       St. David Church           $         ‐     $    1,101.42   $         ‐     $         ‐     $    1,101.42
 ANO           St. Gabriel The Archangel Church       $         ‐     $    6,343.42   $         ‐     $         ‐     $    6,343.42
 ANO                  St. James Major Church          $         ‐     $    2,715.50   $         ‐     $         ‐     $    2,715.50
 ANO                     St. Joachim Church           $         ‐     $    1,885.33   $         ‐     $         ‐     $    1,885.33
 ANO         St. John The Baptist Church (Edgard)     $         ‐     $    3,232.50   $         ‐     $         ‐     $    3,232.50
 ANO           St. Joseph Church (New Orleans)        $         ‐     $    5,650.42   $         ‐     $         ‐     $    5,650.42
 ANO                 St. Maria Goretti Church         $         ‐     $   12,829.17   $         ‐     $         ‐     $   12,829.17
 ANO           St. Patrick Church (New Orleans)       $         ‐     $    2,891.76   $         ‐     $         ‐     $    2,891.76
 ANO           St. Patrick Church (Port Sulphur)      $         ‐     $    1,942.00   $         ‐     $         ‐     $    1,942.00
 ANO                St. Peter Church (Reserve)        $         ‐     $    3,767.75   $         ‐     $         ‐     $    3,767.75
 ANO                  St. Peter Claver Church         $         ‐     $   10,797.75   $         ‐     $         ‐     $   10,797.75
 ANO                       St. Pius X Church          $         ‐     $   13,001.17   $         ‐     $         ‐     $   13,001.17
 ANO                     St. Thomas Church            $         ‐     $      792.50   $         ‐     $         ‐     $      792.50
 ANO          The Visitation Of Our Lady Church       $         ‐     $    8,861.92   $         ‐     $         ‐     $    8,861.92
 ANO                      Holy Spirit Church          $         ‐     $         ‐     $       62.50   $         ‐     $       62.50
 ANO        Our Lady Of Divine Providence Church      $         ‐     $         ‐     $    1,862.78   $         ‐     $    1,862.78
 ANO                Our Lady Of Grace Church          $         ‐     $         ‐     $    2,653.83   $         ‐     $    2,653.83
 ANO         Our Lady Of Lourdes Church (Slidell)     $         ‐     $         ‐     $   11,482.08   $         ‐     $   11,482.08
 ANO   Our Lady Of Prompt Succor Church (Westwego)    $         ‐     $         ‐     $    7,868.17   $         ‐     $    7,868.17
 ANO           Resurrection Of Our Lord Church        $         ‐     $         ‐     $    2,126.08   $         ‐     $    2,126.08
 ANO             St. Agnes Le Thi Thanh Church        $         ‐     $         ‐     $    5,731.00   $         ‐     $    5,731.00
 ANO                   St. Augustine Church           $         ‐     $         ‐     $    2,086.25   $         ‐     $    2,086.25
 ANO                     St. Bernard Church           $         ‐     $         ‐     $    1,039.08   $         ‐     $    1,039.08
 ANO                       St. David Church           $         ‐     $         ‐     $    1,038.92   $         ‐     $    1,038.92
 ANO           St. Gabriel The Archangel Church       $         ‐     $         ‐     $    6,343.42   $         ‐     $    6,343.42
 ANO                  St. James Major Church          $         ‐     $         ‐     $    2,715.50   $         ‐     $    2,715.50
 ANO                     St. Joachim Church           $         ‐     $         ‐     $    1,885.33   $         ‐     $    1,885.33
 ANO         St. John The Baptist Church (Edgard)     $         ‐     $         ‐     $    3,232.50   $         ‐     $    3,232.50
 ANO                 St. Maria Goretti Church         $         ‐     $         ‐     $   12,829.17   $         ‐     $   12,829.17
 ANO           St. Patrick Church (New Orleans)       $         ‐     $         ‐     $    3,527.89   $         ‐     $    3,527.89
 ANO                  St. Peter Claver Church         $         ‐     $         ‐     $   10,797.75   $         ‐     $   10,797.75
 ANO                     St. Thomas Church            $         ‐     $         ‐     $      792.50   $         ‐     $      792.50
 ANO                   Annunciation Church            $         ‐     $         ‐     $         ‐     $    2,178.50   $    2,178.50   Statement sent; general allowance recorded
 ANO                Our Lady Of Grace Church          $         ‐     $         ‐     $         ‐     $    2,716.33   $    2,716.33   Statement sent; general allowance recorded
 ANO           Resurrection Of Our Lord Church        $         ‐     $         ‐     $         ‐     $    2,126.08   $    2,126.08   Statement sent; general allowance recorded
 ANO                     St. Bernard Church           $         ‐     $         ‐     $         ‐     $    1,039.08   $    1,039.08   Statement sent; general allowance recorded
 ANO                       St. David Church           $         ‐     $         ‐     $         ‐     $    1,101.42   $    1,101.42   Statement sent; general allowance recorded
 ANO                  St. James Major Church          $         ‐     $         ‐     $         ‐     $    2,715.50   $    2,715.50   Statement sent; general allowance recorded
 ANO                     St. Joachim Church           $         ‐     $         ‐     $         ‐     $       62.50   $       62.50   Statement sent; general allowance recorded
 ANO         St. John The Baptist Church (Edgard)     $         ‐     $         ‐     $         ‐     $    3,232.50   $    3,232.50   Statement sent; general allowance recorded
 ANO                 St. Maria Goretti Church         $         ‐     $         ‐     $         ‐     $   12,829.17   $   12,829.17   Statement sent; general allowance recorded
 ANO           St. Patrick Church (New Orleans)       $         ‐     $         ‐     $         ‐     $    1,055.15   $    1,055.15   Statement sent; general allowance recorded
 ANO                  St. Peter Claver Church         $         ‐     $         ‐     $         ‐     $   10,797.75   $   10,797.75   Statement sent; general allowance recorded
 ANO          Hanmaum Korean Catholic Church          $         ‐     $         ‐     $         ‐     $    1,003.56   $    1,003.56   Statement sent; general allowance recorded
 ANO          Hanmaum Korean Catholic Church          $         ‐     $         ‐     $         ‐     $    1,224.80   $    1,224.80   Statement sent; general allowance recorded
 ANO   Our Lady Of Prompt Succor Church (Westwego)    $         ‐     $         ‐     $         ‐     $    1,754.00   $    1,754.00   Statement sent; general allowance recorded
 ANO   Our Lady Of Prompt Succor Church (Westwego)    $         ‐     $         ‐     $         ‐     $    3,093.00   $    3,093.00   Statement sent; general allowance recorded
 ANO   Our Lady Of Prompt Succor Church (Westwego)    $         ‐     $         ‐     $         ‐     $    1,819.00   $    1,819.00   Statement sent; general allowance recorded
 ANO                     St. Benilde Church           $         ‐     $         ‐     $         ‐     $    1,429.11   $    1,429.11   Statement sent; general allowance recorded
 ANO                     St. Benilde Church           $         ‐     $         ‐     $         ‐     $      725.33   $      725.33   Statement sent; general allowance recorded
 ANO                     St. Benilde Church           $         ‐     $         ‐     $         ‐     $    1,529.51   $    1,529.51   Statement sent; general allowance recorded
 ANO                     St. Benilde Church           $         ‐     $         ‐     $         ‐     $    3,027.56   $    3,027.56   Statement sent; general allowance recorded
 ANO                     St. Benilde Church           $         ‐     $         ‐     $         ‐     $    3,000.01   $    3,000.01   Statement sent; general allowance recorded
 ANO                     St. Benilde Church           $         ‐     $         ‐     $         ‐     $    2,266.68   $    2,266.68   Statement sent; general allowance recorded
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 55 of
                                           103
 ANO           St. Matthew The Apostle Church        $        ‐     $      ‐     $      ‐     $       578.25    $       578.25   Statement sent; general allowance recorded
 ANO           St. Matthew The Apostle Church        $        ‐     $      ‐     $      ‐     $     2,272.00    $     2,272.00   Statement sent; general allowance recorded
 ANO           St. Matthew The Apostle Church        $        ‐     $      ‐     $      ‐     $     3,250.00    $     3,250.00   Statement sent; general allowance recorded
 ANO           St. Matthew The Apostle Church        $        ‐     $      ‐     $      ‐     $     3,806.00    $     3,806.00   Statement sent; general allowance recorded
 ANO           St. Matthew The Apostle Church        $        ‐     $      ‐     $      ‐     $     3,806.00    $     3,806.00   Statement sent; general allowance recorded
 ANO           St. Matthew The Apostle Church        $        ‐     $      ‐     $      ‐     $     3,402.00    $     3,402.00   Statement sent; general allowance recorded
 ANO           St. Matthew The Apostle Church        $        ‐     $      ‐     $      ‐     $     1,035.00    $     1,035.00   Statement sent; general allowance recorded
 ANO           St. Matthew The Apostle Church        $        ‐     $      ‐     $      ‐     $     2,191.00    $     2,191.00   Statement sent; general allowance recorded
 ANO                      St. Pius X Church          $        ‐     $      ‐     $      ‐     $     1,688.00    $     1,688.00   Statement sent; general allowance recorded
 ANO                      St. Pius X Church          $        ‐     $      ‐     $      ‐     $     1,688.00    $     1,688.00   Statement sent; general allowance recorded
 ANO             St. Rita Church (New Orleans)       $        ‐     $      ‐     $      ‐     $     2,625.99    $     2,625.99   Statement sent; general allowance recorded
 ANO             St. Rita Church (New Orleans)       $        ‐     $      ‐     $      ‐     $     2,576.64    $     2,576.64   Statement sent; general allowance recorded
 ANO               Sts. Peter And Paul Church        $        ‐     $      ‐     $      ‐     $     2,560.11    $     2,560.11   Statement sent; general allowance recorded
 ANO               Sts. Peter And Paul Church        $        ‐     $      ‐     $      ‐     $     3,402.00    $     3,402.00   Statement sent; general allowance recorded
 ANO                      St. Pius X Church          $        ‐     $      ‐     $      ‐     $     1,991.34    $     1,991.34   Statement sent; general allowance recorded
 ANO                    St. Thomas Church            $        ‐     $      ‐     $      ‐     $     1,211.00    $     1,211.00   Statement sent; general allowance recorded
 ANO                    St. Thomas Church            $        ‐     $      ‐     $      ‐     $     7,266.00    $     7,266.00   Statement sent; general allowance recorded
 ANO          St. Christopher The Martyr Church      $        ‐     $      ‐     $      ‐     $     1,067.50    $     1,067.50   Statement sent; general allowance recorded
 ANO          Hanmaum Korean Catholic Church         $        ‐     $      ‐     $      ‐     $     5,037.00    $     5,037.00   Statement sent; general allowance recorded
 ANO         Blessed Francis Xavier Seelos Church    $        ‐     $      ‐     $      ‐     $    64,714.17    $    64,714.17   Statement sent; general allowance recorded
 ANO           Center Of Jesus The Lord Church       $        ‐     $      ‐     $      ‐     $     1,588.00    $     1,588.00   Statement sent; general allowance recorded
 ANO                  Christ The King Church         $        ‐     $      ‐     $      ‐     $    59,928.00    $    59,928.00   Statement sent; general allowance recorded
 ANO        Our Lady Of Divine Providence Church     $        ‐     $      ‐     $      ‐     $    29,294.41    $    29,294.41   Statement sent; general allowance recorded
 ANO    Our Lady Of Perpetual Help Church (Kenner)   $        ‐     $      ‐     $      ‐     $    55,296.33    $    55,296.33   Statement sent; general allowance recorded
 ANO   Our Lady Of Prompt Succor Church (Westwego)   $        ‐     $      ‐     $      ‐     $    25,040.54    $    25,040.54   Statement sent; general allowance recorded
 ANO   Our Lady Of Prompt Succor Church (Westwego)   $        ‐     $      ‐     $      ‐     $   173,541.00    $   173,541.00   Statement sent; general allowance recorded
 ANO                   Sacred Heart Church           $        ‐     $      ‐     $      ‐     $    52,998.00    $    52,998.00   Statement sent; general allowance recorded
 ANO                        St. Ann Square           $        ‐     $      ‐     $      ‐     $       500.00    $       500.00   Statement sent; general allowance recorded
 ANO              St. Anthony Church (Lafitte)       $        ‐     $      ‐     $      ‐     $    17,299.99    $    17,299.99   Statement sent; general allowance recorded
 ANO                   St. Augustine Church          $        ‐     $      ‐     $      ‐     $    25,052.00    $    25,052.00   Statement sent; general allowance recorded
 ANO                    St. Bernard Church           $        ‐     $      ‐     $      ‐     $    28,615.20    $    28,615.20   Statement sent; general allowance recorded
 ANO                 St. Bonaventure Church          $        ‐     $      ‐     $      ‐     $    31,225.00    $    31,225.00   Statement sent; general allowance recorded
 ANO                      St. David Church           $        ‐     $      ‐     $      ‐     $    21,032.42    $    21,032.42   Statement sent; general allowance recorded
 ANO           St. Edward The Confessor Church       $        ‐     $      ‐     $      ‐     $         5.00    $         5.00   Statement sent; general allowance recorded
 ANO           St. Gabriel The Archangel Church      $        ‐     $      ‐     $      ‐     $   148,445.00    $   148,445.00   Statement sent; general allowance recorded
 ANO                     St. Hubert Church           $        ‐     $      ‐     $      ‐     $    46,069.81    $    46,069.81   Statement sent; general allowance recorded
 ANO                    St. Joachim Church           $        ‐     $      ‐     $      ‐     $     1,321.59    $     1,321.59   Statement sent; general allowance recorded
 ANO         St. John The Baptist Church (Edgard)    $        ‐     $      ‐     $      ‐     $    40,516.97    $    40,516.97   Statement sent; general allowance recorded
 ANO        St. John The Baptist Church (Paradis)    $        ‐     $      ‐     $      ‐     $     8,938.95    $     8,938.95   Statement sent; general allowance recorded
 ANO                  St. Peter Claver Church        $        ‐     $      ‐     $      ‐     $    44,135.00    $    44,135.00   Statement sent; general allowance recorded
 ANO                     St. Rosalie Church          $        ‐     $      ‐     $      ‐     $   107,972.00    $   107,972.00   Statement sent; general allowance recorded
 ANO                    St. Thomas Church            $        ‐     $      ‐     $      ‐     $    21,859.26    $    21,859.26   Statement sent; general allowance recorded
 ANO        Our Lady Of Divine Providence Church     $        ‐     $      ‐     $      ‐     $     4,180.00    $     4,180.00   Statement sent; general allowance recorded
 ANO           St. Gabriel The Archangel Church      $        ‐     $      ‐     $      ‐     $     6,173.00    $     6,173.00   Statement sent; general allowance recorded
 ANO                    St. Thomas Church            $        ‐     $      ‐     $      ‐     $     3,178.00    $     3,178.00   Statement sent; general allowance recorded
 ANO           Center Of Jesus The Lord Church       $        ‐     $      ‐     $      ‐     $     2,393.00    $     2,393.00   Statement sent; general allowance recorded
 ANO                    St. Bernard Church           $        ‐     $      ‐     $      ‐     $     5,035.00    $     5,035.00   Statement sent; general allowance recorded
 ANO        St. John The Baptist Church (Paradis)    $        ‐     $      ‐     $      ‐     $       371.18    $       371.18   Statement sent; general allowance recorded
 ANO                     St. Rosalie Church          $        ‐     $      ‐     $      ‐     $     1,226.00    $     1,226.00   Statement sent; general allowance recorded
 ANO                  Christ The King Church         $        ‐     $      ‐     $      ‐     $    15,521.00    $    15,521.00   Statement sent; general allowance recorded
 ANO                     St. Hubert Church           $        ‐     $      ‐     $      ‐     $     8,921.00    $     8,921.00   Statement sent; general allowance recorded
 ANO         St. John The Baptist Church (Edgard)    $        ‐     $      ‐     $      ‐     $     3,550.00    $     3,550.00   Statement sent; general allowance recorded
 ANO                     St. Rosalie Church          $        ‐     $      ‐     $      ‐     $    29,778.00    $    29,778.00   Statement sent; general allowance recorded
 ANO        Our Lady Of Divine Providence Church     $        ‐     $      ‐     $      ‐     $       796.84    $       796.84   Statement sent; general allowance recorded
 ANO         St. John The Baptist Church (Edgard)    $        ‐     $      ‐     $      ‐     $     5,072.00    $     5,072.00   Statement sent; general allowance recorded
 ANO   Our Lady Of Prompt Succor Church (Westwego)   $        ‐     $      ‐     $      ‐     $    17,223.00    $    17,223.00   Statement sent; general allowance recorded
 ANO         Blessed Francis Xavier Seelos Church    $        ‐     $      ‐     $      ‐     $     7,317.00    $     7,317.00   Statement sent; general allowance recorded
 ANO                     St. Rosalie Church          $        ‐     $      ‐     $      ‐     $     3,550.00    $     3,550.00   Statement sent; general allowance recorded
 ANO                  Christ The King Church         $        ‐     $      ‐     $      ‐     $    29,224.00    $    29,224.00   Statement sent; general allowance recorded
 ANO                    St. Thomas Church            $        ‐     $      ‐     $      ‐     $       705.00    $       705.00   Statement sent; general allowance recorded
 ANO                   St. Augustine Church          $        ‐     $      ‐     $      ‐     $     1,421.00    $     1,421.00   Statement sent; general allowance recorded
 ANO                  St. Peter Claver Church        $        ‐     $      ‐     $      ‐     $       675.00    $       675.00   Statement sent; general allowance recorded
 ANO                  St. Peter Claver Church        $        ‐     $      ‐     $      ‐     $     1,330.00    $     1,330.00   Statement sent; general allowance recorded
 ANO           St. Gabriel The Archangel Church      $        ‐     $      ‐     $      ‐     $     2,842.00    $     2,842.00   Statement sent; general allowance recorded
 ANO                  St. Peter Claver Church        $        ‐     $      ‐     $      ‐     $     4,987.00    $     4,987.00   Statement sent; general allowance recorded
 ANO   Our Lady Of Prompt Succor Church (Westwego)   $        ‐     $      ‐     $      ‐     $     3,323.00    $     3,323.00   Statement sent; general allowance recorded
 ANO           St. Gabriel The Archangel Church      $        ‐     $      ‐     $      ‐     $     2,973.00    $     2,973.00   Statement sent; general allowance recorded
 ANO         Blessed Francis Xavier Seelos Church    $        ‐     $      ‐     $      ‐     $     3,323.00    $     3,323.00   Statement sent; general allowance recorded
 ANO   Our Lady Of Prompt Succor Church (Westwego)   $        ‐     $      ‐     $      ‐     $     2,379.26    $     2,379.26   Statement sent; general allowance recorded
 ANO              St. Anthony Church (Lafitte)       $        ‐     $      ‐     $      ‐     $    29,364.61    $    29,364.61   Statement sent; general allowance recorded
 ANO           St. Gabriel The Archangel Church      $        ‐     $      ‐     $      ‐     $     5,793.00    $     5,793.00   Statement sent; general allowance recorded
 ANO   Our Lady Of Prompt Succor Church (Westwego)   $        ‐     $      ‐     $      ‐     $     2,192.46    $     2,192.46   Statement sent; general allowance recorded
 ANO         Blessed Francis Xavier Seelos Church    $        ‐     $      ‐     $      ‐     $    48,298.46    $    48,298.46   Statement sent; general allowance recorded
 ANO                  Christ The King Church         $        ‐     $      ‐     $      ‐     $    58,741.50    $    58,741.50   Statement sent; general allowance recorded
 ANO   Our Lady Of Prompt Succor Church (Westwego)   $        ‐     $      ‐     $      ‐     $   120,180.85    $   120,180.85   Statement sent; general allowance recorded
 ANO                   St. Augustine Church          $        ‐     $      ‐     $      ‐     $    12,968.00    $    12,968.00   Statement sent; general allowance recorded
 ANO           St. Gabriel The Archangel Church      $        ‐     $      ‐     $      ‐     $   118,864.00    $   118,864.00   Statement sent; general allowance recorded
 ANO                     St. Hubert Church           $        ‐     $      ‐     $      ‐     $    35,191.53    $    35,191.53   Statement sent; general allowance recorded
 ANO                     St. Rosalie Church          $        ‐     $      ‐     $      ‐     $    53,888.82    $    53,888.82   Statement sent; general allowance recorded
 ANO                     St. Theresa's Villa         $        ‐     $      ‐     $      ‐     $    49,201.02    $    49,201.02   Statement sent; general allowance recorded
 ANO                     St. Hubert Church           $        ‐     $      ‐     $      ‐     $     7,344.81    $     7,344.81   Statement sent; general allowance recorded
 ANO         St. John The Baptist Church (Edgard)    $        ‐     $      ‐     $      ‐     $     3,323.00    $     3,323.00   Statement sent; general allowance recorded
 ANO         St. John The Baptist Church (Edgard)    $        ‐     $      ‐     $      ‐     $     4,359.66    $     4,359.66   Statement sent; general allowance recorded
 ANO                    St. Bernard Church           $        ‐     $      ‐     $      ‐     $       526.16    $       526.16   Statement sent; general allowance recorded
 ANO   Our Lady Of Prompt Succor Church (Westwego)   $        ‐     $      ‐     $      ‐     $    13,481.66    $    13,481.66   Statement sent; general allowance recorded
 ANO         Blessed Francis Xavier Seelos Church    $        ‐     $      ‐     $      ‐     $     5,738.33    $     5,738.33   Statement sent; general allowance recorded
 ANO                  Christ The King Church         $        ‐     $      ‐     $      ‐     $    19,221.75    $    19,221.75   Statement sent; general allowance recorded
 ANO           St. Gabriel The Archangel Church      $        ‐     $      ‐     $      ‐     $     1,184.16    $     1,184.16   Statement sent; general allowance recorded
 ANO           St. Gabriel The Archangel Church      $        ‐     $      ‐     $      ‐     $       991.00    $       991.00   Statement sent; general allowance recorded
 ANO         Blessed Francis Xavier Seelos Church    $        ‐     $      ‐     $      ‐     $        89.75    $        89.75   Statement sent; general allowance recorded
 ANO                    Rouquette Lodge IV           $        ‐     $      ‐     $      ‐     $    19,285.82    $    19,285.82   Statement sent; general allowance recorded
 ANO                Our Lady Of Grace Church         $        ‐     $      ‐     $      ‐     $        62.50    $        62.50   Statement sent; general allowance recorded
 ANO           Resurrection Of Our Lord Church       $        ‐     $      ‐     $      ‐     $       125.00    $       125.00   Statement sent; general allowance recorded
 ANO                    St. Bernard Church           $        ‐     $      ‐     $      ‐     $        62.50    $        62.50   Statement sent; general allowance recorded
 ANO                      St. David Church           $        ‐     $      ‐     $      ‐     $        62.50    $        62.50   Statement sent; general allowance recorded
 ANO                 St. James Major Church          $        ‐     $      ‐     $      ‐     $        62.50    $        62.50   Statement sent; general allowance recorded
 ANO                 St. Maria Goretti Church        $        ‐     $      ‐     $      ‐     $       125.00    $       125.00   Statement sent; general allowance recorded
 ANO                  St. Peter Claver Church        $        ‐     $      ‐     $      ‐     $        62.50    $        62.50   Statement sent; general allowance recorded
 ANO            St. Charles Catholic High School     $      20.00   $      ‐     $      ‐     $          ‐      $        20.00
 ANO            Archdiocesan Cemeteries Office       $   2,559.00   $      ‐     $      ‐     $          ‐      $     2,559.00
 ANO               Notre Dame Health System          $   2,365.00   $      ‐     $      ‐     $          ‐      $     2,365.00
 ANO         Our Lady Of Lourdes Church (Violet)     $     169.33   $    84.67   $    84.67   $        (4.52)   $       334.15   N/A ‐ Credit
 ANO               Holy Name Of Jesus Church         $        ‐     $   121.58   $   121.58   $        98.98    $       342.15   Statement sent; general allowance recorded
 ANO    Our Lady Of Perpetual Help Church (Kenner)   $     243.00   $    60.75   $    60.75   $        93.63    $       458.13   Statement sent; general allowance recorded
 ANO               Holy Family Church (Luling)       $     370.50   $    61.75   $    61.75   $        (3.00)   $       491.00   N/A ‐ Credit
 ANO           St. Edward The Confessor Church       $     492.00   $      ‐     $      ‐     $          ‐      $       492.00
 ANO    Our Lady Of Perpetual Help Church (Kenner)   $     370.50   $    61.75   $    61.75   $          ‐      $       494.00
 ANO                     St. Hubert Church           $     266.50   $    44.42   $    44.42   $       177.67    $       533.00   Statement sent; general allowance recorded
 ANO                      St. Cletus Church          $     230.83   $    46.17   $    46.17   $       220.83    $       544.00   Statement sent; general allowance recorded
 ANO                     Metairie Manor IV           $   1,197.00   $      ‐     $      ‐     $          ‐      $     1,197.00
 ANO                St. Francis Xavier Church        $     485.44   $    61.75   $      ‐     $          ‐      $       547.19
 ANO             Ascension Of Our Lord Church        $   1,461.50   $   243.58   $   243.58   $    (1,394.67)   $       554.00   N/A ‐ Credit
 ANO                  St. Joan Of Arc Church         $     385.50   $    64.25   $    64.25   $        49.06    $       563.06   Statement sent; general allowance recorded
 ANO                      St. Martin Manor           $   2,107.00   $      ‐     $      ‐     $          ‐      $     2,107.00
 ANO                      St. Cletus Church          $     455.00   $    91.00   $    91.00   $       (73.00)   $       564.00   N/A ‐ Credit
 ANO                       St. Mark Church           $     432.25   $    61.75   $    61.75   $        61.75    $       617.50   Statement sent; general allowance recorded
 ANO               Notre Dame Health System          $   3,806.00   $      ‐     $      ‐     $          ‐      $     3,806.00
 ANO               Notre Dame Health System          $   3,806.00   $      ‐     $      ‐     $          ‐      $     3,806.00
 ANO                       St. Mark Church           $     432.25   $    61.75   $    61.75   $        61.75    $       617.50   Statement sent; general allowance recorded
 ANO                    St. Bernard Church           $     312.00   $    52.00   $    52.00   $       208.00    $       624.00   Statement sent; general allowance recorded
 ANO                      All Saints Church          $     579.25   $    61.75   $      ‐     $          ‐      $       641.00
 ANO                 St. James Major Church          $     483.00   $    53.67   $   107.33   $          ‐      $       644.00
 ANO                St. Francis Xavier Church        $     432.25   $    61.75   $    61.75   $       102.21    $       657.96   Statement sent; general allowance recorded
 ANO                      St. Cletus Church          $   1,232.08   $   246.42   $   246.42   $    (1,062.92)   $       662.00   N/A ‐ Credit
 ANO           St. Patrick Church (New Orleans)      $     555.75   $    61.75   $    61.75   $          ‐      $       679.25
 ANO                  St. Peter Claver Church        $        ‐     $    58.92   $    58.92   $       589.17    $       707.00   Statement sent; general allowance recorded
 ANO         Our Lady Of Lourdes Church (Violet)     $     639.01   $    75.92   $      ‐     $          ‐      $       714.93
 ANO                    St. Thomas Church            $        ‐     $    60.75   $    60.75   $       607.50    $       729.00   Statement sent; general allowance recorded
 ANO                Our Lady Of Grace Church         $     432.25   $    61.75   $    61.75   $       185.17    $       740.92   Statement sent; general allowance recorded
 ANO                   St. Alphonsus Church          $     741.00   $      ‐     $      ‐     $          ‐      $       741.00
 ANO                     Holy Spirit Church          $     679.25   $    61.75   $      ‐     $          ‐      $       741.00
 ANO    St. Anthony Of Padua Church (New Orleans)    $     679.25   $    61.75   $      ‐     $          ‐      $       741.00
 ANO               St. Katharine Drexel Church       $     679.25   $    61.75   $      ‐     $          ‐      $       741.00
 ANO                  St. Peter Claver Church        $     679.25   $    61.75   $      ‐     $          ‐      $       741.00
 ANO     Blessed Sacrament‐St Joan Of Arc Church     $     555.75   $    61.75   $   123.50   $          ‐      $       741.00
 ANO           St. Gabriel The Archangel Church      $     432.25   $    61.75   $    61.75   $       185.25    $       741.00   Statement sent; general allowance recorded
 ANO                Our Lady Of Grace Church         $     432.25   $    61.75   $    61.75   $       185.25    $       741.00   Statement sent; general allowance recorded
 ANO        St. John The Baptist Church (Paradis)    $     432.25   $    61.75   $    61.75   $       185.25    $       741.00   Statement sent; general allowance recorded
 ANO                     St. Hubert Church           $     370.50   $    61.75   $    61.75   $       247.00    $       741.00   Statement sent; general allowance recorded
 ANO                     St. Rosalie Church          $     370.50   $    61.75   $    61.75   $       247.00    $       741.00   Statement sent; general allowance recorded
 ANO                     St. Rosalie Church          $     370.50   $    61.75   $    61.75   $       247.00    $       741.00   Statement sent; general allowance recorded
 ANO          The Visitation Of Our Lady Church      $     308.75   $    61.75   $    61.75   $       308.75    $       741.00   Statement sent; general allowance recorded
 ANO   Our Lady Of Prompt Succor Church (Westwego)   $     247.00   $    61.75   $    61.75   $       370.50    $       741.00   Statement sent; general allowance recorded
 ANO             Mary Queen Of Peace Church          $     747.00   $      ‐     $      ‐     $          ‐      $       747.00
 ANO               St. Katharine Drexel Church       $     706.75   $    64.25   $      ‐     $          ‐      $       771.00
 ANO                      St. David Church           $     597.75   $    66.42   $   132.83   $          ‐      $       797.00
 ANO     Blessed Sacrament‐St Joan Of Arc Church     $     603.00   $    67.00   $   134.00   $          ‐      $       804.00
 ANO    St. Anthony Of Padua Church (New Orleans)    $     750.75   $    68.25   $      ‐     $          ‐      $       819.00
 ANO          St. Christopher The Martyr Church      $     477.75   $    68.25   $    68.25   $       204.75    $       819.00   Statement sent; general allowance recorded
 ANO                      St. Pius X Church          $     502.83   $    71.83   $    71.83   $       215.50    $       862.00   Statement sent; general allowance recorded
 ANO        Our Lady Of Divine Providence Church     $     431.50   $    71.92   $    71.92   $       287.67    $       863.00   Statement sent; general allowance recorded
 ANO        Our Lady Of Divine Providence Church     $        ‐     $      ‐     $    72.67   $       799.33    $       872.00   Statement sent; general allowance recorded
 ANO                      St. Pius X Church          $     291.00   $    72.75   $    72.75   $       436.50    $       873.00   Statement sent; general allowance recorded
 ANO        Our Lady Of Divine Providence Church     $     516.83   $    73.83   $    73.83   $       221.50    $       886.00   Statement sent; general allowance recorded
 ANO                     St. Rosalie Church          $     458.50   $    76.42   $    76.42   $       305.67    $       917.00   Statement sent; general allowance recorded
 ANO           St. Patrick Church (New Orleans)      $   1,043.00   $   173.83   $   173.83   $      (428.52)   $       962.15   N/A ‐ Credit
 ANO                      St. Pius X Church          $     600.25   $    85.75   $    85.75   $       257.25    $     1,029.00   Statement sent; general allowance recorded
 ANO        St. John The Baptist Church (Paradis)    $     603.75   $    86.25   $    86.25   $       258.75    $     1,035.00   Statement sent; general allowance recorded
 ANO                      St. David Church           $     517.50   $    86.25   $    86.25   $       345.00    $     1,035.00   Statement sent; general allowance recorded
 ANO   Our Lady Of Prompt Succor Church (Westwego)   $     517.50   $    86.25   $    86.25   $       345.00    $     1,035.00   Statement sent; general allowance recorded
 ANO         Blessed Francis Xavier Seelos Church    $     345.00   $    86.25   $    86.25   $       517.50    $     1,035.00   Statement sent; general allowance recorded
 ANO   Our Lady Of Prompt Succor Church (Westwego)   $     345.00   $    86.25   $    86.25   $       517.50    $     1,035.00   Statement sent; general allowance recorded
 ANO   Our Lady Of Prompt Succor Church (Westwego)   $     345.00   $    86.25   $    86.25   $       517.50    $     1,035.00   Statement sent; general allowance recorded
 ANO                    St. Thomas Church            $     872.67   $   109.08   $   109.08   $        (0.00)   $     1,090.83   N/A ‐ Credit
 ANO                     St. Martha Church           $   1,020.00   $   102.00   $      ‐     $          ‐      $     1,122.00
 ANO          The Visitation Of Our Lady Church      $     485.00   $    97.00   $    97.00   $       485.00    $     1,164.00   Statement sent; general allowance recorded
 ANO          The Visitation Of Our Lady Church      $     485.00   $    97.00   $    97.00   $       485.00    $     1,164.00   Statement sent; general allowance recorded
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 56 of
                                           103
 ANO                      St. Agnes Church                $     499.67   $     124.92   $     124.92   $      435.67    $    1,185.17   Statement sent; general allowance recorded
 ANO                   Sacred Heart Church                $   1,000.55   $     189.33   $        ‐     $         ‐      $    1,189.88
 ANO                     St. Thomas Church                $        ‐     $        ‐     $     102.92   $    1,132.08    $    1,235.00   Statement sent; general allowance recorded
 ANO                 St. Francis Xavier Church            $   1,984.50   $     283.50   $     283.50   $   (1,294.63)   $    1,256.87   N/A ‐ Credit
 ANO                     St. Rosalie Church               $     734.42   $     104.92   $     104.92   $      314.75    $    1,259.00   Statement sent; general allowance recorded
 ANO                  St. Peter Claver Church             $     851.33   $     106.42   $     106.42   $      212.83    $    1,277.00   Statement sent; general allowance recorded
 ANO                      All Saints Church               $   2,437.50   $     270.83   $     409.77   $         ‐      $    3,118.10
 ANO        Our Lady Of Divine Providence Church          $     753.08   $     107.58   $     107.58   $      322.75    $    1,291.00   Statement sent; general allowance recorded
 ANO   Our Lady Of Perpetual Help Church (Belle Chasse)   $   1,294.64   $        ‐     $        ‐     $         ‐      $    1,294.64
 ANO   Our Lady Of Perpetual Help Church (Belle Chasse)   $   1,294.64   $        ‐     $        ‐     $         ‐      $    1,294.64
 ANO       Blessed Sacrament‐St Joan Of Arc Church        $   2,854.50   $     317.17   $     634.33   $         ‐      $    3,806.00
 ANO    Our Lady Of Prompt Succor Church (Chalmette)      $   2,192.25   $     243.58   $     194.87   $         ‐      $    2,630.70
 ANO    Our Lady Of Prompt Succor Church (Chalmette)      $   2,759.25   $     306.58   $     245.27   $         ‐      $    3,311.10
 ANO                      St. David Church                $     654.50   $     109.08   $     109.08   $      436.33    $    1,309.00   Statement sent; general allowance recorded
 ANO            St. Andrew The Apostle Church             $     427.41   $     198.08   $        ‐     $         ‐      $      625.49
 ANO            St. Andrew The Apostle Church             $   2,854.50   $     317.17   $     634.33   $         ‐      $    3,806.00
 ANO            St. Andrew The Apostle Church             $   2,659.50   $     295.50   $     591.00   $         ‐      $    3,546.00
 ANO            St. Andrew The Apostle Church             $   2,192.25   $     243.58   $     487.17   $         ‐      $    2,923.00
 ANO            St. Andrew The Apostle Church             $   2,192.25   $     243.58   $     487.17   $         ‐      $    2,923.00
 ANO            St. Andrew The Apostle Church             $   2,192.25   $     243.58   $     487.17   $         ‐      $    2,923.00
 ANO            St. Andrew The Apostle Church             $   2,192.25   $     243.58   $     487.17   $         ‐      $    2,923.00
 ANO            St. Andrew The Apostle Church             $   2,854.50   $     317.17   $     634.33   $         ‐      $    3,806.00
 ANO            St. Andrew The Apostle Church             $   2,854.50   $     317.17   $     634.33   $         ‐      $    3,806.00
 ANO          The Visitation Of Our Lady Church           $   2,200.68   $     283.50   $        ‐     $         ‐      $    2,484.18
 ANO          The Visitation Of Our Lady Church           $   2,854.50   $     317.17   $     634.33   $         ‐      $    3,806.00
 ANO          The Visitation Of Our Lady Church           $   2,854.50   $     317.17   $     634.33   $         ‐      $    3,806.00
 ANO               Our Lady Of Lavang Mission             $     867.95   $     213.25   $        ‐     $         ‐      $    1,081.20
 ANO          The Visitation Of Our Lady Church           $     545.42   $     109.08   $     109.08   $      545.42    $    1,309.00   Statement sent; general allowance recorded
 ANO          The Visitation Of Our Lady Church           $     545.42   $     109.08   $     109.08   $      545.42    $    1,309.00   Statement sent; general allowance recorded
 ANO          The Visitation Of Our Lady Church           $     545.42   $     109.08   $     109.08   $      545.42    $    1,309.00   Statement sent; general allowance recorded
 ANO          St. Christopher The Martyr Church           $   2,854.50   $     317.17   $     634.33   $         ‐      $    3,806.00
 ANO              St. Peter Church (Covington)            $   1,083.33   $     270.83   $     270.83   $     (313.90)   $    1,311.10   N/A ‐ Credit
 ANO                   St. Alphonsus Church               $   1,323.00   $        ‐     $        ‐     $         ‐      $    1,323.00
 ANO               Transfiguration Of The Lord            $   1,396.42   $        ‐     $        ‐     $         ‐      $    1,396.42
 ANO              St. Peter Church (Covington)            $     665.67   $     166.42   $     166.42   $      409.64    $    1,408.14   Statement sent; general allowance recorded
 ANO                  St. Peter Claver Church             $        ‐     $     117.58   $     117.58   $    1,175.83    $    1,411.00   Statement sent; general allowance recorded
 ANO   Our Lady Of Perpetual Help Church (Belle Chasse)   $        ‐     $     133.83   $     133.83   $    1,150.83    $    1,418.50   Statement sent; general allowance recorded
 ANO                  St. Peter Claver Church             $     883.50   $      98.17   $     196.33   $         ‐      $    1,178.00
 ANO                  St. Peter Claver Church             $   1,368.75   $     152.08   $     304.17   $         ‐      $    1,825.00
 ANO                  Christ The King Church              $   1,307.17   $     118.83   $        ‐     $         ‐      $    1,426.00
 ANO                     St. Rosalie Church               $     718.00   $     119.67   $     119.67   $      478.67    $    1,436.00   Statement sent; general allowance recorded
 ANO                  Christ The King Church              $     353.33   $      44.17   $      44.17   $       88.33    $      530.00   Statement sent; general allowance recorded
 ANO                  Christ The King Church              $     378.67   $      47.33   $      47.33   $       94.67    $      568.00   Statement sent; general allowance recorded
 ANO                  Christ The King Church              $     378.67   $      47.33   $      47.33   $       94.67    $      568.00   Statement sent; general allowance recorded
 ANO    Our Lady Of Prompt Succor Church (Chalmette)      $   1,384.00   $     173.00   $     173.00   $   (1,507.56)   $      222.44   N/A ‐ Credit
 ANO    Our Lady Of Prompt Succor Church (Chalmette)      $   2,537.33   $     317.17   $     317.17   $      253.73    $    3,425.40   Statement sent; general allowance recorded
 ANO    Our Lady Of Prompt Succor Church (Chalmette)      $   2,060.00   $     257.50   $     257.50   $      206.00    $    2,781.00   Statement sent; general allowance recorded
 ANO    Our Lady Of Prompt Succor Church (Chalmette)      $   2,060.00   $     257.50   $     257.50   $      206.00    $    2,781.00   Statement sent; general allowance recorded
 ANO    Our Lady Of Prompt Succor Church (Chalmette)      $   2,537.33   $     317.17   $     317.17   $      253.73    $    3,425.40   Statement sent; general allowance recorded
 ANO              Our Lady Of The Lake Church             $   9,068.67   $   1,133.58   $   1,133.58   $      406.61    $   11,742.44   Statement sent; general allowance recorded
 ANO              Our Lady Of The Lake Church             $   4,475.33   $     559.42   $     559.42   $      200.65    $    5,794.82   Statement sent; general allowance recorded
 ANO              Our Lady Of The Lake Church             $   9,602.00   $   1,200.25   $   1,200.25   $      430.52    $   12,433.02   Statement sent; general allowance recorded
 ANO              Our Lady Of The Lake Church             $   4,257.33   $     532.17   $     532.17   $      190.88    $    5,512.55   Statement sent; general allowance recorded
 ANO              Our Lady Of The Lake Church             $   3,754.00   $     469.25   $     469.25   $   (3,306.47)   $    1,386.03   N/A ‐ Credit
 ANO              Our Lady Of The Lake Church             $   3,816.00   $     477.00   $     477.00   $      171.09    $    4,941.09   Statement sent; general allowance recorded
 ANO              Our Lady Of The Lake Church             $   3,754.00   $     469.25   $     469.25   $      168.31    $    4,860.81   Statement sent; general allowance recorded
 ANO              Our Lady Of The Lake Church             $   8,240.00   $   1,030.00   $   1,030.00   $      369.46    $   10,669.46   Statement sent; general allowance recorded
 ANO                  St. Peter Claver Church             $   1,499.00   $        ‐     $        ‐     $         ‐      $    1,499.00
 ANO               St. Katharine Drexel Church            $   1,374.08   $     124.92   $        ‐     $         ‐      $    1,499.00
 ANO                  St. Peter Claver Church             $   1,374.08   $     124.92   $        ‐     $         ‐      $    1,499.00
 ANO                      St. Pius X Church               $     874.42   $     124.92   $     124.92   $      374.75    $    1,499.00   Statement sent; general allowance recorded
 ANO                      St. David Church                $     749.50   $     124.92   $     124.92   $      499.67    $    1,499.00   Statement sent; general allowance recorded
 ANO          The Visitation Of Our Lady Church           $     624.58   $     124.92   $     124.92   $      624.58    $    1,499.00   Statement sent; general allowance recorded
 ANO          The Visitation Of Our Lady Church           $     624.58   $     124.92   $     124.92   $      624.58    $    1,499.00   Statement sent; general allowance recorded
 ANO                      St. Agnes Church                $     499.67   $     124.92   $     124.92   $      749.50    $    1,499.00   Statement sent; general allowance recorded
 ANO                      St. Agnes Church                $     499.67   $     124.92   $     124.92   $      749.50    $    1,499.00   Statement sent; general allowance recorded
 ANO         Our Lady Of Lourdes Church (Violet)          $   1,041.67   $     208.33   $     208.33   $       67.36    $    1,525.69   Statement sent; general allowance recorded
 ANO               Sts. Peter And Paul Church             $   1,364.62   $     166.42   $        ‐     $         ‐      $    1,531.04
 ANO        Our Lady Of Divine Providence Church          $     903.00   $     129.00   $     129.00   $      387.00    $    1,548.00   Statement sent; general allowance recorded
 ANO                St. Rita Church (Harahan)             $   1,251.92   $     317.17   $        ‐     $         ‐      $    1,569.09
 ANO                  Christ The King Church              $        ‐     $        ‐     $     135.17   $    1,486.83    $    1,622.00   Statement sent; general allowance recorded
 ANO           St. Edward The Confessor Church            $     552.00   $     138.00   $     138.00   $      828.00    $    1,656.00   Statement sent; general allowance recorded
 ANO                     St. Thomas Church                $   1,514.67   $     189.33   $     189.33   $     (188.69)   $    1,704.64   N/A ‐ Credit
 ANO     Our Lady Of Perpetual Help Church (Kenner)       $   1,321.00   $     220.17   $     220.17   $        0.03    $    1,761.36   Statement sent; general allowance recorded
 ANO        Our Lady Of Divine Providence Church          $   1,034.25   $     147.75   $     147.75   $      443.25    $    1,773.00   Statement sent; general allowance recorded
 ANO                   Annunciation Church                $   1,364.46   $     227.41   $     227.41   $      (37.68)   $    1,781.59   N/A ‐ Credit
 ANO   Our Lady Of Perpetual Help Church (Belle Chasse)   $   1,786.69   $        ‐     $        ‐     $         ‐      $    1,786.69
 ANO                  St. Peter Claver Church             $   1,232.00   $     154.00   $     154.00   $      308.00    $    1,848.00   Statement sent; general allowance recorded
 ANO            St. Patrick Church (Port Sulphur)         $   1,097.25   $     156.75   $     156.75   $      470.25    $    1,881.00   Statement sent; general allowance recorded
 ANO                     St. Hubert Church                $   1,109.50   $     158.50   $     158.50   $      475.50    $    1,902.00   Statement sent; general allowance recorded
 ANO                      St. Mark Church                 $   1,802.50   $     257.50   $     257.50   $     (381.03)   $    1,936.47   N/A ‐ Credit
 ANO                  St. Joan Of Arc Church              $   1,773.00   $     295.50   $     295.50   $     (392.85)   $    1,971.15   N/A ‐ Credit
 ANO            St. Patrick Church (Port Sulphur)         $   1,997.00   $        ‐     $        ‐     $         ‐      $    1,997.00
 ANO                     St. Rosalie Church               $     998.50   $     166.42   $     166.42   $      665.67    $    1,997.00   Statement sent; general allowance recorded
 ANO         Our Lady Of Lourdes Church (Violet)          $   1,705.08   $     243.58   $     243.58   $     (174.92)   $    2,017.33   N/A ‐ Credit
 ANO                     St. Rosalie Church               $   1,014.00   $     169.00   $     169.00   $      676.00    $    2,028.00   Statement sent; general allowance recorded
 ANO           St. Patrick Church (New Orleans)           $   1,903.00   $     317.17   $     317.17   $     (491.01)   $    2,046.32   N/A ‐ Credit
 ANO              St. Peter Church (Covington)            $     974.33   $     243.58   $     243.58   $      599.59    $    2,061.09   Statement sent; general allowance recorded
 ANO              St. Peter Church (Covington)            $     974.33   $     243.58   $     243.58   $      599.59    $    2,061.09   Statement sent; general allowance recorded
 ANO                       Project Lazarus                $     603.75   $      86.25   $      86.25   $         ‐      $      776.25
 ANO                       Project Lazarus                $     412.42   $      58.92   $      58.92   $         ‐      $      530.25
 ANO              St. Peter Church (Covington)            $     974.33   $     243.58   $     243.58   $      599.59    $    2,061.09   Statement sent; general allowance recorded
 ANO                     St. Rosalie Church               $   1,038.50   $     173.08   $     173.08   $      692.33    $    2,077.00   Statement sent; general allowance recorded
 ANO        Our Lady Of Divine Providence Church          $   1,044.50   $     174.08   $     174.08   $      696.33    $    2,089.00   Statement sent; general allowance recorded
 ANO                     St. Thomas Church                $        ‐     $        ‐     $     177.42   $    1,951.58    $    2,129.00   Statement sent; general allowance recorded
 ANO                  St. Peter Claver Church             $   1,953.42   $     177.58   $        ‐     $         ‐      $    2,131.00
 ANO                     St. Rosalie Church               $   1,083.50   $     180.58   $     180.58   $      722.33    $    2,167.00   Statement sent; general allowance recorded
 ANO               Holy Family Church (Luling)            $   1,625.00   $     270.83   $     270.83   $        3.06    $    2,169.73   Statement sent; general allowance recorded
 ANO                      St. Cletus Church               $   1,366.67   $     273.33   $     273.33   $      270.67    $    2,184.00   Statement sent; general allowance recorded
 ANO                     St. Rosalie Church               $   1,096.50   $     182.75   $     182.75   $      731.00    $    2,193.00   Statement sent; general allowance recorded
 ANO                     St. Rosalie Church               $   1,096.50   $     182.75   $     182.75   $      731.00    $    2,193.00   Statement sent; general allowance recorded
 ANO                   Sacred Heart Church                $   1,272.50   $     212.08   $     212.08   $      500.81    $    2,197.48   Statement sent; general allowance recorded
 ANO                 St. Francis Xavier Church            $   2,220.17   $     317.17   $     317.17   $     (637.65)   $    2,216.85   N/A ‐ Credit
 ANO                  St. Joan Of Arc Church              $   1,701.00   $     283.50   $     283.50   $      (46.02)   $    2,221.98   N/A ‐ Credit
 ANO         Blessed Francis Xavier Seelos Church         $     742.33   $     185.58   $     185.58   $    1,113.50    $    2,227.00   Statement sent; general allowance recorded
 ANO              St. Peter Church (Covington)            $   1,083.33   $     270.83   $     270.83   $      666.67    $    2,291.67   Statement sent; general allowance recorded
 ANO                     Holy Spirit Church               $   2,151.42   $     195.58   $        ‐     $         ‐      $    2,347.00
 ANO                      St. Agnes Church                $     788.33   $     197.08   $     197.08   $    1,182.50    $    2,365.00   Statement sent; general allowance recorded
 ANO               Holy Name Of Jesus Church              $   2,178.92   $     198.08   $        ‐     $         ‐      $    2,377.00
 ANO         St. John The Baptist Church (Edgard)         $   1,188.50   $     198.08   $     198.08   $      792.33    $    2,377.00   Statement sent; general allowance recorded
 ANO                     St. Rosalie Church               $   1,190.00   $     198.33   $     198.33   $      793.33    $    2,380.00   Statement sent; general allowance recorded
 ANO                     St. Martha Church                $   2,185.83   $     218.58   $        ‐     $         ‐      $    2,404.41
 ANO             Ascension Of Our Lord Church             $   1,625.00   $     270.83   $     270.83   $      270.83    $    2,437.50   Statement sent; general allowance recorded
 ANO     Our Lady Of Perpetual Help Church (Kenner)       $   1,839.50   $     306.58   $     306.58   $       (0.03)   $    2,452.64   N/A ‐ Credit
 ANO              St. Peter Church (Covington)            $   1,182.00   $     295.50   $     295.50   $      727.38    $    2,500.38   Statement sent; general allowance recorded
 ANO                     St. Martha Church                $   2,300.83   $     230.08   $        ‐     $         ‐      $    2,530.91
 ANO               Holy Family Church (Luling)            $   1,903.00   $     317.17   $     317.17   $       (0.80)   $    2,536.53   N/A ‐ Credit
 ANO     Our Lady Of Perpetual Help Church (Kenner)       $   1,903.00   $     317.17   $     317.17   $        0.03    $    2,537.36   Statement sent; general allowance recorded
 ANO                     St. Martha Church                $   1,268.67   $     317.17   $     317.17   $      648.08    $    2,551.08   Statement sent; general allowance recorded
 ANO   Our Lady Of Perpetual Help Church (Belle Chasse)   $        ‐     $   1,565.08   $   1,565.08   $     (575.27)   $    2,554.90   N/A ‐ Credit
 ANO          The Visitation Of Our Lady Church           $   1,066.25   $     213.25   $     213.25   $    1,066.25    $    2,559.00   Statement sent; general allowance recorded
 ANO                      St. Agnes Church                $     853.00   $     213.25   $     213.25   $    1,279.50    $    2,559.00   Statement sent; general allowance recorded
 ANO                      All Saints Church               $   2,437.50   $     135.95   $        ‐     $         ‐      $    2,573.45
 ANO                      St. Mark Church                 $   1,802.50   $     257.50   $     257.50   $      257.50    $    2,575.00   Statement sent; general allowance recorded
 ANO                    St. Gertrude Church               $   1,536.50   $     219.50   $     219.50   $      658.50    $    2,634.00   Statement sent; general allowance recorded
 ANO                     St. Bernard Church               $   1,541.17   $     220.17   $     220.17   $      660.50    $    2,642.00   Statement sent; general allowance recorded
 ANO               Transfiguration Of The Lord            $   2,435.84   $     243.58   $        ‐     $         ‐      $    2,679.42
 ANO                   Sacred Heart Church                $   1,773.00   $     295.50   $     295.50   $      318.92    $    2,682.92   Statement sent; general allowance recorded
 ANO           Center Of Jesus The Lord Church            $        ‐     $        ‐     $     227.75   $    2,505.25    $    2,733.00   Statement sent; general allowance recorded
 ANO                     St. Joachim Church               $   2,745.00   $        ‐     $        ‐     $         ‐      $    2,745.00
 ANO                     St. Bernard Church               $   1,601.25   $     228.75   $     228.75   $      686.25    $    2,745.00   Statement sent; general allowance recorded
 ANO         Our Lady Of Lourdes Church (Slidell)         $   2,500.50   $     245.50   $        ‐     $         ‐      $    2,746.00
 ANO             Ascension Of Our Lord Church             $   1,903.00   $     317.17   $     317.17   $      317.17    $    2,854.50   Statement sent; general allowance recorded
 ANO             Ascension Of Our Lord Church             $   1,903.00   $     317.17   $     317.17   $      317.17    $    2,854.50   Statement sent; general allowance recorded
 ANO           St. Patrick Church (New Orleans)           $   1,903.00   $     317.17   $     317.17   $      317.17    $    2,854.50   Statement sent; general allowance recorded
 ANO                     St. Thomas Church                $        ‐     $        ‐     $     240.75   $    2,648.25    $    2,889.00   Statement sent; general allowance recorded
 ANO         St. John The Baptist Church (Paradis)        $   2,068.50   $     295.50   $     295.50   $      238.70    $    2,898.20   Statement sent; general allowance recorded
 ANO                     St. Rosalie Church               $   1,451.50   $     241.92   $     241.92   $      967.67    $    2,903.00   Statement sent; general allowance recorded
 ANO          St. Christopher The Martyr Church           $   2,679.42   $     243.58   $        ‐     $         ‐      $    2,923.00
 ANO           St. Gabriel The Archangel Church           $   1,705.08   $     243.58   $     243.58   $      730.75    $    2,923.00   Statement sent; general allowance recorded
 ANO           St. Gabriel The Archangel Church           $   1,705.08   $     243.58   $     243.58   $      730.75    $    2,923.00   Statement sent; general allowance recorded
 ANO                    St. Gertrude Church               $     974.33   $     243.58   $     243.58   $    1,461.50    $    2,923.00   Statement sent; general allowance recorded
 ANO                  St. Joan Of Arc Church              $   1,701.00   $     283.50   $     283.50   $      674.46    $    2,942.46   Statement sent; general allowance recorded
 ANO                  St. Joan Of Arc Church              $   1,701.00   $     283.50   $     283.50   $      674.46    $    2,942.46   Statement sent; general allowance recorded
 ANO     Our Lady Of Perpetual Help Church (Kenner)       $   2,437.50   $     270.83   $     270.84   $         ‐      $    2,979.17
 ANO                  St. Peter Claver Church             $        ‐     $        ‐     $     248.42   $    2,732.58    $    2,981.00   Statement sent; general allowance recorded
 ANO                   Academy of Our Lady                $   3,016.00   $        ‐     $        ‐     $         ‐      $    3,016.00
 ANO                   St. Augustine Church               $        ‐     $     253.00   $     253.00   $    2,530.00    $    3,036.00   Statement sent; general allowance recorded
 ANO           St. Gabriel The Archangel Church           $        ‐     $     253.00   $     253.00   $    2,530.00    $    3,036.00   Statement sent; general allowance recorded
 ANO                    St. Dominic Church                $   2,796.75   $     254.25   $        ‐     $         ‐      $    3,051.00
 ANO         St. John The Baptist Church (Edgard)         $   1,526.00   $     254.33   $     254.33   $    1,017.33    $    3,052.00   Statement sent; general allowance recorded
 ANO                  St. Joan Of Arc Church              $   1,773.00   $     295.50   $     295.50   $      703.01    $    3,067.01   Statement sent; general allowance recorded
 ANO   Our Lady Of Perpetual Help Church (Belle Chasse)   $   3,077.03   $        ‐     $        ‐     $         ‐      $    3,077.03
 ANO               St. Katharine Drexel Church            $   2,832.50   $     257.50   $        ‐     $         ‐      $    3,090.00
 ANO                     St. Thomas Church                $   2,832.50   $     257.50   $        ‐     $         ‐      $    3,090.00
 ANO         St. John The Baptist Church (Paradis)        $   1,802.50   $     257.50   $     257.50   $      772.50    $    3,090.00   Statement sent; general allowance recorded
 ANO                     St. Hubert Church                $   1,545.00   $     257.50   $     257.50   $    1,030.00    $    3,090.00   Statement sent; general allowance recorded
 ANO          The Visitation Of Our Lady Church           $   1,287.50   $     257.50   $     257.50   $    1,287.50    $    3,090.00   Statement sent; general allowance recorded
 ANO                     St. Thomas Church                $   1,984.50   $     283.50   $     283.50   $      567.00    $    3,118.50   Statement sent; general allowance recorded
 ANO                 St. Francis Xavier Church            $   2,068.50   $     295.50   $     295.50   $      489.12    $    3,148.62   Statement sent; general allowance recorded
 ANO                     St. Joachim Church               $        ‐     $        ‐     $     263.00   $    2,893.00    $    3,156.00   Statement sent; general allowance recorded
 ANO                  Christ The King Church              $   1,322.50   $     264.50   $     264.50   $    1,322.50    $    3,174.00   Statement sent; general allowance recorded
 ANO           St. Gabriel The Archangel Church           $        ‐     $        ‐     $     264.83   $    2,913.17    $    3,178.00   Statement sent; general allowance recorded
 ANO                       Project Lazarus                $     517.50   $      86.25   $      86.25   $       28.74    $      718.74   Statement sent; general allowance recorded
 ANO           St. Gabriel The Archangel Church           $   3,250.00   $        ‐     $        ‐     $         ‐      $    3,250.00
 ANO                  St. Peter Claver Church             $   2,979.17   $     270.83   $        ‐     $         ‐      $    3,250.00
 ANO                      St. David Church                $   2,437.50   $     270.83   $     541.67   $         ‐      $    3,250.00
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 57 of
                                           103
 ANO                       St. Hubert Church              $    1,625.00   $     270.83   $     270.83   $    1,083.33    $    3,250.00   Statement sent; general allowance recorded
 ANO                       St. Rosalie Church             $    1,625.00   $     270.83   $     270.83   $    1,083.33    $    3,250.00   Statement sent; general allowance recorded
 ANO           The Visitation Of Our Lady Church          $    1,354.17   $     270.83   $     270.83   $    1,354.17    $    3,250.00   Statement sent; general allowance recorded
 ANO   Our Lady Of Perpetual Help Church (Belle Chasse)   $    3,274.02   $        ‐     $        ‐     $         ‐      $    3,274.02
 ANO   Our Lady Of Perpetual Help Church (Belle Chasse)   $    3,274.02   $        ‐     $        ‐     $         ‐      $    3,274.02
 ANO   Our Lady Of Perpetual Help Church (Belle Chasse)   $    3,274.02   $        ‐     $        ‐     $         ‐      $    3,274.02
 ANO                         Project Lazarus              $    1,354.17   $     270.83   $     270.83   $      (97.59)   $    1,798.24   N/A ‐ Credit
 ANO                         Project Lazarus              $    1,585.83   $     317.17   $     317.17   $      (35.72)   $    2,184.45   N/A ‐ Credit
 ANO                    St. Joan Of Arc Church            $    1,903.00   $     317.17   $     317.17   $      754.55    $    3,291.88   Statement sent; general allowance recorded
 ANO          Our Lady Of The Holy Rosary Church          $    3,402.00   $        ‐     $        ‐     $         ‐      $    3,402.00
 ANO            St. Gabriel The Archangel Church          $    3,118.50   $     283.50   $        ‐     $         ‐      $    3,402.00
 ANO       Blessed Sacrament‐St Joan Of Arc Church        $    2,551.50   $     283.50   $     567.00   $         ‐      $    3,402.00
 ANO                 Our Lady Of Grace Church             $    1,984.50   $     283.50   $     283.50   $      850.50    $    3,402.00   Statement sent; general allowance recorded
 ANO                 Our Lady Of Grace Church             $    1,984.50   $     283.50   $     283.50   $      850.50    $    3,402.00   Statement sent; general allowance recorded
 ANO                 Our Lady Of Grace Church             $    1,984.50   $     283.50   $     283.50   $      850.50    $    3,402.00   Statement sent; general allowance recorded
 ANO                     St. Gertrude Church              $    1,984.50   $     283.50   $     283.50   $      850.50    $    3,402.00   Statement sent; general allowance recorded
 ANO                        St. Agnes Church              $    1,701.00   $     283.50   $     283.50   $    1,134.00    $    3,402.00   Statement sent; general allowance recorded
 ANO    Our Lady Of Prompt Succor Church (Westwego)       $    1,134.00   $     283.50   $     283.50   $    1,701.00    $    3,402.00   Statement sent; general allowance recorded
 ANO          Our Lady Of Lourdes Church (Slidell)        $    3,108.59   $     302.58   $        ‐     $         ‐      $    3,411.17
 ANO        St. Raymond & St. Leo The Great Parish        $    3,546.00   $        ‐     $        ‐     $         ‐      $    3,546.00
 ANO                   St. James Major Church             $    2,659.50   $     295.50   $     591.00   $         ‐      $    3,546.00
 ANO                        St. Pius X Church             $    2,068.50   $     295.50   $     295.50   $      886.50    $    3,546.00   Statement sent; general allowance recorded
 ANO           St. Christopher The Martyr Church          $    1,773.00   $     295.50   $     295.50   $    1,182.00    $    3,546.00   Statement sent; general allowance recorded
 ANO    Our Lady Of Prompt Succor Church (Westwego)       $    1,182.00   $     295.50   $     295.50   $    1,773.00    $    3,546.00   Statement sent; general allowance recorded
 ANO                        St. David Church              $         ‐     $        ‐     $     296.08   $    3,256.92    $    3,553.00   Statement sent; general allowance recorded
 ANO    Our Lady Of Prompt Succor Church (Westwego)       $         ‐     $        ‐     $     296.08   $    3,256.92    $    3,553.00   Statement sent; general allowance recorded
 ANO          Blessed Francis Xavier Seelos Church        $         ‐     $        ‐     $     296.08   $    3,256.92    $    3,553.00   Statement sent; general allowance recorded
 ANO                       St. Rosalie Church             $         ‐     $     298.17   $     298.17   $    2,981.67    $    3,578.00   Statement sent; general allowance recorded
 ANO                     St. Gertrude Church              $    1,226.33   $     306.58   $     306.58   $    1,839.50    $    3,679.00   Statement sent; general allowance recorded
 ANO         Our Lady Of Divine Providence Church         $    1,869.50   $     311.58   $     311.58   $    1,246.33    $    3,739.00   Statement sent; general allowance recorded
 ANO                        St. David Church              $         ‐     $        ‐     $     316.25   $    3,478.75    $    3,795.00   Statement sent; general allowance recorded
 ANO            St. Edward The Confessor Church           $    3,806.00   $        ‐     $        ‐     $         ‐      $    3,806.00
 ANO            Catholic Cultural Heritage Center         $    3,806.00   $        ‐     $        ‐     $         ‐      $    3,806.00
 ANO    Our Lady Of Prompt Succor Church (Westwego)       $    3,806.00   $        ‐     $        ‐     $         ‐      $    3,806.00
 ANO                Holy Name Of Jesus Church             $    3,488.83   $     317.17   $        ‐     $         ‐      $    3,806.00
 ANO     St. Anthony Of Padua Church (New Orleans)        $    3,488.83   $     317.17   $        ‐     $         ‐      $    3,806.00
 ANO     St. Anthony Of Padua Church (New Orleans)        $    3,488.83   $     317.17   $        ‐     $         ‐      $    3,806.00
 ANO                        St. David Church              $    3,488.83   $     317.17   $        ‐     $         ‐      $    3,806.00
 ANO          Blessed Francis Xavier Seelos Church        $    2,854.50   $     317.17   $     634.33   $         ‐      $    3,806.00
 ANO           St. Christopher The Martyr Church          $    2,220.17   $     317.17   $     317.17   $      951.50    $    3,806.00   Statement sent; general allowance recorded
 ANO           St. Christopher The Martyr Church          $    2,220.17   $     317.17   $     317.17   $      951.50    $    3,806.00   Statement sent; general allowance recorded
 ANO          St. John The Baptist Church (Edgard)        $    2,220.17   $     317.17   $     317.17   $      951.50    $    3,806.00   Statement sent; general allowance recorded
 ANO                        St. Pius X Church             $    2,220.17   $     317.17   $     317.17   $      951.50    $    3,806.00   Statement sent; general allowance recorded
 ANO           The Visitation Of Our Lady Church          $    2,220.17   $     317.17   $     317.17   $      951.50    $    3,806.00   Statement sent; general allowance recorded
 ANO                        St. Agnes Church              $    1,903.00   $     317.17   $     317.17   $    1,268.67    $    3,806.00   Statement sent; general allowance recorded
 ANO          Blessed Francis Xavier Seelos Church        $    1,268.67   $     317.17   $     317.17   $    1,903.00    $    3,806.00   Statement sent; general allowance recorded
 ANO    Our Lady Of Prompt Succor Church (Westwego)       $    1,268.67   $     317.17   $     317.17   $    1,903.00    $    3,806.00   Statement sent; general allowance recorded
 ANO    Our Lady Of Prompt Succor Church (Westwego)       $    1,268.67   $     317.17   $     317.17   $    1,903.00    $    3,806.00   Statement sent; general allowance recorded
 ANO                       St. Rosalie Church             $    1,268.67   $     317.17   $     317.17   $    1,903.00    $    3,806.00   Statement sent; general allowance recorded
 ANO             St. Andrew The Apostle Church            $         ‐     $     322.50   $     322.50   $    3,225.00    $    3,870.00   Statement sent; general allowance recorded
 ANO                  St. Maria Goretti Church            $    2,634.00   $     329.25   $     329.25   $      658.50    $    3,951.00   Statement sent; general allowance recorded
 ANO                       St. Rosalie Church             $    2,022.00   $     337.00   $     337.00   $    1,348.00    $    4,044.00   Statement sent; general allowance recorded
 ANO                       St. Rosalie Church             $    4,183.00   $        ‐     $        ‐     $         ‐      $    4,183.00
 ANO                       St. Rosalie Church             $    2,091.50   $     348.58   $     348.58   $    1,394.33    $    4,183.00   Statement sent; general allowance recorded
 ANO         Our Lady Of Divine Providence Church         $    2,091.50   $     348.58   $     348.58   $    1,394.33    $    4,183.00   Statement sent; general allowance recorded
 ANO            Resurrection Of Our Lord Church           $    3,509.33   $     501.33   $     501.33   $     (320.05)   $    4,191.95   N/A ‐ Credit
 ANO    Our Lady Of Prompt Succor Church (Westwego)       $         ‐     $        ‐     $     540.17   $    3,941.83    $    4,482.00   Statement sent; general allowance recorded
 ANO                   St. James Major Church             $    4,545.00   $        ‐     $        ‐     $         ‐      $    4,545.00
 ANO                   Christ The King Church             $         ‐     $        ‐     $     402.75   $    4,430.25    $    4,833.00   Statement sent; general allowance recorded
 ANO             St. Andrew The Apostle Church            $    3,798.00   $     422.00   $     844.00   $         ‐      $    5,064.00
 ANO            Our Lady Star Of The Sea Church           $    5,163.00   $        ‐     $        ‐     $         ‐      $    5,163.00
 ANO                Holy Family Church (Luling)           $    4,770.50   $     681.50   $     681.50   $     (681.36)   $    5,452.14   N/A ‐ Credit
 ANO                  St. Maria Goretti Church            $    4,187.33   $     523.42   $     523.42   $    1,046.83    $    6,281.00   Statement sent; general allowance recorded
 ANO                  St. Maria Goretti Church            $    4,352.67   $     544.08   $     544.08   $    1,088.17    $    6,529.00   Statement sent; general allowance recorded
 ANO                       St. Anselm Church              $    8,277.50   $   1,182.50   $   1,182.50   $   (3,662.32)   $    6,980.18   N/A ‐ Credit
 ANO          Our Lady Of Lourdes Church (Slidell)        $    5,891.04   $   1,119.17   $        ‐     $         ‐      $    7,010.21
 ANO                   St. Peter Claver Church            $         ‐     $        ‐     $     602.25   $    6,624.75    $    7,227.00   Statement sent; general allowance recorded
 ANO                   Christ The King Church             $    2,493.67   $     623.42   $     623.42   $    3,740.50    $    7,481.00   Statement sent; general allowance recorded
 ANO          Our Lady Of Lourdes Church (Slidell)        $    6,543.87   $   1,237.33   $        ‐     $         ‐      $    7,781.20
 ANO          Our Lady Of Lourdes Church (Slidell)        $    7,713.96   $   1,398.58   $        ‐     $         ‐      $    9,112.54
 ANO             St. Andrew The Apostle Church            $         ‐     $        ‐     $   2,718.17   $    6,907.73    $    9,625.90   Statement sent; general allowance recorded
 ANO           The Visitation Of Our Lady Church          $         ‐     $        ‐     $     857.00   $    8,868.61    $    9,725.61   Statement sent; general allowance recorded
 ANO          Our Lady Of Lourdes Church (Slidell)        $    8,884.35   $   1,192.92   $        ‐     $         ‐      $   10,077.27
 ANO                       St. Anselm Church              $    8,780.33   $   1,254.33   $   1,254.33   $   (1,020.18)   $   10,268.82   N/A ‐ Credit
 ANO                   St. Peter Claver Church            $         ‐     $        ‐     $     871.25   $    9,583.75    $   10,455.00   Statement sent; general allowance recorded
 ANO               Our Lady Of The Lake Church            $   10,006.33   $     909.67   $        ‐     $         ‐      $   10,916.00
 ANO                       St. Anselm Church              $   13,007.50   $   1,182.50   $        ‐     $         ‐      $   14,190.00
 ANO                Transfiguration Of The Lord           $   13,220.84   $   1,322.08   $        ‐     $         ‐      $   14,542.92
 ANO                       St. Anselm Church              $   13,797.67   $   1,254.33   $        ‐     $         ‐      $   15,052.00
 ANO                St. Anthony Church (Lafitte)          $   14,863.75   $   1,351.25   $        ‐     $         ‐      $   16,215.00
 ANO               Our Lady Of The Lake Church            $   16,511.92   $   1,501.08   $        ‐     $         ‐      $   18,013.00
 ANO                   Christ The King Church             $   11,235.58   $   1,605.08   $   1,605.08   $    4,815.25    $   19,261.00   Statement sent; general allowance recorded
 ANO            Resurrection Of Our Lord Church           $         ‐     $        ‐     $        ‐     $       84.10    $       84.10   Statement sent; general allowance recorded
 ANO                        St. David Church              $         ‐     $        ‐     $        ‐     $       84.10    $       84.10   Statement sent; general allowance recorded
 ANO                        St. Cletus School             $      250.00   $        ‐     $        ‐     $         ‐      $      250.00
 ANO                       St. Martha Church              $      250.00   $        ‐     $        ‐     $         ‐      $      250.00
 ANO                   Diocese of Lake Charles            $         ‐     $        ‐     $        ‐     $      270.83    $      270.83   Statement sent; general allowance recorded
 ANO                Pontifical Mission Societies          $      352.79   $        ‐     $        ‐     $         ‐      $      352.79
 ANO                       St. Anselm Church              $      375.00   $        ‐     $        ‐     $         ‐      $      375.00
 ANO       Catholic Charities, Arch. Of New Orleans       $      410.06   $        ‐     $        ‐     $         ‐      $      410.06
 ANO    Our Lady Of Prompt Succor Church (Westwego)       $         ‐     $        ‐     $        ‐     $      442.61    $      442.61   Statement sent; general allowance recorded
 ANO             St. Andrew The Apostle Church            $         ‐     $        ‐     $        ‐     $      442.61    $      442.61   Statement sent; general allowance recorded
 ANO            St. Edward The Confessor Church           $         ‐     $        ‐     $        ‐     $      442.61    $      442.61   Statement sent; general allowance recorded
 ANO                        St. Pius X Church             $         ‐     $        ‐     $        ‐     $      442.61    $      442.61   Statement sent; general allowance recorded
 ANO           The Visitation Of Our Lady Church          $         ‐     $        ‐     $        ‐     $      442.61    $      442.61   Statement sent; general allowance recorded
 ANO                   Christ The King Church             $         ‐     $        ‐     $        ‐     $      442.62    $      442.62   Statement sent; general allowance recorded
 ANO       Catholic Charities, Arch. Of New Orleans       $      601.81   $        ‐     $        ‐     $         ‐      $      601.81
 ANO       Catholic Charities, Arch. Of New Orleans       $      614.54   $        ‐     $        ‐     $         ‐      $      614.54
 ANO       Catholic Charities, Arch. Of New Orleans       $      988.92   $        ‐     $        ‐     $         ‐      $      988.92
 ANO                   Diocese of Lake Charles            $         ‐     $        ‐     $        ‐     $    1,085.00    $    1,085.00   Statement sent; general allowance recorded
 ANO       Catholic Charities, Arch. Of New Orleans       $    1,712.71   $        ‐     $        ‐     $         ‐      $    1,712.71
 ANO                Notre Dame Health System              $    4,690.00   $        ‐     $        ‐     $         ‐      $    4,690.00
 ANO                    St. Anthony's Gardens             $    4,690.00   $        ‐     $        ‐     $         ‐      $    4,690.00
 ANO                Notre Dame Health System              $         ‐     $   4,690.00   $        ‐     $         ‐      $    4,690.00
 ANO                    St. Anthony's Gardens             $         ‐     $   4,690.00   $        ‐     $         ‐      $    4,690.00
 ANO                Notre Dame Health System              $         ‐     $        ‐     $   4,690.00   $         ‐      $    4,690.00
 ANO                Notre Dame Health System              $         ‐     $        ‐     $        ‐     $      600.00    $      600.00   Statement sent; general allowance recorded
 ANO                    St. Anthony's Gardens             $         ‐     $        ‐     $        ‐     $      600.00    $      600.00   Statement sent; general allowance recorded
 ANO                Notre Dame Health System              $         ‐     $        ‐     $        ‐     $      600.00    $      600.00   Statement sent; general allowance recorded
 ANO                    St. Anthony's Gardens             $         ‐     $        ‐     $        ‐     $      600.00    $      600.00   Statement sent; general allowance recorded
 ANO                Notre Dame Health System              $         ‐     $        ‐     $        ‐     $      600.00    $      600.00   Statement sent; general allowance recorded
 ANO                      Rouquette Lodge IV              $         ‐     $        ‐     $        ‐     $      600.00    $      600.00   Statement sent; general allowance recorded
 ANO                         Nazareth Inn II              $         ‐     $        ‐     $        ‐     $       43.48    $       43.48   Statement sent; general allowance recorded
 ANO                      Rouquette Lodge IV              $         ‐     $        ‐     $        ‐     $    1,049.00    $    1,049.00   Statement sent; general allowance recorded
 ANO                         Nazareth Inn II              $         ‐     $        ‐     $        ‐     $   24,271.71    $   24,271.71   Statement sent; general allowance recorded
 ANO                      Rouquette Lodge IV              $         ‐     $        ‐     $        ‐     $   20,871.00    $   20,871.00   Statement sent; general allowance recorded
 ANO                      Rouquette Lodge IV              $         ‐     $        ‐     $        ‐     $      956.00    $      956.00   Statement sent; general allowance recorded
 ANO                      Rouquette Lodge IV              $         ‐     $        ‐     $        ‐     $   18,148.00    $   18,148.00   Statement sent; general allowance recorded
 ANO                         Nazareth Inn II              $         ‐     $        ‐     $        ‐     $    2,127.03    $    2,127.03   Statement sent; general allowance recorded
 ANO                      Rouquette Lodge IV              $         ‐     $        ‐     $        ‐     $   13,150.84    $   13,150.84   Statement sent; general allowance recorded
 ANO                      St. Joseph Seminary             $    1,320.17   $        ‐     $        ‐     $         ‐      $    1,320.17
 ANO          Blessed Francis Xavier Seelos Church        $      319.00   $        ‐     $        ‐     $         ‐      $      319.00
 ANO          Blessed Francis Xavier Seelos Church        $      591.67   $        ‐     $        ‐     $         ‐      $      591.67
 ANO                     St. John Of The Cross            $    1,320.17   $        ‐     $        ‐     $         ‐      $    1,320.17
 ANO                         Blessed Trinity              $      319.00   $        ‐     $        ‐     $         ‐      $      319.00
 ANO                         Blessed Trinity              $      591.67   $        ‐     $        ‐     $         ‐      $      591.67
 ANO                      St. Joachim Church              $    1,320.17   $        ‐     $        ‐     $         ‐      $    1,320.17
 ANO                   Christ The King Church             $      319.00   $        ‐     $        ‐     $         ‐      $      319.00
 ANO                   Christ The King Church             $      591.67   $        ‐     $        ‐     $         ‐      $      591.67
 ANO    Our Lady Of Prompt Succor Church (Westwego)       $    1,320.17   $        ‐     $        ‐     $         ‐      $    1,320.17
 ANO                   Good Shepherd Church               $      319.00   $        ‐     $        ‐     $         ‐      $      319.00
 ANO                   Good Shepherd Church               $      591.67   $        ‐     $        ‐     $         ‐      $      591.67
 ANO                   Christ The King Church             $    1,320.17   $        ‐     $        ‐     $         ‐      $    1,320.17
 ANO            Holy Family Church (Franklinton)          $      319.00   $        ‐     $        ‐     $         ‐      $      319.00
 ANO            Holy Family Church (Franklinton)          $      591.67   $        ‐     $        ‐     $         ‐      $      591.67
 ANO          Our Lady Of The Holy Rosary Church          $    1,320.17   $        ‐     $        ‐     $         ‐      $    1,320.17
 ANO                       Holy Spirit Church             $      319.00   $        ‐     $        ‐     $         ‐      $      319.00
 ANO                       Holy Spirit Church             $      591.67   $        ‐     $        ‐     $         ‐      $      591.67
 ANO                 Sts. Peter And Paul Church           $    1,320.17   $        ‐     $        ‐     $         ‐      $    1,320.17
 ANO                   Mater Dolorosa Church              $      319.00   $        ‐     $        ‐     $         ‐      $      319.00
 ANO                   Mater Dolorosa Church              $      591.67   $        ‐     $        ‐     $         ‐      $      591.67
 ANO                      St. Bernard Church              $    1,320.17   $        ‐     $        ‐     $         ‐      $    1,320.17
 ANO         Our Lady Of Divine Providence Church         $      319.00   $        ‐     $        ‐     $         ‐      $      319.00
 ANO         Our Lady Of Divine Providence Church         $      591.67   $        ‐     $        ‐     $         ‐      $      591.67
 ANO          Our Lady Of Lourdes Church (Slidell)        $    2,640.34   $        ‐     $        ‐     $         ‐      $    2,640.34
 ANO          Our Lady Of Lourdes Church (Slidell)        $      638.00   $        ‐     $        ‐     $         ‐      $      638.00
 ANO          Our Lady Of Lourdes Church (Slidell)        $    1,183.34   $        ‐     $        ‐     $         ‐      $    1,183.34
 ANO    Our Lady Of Prompt Succor Church (Chalmette)      $    2,640.34   $        ‐     $        ‐     $         ‐      $    2,640.34
 ANO    Our Lady Of Prompt Succor Church (Chalmette)      $      638.00   $        ‐     $        ‐     $         ‐      $      638.00
 ANO    Our Lady Of Prompt Succor Church (Chalmette)      $    1,183.34   $        ‐     $        ‐     $         ‐      $    1,183.34
 ANO                 St. Peter Church (Reserve)           $    1,320.17   $        ‐     $        ‐     $         ‐      $    1,320.17
 ANO    Our Lady Of Prompt Succor Church (Westwego)       $      319.00   $        ‐     $        ‐     $         ‐      $      319.00
 ANO    Our Lady Of Prompt Succor Church (Westwego)       $      591.67   $        ‐     $        ‐     $         ‐      $      591.67
 ANO             St. Patrick Church (Port Sulphur)        $    1,320.17   $        ‐     $        ‐     $         ‐      $    1,320.17
 ANO          Our Lady Of The Holy Rosary Church          $      319.00   $        ‐     $        ‐     $         ‐      $      319.00
 ANO          Our Lady Of The Holy Rosary Church          $      591.67   $        ‐     $        ‐     $         ‐      $      591.67
 ANO            Resurrection Of Our Lord Church           $    2,640.34   $        ‐     $        ‐     $         ‐      $    2,640.34
 ANO                     Sacred Heart Church              $      177.49   $        ‐     $        ‐     $         ‐      $      177.49
 ANO                     Sacred Heart Church              $      591.67   $        ‐     $        ‐     $         ‐      $      591.67
 ANO                       St. Thomas Church              $    1,320.17   $        ‐     $        ‐     $         ‐      $    1,320.17
 ANO               Sacred Heart Of Jesus Church           $      319.00   $        ‐     $        ‐     $         ‐      $      319.00
 ANO               Sacred Heart Of Jesus Church           $      591.67   $        ‐     $        ‐     $         ‐      $      591.67
 ANO                      St. Joseph Seminary             $      319.00   $        ‐     $        ‐     $         ‐      $      319.00
 ANO         St. John The Baptist Church (Paradis)        $    1,320.17   $        ‐     $        ‐     $         ‐      $    1,320.17
 ANO                      St. Joseph Seminary             $      591.67   $        ‐     $        ‐     $         ‐      $      591.67
 ANO                St. Anthony Church (Lafitte)          $      990.13   $        ‐     $        ‐     $         ‐      $      990.13
 ANO                St. Anthony Church (Lafitte)          $      239.25   $        ‐     $        ‐     $         ‐      $      239.25
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 58 of
                                           103
 ANO              St. Anthony Church (Lafitte)        $     443.75   $        ‐     $        ‐     $        ‐     $     443.75
 ANO             Sacred Heart Of Jesus Church         $   1,320.17   $        ‐     $        ‐     $        ‐     $   1,320.17
 ANO                    St. Bernard Church            $     319.00   $        ‐     $        ‐     $        ‐     $     319.00
 ANO                    St. Bernard Church            $     591.67   $        ‐     $        ‐     $        ‐     $     591.67
 ANO         St. Christopher The Martyr Church        $   1,320.17   $        ‐     $        ‐     $        ‐     $   1,320.17
 ANO         St. Christopher The Martyr Church        $     319.00   $        ‐     $        ‐     $        ‐     $     319.00
 ANO         St. Christopher The Martyr Church        $     591.67   $        ‐     $        ‐     $        ‐     $     591.67
 ANO          St. Gabriel The Archangel Church        $      80.84   $        ‐     $        ‐     $        ‐     $      80.84
 ANO       Our Lady Of Divine Providence Church       $   1,320.17   $        ‐     $        ‐     $        ‐     $   1,320.17
 ANO                   St. Gertrude Church            $     319.00   $        ‐     $        ‐     $        ‐     $     319.00
 ANO                   St. Gertrude Church            $     591.67   $        ‐     $        ‐     $        ‐     $     591.67
 ANO            St. Joseph The Worker Church          $   1,320.17   $        ‐     $        ‐     $        ‐     $   1,320.17
 ANO                 St. James Major Church           $     319.00   $        ‐     $        ‐     $        ‐     $     319.00
 ANO                 St. James Major Church           $     591.67   $        ‐     $        ‐     $        ‐     $     591.67
 ANO          Holy Family Church (Franklinton)        $   1,320.17   $        ‐     $        ‐     $        ‐     $   1,320.17
 ANO                    St. Joachim Church            $     319.00   $        ‐     $        ‐     $        ‐     $     319.00
 ANO                    St. Joachim Church            $     591.67   $        ‐     $        ‐     $        ‐     $     591.67
 ANO        St. John The Baptist Church (Edgard)      $   1,320.17   $        ‐     $        ‐     $        ‐     $   1,320.17
 ANO                  St. John Of The Cross           $     319.00   $        ‐     $        ‐     $        ‐     $     319.00
 ANO                  St. John Of The Cross           $     591.67   $        ‐     $        ‐     $        ‐     $     591.67
 ANO                   St. Gertrude Church            $   1,320.17   $        ‐     $        ‐     $        ‐     $   1,320.17
 ANO        St. John The Baptist Church (Edgard)      $     319.00   $        ‐     $        ‐     $        ‐     $     319.00
 ANO        St. John The Baptist Church (Edgard)      $     591.67   $        ‐     $        ‐     $        ‐     $     591.67
 ANO                      St. Mark Church             $   1,320.17   $        ‐     $        ‐     $        ‐     $   1,320.17
 ANO        St. John The Baptist Church (Paradis)     $     319.00   $        ‐     $        ‐     $        ‐     $     319.00
 ANO        St. John The Baptist Church (Paradis)     $     591.67   $        ‐     $        ‐     $        ‐     $     591.67
 ANO                 Good Shepherd Church             $   1,320.17   $        ‐     $        ‐     $        ‐     $   1,320.17
 ANO            St. Joseph The Worker Church          $     319.00   $        ‐     $        ‐     $        ‐     $     319.00
 ANO            St. Joseph The Worker Church          $     591.67   $        ‐     $        ‐     $        ‐     $     591.67
 ANO                St. Maria Goretti Church          $   2,640.34   $        ‐     $        ‐     $        ‐     $   2,640.34
 ANO                St. Maria Goretti Church          $     638.00   $        ‐     $        ‐     $        ‐     $     638.00
 ANO                St. Maria Goretti Church          $   1,183.34   $        ‐     $        ‐     $        ‐     $   1,183.34
 ANO              Transfiguration Of The Lord         $   1,320.17   $        ‐     $        ‐     $        ‐     $   1,320.17
 ANO                      St. Mark Church             $     319.00   $        ‐     $        ‐     $        ‐     $     319.00
 ANO                      St. Mark Church             $     591.67   $        ‐     $        ‐     $        ‐     $     591.67
 ANO              St. Theresa Of Avila Church         $   1,320.17   $        ‐     $        ‐     $        ‐     $   1,320.17
 ANO          St. Patrick Church (Port Sulphur)       $     319.00   $        ‐     $        ‐     $        ‐     $     319.00
 ANO          St. Patrick Church (Port Sulphur)       $     591.67   $        ‐     $        ‐     $        ‐     $     591.67
 ANO                 St. Peter Claver Church          $   1,320.17   $        ‐     $        ‐     $        ‐     $   1,320.17
 ANO               St. Peter Church (Reserve)         $     319.00   $        ‐     $        ‐     $        ‐     $     319.00
 ANO               St. Peter Church (Reserve)         $     591.67   $        ‐     $        ‐     $        ‐     $     591.67
 ANO                 Mater Dolorosa Church            $   1,320.17   $        ‐     $        ‐     $        ‐     $   1,320.17
 ANO                 St. Peter Claver Church          $     319.00   $        ‐     $        ‐     $        ‐     $     319.00
 ANO                 St. Peter Claver Church          $     591.67   $        ‐     $        ‐     $        ‐     $     591.67
 ANO                     St. Pius X Church            $   1,980.26   $        ‐     $        ‐     $        ‐     $   1,980.26
 ANO                     St. Pius X Church            $     159.50   $        ‐     $        ‐     $        ‐     $     159.50
 ANO                     St. Pius X Church            $     887.51   $        ‐     $        ‐     $        ‐     $     887.51
 ANO                St. Rita Church (Harahan)         $     813.34   $        ‐     $        ‐     $        ‐     $     813.34
 ANO                St. Rita Church (Harahan)         $     136.00   $        ‐     $        ‐     $        ‐     $     136.00
 ANO                St. Rita Church (Harahan)         $     373.79   $        ‐     $        ‐     $        ‐     $     373.79
 ANO                       Blessed Trinity            $   1,320.17   $        ‐     $        ‐     $        ‐     $   1,320.17
 ANO              St. Theresa Of Avila Church         $     319.00   $        ‐     $        ‐     $        ‐     $     319.00
 ANO              St. Theresa Of Avila Church         $     591.67   $        ‐     $        ‐     $        ‐     $     591.67
 ANO                 St. James Major Church           $   1,320.17   $        ‐     $        ‐     $        ‐     $   1,320.17
 ANO                    St. Thomas Church             $     319.00   $        ‐     $        ‐     $        ‐     $     319.00
 ANO                    St. Thomas Church             $     591.67   $        ‐     $        ‐     $        ‐     $     591.67
 ANO                    Holy Spirit Church            $   1,320.17   $        ‐     $        ‐     $        ‐     $   1,320.17
 ANO               Sts. Peter And Paul Church         $     319.00   $        ‐     $        ‐     $        ‐     $     319.00
 ANO               Sts. Peter And Paul Church         $     591.67   $        ‐     $        ‐     $        ‐     $     591.67
 ANO         The Visitation Of Our Lady Church        $   2,640.34   $        ‐     $        ‐     $        ‐     $   2,640.34
 ANO         The Visitation Of Our Lady Church        $     638.00   $        ‐     $        ‐     $        ‐     $     638.00
 ANO         The Visitation Of Our Lady Church        $   1,183.34   $        ‐     $        ‐     $        ‐     $   1,183.34
 ANO        Blessed Francis Xavier Seelos Church      $   1,320.17   $        ‐     $        ‐     $        ‐     $   1,320.17
 ANO              Transfiguration Of The Lord         $     319.00   $        ‐     $        ‐     $        ‐     $     319.00
 ANO              Transfiguration Of The Lord         $     591.67   $        ‐     $        ‐     $        ‐     $     591.67
 ANO        Blessed Francis Xavier Seelos Church      $        ‐     $     694.18   $        ‐     $        ‐     $     694.18
 ANO        Blessed Francis Xavier Seelos Church      $        ‐     $     156.67   $        ‐     $        ‐     $     156.67
 ANO        Blessed Francis Xavier Seelos Church      $        ‐     $     290.59   $        ‐     $        ‐     $     290.59
 ANO            St. Agnes Le Thi Thanh Church         $        ‐     $   1,320.17   $        ‐     $        ‐     $   1,320.17
 ANO                       Blessed Trinity            $        ‐     $     319.00   $        ‐     $        ‐     $     319.00
 ANO                       Blessed Trinity            $        ‐     $     591.67   $        ‐     $        ‐     $     591.67
 ANO       Our Lady Of Divine Providence Church       $        ‐     $     990.17   $        ‐     $        ‐     $     990.17
 ANO       Our Lady Of Divine Providence Church       $        ‐     $     208.00   $        ‐     $        ‐     $     208.00
 ANO       Our Lady Of Divine Providence Church       $        ‐     $     380.84   $        ‐     $        ‐     $     380.84
 ANO        Our Lady Of Lourdes Church (Slidell)      $        ‐     $   2,640.34   $        ‐     $        ‐     $   2,640.34
 ANO        Our Lady Of Lourdes Church (Slidell)      $        ‐     $     638.00   $        ‐     $        ‐     $     638.00
 ANO        Our Lady Of Lourdes Church (Slidell)      $        ‐     $   1,183.34   $        ‐     $        ‐     $   1,183.34
 ANO   Our Lady Of Prompt Succor Church (Chalmette)   $        ‐     $   2,640.34   $        ‐     $        ‐     $   2,640.34
 ANO   Our Lady Of Prompt Succor Church (Chalmette)   $        ‐     $     638.00   $        ‐     $        ‐     $     638.00
 ANO   Our Lady Of Prompt Succor Church (Chalmette)   $        ‐     $   1,183.34   $        ‐     $        ‐     $   1,183.34
 ANO                    St. Joachim Church            $        ‐     $   1,320.17   $        ‐     $        ‐     $   1,320.17
 ANO   Our Lady Of Prompt Succor Church (Westwego)    $        ‐     $     319.00   $        ‐     $        ‐     $     319.00
 ANO   Our Lady Of Prompt Succor Church (Westwego)    $        ‐     $     591.67   $        ‐     $        ‐     $     591.67
 ANO          Resurrection Of Our Lord Church         $        ‐     $   2,640.34   $        ‐     $        ‐     $   2,640.34
 ANO   Our Lady Of Prompt Succor Church (Westwego)    $        ‐     $   1,320.17   $        ‐     $        ‐     $   1,320.17
 ANO                   Sacred Heart Church            $        ‐     $     319.00   $        ‐     $        ‐     $     319.00
 ANO                   Sacred Heart Church            $        ‐     $     591.67   $        ‐     $        ‐     $     591.67
 ANO                    St. Bernard Church            $        ‐     $   1,320.17   $        ‐     $        ‐     $   1,320.17
 ANO            St. Agnes Le Thi Thanh Church         $        ‐     $     319.00   $        ‐     $        ‐     $     319.00
 ANO            St. Agnes Le Thi Thanh Church         $        ‐     $     591.67   $        ‐     $        ‐     $     591.67
 ANO               St. Peter Church (Reserve)         $        ‐     $   1,320.17   $        ‐     $        ‐     $   1,320.17
 ANO                    St. Bernard Church            $        ‐     $     319.00   $        ‐     $        ‐     $     319.00
 ANO                    St. Bernard Church            $        ‐     $     591.67   $        ‐     $        ‐     $     591.67
 ANO          St. Patrick Church (Port Sulphur)       $        ‐     $   1,320.17   $        ‐     $        ‐     $   1,320.17
 ANO                 St. James Major Church           $        ‐     $     319.00   $        ‐     $        ‐     $     319.00
 ANO                 St. James Major Church           $        ‐     $     591.67   $        ‐     $        ‐     $     591.67
 ANO                    St. Jerome Church             $        ‐     $      62.50   $        ‐     $        ‐     $      62.50
 ANO                    St. Thomas Church             $        ‐     $   1,320.17   $        ‐     $        ‐     $   1,320.17
 ANO                    St. Joachim Church            $        ‐     $     319.00   $        ‐     $        ‐     $     319.00
 ANO                    St. Joachim Church            $        ‐     $     591.67   $        ‐     $        ‐     $     591.67
 ANO                   Sacred Heart Church            $        ‐     $   1,320.17   $        ‐     $        ‐     $   1,320.17
 ANO        St. John The Baptist Church (Edgard)      $        ‐     $     319.00   $        ‐     $        ‐     $     319.00
 ANO        St. John The Baptist Church (Edgard)      $        ‐     $     591.67   $        ‐     $        ‐     $     591.67
 ANO                St. Maria Goretti Church          $        ‐     $   2,640.34   $        ‐     $        ‐     $   2,640.34
 ANO                St. Maria Goretti Church          $        ‐     $     638.00   $        ‐     $        ‐     $     638.00
 ANO                St. Maria Goretti Church          $        ‐     $   1,183.34   $        ‐     $        ‐     $   1,183.34
 ANO        St. John The Baptist Church (Edgard)      $        ‐     $   1,320.17   $        ‐     $        ‐     $   1,320.17
 ANO          St. Patrick Church (Port Sulphur)       $        ‐     $     319.00   $        ‐     $        ‐     $     319.00
 ANO          St. Patrick Church (Port Sulphur)       $        ‐     $     591.67   $        ‐     $        ‐     $     591.67
 ANO                 St. Peter Claver Church          $        ‐     $   1,320.17   $        ‐     $        ‐     $   1,320.17
 ANO               St. Peter Church (Reserve)         $        ‐     $     319.00   $        ‐     $        ‐     $     319.00
 ANO               St. Peter Church (Reserve)         $        ‐     $     591.67   $        ‐     $        ‐     $     591.67
 ANO                       Blessed Trinity            $        ‐     $   1,320.17   $        ‐     $        ‐     $   1,320.17
 ANO                 St. Peter Claver Church          $        ‐     $     319.00   $        ‐     $        ‐     $     319.00
 ANO                 St. Peter Claver Church          $        ‐     $     591.67   $        ‐     $        ‐     $     591.67
 ANO                     St. Pius X Church            $        ‐     $   1,980.26   $        ‐     $        ‐     $   1,980.26
 ANO                     St. Pius X Church            $        ‐     $     159.50   $        ‐     $        ‐     $     159.50
 ANO                     St. Pius X Church            $        ‐     $     887.51   $        ‐     $        ‐     $     887.51
 ANO                 St. James Major Church           $        ‐     $   1,320.17   $        ‐     $        ‐     $   1,320.17
 ANO                    St. Thomas Church             $        ‐     $     319.00   $        ‐     $        ‐     $     319.00
 ANO                    St. Thomas Church             $        ‐     $     591.67   $        ‐     $        ‐     $     591.67
 ANO         The Visitation Of Our Lady Church        $        ‐     $   2,640.34   $        ‐     $        ‐     $   2,640.34
 ANO         The Visitation Of Our Lady Church        $        ‐     $     638.00   $        ‐     $        ‐     $     638.00
 ANO         The Visitation Of Our Lady Church        $        ‐     $   1,183.34   $        ‐     $        ‐     $   1,183.34
 ANO        Our Lady Of Lourdes Church (Slidell)      $        ‐     $        ‐     $   2,640.34   $        ‐     $   2,640.34
 ANO        Our Lady Of Lourdes Church (Slidell)      $        ‐     $        ‐     $     638.00   $        ‐     $     638.00
 ANO        Our Lady Of Lourdes Church (Slidell)      $        ‐     $        ‐     $   1,058.34   $        ‐     $   1,058.34
 ANO            St. Agnes Le Thi Thanh Church         $        ‐     $        ‐     $   1,320.17   $        ‐     $   1,320.17
 ANO   Our Lady Of Prompt Succor Church (Westwego)    $        ‐     $        ‐     $     319.00   $        ‐     $     319.00
 ANO   Our Lady Of Prompt Succor Church (Westwego)    $        ‐     $        ‐     $     529.17   $        ‐     $     529.17
 ANO          Resurrection Of Our Lord Church         $        ‐     $        ‐     $   2,515.34   $        ‐     $   2,515.34
 ANO                   Sacred Heart Church            $        ‐     $        ‐     $     636.62   $        ‐     $     636.62
 ANO                    St. Joachim Church            $        ‐     $        ‐     $   1,320.17   $        ‐     $   1,320.17
 ANO            St. Agnes Le Thi Thanh Church         $        ‐     $        ‐     $     319.00   $        ‐     $     319.00
 ANO            St. Agnes Le Thi Thanh Church         $        ‐     $        ‐     $     529.17   $        ‐     $     529.17
 ANO   Our Lady Of Prompt Succor Church (Westwego)    $        ‐     $        ‐     $   1,320.17   $        ‐     $   1,320.17
 ANO                    St. Bernard Church            $        ‐     $        ‐     $     319.00   $        ‐     $     319.00
 ANO                    St. Bernard Church            $        ‐     $        ‐     $     529.17   $        ‐     $     529.17
 ANO                    St. Bernard Church            $        ‐     $        ‐     $   1,320.17   $        ‐     $   1,320.17
 ANO                 St. James Major Church           $        ‐     $        ‐     $     319.00   $        ‐     $     319.00
 ANO                 St. James Major Church           $        ‐     $        ‐     $     529.17   $        ‐     $     529.17
 ANO                    St. Thomas Church             $        ‐     $        ‐     $   1,320.17   $        ‐     $   1,320.17
 ANO                    St. Joachim Church            $        ‐     $        ‐     $     319.00   $        ‐     $     319.00
 ANO                    St. Joachim Church            $        ‐     $        ‐     $     529.17   $        ‐     $     529.17
 ANO        St. John The Baptist Church (Edgard)      $        ‐     $        ‐     $   1,268.53   $        ‐     $   1,268.53
 ANO                St. Maria Goretti Church          $        ‐     $        ‐     $   2,640.34   $        ‐     $   2,640.34
 ANO                St. Maria Goretti Church          $        ‐     $        ‐     $     638.00   $        ‐     $     638.00
 ANO                St. Maria Goretti Church          $        ‐     $        ‐     $   1,058.34   $        ‐     $   1,058.34
 ANO               St. Peter Church (Reserve)         $        ‐     $        ‐     $      73.03   $        ‐     $      73.03
 ANO                 St. Peter Claver Church          $        ‐     $        ‐     $   1,320.17   $        ‐     $   1,320.17
 ANO                 St. Peter Claver Church          $        ‐     $        ‐     $     319.00   $        ‐     $     319.00
 ANO                 St. Peter Claver Church          $        ‐     $        ‐     $     529.17   $        ‐     $     529.17
 ANO                 St. James Major Church           $        ‐     $        ‐     $   1,320.17   $        ‐     $   1,320.17
 ANO                    St. Thomas Church             $        ‐     $        ‐     $     319.00   $        ‐     $     319.00
 ANO                    St. Thomas Church             $        ‐     $        ‐     $     529.17   $        ‐     $     529.17
 ANO                    St. Bernard Church            $        ‐     $        ‐     $        ‐     $   1,320.17   $   1,320.17   Statement sent; general allowance recorded
 ANO        Our Lady Of Lourdes Church (Slidell)      $        ‐     $        ‐     $        ‐     $     579.06   $     579.06   Statement sent; general allowance recorded
 ANO          Resurrection Of Our Lord Church         $        ‐     $        ‐     $        ‐     $   2,640.34   $   2,640.34   Statement sent; general allowance recorded
 ANO                   Sacred Heart Church            $        ‐     $        ‐     $        ‐     $   1,175.42   $   1,175.42   Statement sent; general allowance recorded
 ANO                  Annunciation Church             $        ‐     $        ‐     $        ‐     $   1,320.17   $   1,320.17   Statement sent; general allowance recorded
 ANO                    St. Bernard Church            $        ‐     $        ‐     $        ‐     $     319.00   $     319.00   Statement sent; general allowance recorded
 ANO                    St. Bernard Church            $        ‐     $        ‐     $        ‐     $     591.67   $     591.67   Statement sent; general allowance recorded
 ANO                 St. Peter Claver Church          $        ‐     $        ‐     $        ‐     $   1,320.17   $   1,320.17   Statement sent; general allowance recorded
 ANO                 St. James Major Church           $        ‐     $        ‐     $        ‐     $     319.00   $     319.00   Statement sent; general allowance recorded
 ANO                 St. James Major Church           $        ‐     $        ‐     $        ‐     $     591.67   $     591.67   Statement sent; general allowance recorded
 ANO        St. John The Baptist Church (Paradis)     $        ‐     $        ‐     $        ‐     $     820.17   $     820.17   Statement sent; general allowance recorded
 ANO        St. John The Baptist Church (Paradis)     $        ‐     $        ‐     $        ‐     $     219.87   $     219.87   Statement sent; general allowance recorded
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 59 of
                                           103
 ANO                   St. Maria Goretti Church            $         ‐     $   ‐   $   ‐   $   2,640.34   $    2,640.34   Statement sent; general allowance recorded
 ANO                   St. Maria Goretti Church            $         ‐     $   ‐   $   ‐   $     638.00   $      638.00   Statement sent; general allowance recorded
 ANO                   St. Maria Goretti Church            $         ‐     $   ‐   $   ‐   $   1,183.34   $    1,183.34   Statement sent; general allowance recorded
 ANO                   St. James Major Church              $         ‐     $   ‐   $   ‐   $   1,320.17   $    1,320.17   Statement sent; general allowance recorded
 ANO                    St. Peter Claver Church            $         ‐     $   ‐   $   ‐   $     319.00   $      319.00   Statement sent; general allowance recorded
 ANO                    St. Peter Claver Church            $         ‐     $   ‐   $   ‐   $     591.67   $      591.67   Statement sent; general allowance recorded
 ANO          CATHOLIC FOUNDATION ‐ 100.83CF               $    2,865.51   $   ‐   $   ‐   $        ‐     $    2,865.51
 ANO                          Clarion Herald               $    5,869.30   $   ‐   $   ‐   $        ‐     $    5,869.30
 ANO                Notre Dame Health System               $   11,115.67   $   ‐   $   ‐   $        ‐     $   11,115.67
 ANO   Second Harvest Food Bank Of Greater New Orleans     $    1,000.00   $   ‐   $   ‐   $        ‐     $    1,000.00
 ANO                Notre Dame Health System               $         ‐     $   ‐   $   ‐   $     400.00   $      400.00   Statement sent; general allowance recorded
 ANO                           Divine Mercy                $       25.25   $   ‐   $   ‐   $        ‐     $       25.25
 ANO           Hanmaum Korean Catholic Church              $       25.25   $   ‐   $   ‐   $        ‐     $       25.25
 ANO               Mary Queen Of Peace Church              $       25.25   $   ‐   $   ‐   $        ‐     $       25.25
 ANO          Our Lady Of Lourdes Church (Slidell)         $       25.25   $   ‐   $   ‐   $        ‐     $       25.25
 ANO                          St. Ann Church               $       25.25   $   ‐   $   ‐   $        ‐     $       25.25
 ANO                       St. Anselm Church               $       25.25   $   ‐   $   ‐   $        ‐     $       25.25
 ANO                  St. Francis Xavier Church            $       25.25   $   ‐   $   ‐   $        ‐     $       25.25
 ANO                   St. James Major Church              $       25.25   $   ‐   $   ‐   $        ‐     $       25.25
 ANO            St. Matthew The Apostle Church             $       25.25   $   ‐   $   ‐   $        ‐     $       25.25
 ANO               St. Peter Church (Covington)            $       25.25   $   ‐   $   ‐   $        ‐     $       25.25
 ANO                  St. Rita Church (Harahan)            $       25.25   $   ‐   $   ‐   $        ‐     $       25.25
 ANO                       St. Thomas Church               $       25.25   $   ‐   $   ‐   $        ‐     $       25.25
 ANO                 Sts. Peter And Paul Church            $       25.25   $   ‐   $   ‐   $        ‐     $       25.25
 ANO           The Visitation Of Our Lady Church           $       25.25   $   ‐   $   ‐   $        ‐     $       25.25
 ANO                      St. Joseph Seminary              $       25.25   $   ‐   $   ‐   $        ‐     $       25.25
 ANO                   St. James Major Church              $       25.25   $   ‐   $   ‐   $        ‐     $       25.25
 ANO                       St. Thomas Church               $       25.25   $   ‐   $   ‐   $        ‐     $       25.25
 ANO           The Visitation Of Our Lady Church           $       25.25   $   ‐   $   ‐   $        ‐     $       25.25
 ANO                  St. Francis Xavier Church            $      159.72   $   ‐   $   ‐   $        ‐     $      159.72
 ANO            St. Matthew The Apostle Church             $      185.73   $   ‐   $   ‐   $        ‐     $      185.73
 ANO                      St. Joseph Seminary              $      213.50   $   ‐   $   ‐   $        ‐     $      213.50
 ANO          Our Lady Of Lourdes Church (Slidell)         $      249.44   $   ‐   $   ‐   $        ‐     $      249.44
 ANO                          St. Ann Church               $      249.44   $   ‐   $   ‐   $        ‐     $      249.44
 ANO                       St. Anselm Church               $      250.44   $   ‐   $   ‐   $        ‐     $      250.44
 ANO                       St. Thomas Church               $      255.04   $   ‐   $   ‐   $        ‐     $      255.04
 ANO           The Visitation Of Our Lady Church           $      258.56   $   ‐   $   ‐   $        ‐     $      258.56
 ANO                      St. Joseph Seminary              $      280.59   $   ‐   $   ‐   $        ‐     $      280.59
 ANO                           Divine Mercy                $      600.00   $   ‐   $   ‐   $        ‐     $      600.00
 ANO               Mary Queen Of Peace Church              $      600.00   $   ‐   $   ‐   $        ‐     $      600.00
 ANO          Our Lady Of Lourdes Church (Slidell)         $      600.00   $   ‐   $   ‐   $        ‐     $      600.00
 ANO                          St. Ann Church               $      600.00   $   ‐   $   ‐   $        ‐     $      600.00
 ANO                       St. Anselm Church               $      600.00   $   ‐   $   ‐   $        ‐     $      600.00
 ANO                  St. Francis Xavier Church            $      600.00   $   ‐   $   ‐   $        ‐     $      600.00
 ANO                   St. James Major Church              $      600.00   $   ‐   $   ‐   $        ‐     $      600.00
 ANO            St. Matthew The Apostle Church             $      600.00   $   ‐   $   ‐   $        ‐     $      600.00
 ANO               St. Peter Church (Covington)            $      600.00   $   ‐   $   ‐   $        ‐     $      600.00
 ANO                  St. Rita Church (Harahan)            $      600.00   $   ‐   $   ‐   $        ‐     $      600.00
 ANO                       St. Thomas Church               $      600.00   $   ‐   $   ‐   $        ‐     $      600.00
 ANO                 Sts. Peter And Paul Church            $      600.00   $   ‐   $   ‐   $        ‐     $      600.00
 ANO           The Visitation Of Our Lady Church           $      600.00   $   ‐   $   ‐   $        ‐     $      600.00
 ANO                      St. Joseph Seminary              $      600.00   $   ‐   $   ‐   $        ‐     $      600.00
 ANO                   St. James Major Church              $      600.00   $   ‐   $   ‐   $        ‐     $      600.00
 ANO                       St. Thomas Church               $      600.00   $   ‐   $   ‐   $        ‐     $      600.00
 ANO           The Visitation Of Our Lady Church           $      600.00   $   ‐   $   ‐   $        ‐     $      600.00
 ANO                    Notre Dame Seminary                $      750.00   $   ‐   $   ‐   $        ‐     $      750.00
 ANO                    Notre Dame Seminary                $      750.00   $   ‐   $   ‐   $        ‐     $      750.00
 ANO                Notre Dame Health System               $    1,101.28   $   ‐   $   ‐   $        ‐     $    1,101.28
 ANO                Notre Dame Health System               $    1,630.00   $   ‐   $   ‐   $        ‐     $    1,630.00
 ANO                           Divine Mercy                $    1,769.00   $   ‐   $   ‐   $        ‐     $    1,769.00
 ANO            St. Matthew The Apostle Church             $    1,769.00   $   ‐   $   ‐   $        ‐     $    1,769.00
 ANO                  St. Rita Church (Harahan)            $    1,769.00   $   ‐   $   ‐   $        ‐     $    1,769.00
 ANO               St. Peter Church (Covington)            $    1,776.00   $   ‐   $   ‐   $        ‐     $    1,776.00
 ANO          Our Lady Of Lourdes Church (Slidell)         $    1,782.00   $   ‐   $   ‐   $        ‐     $    1,782.00
 ANO                          St. Ann Church               $    1,782.00   $   ‐   $   ‐   $        ‐     $    1,782.00
 ANO                  St. Francis Xavier Church            $    1,782.00   $   ‐   $   ‐   $        ‐     $    1,782.00
 ANO                       St. Anselm Church               $    1,789.00   $   ‐   $   ‐   $        ‐     $    1,789.00
 ANO                       St. Thomas Church               $    1,822.00   $   ‐   $   ‐   $        ‐     $    1,822.00
 ANO                       St. Thomas Church               $    1,822.00   $   ‐   $   ‐   $        ‐     $    1,822.00
 ANO           Hanmaum Korean Catholic Church              $      754.73   $   ‐   $   ‐   $        ‐     $      754.73
 ANO           The Visitation Of Our Lady Church           $    1,847.00   $   ‐   $   ‐   $        ‐     $    1,847.00
 ANO           The Visitation Of Our Lady Church           $    1,847.00   $   ‐   $   ‐   $        ‐     $    1,847.00
 ANO                 Sts. Peter And Paul Church            $    1,896.00   $   ‐   $   ‐   $        ‐     $    1,896.00
 ANO               Mary Queen Of Peace Church              $    1,945.00   $   ‐   $   ‐   $        ‐     $    1,945.00
 ANO                   St. James Major Church              $    1,955.00   $   ‐   $   ‐   $        ‐     $    1,955.00
 ANO                   St. James Major Church              $    1,955.00   $   ‐   $   ‐   $        ‐     $    1,955.00
 ANO                      St. Joseph Seminary              $    1,993.00   $   ‐   $   ‐   $        ‐     $    1,993.00
 ANO                          Blessed Trinity              $         ‐     $   ‐   $   ‐   $   2,401.00   $    2,401.00   Statement sent; general allowance recorded
 ANO                Notre Dame Health System               $    6,472.44   $   ‐   $   ‐   $        ‐     $    6,472.44
 ANO                Notre Dame Health System               $    7,879.92   $   ‐   $   ‐   $        ‐     $    7,879.92
 ANO                       St. Thomas Church               $         ‐     $   ‐   $   ‐   $   8,577.00   $    8,577.00   Statement sent; general allowance recorded
 ANO           Hanmaum Korean Catholic Church              $    1,847.00   $   ‐   $   ‐   $        ‐     $    1,847.00
 ANO           Hanmaum Korean Catholic Church              $         ‐     $   ‐   $   ‐   $   5,222.85   $    5,222.85   Statement sent; general allowance recorded
 ANO           Hanmaum Korean Catholic Church              $         ‐     $   ‐   $   ‐   $     350.00   $      350.00   Statement sent; general allowance recorded
 ANO            Center Of Jesus The Lord Church            $         ‐     $   ‐   $   ‐   $     350.00   $      350.00   Statement sent; general allowance recorded
 ANO          St. John The Baptist Church (Edgard)         $         ‐     $   ‐   $   ‐   $     350.00   $      350.00   Statement sent; general allowance recorded
 ANO         Our Lady Of Divine Providence Church          $         ‐     $   ‐   $   ‐   $   3,850.00   $    3,850.00   Statement sent; general allowance recorded
 ANO                 Our Lady Of Grace Church              $         ‐     $   ‐   $   ‐   $     700.00   $      700.00   Statement sent; general allowance recorded
 ANO                   St. Bonaventure Church              $         ‐     $   ‐   $   ‐   $   1,050.00   $    1,050.00   Statement sent; general allowance recorded
 ANO            St. Gabriel The Archangel Church           $         ‐     $   ‐   $   ‐   $     350.00   $      350.00   Statement sent; general allowance recorded
 ANO                      St. Joachim Church               $         ‐     $   ‐   $   ‐   $   1,400.00   $    1,400.00   Statement sent; general allowance recorded
 ANO                    St. Peter Claver Church            $         ‐     $   ‐   $   ‐   $   1,400.00   $    1,400.00   Statement sent; general allowance recorded
 ANO           The Visitation Of Our Lady Church           $         ‐     $   ‐   $   ‐   $   1,050.00   $    1,050.00   Statement sent; general allowance recorded
 ANO                   St. Bonaventure Church              $         ‐     $   ‐   $   ‐   $     350.00   $      350.00   Statement sent; general allowance recorded
 ANO            St. Gabriel The Archangel Church           $         ‐     $   ‐   $   ‐   $   1,050.00   $    1,050.00   Statement sent; general allowance recorded
 ANO     Our Lady of Prompt Succor School (Chalmette)      $   10,320.00   $   ‐   $   ‐   $        ‐     $   10,320.00
 ANO                St. Peter School (Covington)           $   23,190.00   $   ‐   $   ‐   $        ‐     $   23,190.00
 ANO                St. Anthony School (Gretna)            $    7,890.00   $   ‐   $   ‐   $        ‐     $    7,890.00
 ANO                  St. Rita School (Harahan)            $   10,320.00   $   ‐   $   ‐   $        ‐     $   10,320.00
 ANO       Immaculate Conception School (Marrero)          $   16,770.00   $   ‐   $   ‐   $        ‐     $   16,770.00
 ANO           Our Lady of Lourdes School (Slidell)        $   10,770.00   $   ‐   $   ‐   $        ‐     $   10,770.00
 ANO     Our Lady of Prompt Succor School (Westwego)       $    6,750.00   $   ‐   $   ‐   $        ‐     $    6,750.00
 ANO                     Academy of Our Lady               $   15,030.00   $   ‐   $   ‐   $        ‐     $   15,030.00
 ANO               Academy of the Sacred Heart             $   22,230.00   $   ‐   $   ‐   $        ‐     $   22,230.00
 ANO                      St. Mary's Academy               $   12,960.00   $   ‐   $   ‐   $        ‐     $   12,960.00
 ANO                       Ursuline Academy                $   15,840.00   $   ‐   $   ‐   $        ‐     $   15,840.00
 ANO                     Annunciation School               $    2,910.00   $   ‐   $   ‐   $        ‐     $    2,910.00
 ANO            Archbishop Chapelle High School            $   17,100.00   $   ‐   $   ‐   $        ‐     $   17,100.00
 ANO             Archbishop Hannan High School             $   18,570.00   $   ‐   $   ‐   $        ‐     $   18,570.00
 ANO            Archbishop Rummel High School              $   19,800.00   $   ‐   $   ‐   $        ‐     $   19,800.00
 ANO              Archbishop Shaw High School              $   11,820.00   $   ‐   $   ‐   $        ‐     $   11,820.00
 ANO                Brother Martin High School             $   32,430.00   $   ‐   $   ‐   $        ‐     $   32,430.00
 ANO    Our Lady of Perpetual Help School (Belle Chasse)   $    5,160.00   $   ‐   $   ‐   $        ‐     $    5,160.00
 ANO             Good Shepherd Nativity Mission            $    8,700.00   $   ‐   $   ‐   $        ‐     $    8,700.00
 ANO                        Holy Cross School              $   27,360.00   $   ‐   $   ‐   $        ‐     $   27,360.00
 ANO               Mary Queen of Peace School              $   12,780.00   $   ‐   $   ‐   $        ‐     $   12,780.00
 ANO                   Mount Carmel Academy                $   36,930.00   $   ‐   $   ‐   $        ‐     $   36,930.00
 ANO                     OLPH School (Kenner)              $    4,260.00   $   ‐   $   ‐   $        ‐     $    4,260.00
 ANO               Pope John Paul II High School           $    9,210.00   $   ‐   $   ‐   $        ‐     $    9,210.00
 ANO             Resurrection of Our Lord School           $    9,660.00   $   ‐   $   ‐   $        ‐     $    9,660.00
 ANO               Ascension of Our Lord School            $    5,160.00   $   ‐   $   ‐   $        ‐     $    5,160.00
 ANO                      Cabrini High School              $   10,500.00   $   ‐   $   ‐   $        ‐     $   10,500.00
 ANO                  Christian Brothers School            $   23,670.00   $   ‐   $   ‐   $        ‐     $   23,670.00
 ANO                       De La Salle School              $   16,530.00   $   ‐   $   ‐   $        ‐     $   16,530.00
 ANO                 Holy Name of Jesus School             $   14,220.00   $   ‐   $   ‐   $        ‐     $   14,220.00
 ANO                       Jesuit High School              $   38,790.00   $   ‐   $   ‐   $        ‐     $   38,790.00
 ANO                Our Lady of the Lake School            $   20,100.00   $   ‐   $   ‐   $        ‐     $   20,100.00
 ANO                     St. Alphonsus School              $    6,750.00   $   ‐   $   ‐   $        ‐     $    6,750.00
 ANO              St. Andrew the Apostle School            $   10,830.00   $   ‐   $   ‐   $        ‐     $   10,830.00
 ANO                   St. Angela Merici School            $   10,710.00   $   ‐   $   ‐   $        ‐     $   10,710.00
 ANO                       St. Benilde School              $    8,550.00   $   ‐   $   ‐   $        ‐     $    8,550.00
 ANO               St. Catherine of Siena School           $   25,950.00   $   ‐   $   ‐   $        ‐     $   25,950.00
 ANO                    St. Christopher School             $   13,740.00   $   ‐   $   ‐   $        ‐     $   13,740.00
 ANO                St. Clement of Rome School             $   13,380.00   $   ‐   $   ‐   $        ‐     $   13,380.00
 ANO                        St. Cletus School              $    9,630.00   $   ‐   $   ‐   $        ‐     $    9,630.00
 ANO                       St. Dominic School              $   22,380.00   $   ‐   $   ‐   $        ‐     $   22,380.00
 ANO              St. Elizabeth Ann Seton School           $   13,890.00   $   ‐   $   ‐   $        ‐     $   13,890.00
 ANO                   St. Francis Xavier School           $   11,820.00   $   ‐   $   ‐   $        ‐     $   11,820.00
 ANO                     St. Joan of Arc School            $    8,700.00   $   ‐   $   ‐   $        ‐     $    8,700.00
 ANO                   St. Leo the Great School            $    8,370.00   $   ‐   $   ‐   $        ‐     $    8,370.00
 ANO                  St. Margaret Mary School             $   10,860.00   $   ‐   $   ‐   $        ‐     $   10,860.00
 ANO                         St. Paul's School             $   26,550.00   $   ‐   $   ‐   $        ‐     $   26,550.00
 ANO                     St. Philip Neri School            $   20,550.00   $   ‐   $   ‐   $        ‐     $   20,550.00
 ANO                         St. Pius X School             $   17,850.00   $   ‐   $   ‐   $        ‐     $   17,850.00
 ANO                          St. Rita School              $    5,190.00   $   ‐   $   ‐   $        ‐     $    5,190.00
 ANO                       St. Stephen School              $    5,820.00   $   ‐   $   ‐   $        ‐     $    5,820.00
 ANO                        Stuart Hall School             $   10,170.00   $   ‐   $   ‐   $        ‐     $   10,170.00
 ANO               Visitation of Our Lady School           $   12,180.00   $   ‐   $   ‐   $        ‐     $   12,180.00
 ANO                 St Katharine Drexel School            $    3,870.00   $   ‐   $   ‐   $        ‐     $    3,870.00
 ANO                          St. Ann School               $   24,510.00   $   ‐   $   ‐   $        ‐     $   24,510.00
 ANO                  St. Augustine High School            $   14,730.00   $   ‐   $   ‐   $        ‐     $   14,730.00
 ANO               St. Benedict the Moor School            $    1,530.00   $   ‐   $   ‐   $        ‐     $    1,530.00
 ANO               St. Charles Borromeo School             $   12,090.00   $   ‐   $   ‐   $        ‐     $   12,090.00
 ANO             St. Charles Catholic High School          $   11,550.00   $   ‐   $   ‐   $        ‐     $   11,550.00
 ANO            St. Edward the Confessor School            $   11,820.00   $   ‐   $   ‐   $        ‐     $   11,820.00
 ANO                St. Joan of Arc School ‐ N.O.          $    5,250.00   $   ‐   $   ‐   $        ‐     $    5,250.00
 ANO              St. Louis King of France School          $   11,850.00   $   ‐   $   ‐   $        ‐     $   11,850.00
 ANO                 St. Mary Magdalen School              $    4,680.00   $   ‐   $   ‐   $        ‐     $    4,680.00
 ANO            St. Mary's Dominican High School           $   26,640.00   $   ‐   $   ‐   $        ‐     $   26,640.00
 ANO             St. Matthew the Apostle School            $   10,380.00   $   ‐   $   ‐   $        ‐     $   10,380.00
 ANO                 St. Michael Special School            $    6,330.00   $   ‐   $   ‐   $        ‐     $    6,330.00
 ANO                 St. Peter School (Reserve)            $    3,570.00   $   ‐   $   ‐   $        ‐     $    3,570.00
 ANO                        St. Rosalie School             $    6,990.00   $   ‐   $   ‐   $        ‐     $    6,990.00
 ANO                 St. Scholastica High School           $   14,970.00   $   ‐   $   ‐   $        ‐     $   14,970.00
 ANO                     St. Therese Academy               $    4,020.00   $   ‐   $   ‐   $        ‐     $    4,020.00
 ANO                        St. Martha Parish              $         ‐     $   ‐   $   ‐   $     400.00   $      400.00   Statement sent; general allowance recorded
 ANO                   Christopher Homes, Inc.             $         ‐     $   ‐   $   ‐   $   5,717.00   $    5,717.00   Payment anticipated upon refinance
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 60 of
                                           103
 ANO                            Unknown             $      (30.00)                                                     $      (30.00)
 ANO        Hanmaum Korean Catholic Church          $     (359.74)   $         ‐      $         ‐      $        ‐      $     (359.74)
 ANO                   Academy of Our Lady          $    1,690.50    $    1,688.50    $         ‐      $        ‐      $    3,379.00
 ANO                   Annunciation School          $    1,043.75    $    3,131.25    $         ‐      $        ‐      $    4,175.00
 ANO         Archbishop Chapelle High School        $    1,254.00    $    1,254.00    $         ‐      $        ‐      $    2,508.00
 ANO          Archbishop Hannan High School         $    1,367.50    $    1,367.50    $         ‐      $        ‐      $    2,735.00
 ANO         Archbishop Rummel High School          $    1,580.00    $    1,576.25    $         ‐      $        ‐      $    3,156.25
 ANO            Archbishop Shaw High School         $    1,151.50    $    9,275.00    $         ‐      $        ‐      $   10,426.50
 ANO             Ascension of Our Lord School       $    1,059.50    $    3,147.75    $         ‐      $        ‐      $    4,207.25
 ANO             Assumption of Mary Mission         $       32.25    $        6.75    $         ‐      $        ‐      $       39.00
 ANO                   Blessed Trinity Parish       $       15.00    $         ‐      $      105.00    $      95.25    $      215.25    Statements sent monthly; general allowance recorded
 ANO                    Cabrini High School         $    3,709.75    $    3,719.00    $         ‐      $        ‐      $    7,428.75
 ANO                      Catholic Charities        $   11,117.54    $   35,625.50    $         ‐      $     149.00    $   46,892.04    Statements sent monthly; general allowance recorded
 ANO                   Catholic Foundation          $      569.74    $    1,664.12    $         ‐      $        ‐      $    2,233.86
 ANO                          Cemeteries            $      556.89    $    1,642.50    $         ‐      $        ‐      $    2,199.39
 ANO                 Center of Jesus the Lord       $       15.00    $         ‐      $         ‐      $     107.04    $      122.04    Statements sent monthly; general allowance recorded
 ANO                 Chateau de Notre Dame          $   49,457.55    $   13,077.41    $         ‐      $        ‐      $   62,534.96
 ANO           Chateau De Notre Dame ‐ LTHC         $   12,537.50    $   12,537.50    $         ‐      $   1,147.99    $   26,222.99    Statements sent monthly; general allowance recorded
 ANO                  CHI‐Annunciation Inn          $      275.00    $      806.75    $         ‐      $        ‐      $    1,081.75
 ANO                    CHI‐Christopher Inn         $      262.25    $      812.75    $         ‐      $   1,604.03    $    2,679.03    Statements sent monthly; general allowance recorded
 ANO                         CHI‐Delille Inn        $      249.75    $      763.25    $         ‐      $        ‐      $    1,013.00
 ANO          CHI‐Mater Dolorosa Apartments         $      275.75    $      925.25    $         ‐      $        ‐      $    1,201.00
 ANO                    CHI‐Metairie Manor          $      301.00    $      960.75    $         ‐      $        ‐      $    1,261.75
 ANO                  CHI‐Metairie Manor III        $      233.00    $      699.00    $         ‐      $        ‐      $      932.00
 ANO                  CHI‐Metairie Manor IV         $      390.00    $    1,170.00    $         ‐      $        ‐      $    1,560.00
 ANO                     CHI‐Nazareth Inn I         $      268.00    $      798.00    $         ‐      $        ‐      $    1,066.00
 ANO                     CHI‐Nazareth Inn II        $      243.75    $      731.25    $         ‐      $        ‐      $      975.00
 ANO                     CHI‐Place Dubourg          $      267.75    $      851.25    $      (35.00)   $        ‐      $    1,084.00
 ANO                  CHI‐Rouquette Lodge I         $      532.00    $    1,998.00    $         ‐      $        ‐      $    2,530.00
 ANO                 CHI‐Rouquette Lodge III        $      346.50    $    1,039.50    $         ‐      $        ‐      $    1,386.00
 ANO                 CHI‐Rouquette Lodge IV         $      366.00    $    1,098.00    $         ‐      $        ‐      $    1,464.00
 ANO                     CHI‐St. Ann Square         $      226.50    $      225.75    $         ‐      $        ‐      $      452.25
 ANO                  CHI‐St. Bernard Manor         $      295.25    $      885.75    $         ‐      $        ‐      $    1,181.00
 ANO           CHI‐St. John Berchmans Manor         $      255.50    $      774.75    $         ‐      $        ‐      $    1,030.25
 ANO                   CHI‐St. Martin House         $      229.50    $      238.50    $         ‐      $     238.50    $      706.50    Statements sent monthly; general allowance recorded
 ANO                   CHI‐St. Martin Manor         $      532.75    $      806.25    $         ‐      $    (200.10)   $    1,138.90    N/A ‐ Credit
 ANO                     CHI‐St. Teresa Villa       $      287.75    $      863.25    $         ‐      $   1,704.75    $    2,855.75    Statements sent monthly; general allowance recorded
 ANO                CHI‐Villa St. Maurice I & II    $      284.25    $      876.75    $         ‐      $   1,693.50    $    2,854.50    Statements sent monthly; general allowance recorded
 ANO                   CHI‐Wynhoven I & II          $      329.00    $      987.00    $         ‐      $        ‐      $    1,316.00
 ANO                   Christ the King Parish       $        3.75    $       11.25    $         ‐      $        ‐      $       15.00
 ANO     Christian Brothers ‐ St. Anthony Campus    $    1,068.00    $    3,204.00    $         ‐      $        ‐      $    4,272.00
 ANO                Christian Brothers School       $    1,608.75    $    4,828.50    $         ‐      $        ‐      $    6,437.25
 ANO                    Christopher Homes           $    1,852.00    $    5,694.00    $         ‐      $     476.50    $    8,022.50    Statements sent monthly; general allowance recorded
 ANO                         Clarion Herald         $      734.75    $      500.25    $         ‐      $        ‐      $    1,235.00
 ANO   Corpus Christi‐Epiphany Community Center     $      310.75    $    1,040.25    $         ‐      $        ‐      $    1,351.00
 ANO                  De La Salle High School       $    1,010.75    $    3,032.25    $         ‐      $        ‐      $    4,043.00
 ANO                    Divine Mercy Parish         $      (65.00)   $         ‐      $         ‐      $        ‐      $      (65.00)
 ANO          E.D. White Catholic High School       $         ‐      $         ‐      $         ‐      $     385.00    $      385.00    Statements sent monthly; general allowance recorded
 ANO      Good Shepherd Parish at St. Stephen       $       88.50    $       55.50    $         ‐      $        ‐      $      144.00
 ANO          Holy Family Church, Franklinton       $        8.00    $       24.00    $         ‐      $        ‐      $       32.00
 ANO                Holy Name of Jesus Parish       $      859.72    $    1,733.75    $         ‐      $        ‐      $    2,593.47
 ANO               Holy Name of Jesus School        $    1,247.75    $    3,557.00    $    1,921.00    $     190.00    $    6,915.75    Statements sent monthly; general allowance recorded
 ANO                Holy Name of Mary Parish        $        5.25    $       15.75    $         ‐      $        ‐      $       21.00
 ANO                     Holy Spirit Church         $        5.00    $         ‐      $         ‐      $        ‐      $        5.00
 ANO               Houma‐Thibodaux Diocese          $    4,644.25    $   13,911.00    $   26,350.00    $   8,112.54    $   53,017.79    Statements sent monthly; general allowance recorded
 ANO           Immaculate Conception Parish         $       52.25    $       71.75    $     (536.75)   $    (397.75)   $     (810.50)   N/A ‐ Credit
 ANO      Immaculate Conception Parish (N.O.)       $        3.00    $        9.00    $         ‐      $        ‐      $       12.00
 ANO           Immaculate Conception School         $      723.25    $      630.25    $      148.75    $   5,843.75    $    7,346.00    Statements sent monthly; general allowance recorded
 ANO                     Jesuit High School         $    1,500.00    $    4,500.00    $         ‐      $        ‐      $    6,000.00
 ANO             Mary Queen of Peace School         $    1,177.75    $    3,488.25    $         ‐      $        ‐      $    4,666.00
 ANO          Mater Dolorosa Catholic Church        $        5.00    $       15.00    $         ‐      $        ‐      $       20.00
 ANO                 Most Holy Trinity Parish       $      194.75    $      744.25    $         ‐      $        ‐      $      939.00
 ANO                 Notre Dame Home Care           $       32.00    $       96.00    $         ‐      $        ‐      $      128.00
 ANO                Notre Dame Home Health          $    2,518.50    $    5,523.25    $         ‐      $        ‐      $    8,041.75
 ANO                   Notre Dame Hospice           $    5,444.19    $   12,647.82    $         ‐      $   1,030.00    $   19,122.01    Statements sent monthly; general allowance recorded
 ANO                  Notre Dame Seminary           $    3,002.75    $    3,227.75    $         ‐      $        ‐      $    6,230.50
 ANO                   Old Ursuline Convent         $         ‐      $         ‐      $         ‐      $     200.00    $      200.00    Statements sent monthly; general allowance recorded
 ANO      Our Lady of Divine Providence Parish      $        0.75    $      109.50    $         ‐      $        ‐      $      110.25
 ANO                 Our Lady of Grace Parish       $       13.00    $       33.00    $         ‐      $      33.00    $       79.00    Statements sent monthly; general allowance recorded
 ANO              Our Lady of La Vang Mission       $       30.00    $         ‐      $         ‐      $        ‐      $       30.00
 ANO              Our Lady of Lourdes ‐ Violet      $        5.25    $       15.75    $         ‐      $        ‐      $       21.00
 ANO        Our Lady of Lourdes Parish, Slidell     $    1,586.10    $      171.43    $         ‐      $        ‐      $    1,757.53
 ANO        Our Lady of Lourdes School, Slidell     $    2,727.25    $    2,727.25    $         ‐      $        ‐      $    5,454.50
 ANO    Our Lady of Perpetual Help Parish Kenner    $         ‐      $         ‐      $      952.00    $        ‐      $      952.00
 ANO    Our Lady of Perpetual Help School Belle C   $      606.25    $    1,823.25    $         ‐      $        ‐      $    2,429.50
 ANO    Our Lady of Perpetual Help School Kenner    $    1,021.30    $    2,729.50    $         ‐      $        ‐      $    3,750.80
 ANO    Our Lady of Prompt Succor Parish ‐ Chalme   $       83.25    $       83.25    $         ‐      $        ‐      $      166.50
 ANO   Our Lady of Prompt Succor Parish Westwego    $       55.75    $      168.00    $         ‐      $   5,775.58    $    5,999.33    Statements sent monthly; general allowance recorded
 ANO   Our Lady of Prompt Succor School ‐ Chalme    $    1,063.75    $    1,063.75    $    1,060.00    $        ‐      $    3,187.50
 ANO   Our Lady of Prompt Succor School ‐ Westwe    $      514.83    $    1,956.75    $         ‐      $        ‐      $    2,471.58
 ANO              Our Lady of the Lake School       $    1,192.25    $    3,576.75    $         ‐      $        ‐      $    4,769.00
 ANO                  Our Lady of The Rosary        $      107.25    $      321.75    $         ‐      $        ‐      $      429.00
 ANO                   Our Lady of Wisdom           $    2,429.46    $    7,271.25    $      239.68    $        ‐      $    9,940.39
 ANO                 Our Lady Star of the Sea       $      (35.50)   $         ‐      $         ‐      $        ‐      $      (35.50)
 ANO              Pope John Paul High School        $    1,274.00    $    1,270.25    $      357.00    $        ‐      $    2,901.25
 ANO                        Project Lazarus         $      359.25    $    1,040.00    $         ‐      $        ‐      $    1,399.25
 ANO          Resurrection of Our Lord Church       $       55.00    $      630.00    $         ‐      $        ‐      $      685.00
 ANO          Resurrection of Our Lord School       $      741.25    $    1,786.75    $         ‐      $        ‐      $    2,528.00
 ANO       Sacred Heart of Jesus Church Norco       $        2.25    $        6.75    $         ‐      $        ‐      $        9.00
 ANO                   School Food Services         $    7,201.50    $    9,322.53    $         ‐      $        ‐      $   16,524.03
 ANO                  St. Agnes Le Thi Thanh        $        1.50    $        4.50    $         ‐      $        ‐      $        6.00
 ANO                       St. Agnes Parish         $      128.75    $      176.25    $         ‐      $      (2.00)   $      303.00    N/A ‐ Credit
 ANO                St. Alphonsus School ‐ NO       $      535.50    $    1,762.50    $         ‐      $   1,747.50    $    4,045.50    Statements sent monthly; general allowance recorded
 ANO           St. Andrew the Apostle Church        $       15.75    $       47.25    $         ‐      $        ‐      $       63.00
 ANO            St. Andrew the Apostle School       $    1,019.75    $    3,175.25    $         ‐      $        ‐      $    4,195.00
 ANO                 St. Angela Merici Parish       $       10.00    $         ‐      $         ‐      $        ‐      $       10.00
 ANO                 St. Angela Merici School       $    1,780.50    $    4,466.50    $         ‐      $        ‐      $    6,247.00
 ANO                        St. Ann Church          $      410.00    $      115.00    $         ‐      $        ‐      $      525.00
 ANO                         St. Ann School         $    1,980.00    $    3,721.82    $         ‐      $        ‐      $    5,701.82
 ANO                  St. Anthony's Gardens         $    1,645.25    $    5,462.75    $         ‐      $        ‐      $    7,108.00
 ANO             St. Anthony of Padua ‐ Luling      $       30.50    $       91.50    $         ‐      $        ‐      $      122.00
 ANO              St. Anthony of Padua Parish       $        0.75    $        2.25    $         ‐      $     (15.75)   $      (12.75)   N/A ‐ Credit
 ANO             St. Anthony of Padua School        $         ‐      $         ‐      $         ‐      $     (18.00)   $      (18.00)   N/A ‐ Credit
 ANO               St. Anthony School, Gretna       $      776.75    $    1,511.75    $         ‐      $        ‐      $    2,288.50
 ANO                   St. Augustine Church         $        6.00    $       88.00    $         ‐      $        ‐      $       94.00
 ANO             St. Benedict the Moor School       $      223.50    $      272.93    $         ‐      $     (37.43)   $      459.00    N/A ‐ Credit
 ANO                     St. Benilde School         $    1,160.75    $    3,437.25    $         ‐      $        ‐      $    4,598.00
 ANO              St. Bernard Catholic Church       $        8.75    $       26.25    $         ‐      $        ‐      $       35.00
 ANO              St. Catherine of Siena Parish     $      100.00    $      284.10    $         ‐      $        ‐      $      384.10
 ANO             St. Catherine of Siena School      $    1,512.00    $    4,346.50    $         ‐      $        ‐      $    5,858.50
 ANO             St. Charles Borromeo School        $      786.50    $    2,029.50    $         ‐      $        ‐      $    2,816.00
 ANO          St. Charles Catholic High School      $    1,149.25    $    1,149.25    $         ‐      $        ‐      $    2,298.50
 ANO         St. Christopher the Martyr Parish      $      105.75    $      105.75    $         ‐      $        ‐      $      211.50
 ANO         St. Christopher the Martyr School      $    1,134.25    $    3,604.50    $         ‐      $        ‐      $    4,738.75
 ANO              St. Clement of Rome School        $    1,135.50    $    3,404.25    $         ‐      $        ‐      $    4,539.75
 ANO                       St. Cletus School        $    1,074.00    $    3,202.00    $         ‐      $        ‐      $    4,276.00
 ANO                        St. David Parish        $         ‐      $         ‐      $         ‐      $      17.25    $       17.25    Statements sent monthly; general allowance recorded
 ANO                     St. Dominic School         $    3,727.00    $         ‐      $      449.33    $        ‐      $    4,176.33
 ANO          St. Edward the Confessor School       $      734.00    $    2,089.50    $         ‐      $        ‐      $    2,823.50
 ANO           St. Elizabeth Ann Seton School       $    2,093.93    $    1,326.50    $    1,451.50    $   3,970.50    $    8,842.43    Statements sent monthly; general allowance recorded
 ANO                St. Francis of Assisi Parish    $      118.00    $    1,563.06    $         ‐      $        ‐      $    1,681.06
 ANO                 St. Francis Xavier Parish      $        3.00    $       35.25    $         ‐      $        ‐      $       38.25
 ANO                 St. Francis Xavier School      $    1,215.25    $    3,669.75    $         ‐      $        ‐      $    4,885.00
 ANO                     St. Gabriel Church         $       10.75    $       32.25    $         ‐      $     (32.25)   $       10.75    N/A ‐ Credit
 ANO                    St. Germaine Parish         $       15.00    $       45.00    $         ‐      $        ‐      $       60.00
 ANO                     St. Jane de Chantal        $        9.00    $       27.00    $         ‐      $        ‐      $       36.00
 ANO                     St. Jerome Church          $      130.25    $      256.00    $         ‐      $        ‐      $      386.25
 ANO                      St. Joachim Parish        $         ‐      $       (1.00)   $         ‐      $        ‐      $       (1.00)
 ANO             St. Joan of Arc School LaPlace     $    1,121.25    $    3,363.75    $         ‐      $        ‐      $    4,485.00
 ANO        St. Joan of Arc School New Orleans      $      449.25    $    1,347.75    $         ‐      $        ‐      $    1,797.00
 ANO                 St. John Baptist Folsom        $        0.75    $        2.25    $         ‐      $        ‐      $        3.00
 ANO                  St. John Bosco Church         $        0.75    $        2.25    $         ‐      $       9.00    $       12.00    Statements sent monthly; general allowance recorded
 ANO                      St. Joseph Church         $       35.75    $       17.25    $         ‐      $        ‐      $       53.00
 ANO              St. Joseph Seminary College       $         ‐      $         ‐      $         ‐      $        ‐      $         ‐
 ANO                  St. Joseph the Worker         $       84.75    $      349.31    $         ‐      $   1,074.00    $    1,508.06    Statements sent monthly; general allowance recorded
 ANO              St. Katharine Drexel Church       $       54.50    $      170.25    $         ‐      $        ‐      $      224.75
 ANO               St. Katharine Drexel School      $         ‐      $         ‐      $         ‐      $     300.00    $      300.00    Statements sent monthly; general allowance recorded
 ANO                 St. Leo the Great School       $      290.75    $      842.25    $         ‐      $        ‐      $    1,133.00
 ANO                St. Louis Cathedral Parish      $      171.50    $    1,899.69    $         ‐      $        ‐      $    2,071.19
 ANO            St. Louis King of France Parish     $        5.00    $       15.00    $         ‐      $        ‐      $       20.00
 ANO            St. Louis King of France School     $    1,105.50    $    3,316.50    $         ‐      $        ‐      $    4,422.00
 ANO                St. Margaret Mary Church        $       14.75    $       48.75    $         ‐      $        ‐      $       63.50
 ANO                St. Margaret Mary School        $    1,286.75    $    1,286.75    $         ‐      $        ‐      $    2,573.50
 ANO                       St. Maria Goretti        $      200.75    $      602.25    $         ‐      $        ‐      $      803.00
 ANO                        St. Mark Parish         $        1.50    $        4.50    $         ‐      $        ‐      $        6.00
 ANO                      St. Martha Parish         $        8.75    $       26.25    $         ‐      $        ‐      $       35.00
 ANO                    St. Mary's Academy          $      459.50    $    1,378.50    $         ‐      $   1,626.25    $    3,464.25    Statements sent monthly; general allowance recorded
 ANO               St. Mary Magdalen Church         $       14.00    $       74.75    $         ‐      $        ‐      $       88.75
 ANO               St. Mary Magdalen School         $      729.00    $    4,712.73    $         ‐      $        ‐      $    5,441.73
 ANO            St. Mary of the Angels Church       $       86.50    $      154.50    $         ‐      $        ‐      $      241.00
 ANO           St. Matthew the Apostle Parish       $       21.75    $       65.25    $         ‐      $        ‐      $       87.00
 ANO          St. Matthew the Apostle School        $    1,140.50    $    3,421.50    $         ‐      $        ‐      $    4,562.00
 ANO                St. Michael Special School      $    1,133.50    $    1,143.50    $         ‐      $        ‐      $    2,277.00
 ANO                       St. Patrick Parish       $        4.50    $       13.50    $         ‐      $        ‐      $       18.00
 ANO       St. Paul the Apostle Catholic Church     $       42.41    $       15.12    $         ‐      $        ‐      $       57.53
 ANO                        St. Pauls School        $    1,700.00    $    1,700.00    $         ‐      $   1,678.00    $    5,078.00    Statements sent monthly; general allowance recorded
 ANO                  St. Peter Claver Parish       $      157.75    $      157.75    $    2,995.50    $     105.00    $    3,416.00    Statements sent monthly; general allowance recorded
 ANO                St. Peter Parish Covington      $       35.00    $         ‐      $         ‐      $        ‐      $       35.00
 ANO               St. Peter School Covington       $    1,219.75    $    3,634.50    $         ‐      $        ‐      $    4,854.25
 ANO                 St. Peter School Reserve       $      500.00    $    1,455.00    $   (1,373.25)   $        ‐      $      581.75
 ANO                    St. Philip Neri Parish      $       19.75    $       59.25    $         ‐      $        ‐      $       79.00
 ANO                   St. Philip Neri School       $    1,210.50    $    3,491.50    $         ‐      $        ‐      $    4,702.00
 ANO                St. Pius X Church ‐ Ragley      $      679.92    $         ‐      $         ‐      $        ‐      $      679.92
 ANO                       St. Pius X Parish        $       34.50    $      248.50    $      313.75    $      22.50    $      619.25    Statements sent monthly; general allowance recorded
 ANO                       St. Pius X School        $    2,206.50    $    2,206.50    $         ‐      $        ‐      $    4,413.00
 ANO                         St. Rita Parish        $       58.00    $      174.00    $         ‐      $        ‐      $      232.00
 ANO                  St. Rita Parish Harahan       $      124.75    $      100.00    $         ‐      $        ‐      $      224.75
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 61 of
                                           103
 ANO                 St. Rita School Harahan          $    1,967.50    $   2,999.83   $        ‐     $   (1,534.87)   $    3,432.46    N/A ‐ Credit
 ANO              St. Rita School New Orleans         $      516.75    $     955.25   $        ‐     $         ‐      $    1,472.00
 ANO                     St. Rosalie Parish           $         ‐      $      15.00   $        ‐     $         ‐      $       15.00
 ANO             St. Rosalie School (Pre‐K‐5th)       $      660.50    $   2,011.50   $        ‐     $         ‐      $    2,672.00
 ANO                       St. Scholastica            $    1,382.75    $   1,352.00   $        ‐     $         ‐      $    2,734.75
 ANO                    St. Stephen School            $      549.25    $   1,642.75   $        ‐     $         ‐      $    2,192.00
 ANO               St. Theresa of Avila Parish        $         ‐      $      15.00   $        ‐     $         ‐      $       15.00
 ANO     St. Therese Academy for Exeptional Learni    $    2,829.00    $   2,826.00   $   3,234.00   $         ‐      $    8,889.00
 ANO                      Sts. Peter & Paul           $        3.00    $       9.00   $        ‐     $         ‐      $       12.00
 ANO                     Ursuline Academy             $    1,926.00    $   5,673.00   $        ‐     $        0.50    $    7,599.50    Statements sent monthly; general allowance recorded
 ANO             Visitation of Our Lady School        $    1,011.50    $   3,034.50   $        ‐     $         ‐      $    4,046.00
 ANO            Wynhoven Health Care Center           $    3,091.50    $   9,447.00   $        ‐     $         ‐      $   12,538.50
 ANO          Archdiocese of Galveston‐Houston        $         ‐      $        ‐     $        ‐     $     (500.00)   $     (500.00)   N/A ‐ Credit
 ANO                       Austin Energy              $         ‐      $        ‐     $        ‐     $      (86.10)   $      (86.10)   N/A ‐ Credit
 ANO              Transfiguration Of The Lord         $         ‐      $        ‐     $        ‐     $   (1,565.66)   $   (1,565.66)   N/A ‐ Credit
 ANO      Catholic Charities, Arch. Of New Orleans    $         ‐      $        ‐     $        ‐     $     (127.00)   $     (127.00)   N/A ‐ Credit
 ANO      Catholic Charities, Arch. Of New Orleans    $         ‐      $        ‐     $        ‐     $     (695.00)   $     (695.00)   N/A ‐ Credit
 ANO      Catholic Charities, Arch. Of New Orleans    $         ‐      $     822.00   $        ‐     $         ‐      $      822.00
 ANO      Catholic Charities, Arch. Of New Orleans    $   (1,651.00)   $        ‐     $        ‐     $         ‐      $   (1,651.00)
 ANO                 Legatus of New Orleans           $     (150.00)   $        ‐     $        ‐     $         ‐      $     (150.00)
 ANO    St. Anthony Of Padua Church (New Orleans)     $      (18.00)   $        ‐     $        ‐     $         ‐      $      (18.00)
 ANO        St. John The Baptist Church (Folsom)      $      (27.50)   $        ‐     $        ‐     $         ‐      $      (27.50)
 ANO                           Various                $   33,003.50    $        ‐     $        ‐     $         ‐      $   33,003.50
 ANO                   Catholic Foundation            $     (365.91)   $        ‐     $        ‐     $         ‐      $     (365.91)
 ANO                St. Louis Cathedral Parish        $      500.00    $        ‐     $        ‐     $         ‐      $      500.00
 ANO               Our Lady Of Grace Church           $      680.00    $        ‐     $        ‐     $         ‐      $      680.00
 ANO               Our Lady Of Grace Church           $      100.00    $        ‐     $        ‐     $         ‐      $      100.00
 ANO               Our Lady Of Grace Church           $      510.00    $        ‐     $        ‐     $         ‐      $      510.00
 ANO   Our Lady Of Prompt Succor Church (Chalmette)   $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO           Archbishop Chapelle High School        $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO           Archbishop Rummel High School          $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO                 Christ The King Church           $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO           Corpus Christi‐Epiphany Church         $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO                 Good Shepherd Church             $       44.35    $        ‐     $        ‐     $         ‐      $       44.35
 ANO             Mary Queen Of Peace Church           $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO               Our Lady Of Grace Church           $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO   Our Lady Of Prompt Succor Church (Chalmette)   $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO   Our Lady Of Prompt Succor Church (Westwego)    $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO                    St. Raymond Parish            $       44.35    $        ‐     $        ‐     $         ‐      $       44.35
 ANO             Pope John Paul II High School        $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO                    St. Benilde Church            $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO             St. Catherine Of Siena Church        $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO           St. Charles Catholic High School       $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO             St. Clement Of Rome Church           $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO                      St. David Church            $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO                    St. Dominic Church            $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO          St. Edward The Confessor Church         $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO               St. Francis Of Assisi Church       $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO                St. Francis Xavier Church         $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO                  St. Joan Of Arc Church          $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO              St. Katharine Drexel Church         $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO               St. Margaret Mary Church           $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO                St. Maria Goretti Church          $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO               St. Michael Special School         $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO                  St. Philip Neri Church          $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO                     St. Pius X Church            $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO                St. Rita Church (Harahan)         $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO               St. Scholastica High School        $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO          The Visitation Of Our Lady Church       $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO           Archbishop Chapelle High School        $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO           Archbishop Rummel High School          $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO             Archbishop Shaw High School          $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO                 Christ The King Church           $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO             Mary Queen Of Peace Church           $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO               Our Lady Of Grace Church           $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO   Our Lady Of Prompt Succor Church (Chalmette)   $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO   Our Lady Of Prompt Succor Church (Westwego)    $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO             Pope John Paul II High School        $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO                    St. Benilde Church            $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO           St. Charles Catholic High School       $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO                    St. Dominic Church            $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO               St. Francis Of Assisi Church       $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO              St. Joan of Arc School ‐ N.O.       $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO                St. Maria Goretti Church          $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO                  St. Philip Neri Church          $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO               St. Scholastica High School        $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO          The Visitation Of Our Lady Church       $       45.00    $        ‐     $        ‐     $         ‐      $       45.00
 ANO                 Christ The King Church           $         ‐      $        ‐     $      48.38   $         ‐      $       48.38
 ANO               Our Lady Of Grace Church           $         ‐      $        ‐     $      48.38   $         ‐      $       48.38
 ANO                    St. Benilde Church            $         ‐      $        ‐     $      48.38   $         ‐      $       48.38
 ANO           St. Charles Catholic High School       $         ‐      $        ‐     $       2.00   $         ‐      $        2.00
 ANO                St. Maria Goretti Church          $         ‐      $        ‐     $      48.38   $         ‐      $       48.38
 ANO                     St. Pius X Church            $         ‐      $        ‐     $      48.38   $         ‐      $       48.38
 ANO          The Visitation Of Our Lady Church       $         ‐      $        ‐     $      48.38   $         ‐      $       48.38
 ANO                    St. Peter Covington           $         ‐      $        ‐     $   7,532.26   $         ‐      $    7,532.26
 ANO             St. Charles Borromeo Chapel          $         ‐      $        ‐     $   1,826.09   $         ‐      $    1,826.09
 ANO                         St. Edward               $         ‐      $        ‐     $     734.53   $         ‐      $      734.53
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 62 of
                                           103
 ANO         Second Harvest Food Bank Of Greater New Orleans                                                                                                        $                   ‐      $                  ‐  $               322.95     $                  ‐      $               322.95
 ANO                          St. Anthony Luling                                                                                                                    $                   ‐      $                  ‐  $              (450.10)    $                  ‐      $              (450.10)
 ANO                  Archbishop Hannan High School                                                                                                                 $                590.10    $                  ‐  $                  ‐       $                  ‐      $               590.10
 ANO                   Archbishop Shaw High School                                                                                                                  $                590.10    $                  ‐  $                  ‐       $                  ‐      $               590.10
 ANO                   Archbishop Shaw High School                                                                                                                  $                   ‐      $                  ‐  $               196.70     $                  ‐      $               196.70
 ANO                             Blessed Trinity                                                                                                                    $                   ‐      $                  ‐  $                  ‐       $               115.00    $               115.00    Statements sent monthly; general allowance recorded
 ANO                    St. Jude Community Center                                                                                                                   $                   ‐      $                  ‐  $                  ‐       $               440.00    $               440.00    Statements sent monthly; general allowance recorded
 ANO              St. Raymond & St. Leo The Great Parish                                                                                                            $                   ‐      $                  ‐  $                  ‐       $               115.00    $               115.00    Statements sent monthly; general allowance recorded
 ANO                  Archbishop Hannan High School                                                                                                                 $                   ‐      $                  ‐  $                  ‐       $               196.70    $               196.70    Statements sent monthly; general allowance recorded
 ANO                                Christ Inn                                                                                                                      $                   ‐      $                  ‐  $                  ‐       $              (306.28)   $              (306.28)   N/A ‐ Credit
 ANO                               Met Manor                                                                                                                        $                   ‐      $                  ‐  $                  ‐       $             1,514.97    $             1,514.97    Statements sent monthly; general allowance recorded
 ANO                             Nazareth‐Prov                                                                                                                      $                   ‐      $                  ‐  $                  ‐       $            14,200.86    $            14,200.86    Statements sent monthly; general allowance recorded
 ANO                             Place Dubourg                                                                                                                      $                   ‐      $                  ‐  $                  ‐       $              (569.64)   $              (569.64)   N/A ‐ Credit
 ANO                                Roquette                                                                                                                        $                   ‐      $                  ‐  $                  ‐       $            11,442.69    $            11,442.69    Statements sent monthly; general allowance recorded
 ANO                             St. Bernard III                                                                                                                    $                   ‐      $                  ‐  $                  ‐       $                30.81    $                30.81    Statements sent monthly; general allowance recorded
 ANO                      Bernard III/ Roquette IV                                                                                                                  $                   ‐      $                  ‐  $                  ‐       $              (416.13)   $              (416.13)   N/A ‐ Credit
 ANO                           St. Martin Manor                                                                                                                     $                   ‐      $                  ‐  $                  ‐       $             4,580.94    $             4,580.94    Statements sent monthly; general allowance recorded
 ANO                     St. Bernard II/ Metairie IV                                                                                                                $                   ‐      $                  ‐  $                  ‐       $              (480.00)   $              (480.00)   N/A ‐ Credit
 ANO                            Villa St. Maurice                                                                                                                   $                   ‐      $                  ‐  $                  ‐       $             5,269.35    $             5,269.35    Statements sent monthly; general allowance recorded
 ANO                          St. Theresa's Villas                                                                                                                  $                   ‐      $                  ‐  $                  ‐       $             3,744.00    $             3,744.00    Statements sent monthly; general allowance recorded
 ANO                           Wynhoven I Apts                                                                                                                      $               (825.00)   $                  ‐  $                  ‐                                 $              (825.00)
 ANO                          Catholic Charities                                                                                                                    $                   ‐      $                  ‐  $                  ‐       $            10,679.16    $            10,679.16    Pending reconciliation of billing amounts
 ANO                            Catholic Mutual                                                                                                                     $                   ‐      $                  ‐  $                  ‐       $            16,393.66    $            16,393.66    Amounts disputed
 ANO                           Insurer (Various)                                                                                                                    $                   ‐      $                  ‐  $                  ‐       $           374,745.04    $           374,745.04    Pending reconciliation of billing amounts; payments being made against balance
 ANO                            Project Lazarus                                                                                                                     $                 30.00    $                  ‐  $                  ‐       $                  ‐      $                30.00
 ANO                             Clarion Herald                                                                                                                     $                   ‐      $                15.00$                  ‐       $                  ‐      $                15.00
 ANO                             Blessed Trinity                                                                                                                    $                   ‐      $                  ‐  $                  ‐       $                30.00    $                30.00    Statements sent monthly; general allowance recorded
 ANO                      St. Maria Goretti Church                                                                                                                  $                   ‐      $                  ‐  $                  ‐       $                30.00    $                30.00    Statements sent monthly; general allowance recorded
 ANO                    St. Paul The Apostle Church                                                                                                                 $                118.14    $                  ‐  $                  ‐       $                  ‐      $               118.14
 ANO                              Confidential                                                                                                                      $                   ‐      $                  ‐  $                  ‐       $         1,875,000.00    $         1,875,000.00    Receivable is to be paid out through FY 2022
 ANO                              ANO Captive                                                                                                                       $            207,708.10    $                  ‐  $                  ‐       $                  ‐      $           207,708.10
 ANO                                 Whitney                                                                                                                        $                   ‐      $                  ‐  $                  ‐       $           505,391.23    $           505,391.23    Accrued fixed income interest to be realized upon maturity
 ANO                       Catholic Umbrella Pool                                                                                                                   $                   ‐      $                  ‐  $                  ‐       $            39,111.00    $            39,111.00    Funds received quarterly
 ANO                                 Various                                                                                                                        $              4,381.04    $                  ‐  $                  ‐       $               503.64    $             4,884.68    Pending Reconciliation
 ANO                          Gallagher, Various                                                                                                                    $             20,785.48    $                  ‐  $                  ‐       $             4,813.14    $            25,598.62    Pending Reconciliation
 ANO                         Various Individuals                                                                                                                    $                204.94    $               (23.87)
                                                                                                                                                                                                                     $               621.21     $             6,787.98    $             7,590.26    Pending Reconciliation
 ANO                                    IOI                                                                                                                         $                   ‐      $                  ‐  $                  ‐       $           632,331.51    $           632,331.51    Pending lawsuit ‐ payment in full expected
 ANO                    ANO Employee Benefit Trust                                                                                                                  $             26,197.21    $                  ‐  $                  ‐       $                  ‐      $            26,197.21
 ANO                               State of LA                                                                                                                      $            649,568.00    $                  ‐  $                  ‐       $                  ‐      $           649,568.00
 ANO                               State of LA                                                                                                                      $                   ‐      $                  ‐  $            94,625.00     $           164,841.01    $           259,466.01    Payment expected in full
 ANO                            N/A ‐ Allowance                                                                                                                     $                   ‐      $                  ‐  $                  ‐       $        (2,799,950.25)   $        (2,799,950.25)   N/A ‐ Allowance to offset Insurance and Assessment Receivables above
 ANO                            N/A ‐ Allowance                                                                                                                     $                   ‐      $                  ‐  $                  ‐       $          (100,000.00)   $          (100,000.00)   N/A ‐ Allowance to offset IT Receivables above
 ANO                                 Various                                                                                                                        $              8,846.69    $                  ‐  $                  ‐       $                  ‐      $             8,846.69
 ANO                              ANO Captive                                                                                                                       $          1,398,879.39                          $                  ‐       $                  ‐      $         1,398,879.39
 ANO                              ANO Captive                                                                                                                       $            868,777.94    $                 ‐   $                  ‐       $                  ‐      $           868,777.94
 ANO                                 Various                                                                                                                        $          1,447,208.46    $           51,377.37 $                  ‐       $                  ‐      $         1,498,585.83
 ANO                                Optum RX                                                                                                                        $          1,130,000.00    $                 ‐   $                  ‐       $                  ‐      $         1,130,000.00



            Total                                                                                                                                                              9,109,986.70             1,019,147.18             423,605.81               3,303,265.64             13,856,005.33

            Less: allowances and discounts on pledges receivable                                                                                                                                                                                                                      (24,888.00)

            Inter‐debtor eliminations                                                                                                                                                                                                                                                (216,630.00)

            Total A/R, Net (Excluding Tuition A/R, Net)                                                                                                                                                                                                                            13,614,487.33




 For any receivables in the "Over 90 Days" category, please provide the following:


            Customer                                               Receivable Date                   Status (Collection efforts taken, estimate of collectibility, write‐off, disputed account, etc.)


 PJPHS      Employee Advances                                                                                    Employee advances for for school tuition ‐ deductions are taken through the fiscal year
            Pledges $1,000 & under ‐ Cap. Campaign
 SCCS


 SCCS       Pledges $1,001 to $10,000 ‐ Cap. Campaign


 SCCS       CC Pledges > $10,000: Pledge #1
                                                                                                     All pledges listed on schedule have an approx. 5% allowance recorded for uncollectability. Communication
 SCCS       CC Pledges > $10,000: Pledge #2                                                          with donors for collectability is ongoing


 SCCS       CC Pledges > $10,000: Pledge #3


 SCCS       CC Pledges > $10,000: Pledge #4


 SCCS       Stadium Pledges $1,000 & under
                                                                   calendar year 2020 is Yr 2 of a 5
 SSA        Pledge #1                                                        year pledge             Yr 2 Pledge Rec'd in Jun 2020 & in excess of scheduled amount
                                                                   calendar year 2020 is Yr 2 of a 5
 SSA        Pledge #2                                                        year pledge             Yr 2 Pledge Rec'd in Jul 2020 & in excess of scheduled amount




 Include below all tuition and fees receivable for the 19/20 school year that remain uncollected AND tuition and fees receivable for the 20/21 school year after July 1 (date of tuition revenue recognition). Summarize estimated cash collections using days buckets below (0‐30, 31‐60, 61‐90,
 90+) to disclose EXPECTED timing of cash collections. If you do not expect to collect any tuition and fees A/R, the expected cash collections should be zero and not be included in any days buckets below.


                                                                                                                                Tuition and Fees AR Aging Report
                                                                                                                                                                                                         *Expected Cash Collections
                         Tuition and Fees Receivable                           Amount                                          Due Date                                       0‐30                      31‐60                  61‐90                   Over 90                     Total
 AOL        Tuition and Fees A/R‐ 19/20                             $                   108,229.96   4/12/2019                                                      $                   ‐      $               799.99 $                  ‐      $                  ‐      $               799.99
 AOL        Tuition and Fees A/R‐ 20/21                             $                   207,778.67   4/11/2020                                                      $                   ‐      $            32,703.45 $             2,164.10    $           172,911.12    $           207,778.67
 ASHS       Tuition and Fees A/R‐ 20/21                             $                    53,973.15   6/30/2020                                                      $                   ‐      $                  ‐   $                  ‐      $            53,973.15    $            53,973.15
 SCCS       Tuition and Fees A/R‐ 19/20                             $                    14,999.00   7/15/2019                                                      $                   ‐      $                  ‐   $                  ‐      $                  ‐      $                  ‐
 SCCS       Tuition and Fees A/R‐ 20/21                             $                   320,460.00   7/15/2020                                                      $             23,700.00    $            91,547.00 $           17,400.00     $           187,190.00    $           319,837.00
 ACHS       Tuition and Fees A/R‐ 20/21                             $                    85,254.15   5/8/2020                                                       $              9,885.00    $            10,725.00 $           61,350.66     $             3,293.49    $            85,254.15
 ACHS       Tuition and Fees A/R‐ 19/20                             $                    21,445.99   5/3/2019                                                       $                   ‐      $                  ‐   $                  ‐      $               250.00    $               250.00
 AHHS       Tuition and fees ‐ 19/20 AR                             $                    12,973.86                                                                  $              1,232.00    $             1,232.00 $             1,232.00    $             2,853.84    $             6,549.84
 AHHS       Tuition and fees ‐ 20/21 AR                             $                   473,967.04                                                                  $            431,309.27    $             6,073.19 $             6,073.19    $            30,511.39    $           473,967.04
 PJPHS      Tuition and Fees A/R‐ 19/20                             $                    26,941.35    various                                                       $                   ‐      $                  ‐   $                  ‐      $            18,364.03                 18,364.03
 PJPHS      Tuition and Fees A/R‐ 20/21                             $                    75,912.05    various                                                       $             36,930.89    $            16,675.00 $            (1,008.96)   $            16,040.12                 68,637.05
 ARHS       Tuition and Fees A/R‐ 19/20                             $                     8,006.00                                                                  $                   ‐      $                  ‐   $                  ‐      $                  ‐                         ‐
 ARHS       Tuition and Fees A/R‐ 20/21                             $                   408,371.58                                                                  $                   ‐      $                  ‐   $                  ‐      $           408,371.58                408,371.58
 SMSS       Tuition and Fees A/R‐ 19/20                             $                     1,225.00                                                                  $                100.00    $               100.00 $               100.00    $               925.00    $             1,225.00
 SMSS       Tuition and Fees A/R‐ 20/21                             $                   195,077.29                                                                  $             36,157.69    $            71,674.41 $           42,740.46     $            36,420.77    $           186,993.33
 SSA        Tuition and Fees A/R‐ 19/20                             $                     1,303.95   Jun 2019                                                       $                400.00    $               400.00 $               503.95    $                  ‐      $             1,303.95
 SSA        Tuition and Fees A/R‐ 20/21                             $                    58,391.68   Jun 2020 ‐ May 2021                                            $             12,000.00    $            10,000.00 $           10,000.00     $            26,391.68    $            58,391.68

 Tuition and Fees Receivable‐ estimated to collect                                                                                                                                                                                                                        $         1,891,696.46



 Tuition and Fees Receivable per Balance Sheet                                                                                                                                                                                                                            $         2,074,310.72



 Allowance for Doubtful Accounts (Tuition A/R on Balance Sheet less: Tuition estimated to collect)                                                                                                                                                                        $           182,614.26
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 63 of
                                           103

Supporting Schedules‐ Insurance

Case name                                                          The Roman Catholic Church of the Archdiocese of New Orleans
Case number                                                        20‐10846

For Period October 1, 2020 thru October 31, 2020

                                                                                                               Insurance Schedule

Type                                                               Carrier/Agent                                                Coverage ($)                                                      Date of Expiration     Premium Paid
Self Insurance through Captive Insurance: Deductible               Archdiocese of New Orleans Indemnity Company, Inc.           Self‐insured through Captive ‐ $300,000 per occurrence and
reimbursement property, automobile liability, physical damage,                                                                  a combined annual aggregate of $3,500,000. Workers
workers' compensation, sexual misconduct and general liability.                                                                 Compensation on an occurrence basis and sexual
                                                                                                                                misconduct on a claims‐made basis. Workers' Compensation
                                                                                                                                has limits of $800,000 per accident and no annual aggregate. 7/1/2021                    Yes
Medical Stop‐Loss Coverage:                                        Archdiocese of New Orleans Indemnity Company, Inc.           In excess of $10,000 deductible layer up to $300,000 per
                                                                                                                                individual per year.                                         6/30/2021                   Yes
                                                                   United Healthcare                                            In excess of $300,000 of claims per individual per year.     6/30/2021                   Yes
Coverages Through Catholic Mutual:
                                                                                                                                $2,175,573,000 Aggregate (combined policy with affiliated
Building and Building Personal Property                            The Catholic Mutual Relief Society of America                entities)                                                   7/1/2021                     Yes
Named Storm                                                        The Catholic Mutual Relief Society of America                $70,000,000 per Occurrence, 3% deductible per building      7/1/2021
Peronal Injury, Bodily Injury including corporal punishment,
advertising injury & property damage                               The Catholic Mutual Relief Society of America                $500,000 Single Limit                                       7/1/2021                     Yes
Directors & Officers & School Board Legal Liability                The Catholic Mutual Relief Society of America                $500,000 Single Limit                                       7/1/2021                     Yes
Fire Legal Liability                                               The Catholic Mutual Relief Society of America                $500,000 Single Limit                                       7/1/2021                     Yes
Liquor Liability                                                   The Catholic Mutual Relief Society of America                $500,000 Single Limit                                       7/1/2021                     Yes
Counseling Errors & Omissions                                      The Catholic Mutual Relief Society of America                $500,000 Single Limit                                       7/1/2021                     Yes
Employee Benefits Errors & Omissions                               The Catholic Mutual Relief Society of America                $500,000 Single Limit                                       7/1/2021                     Yes
Cemetery Errors & Omissions                                        The Catholic Mutual Relief Society of America                $500,000 Single Limit                                       7/1/2021
Teacher's Liability                                                The Catholic Mutual Relief Society of America                $500,000 Single Limit                                       7/1/2021                     Yes
Athletic Participants                                              The Catholic Mutual Relief Society of America                $500,000 Single Limit                                       7/1/2021                     Yes
Incidental Medical Malpractice                                     The Catholic Mutual Relief Society of America                $500,000 Single Limit                                       7/1/2021                     Yes
Limited Mold Coverage                                              The Catholic Mutual Relief Society of America                $250,000 per claimant                                       7/1/2021                     Yes
Excess Auto Liability                                              The Catholic Mutual Relief Society of America                $200,000 CSL Excess of $300,000 CSL                         7/1/2021                     Yes
Employer's Liability                                               The Catholic Mutual Relief Society of America                $800,000                                                    7/1/2021                     Yes

Sexual Misconduct Coverage:
Limited Sexual Misconduct‐Claims Made                              The Catholic Mutual Relief Society of America                $3,000,000 Annual Aggregate‐ 7/1/2009‐ present              7/1/2021
                                                                   The Catholic Mutual Relief Society of America                $1,000,000 Annual Aggregate‐ 7/1/1998‐ 7/1/2009
                                                                   The Catholic Mutual Relief Society of America                $650,000 Annual Aggregate‐ 7/1/1993 ‐ 7/1/1998
                                                                   The Catholic Mutual Relief Society of America                $100,000 Annual Aggregate‐ 7/1/1990‐ 7/1/1993

Excess Employer's Liability ‐ workers' compensation                Safety National Casualty Company                             $1,000,000 Excess of $800,000                               7/1/2021                     Yes

Flood Insurance on Property                                        Wright National Flood Insurance Company                      Flood Policies Detailed Below                               See below                    Yes
 Note: Per discussion with US Trustee, there are no certificates
for Flood Insurance.


Other (optional employee coverages that are not paid by employer)
Optional Life, Dental, Vision, Critical Illness, Voluntary AD&D, Guardian Life Insurance Company
Accident Benefits.
                                                                                                                                Varies/Employee Paid Only                                   7/1/2021                     Yes


FLOOD POLICY DETAIL
                                                                                                                                                                                                     Building                   Date of
       Archdiocese of New Orleans Debtor Entity Name                                       Flood Agent                          Flood Carrier                                                                                                Flood Policy #
                                                                                                                                                                                                    Description                Expiration
                                                                                                                                                                                            Chancery Office, 7887
ADM - Walmsley Avenue - Building Services                          Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                     Walmsley Ave., NO, LA        8/25/21            171151422199 03
                                                                                                                                                                                            70125

                                                                                                                                                                                            Catholic Bookstore-3003 S.
ADM - Property Office                                              Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                     Carrollton Ave., NO, LA      9/19/21            171151404183 03
                                                                                                                                                                                            70118


                                                                                                                                                                                            St. Dymphna - 23515 HWY.
ADM - Property Office                                              Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                                                  6/27/21            171150465557 10
                                                                                                                                                                                            190, Mandeville, LA



                                                                                                                                                                                            St. Dymphna - 23515 HWY.
ADM - Property Office                                              Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                                                  6/27/21            171150465557 09
                                                                                                                                                                                            190, Mandeville, LA



                                                                                                                                                                                            Priest Residence 2801 Pine
ADM - Property Office                                              Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                                                  3/23/21            171151407151 04
                                                                                                                                                                                            St., New Orleans, LA 70125


                                                                                                                                                                                            Catholic Counseling Services
ADM - Catholic Counseling Services 2814 S. Carrollton Ave.,
                                                                   Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                     - 2814 S. Carrollton Ave.,   9/5/21             171150992512 06
N.O.
                                                                                                                                                                                            N.O., LA 70118


                                                                                                                                                                                            Northshore Catholic Center
ADM - Northshore Pastoral Center                                   Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                                                  10/2/21            171150578085 09
                                                                                                                                                                                            4465 Hwy. 190 (E Svc. Rd.)


                                                                                                                                                                                            Bishop Perry Center 1941
ADM - Property Office                                              Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                     Dauphine St., New Orleans,   6/22/21            171151404091 04
                                                                                                                                                                                            LA


                                                                                                                                                                                            Residence-2809 S. Carrollton
ADM - Archbishop's Residence                                       Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                                                  9/14/21            171151404267 03
                                                                                                                                                                                            Ave., NO, LA 70118



ADM - Archbishop's Residence                                       Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                     Garage #1(Building Only)     9/14/21            171150992487 06




ADM - Archbishop's Residence                                       Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                     Garage #2 (Building Only)    9/14/21            171150992509 06



                                                                                                                                                                                            Church 411 North Rampart
Our Lady of Guadalupe Church - Shrine of St. Jude                  Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                                                  10/11/21           171151415878 03
                                                                                                                                                                                            St.



Our Lady of Guadalupe Church - Shrine of St. Jude                  Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                     Rectory 411 N. Rampart St. 10/11/21             171151415879 03



                                                                                                                                                                                            St. Mary's
ADM - Catholic Cultural Heritage Center-Old Ursuline Convent       Catholic Mutual Relief Society of America                    Wright National Flood Insurance Company                     Church/Convent/Museum        10/11/21           171150583623 09
                                                                                                                                                                                            1116 Chartres St.
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 64 of
                                           103

                                                                                                                                                     Priest Residence 1116
ADM - Catholic Cultural Heritage Center-Old Ursuline Convent   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/22/21    171151098430 06
                                                                                                                                                     Chartres St.



                                                                                                                                                     Gatehouse/ Gift Shop 1112
ADM - Catholic Cultural Heritage Center-Old Ursuline Convent   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/4/21     171151096262 06
                                                                                                                                                     Chartres St., NO, LA



ADM - Catholic Cultural Heritage Center-Old Ursuline Convent   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Service Building              4/4/21     171151096261 06



                                                                                                                                                     St. Jude Center 400 N.
St. Jude Community Center                                      Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 7/8/21     171151416222 04
                                                                                                                                                     Rampart St.



St. Louis Cathedral                                            Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Church-715-25 Chartres        9/18/21    171150567027 09



                                                                                                                                                     Rectory-615 Pere Antoine
St. Louis Cathedral                                            Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 9/18/21    171150567028 09
                                                                                                                                                     and Storage Bldg.



St. Louis Cathedral School                                     Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   School - 723 St. Ann          9/18/21    171150567004 09



                                                                                                                                                     Main Elementary School-
St. Michael's Special School                                   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 10/7/21    171151068920 06
                                                                                                                                                     1522 Chippewa St.



                                                                                                                                                     Chapel - 1502 Chippewa St.,
St. Michael's Special School                                   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                               10/7/21      171150748312 08
                                                                                                                                                     New Orleans, LA 70130



                                                                                                                                                     Auditorium/Gymnasium -
St. Michael's Special School                                   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 10/7/21    171150748326 08
                                                                                                                                                     1526 Chippewa St.



                                                                                                                                                     JOY Activity Center - 1517-
St. Michael's Special School                                   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 10/7/21    171150748331 08
                                                                                                                                                     21 Chippewa St.



                                                                                                                                                     Exercise Room - 1507 St.
St. Michael's Special School                                   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 1/8/21     171151311595 04
                                                                                                                                                     Thomas



                                                                                                                                                     Vocational Training Building -
St. Michael's Special School                                   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                  1/7/21    171150776724 08
                                                                                                                                                     1522A Chippewa St.


                                                                                                                                                     Student Center/Rectory
ADM - UNO Newman Center                                        Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   (1981) 2000 Lakeshore Dr.,    10/17/21   171151023739
                                                                                                                                                     New Orleans, LA 70148


                                                                                                                                                     Office -14538 River Road,
ADM - Stella Maris Maritime Center                             Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 6/13/21    171151109314 06
                                                                                                                                                     New Orleans, LA 70115


                                                                                                                                                     Tulane Catholic Center
ADM - Tulane Catholic Center (St. Thomas More)                 Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   (2015) - 1037 Audubon St.,    9/19/21    171151279839 04
                                                                                                                                                     New Orleans, LA 70118


                                                                                                                                                     Administration Building 122
St. Scholastica H.S., Covington                                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/30/21    171151098885 06
                                                                                                                                                     S. Massachusetts



St. Scholastica H.S., Covington                                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Cafeteria 306 E. 20th         4/30/21    171151098881 06



                                                                                                                                                     Gymnasium 122 S.
St. Scholastica H.S., Covington                                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/30/21    171151098882 06
                                                                                                                                                     Massachusetts



                                                                                                                                                     Our Lady of Wisdom
St. Scholastica H.S., Covington                                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/30/21    171151098883 06
                                                                                                                                                     (Classrooms) 420 E 20th



                                                                                                                                                     Jahncke Hall 111 S. Jahncke
St. Scholastica H.S., Covington                                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                               4/30/21      171151098884 06
                                                                                                                                                     St.



                                                                                                                                                     Advancement Office 424 E.
St. Scholastica H.S., Covington                                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/30/21    171151098878 06
                                                                                                                                                     21st. Street



                                                                                                                                                     Benedictine Hall 122 S.
St. Scholastica H.S., Covington                                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/29/21    171151098879 06
                                                                                                                                                     Massachusetts



                                                                                                                                                     Concession Stand/RR 16181
St. Scholastica H.S., Covington                                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                             6/10/21        171151348245 04
                                                                                                                                                     Hwy. 190



                                                                                                                                                     Soccer Storage Building 109
St. Scholastica H.S., Covington                                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                               6/10/21      171151348248 04
                                                                                                                                                     Massachusetts St.



                                                                                                                                                     LaSalle Hall-122 S.
St. Scholastica H.S., Covington                                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 9/24/21    171150571707 09
                                                                                                                                                     Massachusetts



                                                                                                                                                     Chapel (2009) 1220 S.
St. Scholastica H.S., Covington                                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/29/21    171150403822 10
                                                                                                                                                     Massachusetts St.


                                                                                                                                                     Track Storage Shed - 1618
St. Scholastica H.S., Covington                                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Hwy. 190, Covington, LA       6/10/21    171151348251 04
                                                                                                                                                     70435



St. Scholastica H.S., Covington                                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Classroom Bldg. Stem 2        9/13/21    TBA
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 65 of
                                           103

                                                                                                                                   Church/Rectory/Hall-
                                                                                                                                   Hanmaum Korean Catholic
Korean Catholic Community Center, Metairie   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 7/16/21    171150507983 10
                                                                                                                                   Church-4812 W. Napoleon
                                                                                                                                   Ave., Metairie

                                                                                                                                   High School 100 Dominican
St. Charles Catholic High School, LaPlace    Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                             6/15/21        171150442535 09
                                                                                                                                   Dr.



                                                                                                                                   High School 100 Dominican
St. Charles Catholic High School, LaPlace    Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                             6/15/21        171150442535 10
                                                                                                                                   Dr.



                                                                                                                                   Athletic Field House (7/86)
St. Charles Catholic High School, LaPlace    Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 10/2/21    171150578081 09
                                                                                                                                   100 Dominican Dr.



                                                                                                                                   Concession Stand - 100
St. Charles Catholic High School, LaPlace    Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/29/21    171151098428 06
                                                                                                                                   Dominican Dr.


                                                                                                                                   Athletic Building - 100
St. Charles Catholic High School, LaPlace    Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Dominican Dr., LaPlace, LA    10/28/21   171150614825 09
                                                                                                                                   70068


                                                                                                                                   Chapel - 100 Dominican Dr.,
St. Charles Catholic High School, LaPlace    Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                               12/29/20     171151747963 01
                                                                                                                                   LaPlace, LA 70068



                                                                                                                                   Cafeteria (1984) 1000
Archbishop Shaw H.S., Marrero                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/29/21    171151098431 06
                                                                                                                                   Barataria Blvd.



                                                                                                                                   School - West Annex 1000
Archbishop Shaw H.S., Marrero                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/29/21    171151098432 06
                                                                                                                                   Barataria Blvd.



                                                                                                                                   School - East Annex 1000
Archbishop Shaw H.S., Marrero                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/29/21    171151098433 06
                                                                                                                                   Barataria Blvd.



                                                                                                                                   Chapel-Don Bosco Hall 1000
Archbishop Shaw H.S., Marrero                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                              4/29/21       171151098434 06
                                                                                                                                   Barataria Blvd.



                                                                                                                                   School-Main Building 1000
Archbishop Shaw H.S., Marrero                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/29/21    171151098435 06
                                                                                                                                   Barataria Blvd.



                                                                                                                                   Gymnasium 1000 Barataria
Archbishop Shaw H.S., Marrero                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/29/21    171151098436 06
                                                                                                                                   Blvd.



                                                                                                                                   Wrestling Building 1000
Archbishop Shaw H.S., Marrero                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/29/21    171151098437 06
                                                                                                                                   Barataria Blvd.



                                                                                                                                   Priests' Residence 1000
Archbishop Shaw H.S., Marrero                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/29/21    171151098438 06
                                                                                                                                   Barataria Blvd.



                                                                                                                                   Baseball Stadium 1000
Archbishop Shaw H.S., Marrero                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/29/21    171151098439 06
                                                                                                                                   Barataria Blvd.



                                                                                                                                   Maintenance Building 1000
Archbishop Shaw H.S., Marrero                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 4/30/21    171151098441 06
                                                                                                                                   Barataria Blvd.



Archbishop Shaw H.S., Marrero                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Pool House 1000 Barataria     4/30/21    171151098442 06



                                                                                                                                   All Saints Hall- 1000
Archbishop Shaw H.S., Marrero                Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 8/12/21    171150980424 06
                                                                                                                                   Barataria Blvd. (2009)



ADM - Hope Haven Center                      Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Madonna Manor                 8/30/21    171150552032 09



                                                                                                                                   School - 8800 Veterans
Archbishop Chapelle H.S., Metairie           Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 5/30/21    171150415278 10
                                                                                                                                   Memorial Blvd.



                                                                                                                                   Gymnasium 8800 Veterans
Archbishop Chapelle H.S., Metairie           Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 5/27/21    171150415280 10
                                                                                                                                   Memorial Blvd.



                                                                                                                                   Library 8800 Veterans
Archbishop Chapelle H.S., Metairie           Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 10/2/21    171150578234 09
                                                                                                                                   Memorial Blvd.


                                                                                                                                   Old Convent & Chapel -
Archbishop Chapelle H.S., Metairie           Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Incarnate Word Hall- 8800     5/30/21    171150415281 10
                                                                                                                                   Veterans Memorial Blvd.


                                                                                                                                   Fine Arts & Technology 8800
Archbishop Chapelle H.S., Metairie           Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                               1/6/21       171150629672 09
                                                                                                                                   Veterans Memorial Blvd.


                                                                                                                                   Barn Classroom Bldg. (2003) -
Archbishop Chapelle H.S., Metairie           Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   8800 Veterans Memorial        3/21/21    171150262606 10
                                                                                                                                   Blvd.


                                                                                                                                   Faculty Residence/Computer
Archbishop Rummel H.S., Metairie             Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                              7/12/21       171150499189 10
                                                                                                                                   Tech Lab



Archbishop Rummel H.S., Metairie             Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Chapel                        7/12/21    171150499192 10



                                                                                                                                   Classrooms by Chapel (main
Archbishop Rummel H.S., Metairie             Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                              7/12/21       171150499198 10
                                                                                                                                   building)
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 66 of
                                           103

Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Classrooms Senior Wing        7/12/21    171150499191 10




Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Cafeteria                     7/12/21    171150499190 10




Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Gymnasium                     7/12/21    171150499194 10




Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Band Room                     7/12/21    171150499193 10




Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Field House                   7/12/21    171150499195 10



                                                                                                                                        Concession & Storage
Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 7/12/21    171150499197 10
                                                                                                                                        Building - 1983 I



                                                                                                                                        Office Building, 1916 N.
Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 8/26/21    171150980414 06
                                                                                                                                        Arnoult Rd.



                                                                                                                                        Wrestling Complex 2113 N.
Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 9/13/21    171150992490 06
                                                                                                                                        Hullen



                                                                                                                                        Portable Classroom
Archbishop Rummel H.S., Metairie                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 6/8/21     171151628678 02
                                                                                                                                        (Storage)



                                                                                                                                        Cenacle Retreat House-5500
ADM - Archdiocese of New Orleans Retreat Center   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 9/20/21    171151591691 02
                                                                                                                                        St. Mary Street, Metairie, LA



                                                                                                                                        High School - 1901 Jaguar
Pope John Paul II H.S., Slidell                   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 6/20/21    171150451929 10
                                                                                                                                        Dr.



                                                                                                                                        Concessions/Storage
Pope John Paul II H.S., Slidell                   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 11/13/20   171151038266 06
                                                                                                                                        Building - 1901 Jaguar Dr.



Pope John Paul II H.S., Slidell                   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Classroom - 1901 Jaguar Dr. 10/2/21      171150578093 09



                                                                                                                                        Cabin 4 (B-4) 77002 KC
ADM - Camp Abbey                                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Camp Rd., Covington, LA       4/29/21    171150677835 09
                                                                                                                                        70435

                                                                                                                                        Restroom (B-13) 77002 KC
ADM - Camp Abbey                                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Camp Rd., Covington, LA       5/18/21    171150924072 07
                                                                                                                                        70435

                                                                                                                                        Lodge/Admin (B-9) - 77002
ADM - Camp Abbey                                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   KC Camp Rd., Covington, LA 4/30/21       171150678032 09
                                                                                                                                        70435

                                                                                                                                        Infirmary (B-11) - 77002 KC
ADM - Camp Abbey                                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Camp Rd., Covington, LA       4/30/21    171150678033 09
                                                                                                                                        70435

                                                                                                                                        Maintenance Shed (B-10) -
ADM - Camp Abbey                                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   77002 KC Camp Rd.,            4/30/21    171150678035 09
                                                                                                                                        Covington, LA 70435

                                                                                                                                        Cafeteria (B-7) -77002 KC
ADM - Camp Abbey                                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Camp Rd., Covington, LA       4/30/21    171150678042 09
                                                                                                                                        70435

                                                                                                                                        Cabin 1 (B-1) -77002 KC
ADM - Camp Abbey                                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Camp Rd., Covington, LA       4/30/21    171150678095 09
                                                                                                                                        70435

                                                                                                                                        Cabin 5 (B-5) -77002 KC
ADM - Camp Abbey                                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Camp Rd., Covington, LA       4/30/21    171150678045 09
                                                                                                                                        70435

                                                                                                                                        Pavilion Commissary &
                                                                                                                                        Equipment Storage (B-8) -
ADM - Camp Abbey                                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 5/18/21    171151108919 06
                                                                                                                                        77002 KC Camp Rd.,
                                                                                                                                        Covington, LA

                                                                                                                                        Chapel (B-6) 77002 KC
ADM - Camp Abbey                                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Camp Rd., Covington, LA       4/30/21    171150678076 09
                                                                                                                                        70435

                                                                                                                                        Pool Change House (B-12) -
ADM - Camp Abbey                                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   77002 KC Camp Rd.,         5/18/21       171150924072 07
                                                                                                                                        Covington, LA 70435

                                                                                                                                        Recreational Equipment
                                                                                                                                        Building (B-12) -77002 KC
ADM - Camp Abbey                                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 5/18/21    171150924069 07
                                                                                                                                        Camp Rd., Covington, LA
                                                                                                                                        70435

                                                                                                                                        Cabin 2 (B-2) -77002 KC
ADM - Camp Abbey                                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Camp Rd., Covington, LA       4/30/21    171150678081 09
                                                                                                                                        70435

                                                                                                                                        Cabin 3 (B-3) -77002 KC
ADM - Camp Abbey                                  Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Camp Rd., Covington, LA       4/30/21    171150678085 09
                                                                                                                                        70435


                                                                                                                                                                                 1711505822005
Archbishop Hannan High School - Goodbee Campus    Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Storage - 71324 Hwy. 1077     10/8/21
                                                                                                                                                                                 09



                                                                                                                                        Gymnasium - 71324 Hwy.
Archbishop Hannan High School - Goodbee Campus    Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 10/8/21    171150582004 09
                                                                                                                                        1077
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 67 of
                                           103

                                                                                                                                       Classroom Building - 71324
Archbishop Hannan High School - Goodbee Campus   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 10/8/21    171150582003 09
                                                                                                                                       Hwy 1077



                                                                                                                                       Cafeteria/Kitchen - 71324
Archbishop Hannan High School - Goodbee Campus   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 10/8/21    171150582006 09
                                                                                                                                       Hwy. 1077



                                                                                                                                       Admin / Library - 71324 Hwy.
Archbishop Hannan High School - Goodbee Campus   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                9/25/21     171150572177 09
                                                                                                                                       1077



                                                                                                                                       Library Building - 71324 Hwy.
Archbishop Hannan High School - Goodbee Campus   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                 7/13/21    171150951626 07
                                                                                                                                       1077, Covington, LA 70433


                                                                                                                                       Classroom (Bldg. 500) -
Archbishop Hannan High School - Goodbee Campus   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   71324 Hwy. 1077, Covington, 7/13/21      171150951623 07
                                                                                                                                       LA 70433

                                                                                                                                       Classroom (Bldg. 500) -
Archbishop Hannan High School - Goodbee Campus   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   71324 Hwy. 1077, Covington, 7/13/21      171150951623 06
                                                                                                                                       LA 70433

                                                                                                                                       Concession/Restroom -
Archbishop Hannan High School - Goodbee Campus   Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   71324 Highway 1077,           6/10/21    171151348233 04
                                                                                                                                       Covington, LA 70433

                                                                                                                                       Office Building/Social
ADM - Howard Avenue Building                     Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Services Bldg-1000 Howard     10/26/21   171150548475 09
                                                                                                                                       Ave., NOLA, 70113



ADM - St. John Vianney Retirement Villa          Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Commons Building              5/16/21    171151103965 06




ADM - St. John Vianney Retirement Villa          Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Apartment A/B                 5/16/21    171151103966 06




ADM - St. John Vianney Retirement Villa          Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Apartment C/D                 5/16/21    171151103967 06




ADM - St. John Vianney Retirement Villa          Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Apartment E/F                 5/28/21    171151103968 06




ADM - St. John Vianney Retirement Villa          Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Apartment G/H                 5/16/21    171151103969 06


                                                                                                                                       Area A-
                                                                                                                                       Admin./Chapel/Library (2015)
Academy of Our Lady, Marrero                     Catholic Mutual Relief Society of America   Wright National Flood Insurance Company                                3/6/21      171151221992 05
                                                                                                                                       5501 Westbank Expressway,
                                                                                                                                       Marrero, LA 70072

                                                                                                                                       Area C-Classroom (2015)
Academy of Our Lady, Marrero                     Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   5501 Westbank Expressway, 3/6/21         171151221994 05
                                                                                                                                       Marrero, LA 70072

                                                                                                                                       Area D-Cafeteria (2015)
Academy of Our Lady, Marrero                     Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   5501 Westbank Expressway, 3/6/21         171151221995 05
                                                                                                                                       Marrero, LA 70072

                                                                                                                                       Area E-Gym (2015) 5501
Academy of Our Lady, Marrero                     Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Westbank Expressway,          3/6/21     171151221996 05
                                                                                                                                       Marrero, LA 70072

                                                                                                                                       Arts Building (2015) - 5501
Academy of Our Lady, Marrero                     Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Westbank Expressway,          12/2/20    171151300544 04
                                                                                                                                       Marrero, LA 70072

                                                                                                                                       Maintenance Building-5501
Academy of Our Lady, Marrero                     Catholic Mutual Relief Society of America   Wright National Flood Insurance Company   Westbank Espressway,          8/16/21    171151665044 01
                                                                                                                                       Marrero, LA
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 68 of
                                           103



                                            NARRATIVE
                               For the Period Ending October 31, 2020

   Please provide a brief description of any significant business and legal actions taken by the debtor,
   the creditors, or the court during the reporting period, any unusual or non-recurring accounting
   transactions that are reported in the financial statements, and any significant change in the financial
   condition of the debtor which have occurred subsequent to the report date.

    The following is a summary of any unusual or non-recurring accounting transactions that
    are reported in the financial statements, and any significant changes in the financial
    condition of the debtor which have occurred during the reporting period (October 1, 2020
    through October 31, 2020) or subsequent to the reporting period date:

    Cash and Cash Equivalents: Included in Cash and Cash Equivalents on the statement of
    financial position as of October 31, 2020 is $10.3 million of restricted cash related to 1) funds
    on deposit related to tuition loans outstanding and 2) custodial funds on deposit.

    Archdiocesan Support: Included in Archdiocesan Support in the consolidated income statement
    is an annual billing in October related to the Office of Catholic Schools annual student
    assessment totaling $.9 million.

    Other Income: Included in Other Income in the consolidated income statement includes non-
    recurring income related to funds received from a prepetition land damage settlement payment
    of $1.1 million.

    The following is a summary of the motions filed, or orders entered, during the reporting
    period (October 1, 2020 through October 31, 2020):

    On October 1, 2020, TMI Trust Company filed a Motion to Be Designated as Professional Fee
    Notice Party [ECF No. 462]. An Order was entered granting the Motion on October 22, 2020
    [ECF No. 511].

    On October 2, 2020, and Order was entered [ECF No. 469] that granted Talbot, Carmouche &
    Marcello’s Motion Authorizing Disbursement to Pay Secured Claim [ECF No. 303].

    On October 8, 2020, the Office of the United States Trustee filed a Notice [ECF No. 478] that
    reconstituted the membership of the Official Committee of Unsecured Creditors (the
    “Committee”), and removed the only commercial creditor from the Committee, TMI Trust
    Company, as indenture trustee. Such removal is the subject of the TMI Motion (as defined
    below).

    On October 20, 2020, the Court held an additional hearing on two Motions to Lift Stay, including
    one by J.W. Doe [ECF No. 378], and one by James Doe [ECF No. 380]. Following the hearing,
    these Motions were taken under advisement [ECF No. 508].




   {N4121908.2}                                      1
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 69 of
                                           103



    On October 20, 2020, the Court also held a hearing on the Motion to Modify Automatic Stay
    was filed on behalf on a personal injury claimant [ECF No. 401], which Motion was denied by
    Order entered on the same day [ECF No. 507].

    On October 22, 2020, the Court granted [ECF No. 512] the Debtor’s Motion to Approve
    Compromise under Rule 9019 regarding the Succession of Maria Luisa Patorno [ECF No. 395].

    On October 13, 2020, the Debtor filed its Second Motion to Extend Time Ex Parte Motion
    Extending Period within which the Debtor May Remove Actions [ECF No. 482], which was
    granted by Ex Parte Order entered on October 19, 2020 [ECF No. 502].

    In October, various pleadings were filed with regard to the Debtor’s Motion for Entry of Order,
    (I) Approving Settlement with TMI Trust Company, as Indenture Trustee, Pursuant to
    Bankruptcy Rule 9019, and (II) Granting Related Relief (the “Settlement Motion”) [ECF No.
    403], including the Reply Memorandum in support of the Settlement Motion filed by TMI Trust
    Company [ECF No. 481], the Declaration of Kathleen Zuniga [ECF No. 480], and the Reply
    Memorandum filed by the Debtor [ECF No. 509]. Following a hearing held on October 22,
    2020 [ECF No. 515], the hearing on the Settlement Motion was continued until November 6,
    2020.

    On October 28, 2020, TMI Trust Company filed a Motion for an Order (i) Requiring the United
    States Trustee to Appoint a Separate Committee of Unsecured Creditors and/or (ii) Reinstating
    TMI Trust Company as a Member of and Reconstituting the Official Committee of Unsecured
    Creditors (the “TMI Motion”) [ECF No. 521 and, as redacted, ECF No. 543].




   {N4121908.2}                                   2
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 70 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 71 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 72 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 73 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 74 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 75 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 76 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 77 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 78 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 79 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 80 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 81 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 82 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 83 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 84 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 85 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 86 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 87 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 88 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 89 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 90 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 91 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 92 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 93 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 94 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 95 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 96 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 97 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 98 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 99 of
                                           103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 100
                                         of 103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 101
                                         of 103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 102
                                         of 103
Case 20-10846 Doc 561 Filed 11/24/20 Entered 11/24/20 14:07:05 Main Document Page 103
                                         of 103
